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    EXHIBIT A
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Beg Date: 12/02/2022
End Date: 06/14/2024




 Client #     50134               Jones, Alex "AJ"
 Matter #     00802               Post - petition

                                DESCRIPTION OF FEES

 Attorney      Date      Task    Hours       Rate    Bill Amount      Description of
                                                                    Services Rendered


 VLD        12/02/2022   B110      10.00    795.00       7950.00 Calls and emails with
                                                                 various constituents
                                                                 on first day filing
                                                                 details (4.2); review
                                                                 and analyze various
                                                                 filing documents for
                                                                 first day matters (2.6);
                                                                 calls and email with
                                                                 BB and co-counsel on
                                                                 strategy on first day
                                                                 filings and related
                                                                 filing matters (3.2).
 CWS        12/02/2022   B110      10.00 715.00          7150.00 Attention to first day
                                                                 filing matters (3.8);
                                                                 review and respond to
                                                                 multiple emails
                                                                 regarding same (3.6);
                                                                 calls regarding first
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               day issues (2.6).
CCC        12/02/2022   B110     0.70   345.00        241.50 Conduct legal
                                                             research in support of
                                                             motion to file
                                                             schedules and
                                                             statements under seal.
CCC        12/02/2022   B110     1.70   345.00        586.50 Review Texas state
                                                             court dockets to
                                                             determine pending
                                                             state court actions
                                                             against Debtor (.7);
                                                             draft suggestions of
                                                             bankruptcy for
                                                             pending Texas state
                                                             court actions and
                                                             e-file same (.8);
                                                             monitor status of
                                                             court acceptance of
                                                             e-filings (.2).
CCC        12/02/2022   B110     0.20   345.00         69.00 Review and analyze
                                                             strategy in filing
                                                             initial motions in this
                                                             case.
CCC        12/02/2022   B110     0.30 345.00          103.50 Draft Motion to
                                                             extend deadline to file
                                                             required schedules.
VLD        12/02/2022   B110     3.20   795.00       2544.00 Alert relevant parties
                                                             of BK filing (1.1);
                                                             review and revise
                                                             motion for status
                                                             conference (.4);
                                                             emails with UST and
                                                             Court on Joint
                                                             administration motion
                                                             and comments to
                                                             same (.2); address
                                                             revisions to joint
                                                             administration to
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               address UST initial
                                                               concerns (.3) call with
                                                               potential PR firm (.8);
                                                               review rules and
                                                               procedures on sealing
                                                               pleadings due to
                                                               general security
                                                               issues (.4).
VLD        12/02/2022   B140     0.40   795.00        318.00 Emails discussing
                                                             application of stay in
                                                             CT matter with
                                                             counsel related to
                                                             judgment entry,
                                                             motion practice and
                                                             appeals.
EEW        12/02/2022   B110     0.20   295.00         59.00 Review file-stamped
                                                             copy of petition, 20
                                                             largest and
                                                             disclosures and
                                                             circulate to team.
EEW        12/02/2022   B110     0.60   295.00        177.00 Review RingCentral
                                                             account with
                                                             communications from
                                                             various media outlets
                                                             and circulate to
                                                             Vickie L. Driver and
                                                             Crissie W.
                                                             Stephenson (.4);
                                                             follow-up with Vickie
                                                             L. Driver regarding
                                                             same (.1); forward
                                                             information to team
                                                             members who need to
                                                             access account (.1).
EEW        12/02/2022   B110     0.80   295.00        236.00 Email
                                                             correspondence to
                                                             and from the court
                                                             coordinator regarding
                                                             the new case filed and
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               notice to her of a few
                                                               procedural motions to
                                                               be filed (.4); request
                                                               and various email
                                                               communications with
                                                               dates and times the
                                                               Court has available
                                                               for a status
                                                               conference (.4).
EEW        12/02/2022   B110     0.10   295.00         29.50 Email
                                                             correspondence with
                                                             Chrystal Madden
                                                             regarding dates and
                                                             deadlines.
EEW        12/02/2022   B110     0.30   295.00         88.50 Draft correspondence
                                                             regarding notice of
                                                             appearance for the
                                                             TXSB to co-counsel's
                                                             office.
EEW        12/02/2022   B110     1.20   295.00        354.00 Revise, finalize and
                                                             file motion for joint
                                                             administration (in
                                                             both the AJ and FSS
                                                             cases) and request for
                                                             status conference.
EEW        12/02/2022   B110     0.40   295.00        118.00 Review those
                                                             receiving ECF notices
                                                             and coordinate
                                                             service of motion for
                                                             joint administration
                                                             and request for status
                                                             conference.
EEW        12/02/2022   B110     0.40   295.00        118.00 Email communication
                                                             with Caylin C. Craig
                                                             regarding form
                                                             application to employ
                                                             counsel for TXSB
                                                             (locate same).
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Attorney      Date      Task   Hours    Rate     Bill Amount     Description of
                                                               Services Rendered
EEW        12/02/2022   B110     0.40   295.00        118.00 Communication with
                                                             Vickie L. Driver
                                                             regarding restricted
                                                             access to client
                                                             documents (.2); email
                                                             correspondence to
                                                             Drew Palmer
                                                             regarding restricted
                                                             access to Litshare
                                                             folder (.2).
EEW        12/02/2022   B110     0.60   295.00        177.00 Compile and organize
                                                             client documents
                                                             received to date.
ANG        12/02/2022   B190     2.10   345.00        724.50 Draft and revise
                                                             motion and order
                                                             requesting joint
                                                             administration with
                                                             FSS bankruptcy.
ANG        12/02/2022   B110     1.10   345.00        379.50 Draft and revise
                                                             motion for status
                                                             conference and
                                                             proposed order.
ANG        12/02/2022   B160     0.20   345.00         69.00 Assist with
                                                             preparation of
                                                             application to employ
                                                             bankruptcy counsel.
ANG        12/02/2022   B110     0.50 345.00          172.50 Compile and
                                                             assign/divide list of
                                                             necessary motions to
                                                             be filed in bankruptcy
                                                             case.
CCC        12/05/2022   B160     1.30 345.00          448.50 Continue drafting
                                                             application to employ
                                                             Crowe & Dunlevy as
                                                             Debtor's bankruptcy
                                                             counsel (.4); draft
                                                             declaration of Vickie
                                                             L. Driver in support
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               of same (.5); review
                                                               conflicts information
                                                               in support of drafting
                                                               declaration (.4).
CCC        12/05/2022   B110     0.70   345.00        241.50 Draft motion to
                                                             extend deadline to file
                                                             Debtor's schedules
                                                             and states (.4); draft
                                                             proposed order
                                                             granting same (.2);
                                                             review local rules to
                                                             determine duty to
                                                             confer with Trustee's
                                                             office on motion to
                                                             extend deadline (.1).
CCC        12/05/2022   B210     0.60 345.00          207.00 Review information
                                                             from client in support
                                                             of utility motion (.3);
                                                             draft utility motion
                                                             (.3).
CCC        12/05/2022   B160     0.50 345.00          172.50 Review filings by
                                                             Debtor Free Speech
                                                             Systems in support of
                                                             drafting application to
                                                             employ Rachel
                                                             Kennerly, LLC as
                                                             Debtor's tax
                                                             accountant.
CCC        12/05/2022   B160     0.50   345.00        172.50 Review and analyze
                                                             correspondence from
                                                             Debtor's accountant
                                                             (.1); draft
                                                             correspondence to
                                                             Debtor's accountant
                                                             regarding application
                                                             to employ her firm as
                                                             Debtor's tax
                                                             accountant (.4).
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
VLD        12/05/2022   B120     5.50   795.00       4372.50 Travel to Austin and
                                                             discuss financial
                                                             investigation strategy
                                                             with FAs en route
                                                             (3.0); meeting with D.
                                                             Jones on information
                                                             regarding accounts,
                                                             assets and related
                                                             financial matters
                                                             (2.5).
VLD        12/05/2022   B110    10.00   795.00       7950.00 Calls and emails with
                                                             various constituents
                                                             on first day filing
                                                             details (4.2); review
                                                             and analyze various
                                                             filing documents for
                                                             first day matters (2.6);
                                                             calls and emails with
                                                             BB and co-counsel on
                                                             strategy on first day
                                                             filings and related
                                                             filing matters (3.2).
VLD        12/05/2022   B110     0.70   795.00        556.50 Call with FSS counsel
                                                             on case interplay and
                                                             seeking COC on joint
                                                             admin motion and
                                                             stay motion.
VLD        12/05/2022   B185     0.50   795.00        397.50 Review Employment
                                                             agreement and
                                                             analyze pleadings to
                                                             enforce same.
VLD        12/05/2022   B110     0.50   795.00        397.50 Attend to application
                                                             of payments from
                                                             clients.
ANG        12/05/2022   B160     2.60   345.00        897.00 Draft application to
                                                             employ financial
                                                             advisor,
                                                             accompanying
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               declaration, and
                                                               proposed order.
ANG        12/05/2022   B110     1.30   345.00        448.50 Confer and discuss
                                                             Debtor's legal and
                                                             financial status with
                                                             proposed financial
                                                             advisors.
ANG        12/05/2022   B110     0.40   345.00        138.00 Telephone conference
                                                             with counsel for FSS
                                                             subchapter V trustee
                                                             regarding upcoming
                                                             motion filings and
                                                             state court
                                                             proceedings.
ANG        12/05/2022   B195     1.50   345.00        517.50 Travel from Dallas to
                                                             Austin for meetings
                                                             with debtor and other
                                                             individuals relevant
                                                             to debtor's financial
                                                             situation. [billed at
                                                             half time]
EEW        12/05/2022   B110     0.20   295.00         59.00 Review order
                                                             granting status
                                                             conference and
                                                             docket same.
EEW        12/05/2022   B110     0.80   295.00        236.00 Prepare first day
                                                             pleadings checklist
                                                             and circulate for
                                                             comments.
EEW        12/05/2022   B160     0.10   295.00         29.50 Email
                                                             correspondence to
                                                             Caylin C. Craig
                                                             regarding pre-petition
                                                             retainer amount
                                                             received.
EEW        12/05/2022   B110     0.20   295.00         59.00 Review order
                                                             granting status
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               conference and
                                                               docket same.
EEW        12/05/2022   B110     1.00   295.00        295.00 Compile client
                                                             documents received
                                                             and forward to
                                                             Blackbriar Advisors
                                                             via fileshare.
CWS        12/05/2022   B110     5.50   715.00       3932.50 Draft and revise
                                                             initial status report
                                                             (3.6); draft
                                                             correspondence
                                                             regarding initial
                                                             debtor report (.7);
                                                             review and revised
                                                             motion to extend
                                                             deadline to file
                                                             schedules and
                                                             proposed order
                                                             granting same (.8).
CWS        12/05/2022   B185     0.60   715.00        429.00 Draft correspondence
                                                             regarding Motion to
                                                             Enforce Executory
                                                             Contract.
CWS        12/05/2022   B160     0.80   715.00        572.00 Draft correspondence
                                                             regarding tax
                                                             accountant
                                                             employment
                                                             application.
CWS        12/05/2022   B140     1.80   715.00       1287.00 Draft Emergency
                                                             Motion to Modify the
                                                             Lift Stay Order and
                                                             related
                                                             correspondence.
CCC        12/06/2022   B110     0.40 345.00          138.00 Draft Motion to
                                                             Extend Schedule
                                                             filing Deadline and
                                                             proposed order
                                                             granting same.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
CCC        12/06/2022   B160     2.30   345.00        793.50 Revising Application
                                                             to Employ Crowe &
                                                             Dunlevy as debtor's
                                                             bankruptcy counsel
                                                             (.9); revise
                                                             declaration in support
                                                             of same (.8); review
                                                             conflicts report in
                                                             support of drafting
                                                             declaration (.6).
CCC        12/06/2022   B110     2.10   345.00        724.50 Review and analyze
                                                             strategy in filing
                                                             redacted versions of
                                                             Debtor's statements
                                                             and schedules (.4);
                                                             review local rule
                                                             requirements on filing
                                                             redacted versions of
                                                             statements and
                                                             schedules (.4);
                                                             conduct legal
                                                             research in support of
                                                             filing required motion
                                                             to seal unredacted
                                                             versions of Debtor's
                                                             statements and
                                                             schedules (1.3).
VLD        12/06/2022   B140     1.60   795.00       1272.00 Review and revise
                                                             stay modification
                                                             motion (.9); review
                                                             NOAs and pro hac
                                                             applications to gather
                                                             emails for COC on
                                                             stay modification
                                                             email and send same
                                                             (.7).
VLD        12/06/2022   B110     1.20   795.00        954.00 Meet with client to
                                                             discuss initial status
                                                             conference (.4);
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               review and revise
                                                               status report (.8).
VLD        12/06/2022   B110     0.90   795.00        715.50 Meet with client to
                                                             discuss financial
                                                             issues with FSS and
                                                             performance, sales
                                                             and employment
                                                             agreement (.9).
VLD        12/06/2022   B110     0.30   795.00        238.50 Review and analyze
                                                             various initial
                                                             procedural motions in
                                                             preparation for initial
                                                             status conference.
VLD        12/06/2022   B120     3.10   795.00       2464.50 Attend meeting with
                                                             accountant seeking
                                                             additional
                                                             information on assets
                                                             and financial
                                                             disclosures for
                                                             schedules and SOFA
                                                             completion (2.5);
                                                             assembling list of
                                                             information and
                                                             document requests for
                                                             accountant (.6).
VLD        12/06/2022   B150     0.40   795.00        318.00 Initial emails on
                                                             coordinating 341
                                                             meeting and related
                                                             issues on remote
                                                             access and schedules
                                                             with UST and
                                                             co-counsel.
VLD        12/06/2022   B160     0.30   795.00        238.50 Analysis of app to
                                                             employ and
                                                             disclosure of current
                                                             or former clients
                                                             under seal for
                                                             confidentiality (.3).
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Attorney      Date      Task   Hours    Rate     Bill Amount     Description of
                                                               Services Rendered
VLD        12/06/2022   B240     0.40   795.00        318.00 Call with Tax
                                                             accountant and status
                                                             of 2021 taxes as well
                                                             as information needed
                                                             to complete.
VLD        12/06/2022   B190     1.00   795.00        795.00 Working dinner with
                                                             FAs.
ANG        12/06/2022   B140     0.50 345.00          172.50 Review local
                                                             authorities regarding
                                                             emergency relief and
                                                             revise motion to
                                                             modify stay in FSS
                                                             accordingly.
ANG        12/06/2022   B185     2.50   345.00        862.50 Draft and revise
                                                             motions and proposed
                                                             orders to enforce
                                                             employment
                                                             agreement and allow
                                                             payment of Debtor's
                                                             salary as an
                                                             administrative
                                                             expense in FSS
                                                             matter.
ANG        12/06/2022   B120     3.00 345.00         1035.00 Meetings with
                                                             Debtor, Debtor's
                                                             affiliates, and
                                                             affiliates of PQPR
                                                             related to determining
                                                             Debtor's overall
                                                             financial status.
ANG        12/06/2022   B110     0.40 345.00          138.00 Conference with
                                                             counsel for FSS
                                                             regarding debtor's
                                                             employment contract
                                                             and credit card
                                                             processor documents.
ANG        12/06/2022   B110     1.00   345.00        345.00 Review relevant legal
                                                             authorities on
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               ordinary course
                                                               expenses for
                                                               individual Chapter 11
                                                               debtors and analyze
                                                               potential client
                                                               expenses under said
                                                               authorities.
EEW        12/06/2022   B110     3.50   295.00       1032.50 Review creditor
                                                             matrix filed in the
                                                             FSS case (.5); draft
                                                             text version of
                                                             creditor matrix for
                                                             upload to the court
                                                             and compare to
                                                             conflicts list (3.0).
EEW        12/06/2022   B110     1.00   295.00        295.00 Draft verification of
                                                             creditor matrix.
EEW        12/06/2022   B110     0.60   295.00        177.00 Revise, finalize and
                                                             file debtor's initial
                                                             status report.
EEW        12/06/2022   B140     1.00   295.00        295.00 Revise, finalize and
                                                             file emergency
                                                             motion to modify stay
                                                             orders in the FSS case
                                                             (.8); email
                                                             correspondence to the
                                                             courtroom deputy
                                                             regarding emergency
                                                             filing (.2).
CWS        12/06/2022   B110     3.90   715.00       2788.50 Review and respond
                                                             to correspondence
                                                             regarding Motion to
                                                             Extend Schedules
                                                             Deadline (.3); review
                                                             and respond to
                                                             correspondence and
                                                             calls regarding initial
                                                             debtor interview
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               questions (1.7);
                                                               review revisions to
                                                               initial status report
                                                               and draft related
                                                               correspondence (.6);
                                                               revise initial status
                                                               report (1.3).
CWS        12/06/2022   B140     2.90   715.00       2073.50 Review and revise
                                                             motion for
                                                             modification of stay.
VLD        12/06/2022   B120     0.70   795.00        556.50 Analyze trust and
                                                             prenuptial issues.
CCC        12/07/2022   B110     1.50   345.00        517.50 Draft motion to seal
                                                             Debtor's statements
                                                             and schedules (.8);
                                                             conduct legal
                                                             research in support of
                                                             same (.7).
CCC        12/07/2022   B110     0.40   345.00        138.00 Review and analyze
                                                             information regarding
                                                             Debtor's regular,
                                                             monthly expenses in
                                                             support of utility
                                                             motion.
CCC        12/07/2022   B110     1.00   345.00        345.00 Conduct legal
                                                             research in support of
                                                             Utility Motion.
VLD        12/07/2022   B320     0.90 795.00          715.50 Meeting with L.
                                                             Freeman on status of
                                                             mediation.
VLD        12/07/2022   B110     2.80   795.00       2226.00 Preparation for initial
                                                             status conference
                                                             (1.5); attend initial
                                                             status conference (.8);
                                                             discussion with UST
                                                             on joint admin and
                                                             schedules extension
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               motions (.3); analyze
                                                               utility motion issues
                                                               (.2).
VLD        12/07/2022   B140     0.20   795.00        159.00 Review and respond
                                                             to emails from
                                                             Plaintiff counsel on
                                                             stay motion
                                                             modification (.2).
VLD        12/07/2022   B120     0.40   795.00        318.00 Emails with counsel
                                                             for Aurium seeking
                                                             reporting and
                                                             financial accounting
                                                             (.4).
VLD        12/07/2022   B120     0.40   795.00        318.00 Call with FSS
                                                             Counsel on
                                                             coordinating efforts
                                                             and financial issues
                                                             (.5); analyze issues
                                                             with FA (.4).
ANG        12/07/2022   B195     1.30   345.00        448.50 Travel from Austin to
                                                             Houston for status
                                                             conference hearing.
                                                             (2.6). [billed at half
                                                             time]
ANG        12/07/2022   B110     0.50   345.00        172.50 Initial status
                                                             conference before the
                                                             Court.
ANG        12/07/2022   B195     1.80   345.00        621.00 Return travel from
                                                             Houston to Dallas
                                                             following status
                                                             conference (3.6).
                                                             [billed at half time]
EEW        12/07/2022   B160     0.80   295.00        236.00 Research and review
                                                             fee guidelines for
                                                             TXSB and Region 7
                                                             for the US Trustee's
                                                             office (.6); email
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               correspondence to
                                                               co-counsel's office
                                                               regarding same (.2).
EEW        12/07/2022   B110     0.40   295.00        118.00 Procure client utility
                                                             documents and
                                                             circulate to team.
EEW        12/07/2022   B110     2.80   295.00        826.00 Review verified
                                                             statement filed by
                                                             Texas Plaintiff's
                                                             counsel and edit and
                                                             update draft of
                                                             creditor matrix (2.2);
                                                             compare to FSS
                                                             matrix (.6).
EEW        12/07/2022   B110     0.30 295.00           88.50 Review
                                                             dallaseservice inbox
                                                             and forward
                                                             correspondence to
                                                             team.
CWS        12/07/2022   B110     5.00   715.00       3575.00 Working Travel to
                                                             Houston in
                                                             preparation for initial
                                                             hearing (3.0);
                                                             non-working travel
                                                             from Houston to
                                                             Dallas. [4.0 billed at
                                                             2.0]
CWS        12/07/2022   B110     3.80   715.00       2717.00 Prepare for and attend
                                                             initial status
                                                             conference hearing.
CWS        12/07/2022   B110     1.80 715.00         1287.00 Meetings with Sub V
                                                             Trustee and Counsel.
CCC        12/08/2022   B110     1.30   345.00        448.50 Review and analyze
                                                             initial motions needed
                                                             to be filed in this
                                                             matter, including
                                                             motion for extension
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               of schedules deadline,
                                                               employment
                                                               applications, and
                                                               utility motion;
                                                               evaluate additional
                                                               information needed
                                                               from Debtor in
                                                               support of Motions.
VLD        12/08/2022   B120     1.50   795.00       1192.50 Call with FAs to
                                                             discuss progress in
                                                             financial
                                                             investigation and next
                                                             steps (.5); emails
                                                             seeking meetings
                                                             with additional
                                                             individuals to
                                                             progress in financial
                                                             investigations (.6);
                                                             emails with counsel
                                                             coordinating delivery
                                                             of documents and
                                                             security of contents
                                                             (.2); emails on FSS
                                                             charges to AJ for
                                                             items (.2).
VLD        12/08/2022   B320     0.40   795.00        318.00 Call with L. Freemen
                                                             on mediation issues.
VLD        12/08/2022   B160     0.40   795.00        318.00 Analyze issues
                                                             relating to fee and
                                                             employment
                                                             applications.
VLD        12/08/2022   B110     1.00   795.00        795.00 Analyze issues
                                                             regarding next
                                                             procedural motions
                                                             needed in case (.8);
                                                             review matrix
                                                             redactions (.2).
ANG        12/08/2022   B110     0.70   345.00        241.50 Confer with counsel
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               team regarding
                                                               necessary motions to
                                                               be filed and general
                                                               status of information
                                                               gathering efforts.
ANG        12/08/2022   B110     0.60   345.00        207.00 Review and revise
                                                             proposed creditor
                                                             matrix for accuracy
                                                             and completeness.
EEW        12/08/2022   B110     0.60   295.00        177.00 Electronic file
                                                             management of
                                                             family law files
                                                             received from
                                                             Minton, Bassett,
                                                             Flores & Carsey, P.C.
EEW        12/08/2022   B110     0.40   295.00        118.00 Update and revise
                                                             first day pleadings
                                                             check list and
                                                             circulate to team.
EEW        12/08/2022   B110     1.80   295.00        531.00 Email
                                                             correspondence with
                                                             Allison N. Gerard
                                                             regarding FSS filing
                                                             for Texas Plaintiffs
                                                             and continue working
                                                             on creditor matrix.
CWS        12/08/2022   B150     0.60   715.00        429.00 Review and respond
                                                             to correspondence
                                                             regarding 341
                                                             meeting and
                                                             scheduling issues.
CWS        12/08/2022   B185     1.60   715.00       1144.00 Review Motion to Set
                                                             Date to Assume or
                                                             Reject Executory
                                                             Contract.
CWS        12/08/2022   B310     1.30 715.00          929.50 Review
                                                             Administrative Claim
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Motion.
CWS        12/08/2022   B160     2.00   715.00       1430.00 Draft correspondence
                                                             regarding Application
                                                             to Employ
                                                             Accountant (.8);
                                                             perform analysis
                                                             regarding and draft
                                                             correspondence
                                                             regarding interim
                                                             compensation motion
                                                             (1.2).
CWS        12/08/2022   B110     2.50   715.00       1787.50 Case strategy meeting
                                                             (1.5); review and
                                                             analyze procedural
                                                             filings needed going
                                                             forward (.8); review
                                                             existing pleadings list
                                                             (.2).
CCC        12/09/2022   B210     0.50   345.00        172.50 Review and analyze
                                                             Debtor's regular,
                                                             monthly expenses in
                                                             support of drafting
                                                             Utility Motion.
CCC        12/09/2022   B160     1.50   345.00        517.50 Draft motion to
                                                             establish procedures
                                                             for interim
                                                             compensation for
                                                             Debtor's retained
                                                             professionals.
CCC        12/09/2022   B160     1.10   345.00        379.50 Draft application to
                                                             employ Rachel
                                                             Kennerly, LLC as
                                                             Debtor's tax
                                                             accountant (.6); draft
                                                             declaration of Rachel
                                                             Kennerly in support
                                                             of employment
                                                             application (.4); draft
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               correspondence to
                                                               Rachel Kennerly
                                                               regarding proposed
                                                               declaration for her
                                                               review (.1).
VLD        12/09/2022   B110     1.00   795.00        795.00 Internal call with co
                                                             -counsel forming
                                                             strategy for initial
                                                             hearings and
                                                             pleadings.
VLD        12/09/2022   B120     1.00   795.00        795.00 Introductory call with
                                                             FSS CRO on financial
                                                             issues.
VLD        12/09/2022   B110     0.20   795.00        159.00 Emailing plaintiff's
                                                             counsel to set up
                                                             introductory call and
                                                             discuss case.
VLD        12/09/2022   B210     0.40   795.00        318.00 Analyze need for
                                                             marketing fee
                                                             agreement between
                                                             FSS and Alex Jones.
VLD        12/09/2022   B120     0.10 795.00           79.50 Coordinating
                                                             schedules for
                                                             meetings next week in
                                                             Austin to continue
                                                             investigate financial
                                                             situation for
                                                             schedules.
VLD        12/09/2022   B110     0.20   795.00        159.00 Review email from
                                                             litigation counsel on
                                                             joint report and
                                                             respond to same.
EEW        12/09/2022   B110     0.20   295.00         59.00 Email
                                                             correspondence to
                                                             Crissie W.
                                                             Stephenson with
                                                             updated filings and
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               creditor matrix ready
                                                               for client approval.
EEW        12/09/2022   B110     0.40   295.00        118.00 Review judge specific
                                                             guidelines and local
                                                             rules regarding
                                                             hearing notices.
EEW        12/09/2022   B110     0.70   295.00        206.50 Draft and file notice
                                                             of hearing on joint
                                                             administration motion
                                                             (efile in both the AJ
                                                             case and FSS).
EEW        12/09/2022   B140     0.70   295.00        206.50 Draft and file notice
                                                             of hearing on motion
                                                             to modify stay orders
                                                             and file in the FSS
                                                             case.
CWS        12/09/2022   B210     1.70   715.00       1215.50 Draft letter agreement
                                                             on platinum deal
                                                             (0.9); review
                                                             correspondence with
                                                             terms (.8).
CWS        12/09/2022   B110     5.60   715.00       4004.00 Review and revise
                                                             Motion for Extension
                                                             of deadline to file
                                                             Schedules and
                                                             proposed order (.3);
                                                             draft related
                                                             correspondence (.3);
                                                             review notice of
                                                             hearing and draft
                                                             related
                                                             correspondence (.4);
                                                             review creditor
                                                             matrix and analyze
                                                             issues regarding same
                                                             (1.2); draft related
                                                             correspondence (1.1);
                                                             conference calls
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               regarding case status
                                                               issues (2.3).
CCC        12/12/2022   B110     0.70 345.00          241.50 Review information
                                                             from client in support
                                                             of drafting utility
                                                             motion (.2); draft
                                                             utility motion (.5).
CCC        12/12/2022   B110     0.40   345.00        138.00 Review and analyze
                                                             strategy for proposed
                                                             order granting joint
                                                             administration (.2);
                                                             draft proposed order
                                                             granting joint
                                                             administration (.2).
NAC        12/12/2022   B320     0.60 615.00          369.00 Evaluate and
                                                             complete disclosure
                                                             responses;
                                                             correspondence with
                                                             Vickie L. Driver,
                                                             Crissie W.
                                                             Stephenson and
                                                             Allison N. Gerard
                                                             regarding same.
VLD        12/12/2022   B230     0.40   795.00        318.00 Call with L. Freeman
                                                             regarding client
                                                             position on various
                                                             matters (.4); call with
                                                             PQPR counsel on
                                                             limitations on
                                                             discussions with
                                                             client (.5); emails
                                                             with BB on
                                                             pre-petition payroll
                                                             issue with AJ
                                                             household staff (.4).
VLD        12/12/2022   B140     0.80   795.00        636.00 Call with Akin on
                                                             position with relief
                                                             from stay and
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               potential resolution to
                                                               both.
VLD        12/12/2022   B160     0.90   795.00        715.50 Email firm wide
                                                             seeking disclosure of
                                                             connections with
                                                             requisite offices and
                                                             persons and review
                                                             responses to same.
CCC        12/12/2022   B120     0.30   345.00        103.50 Review and analyze
                                                             approximately 930
                                                             pages of Debtor's
                                                             deposition testimony
                                                             in Connecticut state
                                                             court litigation to
                                                             evaluate any
                                                             testimony pertaining
                                                             to financial affairs in
                                                             support of drafting
                                                             Debtor's bankruptcy
                                                             schedules.
ANG        12/12/2022   B110     1.00   345.00        345.00 Investigate inclusion
                                                             of certain individuals
                                                             on creditor matrix and
                                                             potential need to
                                                             redact certain entries.
EEW        12/12/2022   B160     0.30   295.00         88.50 Procure bankruptcy
                                                             billing code set and
                                                             forward to Blackbriar
                                                             Advisors.
EEW        12/12/2022   B110     0.30   295.00         88.50 Review notice of
                                                             chapter 11
                                                             bankruptcy case and
                                                             file dates and
                                                             deadlines.
EEW        12/12/2022   B110     0.20   295.00         59.00 Email
                                                             correspondence to
                                                             co-counsel's office
                                                             regarding financial
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               education class for
                                                               client.
EEW        12/12/2022   B110     0.20 295.00           59.00 Obtain hearing
                                                             instructions and
                                                             docket hearing on
                                                             joint administration.
EEW        12/12/2022   B140     0.20 295.00           59.00 Obtain hearing
                                                             instructions and
                                                             docket hearing on
                                                             motion to modify stay
                                                             orders.
CWS        12/12/2022   B110     1.70   715.00       1215.50 Draft and review
                                                             correspondence
                                                             regarding creditor
                                                             matrix analysis (1.3);
                                                             review and respond to
                                                             correspondence
                                                             regarding IDI and
                                                             hearing scheduling
                                                             (.4).
CWS        12/12/2022   B140     2.60   715.00       1859.00 Review and Analyze
                                                             Emergency Motion to
                                                             Lift Stay.
CWS        12/12/2022   B150     1.20   715.00        858.00 Prepare for and attend
                                                             call with counsel for
                                                             creditor parties.
CCC        12/13/2022   B140     0.40   345.00        138.00 Review and analyze
                                                             Sandy Hook
                                                             Plaintiffs' Motion for
                                                             Relief from the
                                                             Automatic Stay.
CCC        12/13/2022   B160     0.30   345.00        103.50 Revising Motion to
                                                             Employ Crowe and
                                                             Dunlevy, P.C. as
                                                             Debtor's bankruptcy
                                                             counsel.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
CCC        12/13/2022   B110     0.60   345.00        207.00 Draft proposed order
                                                             granting joint
                                                             administration.
VLD        12/13/2022   B195     1.60   795.00       1272.00 Travel to Austin (3.2).
                                                             [billed at half time]
VLD        12/13/2022   B110     0.70   795.00        556.50 Email follow up with
                                                             multiple parties
                                                             owing information to
                                                             support schedules and
                                                             statements.
VLD        12/13/2022   B160     0.30   795.00        238.50 Correspondence with
                                                             litigation counsel and
                                                             need to be employed
                                                             in BK to get paid for
                                                             post-petition services.
VLD        12/13/2022   B210     1.90   795.00       1510.50 Calls with client on
                                                             disclosure of redacted
                                                             information in FSS
                                                             case and potential loss
                                                             of service (.5); call
                                                             with service provider
                                                             on same (.3); review
                                                             pleadings on docket
                                                             and from service
                                                             provider seeking
                                                             information leaked
                                                             (1.1).
VLD        12/13/2022   B320     0.90 795.00          715.50 Call with mediator.
CCC        12/13/2022   B120     3.70   345.00       1276.50 Review and analyze
                                                             approximately 930
                                                             pages of Debtor's
                                                             deposition testimony
                                                             in Connecticut state
                                                             court litigation to
                                                             evaluate any
                                                             testimony pertaining
                                                             to financial affairs in
                                                             support of drafting
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Debtor's bankruptcy
                                                               schedules
ANG        12/13/2022   B110     0.70   345.00        241.50 Research standard for
                                                             permitted living
                                                             expenses, as well as
                                                             types of expenses
                                                             permitted, for debtors
                                                             in individual Chapter
                                                             11 cases.
EEW        12/13/2022   B160     0.10   295.00         29.50 Email
                                                             correspondence with
                                                             co-counsel's office
                                                             regarding bankruptcy
                                                             billing codes.
EEW        12/13/2022   B110     0.20   295.00         59.00 Review notice of
                                                             organizational
                                                             meeting of unsecured
                                                             creditors and circulate
                                                             to team.
EEW        12/13/2022   B110     0.30   295.00         88.50 Review summary of
                                                             AJ compensation and
                                                             forward to Blackbriar
                                                             Advisors via
                                                             fileshare.
CWS        12/13/2022   B140     1.60   715.00       1144.00 Perform analysis
                                                             regarding response to
                                                             Lift Stay Motion (.9);
                                                             draft related
                                                             correspondence (.7).
CWS        12/13/2022   B210     1.10   715.00        786.50 Review and analyze
                                                             correspondence
                                                             regarding sales
                                                             calculations and
                                                             issues with credit card
                                                             processor.
CWS        12/13/2022   B150     1.60 715.00         1144.00 Review
                                                             Organizational
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Meeting of Creditors
                                                               Notice (.5); perform
                                                               analysis regarding
                                                               UCC for Individuals
                                                               (1.1).
CWS        12/13/2022   B110     0.80 715.00          572.00 Review
                                                             correspondence
                                                             regarding deposition
                                                             summary.
CCC        12/14/2022   B190     1.40 345.00          483.00 Draft Motion related
                                                             to Committee of
                                                             Unsecured Creditors
                                                             (.7); conduct legal
                                                             research in support of
                                                             same (.7).
VLD        12/14/2022   B120     3.60   795.00       2862.00 Touring studio and
                                                             facility (1.0); meeting
                                                             various personnel at
                                                             FSS and seeking
                                                             information on
                                                             location of assets
                                                             (1.1); inspection of
                                                             gun safes at FSS
                                                             offices (.8); call with
                                                             E. Taube on prior
                                                             representation in
                                                             involuntary and
                                                             background
                                                             information (.7).
VLD        12/14/2022   B240     0.40   795.00        318.00 Analyzing issues with
                                                             donations and tax
                                                             impact.
VLD        12/14/2022   B110     4.40   795.00       3498.00 Review information
                                                             on budget for client
                                                             and analyze same
                                                             (1.2); review and
                                                             analyze financial
                                                             information in
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               documents (1.1);
                                                               general discussion
                                                               with BB advisors on
                                                               information needed to
                                                               complete schedules
                                                               (1.5); call with SUBV
                                                               Trustee counsel on
                                                               objection to joint
                                                               admin (.3); email
                                                               follow up with
                                                               persons owing
                                                               information from
                                                               initial meetings (.3).
VLD        12/14/2022   B230     1.10 795.00          874.50 Review cash
                                                             collateral budget and
                                                             begin limited
                                                             objection to cc usage
                                                             regarding AJ's salary
                                                             and seeking
                                                             information on job
                                                             duties of other
                                                             employees.
VLD        12/14/2022   B190     0.40   795.00        318.00 Call with R. Battaglia
                                                             on availability of call
                                                             with mediator (.2);
                                                             send email on same
                                                             (.2).
CCC        12/14/2022   B110     0.30   345.00        103.50 Draft Initial Report by
                                                             Debtor.
CCC        12/14/2022   B120     1.50   345.00        517.50 Review and analyze
                                                             approximately 930
                                                             pages of Debtor's
                                                             deposition testimony
                                                             in Connecticut state
                                                             court litigation to
                                                             evaluate any
                                                             testimony pertaining
                                                             to financial affairs in
                                                             support of drafting
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Debtor's bankruptcy
                                                               schedules.
ANG        12/14/2022   B140     1.50 345.00          517.50 Draft objection to
                                                             plaintiffs' Motion to
                                                             Lift Stay regarding
                                                             state court appeals.
ANG        12/14/2022   B230     2.40 345.00          828.00 Draft objection to
                                                             cash collateral motion
                                                             in FSS related to
                                                             Debtor's salary and
                                                             expense
                                                             reimbursements
                                                             under employment
                                                             agreement.
EEW        12/14/2022   B110     2.20   295.00        649.00 Review documents
                                                             for initial debtor
                                                             interview and
                                                             complete initial report
                                                             summary.
EEW        12/14/2022   B320     0.10   295.00         29.50 Email
                                                             correspondence with
                                                             Caylin C. Craig
                                                             regarding explanation
                                                             of proposed plan of
                                                             reorganization.
EEW        12/14/2022   B110     0.80   295.00        236.00 Compile client
                                                             documents available
                                                             for the initial debtor
                                                             interview and forward
                                                             to Blackbriar
                                                             Advisors via
                                                             fileshare.
EEW        12/14/2022   B110     0.20   295.00         59.00 Obtain premarital
                                                             agreement and
                                                             forward to Vickie L.
                                                             Driver via fileshare
                                                             while meeting with
                                                             co-counsel and the
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               client.
EEW        12/14/2022   B110     0.60   295.00        177.00 Draft and file notice
                                                             of reset hearing on
                                                             joint admin motion
                                                             (efile in both the AJ
                                                             and FSS cases).
EEW        12/14/2022   B140     0.40   295.00        118.00 Draft and file notice
                                                             of hearing on motion
                                                             to modify stay orders.
EEW        12/14/2022   B110     0.50 295.00          147.50 Finalize and file
                                                             motion to extend
                                                             deadline to file
                                                             schedules and docket
                                                             objection deadline for
                                                             same.
CWS        12/14/2022   B210     1.80   715.00       1287.00 Draft and revise
                                                             platinum products
                                                             contract (1.1); review
                                                             and analyze terms and
                                                             draft related
                                                             correspondence (.7).
CWS        12/14/2022   B110     0.50   715.00        357.50 Review and respond
                                                             to correspondence
                                                             regarding utility
                                                             communications.
CWS        12/14/2022   B140     0.20   715.00        143.00 Review and respond
                                                             to correspondence
                                                             regarding Lift Stay
                                                             Response.
CWS        12/14/2022   B110     0.80   715.00        572.00 Review and revise
                                                             Notice of Reset
                                                             Hearing; (.3); review
                                                             Joint administration
                                                             proposed agreed
                                                             order and draft related
                                                             correspondence (.5).
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
CWS        12/14/2022   B150     3.10   715.00       2216.50 Perform research and
                                                             analysis regarding
                                                             committee issues
                                                             (2.2); draft related
                                                             correspondence (.2);
                                                             calls regarding same
                                                             (.7).
CWS        12/14/2022   B230     0.50   715.00        357.50 Review and respond
                                                             to correspondence
                                                             regarding Limited
                                                             Objection to Cash
                                                             Collateral in FSS.
CCC        12/15/2022   B190     3.40 345.00         1173.00 Draft Motion related
                                                             to Unsecured
                                                             Creditors' Committee
                                                             (1.8); conduct legal
                                                             research in support of
                                                             same (1.6).
VLD        12/15/2022   B195     1.60   795.00       1272.00 Travel from Austin
                                                             (3.2). [billed at half
                                                             time]
VLD        12/15/2022   B230     2.70   795.00       2146.50 Meetings with
                                                             business partners to
                                                             discuss potential
                                                             avenues of revenue
                                                             for AJ or FSS (1.5);
                                                             meeting to inspect
                                                             gun safes (1.0); work
                                                             on W&E list for cash
                                                             collateral objection in
                                                             FSS (.2).
VLD        12/15/2022   B110     0.30   795.00        238.50 Correspondence with
                                                             parties seeking
                                                             resolution for Joint
                                                             admin motion given
                                                             objections from
                                                             parties.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
VLD        12/15/2022   B140     0.40   795.00        318.00 Call with counsel for
                                                             Creditors on stay
                                                             resolution issues and
                                                             terms.
ANG        12/15/2022   B190     1.00 345.00          345.00 Review cash
                                                             collateral documents
                                                             in FSS matter to
                                                             determine necessary
                                                             additions to Debtor's
                                                             objection.
EEW        12/15/2022   B110     2.80   295.00        826.00 Hearing prep for the
                                                             12-19-2022 hearing
                                                             on joint admin.
EEW        12/15/2022   B140     1.20   295.00        354.00 Draft and file exhibit
                                                             list for the 12-19-22
                                                             hearing and file in the
                                                             FSS case.
EEW        12/15/2022   B110     0.20   295.00         59.00 Email service of
                                                             exhibit to debtor's
                                                             counsel in the FSS
                                                             case, Subchapter V
                                                             Trustee and US
                                                             Trustee.
CWS        12/15/2022   B210     2.10   715.00       1501.50 Review utility
                                                             information and
                                                             related
                                                             correspondence.
CWS        12/15/2022   B230     2.10   715.00       1501.50 Review and revise
                                                             Limited Objection to
                                                             Cash Collateral and
                                                             draft related
                                                             correspondence (2.8);
                                                             review and revise
                                                             witness and exhibit
                                                             list for hearing on
                                                             same (.6).
CCC        12/16/2022   B190     2.30 345.00          793.50 Draft Motion related
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               to Unsecured
                                                               Creditors Committee
                                                               (1.3); conduct legal
                                                               research in support of
                                                               same (1.0).
NAC        12/16/2022   B240     1.90   615.00       1168.50 Correspondence with
                                                             Vickie L. Driver
                                                             regarding tax
                                                             treatment of Bitcoin
                                                             donations and use of
                                                             proceeds.
VLD        12/16/2022   B110     0.40   795.00        318.00 Call with Blackbriar
                                                             to discuss IDI
                                                             completion.
VLD        12/16/2022   B230     1.30   795.00       1033.50 Review and revise CC
                                                             objection and prepare
                                                             for filing (.9); emails
                                                             seeking meeting or
                                                             call with CRO for
                                                             FSS to discuss
                                                             revenue and plans to
                                                             increase same (.2);
                                                             discuss providing
                                                             employment contract
                                                             for exhibit (.2).
VLD        12/16/2022   B150     0.80   795.00        636.00 Review lengthy
                                                             emails from creditor.
CWS        12/16/2022   B140     1.20   715.00        858.00 Review and respond
                                                             to correspondence
                                                             regarding order on
                                                             Motion to Modify
                                                             Stay.
CWS        12/16/2022   B150     1.30   715.00        929.50 Review and analyze
                                                             creditor
                                                             correspondence.
CWS        12/16/2022   B230     0.60   715.00        429.00 Draft correspondence
                                                             regarding exhibit list
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               for cash collateral
                                                               hearing.
CWS        12/16/2022   B110     0.80 715.00          572.00 Review FSS MORs.
CWS        12/17/2022   B140     0.40   715.00        286.00 Review and respond
                                                             to correspondence
                                                             from S. Brauner
                                                             regarding proposed
                                                             agreed order on stay
                                                             modification.
VLD        12/17/2022   B110     0.20   795.00        159.00 Email to UST
                                                             regarding bank for
                                                             DIP Account.
CWS        12/18/2022   B110     1.70   715.00       1215.50 Review and analyze
                                                             initial debtor
                                                             interview
                                                             documentation and
                                                             questions (.8); call
                                                             with financial
                                                             advisors regarding
                                                             same (.9).
VLD        12/19/2022   B195     3.30   795.00       2623.50 Travel to and from
                                                             Austin for preparation
                                                             for and presentation at
                                                             the IDI and Hearing
                                                             on various matters
                                                             (6.6). [billed at half
                                                             time]
VLD        12/19/2022   B110     2.30   795.00       1828.50 Review and revise
                                                             IDI documentation
                                                             and supporting
                                                             documentation in
                                                             preparation for IDI
                                                             (1.3); attend IDI (1.0).
VLD        12/19/2022   B230     1.20   795.00        954.00 Preparation for and
                                                             attend hearing in FSS
                                                             on cash collateral and
                                                             seeking full contract
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               salary (1.2); call with
                                                               counsel for
                                                               committee on cash
                                                               collateral position
                                                               (.6).
VLD        12/19/2022   B110     0.80   795.00        636.00 Preparation for and
                                                             attend hearing on
                                                             joint admin.
VLD        12/19/2022   B140     1.80   795.00       1431.00 Review and approve
                                                             final form of agreed
                                                             lift stay order and
                                                             prepare for hearing on
                                                             same.
VLD        12/19/2022   B110     1.00   795.00        795.00 Discuss outcome of
                                                             hearing with client
                                                             and co-counsel.
VLD        12/19/2022   B150     0.40   795.00        318.00 Call with S. Brauner
                                                             on terms of
                                                             committee counsel
                                                             compensation.
ANG        12/19/2022   B190     0.50   345.00        172.50 Prepare for and attend
                                                             (in part) hearing on
                                                             debtor's motions for
                                                             joint administration
                                                             and to modify stay, as
                                                             well as relief from
                                                             stay motions of
                                                             creditors.
EEW        12/19/2022   B110     2.40   295.00        708.00 Prepare electronic
                                                             hearing notebook and
                                                             exhibit binder for
                                                             hearings in both the
                                                             AJ and FSS cases and
                                                             forward to Vickie L.
                                                             Driver via fileshare.
EEW        12/19/2022   B110     0.10   295.00         29.50 Review email
                                                             correspondence from
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               bankruptcy
                                                               correspondent with
                                                               Bloomberg and
                                                               circulate to team.
CCC        12/20/2022   B210     1.30 345.00          448.50 Draft Utility Motion
                                                             (.6); review and
                                                             analyze information
                                                             received regarding
                                                             Debtor's utilities in
                                                             support of same (.4);
                                                             and draft
                                                             correspondence to
                                                             Debtor's
                                                             representatives to
                                                             gather information in
                                                             support of Utility
                                                             Motion (.3).
CCC        12/20/2022   B160     0.20   345.00         69.00 Revising Application
                                                             to Employ Crowe &
                                                             Dunlevy as Debtor's
                                                             bankruptcy counsel
                                                             and proposed order
                                                             granting same.
CWS        12/20/2022   B160     5.00   715.00       3575.00 Review draft
                                                             employment
                                                             application,
                                                             declaration and
                                                             proposed order of S.
                                                             Jones (1.3); draft
                                                             related
                                                             correspondence (.3);
                                                             review and revise
                                                             interim compensation
                                                             motion (2.5); review
                                                             and respond to related
                                                             correspondence (.9).
CWS        12/20/2022   B160     2.70   715.00       1930.50 Review and revise
                                                             Employment
                                                             application for
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Blackbriar financial
                                                               advisors, declaration
                                                               of B. Schlizer in
                                                               support and proposed
                                                               order (2.2); draft
                                                               related
                                                               correspondence (.5).
CWS        12/20/2022   B160     3.50   715.00       2502.50 Review and revise
                                                             Employment
                                                             Application for
                                                             Crowe & Dunlevy,
                                                             declaration of Vickie
                                                             L. Driver, and
                                                             proposed order (2.4);
                                                             review related
                                                             correspondence (1.1).
VLD        12/20/2022   B120     1.20   795.00        954.00 Multiple emails and
                                                             calls seeking access to
                                                             FSS financials,
                                                             cooperation of CRO,
                                                             and review initial
                                                             sales reconciliation.
VLD        12/20/2022   B110     0.40   795.00        318.00 Review account
                                                             statement and analyze
                                                             DIP status.
EEW        12/20/2022   B110     0.30   295.00         88.50 Coordinate service of
                                                             Notice of Chapter 11
                                                             Bankruptcy on
                                                             creditor mailing list.
EEW        12/20/2022   B110     1.30   295.00        383.50 Finalize text version
                                                             of creditor matrix and
                                                             upload to the court.
NAC        12/21/2022   B240     1.20   615.00        738.00 Correspondence and
                                                             call with Vickie L.
                                                             Driver regarding
                                                             Bitcoin donations
                                                             from listeners and the
                                                             tax treatment to the
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               recipient.
CCC        12/21/2022   B110     1.90 345.00          655.50 Draft Utility Motion
                                                             and Proposed Order
                                                             to same (1.3); review
                                                             secretary of state
                                                             filings to obtain
                                                             service addresses for
                                                             utility companies for
                                                             service of Utility
                                                             Motion (.6).
CWS        12/21/2022   B110     1.80   715.00       1287.00 Review and respond
                                                             to correspondence
                                                             regarding utility
                                                             motion and exhibits
                                                             regarding same.
CWS        12/21/2022   B185     3.40   715.00       2431.00 Review and revise
                                                             Emergency Motion to
                                                             Fix Date for Debtor to
                                                             Assume or Reject
                                                             Contract and
                                                             Proposed Order (2.6);
                                                             draft related
                                                             correspondence (.8).
CCC        12/21/2022   B160     1.00   345.00        345.00 Draft application for
                                                             interim compensation
                                                             procedures to mirror
                                                             procedures granted in
                                                             Free Speech Systems'
                                                             bankruptcy case.
CCC        12/21/2022   B160     0.50   345.00        172.50 Draft application to
                                                             employ Rachel
                                                             Kennerly, LLC as
                                                             Debtor's tax
                                                             accountant and
                                                             proposed order
                                                             granting same.
VLD        12/21/2022   B160     0.40   795.00        318.00 Final approval of
                                                             employment apps for
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               filing.
VLD        12/21/2022   B185     0.70   795.00        556.50 Finalizing motion to
                                                             compel assumption or
                                                             rejection of AJ
                                                             employment
                                                             agreement with FSS
                                                             (.3); review email
                                                             from S. Jordan on
                                                             testimony for hearing
                                                             (.2); discuss same
                                                             with B. Schleizer (.2).
VLD        12/21/2022   B110     1.30   795.00       1033.50 Calls and emails
                                                             regarding information
                                                             necessary to file
                                                             Utility Motion and
                                                             prohibit termination
                                                             of utility service
                                                             post-petition (.9); call
                                                             with client regarding
                                                             same (.4).
VLD        12/21/2022   B190     0.30   795.00        238.50 Emails with litigation
                                                             counsel on status of
                                                             mediation.
VLD        12/21/2022   B150     0.40   795.00        318.00 Brief review of
                                                             multiple lengthy
                                                             emails from creditor.
VLD        12/21/2022   B150     0.40   795.00        318.00 Brief review of
                                                             multiple lengthy
                                                             emails from creditor.
CCC        12/21/2022   B120     0.60   345.00        207.00 Continue to review
                                                             and analyze
                                                             approximately 930
                                                             pages of Debtor's
                                                             deposition testimony
                                                             in Connecticut state
                                                             court litigation to
                                                             evaluate any
                                                             testimony pertaining
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               to financial affairs in
                                                               support of drafting
                                                               Debtor's bankruptcy
                                                               schedules.
ANG        12/21/2022   B160     0.30 345.00          103.50 Begin revising
                                                             interim fee
                                                             procedures motion to
                                                             comport with
                                                             procedures approved
                                                             in FSS matter.
EEW        12/21/2022   B110     0.60   295.00        177.00 Finalize, file and
                                                             coordinate service of
                                                             emergency motion
                                                             granting utilities
                                                             motion.
EEW        12/21/2022   B185     0.70   295.00        206.50 Revise, finalize and
                                                             file motion to fix date
                                                             by which debtor must
                                                             assume or reject
                                                             contract and file in the
                                                             FSS case.
EEW        12/21/2022   B110     0.10   295.00         29.50 Email
                                                             correspondence to the
                                                             courtroom deputy
                                                             regarding emergency
                                                             utilities motion.
CWS        12/21/2022   B160     2.90   715.00       2073.50 Review and revise
                                                             Interim compensation
                                                             Motion and proposed
                                                             order (1.7); draft
                                                             related
                                                             correspondence (.9);
                                                             correspondence
                                                             regarding
                                                             professional
                                                             applications (.3).
CWS        12/21/2022   B185     2.60   715.00       1859.00 Review and revise
                                                             Motion to Set a Date
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               to Assume or Reject
                                                               Executory contracts
                                                               (1.7); draft related
                                                               correspondence (.6);
                                                               call for certificate of
                                                               conference (.3).
CWS        12/21/2022   B110     2.20   715.00       1573.00 Review and revise
                                                             Utility Motion and
                                                             proposed order (1.5);
                                                             draft related
                                                             correspondence (.7).
VLD        12/21/2022   B190     1.30   795.00       1033.50 Travel to Houston
                                                             (2.6). [billed at half
                                                             time]
CCC        12/22/2022   B160     0.50   345.00        172.50 Draft correspondence
                                                             to tax accountant
                                                             regarding application
                                                             to employ Rachel
                                                             Kennerly, LLC as
                                                             Debtor's tax
                                                             accountant (.2);
                                                             phone conference
                                                             regarding same (.3).
CCC        12/22/2022   B160     0.50 345.00          172.50 Draft revisions to
                                                             application to employ
                                                             Rachel Kennerly,
                                                             LLC as Debtor's tax
                                                             accountant based on
                                                             information received
                                                             from tax accountant.
VLD        12/22/2022   B120     1.20   795.00        954.00 Review and analyze
                                                             cash reconciliation
                                                             and discuss with BB.
VLD        12/22/2022   B150     1.10   795.00        874.50 Call with creditor
                                                             regarding impact to
                                                             contract from filing.
CCC        12/22/2022   B120     1.70   345.00        586.50 Continue to review
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               and analyze
                                                               approximately 930
                                                               pages of Debtor's
                                                               deposition testimony
                                                               in Connecticut state
                                                               court litigation to
                                                               evaluate any
                                                               testimony pertaining
                                                               to financial affairs in
                                                               support of drafting
                                                               Debtor's bankruptcy
                                                               schedules.
EEW        12/22/2022   B110     0.10   295.00         29.50 Email
                                                             correspondence to
                                                             co-counsel's office
                                                             regarding filing
                                                             disclosure of
                                                             compensation.
EEW        12/22/2022   B160     0.50 295.00          147.50 Finalize and file
                                                             motion for entry of
                                                             order establishing
                                                             procedures for
                                                             interim
                                                             compensation.
EEW        12/22/2022   B160     0.10   295.00         29.50 Docket objection
                                                             deadline for motion
                                                             for interim
                                                             compensation.
CWS        12/22/2022   B160     4.20   715.00       3003.00 Review Application
                                                             to Employ and
                                                             proposed order for
                                                             Accountant (1.4);
                                                             draft related
                                                             correspondence (.4);
                                                             Review Application
                                                             and proposed order
                                                             for Blackbriar (1.8);
                                                             draft related
                                                             correspondence (.6).
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
CCC        12/23/2022   B120     0.50   345.00        172.50 Review and analyze
                                                             approximately 930
                                                             pages of Debtor's
                                                             deposition testimony
                                                             in Connecticut state
                                                             court litigation to
                                                             evaluate any
                                                             testimony pertaining
                                                             to financial affairs in
                                                             support of drafting
                                                             Debtor's bankruptcy
                                                             schedules.
CCC        12/23/2022   B160     0.30   345.00        103.50 Review local rules for
                                                             hearing agenda
                                                             requirements;
                                                             determine deadline
                                                             for agendas to be filed
                                                             on upcoming hearing
                                                             regarding
                                                             employment
                                                             applications.
VLD        12/23/2022   B120     1.10   795.00        874.50 Emails on contact
                                                             info seeking clarity on
                                                             cash reconciliation
                                                             (.1); call with FSS
                                                             counsel and BB
                                                             Advisors walking
                                                             through cash
                                                             reconciliation issues
                                                             (.7); Review updated
                                                             notes on AJ
                                                             deposition regarding
                                                             financial disclosures
                                                             (.3).
VLD        12/23/2022   B110     0.70   795.00        556.50 Arrange for notices of
                                                             hearing and
                                                             withdrawal of
                                                             documents from last
                                                             hearing and
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               calendaring agenda
                                                               deadlines (.5); review
                                                               and approve
                                                               comments from
                                                               committee counsel
                                                               (.2).
VLD        12/23/2022   B160     0.30   795.00        238.50 Review committee
                                                             counsel comments to
                                                             employment
                                                             applications and
                                                             approve same.
CCC        12/23/2022   B160     0.80   345.00        276.00 Continue to review
                                                             and analyze
                                                             approximately 930
                                                             pages of Debtor's
                                                             deposition testimony
                                                             in Connecticut state
                                                             court litigation to
                                                             evaluate any
                                                             testimony pertaining
                                                             to financial affairs in
                                                             support of drafting
                                                             Debtor's bankruptcy
                                                             schedules.
CWS        12/23/2022   B150     0.50   715.00        357.50 Review and respond
                                                             to comments from
                                                             creditor counsel on
                                                             proposed orders.
CWS        12/23/2022   B110     0.50   715.00        357.50 Review deposition
                                                             summary.
CWS        12/23/2022   B110     0.90   715.00        643.50 Review and revise
                                                             Notice of Hearing
                                                             (.5); draft related
                                                             correspondence (.4).
CWS        12/23/2022   B160     0.60   715.00        429.00 Conference with
                                                             professionals
                                                             regarding application
                                                             changes.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
CCC        12/27/2022   B110     2.60   345.00        897.00 Conduct legal
                                                             research in support of
                                                             Motion to Seal
                                                             Debtor's Schedules
                                                             (1.0); review and
                                                             analyze deposition
                                                             testimony in support
                                                             of Motion to Seal (.8);
                                                             draft Motion to Seal
                                                             Debtor's Schedules
                                                             (.8).
VLD        12/27/2022   B190     1.80   795.00       1431.00 Call with team on
                                                             2004 draft request for
                                                             all documents turned
                                                             over to SubV Trustee
                                                             (.9); emails to
                                                             committee counsel on
                                                             information published
                                                             by Plaintiff's counsel
                                                             on website and seek
                                                             good faith gesture
                                                             (.9).
VLD        12/27/2022   B150     0.10   795.00         79.50 Review information
                                                             from Security Bank of
                                                             Crawford referencing
                                                             loan guaranty.
VLD        12/27/2022   B190     1.20   795.00        954.00 Call with team on
                                                             2004 draft request for
                                                             all documents turned
                                                             over to SubV Trustee
                                                             (.8); emails to
                                                             committee counsel on
                                                             information published
                                                             by Plaintiff's counsel
                                                             on website and seek
                                                             good faith gesture
                                                             (.4).
VLD        12/27/2022   B150     0.30   795.00        238.50 Emails with Security
                                                             Bank of Crawford
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               referencing loan
                                                               guaranty.
CCC        12/27/2022   B110     0.50   345.00        172.50 Draft notices of
                                                             withdrawal of Joint
                                                             Administration
                                                             Motions in Debtor's
                                                             case and in Free
                                                             Speech Systems' case.
CCC        12/27/2022   B160     0.30   345.00        103.50 Review and analyze
                                                             Free Speech Systems
                                                             filings to determine
                                                             whether application
                                                             to employ Rachel
                                                             Kennerly, LLC as
                                                             Free Speech Systems'
                                                             tax accountant has
                                                             been filed in support
                                                             of Debtor Alex Jones'
                                                             application to employ
                                                             Rachel Kennerly,
                                                             LLC as tax
                                                             accountant.
ANG        12/27/2022   B160     1.00   345.00        345.00 Investigate potential
                                                             federal or local
                                                             requirement for
                                                             debtor signature on
                                                             employment
                                                             application(s).
CWS        12/27/2022   B160     1.90   715.00       1358.50 Review and analyze
                                                             comments of UCC to
                                                             employment
                                                             application and
                                                             Interim Comp
                                                             Procedures (.8); draft
                                                             correspondence
                                                             regarding same (.3);
                                                             review and respond to
                                                             multiple professional
                                                             correspondence
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               regarding
                                                               employment
                                                               application (.8).
CWS        12/27/2022   B110     0.60   715.00        429.00 Review and analyze
                                                             comments of UCC to
                                                             Utility motion (.2);
                                                             draft correspondence
                                                             regarding same (.1);
                                                             review and respond to
                                                             correspondence from
                                                             utility provider (.3).
CWS        12/27/2022   B190     1.40   715.00       1001.00 Call with lender's
                                                             counsel regarding
                                                             various matters
                                                             including information
                                                             requests and related
                                                             correspondence.
CWS        12/27/2022   B110     0.50   715.00        357.50 Draft correspondence
                                                             regarding agreed
                                                             withdrawals and
                                                             analysis regarding
                                                             same.
VLD        12/28/2022   B120     1.20   795.00        954.00 Call with BB
                                                             Advisors on status of
                                                             information gathering
                                                             and items needed to
                                                             complete schedules,
                                                             statements, and MOR
                                                             (.9); emails to FSS
                                                             counsel on access to
                                                             information (.2);
                                                             message to SubV
                                                             trustee on access to
                                                             information (.1).
VLD        12/28/2022   B190     0.20   795.00        159.00 Emails with
                                                             co-counsel regarding
                                                             2004 request and
                                                             confidentiality order
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               in SDTX.
VLD        12/28/2022   B210     0.60   795.00        477.00 Calls with client on
                                                             FSS needs and
                                                             operational issues
                                                             (.2); emails same to
                                                             BB Advisors to
                                                             discuss with FSS
                                                             CRO and staff. (.4).
CCC        12/28/2022   B110     0.40   345.00        138.00 Multiple attempts to
                                                             return phone call from
                                                             utility provider
                                                             regarding Utility
                                                             Motion (.2); draft
                                                             email correspondence
                                                             regarding same (.2).
EEW        12/28/2022   B110     0.20 295.00           59.00 Review
                                                             dallaseservice inbox
                                                             and circulate
                                                             correspondence.
EEW        12/28/2022   B110     0.10   295.00         29.50 Email
                                                             correspondence to
                                                             team regarding
                                                             post-petition matter
                                                             available now for
                                                             time entry.
CWS        12/28/2022   B210     1.60   715.00       1144.00 Prepare for and attend
                                                             call with B. Schleizer
                                                             and H. Kessler
                                                             regarding financial
                                                             issues.
CWS        12/28/2022   B110     0.60   715.00        429.00 Attention to utility
                                                             correspondence.
VLD        12/29/2022   B110     0.70   795.00        556.50 Discuss upcoming
                                                             deadlines with client
                                                             and progress towards
                                                             completing
                                                             schedules, statements,
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               and MORs.
CCC        12/29/2022   B160     0.80   345.00        276.00 Draft application to
                                                             employ Blackbriar
                                                             Advisors LLC as
                                                             Debtor's financial
                                                             advisors (.3); prepare
                                                             exhibits to same (.3);
                                                             and file application
                                                             and exhibits (.2).
CWS        12/29/2022   B190     1.10   715.00        786.50 Draft and review
                                                             correspondence
                                                             regarding discovery
                                                             issues related to
                                                             information needed to
                                                             complete schedules
                                                             and related motion to
                                                             compel.
CWS        12/29/2022   B160     0.40   715.00        286.00 Draft correspondence
                                                             regarding status and
                                                             completion of
                                                             employment
                                                             application for
                                                             various professionals.
CWS        12/29/2022   B185     0.50   715.00        357.50 Draft correspondence
                                                             regarding executory
                                                             contract analysis
                                                             research issues.
CCC        12/30/2022   B110     0.30 345.00          103.50 Review
                                                             correspondence from
                                                             utility provider
                                                             regarding Utility
                                                             Motion (.1); analyze
                                                             debtor's utility
                                                             information to
                                                             develop response to
                                                             inquiry (.1); draft
                                                             correspondence to
                                                             utility provider
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               providing requested
                                                               information (.1).
CCC        12/30/2022   B160     1.10 345.00          379.50 Review Free Speech
                                                             Systems filings to
                                                             employ Appellate
                                                             Counsel (.8); Draft
                                                             corresponding
                                                             application to employ
                                                             appellate counsel (.3).
CCC        12/30/2022   B160     0.20 345.00           69.00 Exchange
                                                             correspondence with
                                                             tax accountant
                                                             regarding approval of
                                                             her declaration in
                                                             support of
                                                             Application to
                                                             Employ Rachel
                                                             Kennerly, LLC as tax
                                                             accountant.
CCC        12/30/2022   B160     0.40   345.00        138.00 Draft application to
                                                             employ Rachel
                                                             Kennerly, LLC as tax
                                                             accountant and
                                                             proposed order
                                                             granting same (.2);
                                                             and e-file application
                                                             and exhibits (.2).
ANG        12/30/2022   B190     2.60   345.00        897.00 Draft motion to
                                                             compel production of
                                                             documents from
                                                             PQPR and proposed
                                                             order.
ANG        12/30/2022   B185     2.00 345.00          690.00 Complete email
                                                             memorandum on
                                                             potential executory
                                                             nature of prenuptial
                                                             agreements and
                                                             potential need for
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               assumption or
                                                               rejection of same.
CWS        12/30/2022   B185     0.50   715.00        357.50 Review and respond
                                                             to court
                                                             correspondence
                                                             regarding Motion to
                                                             fix a date to Assume
                                                             or Reject executory
                                                             contract (.3); draft
                                                             related
                                                             correspondence (.2).
CWS        12/30/2022   B190     0.40   715.00        286.00 Review revised
                                                             mediation order (.2);
                                                             review and respond to
                                                             related
                                                             correspondence (.2).
CWS        12/30/2022   B160     0.90   715.00        643.50 Review and respond
                                                             to correspondence
                                                             regarding Application
                                                             to employ Tax
                                                             professional (.5); call
                                                             with counsel
                                                             regarding same (.4).
CWS        12/30/2022   B190     1.30   715.00        929.50 Conference call and
                                                             related
                                                             correspondence
                                                             regarding discovery
                                                             requests and ongoing
                                                             information gathering
                                                             matters.
VLD        12/30/2022   B150     1.50 795.00         1192.50 Review lengthy letter
                                                             on multiple issues
                                                             from potential
                                                             creditors committee
                                                             counsel (.4); begin
                                                             response to same (.5);
                                                             emails with Akin
                                                             seeking discussion of
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               letter (.2); analyze
                                                               committee
                                                               appointment when all
                                                               constituents are
                                                               personally
                                                               represented by
                                                               multiple law firms in
                                                               case (.4).
VLD        12/30/2022   B190     0.40   795.00        318.00 Review and analyze
                                                             last week FSS Sales
                                                             Reconciliation.
VLD        12/30/2022   B190     0.70   795.00        556.50 Review mediation
                                                             protective and
                                                             confidentiality order
                                                             and approve same.
CWS        01/02/2023   B110     1.40 715.00         1001.00 Review
                                                             correspondence and
                                                             messages regarding
                                                             document production
                                                             and request
                                                             information.
CCC        01/03/2023   B190     0.30   345.00        103.50 Review and analyze
                                                             Texas State Court
                                                             filings to assess status
                                                             of actions against
                                                             Debtor.
CWS        01/03/2023   B110     4.90   715.00       3503.50 Review and respond
                                                             to correspondence
                                                             regarding requests for
                                                             information and
                                                             specific documents
                                                             (2.4); calls regarding
                                                             same (1.2); review
                                                             and respond to
                                                             inquiries regarding
                                                             specific creditor
                                                             notices (1.3).
CWS        01/04/2023   B195     2.00   715.00       1430.00 Nonworking travel to
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Austin to meet with
                                                               FAs and FSS
                                                               professionals [billed
                                                               at half time] (4.0).
EEW        01/04/2023   B120     0.60   295.00        177.00 Electronic document
                                                             and case file
                                                             management of motor
                                                             home loan
                                                             documents.
EEW        01/04/2023   B110     3.20   295.00        944.00 Electronic case file
                                                             management of final
                                                             versions of pleadings
                                                             and FSS and AJ
                                                             filings.
CCC        01/05/2023   B160     0.40 345.00          138.00 Draft revisions to
                                                             proposed order on
                                                             interim compensation
                                                             motion based on
                                                             Trustee's Office and
                                                             Unsecured Creditor
                                                             Committee
                                                             comments.
EEW        01/05/2023   B320     0.30   295.00         88.50 Review stipulation
                                                             and agreed order
                                                             extending deadline to
                                                             file plan of
                                                             reorganization and
                                                             object to
                                                             dischargeability in the
                                                             FSS case (.1); docket
                                                             extended deadlines
                                                             for same (.2).
EEW        01/05/2023   B110     0.50   295.00        147.50 Review client files on
                                                             Litshare to determine
                                                             if we have the trust
                                                             document for the
                                                             Missouri779384
                                                             Trust (.4); email
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               correspondence to C.
                                                               Stephenson regarding
                                                               same (.1).
EEW        01/05/2023   B160     2.80   295.00        826.00 Review case docket
                                                             and compile relevant
                                                             pleadings to prepare
                                                             for 01-06-2023 status
                                                             conference in the FSS
                                                             case.
EEW        01/05/2023   B160     0.30 295.00           88.50 Review
                                                             correspondence for
                                                             employment
                                                             application received
                                                             from Shelby Jordan's
                                                             office and draft
                                                             correspondence
                                                             regarding same.
EEW        01/05/2023   B160     0.20   295.00         59.00 Procure proposed
                                                             order approving
                                                             interim compensation
                                                             for Crowe & Dunlevy
                                                             and draft
                                                             correspondence
                                                             regarding same.
CCC        01/05/2023   B210     0.30 345.00          103.50 Draft revisions to
                                                             proposed order on
                                                             utility motion based
                                                             on Trustee's office
                                                             and Unsecured
                                                             Creditor Committee
                                                             comments.
CCC        01/05/2023   B160     0.30 345.00          103.50 Draft revisions to
                                                             proposed order on
                                                             application to employ
                                                             Jordan & Ortiz based
                                                             on Trustee's Office
                                                             and Unsecured
                                                             Creditor Committee
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               comments.
CCC        01/05/2023   B160     0.30 345.00          103.50 Draft revisions to
                                                             proposed order on
                                                             application to employ
                                                             Crowe & Dunlevy
                                                             based on Trustee's
                                                             Office and Unsecured
                                                             Creditor Committee
                                                             comments.
CWS        01/05/2023   B110     5.30 715.00         3789.50 Meetings with FAs
                                                             and FSS staff (3.5);
                                                             meetings with
                                                             business people (1.1);
                                                             working dinner with
                                                             B. Schliezer and H.
                                                             Kessler (1.7).
CWS        01/05/2023   B160     2.30   715.00       1644.50 Review revised
                                                             orders and comments
                                                             from UST and UCC
                                                             on professional
                                                             applications and
                                                             interim compensation
                                                             motion.
CWS        01/05/2023   B210     0.60   715.00        429.00 Review revised
                                                             proposed order on
                                                             utility motion and
                                                             related
                                                             correspondence.
CCC        01/06/2023   B160     0.20   345.00         69.00 Draft correspondence
                                                             to obtain trust
                                                             formation documents
                                                             per request by
                                                             Trustee's Office to
                                                             provide information
                                                             regarding retainer
                                                             paid to Crowe &
                                                             Dunlevy on behalf of
                                                             Debtor.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
EEW        01/06/2023   B110     1.00   295.00        295.00 TXSOS search for
                                                             Atomial, LLC and
                                                             search for addresses
                                                             for returned notices of
                                                             bankruptcy.
CCC        01/06/2023   B160     0.20   345.00         69.00 Phone conference to
                                                             obtain trust formation
                                                             documents per
                                                             request by Trustee's
                                                             Office to provide
                                                             information regarding
                                                             retainer paid to Crowe
                                                             & Dunlevy on behalf
                                                             of Debtor.
EEW        01/06/2023   B110     0.10   295.00         29.50 Attention to
                                                             correspondence from
                                                             US Trustee's office
                                                             regarding open items
                                                             discussed at the initial
                                                             debtor interview and
                                                             forward to Blackbriar
                                                             Advisors.
CWS        01/06/2023   B110     4.40   715.00       3146.00 Attend FSS Status
                                                             conference (.5); draft
                                                             related
                                                             correspondence (.4);
                                                             breakfast meeting
                                                             with B. Schliezer and
                                                             H. Kessler (1.1);
                                                             conference regarding
                                                             financials and
                                                             schedules matters
                                                             (1.3); calls and
                                                             correspondence
                                                             regarding trust (.8);
                                                             review and respond
                                                             regarding open IDI
                                                             items (.3).
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
CWS        01/06/2023   B160     0.90   715.00        643.50 Review Missouri
                                                             Trust document.
CWS        01/06/2023   B195     2.00   715.00       1430.00 Nonworking travel to
                                                             Dallas [billed at half
                                                             time] (4.0).
CCC        01/09/2023   B210     0.60   345.00        207.00 Review and analyze
                                                             correspondence from
                                                             utility provider
                                                             regarding utility
                                                             motion (.2); review
                                                             client info to develop
                                                             response to same (.2);
                                                             draft response to
                                                             utility provider (.2).
EEW        01/09/2023   B160     0.10   295.00         29.50 Review revised
                                                             proposed order
                                                             granting interim
                                                             compensation
                                                             procedures with
                                                             comments from the
                                                             UST and UCC.
EEW        01/09/2023   B110     0.40   295.00        118.00 Research notice
                                                             address for customers
                                                             in bankruptcy and
                                                             coordinate service of
                                                             Utilities motion to
                                                             updated address.
NAC        01/09/2023   B240     1.70 675.00         1147.50 Research IRS
                                                             guidance on
                                                             donations of
                                                             cryptocurrency for
                                                             federal income tax
                                                             purposes.
CWS        01/09/2023   B160     2.80   715.00       2002.00 Review and respond
                                                             to UCC
                                                             correspondence
                                                             regarding objection
                                                             deadlines and
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               proposed meeting
                                                               times (.6); revise
                                                               proposed orders (.8);
                                                               draft UST
                                                               correspondence
                                                               regarding same (.8);
                                                               review and respond to
                                                               correspondence
                                                               regarding interim
                                                               compensation
                                                               procedures (.6).
CWS        01/09/2023   B210     0.40   715.00        286.00 Attention to utility
                                                             communication and
                                                             draft related
                                                             correspondence.
CWS        01/09/2023   B190     4.40   715.00       3146.00 Review client
                                                             documents and
                                                             information and draft
                                                             related
                                                             correspondence.
VLD        01/09/2023   B150     0.20 795.00          159.00 Emails with T.
                                                             Whitley at Security
                                                             bank on motor home
                                                             loan and guaranty
                                                             (.3); emails with
                                                             committee counsel on
                                                             status calls (.2).
VLD        01/09/2023   B110     2.50   795.00       1987.50 Calls and emails with
                                                             client and financial
                                                             advisors preparing for
                                                             341 meeting (1.3);
                                                             review and analyze
                                                             comments to first day
                                                             orders and related
                                                             issues on upcoming
                                                             hearing (1.2).
CCC        01/10/2023   B160     1.10 345.00          379.50 Draft changes to
                                                             Shelby Jordan
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               affidavit and Driver
                                                               dec.
CCC        01/10/2023   B120     3.50   345.00       1207.50 Review and analyze
                                                             client-provided
                                                             materials to develop
                                                             infographs on debtor
                                                             business relationship
                                                             (2.0); develop
                                                             infographs on debtor
                                                             business relationships
                                                             (1.5).
EEW        01/10/2023   B110     0.20   295.00         59.00 Review and search
                                                             client files for
                                                             Mountain Way, LLC
                                                             and AJ Agreement(s).
EEW        01/10/2023   B110     0.60   295.00        177.00 Review and
                                                             download document
                                                             production FSS
                                                             shared with PQPR's
                                                             counsel and
                                                             Subchapter V
                                                             Trustee.
EEW        01/10/2023   B120     2.80   295.00        826.00 Electronic document
                                                             and case file
                                                             management of trust
                                                             files, intellectual
                                                             property files, and
                                                             sales reconciliation
                                                             report received from
                                                             Ray Battaglia.
EEW        01/10/2023   B130     0.10   295.00         29.50 Review email
                                                             correspondence
                                                             regarding past due
                                                             loan with Security
                                                             Bank and question
                                                             regarding payoff of
                                                             loan after FSS case
                                                             filed.
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Attorney      Date      Task   Hours    Rate     Bill Amount     Description of
                                                               Services Rendered
CWS        01/10/2023   B110     0.90   715.00        643.50 Call with UST
                                                             regarding schedules
                                                             and proposed order
                                                             changes (.5); draft
                                                             and review related
                                                             correspondence (.4).
CWS        01/10/2023   B110     4.80   715.00       3432.00 Prepare for and attend
                                                             initial 341 meeting
                                                             (2.8); client call
                                                             regarding same (.6);
                                                             draft and review
                                                             related
                                                             correspondence (.8);
                                                             call with UST
                                                             regarding same (.3);
                                                             call with financial
                                                             advisors regarding
                                                             same (.3).
CWS        01/10/2023   B190     2.00   715.00       1430.00 Draft correspondence
                                                             regarding follow up
                                                             on requests for
                                                             documents from
                                                             PQPR and D. Jones
                                                             (.4); draft
                                                             correspondence
                                                             regarding additional
                                                             client documents
                                                             (1.6).
CWS        01/10/2023   B160     2.20   715.00       1573.00 Review and respond
                                                             to multiple UCC
                                                             correspondence (.8);
                                                             review conflict
                                                             inquiry (.7); review
                                                             and revise
                                                             supplemental
                                                             declaration (.7).
VLD        01/10/2023   B110     1.10   795.00        874.50 Calls with BlackBriar
                                                             on progress in
                                                             financial information
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Attorney      Date      Task   Hours    Rate     Bill Amount       Description of
                                                                 Services Rendered
                                                               for schedules and
                                                               statements and
                                                               remaining gaps in
                                                               same.
VLD        01/10/2023   B130     0.40   795.00        318.00 Email with counsel
                                                             for security bank
                                                             regarding status of
                                                             creditor as unsecured
                                                             due to guaranty (.2);
                                                             emails regarding loan
                                                             statement and
                                                             outstanding balance
                                                             (.2).
VLD        01/10/2023   B160     0.80   795.00        636.00 Review and approve
                                                             supplemental
                                                             declaration for C&D
                                                             employment
                                                             application (.4);
                                                             emails and analysis of
                                                             emails from
                                                             committee on
                                                             differences in matrix
                                                             and our disclosure
                                                             listing (.4).
VLD        01/10/2023   B120     1.70   795.00       1351.50 Analyze need and
                                                             contents of org chart
                                                             for UST and other
                                                             parties in interest (.6);
                                                             review and revise
                                                             same (.3); update
                                                             committee on general
                                                             status of financial
                                                             investigation and
                                                             related matters via
                                                             email (.6); emails on
                                                             security bank balance
                                                             (.2).
EEW        01/11/2023   B150     0.20   295.00         59.00 Review notice of
                                                             continued meeting of
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               creditors and docket
                                                               new date and time for
                                                               meeting.
EEW        01/11/2023   B120     0.40   295.00        118.00 Review and compile
                                                             storage unit
                                                             information/documen
                                                             ts and forward to Ray
                                                             Battaglia via
                                                             fileshare.
EEW        01/11/2023   B120     1.80   295.00        531.00 Electronic case file
                                                             management and
                                                             index 08-29-22
                                                             document production
                                                             FSS shared with
                                                             PQPR's counsel and
                                                             Subchapter V
                                                             Trustee.
NAC        01/11/2023   B240     0.80   675.00        540.00 Draft summary
                                                             correspondence to
                                                             Vickie Driver and
                                                             Crissie Stephenson
                                                             regarding the tax
                                                             treatment of bitcoin
                                                             donations.
CWS        01/11/2023   B160     1.90   715.00       1358.50 Review and respond
                                                             to UCC
                                                             correspondence
                                                             regarding conflicts
                                                             list (.2); draft and
                                                             review
                                                             correspondence
                                                             regarding
                                                             supplemental
                                                             declarations (1.7).
CWS        01/11/2023   B110     1.70   715.00       1215.50 Review and analyze
                                                             Org Chart and draft
                                                             related
                                                             correspondence (1.4);
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               revise Org chart
                                                               PowerPoint (.3).
CWS        01/11/2023   B110     1.40   715.00       1001.00 Draft correspondence
                                                             regarding continued
                                                             341 Meeting (.6);
                                                             draft stipulation
                                                             regarding same (.8).
CWS        01/11/2023   B150     0.70   715.00        500.50 Prepare for and attend
                                                             UCC call regarding
                                                             various matters.
CWS        01/11/2023   B190     0.40   715.00        286.00 Review and respond
                                                             to correspondence
                                                             from S. Roberts
                                                             regarding requests for
                                                             information.
VLD        01/11/2023   B120     0.90   795.00        715.50 Work with financial
                                                             advisors to organize
                                                             documents for
                                                             committee review in
                                                             rolling production
                                                             format (.7); follow up
                                                             with counsel for D.
                                                             Jones on production
                                                             of information or
                                                             documents (.2).
VLD        01/11/2023   B150     0.90   795.00        715.50 Initial weekly call
                                                             with UCC lawyers to
                                                             discuss various letters
                                                             set, responses to
                                                             same, and general
                                                             working protocols
                                                             and document
                                                             production status.
EEW        01/12/2023   B110     0.40 295.00          118.00 Finalize and file
                                                             stipulation and agreed
                                                             order regarding
                                                             additional extension
                                                             of time of debtor to
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               file his schedules and
                                                               statements.
EEW        01/12/2023   B160     0.40 295.00          118.00 Finalize and file
                                                             supplemental
                                                             declaration of Vickie
                                                             Driver in support of
                                                             application to employ
                                                             Crowe & Dunlevy.
EEW        01/12/2023   B160     0.40 295.00          118.00 Finalize and file
                                                             supplemental
                                                             declaration of Shelby
                                                             Jordan in support of
                                                             application to employ
                                                             Jordan & Ortiz.
ANG        01/12/2023   B110     1.00 345.00          345.00 Review conflicts
                                                             documents to
                                                             determine reason for
                                                             presence of certain
                                                             parties on disclosure
                                                             and arrange for
                                                             additional conflicts
                                                             check on new entities
                                                             and individuals.
CWS        01/12/2023   B185     1.20   715.00        858.00 Review limited
                                                             objection to Motion to
                                                             Set Deadline to
                                                             Accept or Reject
                                                             Executory Contracts
                                                             (.5); draft related
                                                             correspondence (.3);
                                                             review and respond to
                                                             correspondence
                                                             regarding leases for
                                                             storage (.4).
CWS        01/12/2023   B160     1.40   715.00       1001.00 Review and respond
                                                             to correspondence
                                                             regarding
                                                             supplemental
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               declarations (.8); draft
                                                               correspondence
                                                               regarding conflicts
                                                               list matters (.6).
CWS        01/12/2023   B240     0.20   715.00        143.00 Review and respond
                                                             to correspondence
                                                             regarding tax returns.
CWS        01/12/2023   B110     0.20   715.00        143.00 Review and respond
                                                             to UST
                                                             correspondence
                                                             regarding stipulation.
VLD        01/12/2023   B120     0.20 795.00          159.00 Review
                                                             correspondence with
                                                             counsel for D. Jones
                                                             regarding outstanding
                                                             information requests
                                                             (.2).
VLD        01/12/2023   B110     0.30   795.00        238.50 Emails regarding
                                                             sharing confidential
                                                             information and
                                                             documents with UST.
VLD        01/12/2023   B160     0.20   795.00        159.00 Emails to set time to
                                                             talk with CT attorney
                                                             on employment and
                                                             retainer accounting.
EEW        01/13/2023   B160     0.60   295.00        177.00 Draft agenda for
                                                             hearing on 01-20-23
                                                             regarding
                                                             employment of
                                                             Crowe & Dunlevy
                                                             and Jordan & Ortiz
                                                             and compensation.
EEW        01/13/2023   B110     0.40   295.00        118.00 Draft agenda for
                                                             hearing on 01-20-23
                                                             regarding utilities
                                                             motion.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
CCC        01/13/2023   B190     0.20   345.00         69.00 Review and analyze
                                                             final judgment
                                                             entered against
                                                             Debtor in Texas state
                                                             court action
CCC        01/13/2023   B110     0.20   345.00         69.00 Review local rules
                                                             regarding hearing
                                                             requirements in
                                                             advance of January 20
                                                             hearing.
EEW        01/13/2023   B120     0.30   295.00         88.50 Review client
                                                             documents (.1); email
                                                             correspondence to
                                                             Blackbriar regarding
                                                             2018, 2020 (signed)
                                                             and 2021 tax returns
                                                             (.2).
EEW        01/13/2023   B190     0.20 295.00           59.00 Review
                                                             dallaseservice email
                                                             inbox and circulate
                                                             order on plaintiff's
                                                             motion for leave to
                                                             amend plaintiffs' fifth
                                                             amended petition
                                                             pending in Travis
                                                             County, Texas.
EEW        01/13/2023   B190     0.40 295.00          118.00 Review notice of final
                                                             judgment filed in the
                                                             FSS case by Neil
                                                             Heslin and Scarlett
                                                             Lewis and circulate to
                                                             team.
CWS        01/13/2023   B160     0.60   715.00        429.00 Draft correspondence
                                                             regarding additional
                                                             parties conflicts
                                                             searches.
CWS        01/13/2023   B110     0.50 715.00          357.50 Review UCC
                                                             correspondence
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               regarding UST
                                                               stipulation.
VLD        01/13/2023   B210     0.50   795.00        397.50 Call to discuss
                                                             business operations.
VLD        01/14/2023   B210     1.50   795.00       1192.50 Calls with AJ and
                                                             ESG on status of
                                                             contracts with FSS
                                                             and related issues on
                                                             disclosure (1.1);
                                                             emails with ESG
                                                             regarding same (.4);
                                                             call with R. Battaglia
                                                             on coordinating cases.
VLD        01/14/2023   B210     2.10   795.00       1669.50 Calls with AJ and
                                                             ESG on status of
                                                             contracts with FSS
                                                             and related issues on
                                                             disclosure (1.1);
                                                             emails with ESG
                                                             regarding same (.4);
                                                             call with R. Battaglia
                                                             on Coordination
                                                             Cases (.6).
CWS        01/16/2023   B150     2.30   715.00       1644.50 Conference call
                                                             regarding committee
                                                             issues (.6); review
                                                             related pleading (1.7).
VLD        01/16/2023   B150     0.40   795.00        318.00 Review emails from
                                                             creditors.
VLD        01/16/2023   B160     0.20   795.00        159.00 Emails with Texas
                                                             lawyers on retention
                                                             status.
VLD        01/16/2023   B210     1.20   795.00        954.00 Call with financial
                                                             advisors regarding
                                                             current contracts
                                                             between client and
                                                             ESG and FSS and
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               eSG (.8); review eSG
                                                               contract with FSS
                                                               regarding termination
                                                               language and terms
                                                               (.4).
VLD        01/16/2023   B120     1.80   795.00       1431.00 Review documents
                                                             and information on
                                                             payments made and
                                                             prenup payment
                                                             requirements.
CCC        01/17/2023   B110     0.70   345.00        241.50 Review local rules
                                                             regarding exhibit and
                                                             witness list
                                                             requirements (.2);
                                                             draft exhibit and
                                                             witness list for
                                                             January 20 hearing on
                                                             applications to
                                                             employ bankruptcy
                                                             counsel, the Utility
                                                             Motion, and Motion
                                                             for Interim
                                                             Compensation
                                                             Procedures (.5).
ANG        01/17/2023   B150     1.80   345.00        621.00 Draft correspondence
                                                             to David Zensky,
                                                             attorney for
                                                             committee of
                                                             unsecured creditors,
                                                             regarding status and
                                                             progress of financial
                                                             disclosures.
EEW        01/17/2023   B120     0.80   295.00        236.00 Work with Akin
                                                             Gump's litigation
                                                             support and sharefile
                                                             link to forward all
                                                             available tax returns.
EEW        01/17/2023   B160     3.20   295.00        944.00 Analyze, organize
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               and index client files
                                                               related to document
                                                               production FSS
                                                               shared with PQPR's
                                                               counsel.
VLD        01/17/2023   B110     0.80   795.00        636.00 Analyze payments
                                                             and responsiveness
                                                             for SOFA (.7); check
                                                             on sending tax returns
                                                             to committee (.1).
VLD        01/17/2023   B140     1.70   795.00       1351.50 Review and analyze
                                                             motion for relief from
                                                             stay filed by De La
                                                             Rosa and joint
                                                             plaintiff to pursue to
                                                             liquidate in stat court
                                                             and outline response
                                                             to same.
VLD        01/17/2023   B210     1.20   795.00        954.00 Review letters from
                                                             committee counsel
                                                             and work on
                                                             responding to same.
VLD        01/17/2023   B210     0.50   795.00        397.50 Review interim FSS
                                                             cash collateral order
                                                             and emails with co-
                                                             counsel on same.
VLD        01/17/2023   B160     0.80   795.00        636.00 Call with Texas
                                                             Litigation lawyers on
                                                             retention status and
                                                             terms (.7); email to
                                                             CT lawyer on
                                                             information needed
                                                             on
                                                             retainer/payments/out
                                                             standing amount for
                                                             retention (.1).
CCC        01/18/2023   B210     0.10   345.00         34.50 Preparation for
                                                             hearing on utility
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               motion.
CCC        01/18/2023   B110     0.40 345.00          138.00 Develop bankruptcy
                                                             strategy to reach
                                                             discharge for debtor.
ANG        01/18/2023   B110     0.80   345.00        276.00 Review and delegate
                                                             list of pending matters
                                                             in bankruptcy case,
                                                             including fee
                                                             applications, updating
                                                             conflicts, interim
                                                             compensation
                                                             procedures, and
                                                             review of executory
                                                             contracts.
ANG        01/18/2023   B160     1.50 345.00          517.50 Begin drafting
                                                             employment
                                                             applications and
                                                             accompanying
                                                             declarations for
                                                             special trial counsel
                                                             and special appellate
                                                             counsel.
ANG        01/18/2023   B160     0.30   345.00        103.50 Email
                                                             correspondence with
                                                             proposed special
                                                             counsel regarding
                                                             updated conflicts list.
EEW        01/18/2023   B130     0.30   295.00         88.50 Review and compare
                                                             IP client files to those
                                                             received in email
                                                             from Ray Battaglia to
                                                             ensure we have
                                                             received all files.
EEW        01/18/2023   B160     0.70   295.00        206.50 Draft witness and
                                                             exhibit list for hearing
                                                             on 01-20-2023.
EEW        01/18/2023   B160     0.20   295.00         59.00 Service email to all
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               parties in interest with
                                                               Exhibit 7 to witness
                                                               and exhibit list.
CWS        01/18/2023   B150     0.70   715.00        500.50 Prepare for and attend
                                                             call with UCC.
CWS        01/18/2023   B210     0.80   715.00        572.00 Draft and review
                                                             correspondence
                                                             regarding utility
                                                             communications in
                                                             preparation for
                                                             hearing regarding
                                                             same.
CWS        01/18/2023   B160     1.00   715.00        715.00 Revise employment
                                                             orders (.4); draft
                                                             related
                                                             correspondence (.6).
CWS        01/18/2023   B185     1.60   715.00       1144.00 Draft revised order
                                                             granting Motion to
                                                             Set Time to Assume
                                                             or Reject (.8); draft
                                                             related
                                                             correspondence (.8).
CWS        01/18/2023   B110     2.00   715.00       1430.00 Draft Agenda for
                                                             hearing and related
                                                             correspondence (1.2);
                                                             review and revise
                                                             witness and exhibit
                                                             list for hearing (.8).
VLD        01/18/2023   B110     0.80 795.00          636.00 Team meeting on
                                                             status of schedules,
                                                             SOFA, and IDI
                                                             materials.
VLD        01/18/2023   B150     0.90 795.00          715.50 Call with committee
                                                             counsel on pending
                                                             matters (.7); emails
                                                             with Security Bank
                                                             regarding claim in AJ
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               case versus FSS (.2).
VLD        01/18/2023   B210     1.20   795.00        954.00 Review email from
                                                             ESG on FSS billing
                                                             issues (.3); review
                                                             revised email from
                                                             ESG on pending
                                                             matters (.9).
VLD        01/18/2023   B160     1.60   795.00       1272.00 Analyze issues to
                                                             cover in 327(e)
                                                             employment apps for
                                                             litigation counsel and
                                                             terms of retention for
                                                             same (.9); review
                                                             conflict lists for
                                                             lawyers to run for
                                                             disinteredness and
                                                             conflicts purposes
                                                             (.3); review request
                                                             from family attorney
                                                             for payment and
                                                             respond with
                                                             requirement to be
                                                             employed in case to
                                                             perform services or be
                                                             paid by the estate (.4).
VLD        01/18/2023   B185     0.10   795.00         79.50 Emails with
                                                             committee to discuss
                                                             potential resolution to
                                                             AJ employment
                                                             contract.
CCC        01/19/2023   B110     0.30   345.00        103.50 Perform research
                                                             regarding motion to
                                                             seal debtor's
                                                             schedules and
                                                             statements.
CCC        01/19/2023   B160     0.20 345.00           69.00 Draft revisions to
                                                             proposed order
                                                             granting application
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               to employ Rachel
                                                               Kennerly as Debtor's
                                                               tax accountant based
                                                               on comments by
                                                               Trustee's office.
CCC        01/19/2023   B160     0.20 345.00           69.00 Draft revisions to
                                                             proposed order
                                                             granting application
                                                             to employ Blackbriar
                                                             Financial based on
                                                             comments by
                                                             Trustee's office.
ANG        01/19/2023   B160     3.00 345.00         1035.00 Continue drafting
                                                             employment
                                                             applications for trial
                                                             and appellate counsel
                                                             for Debtor's state
                                                             court matters.
ANG        01/19/2023   B185     4.60   345.00       1587.00 Complete research on
                                                             determining whether
                                                             various types of
                                                             contract are executory
                                                             in the Fifth Circuit
                                                             (2.0); review various
                                                             of Debtor's contracts
                                                             to determine
                                                             executory nature of
                                                             same (2.0); complete
                                                             memorandum
                                                             summarizing findings
                                                             (.6).
ANG        01/19/2023   B160     0.50   345.00        172.50 Correspondence with
                                                             proposal trial and
                                                             appellate counsel
                                                             regarding
                                                             applications to
                                                             employ.
EEW        01/19/2023   B160     3.80   295.00       1121.00 Compile pleadings
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               and exhibits for
                                                               hearing on
                                                               01-20-2023 - hearing
                                                               prep.
EEW        01/19/2023   B160     0.30   295.00         88.50 Finalize and file clean
                                                             and redlined version
                                                             of proposed order
                                                             granting application
                                                             for employment of
                                                             Crowe & Dunlevy.
EEW        01/19/2023   B160     0.30   295.00         88.50 Finalize and file clean
                                                             and redlined version
                                                             of proposed order
                                                             granting application
                                                             for employment of
                                                             Jordan & Ortiz.
EEW        01/19/2023   B110     0.30   295.00         88.50 Finalize and file clean
                                                             and redlined version
                                                             of proposed order
                                                             granting emergency
                                                             utility motion.
EEW        01/19/2023   B160     0.30   295.00         88.50 Finalize and file clean
                                                             and redlined version
                                                             of proposed order
                                                             granting motion
                                                             establishing
                                                             procedures for
                                                             interim compensation
                                                             and reimbursement of
                                                             expenses.
EEW        01/19/2023   B160     0.30 295.00           88.50 Finalize and file
                                                             agenda for hearing on
                                                             01-20-2023.
CWS        01/19/2023   B160     0.60   715.00        429.00 Draft correspondence
                                                             regarding proposed
                                                             orders for
                                                             professionals whose
                                                             applications were
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               filed with negative
                                                               notice.
CWS        01/19/2023   B185     1.30   715.00        929.50 Review and
                                                             incorporate
                                                             comments to
                                                             proposed order on
                                                             Motion to Set Time to
                                                             Assume or Reject.
CWS        01/19/2023   B160     0.80   715.00        572.00 Review and analyze
                                                             issues regarding
                                                             interim compensation
                                                             order.
CWS        01/19/2023   B110     2.80   715.00       2002.00 Finalize agenda and
                                                             redlined orders for
                                                             filing in preparation
                                                             for hearing (1.9);
                                                             address issue
                                                             regarding incorrect
                                                             party on matrix (.5);
                                                             review and respond to
                                                             UST correspondence
                                                             regarding same (.4).
VLD        01/19/2023   B110     3.40   795.00       2703.00 Review rules for
                                                             sealing material filed
                                                             on the docket and
                                                             compare to FSS
                                                             sealing efforts in its
                                                             case to evaluate need
                                                             in current case (1.1);
                                                             review agenda for
                                                             hearings (.3);
                                                             preparation for
                                                             hearings (1.6); review
                                                             withdrawal of
                                                             appearance for certain
                                                             plaintiffs (.4).
VLD        01/19/2023   B140     0.20   795.00        159.00 Review and respond
                                                             to COC request from
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Texas plaintiff
                                                               lawyer.
VLD        01/19/2023   B160     0.30   795.00        238.50 Review information
                                                             needed to finalize
                                                             drafts employment
                                                             aps for Texas lawyers
                                                             and review how to
                                                             obtain same.
VLD        01/19/2023   B210     0.30   795.00        238.50 Emails scheduling
                                                             marketing meeting
                                                             with FSS.
ANG        01/20/2023   B160     2.20   345.00        759.00 Prepare for and attend
                                                             hearing on
                                                             employment of C&D
                                                             and BlackBriar,
                                                             interim compensation
                                                             procedures, and
                                                             submission date for
                                                             Debtor's schedules
                                                             and statements.
VLD        01/20/2023   B110     1.60   795.00       1272.00 Calls with BlackBriar
                                                             on MOR and review
                                                             and analyze draft of
                                                             same (1.1); call with
                                                             UST on filing delay
                                                             (.2); messages with
                                                             UCC on delay of first
                                                             MOR (.3).
VLD        01/20/2023   B120     1.10 795.00          874.50 Attend hearing on
                                                             Motion to Reconsider
                                                             employment of firms
                                                             in FSS.
VLD        01/20/2023   B160     1.20   795.00        954.00 Prepare for and attend
                                                             hearings on
                                                             Applications to
                                                             employ estate
                                                             professionals.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
EEW        01/20/2023   B160     0.30   295.00         88.50 Finalize and file clean
                                                             and redlined version
                                                             of proposed order
                                                             granting application
                                                             to employ Rachel
                                                             Kennerly as tax
                                                             accountant.
EEW        01/20/2023   B160     0.30   295.00         88.50 Finalize and file clean
                                                             and redlined version
                                                             or proposed order
                                                             granting application
                                                             to employ Blackbriar
                                                             Advisors as financial
                                                             advisor.
EEW        01/20/2023   B110     0.10   295.00         29.50 Docket extended
                                                             deadline to file
                                                             schedules and
                                                             statements.
EEW        01/20/2023   B160     0.10   295.00         29.50 Docket deadline to
                                                             file first monthly fee
                                                             statement.
NAC        01/20/2023   B240     1.60   675.00       1080.00 Commence
                                                             researching IRS
                                                             Guidance regarding
                                                             tax treatment of gifts
                                                             and payment of
                                                             bitcoin and
                                                             calculation of basis
                                                             for federal income tax
                                                             purposes.
CWS        01/20/2023   B160     4.70   715.00       3360.50 Prepare for and attend
                                                             hearing on
                                                             professional
                                                             employment
                                                             applications and
                                                             interim compensation
                                                             motion.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
CWS        01/20/2023   B160     0.50   715.00        357.50 Draft and review
                                                             correspondence
                                                             regarding proposed
                                                             orders on professional
                                                             orders.
CWS        01/20/2023   B185     0.50   715.00        357.50 Draft and review
                                                             correspondence
                                                             regarding proposed
                                                             order on Motion to
                                                             Set Date to Assume or
                                                             Reject.
VLD        01/20/2023   B140     0.70   795.00        556.50 Brief review of stay
                                                             motions filed in AJ
                                                             and FSS cases.
VLD        01/21/2023   B210     0.20   795.00        159.00 Emails with
                                                             co-counsel on
                                                             meeting to discuss
                                                             FSS operations.
VLD        01/21/2023   B160     0.30   795.00        238.50 Emails regarding
                                                             format of monthly fee
                                                             statements with estate
                                                             professionals.
VLD        01/21/2023   B120     0.20   795.00        159.00 Emails on corrective
                                                             deed needed on
                                                             homestead.
VLD        01/23/2023   B120     0.60   795.00        477.00 Review and respond
                                                             to emails from J.
                                                             Schultz on issues with
                                                             CC processing
                                                             changes (.2); call with
                                                             client and financial
                                                             advisors on issues
                                                             with operations at
                                                             FSS (.4).
VLD        01/23/2023   B110     3.00   795.00       2385.00 Review and analyze
                                                             MOR draft and
                                                             provide comments to
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               same (1.2); call with
                                                               UST on delay of
                                                               MOR (.2); message
                                                               for UCC on delay of
                                                               MOR (.1); call with
                                                               client to discuss status
                                                               of MOR and set up
                                                               review time (.3);
                                                               review revised draft
                                                               of MOR and provide
                                                               comments to same
                                                               (1.2).
EEW        01/23/2023   B160     2.20   295.00        649.00 Review interim
                                                             compensation
                                                             procedures order and
                                                             draft first interim fee
                                                             statement.
NAC        01/23/2023   B240     0.60   675.00        405.00 Review ledger of
                                                             donations of
                                                             cryptocurrency to
                                                             determine tax basis;
                                                             analyze IRS guidance
                                                             regarding
                                                             cryptocurrency.
NAC        01/23/2023   B240     1.90   675.00       1282.50 Call and
                                                             correspondence
                                                             regarding the tax
                                                             treatment of listener
                                                             donations made via
                                                             Bitcoin and the
                                                             applicable tax rules
                                                             for donations (1.0);
                                                             evaluate
                                                             correspondence from
                                                             client's CPA
                                                             regarding the tax
                                                             treatment (.9).
NAC        01/23/2023   B240     2.70   675.00       1822.50 Research regarding
                                                             the tax treatment of
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               cryptocurrency.
CWS        01/23/2023   B185     0.50   715.00        357.50 Draft and review
                                                             correspondence
                                                             regarding proposed
                                                             order on Motion to
                                                             Set Date to Assume or
                                                             Reject.
CWS        01/23/2023   B110     1.60 715.00         1144.00 Review MOR and
                                                             related
                                                             correspondence.
VLD        01/23/2023   B150     0.60   795.00        477.00 Review emails from
                                                             potential creditors.
EEW        01/24/2023   B110     1.00   295.00        295.00 Revise, finalize and
                                                             file December MOR.
EEW        01/24/2023   B110     3.20   295.00        944.00 Electronic document
                                                             and case file
                                                             management of
                                                             December bank
                                                             statements (2.5);
                                                             email correspondence
                                                             to and from Akin
                                                             Gump regarding bank
                                                             statements (.2);
                                                             prepare sharefile link
                                                             and circulate bank
                                                             statements to UCC
                                                             and Blackbriar (.5).
EEW        01/24/2023   B160     1.00   295.00        295.00 Prepare exhibits A
                                                             and B to first monthly
                                                             interim fee statement.
NAC        01/24/2023   B240     1.70   675.00       1147.50 Draft summary
                                                             correspondence
                                                             regarding the
                                                             applicable tax
                                                             treatment of the
                                                             transfers of
                                                             cryptocurrency.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
NAC        01/24/2023   B240     1.20   675.00        810.00 Discussion regarding
                                                             the facts and
                                                             circumstances
                                                             relating to the
                                                             donations of
                                                             cryptocurrency.
NAC        01/24/2023   B240     0.90   675.00        607.50 Review and analyze
                                                             Coinbase donation
                                                             ledger to determine
                                                             the available
                                                             information with
                                                             respect to the
                                                             donations.
CWS        01/24/2023   B160     0.80 715.00          572.00 Review
                                                             correspondence
                                                             regarding fee
                                                             statement matters.
CWS        01/24/2023   B110     0.80   715.00        572.00 Review revised
                                                             MOR.
VLD        01/24/2023   B185     1.80   795.00       1431.00 Travel to Austin,
                                                             Texas for meetings
                                                             with Jones (3.6) –
                                                             billed at half time.
VLD        01/24/2023   B190     1.80   795.00       1431.00 Review email from
                                                             plaintiffs counsel on
                                                             potential defamation
                                                             claim (.3); call with
                                                             client on same (.4);
                                                             review interview for
                                                             background of
                                                             demand (.7); outline
                                                             response to same and
                                                             lay out evidence to
                                                             support defense (.4).
EEW        01/25/2023   B140     0.40   295.00        118.00 Review and circulate
                                                             to team motion for
                                                             relief from stay (.2);
                                                             docket objection
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               deadline and hearing
                                                               date for same (.2).
CWS        01/25/2023   B150     0.70   715.00        500.50 Prepare for and attend
                                                             call with UCC.
CWS        01/25/2023   B160     2.60   715.00       1859.00 Correspondence
                                                             regarding fee
                                                             statement (.8); review
                                                             and revise prebill
                                                             regarding same (1.8).
EEW        01/26/2023   B185     0.30   295.00         88.50 Review email
                                                             correspondence to
                                                             Ray Battaglia
                                                             regarding deadline to
                                                             assume or reject
                                                             deadline in the FSS
                                                             case (.1); review case
                                                             docket regarding
                                                             same (.2).
EEW        01/26/2023   B185     0.80   295.00        236.00 Review leases
                                                             received from Ray
                                                             Battaglia, code and
                                                             save to Litshare.
EEW        01/26/2023   B160     0.20   295.00         59.00 Review UCC's
                                                             employment
                                                             application and
                                                             docket objection
                                                             deadline for same.
CWS        01/26/2023   B160     4.10   715.00       2931.50 Draft correspondence
                                                             regarding revisions to
                                                             fee statement (1.4);
                                                             conference regarding
                                                             same (.8); review and
                                                             revise draft statement
                                                             document (.8); review
                                                             final invoice (1.1).
EEW        01/27/2023   B160     2.60   295.00        767.00 Revise, finalize and
                                                             file first monthly fee
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               statement of Crowe &
                                                               Dunlevy (2.4); email
                                                               correspondence to
                                                               notice parties with
                                                               service copy of fee
                                                               statement (.2).
EEW        01/27/2023   B160     1.60   295.00        472.00 Revise, finalize and
                                                             file first monthly fee
                                                             statement of
                                                             Blackbriar Advisors
                                                             (1.4); email
                                                             correspondence to
                                                             notice parties with
                                                             service copy of fee
                                                             statement (.2).
CWS        01/27/2023   B160     3.90   715.00       2788.50 Review and revise
                                                             financial advisors fee
                                                             statement (.8); review
                                                             and revise Crowe &
                                                             Dunlevy fee
                                                             statement (1.3); draft
                                                             related
                                                             correspondence (1.8).
CCC        01/30/2023   B160     1.30   345.00        448.50 Draft application to
                                                             employ the Reynal
                                                             Firm, declaration in
                                                             support of same, and
                                                             proposed order
                                                             granting same.
EEW        01/30/2023   B130     0.50   295.00        147.50 Review information
                                                             received from the
                                                             Guadalup County Tax
                                                             Office (.1); procure
                                                             quitclaim deeds for
                                                             the Guadalup and
                                                             Lake Travis
                                                             properties and
                                                             forward to Blackbriar
                                                             Advisors (.4).
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
EEW        01/30/2023   B160     0.20   295.00         59.00 Search emails for
                                                             communications with
                                                             Chris Martin and
                                                             forward to team in
                                                             preparation of
                                                             employment
                                                             application for
                                                             Martin, Disiere,
                                                             Jefferson & Wisdom
                                                             and forward to team.
CCC        01/31/2023   B160     0.70   345.00        241.50 Draft application to
                                                             employ the Reynal
                                                             Law Firm as special
                                                             counsel to Debtor
                                                             (.3); draft declaration
                                                             in support of same
                                                             (.3); exchange
                                                             correspondence with
                                                             the Reynal Law Firm
                                                             regarding same (.1).
ANG        01/31/2023   B140     1.70 345.00          586.50 Begin review of
                                                             relevant legal
                                                             authority in
                                                             preparation for
                                                             drafting objection to
                                                             Pozner and De La
                                                             Rose motion to lift
                                                             stay.
ANG        01/31/2023   B110     0.50   345.00        172.50 Email
                                                             correspondence with
                                                             counsel for other
                                                             parties regarding
                                                             availability and
                                                             setting a date for the
                                                             next omnibus hearing.
ANG        01/31/2023   B160     0.50   345.00        172.50 Email
                                                             correspondence
                                                             regarding obtaining
                                                             updated engagement
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               agreements for
                                                               Debtor to include
                                                               with employment
                                                               applications for trial
                                                               and appellate counsel.
EEW        01/31/2023   B120     4.20   295.00       1239.00 Electronic case file
                                                             management of
                                                             litigation settlement
                                                             trust, additional IP
                                                             documents and
                                                             Aurian FSS files.
EEW        01/31/2023   B185     0.30 295.00           88.50 Finalize and file
                                                             proposed order
                                                             granting motion to fix
                                                             a date by which
                                                             debtor must assume
                                                             or reject executory
                                                             contract.
CWS        01/31/2023   B110     0.50   715.00        357.50 Attend UCC FA
                                                             introduction call.
CWS        01/31/2023   B185     0.80   715.00        572.00 Review and respond
                                                             to creditor
                                                             correspondence
                                                             regarding proposed
                                                             order for motion to set
                                                             date to assume or
                                                             reject employment
                                                             contract (.4); draft
                                                             Court correspondence
                                                             (.2); review and
                                                             revise proposed order
                                                             (.2).
CCC        02/01/2023   B160     0.40   290.00        116.00 Draft application to
                                                             employ the Reynal
                                                             firm as Debtor's
                                                             appellate counsel.
CWS        02/01/2023   B160     0.80   715.00        572.00 Review professional
                                                             billing and draft
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               related
                                                               correspondence.
CWS        02/01/2023   B190     0.50   715.00        357.50 Review draft
                                                             protective order.
VLD        02/01/2023   B110     3.00   795.00       2385.00 Review list of
                                                             information needed
                                                             and revise same (1.2);
                                                             work with financial
                                                             professionals on list
                                                             of information needed
                                                             and send to FSS (.7);
                                                             follow up from
                                                             meeting with FSS in
                                                             lengthy email (.4);
                                                             call with E. Taube
                                                             seeking historical
                                                             information for
                                                             schedules and
                                                             statements (.7).
VLD        02/01/2023   B160     0.70   795.00        556.50 Review and revise
                                                             J&O fee statement.
ANG        02/02/2023   B160     2.50   345.00        862.50 Work on employment
                                                             applications for
                                                             Reynal and Martin.
CWS        02/02/2023   B190     1.60   715.00       1144.00 Review and analyze
                                                             correspondence
                                                             regarding various
                                                             contested matters (.8);
                                                             prepare for and attend
                                                             call with UCC
                                                             regarding outstanding
                                                             case matters (.8).
VLD        02/02/2023   B190     3.40 795.00         2703.00 Emails with A.
                                                             Reynal on text release
                                                             issues (.4); calls with
                                                             client on text release
                                                             issues (.7); calls with
                                                             financial
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               professionals on same
                                                               (.4); emails with state
                                                               court lawyers and
                                                               review information
                                                               sent (2.3).
CWS        02/03/2023   B160     1.00   715.00        715.00 Conference regarding
                                                             engagement proposed
                                                             order (.6); review
                                                             financial
                                                             professionals budget
                                                             (.4).
VLD        02/03/2023   B110     0.90 795.00          715.50 Emails with FSS on
                                                             information
                                                             production.
VLD        02/03/2023   B150     0.70   795.00        556.50 Review emails from
                                                             creditors.
VLD        02/05/2023   B140     0.40   795.00        318.00 Review and revise lift
                                                             stay objection.
VLD        02/05/2023   B110     0.40 795.00          318.00 Emails with FSS on
                                                             information
                                                             production.
VLD        02/06/2023   B150     0.20   795.00        159.00 Email to UST and
                                                             UCC regarding
                                                             resetting 341 in
                                                             relation to due date
                                                             for schedules.
CWS        02/06/2023   B150     0.80   715.00        572.00 Conference regarding
                                                             341 meeting timing.
CWS        02/06/2023   B160     2.40   715.00       1716.00 Review and respond
                                                             to correspondence
                                                             regarding interim
                                                             compensation
                                                             procedures (1.1);
                                                             review supplemental
                                                             Zensky declaration
                                                             (.4); review Nardello
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               application (.9).
VLD        02/06/2023   B110     5.00 795.00         3975.00 Emails with FSS on
                                                             need for access to
                                                             information (.2); call
                                                             with R. Battaglia on
                                                             issues with
                                                             information access
                                                             (.7); review and
                                                             analyze budget items
                                                             (.9); review and
                                                             analyze schedules
                                                             support and
                                                             information needed
                                                             and seeking sources
                                                             to answer same (3.2).
ANG        02/07/2023   B160     0.80   345.00        276.00 Revise and finalize
                                                             employment
                                                             applications for
                                                             Reynal and Martin.
ANG        02/07/2023   B140     1.50   345.00        517.50 Revise and finalize
                                                             objection to
                                                             Pozner/De La Rosa
                                                             motion for relief from
                                                             stay.
EEW        02/07/2023   B170     0.20   295.00         59.00 Email
                                                             correspondence with
                                                             co-counsel's office
                                                             regarding fee
                                                             statements.
VLD        02/07/2023   B110     1.10   795.00        874.50 Call with financial
                                                             professionals on AJ
                                                             Live (.5); Call with R.
                                                             Battaglia on AJ Live
                                                             issues (6).
VLD        02/07/2023   B140     1.90   795.00       1510.50 Review and revise
                                                             objection to lift stay
                                                             motion and send to R.
                                                             Battaglia for review
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               and comment (1.1);
                                                               call with Mediator on
                                                               idea to resolve stay
                                                               (.8).
VLD        02/07/2023   B110     2.30   795.00       1828.50 Call with L. Freeman
                                                             on status of case and
                                                             information gathering
                                                             (.9); call with
                                                             co-counsel on status
                                                             of case (.8); call with
                                                             client on information
                                                             needed for schedules
                                                             and statements (.6).
VLD        02/07/2023   B190     0.50   795.00        397.50 Interviewing attorney
                                                             for related parties to
                                                             assist committee
                                                             discovery.
VLD        02/07/2023   B160     0.30 795.00          238.50 Emails on draw down
                                                             and payment terms
                                                             from engagement and
                                                             order on employment.
ANG        02/08/2023   B110     0.50   345.00        172.50 Email
                                                             correspondence with
                                                             counsel for
                                                             committee of
                                                             unsecured creditors
                                                             for future omnibus
                                                             setting.
EEW        02/08/2023   B110     0.50   295.00        147.50 Review case docket
                                                             for FSS and new
                                                             filings for possible
                                                             response deadlines
                                                             that affect AJ.
CWS        02/08/2023   B190     1.30   715.00        929.50 Conference regarding
                                                             revisions to protective
                                                             order (.8); review
                                                             related
                                                             correspondence (.6).
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
CWS        02/08/2023   B150     0.30   715.00        214.50 Review UST
                                                             correspondence
                                                             regarding 341
                                                             Meeting.
VLD        02/08/2023   B140     1.00   795.00        795.00 Discuss concept for
                                                             settling stay issues
                                                             with client (.5);
                                                             emails with
                                                             co-counsel and
                                                             Mediator on
                                                             settlement proposal
                                                             on stay (.3); emails
                                                             with counsel for
                                                             movant on converting
                                                             hearing to status
                                                             conference (.2).
VLD        02/08/2023   B190     1.70   795.00       1351.50 Review and revise PO
                                                             and send to counsel
                                                             (.6); interview
                                                             counsel for
                                                             unrepresented
                                                             transferee to assist in
                                                             producing documents
                                                             to committee (.4);
                                                             meeting with client on
                                                             AJ Live issues (.5);
                                                             emails SubV trustee
                                                             on same (.2).
VLD        02/08/2023   B150     1.00   795.00        795.00 Weekly update call
                                                             with committee (.8);
                                                             emails with UST on
                                                             resetting 341 (.2).
VLD        02/08/2023   B230     0.90 795.00          715.50 Emails with FSS on
                                                             financials and review
                                                             information sent on
                                                             access to financials.
VLD        02/08/2023   B110     1.90   795.00       1510.50 Research and analyze
                                                             documents on assets
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               and companies for
                                                               inclusion in
                                                               statements and
                                                               schedules.
CWS        02/09/2023   B160     0.60   715.00        429.00 Review and respond
                                                             to correspondence
                                                             regarding
                                                             professional
                                                             employment issue.
CWS        02/09/2023   B190     0.50   715.00        357.50 Review revised
                                                             protective order and
                                                             related
                                                             correspondence.
VLD        02/09/2023   B160     0.40 795.00          318.00 Emails with FSS on
                                                             Kennerly and
                                                             employment to do
                                                             taxes.
VLD        02/09/2023   B190     0.10   795.00         79.50 Review and approve
                                                             final PO.
VLD        02/10/2023   B210     0.30 795.00          238.50 Review draft CC
                                                             order and budget (.2);
                                                             review and confirm
                                                             no intention by FSS to
                                                             do pre-petition
                                                             accounting (.1).
VLD        02/10/2023   B160     0.20   795.00        159.00 Correspondence with
                                                             J&O on fee statement
                                                             objection deadline
                                                             and response time.
VLD        02/10/2023   B110     0.60   795.00        477.00 Analyze agenda and
                                                             witness and exhibit
                                                             needs for upcoming
                                                             omnibus hearing (.3);
                                                             review and analyze
                                                             witness and exhibit
                                                             lists filed by other
                                                             parties (.3).
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
VLD        02/12/2023   B110     6.50   795.00       5167.50 Initial review of draft
                                                             schedules and
                                                             statements and
                                                             identify missing
                                                             information (1.9);
                                                             research missing
                                                             information like
                                                             W-2s, K1s, trust and
                                                             company information
                                                             (4.6).
AMF        02/13/2023   B210     2.60   305.00        793.00 Review and analyze
                                                             client's new
                                                             podcast/website
                                                             content, Alex Jones
                                                             Live: Ep. World
                                                             Premiere! Alex Jones
                                                             Officially Launches
                                                             New Podcast (2.0);
                                                             summarize statements
                                                             made related to case
                                                             (.6).
AMF        02/13/2023   B210     0.70   305.00        213.50 Review and analyze
                                                             client's new
                                                             podcast/website
                                                             content, Alex Jones
                                                             Live: Ep. Alex Jones
                                                             Launches His New
                                                             Subscriber Platform
                                                             (.4); summarize
                                                             statements made
                                                             related to case (.3).
AMF        02/13/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform, InfoWars:
                                                             Ep. 2023 Feb -13
                                                             Monday (4.0);
                                                             summarize statements
                                                             made related to case
                                                             (.1).
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
AMF        02/13/2023   B185     0.20   305.00         61.00 Conference regarding
                                                             creditor's objection to
                                                             the assumption of the
                                                             studio lease.
VLD        02/13/2023   B140     0.60   795.00        477.00 Review and analyze
                                                             objection to motion to
                                                             assume or reject
                                                             commercial lease for
                                                             FSS.
VLD        02/13/2023   B190     1.50   795.00       1192.50 Call with Mediator on
                                                             matter (.4); analyze
                                                             discussion with
                                                             Mediator (1.1).
EEW        02/13/2023   B195     1.60   295.00        472.00 Travel to Austin
                                                             (billed at half time)
                                                             3.2 hrs.
EEW        02/13/2023   B110    10.00   295.00       2950.00 Review information
                                                             received from
                                                             BlackBriar and
                                                             communications with
                                                             Harold Kessler
                                                             regarding same (2.0);
                                                             draft and revise
                                                             schedules A/B, C, G,
                                                             H (4.0); draft and
                                                             revise and statements
                                                             (4.0).
CWS        02/13/2023   B110     2.20   715.00       1573.00 Review and respond
                                                             to creditor request
                                                             (.4); draft and revise
                                                             Global Notes for
                                                             schedules and SOFA
                                                             (1.6); review UST
                                                             correspondence (.2).
CWS        02/13/2023   B160     1.10   715.00        786.50 Review and respond
                                                             to correspondence
                                                             regarding First
                                                             Interim compensation
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               procedures.
CWS        02/13/2023   B190     1.30 715.00          929.50 Review UCC
                                                             correspondence and
                                                             related
                                                             correspondence.
VLD        02/13/2023   B195     1.60   795.00       1272.00 Travel to Austin
                                                             (billed at half time)
                                                             3.2
VLD        02/13/2023   B110    11.50 795.00         9142.50 Call with committee
                                                             re AJ Live issues (.8);
                                                             arrange for associate
                                                             to review all shows
                                                             posted to AJ Live and
                                                             his daily show and log
                                                             relevant information
                                                             for reference (.7);
                                                             send text messages to
                                                             team for review and
                                                             marking under PO
                                                             (.3); research into
                                                             2022 Litigation
                                                             Settlement Trust
                                                             assets and status
                                                             (1.1); review issues
                                                             with Youngevity
                                                             account and its
                                                             ownership and status
                                                             (1.4); seeking
                                                             balances in IOLTA
                                                             account for amounts
                                                             owed (.2); drafting
                                                             global and specific
                                                             notes for schedules
                                                             and statements (1.6);
                                                             analyze exemptions
                                                             (1.1); discuss
                                                             exemptions with
                                                             client (.8); seek trust
                                                             agreements (.5);
                                                             emails with
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               committee on
                                                               information gathered
                                                               by Nardello on assets
                                                               (.2); review and
                                                               revise draft schedules
                                                               and SOFAs (2.8).
AMF        02/14/2023   B210     0.60   305.00        183.00 Create a private
                                                             Teams group with
                                                             embedded links to
                                                             each of the client's
                                                             shows, as well a
                                                             master Excel sheet to
                                                             log the episodes
                                                             reviewed, including
                                                             individual links to
                                                             each episode, (rough)
                                                             transcriptions with
                                                             linked audio of those
                                                             episodes, and
                                                             notes/summaries of
                                                             the episodes.
AMF        02/14/2023   B210     2.30   305.00        701.50 Review and analyze
                                                             client's new
                                                             podcast/website
                                                             content, Alex Jones
                                                             Live: Ep. Get Off
                                                             Your Ass And Help
                                                             Save This Country
                                                             (2.1); summarize
                                                             statements made
                                                             related to case (.2).
AMF        02/14/2023   B210     0.20   305.00         61.00 Review and analyze
                                                             client's new
                                                             podcast/website
                                                             content, Alex Jones
                                                             Live: Ep. Fires Place
                                                             in Humanity (.1);
                                                             summarize statements
                                                             made related to case
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               (.1).
AMF        02/14/2023   B210     0.20   305.00         61.00 Review and analyze
                                                             client's new
                                                             podcast/website
                                                             content, Alex Jones
                                                             Live: Ep. Alex Jones
                                                             Shoots Up YouTube
                                                             Golden Button Award
                                                             (.1); summarize
                                                             statements made
                                                             related to case (.1).
AMF        02/14/2023   B210     0.20   305.00         61.00 Review and analyze
                                                             client's new
                                                             podcast/website
                                                             content, Alex Jones
                                                             Live: Ep. Elon's
                                                             Secret Moon Base
                                                             Discovered (.1);
                                                             summarize statements
                                                             made related to case
                                                             (.1).
AMF        02/14/2023   B210     0.30   305.00         91.50 Review and analyze
                                                             client's new
                                                             podcast/website
                                                             content, Alex Jones
                                                             Live: Ep. The
                                                             Ultimate Secret to
                                                             Prosperity (.2);
                                                             summarize statements
                                                             made related to case
                                                             (.1).
AMF        02/14/2023   B210     0.30   305.00         91.50 Review and analyze
                                                             client's new
                                                             podcast/website
                                                             content, Alex Jones
                                                             Live: Ep. The most
                                                             amazing Alex Jones
                                                             speech you will ever
                                                             see (.2); summarize
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               statements made
                                                               related to case (.1).
AMF        02/14/2023   B210     0.20   305.00         61.00 Review and analyze
                                                             client's new
                                                             podcast/website
                                                             content, Alex Jones
                                                             Live: Ep. The
                                                             Globalist Mindset is
                                                             Total Dominion (.1);
                                                             summarize statements
                                                             made related to case
                                                             (.1).
AMF        02/14/2023   B210     0.30   305.00         91.50 Review and analyze
                                                             client's new
                                                             podcast/website
                                                             content, Alex Jones
                                                             Live: Ep. Alex Jones
                                                             Confronts Seattle
                                                             Goblin Creatures (.2);
                                                             summarize statements
                                                             made related to case
                                                             (.1).
AMF        02/14/2023   B210     0.40   305.00        122.00 Review and analyze
                                                             client's new
                                                             podcast/website
                                                             content, Alex Jones
                                                             Live: Ep. VICE and
                                                             Ice: Alex Jones and
                                                             The Fake News
                                                             Mindset (.3);
                                                             summarize statements
                                                             made related to case
                                                             (.1).
AMF        02/14/2023   B210     0.60   305.00        183.00 Review and analyze
                                                             client's new
                                                             podcast/website
                                                             content, Alex Jones
                                                             Live: Ep. Alex Jones
                                                             Live and Commerical
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Free (.3); summarize
                                                               statements made
                                                               related to case (.3).
AMF        02/14/2023   B210     2.10   305.00        640.50 Review and analyze
                                                             client's existing
                                                             platform, InfoWars:
                                                             Ep. 2023 Feb -12
                                                             Sunday(2.0);
                                                             summarize statements
                                                             made related to case
                                                             (.1).
VLD        02/14/2023   B110    13.70   795.00      10891.50 Research multiple
                                                             issues to complete
                                                             schedules(.9);
                                                             meetings with client
                                                             reviewing and
                                                             revising schedules
                                                             (3.4); meetings with
                                                             financial
                                                             professionals
                                                             reviewing and
                                                             revising schedules
                                                             and statements (3.7);
                                                             review and revise
                                                             statements and
                                                             schedules (2.2);
                                                             research unsecured
                                                             claim amounts from
                                                             judgments (.9);
                                                             review and revise
                                                             global notes (2.3);
                                                             add specific notes to
                                                             explain additional
                                                             information being
                                                             gathered and
                                                             provided (.3).
VLD        02/14/2023   B140     0.80   795.00        636.00 Prepare for and attend
                                                             hearing on stay
                                                             issues.
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Attorney      Date      Task   Hours    Rate     Bill Amount     Description of
                                                               Services Rendered
VLD        02/14/2023   B210     0.50   795.00        397.50 Prepare for and attend
                                                             hearing on extending
                                                             lease assumption
                                                             date.
EEW        02/14/2023   B110    12.60   295.00       3717.00 Continue working on
                                                             completing schedules
                                                             A-G (2.8); review
                                                             numbers from
                                                             BlackBriar and draft
                                                             schedules I and J
                                                             (1.2); continue
                                                             working on
                                                             completing
                                                             statements (4.0);
                                                             meeting with client
                                                             for review and
                                                             approval of schedules
                                                             and statements for
                                                             filing.(1.4); final
                                                             review of schedules
                                                             and statements,
                                                             revise, finalize and
                                                             file same (3.2).
CWS        02/14/2023   B110     1.80   715.00       1287.00 Review and revise
                                                             Global Notes (1.1);
                                                             draft related
                                                             correspondence (.7).
VLD        02/14/2023   B110     0.30   795.00        238.50 Emails with client and
                                                             Harvey D. Ellis
                                                             sending trust and
                                                             other documents.
VLD        02/14/2023   B190     0.30   795.00        238.50 Emails with counsel
                                                             for PQPR on
                                                             producing documents
                                                             to SubV Trustee and
                                                             privilege
                                                             preservation.
VLD        02/14/2023   B110     1.30   795.00       1033.50 Research Travis
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               County for real
                                                               property ownership
                                                               (0.7); call with R.
                                                               Battaglia on status of
                                                               W-2s (.4); call with
                                                               ADP lawyer seeking
                                                               W-2s (.2). ng verdicts
                                                               for amounts for
                                                               unsecured claimants
                                                               (1.2); review and
                                                               revise global and
                                                               specific notes to
                                                               schedules and SOFA
                                                               (2.7); research on
                                                               TXSOS for company
                                                               information (2.2);
                                                               researching Travis
                                                               county for real
                                                               property ownership
                                                               (1.7); call with R.
                                                               Battaglia on status of
                                                               W-2s (.4); call with
                                                               ADP lawyer seeking
                                                               W-2s (.2).
AMF        02/15/2023   B210     1.60   305.00        488.00 Review and analyze
                                                             client's new
                                                             podcast/website
                                                             content, Alex Jones
                                                             Live: Ep. Top
                                                             Forecaster Predicts
                                                             Massive Tank Battles
                                                             To Start in Springe
                                                             (1.4); summarize
                                                             statements made
                                                             related to case (.2).
AMF        02/15/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             Feb -14 Tuesday
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               (4.0); summarize
                                                               statements made
                                                               related to case (.1).
JMS        02/15/2023   B190     0.90   265.00        238.50 Review and analyze
                                                             the stipulated
                                                             confidentiality
                                                             agreement and
                                                             protective order and
                                                             summary regarding
                                                             the same (.5); begin
                                                             reviewing text
                                                             messages to mark
                                                             confidential or
                                                             representative eyes
                                                             only (.4).
AMF        02/15/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             Feb -15 Wednesday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.1).
VLD        02/15/2023   B190     0.80   795.00        636.00 Begin review of texts
                                                             for marking under PO
                                                             and production to
                                                             Committee (.4);
                                                             setting call with team
                                                             to discuss review and
                                                             production
                                                             coordination and
                                                             schedule for
                                                             Committee (.2);
                                                             follow up with
                                                             Security bank on
                                                             status of producing
                                                             bank statements (.2).
VLD        02/15/2023   B140     1.10   795.00        874.50 Review and analyze
                                                             exhibits filed and
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               timeline of filing cell
                                                               phone texts messages
                                                               by Bankston
                                                               evaluating stay
                                                               violation.
ANG        02/15/2023   B150     1.60   345.00        552.00 Draft response letter
                                                             to official committee
                                                             of unsecured creditors
                                                             regarding Rule 2004
                                                             discovery.
EEW        02/15/2023   B195     1.80   295.00        531.00 Travel from Austin
                                                             (billed at half time)
                                                             3.6 hrs.
EEW        02/15/2023   B110     0.20 295.00           59.00 Download and
                                                             circulate file-stamped
                                                             copies of schedules
                                                             and statements to
                                                             team.
EEW        02/15/2023   B110     0.30   295.00         88.50 Review case docket
                                                             (.2); review continued
                                                             meeting of creditors
                                                             and docket same (.1).
EEW        02/15/2023   B110     0.20 295.00           59.00 Review
                                                             dallaseservice inbox
                                                             and circulate to team
                                                             motion for new trial
                                                             and motion to modify
                                                             judgment pending in
                                                             Travis County
                                                             District Court.
VLD        02/15/2023   B190     0.20   795.00        159.00 Emails team to set up
                                                             production protocol
                                                             call.
VLD        02/15/2023   B230     1.00   795.00        795.00 Review Motion to
                                                             dedesignate FSS and
                                                             SUbV case and send
                                                             to Trustee' counsel for
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               input (.8); initial
                                                               review of draft plan
                                                               (.2).
VLD        02/15/2023   B190     0.30   795.00        238.50 Emails with
                                                             co-counsel about text
                                                             filing in state court.
VLD        02/15/2023   B160     0.20   795.00        159.00 Review email from
                                                             Norm on post-petition
                                                             payments.
VLD        02/15/2023   B195     1.80   795.00       1431.00 Travel from Austin –
                                                             billed at half time
                                                             (3.6).
VLD        02/15/2023   B110     2.60   795.00       2067.00 Meetings with client
                                                             and McGill on
                                                             operational issues and
                                                             contracts with ESG.
RLM        02/16/2023   B190     0.40   200.00         80.00 Compile 241 text
                                                             messages into
                                                             document review
                                                             platform for attorney
                                                             review.
JMS        02/16/2023   B190     0.50   265.00        132.50 Conference to
                                                             strategize document
                                                             review and
                                                             redactions.
JMS        02/16/2023   B190     0.40   265.00        106.00 Continue reviewing
                                                             text messages and
                                                             marking for
                                                             confidentiality and
                                                             professionals' eyes
                                                             only.
AMF        02/16/2023   B130     0.50   305.00        152.50 Conference regarding
                                                             redaction guidelines
                                                             with financial
                                                             advisors.
EEW        02/16/2023   B190     0.90   295.00        265.50 Team call regarding
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               document production
                                                               and protocol.
EEW        02/16/2023   B110     1.00   295.00        295.00 Review and compile
                                                             bank statements and
                                                             forward to UCC via
                                                             fileshare.
EEW        02/16/2023   B110     0.20   295.00         59.00 Oversee RingCentral
                                                             messages and forward
                                                             message from the
                                                             New York Times to
                                                             counsel for review.
EEW        02/16/2023   B110     0.30   295.00         88.50 Various
                                                             communications with
                                                             Litigation Support to
                                                             coordinate access to
                                                             Litshare folder.
VLD        02/16/2023   B190     2.20   795.00       1749.00 Call with Mediator
                                                             (1.0); call with team
                                                             on document review
                                                             and production
                                                             protocol (.9); emails
                                                             with UCC on
                                                             document production
                                                             (.3).
VLD        02/16/2023   B110     0.60   795.00        477.00 Review letter from
                                                             UCC on schedules
                                                             and SOFA and send
                                                             to team for response.
VLD        02/16/2023   B230     0.80   795.00        636.00 Call with R Battaglia
                                                             on FSS operations.
JMS        02/17/2023   B190     0.10   265.00         26.50 Review various
                                                             correspondence with
                                                             the team regarding
                                                             phone call to discuss
                                                             document review
                                                             project.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
JMS        02/17/2023   B190     0.90   265.00        238.50 Continue reviewing
                                                             and analyzing text
                                                             messages to mark for
                                                             confidentiality and
                                                             attorney's eyes only.
EEW        02/17/2023   B190     0.30   295.00         88.50 Communications with
                                                             A. Finch and
                                                             Litigation Support
                                                             regarding Everlaw
                                                             files.
AMF        02/18/2023   B210     4.20   305.00       1281.00 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             Feb -16 Thursday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.2).
AMF        02/18/2023   B210     4.30   305.00       1311.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             Feb -17 Friday (4.0);
                                                             summarize statements
                                                             made related to case
                                                             (.3).
JMS        02/19/2023   B190     1.40   265.00        371.00 Review over 100 text
                                                             messages and mark as
                                                             confidential or
                                                             attorney's eyes only.
JMS        02/20/2023   B190     0.20   265.00         53.00 Conference regarding
                                                             discovery matters.
AMF        02/20/2023   B210     2.10   305.00        640.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             Feb -19 Sunday (2.0);
                                                             summarize statements
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               made related to case
                                                               (.1).
JMS        02/20/2023   B190     0.70   265.00        185.50 Review thirty (30)
                                                             documents containing
                                                             various text messages
                                                             and mark for
                                                             confidentiality.
LGD        02/20/2023   B190     0.50   185.00         92.50 Communication
                                                             regarding document
                                                             review and files
                                                             shared by BlackBriar
                                                             Advisors.
ANG        02/20/2023   B190     0.70 345.00          241.50 Review and
                                                             summarize discovery
                                                             requests from the
                                                             official committee of
                                                             unsecured creditors
                                                             for upcoming
                                                             document review.
EEW        02/20/2023   B160     0.60   295.00        177.00 Review order
                                                             establishing
                                                             procedures for
                                                             interim compensation
                                                             and reimbursement of
                                                             expenses and docket
                                                             dates and deadlines
                                                             for monthly fee
                                                             statements and
                                                             interim fee
                                                             application.
VLD        02/20/2023   B190     0.10   795.00         79.50 Review and analyze
                                                             document and
                                                             information requests.
VLD        02/20/2023   B190     0.30   795.00        238.50 Review information
                                                             sought by UCC on
                                                             Alex Jones live issues
                                                             and comment to
                                                             same.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
EEW        02/20/2023   B110     0.20 295.00           59.00 Review
                                                             dallaseservice inbox
                                                             and circulate notice of
                                                             filing supplemental
                                                             exhibits in support of
                                                             response to motion
                                                             for sanctions pending
                                                             in Travis County
                                                             District Court.
AMF        02/21/2023   B190     0.80 305.00          244.00 Redact Bank of
                                                             America Statements
                                                             to respond to
                                                             creditors' discovery
                                                             requests (.5); review
                                                             Protective Order to
                                                             respond to creditors'
                                                             discovery requests
                                                             (.1); confirm
                                                             addresses/information
                                                             to be redacted to
                                                             respond to creditors'
                                                             discovery requests
                                                             (.2).
JMS        02/21/2023   B190     0.20   265.00         53.00 Review list of
                                                             addresses to be
                                                             redacted from all
                                                             documents.
AMF        02/21/2023   B190     0.70   305.00        213.50 Draft supplemental
                                                             answers to discovery
                                                             requests (re: AJ Live)
                                                             based on my review
                                                             of client's published
                                                             videos (Infowars and
                                                             AJ Live).
JMS        02/21/2023   B190     0.90   265.00        238.50 Continue reviewing
                                                             various text messages
                                                             and marking for
                                                             confidentiality and
                                                             making necessary
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               redactions.
JMS        02/21/2023   B190     1.10   265.00        291.50 Begin drafting a
                                                             summary of trust and
                                                             company agreements.
LGD        02/21/2023   B190     1.50   185.00        277.50 Access BlackBriar
                                                             dropbox and obtain
                                                             bank statements and
                                                             tax returns for
                                                             attorney production
                                                             review and redaction
                                                             of personal
                                                             information.
EEW        02/21/2023   B190     0.20   295.00         59.00 Email
                                                             correspondence with
                                                             BlackBriar Advisors
                                                             regarding document
                                                             production.
VLD        02/21/2023   B160     0.30   795.00        238.50 Emails with N. Pattis
                                                             on retainer status and
                                                             accounting and
                                                             potential retention
                                                             terms.
VLD        02/21/2023   B320     0.70   795.00        556.50 Call with Mediator
                                                             and FSS
                                                             professionals.
VLD        02/21/2023   B120     0.50   795.00        397.50 Emails with Minton
                                                             on trusts.
VLD        02/21/2023   B195     1.60   795.00       1272.00 Travel to Austin (3.2
                                                             – billed at half time).
VLD        02/21/2023   B140     0.40   795.00        318.00 Emails with counsel
                                                             for movant on
                                                             discovery and setting
                                                             time to discuss
                                                             potential resolution.
VLD        02/21/2023   B240     1.30   795.00       1033.50 Discuss results of
                                                             taxation and
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               ownership of funds in
                                                               donation accounts
                                                               and Bitcoin
                                                               donations.
VLD        02/21/2023   B110     8.70   795.00       6916.50 Emails to E. Morgan
                                                             seeking time to talk
                                                             on her work setting up
                                                             companies and trusts
                                                             for debtor (.1); emails
                                                             setting time to talk
                                                             with D. Minton and
                                                             R. Wilhite on same
                                                             issues (.2); meetings
                                                             with client seeking
                                                             additional
                                                             information for
                                                             schedules (4.2).
VLD        02/21/2023   B160     0.20   795.00        159.00 Emails seeking terms
                                                             for employment from
                                                             N. Pattis.
VLD        02/21/2023   B185     0.20   795.00        159.00 Review contracts and
                                                             prepare team for
                                                             motion to reject
                                                             contracts.
JMS        02/22/2023   B190     2.90 265.00          768.50 Read trust agreements
                                                             in detail and create a
                                                             chart summarizing
                                                             pertinent information.
AMF        02/22/2023   B190     2.00   305.00        610.00 Redact
                                                             (approximately 145)
                                                             Bank of America
                                                             Statements to respond
                                                             to creditors' discovery
                                                             requests (1.8); review
                                                             Protective Order to
                                                             respond to creditors'
                                                             discovery requests
                                                             (.1); confirm
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               redaction
                                                               assignments/breakdo
                                                               wn with team to
                                                               respond to creditors'
                                                               discovery requests
                                                               (.1).
AMF        02/22/2023   B210     4.30   305.00       1311.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             Feb -20 Monday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.3).
JMS        02/22/2023   B190     1.90   265.00        503.50 Complete initial
                                                             review of all Alex
                                                             Jones' text messages
                                                             and make redactions
                                                             and mark as
                                                             confidential.
ANG        02/22/2023   B160     2.50   345.00        862.50 Draft motion to
                                                             employ Pattis &
                                                             Smith with
                                                             declaration and
                                                             proposed order.
EEW        02/22/2023   B110     2.00   295.00        590.00 Electronic case file
                                                             management of new
                                                             trust documents
                                                             received.
EEW        02/22/2023   B110     3.20   295.00        944.00 Email
                                                             correspondence with
                                                             BlackBriar regarding
                                                             the amended
                                                             December MOR and
                                                             January MOR (.2);
                                                             review spreadsheet
                                                             regarding same (.3);
                                                             draft amended
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               December and
                                                               January monthly
                                                               operating reports
                                                               (1.0);
                                                               communications with
                                                               BlackBriar Advisors
                                                               regarding numbers.
CWS        02/22/2023   B150     0.60   715.00        429.00 Draft correspondence
                                                             regarding Creditors
                                                             meeting analysis.
CWS        02/22/2023   B210     1.60   715.00       1144.00 Review and analyze
                                                             Motion to revoke
                                                             Debtor's Sub V Status
                                                             and draft related
                                                             correspondence.
VLD        02/22/2023   B110     3.10   795.00       2464.50 Review and analyze
                                                             all information for
                                                             notes and
                                                             amendments to
                                                             schedules and
                                                             statements of
                                                             financial affairs (2.1);
                                                             call with D. Minton
                                                             and R. Wilhite on
                                                             assets (.8); emails
                                                             with E. Morgan
                                                             seeking to talk about
                                                             trusts and companies
                                                             (.2).
VLD        02/22/2023   B140     0.60   795.00        477.00 Emails with counsel
                                                             for Texas litigants on
                                                             matters proceeding in
                                                             Fontaine (.3); call to
                                                             discuss potential
                                                             resolution to stay
                                                             motion (.3).
VLD        02/22/2023   B110     7.80 795.00         6201.00 Review trust
                                                             summary (.4);
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               drafting and revising
                                                               proposed
                                                               amendments to
                                                               schedules and send to
                                                               group prior to 341
                                                               meeting (4.3); weekly
                                                               call with UCC and
                                                               discuss motion to
                                                               compel and timing for
                                                               amended schedules
                                                               and SOFA (.9); email
                                                               to counsel for PQP.
VLD        02/22/2023   B185     0.90   795.00        715.50 Call with ESG on
                                                             need for affidavit on
                                                             equipment owned for
                                                             studio (.3); emails
                                                             with ESG regarding
                                                             studio details (.6).
VLD        02/22/2023   B150     0.10   795.00         79.50 Emails with J. Ruff on
                                                             having schedules and
                                                             statements with
                                                             witness at 341.
VLD        02/22/2023   B140     1.20   795.00        954.00 Review information
                                                             filed in TX lawsuit on
                                                             sanctions hearing and
                                                             emails with TX
                                                             plaintiff lawyers on
                                                             same.
AMF        02/23/2023   B190     0.90   305.00        274.50 Reaching out to three
                                                             appraisal companies
                                                             (and three Austin
                                                             contacts to discover
                                                             connections to
                                                             appraisers) (.5);
                                                             communicate (via
                                                             email, two phone
                                                             calls, and a
                                                             voicemail) to confirm
                                                             services offered,
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               availability of NDA,
                                                               etc. (.4).
AMF        02/23/2023   B190     2.90   305.00        884.50 Conference regarding
                                                             redaction guildelines
                                                             with financial
                                                             advisors.
AMF        02/23/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             Feb -21 Tuesday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.1).
JMS        02/23/2023   B120     0.50   265.00        132.50 Review and analyze
                                                             the notice of the
                                                             official committee of
                                                             unsecured creditors'
                                                             bankruptcy's requests
                                                             for document
                                                             production.
NAC        02/23/2023   B240     1.20   675.00        810.00 Communications with
                                                             Robert Schleizer and
                                                             Emily Kembell re
                                                             2021 Bitcoin
                                                             donations.
NAC        02/23/2023   B240     2.20 675.00         1485.00 Research tax
                                                             reporting compliance,
                                                             gain/loss calculations
                                                             and tax treatment re
                                                             gifts and donations of
                                                             property and cash.
JMS        02/23/2023   B190     2.80   265.00        742.00 Complete review of
                                                             Alex Jones' text
                                                             messages and mark
                                                             for confidentiality
                                                             and make necessary
                                                             redactions.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
AMF        02/23/2023   B210     0.20   305.00         61.00 Revise notes for
                                                             InfoWars: Ep. 2023
                                                             Feb -21 Tuesday.
CCC        02/23/2023   B110     0.70   290.00        203.00 Draft Motion to Seal
                                                             Debtor's schedules.
ANG        02/23/2023   B185     2.00   345.00        690.00 Draft motion seeking
                                                             order approving
                                                             rejection of ESG
                                                             contracts.
EEW        02/23/2023   B110     0.20 295.00           59.00 Download
                                                             file-stamped copies of
                                                             amended December
                                                             MOR and January
                                                             MOR and circulate to
                                                             team.
EEW        02/23/2023   B110     1.00   295.00        295.00 Review and compile
                                                             all bank statements
                                                             received from
                                                             BlackBriar Advisors
                                                             prior to December
                                                             2022.
EEW        02/23/2023   B110     0.30   295.00         88.50 Review FSS case
                                                             docket and docket
                                                             related dates and
                                                             deadlines.
CWS        02/23/2023   B150     2.20   715.00       1573.00 Attend 341 Creditors
                                                             meeting and draft and
                                                             review related
                                                             correspondence.
VLD        02/23/2023   B150     2.00 795.00         1590.00 Review NDA with
                                                             appraiser and
                                                             comment to same
                                                             (.3); email answers to
                                                             specific questions
                                                             from goods appraiser
                                                             (.3); call with UST
                                                             post-341 meeting to
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               discuss schedules and
                                                               statements (1.1);
                                                               emails with UST on
                                                               media presence at 341
                                                               (.3).
AMF        02/24/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             Feb -22 Wednesday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.1).
JMS        02/24/2023   B190     1.80   265.00        477.00 Review and redact
                                                             300 pages of text
                                                             messages between
                                                             Alex Jones and Erika
                                                             Wulff; finalize
                                                             document review of
                                                             all sms files.
AMF        02/24/2023   B210     0.10   305.00         30.50 Review and analyze
                                                             client's video, Twitter
                                                             (Erika Wulfe): 2023
                                                             Feb - 24 Friday (.1).
EEW        02/24/2023   B160     1.60 295.00          472.00 Draft, file and
                                                             coordinate service of
                                                             W&E List for
                                                             02-28-23 hearing
                                                             (1.2); label and file
                                                             exhibits to list (.4).
VLD        02/24/2023   B185     0.70   795.00        556.50 Call with ESG on
                                                             terms of agreement
                                                             and affidavit needed.
VLD        02/24/2023   B190     0.40   795.00        318.00 Emails with team on
                                                             status of text message
                                                             production (.2);
                                                             emails with UCC on
                                                             production of
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               documents by
                                                               plaintiffs (.2).
VLD        02/24/2023   B160     0.60   795.00        477.00 Review and revise
                                                             W&E list for hearings
                                                             (.4); emails with UST
                                                             on status of any
                                                             comments to
                                                             employment apps
                                                             (.2).
VLD        02/24/2023   B110     2.00 795.00         1590.00 Review NDA with
                                                             appraiser and
                                                             comment to same
                                                             (.3); email answers to
                                                             specific questions
                                                             from goods appraiser
                                                             (.3); call with UST
                                                             post-341 meeting to
                                                             discuss schedules and
                                                             statements (1.1);
                                                             emails with UST on
                                                             media presence at 341
                                                             (.3).
AMF        02/25/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             Feb -23 Thursday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.1).
AMF        02/25/2023   B210     4.30   305.00       1311.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             Feb -24 Friday (4.0);
                                                             summarize statements
                                                             made related to case
                                                             (.3).
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
AMF        02/25/2023   B190     1.10   305.00        335.50 Redact
                                                             (approximately 12)
                                                             Chase Bank
                                                             Statements to respond
                                                             to creditors discovery.
AMF        02/26/2023   B210     2.30   305.00        701.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             Feb -26 Sunday (2.0);
                                                             summarize statements
                                                             made related to case
                                                             (.3).
JMS        02/27/2023   B190     0.20   265.00         53.00 Conference regarding
                                                             objections to
                                                             document requests.
AMF        02/27/2023   B190     0.90   305.00        274.50 Redact
                                                             (approximately 28)
                                                             Security Bank
                                                             Statements.
AMF        02/27/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             Feb -27 Monday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.1).
EEW        02/27/2023   B160     1.50   295.00        442.50 Hearing prep, prepare
                                                             electronic hearing
                                                             notebook and exhibit
                                                             binder for hearing on
                                                             02/28/23.
EEW        02/27/2023   B110     0.20 295.00           59.00 Review
                                                             dallaseservice inbox
                                                             and circulate motion
                                                             for sanctions against
                                                             Chris Martin and
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Andino Reynal for
                                                               groundless pleading
                                                               pending in Travis
                                                               County District
                                                               Court.
CWS        02/27/2023   B160     0.30   715.00        214.50 Review and respond
                                                             to professional
                                                             inquiry regarding
                                                             hearing on
                                                             employment
                                                             applications.
CWS        02/27/2023   B120     0.60   715.00        429.00 Draft and review
                                                             correspondence
                                                             regarding trust
                                                             analysis.
VLD        02/27/2023   B190     1.20   795.00        954.00 Review 2nd 2004
                                                             draft and send to team
                                                             for comment (.8);
                                                             emails with FSS on
                                                             need for FSS
                                                             assistance on
                                                             analyzing transfers
                                                             (.4).
VLD        02/27/2023   B160     1.00 795.00          795.00 Emails with UCC
                                                             counsel on terms of
                                                             Nardello app and
                                                             comments to order
                                                             (.4); emails with
                                                             martin and Reynal in
                                                             preparation for fee
                                                             app hearing (.4);
                                                             emails R. Battaglia on
                                                             Jones matters set for
                                                             hearing (.2).
VLD        02/27/2023   B190     0.20   795.00        159.00 Emails on scheduling
                                                             hearing on motion to
                                                             compel.
VLD        02/27/2023   B195     1.80   795.00       1431.00 Travel from Austin to
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Dallas (3.6) (billed at
                                                               half time).
AMF        02/28/2023   B160     0.50 305.00          152.50 Attend hearing on
                                                             employment of
                                                             Martin & Reynal law
                                                             firms for appeals.
AMF        02/28/2023   B190     1.00   305.00        305.00 Conference regarding
                                                             drafts of discovery
                                                             requests and
                                                             assessment of
                                                             personal property (to
                                                             include Austin trip).
AMF        02/28/2023   B120     0.10   305.00         30.50 Email personal
                                                             property assessor to
                                                             discuss scheduling
                                                             the assessments/walk
                                                             thrus.
AMF        02/28/2023   B120     0.20   305.00         61.00 Review email from
                                                             personal property
                                                             assessor with
                                                             remaining questions
                                                             needed to schedule
                                                             the assessments/walk
                                                             thrus.
CGM        02/28/2023   B120     1.60   255.00        408.00 Team call discussing
                                                             trust issues (0.6);
                                                             initial review of trust
                                                             documents (0.9); read
                                                             emails regarding trust
                                                             issues (0.1).
JMS        02/28/2023   B120     0.30   265.00         79.50 Make revisions to the
                                                             trust agreement chart.
JMS        02/28/2023   B190     1.30   265.00        344.50 Strategy meeting
                                                             regarding objections
                                                             to the 2004
                                                             examination.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
JMS        02/28/2023   B190     0.90   265.00        238.50 Finalize production
                                                             review (.3);
                                                             coordinate production
                                                             from Everlaw (.3);
                                                             exchange emails with
                                                             UCC regarding the
                                                             text message
                                                             production (.3).
AMF        02/28/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             Feb -28 Tuesday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.1).
RLM        02/28/2023   B190     0.40   200.00         80.00 Prepare documents
                                                             for production by
                                                             Bates labeling and
                                                             marking some
                                                             documents
                                                             confidential (241
                                                             documents, 2005
                                                             pages).
AMF        02/28/2023   B190     0.90   305.00        274.50 Review draft
                                                             discovery requests
                                                             from UCC (.5); note
                                                             objections to same
                                                             (.4).
JMS        02/28/2023   B190     0.20   265.00         53.00 Review the order
                                                             approving application
                                                             of debtor for an order
                                                             authorizing
                                                             employment of the
                                                             Reynal Law Firm,
                                                             P.C. as special
                                                             counsel.
TMB        02/28/2023   B190     0.60   200.00        120.00 Revise document
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               production per
                                                               attorney instruction.
CCO        02/28/2023   B190     0.60   525.00        315.00 Intial contact and
                                                             team call discussing
                                                             Trust issues.
EEW        02/28/2023   B110     1.50   295.00        442.50 Organize downloaded
                                                             filings for AJ and FSS
                                                             in Litshare folder.
EEW        02/28/2023   B140     0.20   295.00         59.00 Review courtroom
                                                             minutes and docket
                                                             continued hearing on
                                                             Pozner and De La
                                                             Rosa's motion for
                                                             relief from stay.
EEW        02/28/2023   B160     1.80   295.00        531.00 Draft second monthly
                                                             fee statement of
                                                             Crowe & Dunlevy,
                                                             along with exhibits A
                                                             and B.
EEW        02/28/2023   B160     0.20 295.00           59.00 Download and
                                                             circulate order
                                                             approving
                                                             employment of
                                                             Martin, Disiere,
                                                             Jefferson & Wisdom
                                                             and the Reynal law
                                                             firm.
CWS        02/28/2023   B160     2.80   715.00       2002.00 Review and revise
                                                             January billing
                                                             statement and draft
                                                             related
                                                             correspondence.
CWS        02/28/2023   B110     0.40 715.00          286.00 Review UCC
                                                             correspondence
                                                             regarding amended
                                                             schedules and related
                                                             motion to compel.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
VLD        02/28/2023   B190     0.70   795.00        556.50 Call with team on
                                                             2004 informal
                                                             requests from UCC
                                                             and review needed in
                                                             advance of meet and
                                                             confer.
VLD        02/28/2023   B160     1.10   795.00        874.50 Preparation for and
                                                             attend hearing on
                                                             applications to
                                                             employ.
VLD        02/28/2023   B120     0.80   795.00        636.00 Call with trust
                                                             attorney explaining
                                                             trust issues and
                                                             analysis needed on
                                                             self-settled nature.
JMS        03/01/2023   B190     0.20   265.00         53.00 Correspondence and
                                                             analysis regarding
                                                             text message
                                                             document review.
AMF        03/01/2023   B190     0.30   305.00         91.50 Review draft
                                                             discovery requests
                                                             from UCC (.2); revise
                                                             objections to same
                                                             (including
                                                             highlighting any
                                                             addresses listed) (.1).
JMS        03/01/2023   B190     2.00   265.00        530.00 Review the 2004
                                                             examinations and
                                                             draft objections to the
                                                             document requests.
JMS        03/01/2023   B190     0.10   265.00         26.50 Confirm the scope of
                                                             the 2004 examination
                                                             to confirm that no
                                                             deposition was
                                                             requested.
JMS        03/01/2023   B190     0.60   265.00        159.00 Weekly discovery
                                                             status meeting with
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               UCC.
AMF        03/01/2023   B190     0.80   305.00        244.00 Call with UCC to
                                                             discuss production of
                                                             documents (.6);
                                                             correspondence with
                                                             outside counsel
                                                             discussing corrupted
                                                             files and reproducing
                                                             documents (.2).
JMS        03/01/2023   B120     0.20   265.00         53.00 Draft correspondence
                                                             regarding document
                                                             corruption issue.
AMF        03/01/2023   B110     0.70   305.00        213.50 Review and respond
                                                             to correspondence
                                                             from personal
                                                             property assessor
                                                             with revised estimate
                                                             and budgetary and
                                                             scheduling issues, etc.
JMS        03/01/2023   B190     1.20   265.00        318.00 Begin preparing
                                                             responses and
                                                             objections to the filed
                                                             notice of the official
                                                             committee of
                                                             unsecured creditors.
CGM        03/01/2023   B120     3.90   255.00        994.50 Summarize all trust
                                                             documents.
AMF        03/01/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             Infowars: Ep. 2023
                                                             Mar - 1 Wednesday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.1).
EEW        03/01/2023   B160     1.60   295.00        472.00 Finalize, file and
                                                             serve second monthly
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               fee statement for
                                                               Crowe & Dunlevy.
EEW        03/01/2023   B110     0.40   295.00        118.00 Communications with
                                                             the litigation team
                                                             regarding weekly
                                                             meeting with the
                                                             UCC.
EEW        03/01/2023   B190     0.50   295.00        147.50 Review notice of
                                                             second 2004 motion
                                                             and communications
                                                             with litigation team
                                                             regarding same (.4);
                                                             docket response
                                                             deadline for same
                                                             (.1).
EEW        03/01/2023   B110     0.40   295.00        118.00 Review UCC's
                                                             emergency motion to
                                                             compel debtor to file
                                                             amended schedules
                                                             and SOFA (.3);
                                                             docket hearing date
                                                             for same (.1).
EEW        03/01/2023   B110     0.40 295.00          118.00 Download and
                                                             circulate file-stamped
                                                             copies of schedules
                                                             and SOFA to Crowe
                                                             & Dunlevy team and
                                                             BlackBriar Advisors
                                                             team.
EEW        03/01/2023   B110     0.80   295.00        236.00 Communications with
                                                             litigation team
                                                             regarding processes
                                                             for AJ case.
VLD        03/01/2023   B110     4.20   795.00       3339.00 Research and
                                                             investigate Unit 3
                                                             ownership or transfer
                                                             (.7); discuss findings
                                                             at ranch and storage
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               facilities (.9); emails
                                                               with appraisers for
                                                               household items (.5);
                                                               review and execute
                                                               NDA (.4); follow up
                                                               with E. Taube on
                                                               Greenleaf trust (.2);
                                                               review documents
                                                               from PQPR for
                                                               responsiveness to
                                                               schedules (1.3);
                                                               follow up with
                                                               counsel for ADP on
                                                               W2 for 2022 (.2).
VLD        03/01/2023   B240     0.40 795.00          318.00 Email with IRS on fax
                                                             number (.2); discuss
                                                             remainder with
                                                             BlackBriar Advisors
                                                             (.2).
VLD        03/01/2023   B190     2.40   795.00       1908.00 Review and analyze
                                                             notes to 2004 related
                                                             to potential objections
                                                             in prep for call with
                                                             UCC (.9); call with
                                                             UCC on 2004 meet
                                                             and confer and
                                                             motion to compel to
                                                             be filed (.8); review
                                                             summary of deadlines
                                                             and approve same for
                                                             calendaring (.3); draft
                                                             simple affidavit
                                                             language for ESG on
                                                             ownership of
                                                             equipment at studio
                                                             (.4).
VLD        03/01/2023   B210     0.20   795.00        159.00 Review emails from
                                                             co-counsel to client
                                                             about FSS
                                                             performance and
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               respond to same.
CWS        03/01/2023   B160     2.20   715.00       1573.00 Review January fee
                                                             statement and billing
                                                             for filing and service
                                                             (1.6); draft related
                                                             correspondence (.6).
CGM        03/02/2023   B190     2.20   255.00        561.00 Complete summary
                                                             of trust documents.
AMF        03/02/2023   B120     0.70   305.00        213.50 Conference regarding
                                                             scheduling for
                                                             property assessment.
AMF        03/02/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             Infowars: Ep. 2023
                                                             Mar - 2 Thursday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.1).
EEW        03/02/2023   B160     2.20   295.00        649.00 Draft, file and serve
                                                             second monthly fee
                                                             statement for
                                                             BlackBriar Advisors.
EEW        03/02/2023   B160     2.00   295.00        590.00 Draft, file and serve
                                                             first monthly fee
                                                             statement for Rachel
                                                             Kennerly, Tax
                                                             Advisor.
VLD        03/02/2023   B190     1.20   795.00        954.00 Call with client on
                                                             SubV trustee
                                                             deposition scheduling
                                                             and related issues
                                                             (.6); review SubV
                                                             trustee request for
                                                             exam and respond to
                                                             same (.3); review
                                                             UCC list of
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               individuals and
                                                               companies for which
                                                               they are seeking
                                                               contact information
                                                               or lawyer information
                                                               (.3).
VLD        03/02/2023   B310     0.40   795.00        318.00 Analyze claim from
                                                             property tax
                                                             professional.
VLD        03/02/2023   B140     0.80   795.00        636.00 Call with J. Hardy on
                                                             potential resolution to
                                                             stay motion and
                                                             document production
                                                             and deposition (.5);
                                                             emails with A. Reynal
                                                             on documents to
                                                             produce and
                                                             deposition
                                                             availability (.3).
VLD        03/02/2023   B310     0.20   795.00        159.00 Correspondence on
                                                             retraction for
                                                             resolving potential
                                                             admin claims.
VLD        03/02/2023   B110     0.80 795.00          636.00 Working with
                                                             appraiser for
                                                             household items.
CWS        03/02/2023   B190     2.60 715.00         1859.00 Review
                                                             dischargeability
                                                             research.
JMS        03/03/2023   B120     0.30   265.00         79.50 Draft correspondence
                                                             and review regarding
                                                             access to text
                                                             messages in the
                                                             correct file format.
AMF        03/03/2023   B110     0.50 305.00          152.50 Review
                                                             correspondence
                                                             regarding Motion to
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Compel filing of
                                                               amended schedules.
AMF        03/03/2023   B110     0.70   305.00        213.50 Emails and calls with
                                                             property assessor
                                                             regarding payment
                                                             and signed service
                                                             agreement and
                                                             finalizing scheduling
                                                             and information
                                                             exchange.
JMS        03/03/2023   B120     0.20   265.00         53.00 Review employment
                                                             agreements for
                                                             purposes of
                                                             determining the
                                                             information needed to
                                                             draft the agreement.
JMS        03/03/2023   B120     0.60   265.00        159.00 Make revisions to the
                                                             trust agreement chart
                                                             and identify new
                                                             trusts and entities in
                                                             the 2004 examination.
EEW        03/03/2023   B160     0.40 295.00          118.00 Download and
                                                             circulate fee
                                                             statements for Crowe
                                                             & Dunlevy,
                                                             BlackBriar Advisors
                                                             and Kennerly (.3);
                                                             docket objection
                                                             deadline for fee
                                                             statements for Crowe
                                                             & Dunlevy,
                                                             BlackBriar Advisors
                                                             and Kennerly (.1).
VLD        03/03/2023   B110     3.40   795.00       2703.00 Call with PQPR
                                                             attorneys on
                                                             documents needed
                                                             (.5); call with
                                                             BlackBriar Advisors
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               on summary of call
                                                               with UCC Advisors
                                                               (.4); emails and calls
                                                               on furnishings
                                                               appraiser and getting
                                                               the retainer and
                                                               agreement executed
                                                               (.4); review motion to
                                                               compel and
                                                               correspondence with
                                                               UCC on issues with
                                                               log requested (1.4);
                                                               call with team to
                                                               discuss how to begin
                                                               log and work through
                                                               meetings schedule for
                                                               next week to gather
                                                               additional
                                                               information for
                                                               schedules and
                                                               statements (.7).
VLD        03/03/2023   B120     0.80   795.00        636.00 Review information
                                                             on Youngevity
                                                             contract suspension
                                                             and analyze
                                                             arguments against
                                                             same.
VLD        03/03/2023   B140     1.40   795.00       1113.00 Call with R. Battaglia
                                                             on potential
                                                             resolution to stay
                                                             motion and discovery
                                                             issues in the event not
                                                             resolved (.6); review
                                                             stay relief counter
                                                             proposal and send to
                                                             R. Battaglia for
                                                             review (.6); send
                                                             request to movants on
                                                             appeal (.2).
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Attorney      Date      Task   Hours    Rate     Bill Amount     Description of
                                                               Services Rendered
AMF        03/04/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             Infowars: Ep. 2023
                                                             Mar - 3 Friday (4.0);
                                                             summarize statements
                                                             made related to case
                                                             (.1).
AMF        03/04/2023   B210     3.80   305.00       1159.00 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             Infowars: Ep. 2023
                                                             Mar - 4 Saturday
                                                             Special with
                                                             Roseanne Barr (3.6);
                                                             summarize statements
                                                             made related to case
                                                             (.2).
AMF        03/05/2023   B210     2.10   305.00        640.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             Infowars: Ep. 2023
                                                             Mar - 5 Sunday (2.0);
                                                             summarize statements
                                                             made related to case
                                                             (.1).
AMF        03/06/2023   B210     4.20   305.00       1281.00 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             Infowars: Ep. 2023
                                                             Mar - 6 Monday (4.0);
                                                             summarize statements
                                                             made related to case
                                                             (.2).
VLD        03/06/2023   B140     0.40   795.00        318.00 Call with Texas
                                                             appellate counsel on
                                                             lift stay resolution
                                                             (.2); emails regarding
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               same (.2).
VLD        03/06/2023   B190     0.80 795.00          636.00 Call with SubV
                                                             counsel on
                                                             examinations and
                                                             interviews needed.
VLD        03/06/2023   B110     1.70   795.00       1351.50 Scheduling time in
                                                             client office this week
                                                             to organize appraisal,
                                                             interviews, meetings
                                                             and calls to gain
                                                             information to
                                                             complete schedules
                                                             and statements.
JMS        03/07/2023   B185     0.60   265.00        159.00 Begin analyzing the
                                                             motion for order
                                                             rejecting ESG and
                                                             application for
                                                             employment
                                                             authorization.
JMS        03/07/2023   B210     0.20   265.00         53.00 Correspondence
                                                             regarding potential
                                                             draft employment
                                                             agreement.
JMS        03/07/2023   B190     2.60   265.00        689.00 Begin drafting
                                                             responses to the 2004
                                                             examination.
AMF        03/07/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             Infowars: Ep. 2023
                                                             Mar - 7 Tuesday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.1).
AMF        03/07/2023   B190     0.30   305.00         91.50 Redact Prosperity
                                                             Bank Statements.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
AMF        03/07/2023   B210     2.10   305.00        640.50 Review and analyze
                                                             client's special
                                                             broadcast,
                                                             MadMaxWorld.TV:
                                                             Live Commentary of
                                                             Tucker Carlson
                                                             Release of January
                                                             6th, Mar - 7 Tuesday
                                                             (2.0); summarize
                                                             statements made
                                                             related to case (.1).
VLD        03/07/2023   B190     1.30   795.00       1033.50 Review and revise PO
                                                             (.9); call with R.
                                                             Battaglia on PO (.3);
                                                             send comments to
                                                             FSS for their review
                                                             (.1).
VLD        03/07/2023   B140     1.20   795.00        954.00 Emails with J. Hardy
                                                             on documents
                                                             supporting lift stay
                                                             opposition (.3); attend
                                                             status conference on
                                                             lift stay (.9).
EEW        03/07/2023   B110     0.20   295.00         59.00 Review IRS notice to
                                                             the debtor and
                                                             circulate to team.
EEW        03/07/2023   B110     0.70   295.00        206.50 Electronic case file
                                                             management of trust
                                                             files received from
                                                             counsel for PQPR and
                                                             organize same.
VLD        03/07/2023   B195     1.80   795.00       1431.00 Travel to Austin
                                                             (billed at half time)
                                                             3.6.
VLD        03/07/2023   B110     6.00   795.00       4770.00 Call with W. Cisack
                                                             (.4); review
                                                             documents from
                                                             various parties; call
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               with M. Cook (.9);
                                                               meeting with PQPR
                                                               attorneys (.8);
                                                               meetings with client
                                                               (.6); call E. Morgan
                                                               seeking information
                                                               on business structure
                                                               intentions (.8); draft
                                                               file release (.2);
                                                               review information
                                                               from PQPR (.4);
                                                               research on patent
                                                               listed in tax return
                                                               (.4); revising
                                                               corporate charts (.5).
VLD        03/07/2023   B185     1.10   795.00        874.50 Discussion of
                                                             Youngevity
                                                             receivable and
                                                             termination (.8);
                                                             meeting with
                                                             Youngevity partner
                                                             on same (.3).
VLD        03/07/2023   B190     1.00   795.00        795.00 Call with R. Battaglia
                                                             regarding 2004
                                                             requests and
                                                             defending FSS
                                                             employees (.2);
                                                             emails with
                                                             committee on
                                                             multiple 2004
                                                             requests (.8).
VLD        03/07/2023   B210     0.60 795.00          477.00 Begin drafting AJ
                                                             employment contract.
VLD        03/07/2023   B210     0.50   795.00        397.50 Call with R. Battaglia
                                                             discussing impact of
                                                             SubV Dedesignation
                                                             motion.
CWS        03/07/2023   B210     1.30   715.00        929.50 Perform research
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               regarding
                                                               employment
                                                               agreements (.9);
                                                               review and respond to
                                                               correspondence
                                                               regarding same (.4)
AMF        03/08/2023   B195     2.70   305.00        823.50 Non-working travel
                                                             (billed at half time
                                                             5.5).
AMF        03/08/2023   B120     0.80   305.00        244.00 Meet with S. Lemon
                                                             (PQPR counsel) to
                                                             discuss potential
                                                             outstanding assets.
AMF        03/08/2023   B190     2.70 305.00          823.50 Redact PNC and
                                                             BBVA Bank
                                                             Statements.
AMF        03/08/2023   B110     0.50   305.00        152.50 Attend remote
                                                             hearing on emergency
                                                             motion to compel
                                                             schedules.
CGM        03/08/2023   B190     0.80 255.00          204.00 Review trust
                                                             summary and draft
                                                             correspondence
                                                             regarding same.
JMS        03/08/2023   B190     0.20   265.00         53.00 Review various
                                                             correspondence from
                                                             Katherine Porter
                                                             regarding document
                                                             production.
JMS        03/08/2023   B190     0.20   265.00         53.00 Review the notice of
                                                             second further
                                                             continuance of the
                                                             first meeting of
                                                             creditors.
AMF        03/08/2023   B110     0.50   305.00        152.50 Review and revise
                                                             schedules.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
JMS        03/08/2023   B190     1.60   265.00        424.00 Conduct document
                                                             review of tax returns
                                                             and make redactions
                                                             and mark for
                                                             confidentiality.
AMF        03/08/2023   B190     0.80 305.00          244.00 Review Bank
                                                             Statements.
AMF        03/08/2023   B110     1.10   305.00        335.50 Meet with AJ to
                                                             discuss storage
                                                             facilities, updates to
                                                             schedules, assets,
                                                             property assessment
                                                             schedule, etc.
EEW        03/08/2023   B110     0.40   295.00        118.00 Review case docket
                                                             and updated hearing
                                                             notice (.3); docket
                                                             updated hearing date
                                                             for motion to compel
                                                             debtor to file
                                                             amended schedules
                                                             and SOFA (.1).
VLD        03/08/2023   B110     7.60   795.00       6042.00 Drafting affidavit for
                                                             helicopter (.5); work
                                                             on schedule
                                                             amendments;
                                                             releasing file from
                                                             former personal
                                                             lawyer (.3); draft
                                                             affidavit for ESG (.7);
                                                             finish contact list (.4);
                                                             meet with client and
                                                             discuss hearing (.8);
                                                             draft affidavit for
                                                             John Haarmann (.4);
                                                             prepare for and attend
                                                             hearing on unopposed
                                                             motion to compel
                                                             (1.6); following up on
                                                             W-2 From ADP (.2);
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               emails with Cook's
                                                               office seeking
                                                               clarification on trusts
                                                               (.3); emails obtaining
                                                               PFS from Security
                                                               Bank of Crawford
                                                               (.3); discuss ESG,
                                                               marketing and
                                                               various operational
                                                               issues (.4); sending
                                                               documents to
                                                               committee (.9);
                                                               research needed to
                                                               complete contact list
                                                               for committee (.8).
EEW        03/08/2023   B110     1.20   295.00        354.00 Compile pleadings
                                                             and prepare electronic
                                                             hearing notebook for
                                                             03-08-2023 hearing
                                                             on the UCC's motion
                                                             to compel debtor to
                                                             file amended
                                                             schedules and
                                                             statements.
EEW        03/08/2023   B190     2.70   295.00        796.50 Electronic case file
                                                             management of AJ
                                                             Litshare folder and
                                                             docket response
                                                             deadline for rolling
                                                             production.
VLD        03/08/2023   B150     0.30 795.00          238.50 Emails with UST
                                                             confirming the
                                                             continued 341
                                                             meeting time and date
                                                             (.1); emailing Mr.
                                                             Kimper on
                                                             availability to answer
                                                             questions (.2).
CWS        03/08/2023   B190     1.30   715.00        929.50 Review and respond
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               to 2004 Motion
                                                               response inquiries.
JMS        03/09/2023   B190     0.50   265.00        132.50 Review Jones'
                                                             personal financial
                                                             statement to Security
                                                             Bank.
JMS        03/09/2023   B190     0.10   265.00         26.50 Review emails from
                                                             Katherine Porter
                                                             regarding Jones' text
                                                             message search
                                                             regarding Alex Jones
                                                             Live.
JMS        03/09/2023   B190     2.20   265.00        583.00 Complete draft
                                                             responses to the Rule
                                                             2004 examination
                                                             request for
                                                             documents.
CGM        03/09/2023   B120     0.60   255.00        153.00 Review 2022 Appeal
                                                             Trust.
MAC        03/09/2023   B190     0.50   560.00        280.00 Analyze issues
                                                             regarding 2004 Exam.
CCO        03/09/2023   B190     0.20   525.00        105.00 Conference regarding
                                                             Trust Analysis.
AMF        03/09/2023   B110     6.10   305.00       1860.50 Supervise valuators,
                                                             answer questions,
                                                             provide access to
                                                             items/confirm
                                                             ownership of items,
                                                             etc. (to include
                                                             visiting 9 storage
                                                             units with financial
                                                             advisors).
AMF        03/09/2023   B190     0.90 305.00          274.50 Meeting with FSS
                                                             SubV Trustee to
                                                             discuss Trustee 2004
                                                             requests/document
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               production.
AMF        03/09/2023   B210     0.30   305.00         91.50 Discussion with
                                                             Patrick Magill.
AMF        03/09/2023   B110     0.30   305.00         91.50 Review and revise
                                                             motion to seal.
VLD        03/09/2023   B110     6.30   795.00       5008.50 Work on revising
                                                             schedules and SOFA
                                                             (1.2); view storage
                                                             facilities and home
                                                             contents during
                                                             appraisal (3.1); call
                                                             with former counsel
                                                             seeking information
                                                             on financial affairs
                                                             (.8); review personal
                                                             financial statement
                                                             for AJ (.3); review
                                                             discovery responses
                                                             for financial
                                                             statements (.4);
                                                             review and analyze
                                                             bitcoin reconciliation
                                                             (.5).
VLD        03/09/2023   B150     1.60 795.00         1272.00 Meeting with SubV
                                                             Trustee and counsel
                                                             (1.1); send documents
                                                             to same (.5).
VLD        03/09/2023   B190     0.70   795.00        556.50 Review and comment
                                                             to Responses to 2004
                                                             on AJ Live issues (.4);
                                                             emails with counsel
                                                             on document search
                                                             (.3).
EEW        03/09/2023   B110     0.50 295.00          147.50 Review
                                                             dallaseservice inbox
                                                             and circulate to team
                                                             plaintiff's notice of
                                                             filing declaration on
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               attorney's fees in the
                                                               Fontaine vs. Jones
                                                               state court matter.
AMF        03/10/2023   B195     2.30   305.00        701.50 Non-working travel
                                                             (billed at half-time
                                                             4.7)
JMS        03/10/2023   B190     0.70 265.00          185.50 Research the
                                                             Southern District of
                                                             Texas local
                                                             bankruptcy rules
                                                             regarding requests for
                                                             production (.2);
                                                             finalize responses to
                                                             requests for
                                                             production and
                                                             coordinate mailing
                                                             (.5).
AMF        03/10/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             Infowars: Ep. 2023
                                                             Mar - 8 Wednesday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.1).
JMS        03/10/2023   B190     0.20   265.00         53.00 Review outstanding
                                                             discovery related
                                                             items.
JMS        03/10/2023   B150     0.30   265.00         79.50 Review and respond
                                                             to correspondence
                                                             regarding agreement
                                                             to accept 2004
                                                             examination response
                                                             via email.
JMS        03/10/2023   B190     0.20   265.00         53.00 Review summary of
                                                             documents to be
                                                             uploaded into
                                                             Everlaw for the
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               rolling production in
                                                               response to the draft
                                                               2004 examination.
JMS        03/10/2023   B160     0.10   265.00         26.50 Review and analyze
                                                             the Norm Pattis'
                                                             application to be
                                                             employed.
JMS        03/10/2023   B150     0.30   265.00         79.50 Review and analyze
                                                             various email
                                                             correspondence
                                                             regarding the visit to
                                                             storage facilities.
CGM        03/10/2023   B120     1.50   255.00        382.50 Conference regarding
                                                             the Settlement Trust
                                                             (0.2); Reviewing
                                                             Settlement Trust (1.3)
CCO        03/10/2023   B190     0.40   525.00        210.00 Conference regarding
                                                             trust issues (.2);
                                                             research regarding
                                                             same (.2).
CCO        03/10/2023   B120     0.80   525.00        420.00 Review all terms of
                                                             2022 Settlement Trust
                                                             to determine proper
                                                             distributions.
VLD        03/10/2023   B190     0.60 795.00          477.00 Emails with CT
                                                             Plaintiffs on service
                                                             of discharge
                                                             adversary (.2); emails
                                                             with committee on
                                                             deadlines for
                                                             documents on second
                                                             2004 request (.4).
VLD        03/10/2023   B160     0.60   795.00        477.00 Emails with co
                                                             counsel on Pattis
                                                             application (.2);
                                                             emails regarding
                                                             retainer due to Reynal
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               firm and clarifying
                                                               same (.4).
VLD        03/10/2023   B210     0.70   795.00        556.50 Call with R. Battaglia
                                                             on issues with
                                                             contract terms on
                                                             marketing deals
                                                             between FSS and AJ
                                                             (.4); draft affidavit for
                                                             ESG on relinquishing
                                                             claims to funds (.3).
EEW        03/10/2023   B110     0.90   295.00        265.50 Compile all bank
                                                             statements and
                                                             corporate documents
                                                             (.7); draft related
                                                             correspondence (.2).
EEW        03/10/2023   B190     0.90   295.00        265.50 Team call and email
                                                             correspondence to
                                                             litigation support
                                                             regarding document
                                                             review and
                                                             production.
VLD        03/10/2023   B185     0.20   795.00        159.00 Emails with
                                                             co-counsel on
                                                             rejection motion.
JMS        03/10/2023   B185     0.40   265.00        106.00 Review motion to
                                                             reject the Elevated
                                                             Solutions Group
                                                             contracts (.3); send
                                                             email to Shelby
                                                             Jordan regarding the
                                                             same (.1).
AMF        03/11/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             Infowars: Ep. 2023
                                                             Mar - 9 Thursday
                                                             (4.0); summarize
                                                             statements made
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               related to case (.1).
AMF        03/11/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             Infowars: Ep. 2023
                                                             Mar - 10 Friday (4.0);
                                                             summarize statements
                                                             made related to case
                                                             (.1).
AMF        03/12/2023   B210     1.50   305.00        457.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             Infowars: Ep. Special
                                                             Saturday Broadcast
                                                             2023 Mar - 11 (1.4);
                                                             summarize statements
                                                             made related to case
                                                             (.1).
AMF        03/12/2023   B190     0.90   305.00        274.50 Review and confirm
                                                             redactions for Chase,
                                                             Security, and
                                                             Prosperity bank
                                                             statements in order to
                                                             produce to creditors'
                                                             counsel.
JMS        03/12/2023   B190     0.20   265.00         53.00 Correspondence
                                                             regarding rolling
                                                             document production
                                                             and logistics
                                                             regarding the same.
AMF        03/12/2023   B210     2.10   305.00        640.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             Infowars: Ep. 2023
                                                             Mar - 12 Sunday
                                                             (2.0); summarize
                                                             statements made
                                                             related to case (.1).
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
AMF        03/12/2023   B110     0.50   305.00        152.50 Conference with
                                                             financial advisors
                                                             regarding storage unit
                                                             list.
AMF        03/12/2023   B190     0.20   305.00         61.00 Perform analysis
                                                             regarding rolling
                                                             production.
JMS        03/13/2023   B190     0.30   265.00         79.50 Perform analysis
                                                             regarding second
                                                             round of production
                                                             of documents.
AMF        03/13/2023   B195     2.20   305.00        671.00 Non-working travel
                                                             (billed at half time
                                                             4.5)
AMF        03/13/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             Infowars: Ep. 2023
                                                             Mar - 13 Monday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.1).
AMF        03/13/2023   B190     0.60   305.00        183.00 Correspondence with
                                                             UCC regarding
                                                             document production
                                                             and asset review.
AMF        03/13/2023   B190     0.20   305.00         61.00 Discuss rolling
                                                             production
                                                             breakdown/plan for
                                                             creditors.
LGD        03/13/2023   B190     0.40   185.00         74.00 Prepare client
                                                             discovery for attorney
                                                             production review.
AMF        03/14/2023   B190     1.80   305.00        549.00 Review and confirm
                                                             redactions for Bank of
                                                             America (145) and
                                                             PNC/BBVA bank
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               (49) statements in
                                                               order to produce to
                                                               creditors' counsel.
AMF        03/14/2023   B195     0.30   305.00         91.50 Non-working travel
                                                             (billed at half time
                                                             0.6)
AMF        03/14/2023   B190     2.40   305.00        732.00 Redact (addresses,
                                                             children's names and
                                                             DOB) Trust
                                                             documents in order to
                                                             produce to creditors'
                                                             counsel.
AMF        03/14/2023   B120     1.90   305.00        579.50 Calls and
                                                             correspondence with
                                                             private
                                                             investigators/CPAs
                                                             regarding asset search
                                                             services (1.3); draft
                                                             NDA (.6).
JMS        03/14/2023   B120     1.30   265.00        344.50 Perform analysis
                                                             regarding trust
                                                             document redactions.
AMF        03/14/2023   B190     1.10 305.00          335.50 Redact (addresses and
                                                             SSNs/EINs) Tax
                                                             Returns in order to
                                                             produce to creditors'
                                                             counsel.
AMF        03/14/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             Infowars: Ep. 2023
                                                             Mar - 14 Tuesday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.1).
AMF        03/14/2023   B120     0.50   305.00        152.50 Correspondence with
                                                             professionals
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               regarding appraisals.
AMF        03/14/2023   B190     0.70   305.00        213.50 Review and respond
                                                             to correspondence
                                                             with UCC regarding
                                                             document production.
JMS        03/15/2023   B190     1.70   265.00        450.50 Complete redaction
                                                             revisions to the trust
                                                             documents and tax
                                                             returns (1.1);
                                                             facilitate document
                                                             production to Akin
                                                             Gump (.6).
AMF        03/15/2023   B190     3.00   305.00        915.00 Tour storage units (at
                                                             four locations) and
                                                             office storage with
                                                             Trustee and
                                                             representative of
                                                             UCC.
AMF        03/15/2023   B195     0.80   305.00        244.00 Non-working travel
                                                             (billed at half time
                                                             1.6)
AMF        03/15/2023   B120     0.60   305.00        183.00 Call with financial
                                                             institution regarding
                                                             safety deposit box and
                                                             access details.
CGM        03/15/2023   B120     2.70   255.00        688.50 Finalizing summary
                                                             of trusts (2.2): draft
                                                             correspondence
                                                             regarding same (.5).
AMF        03/15/2023   B120     0.30 305.00           91.50 Observe and
                                                             document condo
                                                             assets.
AMF        03/15/2023   B195     0.80   305.00        244.00 Non-working travel
                                                             (billed at half time
                                                             1.6)
AMF        03/15/2023   B120     0.50   305.00        152.50 Correspondence with
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               financial advisors
                                                               regarding asset
                                                               search.
AMF        03/15/2023   B110     4.00   305.00       1220.00 Review and revise
                                                             schedules (1.2);
                                                             search for and add
                                                             domain names (1.3);
                                                             draft followup item
                                                             list (1.5).
AMF        03/15/2023   B120     0.50   305.00        152.50 Review assessment of
                                                             trust analysis (.2);
                                                             review
                                                             correspondence from
                                                             appraiser (.3).
CCO        03/15/2023   B120     0.80   525.00        420.00 Revise summaries of
                                                             Trusts other than
                                                             Settlement.
VLD        03/15/2023   B110     0.50   795.00        397.50 Correspondence
                                                             regarding status of
                                                             committee and UST
                                                             inspection of storage
                                                             facilities.
EEW        03/15/2023   B110     3.40   295.00       1003.00 Meet with Kathy No
                                                             with BlackBriar
                                                             Advisors regarding
                                                             schedules (2.6);
                                                             review and respond to
                                                             related
                                                             correspondence (.8).
EEW        03/15/2023   B190     0.40   295.00        118.00 Download and review
                                                             complaint (Heslin v.
                                                             AEJ) (.2); review
                                                             summons and docket
                                                             response deadline
                                                             (.2).
EEW        03/15/2023   B190     0.40   295.00        118.00 Download and review
                                                             complaint (Wheeler
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               v. Jones) (.2); review
                                                               summons and docket
                                                               response deadline
                                                               (.2).
LGD        03/15/2023   B190     0.30   185.00         55.50 Prepare client
                                                             document production.
CWS        03/15/2023   B190     1.40   715.00       1001.00 Review adversary
                                                             complaints (1.2);
                                                             review and respond to
                                                             co-counsel
                                                             correspondence (.2).
AMF        03/16/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             Infowars: Ep. 2023
                                                             Mar - 15 Wednesday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.1).
AMF        03/16/2023   B195     0.70   305.00        213.50 Non-working travel
                                                             (billed at half time
                                                             1.5)
AMF        03/16/2023   B120     0.90   305.00        274.50 Draft correspondence
                                                             regarding appraisal
                                                             (.5); review appraisal
                                                             report (.4).
AMF        03/16/2023   B120     0.40 305.00          122.00 Review trust
                                                             summary.
CGM        03/16/2023   B190     0.20   255.00         51.00 Draft correspondence
                                                             regarding trust
                                                             summary.
AMF        03/16/2023   B190     0.30   305.00         91.50 Meet with Debtor to
                                                             search for docs
                                                             responsive to 2004
                                                             requests.
AMF        03/16/2023   B190     0.80 305.00          244.00 Search unknown
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               entities to determine
                                                               if they are associated
                                                               with Debtor and
                                                               review findings re the
                                                               same (.6); update
                                                               chart based on
                                                               information from
                                                               Patrick Magill, etc.
                                                               and discuss which
                                                               entities to add to
                                                               investigative request
                                                               (.2).
AMF        03/16/2023   B120     0.60   305.00        183.00 Zoom meeting with
                                                             Justice Solutions
                                                             Group to discuss asset
                                                             search.
AMF        03/16/2023   B190     0.50   305.00        152.50 Meeting with Patrick
                                                             Magill regarding
                                                             2004 Exam
                                                             responses.
CCO        03/16/2023   B120     0.40 525.00          210.00 Review trust
                                                             summary.
WWB        03/16/2023   B110     1.50   265.00        397.50 Research information
                                                             for 13 Texas entities
                                                             and draft related
                                                             correspondence.
EEW        03/16/2023   B110     4.10   295.00       1209.50 Work on amended
                                                             schedules and
                                                             statement of financial
                                                             affairs.
AMF        03/17/2023   B195     2.10   305.00        640.50 Non-working travel
                                                             (billed at half time
                                                             4.2)
AMF        03/17/2023   B210     4.20   305.00       1281.00 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             Infowars: Ep. 2023
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Mar - 16 Thursday
                                                               (4.0); summarize
                                                               statements made
                                                               related to case (.2).
AMF        03/17/2023   B120     0.40   305.00        122.00 Review, analyze and
                                                             execute Justice
                                                             Solution Group
                                                             contract.
EEW        03/17/2023   B110     6.30   295.00       1858.50 Work on amended
                                                             schedules and
                                                             statements of
                                                             financial affairs with
                                                             BlackBriar Advisors.
AMF        03/19/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             Infowars: Ep. 2023
                                                             Mar - 17 Friday (4.0);
                                                             summarize statements
                                                             made related to case
                                                             (.1).
AMF        03/20/2023   B210     2.20   305.00        671.00 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             Infowars: Ep. 2023
                                                             Mar - 19 Sunday
                                                             (2.0); summarize
                                                             statements made
                                                             related to case (.2).
CGM        03/20/2023   B190     2.30   255.00        586.50 Review and analysis
                                                             of two new trusts and
                                                             exhibits and revising
                                                             the Summary of
                                                             Trusts.
NAC        03/20/2023   B240     1.40   675.00        945.00 Correspondence and
                                                             call with Rachel
                                                             Kennerly regarding
                                                             reporting of gifts
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               received in 2021 and
                                                               2022.
AMF        03/20/2023   B130     0.40   305.00        122.00 Phone call with AJ
                                                             regarding assets.
AMF        03/20/2023   B190     0.40   305.00        122.00 Review 2004
                                                             responses and
                                                             requests to meet and
                                                             confer referencing the
                                                             same (.2); review and
                                                             compare letter
                                                             redactions (.2).
JMS        03/20/2023   B190     0.40   265.00        106.00 Review the
                                                             committee's letter
                                                             regarding the debtor's
                                                             document production
                                                             and request to
                                                             re-produce without
                                                             redactions.
AMF        03/20/2023   B190     1.70   305.00        518.50 Redact loan docs,
                                                             utilities, and docs
                                                             relating to storage
                                                             units.
CCO        03/20/2023   B120     0.90   525.00        472.50 Review new Exhibit
                                                             for beneficiaries (.5);
                                                             analyze agreement
                                                             (.4).
CCC        03/20/2023   B190     0.60   345.00        207.00 Review summons for
                                                             adversary proceeding
                                                             by Texas Plaintiffs
                                                             (.3); calculate answer
                                                             deadline for client to
                                                             respond to suit by
                                                             Texas Plaintiffs (.3).
VLD        03/20/2023   B190     1.00   795.00        795.00 Call with Alex on
                                                             issues with news
                                                             reporting of
                                                             dischargeability
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               complaint (.3);
                                                               discuss answer date to
                                                               dischargeability
                                                               complaints and initial
                                                               drafts of answers (.4);
                                                               analyze initial
                                                               staffing for trial team
                                                               to defend
                                                               dischargeability
                                                               complaints (.3).
VLD        03/20/2023   B140     0.20   795.00        159.00 Emails with court
                                                             resetting lift stay
                                                             motion; call with J.
                                                             Hardy on status of
                                                             resolution.
VLD        03/20/2023   B110     1.80   795.00       1431.00 Review and analyze
                                                             trust agreements and
                                                             analysis for SOFA
                                                             and Schedules
                                                             amendments (1.1);
                                                             revising affidavit for
                                                             helicopter access and
                                                             emails with T. Steiner
                                                             re same (.2); discuss
                                                             MOR and completion
                                                             difficulties with
                                                             schedules still in flux
                                                             (.3); emails with UST
                                                             on seeking extension
                                                             to file Feb MOR until
                                                             March 30 (.2).
VLD        03/20/2023   B190     2.40   795.00       1908.00 Review and analyze
                                                             new entities and trusts
                                                             listed in second UCC
                                                             2004 request (1.3);
                                                             initial notes of
                                                             objections to
                                                             definitions (.9).
                                                             emails and calls with
                                                             FSS counsel on
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               MWM issues (.4);
                                                               review and analyze
                                                               bank statements and
                                                               invoices (.3).
VLD        03/20/2023   B210     0.70   795.00        556.50 Emails and calls with
                                                             FSS counsel on
                                                             MWM issues (.4);
                                                             review and analyze
                                                             bank statements and
                                                             invoices (.3).
VLD        03/20/2023   B140     0.30   795.00        238.50 Call with J. Hardy on
                                                             lift stay negotiations.
EEW        03/20/2023   B110     7.70   295.00       2271.50 Multiple revisions to
                                                             amended schedules
                                                             and statement of
                                                             financial affairs
                                                             including review of
                                                             new entities and trusts
                                                             listed in second UCC
                                                             2004 request review
                                                             of appraisal (6.6);
                                                             review and respond to
                                                             related
                                                             correspondence (1.1).
CWS        03/20/2023   B190     0.20   715.00        143.00 Review and respond
                                                             to inquiry regarding
                                                             discovery issues.
CWS        03/20/2023   B190     0.60   715.00        429.00 Review and analyze
                                                             UCC correspondence
                                                             regarding production
                                                             redaction.
CGM        03/21/2023   B190     1.00   255.00        255.00 Finalize trust
                                                             summary.
AMF        03/21/2023   B210     4.60   305.00       1403.00 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             Infowars: Ep. 2023
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Mar - 20 Monday
                                                               (4.0); summarize
                                                               statements made
                                                               related to case (.6).
JMS        03/21/2023   B190     1.50   265.00        397.50 Review the JLJR
                                                             Holdings LLC
                                                             documents (.5);
                                                             update case chart (.2);
                                                             review email
                                                             correspondence
                                                             regarding document
                                                             additional document
                                                             production (.2);
                                                             update trust and
                                                             company summary
                                                             chart (.6).
CCO        03/21/2023   B190     1.50   525.00        787.50 Update trust summary
                                                             (.5); conference call
                                                             regarding same (.4);
                                                             select Texas counsel
                                                             in Austin, Texas (.6).
CCC        03/21/2023   B110     0.20   345.00         69.00 Review and analyze
                                                             documents supporting
                                                             amended schedules
                                                             and statements.
LGD        03/21/2023   B110     0.10   185.00         18.50 Prepare client
                                                             discovery for attorney
                                                             production review.
VLD        03/21/2023   B120     0.80   795.00        636.00 Conference with
                                                             Trust lawyers on
                                                             interpreting various
                                                             trust agreements.
VLD        03/21/2023   B120     1.40   795.00       1113.00 Call with P. Magill,
                                                             R. Battaglia, H.
                                                             Schleizer and Kessler
                                                             on issues with sorting
                                                             out MWM money,
                                                             seeking terms for deal
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               to divide up funding
                                                               (.8); emails with R.
                                                               Battaglia on MWM
                                                               (.3); emails with M.
                                                               Haselden and her
                                                               counsel on MWM
                                                               (.2); seeking deal with
                                                               P. Magill for splitting
                                                               revenue (.1).
VLD        03/21/2023   B190     0.70 795.00          556.50 Emails with UCC
                                                             counsel on lack of
                                                             documents to respond
                                                             to 2004 request due to
                                                             nonexistence of
                                                             documents (.4);
                                                             analyze complaints
                                                             by UCC counsel on
                                                             redactions and
                                                             propose solution (.3).
VLD        03/21/2023   B210     0.50   795.00        397.50 Email UCC on
                                                             strategy for
                                                             eliminating storage
                                                             facilities to reduce
                                                             AEJ monthly budget
                                                             and dispose of
                                                             contents in efficient
                                                             manner.
VLD        03/21/2023   B110     3.60   795.00       2862.00 Searching for entities
                                                             and information on
                                                             same (2.3); working
                                                             to obtain W-2s for
                                                             schedules and SOFA
                                                             (1.1); emails to email
                                                             address seeking
                                                             clarification on
                                                             domain names sent
                                                             earlier (.2).
EEW        03/21/2023   B110     6.70   295.00       1976.50 Work on amended
                                                             schedules and
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               statement of financial
                                                               affairs with
                                                               BlackBriar Advisors
                                                               including review of
                                                               updated income and
                                                               employment
                                                               information, along
                                                               with updated
                                                               information for
                                                               Schedule A/B.
DJM        03/21/2023   B190     6.50   310.00       2015.00 Review and analyze
                                                             adversary complaints
                                                             and exhibits attached
                                                             thereto.
MAC        03/22/2023   B110     0.50   560.00        280.00 Conference regarding
                                                             potential client needs
                                                             for 341 Meeting.
AMF        03/22/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             Infowars: Ep. 2023
                                                             Mar - 21 Tuesday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.1).
JMS        03/22/2023   B150     0.90   265.00        238.50 Review various
                                                             emails from the
                                                             committee regarding
                                                             unredacted document
                                                             production (.3);
                                                             determine approach
                                                             regarding
                                                             professionals' eyes
                                                             only designation (.3);
                                                             send email to the
                                                             committee regarding
                                                             the same (.3).
LGD        03/22/2023   B110     0.50   185.00         92.50 Prepare revised client
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               document production.
VLD        03/22/2023   B120     0.70   795.00        556.50 Correspondence with
                                                             R. Battaglia regarding
                                                             lack of response from
                                                             Magill and need to
                                                             finalize terms ASAP
                                                             (.4); emails with S.
                                                             Lemmon on
                                                             information needed
                                                             on PQPR for
                                                             schedules (.3).
EEW        03/22/2023   B110     4.60   295.00       1357.00 Work on amended
                                                             schedules and
                                                             statement of financial
                                                             affairs.
DJM        03/22/2023   B190     3.40   310.00       1054.00 Research and analyze
                                                             case law regarding
                                                             adversary proceeding
                                                             claims.
DJM        03/22/2023   B190     2.80   310.00        868.00 Review and analyze
                                                             adversary complaints
                                                             and exhibits attached
                                                             thereto.
CWS        03/22/2023   B190     1.20   715.00        858.00 Review and analyze
                                                             discovery
                                                             correspondence.
JMS        03/23/2023   B190     1.80   265.00        477.00 Draft discovery
                                                             requests.
CCO        03/23/2023   B190     0.60   525.00        315.00 Look for new Austin
                                                             counsel (.2); secure
                                                             counsel (.2); provide
                                                             background (.2).
CCC        03/23/2023   B190     0.20   345.00         69.00 Analyze issues
                                                             regarding discovery.
CCC        03/23/2023   B210     0.20   345.00         69.00 Draft Motion to Seal
                                                             Debtor's amended
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               statements and
                                                               schedules.
VLD        03/23/2023   B190     0.80   795.00        636.00 Analyze redactions to
                                                             confirm if they can
                                                             and should be
                                                             removed.
VLD        03/23/2023   B210     2.10   795.00       1669.50 Multiple calls and
                                                             emails seeking
                                                             information from FSS
                                                             on MWM terms of
                                                             deal.
EEW        03/23/2023   B110     6.70   295.00       1976.50 Work on schedules
                                                             and statement of
                                                             financial affairs with
                                                             BlackBriar Advisors.
CWS        03/23/2023   B160     2.20   715.00       1573.00 Review February
                                                             Prebill.
AMF        03/24/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             Infowars: Ep. 2023
                                                             Mar - 22 Wednesday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.1).
JMS        03/24/2023   B190     2.30   265.00        609.50 Draft discovery
                                                             requests.
CCO        03/24/2023   B120     0.30   525.00        157.50 Correspondence
                                                             regarding conference
                                                             with Trustees.
EEW        03/24/2023   B110     5.30   295.00       1563.50 Work on amended
                                                             schedules and
                                                             statement of financial
                                                             affairs.
CWS        03/24/2023   B160     2.20   715.00       1573.00 Review and revise
                                                             billing statement.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
AMF        03/25/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             Infowars: Ep. 2023
                                                             Mar - 23 Thursday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.1).
AMF        03/26/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             Infowars: Ep. 2023
                                                             Mar - 24 Friday (4.0);
                                                             summarize statements
                                                             made related to case
                                                             (.1).
AMF        03/27/2023   B195     1.80   305.00        549.00 Non-working travel
                                                             (billed at half time
                                                             3.6)
AMF        03/27/2023   B190     0.20   305.00         61.00 Discuss production
                                                             plan to respond to
                                                             2004 requests.
JMS        03/27/2023   B190     0.40   265.00        106.00 Review summary
                                                             chart of documents
                                                             uploaded into
                                                             Everlaw for review
                                                             and redactions (.2);
                                                             analyze production
                                                             issues (.2).
AMF        03/27/2023   B210     1.50   305.00        457.50 Attend Hearing on
                                                             Motion to Revoke the
                                                             Debtor's Subchapter
                                                             V Election.
AMF        03/27/2023   B210     0.60   305.00        183.00 Conference with
                                                             client regarding
                                                             Hearing on Motion to
                                                             Revoke the Debtor's
                                                             Subchapter V
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Election with AJ.
RJY        03/27/2023   B190     0.60   340.00        204.00 Read complaint in
                                                             adversary action.
RJY        03/27/2023   B190     0.30   340.00        102.00 Review complaint
                                                             and special request
                                                             for expedited
                                                             summary judgment
                                                             scheduling.
RJY        03/27/2023   B190     1.80   340.00        612.00 Formulate strategy to
                                                             deal with adversary
                                                             proceeding on
                                                             dischargeability.
AMF        03/27/2023   B210     4.20   305.00       1281.00 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             Infowars: Ep. 2023
                                                             Mar - 27 Monday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.2).
AMF        03/27/2023   B210     2.10   305.00        640.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             Infowars: Ep. 2023
                                                             Mar - 26 Sunday
                                                             (2.0); summarize
                                                             statements made
                                                             related to case (.1).
JCD        03/27/2023   B190     2.00   475.00        950.00 Reviewing the two
                                                             adversary proceeding
                                                             non-dischargeable
                                                             lawsuits (.4);
                                                             reviewing the
                                                             Emergency Motions
                                                             filed by the
                                                             Connecticut and
                                                             Texas plaintiffs (.8);
                                                             preparing for
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               response to all and for
                                                               hearing on Tuesday
                                                               April 4 (.8).
CCC        03/27/2023   B110     2.10   345.00        724.50 Review and analyze
                                                             supporting documents
                                                             for Debtor's amended
                                                             statements and
                                                             schedules.
CCC        03/27/2023   B190     0.20   345.00         69.00 Review adversary
                                                             complaints filed by
                                                             Sandy Hook Plaintiffs
                                                             and calculate answer
                                                             deadlines.
CCC        03/27/2023   B190     0.40 345.00          138.00 Develop strategy in
                                                             responding to
                                                             adversary
                                                             proceedings filed by
                                                             Sandy Hook
                                                             Plaintiffs.
EEW        03/27/2023   B110     7.60   295.00       2242.00 Work on schedules
                                                             and statement of
                                                             financial affairs with
                                                             BlackBriar Advisors.
LGD        03/27/2023   B110     0.20   185.00         37.00 Conference call with
                                                             review team.
DJM        03/27/2023   B190     0.90   310.00        279.00 Review and analyze
                                                             default judgment
                                                             order from Texas
                                                             state court
                                                             proceeding.
DJM        03/27/2023   B190     0.90   310.00        279.00 Review and analyze
                                                             default judgment
                                                             order from
                                                             Connecticut state
                                                             court proceeding.
DJM        03/27/2023   B190     0.90   310.00        279.00 Review emergency
                                                             scheduling motion in
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Connecticut
                                                               adversary case.
DJM        03/27/2023   B190     0.90   310.00        279.00 Review emergency
                                                             scheduling motion in
                                                             Texas adversary case.
DJM        03/27/2023   B190     0.30   310.00         93.00 Review emails sent
                                                             by adversary
                                                             plaintiffs regarding
                                                             emergency
                                                             scheduling motions.
DJM        03/27/2023   B190     1.50   310.00        465.00 Develop strategy for
                                                             adversary cases.
CWS        03/27/2023   B110     4.40   715.00       3146.00 Prepare for and attend
                                                             hearing on Motion to
                                                             revoke Sub V
                                                             designation in FSS
                                                             case (2.4); review and
                                                             respond to related
                                                             correspondence (.7);
                                                             conference with
                                                             financial advisors
                                                             regarding schedules
                                                             and statement of
                                                             financial affairs
                                                             matters (1.3).
RJY        03/28/2023   B190     2.20   340.00        748.00 Conduct legal
                                                             research on
                                                             dischargeability of
                                                             default judgment.
RJY        03/28/2023   B190     1.50   340.00        510.00 Continue to formulate
                                                             strategy on response
                                                             to scheduling order.
RJY        03/28/2023   B190     0.50   340.00        170.00 Conduct legal
                                                             research on
                                                             nondischargeability
                                                             of unliquidated debt.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
JMS        03/28/2023   B190     0.80   265.00        212.00 Create strategy for
                                                             rolling production
                                                             (.2); compare
                                                             produced documents
                                                             to drop box folder
                                                             (.3); summarize plan
                                                             for rolling production
                                                             into an email
                                                             memorandum (.3).
AMF        03/28/2023   B195     2.60   305.00        793.00 Non-working travel
                                                             (billed at half time
                                                             5.2)
AMF        03/28/2023   B110     4.50   305.00       1372.50 Prepare binder with
                                                             documents to support
                                                             schedules and sofa for
                                                             341 meeting.
AMF        03/28/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             Infowars: Ep. 2023
                                                             Mar - 28 Tuesday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.1).
WWB        03/28/2023   B110     0.60   265.00        159.00 Research Texas
                                                             Secretary of State
                                                             information regarding
                                                             4 additional entities
                                                             and draft related
                                                             correspondence.
JCD        03/28/2023   B190     2.00   475.00        950.00 Begin reviewing the
                                                             case file of materials
                                                             including pertinent
                                                             trial court materials
                                                             from the Texas and
                                                             Connecticut litigated
                                                             cases (Judgments and
                                                             rulings from the trial
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               courts) to begin to
                                                               work on possible
                                                               defenses to the
                                                               non-dischargeable
                                                               allegations of the
                                                               pending lawsuits.
LGD        03/28/2023   B110     0.20 185.00           37.00 Transfer and save
                                                             financial advisor
                                                             information.
CCC        03/28/2023   B110     7.40   345.00       2553.00 Review and analyze
                                                             supporting documents
                                                             for Debtor's amended
                                                             statements and
                                                             schedules.
CCC        03/28/2023   B190     0.30   345.00        103.50 Review and analyze
                                                             initial pleadings by
                                                             Plaintiffs (.2);
                                                             develop strategy for
                                                             opposing Plaintiff's
                                                             proposed scheduling
                                                             order (.1).
EEW        03/28/2023   B110     6.30   295.00       1858.50 Work on amended
                                                             schedules and
                                                             statement of financial
                                                             affairs with
                                                             BlackBriar Advisors
                                                             (4.0); review and
                                                             respond to multiple
                                                             related
                                                             correspondence (2.3).
DJM        03/28/2023   B190     3.30   310.00       1023.00 Research and analyze
                                                             case law regarding
                                                             adversary proceeding
                                                             claims.
DJM        03/28/2023   B190     0.60   310.00        186.00 Develop strategy for
                                                             adversary
                                                             proceedings.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
DJM        03/28/2023   B190     2.90   310.00        899.00 Review and analyze
                                                             cases cited in
                                                             adversary plaintiffs'
                                                             emergency
                                                             scheduling motions
                                                             and develop strategy
                                                             for response.
CWS        03/28/2023   B110     4.50   715.00       3217.50 Review and analyze
                                                             schedules and
                                                             statement of financial
                                                             affairs (4.2); draft
                                                             related
                                                             correspondence (.3).
CWS        03/28/2023   B160     2.90   715.00       2073.50 Review and revise
                                                             February pre-bill and
                                                             draft related
                                                             correspondence.
JMS        03/29/2023   B190     0.60   265.00        159.00 Review documents
                                                             related to lease
                                                             agreements and
                                                             condos.
AMF        03/29/2023   B195     3.00   305.00        915.00 Non-working travel
                                                             (billed at half time
                                                             6.1)
AMF        03/29/2023   B210     4.30   305.00       1311.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             Infowars: Ep. 2023
                                                             Mar - 29 Wednesday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.3).
AMF        03/29/2023   B110     1.40   305.00        427.00 Compare schedules to
                                                             JSG Investigative
                                                             Report.
CCC        03/29/2023   B110     1.90   345.00        655.50 Review and analyze
                                                             supporting documents
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               for Debtor's amended
                                                               statements and
                                                               schedules.
EEW        03/29/2023   B110     7.60   295.00       2242.00 Work on schedules
                                                             and statement of
                                                             financial affairs with
                                                             BlackBriar Advisors
                                                             (6.0): conference with
                                                             financial advisors
                                                             regarding same (1.6).
DJM        03/29/2023   B190     0.30   310.00         93.00 Organize Teams call
                                                             with adversary
                                                             plaintiffs and debtors'
                                                             counsel.
DJM        03/29/2023   B190     1.90   310.00        589.00 Research and analyze
                                                             case law regarding
                                                             adversary proceeding
                                                             claims.
CWS        03/29/2023   B110     8.30   715.00       5934.50 Review and revise
                                                             schedules and
                                                             statements of
                                                             financial affairs (5.4);
                                                             review and revise
                                                             Motion to Seal and
                                                             proposed order
                                                             granting same (1.8);
                                                             conference with
                                                             financial
                                                             professionals
                                                             regarding changes to
                                                             schedules (1.1).
RJY        03/30/2023   B190     0.20   340.00         68.00 Coordinate
                                                             conference call with
                                                             trial counsel.
RJY        03/30/2023   B190     0.80   340.00        272.00 Formulate strategy
                                                             and review Texas
                                                             litigation
                                                             proceedings.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
RJY        03/30/2023   B190     1.00   340.00        340.00 Read and analyze
                                                             arguments for
                                                             extending briefing
                                                             schedule.
AMF        03/30/2023   B195     3.30   305.00       1006.50 Non-working travel
                                                             (billed at half time
                                                             3.3)
AMF        03/30/2023   B150     1.90   305.00        579.50 Prepare client for 341
                                                             meeting (1.2); attend
                                                             341 meeting (.7).
AMF        03/30/2023   B210     0.40   305.00        122.00 Discuss potential
                                                             changes to ESG and
                                                             FSS employment
                                                             contract with client.
AMF        03/30/2023   B110     1.50   305.00        457.50 Confirm and revise
                                                             schedules and SOFA.
CCC        03/30/2023   B110     0.20   345.00         69.00 Draft Motion to Seal
                                                             unredacted schedules
                                                             and statements.
EEW        03/30/2023   B110     5.30   295.00       1563.50 Revise, finalize and
                                                             file amended
                                                             schedules and
                                                             statement of financial
                                                             affairs with
                                                             attachments.
EEW        03/30/2023   B110     0.70   295.00        206.50 Attend telephonic
                                                             creditors meeting.
EEW        03/30/2023   B160     2.00   295.00        590.00 Revise, file and serve
                                                             third monthly fee
                                                             application for Crowe
                                                             & Dunlevy.
DJM        03/30/2023   B190     1.10   310.00        341.00 Review and analyze
                                                             filings from Texas
                                                             state court
                                                             proceedings.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
CWS        03/30/2023   B110     4.30   715.00       3074.50 Review and revise
                                                             schedules and
                                                             statement of financial
                                                             affairs, exhibits and
                                                             notes, and draft and
                                                             review related
                                                             correspondence.
CWS        03/30/2023   B150     1.60   715.00       1144.00 Prepare for and attend
                                                             Continued Creditors
                                                             Meeting.
CWS        03/30/2023   B160     1.50   715.00       1072.50 Review and revise
                                                             Third Monthly fee
                                                             statement (.8); review
                                                             and revise bill (.7).
EEW        03/30/2023   B110     1.00   295.00        295.00 Revise, finalize and
                                                             file motion for entry
                                                             of order authorizing
                                                             debtor to file
                                                             schedules and
                                                             statement under seal
                                                             (.6); review exhibit A
                                                             received from
                                                             Blackbriar Advisors
                                                             (.2); email
                                                             correspondence to
                                                             case administrator
                                                             regarding the filing
                                                             and attaching Word
                                                             version of the order
                                                             (.2).
AMF        03/31/2023   B210     4.20   305.00       1281.00 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             Infowars: Ep. 2023
                                                             Mar - 30 Thursday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.2).
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
RJY        03/31/2023   B190     1.20   340.00        408.00 Attend meeting to
                                                             review trial court
                                                             proceedings.
RJY        03/31/2023   B190     2.40   340.00        816.00 Formulate strategy
                                                             for response to
                                                             expedited hearing
                                                             schedule and prepare
                                                             for meet and confer.
RJY        03/31/2023   B190     0.70   340.00        238.00 Attend meeting and
                                                             conference with
                                                             opposing counsel to
                                                             discuss hearing
                                                             schedule and
                                                             potential alternatives.
JCD        03/31/2023   B190     1.00   475.00        475.00 Call with Shelby
                                                             Jordan to learn more
                                                             about the procedural
                                                             history of the
                                                             Connecticut and
                                                             Texas litigation as
                                                             well as status of the
                                                             appeals, all to prepare
                                                             to address the Court
                                                             about the Plaintiffs
                                                             Emergency motion at
                                                             the hearing on April
                                                             4, 2023.
JCD        03/31/2023   B190     2.00 475.00          950.00 Reviewing the current
                                                             bankruptcy pleadings
                                                             in preparation for
                                                             scheduling order
                                                             hearing and call to
                                                             resolve.
JCD        03/31/2023   B190     0.50   475.00        237.50 Call with all
                                                             non-dischargeable
                                                             action counsel to
                                                             discuss the hearing on
                                                             April 4, 2023 and to
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               come to agreement
                                                               about possible
                                                               stipulated scheduling
                                                               order.
AMF        03/31/2023   B150     1.10   305.00        335.50 Conference call to
                                                             discuss Mountain
                                                             Way disclosure.
CCC        03/31/2023   B190     2.60   345.00        897.00 Review and analyze
                                                             initial pleadings by
                                                             Plaintiffs (1.3);
                                                             develop strategy for
                                                             opposing Plaintiff's
                                                             proposed scheduling
                                                             order (1.3).
CCC        03/31/2023   B190     0.70   345.00        241.50 Phone conference
                                                             with counsel for
                                                             Plaintiffs regarding
                                                             Plaintiff's emergency
                                                             motion for scheduling
                                                             order.
EEW        03/31/2023   B110     1.70 295.00          501.50 Begin revising
                                                             amended schedules
                                                             and statements for
                                                             continued 341
                                                             meeting (1.6); docket
                                                             continued meeting
                                                             (.1).
EEW        03/31/2023   B160     2.00   295.00        590.00 Revise, file and serve
                                                             third monthly fee
                                                             statement for
                                                             BlackBriar Advisors.
EEW        03/31/2023   B110     1.30   295.00        383.50 Electronic case file
                                                             management of AJ
                                                             filings and FSS
                                                             filings.
DJM        03/31/2023   B190     2.30   310.00        713.00 Develop strategy for
                                                             adversary cases with
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Shelby Jordan, Chris
                                                               Davis, and Randall J.
                                                               Yates regarding
                                                               adversary claims and
                                                               research regarding
                                                               same.
DJM        03/31/2023   B190     0.60   310.00        186.00 Conference with
                                                             opposing counsel for
                                                             Texas and
                                                             Connecticut plaintiffs
                                                             regarding scheduling
                                                             in adversary
                                                             proceedings.
DJM        03/31/2023   B190     1.50   310.00        465.00 Develop strategy for
                                                             call with opposing
                                                             counsel with Chris
                                                             Davis, Randall J.
                                                             Yates, and Caylin C.
                                                             Craig.
DJM        03/31/2023   B190     0.60   310.00        186.00 Develop strategy for
                                                             alternative schedule
                                                             after call with
                                                             opposing counsels.
DJM        03/31/2023   B190     1.10 310.00          341.00 Draft alternative MSJ
                                                             briefing schedule and
                                                             accompanying email
                                                             to circulate to
                                                             adversary plaintiffs.
CWS        03/31/2023   B110     0.80   715.00        572.00 Review Order
                                                             denying Motion to
                                                             Revoke Subchapter V
                                                             Election.
CWS        03/31/2023   B190     1.20   715.00        858.00 Review and analyze
                                                             correspondence
                                                             regarding
                                                             dischargeability
                                                             proposed scheduling
                                                             order and related
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               issues.
AMF        04/02/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             Mar 31 Friday (4.0);
                                                             summarize statements
                                                             made related to case
                                                             (.1).
AMF        04/02/2023   B150     0.40   305.00        122.00 Draft correspondence
                                                             regarding Mountain
                                                             Way disclosure.
AMF        04/03/2023   B210     2.10   305.00        640.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             April 2 Sunday (2.0);
                                                             summarize statements
                                                             made related to case
                                                             (.1).
AMF        04/03/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             April 3 Monday (4.0);
                                                             summarize statements
                                                             made related to case
                                                             (.1).
RJY        04/03/2023   B190     1.70   340.00        578.00 Conduct legal
                                                             research on collateral
                                                             estoppel in
                                                             bankruptcy court.
TBS        04/03/2023   B185     0.10   400.00         40.00 Conference regarding
                                                             Professional Services
                                                             Agreement between
                                                             Jones and Free
                                                             Speech Services LLC.
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Attorney      Date      Task   Hours    Rate     Bill Amount     Description of
                                                               Services Rendered
JCD        04/03/2023   B190     2.30   475.00       1092.50 Reviewing judgments
                                                             and post trial filings
                                                             from the Connecticut
                                                             and Texas state court
                                                             judgments to further
                                                             prepare to address and
                                                             defend against the
                                                             non-dischargeable
                                                             claims.
EEW        04/03/2023   B110     3.80   295.00       1121.00 Work on revisions to
                                                             second amended
                                                             schedules and
                                                             statements (3.5);
                                                             prepare email
                                                             correspondence to
                                                             team with list of
                                                             update/changes and
                                                             items outstanding
                                                             (.3).
EEW        04/03/2023   B110     0.20 295.00           59.00 Procure ESG
                                                             contracts and
                                                             circulate to team for
                                                             review.
CCC        04/03/2023   B190     0.40 290.00          116.00 Develop initial
                                                             strategy for response
                                                             to adversary
                                                             proceeding
                                                             complaints.
DJM        04/03/2023   B190     1.20   310.00        372.00 Communicate with
                                                             opposing counsel to
                                                             finalize scheduling
                                                             order in adversary
                                                             cases.
DJM        04/03/2023   B190     1.10   310.00        341.00 Develop strategy
                                                             regarding scheduling
                                                             order deadlines in
                                                             adversary cases.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
DJM        04/03/2023   B190     1.40   310.00        434.00 Prepare for hearing on
                                                             plaintiffs' motions for
                                                             emergency
                                                             scheduling orders in
                                                             adversary cases.
DJM        04/03/2023   B190     1.90   310.00        589.00 Communicate with
                                                             opposing counsel
                                                             regarding hearing on
                                                             emergency motion.
VLD        04/03/2023   B195     1.50   795.00       1192.50 Travel to Austin,
                                                             Texas for 341 and
                                                             prep (billed at half
                                                             time) 3.0.
VLD        04/03/2023   B110     1.70   795.00       1351.50 Analyze information
                                                             for wire clarification
                                                             in SOFA (.8); analyze
                                                             prenup wording and
                                                             transfer schedule (.7);
                                                             emails with UST
                                                             office on MOR timing
                                                             (.2).
VLD        04/03/2023   B190     2.40   795.00       1908.00 Seeking documents
                                                             for 2004 request from
                                                             parties (1.1); analyze
                                                             issues related to
                                                             document gathering
                                                             from third parties
                                                             (1.3).
VLD        04/03/2023   B210     1.10   795.00        874.50 Review existing
                                                             Platinum contracts
                                                             and analyze changes
                                                             needed to execute
                                                             between Alex Jones
                                                             and FSS.
AMF        04/04/2023   B195     2.50   305.00        762.50 Non-working travel
                                                             (billed at half time
                                                             5.0).
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Attorney      Date      Task   Hours    Rate     Bill Amount     Description of
                                                               Services Rendered
RJY        04/04/2023   B190     0.50   340.00        170.00 Debrief hearing and
                                                             formulate briefing
                                                             plan.
AMF        04/04/2023   B150     1.40   305.00        427.00 Attend 341 meeting
                                                             with client.
AMF        04/04/2023   B195     1.80   305.00        549.00 Non-working travel
                                                             (billed at half time
                                                             3.6).
TBS        04/04/2023   B210     1.00   400.00        400.00 Draft, review and
                                                             revise Professional
                                                             Services Agreement
                                                             Platinum Agreement
                                                             between Free Speech
                                                             Systems and Alex E.
                                                             Jones (.8); draft
                                                             correspondence
                                                             regarding smae (.2).
TBS        04/04/2023   B210     1.00   400.00        400.00 Review Professional
                                                             Services
                                                             Agreement-Infowars
                                                             Platinum Dietary
                                                             Supplement Product
                                                             Line, Professional
                                                             Services Agreement
                                                             IW-Platinum
                                                             Supplement Affiliate
                                                             Program and
                                                             Celebrity
                                                             Endorsement and
                                                             Likeness Use
                                                             Agreement.
JCD        04/04/2023   B190     4.40   475.00       2090.00 Review of court
                                                             filings from the
                                                             Connecticut court
                                                             action.
CCC        04/04/2023   B190     0.30 290.00           87.00 Attend hearing on
                                                             Plaintiffs' scheduling
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               motion.
SRS        04/04/2023   B190     0.10   225.00         22.50 Emails regarding
                                                             searches to be run for
                                                             Alex Jones and Free
                                                             Speech Systems LLC.
SRS        04/04/2023   B190     0.20   225.00         45.00 Conference regarding
                                                             searching and emails
                                                             regarding same.
CCC        04/04/2023   B190     2.20   290.00        638.00 Legal research in
                                                             support of position on
                                                             dischargeability issue
                                                             in anticipation of
                                                             Plaintiffs' motion for
                                                             summary judgment.
EEW        04/04/2023   B110     0.40 295.00          118.00 Download and
                                                             circulate file-stamped
                                                             copies of Second
                                                             Amended Schedules
                                                             and SOFA to Crowe
                                                             & Dunlevy team and
                                                             BlackBriar Advisors
                                                             team.
EEW        04/04/2023   B110     0.80   295.00        236.00 Electronic case file
                                                             management of
                                                             additional trust files
                                                             and tax documents.
DJM        04/04/2023   B190     1.90   310.00        589.00 Prepare for hearing on
                                                             plaintiffs' motions for
                                                             emergency
                                                             scheduling order.
DJM        04/04/2023   B190     0.40 310.00          124.00 Attend hearing on
                                                             plaintiffs' motions for
                                                             emergency
                                                             scheduling order.
DJM        04/04/2023   B190     0.70   310.00        217.00 Develop strategy for
                                                             plaintiffs' motions for
                                                             summary judgment
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               and allocate tasks to
                                                               adversary team.
AMF        04/04/2023   B190     0.30   305.00         91.50 Draft correspondence
                                                             regarding litigation
                                                             search for
                                                             case-related parties.
AMF        04/04/2023   B190     1.80   305.00        549.00 Review and
                                                             categorize all
                                                             documents collected
                                                             thus far.
AMF        04/04/2023   B210     0.70   305.00        213.50 Discuss potential
                                                             changes to ESG and
                                                             FSS employment
                                                             contract with client.
CWS        04/04/2023   B110     1.20   715.00        858.00 Attend continued
                                                             creditors' meeting
                                                             (0.9); review and
                                                             respond to related
                                                             correspondence (.3).
CWS        04/04/2023   B190     2.50   715.00       1787.50 Calls and
                                                             correspondence
                                                             regarding scheduling
                                                             order for limited
                                                             summary judgment
                                                             (1.2); attend hearing
                                                             regarding same (.5);
                                                             draft correspondence
                                                             regarding research
                                                             and analysis (.8).
JMS        04/04/2023   B190     0.10   265.00         26.50 Correspondence with
                                                             Federico Reynal
                                                             regarding text
                                                             message copies.
JMS        04/04/2023   B190     0.20   265.00         53.00 Strategy regarding
                                                             document production.
LGB        04/04/2023   B190     2.80   180.00        504.00 Litigation searches
                                                             regarding Alex E.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Jones and Free
                                                               Speech Systems LLC.
VLD        04/04/2023   B110     3.40   795.00       2703.00 Preparation for 341
                                                             (1.4); hold 341
                                                             meeting (1.8); email
                                                             to E. Wulff counsel
                                                             on prenup disclosure
                                                             (.2).
VLD        04/04/2023   B110     3.40   795.00       2703.00 Review and analyze
                                                             SubV Trustee report
                                                             (2.1); calls and
                                                             meetings with client
                                                             on same (1.4).
VLD        04/04/2023   B190     1.20   795.00        954.00 Prepare for hearing on
                                                             emergency
                                                             scheduling motion
                                                             (.3); review emails on
                                                             resolution to
                                                             scheduling motion
                                                             (.6); attend hearing on
                                                             scheduling motion
                                                             (.3).
VLD        04/04/2023   B210     1.50   795.00       1192.50 Drafting Platinum
                                                             contract (1.2); review
                                                             comments and
                                                             finalize draft (.3).
VLD        04/04/2023   B210     2.40   795.00       1908.00 Continue drafting
                                                             employment
                                                             agreement (1.1);
                                                             meeting with client
                                                             and BB to discuss
                                                             Employment terms
                                                             and FSS plan (1.3).
VLD        04/04/2023   B190     0.40   795.00        318.00 Review AEJ phone
                                                             for signal app
                                                             messages.
JMS        04/05/2023   B190     0.60 265.00          159.00 Begin reviewing
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               documents to be
                                                               produced in final
                                                               stages of rolling
                                                               production for
                                                               designation as
                                                               professional's eye's
                                                               only.
AMF        04/05/2023   B210     4.20   305.00       1281.00 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             April 5 Wednesday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.2).
TBS        04/05/2023   B210     0.50   400.00        200.00 Review Free Speech
                                                             Systems, LLC
                                                             Employment
                                                             Agreement in
                                                             anticipation of
                                                             drafting new
                                                             agreement for client.
JCD        04/05/2023   B190     2.50   475.00       1187.50 Review 5th Circuit
                                                             cases involving
                                                             questions of
                                                             dischargeability.
EEW        04/05/2023   B110     1.20   295.00        354.00 Review and work on
                                                             updates to Schedule
                                                             C.
EEW        04/05/2023   B110     0.50 295.00          147.50 Review
                                                             dallaseservice inbox
                                                             and circulate to team
                                                             notice of appeal filed
                                                             in the Heslin v. Jones
                                                             state court matter.
CCC        04/05/2023   B190     0.80   290.00        232.00 Develop strategy for
                                                             response to
                                                             anticipated motion for
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               summary judgment
                                                               by Plaintiffs in
                                                               adversary
                                                               proceedings.
DJM        04/05/2023   B190     0.70   310.00        217.00 Develop strategy for
                                                             summary judgment
                                                             briefing.
DJM        04/05/2023   B190     4.60   310.00       1426.00 Review and analyze
                                                             cases and bankruptcy
                                                             treatises interpreting
                                                             523(a)(6).
AMF        04/05/2023   B190     0.40   305.00        122.00 Review federal and
                                                             state search results for
                                                             new any
                                                             current/pending
                                                             litigation.
VLD        04/05/2023   B195     1.90   795.00       1510.50 Travel to Dallas from
                                                             Austin (billed at half
                                                             time 3.8).
VLD        04/05/2023   B120     4.50   795.00       3577.50 Numerous emails and
                                                             calls discussing and
                                                             understanding crypto
                                                             wallet disconnection
                                                             from FSS site with
                                                             FSS (1.1); analyzing
                                                             impact of crypto link
                                                             taken inactive in cash
                                                             flow and related
                                                             issues (1.3);
                                                             negotiations to
                                                             resume crypto wallet
                                                             for donations (1.3) ;
                                                             emails with SubV
                                                             Trustee and counsel
                                                             regarding crypto
                                                             issues (.8).
VLD        04/05/2023   B210     4.00   795.00       3180.00 Draft Employment
                                                             Agreement (1.3);
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               discuss resolving
                                                               Platinum and crypto
                                                               in separate contracts
                                                               (.4); analyze
                                                               operational issues
                                                               with FSS and
                                                               communication issues
                                                               (.9); calls to discuss
                                                               operational meetings
                                                               with Blackbriar,
                                                               client, and FSS (1.4).
AMF        04/06/2023   B210     4.20   305.00       1281.00 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             April 4 Tuesday (4.0);
                                                             summarize statements
                                                             made related to case
                                                             (.2).
JCD        04/06/2023   B190     1.80   475.00        855.00 Review and analyze
                                                             dischargeability
                                                             issues.
JCD        04/06/2023   B190     1.20 475.00          570.00 Reviewing the current
                                                             bankruptcy filings
                                                             and the two
                                                             non-dischargeable
                                                             lawsuits by Texas and
                                                             Connecticut plaintiffs
                                                             to begin working on
                                                             defense to the
                                                             adversary lawsuits.
RJY        04/06/2023   B190     2.50   340.00        850.00 Conduct legal
                                                             research on
                                                             actually-litigated
                                                             prong of collateral
                                                             estoppel analysis.
CCC        04/06/2023   B190     1.40   290.00        406.00 Review and analyze
                                                             filings in underlying
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               state court lawsuits as
                                                               they apply to
                                                               Plaintiffs'
                                                               dischargeability
                                                               exception claims.
DJM        04/06/2023   B190     0.90   310.00        279.00 Develop strategy for
                                                             MSJ briefing.
DJM        04/06/2023   B190     0.70   310.00        217.00 Review and revise
                                                             proposed joint
                                                             stipulation drafted by
                                                             adversary plaintiffs.
DJM        04/06/2023   B190     0.90   310.00        279.00 Correspond with
                                                             plaintiffs' counsel
                                                             concerning the
                                                             language in the joint
                                                             stipulation on MSJ
                                                             scheduling.
VLD        04/06/2023   B110     0.70   795.00        556.50 Review and comment
                                                             to scheduling order
                                                             form dischargeability
                                                             trial.
VLD        04/06/2023   B190     2.90   795.00       2305.50 Review email and
                                                             letter from UCC on
                                                             trip and allegations
                                                             from email (.4); send
                                                             email to BlackBriar
                                                             seeking review with
                                                             client for validity (.2);
                                                             call regarding same
                                                             (.3); emails with UCC
                                                             to report dispute of
                                                             allegations (.9); call
                                                             with client regarding
                                                             potential contract and
                                                             status of same (1.1)
VLD        04/06/2023   B210     3.20   795.00       2544.00 Call with client
                                                             discussing crypto
                                                             issues (.9); call with
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               FSS, SubV and
                                                               counsel seeking
                                                               clarity and resolution
                                                               of crypto and link
                                                               connectivity and
                                                               spoke of contents (.8);
                                                               discuss strategy
                                                               regarding same (.6);
                                                               discuss ongoing
                                                               communication and
                                                               meetings with FSS
                                                               (.9).
JCD        04/07/2023   B190     0.50   475.00        237.50 Call with potential
                                                             trial team member.
JMS        04/07/2023   B190     0.70   265.00        185.50 Conduct final review
                                                             of the third round of
                                                             document production
                                                             to the UCC (.4); draft
                                                             correspondence
                                                             regarding same (.3).
RJY        04/07/2023   B190     1.90   340.00        646.00 Review collateral
                                                             estoppel cases from
                                                             the bankruptcy court
                                                             issued by bankruptcy
                                                             judge.
AMF        04/07/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             April 5 Wednesday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.1).
LGD        04/07/2023   B110     0.30   185.00         55.50 Prepare supplemental
                                                             client document
                                                             production.
CWS        04/07/2023   B190     1.20   715.00        858.00 Review proposed
                                                             dischargeability
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               schedule stipulation
                                                               and draft related
                                                               correspondence.
VLD        04/07/2023   B190     2.50   795.00       1987.50 Call with UCC
                                                             regarding contract
                                                             issues.
AMF        04/08/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             April 6 Thursday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.1).
AMF        04/09/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             April 7 Friday (4.0);
                                                             summarize statements
                                                             made related to case
                                                             (.1).
AMF        04/09/2023   B210     2.10   305.00        640.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             April 9 Sunday (2.0);
                                                             summarize statements
                                                             made related to case
                                                             (.1).
JMS        04/10/2023   B190     0.10   265.00         26.50 Correspondence with
                                                             Federico Reynal
                                                             regarding unredacted
                                                             text messages.
RJY        04/10/2023   B190     1.50   340.00        510.00 Conduct legal
                                                             research on collateral
                                                             estoppel.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
JCD        04/10/2023   B190     2.00   475.00        950.00 Review analyze
                                                             nondischargeability
                                                             cases.
JMS        04/10/2023   B190     3.80   265.00       1007.00 Review unredacted
                                                             text message data set
                                                             and redact minor's
                                                             names and sensitive
                                                             spousal information
                                                             for re-production.
EEW        04/10/2023   B110     2.20   295.00        649.00 Review revisions to
                                                             second amended
                                                             schedules and SOFA
                                                             received from
                                                             BlackBriar Advisors
                                                             and incorporate same
                                                             (2.0); email
                                                             correspondence with
                                                             additional comments
                                                             for review (.2).
LGD        04/10/2023   B110     0.20   185.00         37.00 Access and download
                                                             non-redacted version
                                                             of client SMS
                                                             messages and prepare
                                                             for attorney review.
RJY        04/11/2023   B190     2.10   340.00        714.00 Conduct legal
                                                             research on
                                                             relationship of
                                                             discovery sanction to
                                                             issue for purposes of
                                                             collateral estoppel.
RJY        04/11/2023   B190     0.90   340.00        306.00 Conduct legal
                                                             research on state
                                                             estoppel law.
RJY        04/11/2023   B190     0.80   340.00        272.00 Conduct legal
                                                             research on standards
                                                             of proof for purposes
                                                             of collateral estoppel.
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Attorney      Date      Task   Hours    Rate     Bill Amount     Description of
                                                               Services Rendered
RJY        04/11/2023   B190     0.50   340.00        170.00 Conduct legal
                                                             research on varying
                                                             definitions of key
                                                             terms in both state
                                                             adjudications and
                                                             non-dischargeability
                                                             law.
JMS        04/11/2023   B190     4.10   265.00       1086.50 Complete review of
                                                             over 500 pages of the
                                                             unredacted text
                                                             messages and redact
                                                             any information
                                                             related to minor
                                                             children or sensitive
                                                             material.
JCD        04/11/2023   B190     2.00   475.00        950.00 Review transcripts
                                                             and exhibits from the
                                                             Alex Jones
                                                             depositions in the
                                                             Connecticut and
                                                             Texas cases.
CCC        04/11/2023   B320     1.00 290.00          290.00 Research regarding
                                                             plan issues.
CCC        04/11/2023   B180     0.30 290.00           87.00 Research regarding
                                                             bankruptcy treatment
                                                             of transfers made
                                                             pursuant to
                                                             pre-marital
                                                             agreement.
LGD        04/11/2023   B110     0.30   185.00         55.50 Prepare supplemental
                                                             client document
                                                             production.
DJM        04/11/2023   B190     1.40   310.00        434.00 Correspond with
                                                             opposing counsel
                                                             regarding language in
                                                             joint stipulation on
                                                             MSJ scheduling.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
CWS        04/11/2023   B190     1.30   715.00        929.50 Draft correspondence
                                                             regarding research
                                                             questions.
CWS        04/11/2023   B190     0.80   715.00        572.00 Review and respond
                                                             to correspondence
                                                             regarding scheduling
                                                             order.
CWS        04/11/2023   B185     1.80   715.00       1287.00 Review and analyze
                                                             executory contracts.
VLD        04/11/2023   B195     1.80   795.00       1431.00 Travel to Austin
                                                             (billed at half time
                                                             3.6).
VLD        04/11/2023   B210     0.50   795.00        397.50 Review fee statement
                                                             for SubV Trustee for
                                                             March 2023.
VLD        04/11/2023   B190     1.80   795.00       1431.00 Work on document
                                                             production issues.
JMS        04/12/2023   B190     0.20   265.00         53.00 Produce clean version
                                                             of the text messages
                                                             to the UCC.
RJY        04/12/2023   B190     2.20   340.00        748.00 Continue to work on
                                                             legal research related
                                                             to various legal
                                                             theories of estoppel.
AMF        04/12/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             April 10 Monday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.1).
JCD        04/12/2023   B190     3.50   475.00       1662.50 Review the pertinent
                                                             court filings and
                                                             briefs from the Heslin
                                                             v. Jones litigation.
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Attorney      Date      Task   Hours    Rate     Bill Amount     Description of
                                                               Services Rendered
JCD        04/12/2023   B190     3.50   475.00       1662.50 Review of pertinent
                                                             Court filings from the
                                                             Wheeler v. Jones
                                                             litigation.
EEW        04/12/2023   B110     4.20   295.00       1239.00 Work on second
                                                             amended schedules
                                                             with updates and
                                                             questions received
                                                             from BlackBriar
                                                             Advisors.
CCC        04/12/2023   B190     1.50   290.00        435.00 Review and analyze
                                                             state court pleadings
                                                             in underlying lawsuits
                                                             in support of drafting
                                                             responses to
                                                             Complaints.
AWC        04/12/2023   B210     0.20   440.00         88.00 Consult with Vickie
                                                             L. Driver regarding
                                                             review of and
                                                             revisions to
                                                             employment
                                                             agreement.
CWS        04/12/2023   B160     3.10 715.00         2216.50 Draft billing
                                                             correspondence (.9);
                                                             review and revise
                                                             prebill (2.2).
CWS        04/12/2023   B185     1.80   715.00       1287.00 Draft Motion to
                                                             Reject Contracts.
VLD        04/12/2023   B160     0.60   795.00        477.00 Emails with
                                                             co-counsel on Pattis's
                                                             application (.2);
                                                             emails regarding
                                                             retainer due to Reynal
                                                             firm and clarifying
                                                             same (.4).
VLD        04/12/2023   B185     0.20   795.00        159.00 Emails with
                                                             co-counsel on
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               rejection motion.
VLD        04/12/2023   B210     0.70   795.00        556.50 Call with R. Battaglia
                                                             on issues with
                                                             contract terms on
                                                             marketing deals
                                                             between FSS and AJ
                                                             (.4); draft affidavit for
                                                             ESG on relinquishing
                                                             claims to funds (.3).
RJY        04/13/2023   B190     0.40   340.00        136.00 Formulate strategy
                                                             for research and
                                                             briefing.
MAC        04/13/2023   B190     1.10   560.00        616.00 Conference regarding
                                                             523(a)(6) claims,
                                                             Supreme Court Case
                                                             and legal issues.
AMF        04/13/2023   B210     4.30   305.00       1311.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             April 11 Tuesday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.3).
JCD        04/13/2023   B190     2.50   475.00       1187.50 Review court filings
                                                             from the Heslin v.
                                                             Jones litigation.
JCD        04/13/2023   B190     2.50   475.00       1187.50 Review court filings
                                                             from the Wheeler v.
                                                             Jones litigation.
JCD        04/13/2023   B190     0.80 475.00          380.00 Review of the US
                                                             Supreme Court case
                                                             "Geiger"; on the issue
                                                             of willful and
                                                             malicious under 523.
JCD        04/13/2023   B190     3.00   475.00       1425.00 Reviewing the
                                                             volumes 1 and 2 of
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               the Alex Jones
                                                               deposition transcripts
                                                               from the Connecticut
                                                               case, plus exhibits in
                                                               preparation for
                                                               developing responses
                                                               to the two pending
                                                               non-dischargeabilty
                                                               lawsuits.
EEW        04/13/2023   B160     0.80   295.00        236.00 Review interim
                                                             compensation order
                                                             and respond to email
                                                             correspondence from
                                                             Andino Reynal and
                                                             Chris Martin (5);
                                                             review employment
                                                             applications and
                                                             orders for each to
                                                             determine effective
                                                             date of employment
                                                             (.3).
AWC        04/13/2023   B160     0.10   440.00         44.00 Correspondence
                                                             regarding
                                                             employment
                                                             agreement revisions.
DJM        04/13/2023   B190     0.40   310.00        124.00 Develop strategy re
                                                             MSJ briefing.
CWS        04/13/2023   B160     3.40   715.00       2431.00 Review and respond
                                                             to correspondence
                                                             regarding billing
                                                             matters (.6); review
                                                             and revise billing
                                                             statement (2.8).
VLD        04/13/2023   B195     1.30   795.00       1033.50 Travel to Dallas from
                                                             Austin (billed at
                                                             half-time) 2.6.
VLD        04/13/2023   B140     0.50   795.00        397.50 Review motion filed
                                                             in SAPCR case and
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               analyze application of
                                                               the stay.
VLD        04/13/2023   B210     6.50 795.00         5167.50 Emails with SubV
                                                             trustee on crypto
                                                             agreement (.8);
                                                             research site and
                                                             crypto link
                                                             functionality (.4);
                                                             emails with FSS on
                                                             platinum split upon
                                                             termination of ESG
                                                             contract (.3); meeting
                                                             with FSS CRO on
                                                             operational issues
                                                             (1.1); revise
                                                             employment
                                                             agreement per McGill
                                                             comments and send to
                                                             FSS counsel for
                                                             review (1.3); review
                                                             and revise platinum
                                                             agreement and send to
                                                             Sub V trustee and
                                                             FSS for review and
                                                             comment (1.4);
                                                             review comment and
                                                             revise platinum
                                                             agreement regarding
                                                             same (.4); preparation
                                                             for meeting with
                                                             McGill (.8).
AMF        04/14/2023   B210     4.30   305.00       1311.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             April 12 Wednesday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.3).
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
CGC        04/14/2023   B210     0.50   265.00        132.50 Conference regarding
                                                             employment
                                                             agreement.
EEW        04/14/2023   B190     4.30   295.00       1268.50 Draft pro hac vice
                                                             applications for Chris
                                                             Davis and Deric J.
                                                             McClellan in both
                                                             adversary
                                                             proceedings (1.0);
                                                             draft appearance
                                                             notices for Vickie L.
                                                             Driver, Crissie W.
                                                             Stephenson and
                                                             Caylin C. Craig in
                                                             both adversary
                                                             proceedings (2.6);
                                                             review stipulation and
                                                             agreed order
                                                             regarding schedule
                                                             for each case and
                                                             docket dates and
                                                             deadlines for same
                                                             (.7).
CCC        04/14/2023   B190     0.40   290.00        116.00 Correspondence with
                                                             Debtor's trial counsel
                                                             regarding obtaining
                                                             trial transcripts.
CCC        04/14/2023   B180     0.40 290.00          116.00 Research regarding
                                                             bankruptcy treatment
                                                             of transfers made
                                                             pursuant to
                                                             pre-marital
                                                             agreement.
AWC        04/14/2023   B160     0.60   440.00        264.00 Conference regarding
                                                             interim employment
                                                             agreement.
VLD        04/14/2023   B190     1.40 795.00         1113.00 Call with committee
                                                             to go through
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               outstanding items
                                                               regarding production,
                                                               potential contract
                                                               issue and Tate issue
                                                               and related matters.
VLD        04/14/2023   B140     0.50   795.00        397.50 Call with family law
                                                             office on application
                                                             in SAPCR case.
VLD        04/14/2023   B210     0.40   795.00        318.00 Conference regarding
                                                             employment
                                                             agreement.
AMF        04/15/2023   B210     4.20   305.00       1281.00 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             April 13 Thursday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.2).
VLD        04/15/2023   B190     0.30   795.00        238.50 Review and respond
                                                             to email from A.
                                                             Reynal (.2); authorize
                                                             use of numbers and
                                                             email for pro hac
                                                             applications (.1).
AMF        04/16/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             April 14 Friday (4.0);
                                                             summarize statements
                                                             made related to case
                                                             (.1).
AMF        04/16/2023   B210     2.40   305.00        732.00 Review and analyze
                                                             client's guest
                                                             appearance on
                                                             TimCast IRL (panel
                                                             discussion) 2023
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               April 14 Friday (2.2);
                                                               summarize statements
                                                               made related to case
                                                               (.2).
AMF        04/17/2023   B210     2.10   305.00        640.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             April 16 Sunday
                                                             (2.0); summarize
                                                             statements made
                                                             related to case (.1).
EEW        04/17/2023   B190     0.20   295.00         59.00 Communication with
                                                             Lisa Dauphin
                                                             regarding exporting
                                                             emails to .pst format
                                                             for production.
CCC        04/17/2023   B190     0.60 290.00          174.00 Exchange
                                                             correspondence with
                                                             debtor's trial counsel
                                                             regarding state court
                                                             trial transcripts (.3);
                                                             review and analyze
                                                             state court trial
                                                             transcripts in support
                                                             of drafting answer to
                                                             Plaintiffs' adversary
                                                             proceeding
                                                             complaints (.3).
EEW        04/17/2023   B190     0.20   295.00         59.00 Download pro hac
                                                             vice applications for
                                                             Chris Davis and Deric
                                                             J. McClellan and
                                                             circulate to trial team.
EEW        04/17/2023   B110     3.40   295.00       1003.00 Revise second
                                                             amended schedules
                                                             and SOFA with
                                                             updates and
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               comments received
                                                               from BlackBriar
                                                               Advisors.
DJM        04/17/2023   B190     0.30   310.00         93.00 Review docket from
                                                             Connecticut state
                                                             court cases.
VLD        04/17/2023   B160     1.00 795.00          795.00 Review UCC Akin
                                                             statement for January
                                                             (.5); analyze impact
                                                             of fees (.5).
VLD        04/17/2023   B190     0.80   795.00        636.00 Emails with mediator
                                                             (.4); work on
                                                             production of text
                                                             messages and emails
                                                             (.4).
VLD        04/17/2023   B140     0.60   795.00        477.00 Review draft order on
                                                             stay motion and
                                                             respond with global
                                                             comments seeking
                                                             call to discuss.
VLD        04/17/2023   B240     0.50   795.00        397.50 Review appraised
                                                             value statement and
                                                             analyze need for
                                                             professional to protest
                                                             tax values for real
                                                             property.
AMF        04/18/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             April 17 Monday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.1).
CGC        04/18/2023   B210     4.40   265.00       1166.00 Draft Alex Jones'
                                                             employment
                                                             agreement.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
JCD        04/18/2023   B190     1.00   475.00        475.00 Review pleadings
                                                             from the Connecticut
                                                             court litigation re:
                                                             developing issues for
                                                             defense of
                                                             non-dischargeability.
CCC        04/18/2023   B160     0.20   290.00         58.00 Develop strategy for
                                                             employment
                                                             application of Norm
                                                             Pattis.
CCC        04/18/2023   B190     0.30   290.00         87.00 Develop strategy for
                                                             responding to
                                                             Plaintiffs' adversary
                                                             complaints.
JCD        04/18/2023   B190     2.00   475.00        950.00 Review and study of
                                                             Shelby Jordan 122
                                                             page memo with
                                                             cases attached which
                                                             was prepared for our
                                                             trial team as a
                                                             summary of a
                                                             possible bases for our
                                                             defenses in the 2
                                                             non-dischargeability
                                                             lawsuits.
JCD        04/18/2023   B190     0.50   475.00        237.50 Review and study of
                                                             5th Circuit case
                                                             Milendon v.
                                                             Springfield; reversal
                                                             of Bankruptcy court
                                                             on issue preclusion.
JCD        04/18/2023   B190     2.50   475.00       1187.50 Continued review of
                                                             Connecticut trial
                                                             transcripts; culling for
                                                             information useful to
                                                             the defenses of the 2
                                                             non-dischargeabilty
                                                             lawsuits.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
EEW        04/18/2023   B110     7.20   295.00       2124.00 Revise, finalize and
                                                             file second amended
                                                             schedules and
                                                             statements including
                                                             revisions to global
                                                             notes.
LGD        04/18/2023   B110     1.10   185.00        203.50 Prepare supplemental
                                                             client document
                                                             production.
AMF        04/18/2023   B190     0.80   305.00        244.00 Review texts for
                                                             production.
CWS        04/18/2023   B160     0.40   715.00        286.00 Draft correspondence
                                                             regarding N. Pattis
                                                             employment
                                                             application.
CWS        04/18/2023   B185     4.00   715.00       2860.00 Draft and revise
                                                             Motion to Reject
                                                             Contracts (3.2); draft
                                                             related
                                                             correspondence (.8).
CWS        04/18/2023   B160     3.80   715.00       2717.00 Review and revise
                                                             March prebill.
CWS        04/18/2023   B190     0.80 715.00          572.00 Review
                                                             dischargeability
                                                             memorandum.
VLD        04/18/2023   B195     1.20   795.00        954.00 Travel from Austin to
                                                             Dallas. (billed at half
                                                             time) 2.4.
VLD        04/18/2023   B110     2.20   795.00       1749.00 Finalize second
                                                             amendment to
                                                             schedules and
                                                             statements and
                                                             prepare for filing (.8);
                                                             review and revise
                                                             global and specific
                                                             notes to second
                                                             amended schedules
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               and sofa(1.1); review
                                                               and revise supporting
                                                               schedules for second
                                                               amended schedules
                                                               and statements (.3).
VLD        04/18/2023   B190     2.30   795.00       1828.50 Numerous emails
                                                             with UCC on
                                                             potential contract
                                                             issues, sending
                                                             responsive documents
                                                             to their requests, and
                                                             explaining the
                                                             documents
                                                             themselves with
                                                             information from
                                                             client (1.2); drafting
                                                             analysis for
                                                             settlement (1.1).
VLD        04/18/2023   B210     0.50 795.00          397.50 Emails with SubV on
                                                             ownership of crypto
                                                             pre-petition and
                                                             analyzing same.
VLD        04/18/2023   B190     4.20   795.00       3339.00 Compiling and
                                                             analyzing information
                                                             to send to mediator
                                                             (.4); review text
                                                             messages for
                                                             production (.5);
                                                             compiling search
                                                             terms for computer
                                                             and phone searching
                                                             (.7); calls with
                                                             subpoenaed parties
                                                             (.9); analyzing
                                                             demand from
                                                             committee to reject
                                                             contract (.4); emails
                                                             to trial counsel in TX
                                                             and CT to obtain
                                                             production in
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               underlying litigation
                                                               (.3); resending emails
                                                               to committee counsel
                                                               due to issues with
                                                               receipt (.5); naming
                                                               and reordering text
                                                               messages for
                                                               production (.3);
                                                               working to produce
                                                               tax returns (.2).
VLD        04/18/2023   B185     0.60   795.00        477.00 Review and approve
                                                             Motion to reject
                                                             Mountain Way and
                                                             ESG contracts for
                                                             filing; send draft to
                                                             committee for COC.
VLD        04/18/2023   B140     1.00   795.00        795.00 Call with TX
                                                             plaintiffs to discuss
                                                             comments to stay
                                                             order resolution (.7);
                                                             call with FSS to
                                                             discuss same (.3).
EEW        04/19/2023   B185     1.40   295.00        413.00 Revisions to motion
                                                             to reject, service list
                                                             and certificate of
                                                             conference (1.0);
                                                             finalize, file and
                                                             coordinate service of
                                                             same (.4).
EEW        04/19/2023   B110     0.40 295.00          118.00 Review
                                                             communications from
                                                             trustee regarding
                                                             amended schedules
                                                             (.2); procure Local
                                                             Rule 1009-1 and
                                                             circulate to team (.2).
EEW        04/19/2023   B190     0.30 295.00           88.50 Review
                                                             dallaseservice inbox
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               and circulate Reynal's
                                                               objections to
                                                               proposed order on
                                                               plaintiff's motion for
                                                               sanctions in state
                                                               court matter.
EEW        04/19/2023   B110     2.20   295.00        649.00 Begin compiling
                                                             exhibits and excerpts
                                                             to debtor's response to
                                                             the UCC's statement
                                                             and reservation of
                                                             rights regarding the
                                                             amended schedules
                                                             and statements.
LGD        04/19/2023   B190     0.20   185.00         37.00 Continue to prepare
                                                             for client document
                                                             production.
AWC        04/19/2023   B210     2.30   440.00       1012.00 Review and revise
                                                             and annotate
                                                             executive
                                                             employment
                                                             agreement.
CWS        04/19/2023   B185     2.00   715.00       1430.00 Finalize Motion to
                                                             reject Contracts (.8);
                                                             draft and review
                                                             related
                                                             correspondence (1.2).
CWS        04/19/2023   B160     2.60   715.00       1859.00 Review and edit
                                                             revised prebill (1.8);
                                                             draft related
                                                             correspondence (.8).
CWS        04/19/2023   B110     2.80   715.00       2002.00 Review and revise
                                                             response and
                                                             objection to statement
                                                             in response to
                                                             schedules.
VLD        04/19/2023   B190     1.30   795.00       1033.50 Compiling documents
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               for mediator (.7);
                                                               emails with UCC
                                                               counsel attempting to
                                                               send email on
                                                               potential contract
                                                               issues (.3); emails and
                                                               calls regarding phone
                                                               imaging and review
                                                               process and cost (.3).
VLD        04/19/2023   B185     0.30   795.00        238.50 Review emails from
                                                             UCC on motion to
                                                             reject (.2); review
                                                             response to same and
                                                             approve (.1).
VLD        04/19/2023   B240     0.40 795.00          318.00 Call with tax protest
                                                             professional and
                                                             confirm employment
                                                             issues.
VLD        04/19/2023   B195     1.20   795.00        954.00 Travel from Austin to
                                                             Dallas (billed at half
                                                             time) 2.4.
VLD        04/19/2023   B110     7.80   795.00       6201.00 Review and analyze
                                                             details in Statement
                                                             and ROR (.9);
                                                             drafting detailed
                                                             response to Statement
                                                             and ROR(2.6); review
                                                             and analyze exhibits
                                                             to Response to
                                                             Statement and ROR
                                                             (2.1); review
                                                             comments and revise
                                                             response regarding
                                                             same (.9); email with
                                                             J. Ruff regarding
                                                             local rule on amended
                                                             schedules and
                                                             statements and
                                                             respond to same (.3);
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               research amended
                                                               schedules and
                                                               statements and seek
                                                               guidance on
                                                               "marking" changes
                                                               (.6); respond to J Ruff
                                                               reporting on research
                                                               results and seeking
                                                               guidance to comply
                                                               with local rule (.2);
                                                               email scheduling
                                                               examination with
                                                               UST of confidential
                                                               document (.2).
AMF        04/20/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             April 18 Tuesday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.1)
CGM        04/20/2023   B190     0.20   255.00         51.00 Conference regarding
                                                             Austin, Texas Trust
                                                             and Estate referral.
CGC        04/20/2023   B210     0.10   265.00         26.50 Review changes and
                                                             comments to
                                                             employment
                                                             agreement.
JCD        04/20/2023   B190     2.00   475.00        950.00 Review and analyze
                                                             research memo.
EEW        04/20/2023   B190     1.20   295.00        354.00 Pacer search for 5th
                                                             Circuit Case (Corsi v.
                                                             Jones) (.6); review
                                                             appellate case docket
                                                             and draft notice of
                                                             bankruptcy of
                                                             defendant-appellee
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Alex E. Jones (.6).
EEW        04/20/2023   B110     2.80   295.00        826.00 Compile schedules
                                                             and statements (with
                                                             all amendments and
                                                             attachments),
                                                             bookmark same and
                                                             circulate to team to
                                                             prepare response (.8);
                                                             continue preparing
                                                             exhibits to response
                                                             (1.0); finalize and file
                                                             debtor's response to
                                                             UCC's statement and
                                                             reservation of rights
                                                             regarding the
                                                             schedules and
                                                             statements (1.0).
CWS        04/20/2023   B160     1.30   715.00        929.50 Draft multiple
                                                             correspondence and
                                                             perform analysis
                                                             regarding N. Pattis
                                                             employment
                                                             application.
CWS        04/20/2023   B190     1.30 715.00          929.50 Review and revise 5th
                                                             Circuit Notice of
                                                             Bankruptcy (.6); draft
                                                             related
                                                             correspondence (7).
CWS        04/20/2023   B320     3.40   715.00       2431.00 Perform research and
                                                             analysis regarding
                                                             Plan.
VLD        04/20/2023   B210     1.30   795.00       1033.50 Review and revise
                                                             employment
                                                             agreement (.7);
                                                             emails regarding
                                                             potential contract (.4)
                                                             emails with FSS on
                                                             crypto split and
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               wording (.1); email
                                                               with SubV on
                                                               platinum split (.1).
VLD        04/20/2023   B190     1.20   795.00        954.00 Drafting detailed
                                                             response to
                                                             Committee requests.
CGC        04/21/2023   B210     0.30   265.00         79.50 Conference regarding
                                                             changes to
                                                             employment
                                                             agreement.
RJY        04/21/2023   B190     2.30   340.00        782.00 Review analysis from
                                                             team members (.3);
                                                             spot issues for
                                                             response to summary
                                                             judgment motion (.5);
                                                             and outline briefing
                                                             strategy (1.5).
CGC        04/21/2023   B210     0.70   265.00        185.50 Revise employment
                                                             agreement.
AMF        04/21/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             April 19 Wednesday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.1).
CCC        04/21/2023   B190     0.60   290.00        174.00 Review and analyze
                                                             Plaintiffs' adversary
                                                             complaints (.3); draft
                                                             Answer to Plaintiffs'
                                                             adversary complaints
                                                             (.3).
EEW        04/21/2023   B190     0.20   295.00         59.00 Communications
                                                             regarding document
                                                             production (text
                                                             messages).
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
EEW        04/21/2023   B110     0.50   295.00        147.50 Prepare notebook
                                                             with debtor's response
                                                             to statement and
                                                             reservation of rights
                                                             by the UCC regarding
                                                             amended schedules
                                                             and statements (with
                                                             exhibits) for
                                                             conference call with
                                                             the UCC (.5);
                                                             download and
                                                             circulate electronic
                                                             copy of response to
                                                             team (.1).
JCD        04/21/2023   B190     2.00   475.00        950.00 Reading the trial
                                                             transcripts from the
                                                             Connecticut trial to
                                                             identify possible
                                                             testimony and issues.
LGD        04/21/2023   B190     0.50   185.00         92.50 Prepare supplemental
                                                             client document
                                                             production.
AWC        04/21/2023   B210     0.40   440.00        176.00 Conference regarding
                                                             edits to employment
                                                             agreement.
CWS        04/21/2023   B110     2.00   715.00       1430.00 Review and revise
                                                             response to comments
                                                             to Debtor's schedules
                                                             (1.4); draft related
                                                             correspondence (.6).
CWS        04/21/2023   B320     1.80   715.00       1287.00 Perform analysis and
                                                             draft correspondence
                                                             regarding plan
                                                             construction.
CWS        04/21/2023   B160     1.70   715.00       1215.50 Review and revise
                                                             billing statement for
                                                             March (1.3); draft
                                                             related
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               correspondence (.4).
VLD        04/21/2023   B190     4.30   795.00       3418.50 Call with UCC
                                                             professionals on
                                                             trusts, transfers and
                                                             related issues (1.6);
                                                             preparation for call
                                                             with committee on
                                                             trusts and various
                                                             issues (.8); emails
                                                             with committee on
                                                             status of document
                                                             review for 2004
                                                             requests (.3); review
                                                             and provide
                                                             documents for
                                                             production (.7);
                                                             sending detailed
                                                             update to requests on
                                                             production progress
                                                             (.9).
VLD        04/21/2023   B210     0.80   795.00        636.00 Discuss and analyze
                                                             comments to
                                                             employment
                                                             agreement (.4);
                                                             review and analyze
                                                             comments to
                                                             employment
                                                             agreement (.4).
VLD        04/21/2023   B185     1.20   795.00        954.00 Draft and send
                                                             detailed analysis of
                                                             contracts with ESG
                                                             for rejection and
                                                             related questions
                                                             from committee
                                                             counsel.
AMF        04/22/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               April 20 Thursday
                                                               (4.0); summarize
                                                               statements made
                                                               related to case (.1).
DJM        04/22/2023   B190     2.80   310.00        868.00 Review and analyze
                                                             case law for MSJ
                                                             briefing.
AMF        04/23/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             April 21 Friday (4.0);
                                                             summarize statements
                                                             made related to case
                                                             (.1).
CWS        04/23/2023   B190     1.30   715.00        929.50 Perform research
                                                             regarding preclusion
                                                             issue and draft related
                                                             correspondence.
RJY        04/24/2023   B190     1.00   340.00        340.00 Present legal research
                                                             results and identify
                                                             areas of further
                                                             research at litigation
                                                             team meeting.
RJY        04/24/2023   B190     1.10   340.00        374.00 Outline legal research
                                                             summary.
RJY        04/24/2023   B190     1.20   340.00        408.00 Conduct legal
                                                             research on collateral
                                                             estoppel standard
                                                             under Connecticut
                                                             law.
RJY        04/24/2023   B190     0.90   340.00        306.00 Review precedent in
                                                             Connecticut courts
                                                             pertaining to applying
                                                             collateral estoppel to
                                                             default judgments.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
JMS        04/24/2023   B190     0.10   265.00         26.50 Analyze the UCC's
                                                             metadata overlay
                                                             request related to the
                                                             text message and
                                                             email production.
RJY        04/24/2023   B190     2.10   340.00        714.00 Review adversary
                                                             pleadings and
                                                             conduct legal
                                                             research related to
                                                             state and federal
                                                             standards of proof.
RJY        04/24/2023   B190     2.20   340.00        748.00 Continue to research
                                                             legal issues on
                                                             collateral estoppel in
                                                             bankruptcy
                                                             proceedings (1.1);
                                                             and draft outline for
                                                             response to summary
                                                             judgment regarding
                                                             the same (1.1).
CCC        04/24/2023   B190     0.50   290.00        145.00 Develop strategy for
                                                             drafting answer or
                                                             other response to
                                                             Plaintiffs' adversary
                                                             complaints and assess
                                                             additional research
                                                             needed in support of
                                                             response to Plaintiffs'
                                                             motion for summary
                                                             judgment.
CCC        04/24/2023   B190     1.30   290.00        377.00 Review and analyze
                                                             state court pleadings
                                                             to assess client's
                                                             participation level in
                                                             defense of Plaintiffs'
                                                             claims to support
                                                             dischargeability
                                                             argument.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
JCD        04/24/2023   B195     2.00   475.00        950.00 Non-working travel
                                                             time flying from
                                                             Tulsa to Austin for
                                                             meetings with
                                                             bankruptcy team and
                                                             also to meet with
                                                             Debtor; travel time
                                                             from 1:00 to 5:00 (4
                                                             hours).
JCD        04/24/2023   B190     2.00 475.00          950.00 Meeting with
                                                             bankruptcy team to
                                                             review status of the
                                                             proceedings, discuss
                                                             defenses and
                                                             approaches to the two
                                                             non-dischargeability
                                                             lawsuits.
EEW        04/24/2023   B160     0.10   295.00         29.50 Review quarterly fee
                                                             statement and
                                                             circulate to
                                                             BlackBriar.
EEW        04/24/2023   B190     0.30 295.00           88.50 Review
                                                             dallaseservice inbox
                                                             and circulate letter
                                                             ordering record in the
                                                             state court case Heslin
                                                             v. Jones.
EEW        04/24/2023   B110     1.00   295.00        295.00 Division of labor
                                                             conference call.
EEW        04/24/2023   B110     2.50   295.00        737.50 Electronic case file
                                                             management of client
                                                             files (hard copies
                                                             delivered) received
                                                             from Elizabeth
                                                             Morgan and
                                                             Associates.
DJM        04/24/2023   B195     2.00   310.00        620.00 Travel to Austin for
                                                             meeting with client (4
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               hours of travel down
                                                               to 2).
DJM        04/24/2023   B190     2.80   310.00        868.00 Develop strategy for
                                                             MSJ briefing.
DJM        04/24/2023   B190     2.50   310.00        775.00 Review and analyze
                                                             relevant case law for
                                                             MSJ briefing.
CWS        04/24/2023   B195     1.50   715.00       1072.50 Non-working travel
                                                             billed at half time
                                                             (3.0). Travel to Austin
                                                             to meet with client.
CWS        04/24/2023   B190     1.80   715.00       1287.00 Team meeting for
                                                             dischargeability
                                                             matter to discuss
                                                             analysis and planning.
VLD        04/24/2023   B210     1.40   795.00       1113.00 Calls with FSS
                                                             counsel and client on
                                                             Tahoe repossession
                                                             and issues relating
                                                             thereto (1.2); sending
                                                             proof of insurance for
                                                             Tahoe to FSS (.2).
VLD        04/24/2023   B190     1.10 795.00          874.50 Call with K. Porter on
                                                             communication issues
                                                             (.6); emails with UCC
                                                             on production and
                                                             metadata needs (.2);
                                                             emails with
                                                             production team on
                                                             UCC issues (.3).
VLD        04/24/2023   B195     1.60   795.00       1272.00 Travel to Austin. –
                                                             billed at half time 3.2
                                                             (1.6).
VLD        04/24/2023   B190     1.20   795.00        954.00 Discuss background
                                                             of nondischargeable
                                                             complaint and
                                                             strategy to responding
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               and underlying
                                                               litigation.
CGC        04/25/2023   B210     0.90   265.00        238.50 Revise employment
                                                             agreement.
RJY        04/25/2023   B190     1.70   340.00        578.00 Draft legal statement
                                                             on collateral estoppel
                                                             under Connecticut
                                                             law for response to
                                                             motion for summary
                                                             judgment.
RJY        04/25/2023   B190     0.80   340.00        272.00 Review judge, orders,
                                                             and briefing in
                                                             Connecticut case.
JMS        04/25/2023   B190     0.20   265.00         53.00 Strategy regarding
                                                             production of
                                                             metadata and
                                                             proposed categories.
RJY        04/25/2023   B190     2.20   340.00        748.00 Develop legal
                                                             argument regarding
                                                             willful standard
                                                             applied to intentional
                                                             infliction of
                                                             emotional distress
                                                             claim under
                                                             Connecticut law
                                                             arising from default
                                                             judgment for
                                                             collateral estoppel
                                                             purposes.
RJY        04/25/2023   B190     0.70   340.00        238.00 Conduct legal
                                                             research on the
                                                             "willful and malicious
                                                             injury" standard in the
                                                             Fifth Circuit.
RJY        04/25/2023   B190     0.30   340.00        102.00 Continue to review
                                                             the elements of the
                                                             claims for estoppel
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               purposes.
RJY        04/25/2023   B190     0.90   340.00        306.00 Research punitive
                                                             damages under
                                                             Connecticut common
                                                             law and CUTPA (.5);
                                                             review trial court's
                                                             order regarding the
                                                             same (.4).
RJY        04/25/2023   B190     0.80   340.00        272.00 Review briefing on
                                                             punitive damages
                                                             issue in the
                                                             Connecticut trial
                                                             court.
JCD        04/25/2023   B190     8.00   475.00       3800.00 Meeting with client
                                                             and trial team
                                                             working through the
                                                             two
                                                             non-dischargeability
                                                             lawsuits, working on
                                                             answers, gathering
                                                             and reviewing
                                                             information cited in
                                                             the answers (6.0);
                                                             interview of Alex
                                                             Jones about Texas
                                                             and Connecticut
                                                             verdicts (2.0).
JCD        04/25/2023   B195     2.00   475.00        950.00 Travel from Austin,
                                                             Texas and back to
                                                             Tulsa, Oklahoma
                                                             following day of
                                                             meetings; total travel
                                                             time at airport and
                                                             flight home was 4
                                                             hours.
AMF        04/25/2023   B210     2.10   305.00        640.50 Review and analyze
                                                             client's existing
                                                             platform content,
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               InfoWars: Ep. 2023
                                                               April 23 Sunday
                                                               (2.0); summarize
                                                               statements made
                                                               related to case (.1).
EPA        04/25/2023   B190     2.30   385.00        885.50 Research caselaw on
                                                             Rule 8 and motions to
                                                             strike.
EEW        04/25/2023   B190     0.30   295.00         88.50 Review 2004 requests
                                                             to Prosperity Bank,
                                                             Coinbase, Bank of
                                                             America, Axos Bank
                                                             and Erika Wuff and
                                                             circulate to team.
EEW        04/25/2023   B185     0.20   295.00         59.00 Review email
                                                             communications from
                                                             Ray Battaglia (.1);
                                                             circulate motion to
                                                             reject to ESG admin
                                                             as courtesy copy (.1).
EEW        04/25/2023   B190     0.80   295.00        236.00 Review complaints in
                                                             each adversary and
                                                             separate exhibits from
                                                             original .pdfs.
EEW        04/25/2023   B160     1.00   295.00        295.00 Draft fourth monthly
                                                             fee statement for
                                                             Crowe & Dunlevy
                                                             and circulate for
                                                             approval.
EEW        04/25/2023   B160     1.20   295.00        354.00 Email
                                                             correspondence to
                                                             and from Rachel
                                                             Kennerly, Tax
                                                             Advisor regarding
                                                             second monthly fee
                                                             statement (.2); draft
                                                             same (1.0).
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
JHY        04/25/2023   B190     0.80   286.58        229.26 Review and analyze
                                                             adversarial
                                                             complaints to
                                                             determine
                                                             dischargeability of
                                                             debt filed by Texas
                                                             and Connecticut
                                                             Plaintiffs in
                                                             preparation for
                                                             drafting answers.
CCC        04/25/2023   B190     0.50   290.00        145.00 Review and analyze
                                                             trial transcripts from
                                                             underlying state court
                                                             actions in support of
                                                             draft Answers to
                                                             Plaintiff's adversary
                                                             complaints.
CCC        04/25/2023   B190     3.00   290.00        870.00 Conduct legal
                                                             research in support of
                                                             response to Plaintiffs'
                                                             adversary complaints.
CCC        04/25/2023   B190     3.00   290.00        870.00 Review and analyze
                                                             state court pleadings
                                                             in underlying lawsuits
                                                             in support of drafting
                                                             responses to
                                                             Complaints.
LGD        04/25/2023   B110     0.20   185.00         37.00 Prepare supplemental
                                                             client document
                                                             production.
AWC        04/25/2023   B210     0.60   440.00        264.00 Further review and
                                                             revisions to
                                                             employment
                                                             agreement.
DJM        04/25/2023   B190     2.00   310.00        620.00 Travel from Austin to
                                                             Tulsa (4 hours down
                                                             to 2).
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
DJM        04/25/2023   B190     6.50   310.00       2015.00 Develop strategy for
                                                             drafting answers to
                                                             plaintiffs' complaints.
DJM        04/25/2023   B190     1.50   310.00        465.00 Meet with client to
                                                             discuss case.
CWS        04/25/2023   B190     7.40   715.00       5291.00 Meeting regarding
                                                             dischargeability
                                                             answers and overall
                                                             case analysis (5.8);
                                                             meeting with client
                                                             regarding same (1.6).
CWS        04/25/2023   B195     1.50   715.00       1072.50 Non-working travel,
                                                             billed at half time
                                                             (3.0) Travel from
                                                             Austin to Dallas.
JMS        04/25/2023   B190     0.10   265.00         26.50 Correspondence from
                                                             UCC confirming
                                                             metadata overlay
                                                             acceptance.
VLD        04/25/2023   B210     0.70   795.00        556.50 Call with family
                                                             lawyer on prenuptial
                                                             terms and ratification
                                                             (.3); call with counsel
                                                             for E. Jones on prenup
                                                             and ratification (.3);
                                                             send ratification for
                                                             production (.1).
VLD        04/25/2023   B190     1.10 795.00          874.50 Send detailed email to
                                                             UCC on Tahoe,
                                                             crypto, and contract
                                                             on Tate and metadata
                                                             research status (.7);
                                                             call with team on
                                                             metadata and phone
                                                             imagining issues (.4).
VLD        04/25/2023   B190     2.50   795.00       1987.50 Calls and emails with
                                                             P. Lynch and Ally
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               bank on Tahoe
                                                               repossession and need
                                                               to obtain personal
                                                               property (.9); calls
                                                               with FSS counsel on
                                                               Tahoe lease (.3);
                                                               review and analyze
                                                               abandonment
                                                               agreement and
                                                               motion to reject
                                                               motion and order to
                                                               determine Tahoe at
                                                               issue (1.3).
VLD        04/25/2023   B190     3.60   795.00       2862.00 Dischargeability
                                                             analysis of both TX
                                                             and CT complaint and
                                                             allegations there in
                                                             for answer and
                                                             response drafting
                                                             (3.4); email to
                                                             counsel for TX and
                                                             CT plaintiffs seeking
                                                             one week extension to
                                                             answer deadline (.2).
RJY        04/26/2023   B190     2.40   340.00        816.00 Continue to develop
                                                             and test legal theory
                                                             on collateral estoppel
                                                             under Connecticut
                                                             law.
RJY        04/26/2023   B190     0.90   340.00        306.00 Debrief on answer
                                                             and legal research.
RJY        04/26/2023   B190     1.90   340.00        646.00 Draft memo on
                                                             Connecticut collateral
                                                             estoppel law.
AMF        04/26/2023   B210     4.20   305.00       1281.00 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               April 24 Monday
                                                               (4.0); summarize
                                                               statements made
                                                               related to case (.2).
EEW        04/26/2023   B160     1.30   295.00        383.50 Finalize, file and
                                                             serve fourth monthly
                                                             fee statement for
                                                             Crowe & Dunlevy
                                                             (1.2); docket
                                                             objection deadline for
                                                             same (1.).
EEW        04/26/2023   B110     1.20   295.00        354.00 Electronic case file
                                                             management AJ and
                                                             FSS pleadings.
JHY        04/26/2023   B190     6.90   286.59       1977.44 Conference regarding
                                                             dischargeability
                                                             issues and tasks to
                                                             prepare answers in
                                                             response to Texas and
                                                             Connecticut plaintiffs'
                                                             complaints (0.6);
                                                             review and analyze
                                                             Texas statutes and
                                                             case law regarding
                                                             defamation and
                                                             intentional infliction
                                                             of emotional distress
                                                             in preparation to draft
                                                             answer and case
                                                             analysis (3.3); draft
                                                             and revise analysis to
                                                             same (3).
JCD        04/26/2023   B190     4.00   475.00       1900.00 Reading the trial
                                                             transcripts from the
                                                             Connecticut trial to
                                                             identify possible
                                                             testimony and issues.
CCC        04/26/2023   B190     4.00   290.00       1160.00 Develop strategy for
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               response to Plaintiffs'
                                                               adversary complaints
                                                               (.8); conduct research
                                                               in support of same
                                                               (3.2).
CCC        04/26/2023   B190     1.60 290.00          464.00 Draft Motion to
                                                             Extend Answer
                                                             Deadlines and
                                                             proposed order
                                                             granting same.
CCC        04/26/2023   B190     1.00   290.00        290.00 Communicate with
                                                             debtor's counsel for
                                                             the state court
                                                             lawsuits regarding
                                                             trial transcripts (.2);
                                                             review and analyze
                                                             transcripts and
                                                             underlying state court
                                                             pleadings in support
                                                             of drafting response
                                                             to Complaints (.8).
LGD        04/26/2023   B110     0.20   185.00         37.00 Prepare supplemental
                                                             client document
                                                             production.
EEW        04/26/2023   B190     2.20   295.00        649.00 Review emails and
                                                             other client files
                                                             received from
                                                             Elizabeth Morgan and
                                                             Associates and place
                                                             in line for document
                                                             production.
DJM        04/26/2023   B190     0.70   310.00        217.00 Develop strategy for
                                                             answers to plaintiffs'
                                                             complaint.
DJM        04/26/2023   B190     0.50   310.00        155.00 Develop strategy for
                                                             MSJ briefing.
DJM        04/26/2023   B190     3.20   310.00        992.00 Draft answers to
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               plaintiffs' complaints.
CWS        04/26/2023   B190     2.20   715.00       1573.00 Prepare for and attend
                                                             call regarding
                                                             non-dischargeability
                                                             answers (1.8); review
                                                             motion to extend and
                                                             provide edits (.4).
CWS        04/26/2023   B160     1.80   715.00       1287.00 Review and revise
                                                             Fourth Monthly Fee
                                                             Statement (1.6); draft
                                                             related
                                                             correspondence (.2).
CWS        04/26/2023   B320     2.30   715.00       1644.50 Perform research and
                                                             analysis regarding
                                                             plan preparation
                                                             (1.2); draft plan
                                                             provisions (1.1).
VLD        04/26/2023   B110     0.10   795.00         79.50 Reporting on
                                                             possession of Tahoe
                                                             and property located
                                                             in same with client
                                                             (.1).
VLD        04/26/2023   B195     1.60   795.00       1272.00 Travel from Austin to
                                                             Dallas. - billed at half
                                                             time 3.2 (1.6).
VLD        04/26/2023   B190     0.30   795.00        238.50 Emails on document
                                                             production and
                                                             redactions.
VLD        04/26/2023   B210     2.40 795.00         1908.00 Emails with Sub V
                                                             Trustee on show
                                                             contents and review
                                                             same (.5); review
                                                             final version of crypto
                                                             disclosure and
                                                             prepare for filing in
                                                             Jones matter (.2);
                                                             multiple emails to
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Sub V trustee and IT
                                                               manager of FSS
                                                               seeking to disclose
                                                               payments made to M.
                                                               Schwartz and bonuses
                                                               to FSS employees in
                                                               crypto (1.1); update
                                                               BlackBriar on crypto
                                                               resolution and
                                                               disclosure (.2); call
                                                               with FSS counsel on
                                                               disclosure and crypto
                                                               issues (.4).
AMF        04/27/2023   B210     4.20   305.00       1281.00 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             April 25 Tuesday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.2).
RJY        04/27/2023   B190     2.90   340.00        986.00 Develop legal
                                                             argument concerning
                                                             full and fair
                                                             opportunity to litigate
                                                             issue in first
                                                             proceeding for
                                                             collateral estoppel
                                                             purposes.
RJY        04/27/2023   B190     2.00   340.00        680.00 Conduct legal
                                                             research on
                                                             protections from tort
                                                             liability.
EEW        04/27/2023   B190     1.40   295.00        413.00 Attend conference
                                                             call with UCC.
RJY        04/27/2023   B190     1.20   340.00        408.00 Draft outline on
                                                             actually-litigated
                                                             prong of collateral
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               estoppel analysis.
RJY        04/27/2023   B190     1.40   340.00        476.00 Conduct legal
                                                             research on
                                                             "malicious" prong of
                                                             Section 523(a)(6)
                                                             analysis (.9); draft
                                                             analysis of same (.5).
CGC        04/27/2023   B210     0.40   265.00        106.00 Review email and
                                                             revised employment
                                                             agreement.
EEW        04/27/2023   B190     0.40   295.00        118.00 Review state court
                                                             pleadings received
                                                             pending in Travis
                                                             County (Heslin v.
                                                             Jones and FSS) and
                                                             circulate to team.
EEW        04/27/2023   B190     1.50   295.00        442.50 Compile related
                                                             pleadings and prepare
                                                             hearing notebook for
                                                             04-28-2023 hearing
                                                             in the FSS case on
                                                             debtor's motion for
                                                             order approving
                                                             settlement (1.4);
                                                             docket hearing date
                                                             and dial-in
                                                             information/hearing
                                                             link for same (.1).
JHY        04/27/2023   B190     6.80   286.59       1948.78 Review and analyze
                                                             (i) jury verdict forms,
                                                             (ii) judgments and
                                                             orders regarding
                                                             default, and (iii)
                                                             transcript of court
                                                             rulings in preparation
                                                             to draft answer and
                                                             case analysis (1.5);
                                                             review and analyze
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Texas statutes and
                                                               case law regarding
                                                               defamation and
                                                               intentional infliction
                                                               of emotional distress
                                                               in preparation to draft
                                                               answer and case
                                                               analysis (2.6); draft
                                                               and revise analysis to
                                                               same (2.7).
JCD        04/27/2023   B190     4.00 475.00         1900.00 Review trial
                                                             transcripts from the
                                                             Connecticut trial to
                                                             identify possible
                                                             testimony and issues.
CCC        04/27/2023   B190     3.00 290.00          870.00 Research regarding
                                                             response strategy to
                                                             Plaintiffs' adversary
                                                             complaints.
CCC        04/27/2023   B190     0.40   290.00        116.00 Review and analyze
                                                             trial transcripts
                                                             received from trial
                                                             counsel in support of
                                                             drafting answer.
DJM        04/27/2023   B190     0.50   310.00        155.00 Develop strategy for
                                                             MSJ briefing.
DJM        04/27/2023   B190     1.90   310.00        589.00 Review state court
                                                             docket for drafting
                                                             answer.
DJM        04/27/2023   B190     3.20   310.00        992.00 Review and analyze
                                                             relevant case law for
                                                             MSJ briefing.
CWS        04/27/2023   B160     0.40   715.00        286.00 Draft correspondence
                                                             regarding billing
                                                             matters for client.
CWS        04/27/2023   B320     2.30   715.00       1644.50 Perform research and
                                                             analysis regarding
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               plan and disclosure
                                                               statement.
VLD        04/27/2023   B210     0.60   795.00        477.00 Review and revise
                                                             employment
                                                             agreement.
VLD        04/27/2023   B190     2.00   795.00       1590.00 Research and send
                                                             detail for insider
                                                             emails with IT
                                                             manager on crypto
                                                             bonus payments made
                                                             directly.
VLD        04/27/2023   B190     0.30   795.00        238.50    Emails to counsel
                                                               seeking contact info
                                                               for client's sister (.1);
                                                               extension to rolling
                                                               production (.2).
VLD        04/27/2023   B190     1.40   795.00       1113.00 Call with UCC
                                                             discussing
                                                             outstanding
                                                             production issues and
                                                             related issues (1.2);
                                                             email UCC to confirm
                                                             transfers within one
                                                             year (.2).
VLD        04/27/2023   B190     0.20   795.00        159.00 Assembling FSS
                                                             reconciliation to
                                                             produce to
                                                             Committee.
AMF        04/28/2023   B210     4.30   305.00       1311.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             April 26 Wednesday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.3).
JCD        04/28/2023   B190     2.00   475.00        950.00 Time spent reviewing
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               the Subchapter V
                                                               trustee's initial
                                                               findings re: Free
                                                               Speech Systems (144
                                                               pages).
RJY        04/28/2023   B190     4.80   340.00       1632.00 Formulate legal
                                                             strategy and conduct
                                                             legal research on
                                                             substantive due
                                                             process issues.
EEW        04/28/2023   B110     5.00   295.00       1475.00 Review spreadsheets
                                                             received from
                                                             BlackBriar and draft
                                                             MORs (with
                                                             supporting schedules)
                                                             for Second Amended
                                                             December report,
                                                             Amended January,
                                                             February and March,
                                                             2023 reports.
EEW        04/28/2023   B110     2.00   295.00        590.00 Electronic case file
                                                             management of client
                                                             files (hard copies
                                                             delivered) received
                                                             from Elizabeth
                                                             Morgan and
                                                             Associates.
EEW        04/28/2023   B190     0.40   295.00        118.00 Finalize and file the
                                                             proposed orders
                                                             granting motion to
                                                             extend deadline to file
                                                             answer(s) in the
                                                             Heslin, et al and
                                                             Wheeler,et al
                                                             adversary
                                                             proceedings (.3);
                                                             email correspondence
                                                             to court case manager
                                                             regarding same (.1).
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
CCC        04/28/2023   B190     0.30   290.00         87.00 Evaluate status of
                                                             court's entry of
                                                             motion to extend
                                                             answer deadline (.2);
                                                             develop strategy for
                                                             obtaining entry of
                                                             order (.1).
JHY        04/28/2023   B190     5.10   286.58       1461.58 Review and analyze
                                                             Texas adversarial
                                                             complaint and cited
                                                             sources in preparation
                                                             for answer (2.6); draft
                                                             and revise analysis
                                                             regarding
                                                             discrepancies and
                                                             potential arguments
                                                             in Texas adversarial
                                                             complaint in
                                                             preparation for
                                                             answer (2.5).
DJM        04/28/2023   B190     2.40   310.00        744.00 Review state court
                                                             dockets for drafting
                                                             answers to plaintiffs'
                                                             complaints.
CWS        04/28/2023   B320     5.40   715.00       3861.00 Perform research and
                                                             review regarding plan
                                                             and disclosure
                                                             statement (4.6);
                                                             review and respond to
                                                             related
                                                             correspondence (.8).
VLD        04/28/2023   B320     0.80   795.00        636.00 Analysis of claim
                                                             treatment.
VLD        04/28/2023   B190     0.70   795.00        556.50 Review 2004 requests
                                                             and analyze bank
                                                             statement needs (.4);
                                                             email with BlackBriar
                                                             on Frost accounts (.3).
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
VLD        04/28/2023   B110     0.60   795.00        477.00 Meet with UST for
                                                             review of confidential
                                                             document.
VLD        04/28/2023   B210     0.20 795.00          159.00 Emails with UCC on
                                                             reason for attending
                                                             hearing.
VLD        04/28/2023   B210     1.10   795.00        874.50 Review and analyze
                                                             ESG contract with
                                                             FSS in relation to
                                                             Jones and treatment
                                                             of product ownership.
VLD        04/28/2023   B210     1.10 795.00          874.50 Discussions with FSS
                                                             on operations and
                                                             related issues.
VLD        04/28/2023   B210     1.50   795.00       1192.50 Attend hearings in
                                                             FSS case regarding
                                                             9019 settlement and
                                                             Cash Collateral (1.5).
VLD        04/28/2023   B210     0.80   795.00        636.00 Preparation for FSS
                                                             hearings on 9019 and
                                                             cash collateral.
VLD        04/28/2023   B195     3.20   795.00       2544.00 Travel to and from
                                                             Houston for hearing.
                                                             – billed at half time
                                                             (6.4) – 3.2.
AMF        04/29/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             April 27 Thursday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.1).
RJY        04/29/2023   B190     2.40   340.00        816.00 Formulate legal
                                                             strategy and conduct
                                                             legal research on
                                                             procedural due
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               process issue.
RJY        04/29/2023   B190     1.80   340.00        612.00 Continue to develop
                                                             full faith and credit
                                                             legal arguments.
EEW        04/29/2023   B110     1.60   295.00        472.00 Work with
                                                             BlackBriar finalizing
                                                             numbers for Second
                                                             Amended December
                                                             MOR and Amended
                                                             January (1.1); finalize
                                                             and file same (.4).
EEW        04/29/2023   B110     3.80   295.00       1121.00 Electronic case file
                                                             management of client
                                                             files (hard copies
                                                             delivered) received
                                                             from Elizabeth
                                                             Morgan and
                                                             Associates.
EEW        04/29/2023   B190     2.50   295.00        737.50 Review client files
                                                             received from
                                                             Elizabeth Morgan and
                                                             Associates, organize
                                                             and save to Litshare
                                                             to be put in line for
                                                             document production.
AMF        04/30/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             April 28 Friday (4.0);
                                                             summarize statements
                                                             made related to case
                                                             (.1).
EEW        04/30/2023   B160     1.50   295.00        442.50 Revise, file and serve
                                                             second monthly fee
                                                             statement for Rachel
                                                             Kennerly, Tax
                                                             Advisor.
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Attorney      Date      Task   Hours    Rate     Bill Amount     Description of
                                                               Services Rendered
EEW        04/30/2023   B160     2.30   295.00        678.50 Draft, file and serve
                                                             fourth monthly fee
                                                             statement for
                                                             BlackBriar Advisors
                                                             (2.0); email
                                                             communications to
                                                             and from Bob
                                                             Schleizer regarding
                                                             retainer balance for
                                                             BlackBriar and tax
                                                             advisor (.3).
EEW        04/30/2023   B110     1.50   295.00        442.50 Work with
                                                             BlackBriar finalizing
                                                             numbers for
                                                             February, 2023 MOR
                                                             and March, 2023
                                                             MOR (1.1); finalize
                                                             and file same (.4).
CWS        04/30/2023   B160     1.20   715.00        858.00 Review and respond
                                                             to various
                                                             correspondence
                                                             regarding Blackbriar
                                                             and tax professional
                                                             fee statements.
DJM        05/01/2023   B190     8.10   310.00       2511.00 Draft answer to Texas
                                                             plaintiffs' Complaint.
VLD        05/01/2023   B110     1.50   795.00       1192.50 Review emails and
                                                             analyze issues with
                                                             MORS and
                                                             formatting issues.
VLD        05/01/2023   B190     1.50   795.00       1192.50 Emails regarding
                                                             document production.
AWC        05/01/2023   B210     0.20   440.00         88.00 Review edits to
                                                             employment
                                                             agreement.
AWC        05/01/2023   B210     0.20   440.00         88.00 Provide feedback
                                                             regarding potential
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               plan to revamp
                                                               compensation
                                                               provision to allow for
                                                               deferred
                                                               compensation
                                                               options.
CCC        05/01/2023   B190     2.00   290.00        580.00 Review and analyze
                                                             underlying state court
                                                             documents to assist
                                                             with drafting answers
                                                             to adversary
                                                             complaints.
CCC        05/01/2023   B190     1.00   290.00        290.00 Review and analyze
                                                             extensive client
                                                             documents in
                                                             response to requests
                                                             by UCC.
CCC        05/01/2023   B190     1.50   290.00        435.00 Conduct research in
                                                             support of response to
                                                             adversary complaints.
JHY        05/01/2023   B190     2.30   286.59        659.15 Analyze and review
                                                             trial transcripts of
                                                             Texas state court case
                                                             to verify pleading
                                                             propositions and to
                                                             determine pleadings
                                                             admissions and
                                                             denials.
EEW        05/01/2023   B110     0.20   295.00         59.00 Email
                                                             correspondence to
                                                             and from Yasmine
                                                             Rivera with the US
                                                             Trustee's office
                                                             regarding MOR's.
EEW        05/01/2023   B190     0.30   295.00         88.50 Communications
                                                             regarding Elizabeth
                                                             Freeman files and
                                                             document production.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
RJY        05/02/2023   B190     0.50   340.00        170.00 Structure outline for
                                                             summary judgment
                                                             response in
                                                             Connecticut case.
RJY        05/02/2023   B190     1.80   340.00        612.00 Develop argument on
                                                             full faith and credit
                                                             (1.0); conduct legal
                                                             research regarding the
                                                             same (.8).
RJY        05/02/2023   B190     0.90   340.00        306.00 Review and analyze
                                                             draft Answer in Texas
                                                             case.
CCC        05/02/2023   B210     0.90 290.00          261.00 Research regarding
                                                             characterization of
                                                             premarital agreement
                                                             obligation.
RJY        05/02/2023   B190     1.90   340.00        646.00 Work on introduction
                                                             section to draft
                                                             response to summary
                                                             judgment.
RJY        05/02/2023   B190     0.50   340.00        170.00 Correspond with
                                                             litigation regarding
                                                             discovery review and
                                                             other matters.
RJY        05/02/2023   B190     0.80   340.00        272.00 Develop policy
                                                             arguments regarding
                                                             collatoral estoppel.
AMF        05/02/2023   B210     2.10   305.00        640.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             April 30 Sunday
                                                             (2.0); summarize
                                                             statements made
                                                             related to case (.1).
RJY        05/02/2023   B190     0.30   340.00        102.00 Edit notes on legal
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               standards.
RJY        05/02/2023   B190     0.30   340.00        102.00 Review local rules in
                                                             the bankruptcy court
                                                             in Texas.
RJY        05/02/2023   B190     0.40   340.00        136.00 Review comments on
                                                             Answer draft.
DJM        05/02/2023   B190     2.50   310.00        775.00 Draft answer to Texas
                                                             plaintiffs' complaint.
DJM        05/02/2023   B190     8.50   310.00       2635.00 Draft answer to
                                                             Connecticut plaintiffs'
                                                             complaint.
VLD        05/02/2023   B160     0.20   795.00        159.00 Emails on Reynal fee
                                                             statements.
VLD        05/02/2023   B110     0.20   795.00        159.00 Review and revise
                                                             emails on setting
                                                             status conference.
VLD        05/02/2023   B210     1.00   795.00        795.00 Review and send
                                                             employment
                                                             agreement to FSS
                                                             counsel for review
                                                             and comment (.3);
                                                             call with client on
                                                             budget issues (.3);
                                                             call with BlackBriar
                                                             on budget issues (.4).
VLD        05/02/2023   B140     0.80   795.00        636.00 Review and revise
                                                             proposed order on TX
                                                             plaintiff lift stay and
                                                             email counsel on
                                                             same.
VLD        05/02/2023   B190     1.10   795.00        874.50 Call and emails with
                                                             appellate counsel on
                                                             document production
                                                             (.7); emails with
                                                             production and
                                                             review team on
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               review deadlines (.3);
                                                               review list of persons
                                                               for review and
                                                               comment to same (.1).
JHY        05/02/2023   B190     5.90   286.58       1690.85 Draft and revise
                                                             Answer to the
                                                             Adversarial
                                                             Complaint of the
                                                             Texas tort claimants
                                                             (0.5); analyze and
                                                             review trial
                                                             transcripts of Texas
                                                             state court case to
                                                             verify pleading
                                                             propositions and to
                                                             determine pleadings
                                                             admissions and
                                                             denials (2.9); analyze
                                                             and review trial
                                                             transcripts of
                                                             Connecticut state
                                                             court case to verify
                                                             pleading propositions
                                                             and to determine
                                                             pleadings admissions
                                                             and denials (1.4);
                                                             review and conduct
                                                             final proofs of
                                                             Answer to the Texas
                                                             tort claimants'
                                                             Adversarial
                                                             Complaint (1.1).
CCC        05/02/2023   B190     3.20   290.00        928.00 Draft answers on
                                                             behalf of Debtor to
                                                             the adversary
                                                             proceeding
                                                             complaints filed by
                                                             the Texas and
                                                             Connecticut
                                                             state-court claimants
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               (2.0); review
                                                               underlying state court
                                                               documents to assist
                                                               with same (1.2).
LGD        05/02/2023   B190     4.30   185.00        795.50 Download 04-24-23
                                                             Production
                                                             Compilation from
                                                             Reynal Law's online
                                                             repository and
                                                             prepare for attorney
                                                             privilege and
                                                             production review.
CWS        05/02/2023   B190     0.30   715.00        214.50 Draft correspondence
                                                             regarding pro hac
                                                             orders.
CWS        05/02/2023   B120     1.50   715.00       1072.50 Review and analyze
                                                             research regarding
                                                             potential assets (.8);
                                                             draft related
                                                             correspondence (.7).
CWS        05/02/2023   B110     0.70   715.00        500.50 Call regarding case
                                                             status update (.4);
                                                             draft and review
                                                             related
                                                             correspondence (.3).
AMF        05/03/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             May 1 Monday (4.0);
                                                             summarize statements
                                                             made related to case
                                                             (.1).
AMF        05/03/2023   B195     3.50   305.00       1067.50 Travel to Austin to
                                                             meet with client (7 hrs
                                                             billed at half time).
RJY        05/03/2023   B190     0.30   340.00        102.00 Attend discovery
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               meeting with
                                                               litigation team.
RJY        05/03/2023   B190     2.10   340.00        714.00 Conduct legal
                                                             research and draft
                                                             outline on scope of
                                                             "actually litigated"
                                                             meaning in collateral
                                                             estoppel cases.
RJY        05/03/2023   B190     0.50   340.00        170.00 Discuss outline and
                                                             scheduling of legal
                                                             issues and briefing
                                                             strategy with
                                                             litigation team.
EEW        05/03/2023   B160     2.30   295.00        678.50 Review invoices
                                                             received from The
                                                             Reynal Law Firm and
                                                             Chris Martin's law
                                                             firm (.3); review
                                                             interim compensation
                                                             order and applications
                                                             to employ each firm
                                                             (.5); draft first interim
                                                             fee application for
                                                             The Reynal Law Firm
                                                             (1.5).
RJY        05/03/2023   B190     1.10   340.00        374.00 Review deposition
                                                             transcripts for use in
                                                             response in
                                                             opposition to
                                                             summary judgment.
RJY        05/03/2023   B190     2.20 340.00          748.00 Read case law on
                                                             dischargeability in
                                                             bankruptcy and full
                                                             faith and credit.
AMF        05/03/2023   B120     0.10   305.00         30.50 Request JSG final
                                                             invoice.
JHY        05/03/2023   B190     5.50   286.58       1576.21 Draft and revise
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Answer to the
                                                               Adversarial
                                                               Complaint of the
                                                               Connecticut tort
                                                               claimants (0.5);
                                                               analyze and review
                                                               trial transcripts of
                                                               Connecticut state
                                                               court case to verify
                                                               pleading propositions
                                                               and to determine
                                                               pleadings admissions
                                                               and denials (4);
                                                               review and conduct
                                                               final proofs of
                                                               Answer to the
                                                               Connecticut tort
                                                               claimants'
                                                               Adversarial
                                                               Complaint (0.5);
                                                               conference regarding
                                                               dischargeability
                                                               issues in Texas and
                                                               Connecticut
                                                               adversarial
                                                               proceedings (0.5).
DJM        05/03/2023   B190     1.30   310.00        403.00 Develop strategy for
                                                             motion for summary
                                                             judgment briefing.
DJM        05/03/2023   B190     0.50   310.00        155.00 Review and analyze
                                                             case law for summary
                                                             judgment response.
DJM        05/03/2023   B190     4.10   310.00       1271.00 Revise answer to
                                                             incorporate edits from
                                                             litigation team.
JHY        05/03/2023   B190     0.70   286.60        200.62 Conference regarding
                                                             UCC request for
                                                             extensive document
                                                             production.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
CCC        05/03/2023   B190     3.40   290.00        986.00 Revise answers on
                                                             behalf of Debtor to
                                                             the adversary
                                                             proceeding
                                                             complaints filed by
                                                             the Texas and
                                                             Connecticut
                                                             state-court claimants.
LGD        05/03/2023   B190     1.10   185.00        203.50 Continue Download
                                                             04-24-23 Production
                                                             Compilation from
                                                             Fertitta Reynal Law's
                                                             online repository and
                                                             prepare for attorney
                                                             privilege and
                                                             production review.
VLD        05/03/2023   B195     1.30   795.00       1033.50 Dallas to Austin (2.6)
                                                             billed at half.
VLD        05/03/2023   B210     8.40   795.00       6678.00 Working meeting on
                                                             budget analysis, cuts,
                                                             and prepare for
                                                             meeting with client
                                                             (1.5); meeting with
                                                             client and spouse to
                                                             discuss budget cuts
                                                             (2.5); calls with client
                                                             on budget cut meeting
                                                             agenda (1.8); analyze
                                                             issues with ESG and
                                                             FSS and analyze
                                                             potential resolution
                                                             (1.1); analyze issues
                                                             with Sub V position
                                                             on ownership of
                                                             crypto and send
                                                             settlement offer to
                                                             Trustee counsel (1.5).
VLD        05/03/2023   B190     0.30   795.00        238.50 Correspondence with
                                                             mediator (.1); review
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               status conference
                                                               notice and service list
                                                               issues (.2).
CWS        05/03/2023   B320     4.90   715.00       3503.50 Draft and revise plan
                                                             and disclosure
                                                             statement (3.8); draft
                                                             related
                                                             correspondence (1.1).
CWS        05/03/2023   B190     1.50   715.00       1072.50 Review and respond
                                                             to correspondence
                                                             regarding CT Answer
                                                             (.3); analyze issues
                                                             regarding same (1.2).
CWS        05/03/2023   B160     0.80   715.00        572.00 Perform analysis and
                                                             draft correspondence
                                                             regarding interim
                                                             compensation
                                                             matters.
RJY        05/04/2023   B190     4.10   340.00       1394.00 Continue to read case
                                                             law on First
                                                             Amendment defenses
                                                             to tort liability.
MAF        05/04/2023   B190     0.20   250.00         50.00 Conference regarding
                                                             review of documents
                                                             in anticipation of
                                                             production.
MAF        05/04/2023   B190     0.80   250.00        200.00 Conference regarding
                                                             documents/videos to
                                                             be reviewed,
                                                             assignment ranges,
                                                             and functionality of
                                                             software.
RJY        05/04/2023   B190     2.50   340.00        850.00 Outline legal standard
                                                             of First Amendment
                                                             bar on tort liability for
                                                             protected speech.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
RJY        05/04/2023   B190     1.10   340.00        374.00 Edit introduction to
                                                             summary judgment
                                                             response.
AMF        05/04/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             May 2 Tuesday (4.0);
                                                             summarize statements
                                                             made related to case
                                                             (.1).
AMF        05/04/2023   B110     6.70   305.00       2043.50 Search for responsive
                                                             communications and
                                                             documents on client's
                                                             work computer and
                                                             personal cell phone
                                                             (6.0); communicate
                                                             with FSS tech support
                                                             to coordinate data
                                                             collection on
                                                             damaged phone (.2)
                                                             and access to emails
                                                             (.2) and work
                                                             computer (.3).
CCC        05/04/2023   B190     1.00   290.00        290.00 Review and analyze
                                                             extensive client
                                                             documents in
                                                             response to requests
                                                             by UCC.
CCC        05/04/2023   B190     1.30   290.00        377.00 Draft answers on
                                                             behalf of Debtor to
                                                             the adversary
                                                             proceeding
                                                             complaints filed by
                                                             the Texas and
                                                             Connecticut
                                                             state-court claimants.
CCC        05/04/2023   B190     1.40   290.00        406.00 Develop strategy for
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               producing documents
                                                               in response to
                                                               requests by UCC.
DJM        05/04/2023   B190     7.50   310.00       2325.00 Draft and revise
                                                             answers to Texas and
                                                             Connecticut plaintiffs'
                                                             adversary complaints.
JHY        05/04/2023   B190     1.70   286.59        487.20 Conference regarding
                                                             UCC request for
                                                             extensive document
                                                             production and
                                                             review protocols in
                                                             preparation for
                                                             production (0.5);
                                                             analyze and review
                                                             extensive client
                                                             documents in
                                                             preparation for UCC
                                                             request for document
                                                             production (1.2).
JHY        05/04/2023   B190     5.00   286.58       1432.91 Draft and revise
                                                             Answer to the
                                                             Adversarial
                                                             Complaint of the
                                                             Connecticut tort
                                                             claimants (0.6);
                                                             analyze and review
                                                             trial transcripts of
                                                             Connecticut state
                                                             court case to verify
                                                             pleading propositions
                                                             and to determine
                                                             pleadings admissions
                                                             and denials (2.9);
                                                             review and conduct
                                                             final proofs of
                                                             Answer to the
                                                             Connecticut tort
                                                             claimants'
                                                             Adversarial
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Complaint (1.5).
LGD        05/04/2023   B190     0.30   185.00         55.50 Apply redactions to
                                                             2018 AEJ 2018 Trust
                                                             Security Bank
                                                             Statements in
                                                             preparation of
                                                             production.
EEW        05/04/2023   B190     0.40   295.00        118.00 Everlaw search for
                                                             the names of all
                                                             children (.3); review
                                                             and revise names &
                                                             addresses list for
                                                             document review (.1).
EEW        05/04/2023   B190     0.50   295.00        147.50 Teams call regarding
                                                             production due
                                                             05-19-2023.
EEW        05/04/2023   B160     1.50   295.00        442.50 Review monthly fee
                                                             applications and
                                                             prepare initial draft of
                                                             first interim fee
                                                             application for Crowe
                                                             & Dunlevy.
VLD        05/04/2023   B190     3.90   795.00       3100.50 Work to gain history
                                                             and access to phone
                                                             data and computer in
                                                             office (1.2); review
                                                             documents in
                                                             dropbox and process
                                                             for production (1.3);
                                                             review documents for
                                                             production (1.4).
VLD        05/04/2023   B185     1.90   795.00       1510.50 Meeting with client to
                                                             discuss ESG
                                                             outstanding issues
                                                             (.9); Review and send
                                                             transfer of ownership
                                                             to J. Delassio (.3);
                                                             analyze information
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               needed to resolve
                                                               ESG issues (.7).
VLD        05/04/2023   B120     1.30   795.00       1033.50 Review and analyze
                                                             administrative
                                                             expense claim AJ has
                                                             against FSS for
                                                             post-petition salary
                                                             reduction.
CWS        05/04/2023   B120     1.60   715.00       1144.00 Review and respond
                                                             to correspondence
                                                             regarding turnover of
                                                             potential assets (.8);
                                                             review and respond to
                                                             correspondence
                                                             regarding contract for
                                                             product sales (.8).
CWS        05/04/2023   B190     7.20   715.00       5148.00 Review and analyze
                                                             Answer to TX
                                                             Dischargeability
                                                             Complaint (2.5);
                                                             review and analyze
                                                             Answer to CT
                                                             Dischargeability
                                                             Complaint (3.6); draft
                                                             related
                                                             correspondence (1.1).
AMF        05/05/2023   B195     2.00   305.00        610.00 Travel back from
                                                             Austin (4 hrs billed at
                                                             half time).
AMF        05/05/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             May 3 Wednesday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.1).
MAF        05/05/2023   B190     0.40   250.00        100.00 Review previously
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               produced documents
                                                               in preparation of
                                                               production.
EEW        05/05/2023   B190     1.30   295.00        383.50 Revise and finalize
                                                             answer to plaintiff's
                                                             complaint in both
                                                             adversary
                                                             proceedings (.7);
                                                             search case docket
                                                             and law firm websites
                                                             to locate email
                                                             addresses for notice
                                                             parties and coordinate
                                                             service via electronic
                                                             mail to parties in
                                                             interest (6).
EEW        05/05/2023   B160     1.50 295.00          442.50 Draft first interim fee
                                                             application for
                                                             Martin, Disiere,
                                                             Jefferson & Wisdom
                                                             firm (1.5).
EEW        05/05/2023   B110     0.10 295.00           29.50 Review media inquiry
                                                             received via email
                                                             from Bloomberg
                                                             regarding the FSS
                                                             case.
RJY        05/05/2023   B190     0.40   340.00        136.00 Review draft answer
                                                             to adversarial
                                                             proceeding
                                                             complaint.
RJY        05/05/2023   B190     0.80   340.00        272.00 Discuss and advise on
                                                             affirmative defenses
                                                             in response to
                                                             complaint.
AMF        05/05/2023   B110     2.60   305.00        793.00 Transfer, organize,
                                                             and review
                                                             responsive
                                                             communications from
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               client's phone and
                                                               work computer into
                                                               dropbox (.8); Upload
                                                               responsive
                                                               communications into
                                                               otterai (transcription
                                                               service) (1.8).
CCC        05/05/2023   B190     0.70   290.00        203.00 Review and analyze
                                                             extensive client
                                                             documents in
                                                             response to requests
                                                             by UCC.
JCD        05/05/2023   B190     4.30   475.00       2042.50 Continued review of
                                                             the trial testimony
                                                             from the Connecticut
                                                             trial to gather
                                                             information
                                                             potentially useful for
                                                             defense of the
                                                             non-dischargeability
                                                             claim.
JCD        05/05/2023   B190     3.80   475.00       1805.00 Reviewing trial
                                                             transcripts from the
                                                             Texas litigation and
                                                             trial for testimony
                                                             useful for defense of
                                                             the non-dischargeable
                                                             claim.
CCC        05/05/2023   B190     2.60   290.00        754.00 Draft answers on
                                                             behalf of Debtor to
                                                             the adversary
                                                             proceeding
                                                             complaints filed by
                                                             the Texas and
                                                             Connecticut
                                                             state-court claimants.
DJM        05/05/2023   B190     4.50   310.00       1395.00 Draft and revise
                                                             answers to Texas and
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Connecticut plaintiffs'
                                                               complaints and
                                                               prepare answers for
                                                               filing.
JHY        05/05/2023   B190     3.50   286.58       1003.04 Revise Answer to the
                                                             Adversarial
                                                             Complaint of the
                                                             Connecticut tort
                                                             claimants (.5);
                                                             analyze and review
                                                             trial transcripts of
                                                             Connecticut state
                                                             court case to verify
                                                             pleading propositions
                                                             and to determine
                                                             pleadings admissions
                                                             and denials (2.0);
                                                             review and conduct
                                                             final proofs of
                                                             Answer to the Texas
                                                             tort claimants'
                                                             Adversarial
                                                             Complaint (1.0).
EEW        05/05/2023   B190     0.80   295.00        236.00 Review stipulation
                                                             and agreed order
                                                             regarding scheduling
                                                             for answer in each
                                                             adversary case and
                                                             docket dates and
                                                             deadlines for same.
VLD        05/05/2023   B195     1.30   795.00       1033.50 Travel to Austin to
                                                             Dallas (2.6) billed at
                                                             half (1.3).
VLD        05/05/2023   B210     0.80   795.00        636.00 Review and analyze
                                                             FSS sales
                                                             reconciliation and
                                                             Platinum funds.
CWS        05/05/2023   B190     2.80   715.00       2002.00 Review final drafts of
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Answers to
                                                               Adversary complaints
                                                               (1.7); review and
                                                               respond to related
                                                               correspondence (1.1).
CWS        05/05/2023   B160     1.60   715.00       1144.00 Review and respond
                                                             to inquiries regarding
                                                             fee applications.
AMF        05/06/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             May 4 Thursday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.1).
RJY        05/06/2023   B190     1.30   340.00        442.00 Outline summary of
                                                             issues to address in
                                                             both substantive and
                                                             procedural due
                                                             process arguments.
AMF        05/07/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             May 5 Friday (4.0);
                                                             summarize statements
                                                             made related to case
                                                             (.1).
RJY        05/08/2023   B190     2.50   340.00        850.00 Continue to research
                                                             issues and read case
                                                             law related to First
                                                             Amendment and
                                                             Fourteenth
                                                             Amendment as
                                                             related to offensive
                                                             collateral estoppel on
                                                             a default judgment.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
RJY        05/08/2023   B190     1.30   340.00        442.00 Conduct legal
                                                             research on
                                                             exceptions to full
                                                             faith and credit.
CGC        05/08/2023   B210     0.30   265.00         79.50 Review proposed
                                                             change to
                                                             employment
                                                             agreement.
AMF        05/08/2023   B190     0.50   305.00        152.50 Draft correspondence
                                                             regarding document
                                                             production.
CCC        05/08/2023   B190     0.20   290.00         58.00 Review and analyze
                                                             extensive client
                                                             documents in
                                                             response to requests
                                                             by UCC.
VLD        05/08/2023   B210     6.70   795.00       5326.50 Call with client
                                                             discussing budget
                                                             items, employment
                                                             agreement, and
                                                             related income and
                                                             expense issues (1.1);
                                                             review and revise
                                                             employment
                                                             agreement and
                                                             circulate it for further
                                                             comment and review
                                                             (1.2); call with
                                                             counsel for FSS
                                                             reviewing initial
                                                             comments to
                                                             employment
                                                             agreement and related
                                                             issues (.9); review
                                                             budget and send to
                                                             UCC for call (.4); call
                                                             with UCC on budget
                                                             and changes from
                                                             petition date and
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               future changes
                                                               planned (1.3); review
                                                               gift support for UCC
                                                               (.3); review emails
                                                               from UCC on
                                                               discovery issues and
                                                               detail response to
                                                               same (.9); emails in
                                                               advance of call
                                                               regarding budget
                                                               review (.4); emails
                                                               with S. Jordan on
                                                               Platinum,
                                                               employment
                                                               agreement and related
                                                               issues (.2); email to
                                                               FSS counsel on status
                                                               of issues with ESG
                                                               and potential
                                                               resolution of same
                                                               (.2); emails with
                                                               document reviewers
                                                               on correspondents list
                                                               from UCC and issues
                                                               on same (.4).
VLD        05/08/2023   B190     1.60   795.00       1272.00 Review and analyze
                                                             initial offer from
                                                             plaintiffs in mediation
                                                             (1.2); discuss with
                                                             Blackbriar strategy on
                                                             response (.4).
VLD        05/08/2023   B110     0.20   795.00        159.00 Emails on service list
                                                             for status conference.
CGB        05/08/2023   B120     0.30   225.00         67.50 Conference regarding
                                                             cell phone records
                                                             and production issues.
DJM        05/08/2023   B190     2.10   310.00        651.00 Review and analyze
                                                             case law for summary
                                                             judgment response.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
LGD        05/08/2023   B190     0.40   185.00         74.00 Receive 05-04-23
                                                             phone and computer
                                                             discovery and prepare
                                                             for attorney review.
EEW        05/08/2023   B190     2.50   295.00        737.50 Continued electronic
                                                             case file management
                                                             of Elizabeth Freeman
                                                             files.
AMF        05/09/2023   B210     2.10   305.00        640.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             May 7 Sunday (2.0);
                                                             summarize statements
                                                             made related to case
                                                             (.1).
AMF        05/09/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             May 8 Monday (4.0);
                                                             summarize statements
                                                             made related to case
                                                             (.1).
CCC        05/09/2023   B190     0.10   290.00         29.00 Review and analyze
                                                             extensive client
                                                             documents in
                                                             response to requests
                                                             by UCC.
VLD        05/09/2023   B120     0.60   795.00        477.00 Emails with tax
                                                             protestor on title of
                                                             homestead, trust,
                                                             transfer to spouse,
                                                             and related matters.
VLD        05/09/2023   B185     1.10   795.00        874.50 Review lengthy email
                                                             from K. Porter on
                                                             ESG issues and draft
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               response to same.
VLD        05/09/2023   B140     1.80   795.00       1431.00 Review and begin
                                                             revision of 9019
                                                             motion (.9); analyze
                                                             issues being resolved
                                                             (.5); email TX
                                                             plaintiff counsel
                                                             seeking clarity on
                                                             issues resolved and
                                                             procedural posture for
                                                             approval (.4).
VLD        05/09/2023   B190     2.30   795.00       1828.50 Review Settlement
                                                             offer and draft
                                                             response points (1.1);
                                                             call with FSS
                                                             regarding settlement
                                                             and potential
                                                             response (.8); analyze
                                                             points for response
                                                             (.4).
VLD        05/09/2023   B210     0.60   795.00        477.00    Analyze employment
                                                               contract provisions
                                                               and revise certain
                                                               provisions.
RJY        05/09/2023   B190     2.90   340.00        986.00 Continue to develop
                                                             legal arguments and
                                                             conduct legal
                                                             research on various
                                                             issues related to
                                                             anticipated summary
                                                             judgment motion.
DJM        05/09/2023   B190     4.90   310.00       1519.00 Document review in
                                                             response to requests
                                                             by UCC.
CWS        05/09/2023   B190     1.70   715.00       1215.50 Review and respond
                                                             to correspondence
                                                             regarding potential
                                                             settlement matters.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
CWS        05/09/2023   B320     1.60   715.00       1144.00 Review and respond
                                                             to correspondence
                                                             regarding Plan and
                                                             Disclosure Statement.
EEW        05/09/2023   B190     2.00   295.00        590.00 ECF case file
                                                             management of
                                                             Elizabeth Freeman
                                                             documents.
AMF        05/10/2023   B110     0.40   305.00        122.00 Correspondence
                                                             regarding correcting,
                                                             labeling, and
                                                             organizing
                                                             transcriptions for
                                                             future document
                                                             production
                                                             (responsive to 2004s)
                                                             (.2); instruct paralegal
                                                             re: production of
                                                             phone items (.2).
RJY        05/10/2023   B190     0.50   340.00        170.00 Coordinate with
                                                             Deric J. McClellan
                                                             regarding various
                                                             legal issues and
                                                             research assignments.
RJY        05/10/2023   B190     1.10   340.00        374.00 Review and revise
                                                             outline and collected
                                                             research on
                                                             Connecticut collateral
                                                             estoppel law.
RJY        05/10/2023   B190     2.90   340.00        986.00 Conduct legal
                                                             research and draft
                                                             legal opinion full faith
                                                             and credit exceptions.
RJY        05/10/2023   B190     1.80   340.00        612.00 Conduct legal
                                                             research on
                                                             Connecticut law
                                                             pertaining to legal
                                                             standards for
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               defamation.
AMF        05/10/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             May 9 Tuesday (4.0);
                                                             summarize statements
                                                             made related to case
                                                             (.1).
MAF        05/10/2023   B190     2.30   250.00        575.00 Continue reviewing
                                                             previously produced
                                                             documents while
                                                             simultaneously
                                                             redacting privileged
                                                             information in
                                                             anticipation of
                                                             production in
                                                             response to requests
                                                             by UCC.
CGB        05/10/2023   B120     4.80   225.00       1080.00 Review and analyze
                                                             64 voice notes from
                                                             Alex Jones' cell
                                                             phone.
AWC        05/10/2023   B210     0.80 440.00          352.00 Review new proposed
                                                             "rural clause"
                                                             language for
                                                             employment
                                                             agreement.
CCC        05/10/2023   B190     0.30   290.00         87.00 Review and analyze
                                                             state court records
                                                             received in the Estate
                                                             of Fontaine action in
                                                             support of drafting
                                                             Response to
                                                             anticipated motion for
                                                             summary judgment
                                                             by the Estate of
                                                             Fontaine.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
DJM        05/10/2023   B190     4.10   310.00       1271.00 Document review in
                                                             response to requests
                                                             by UCC.
DJM        05/10/2023   B190     2.90   310.00        899.00 Review and analyze
                                                             case law for summary
                                                             judgment response.
LGD        05/10/2023   B190     0.70   185.00        129.50 Prepare index related
                                                             to bank account
                                                             statements and
                                                             Dropbox.
EEW        05/10/2023   B160     1.00   295.00        295.00 Draft proposed order
                                                             to first interim fee
                                                             application (.4);
                                                             compile initial draft
                                                             of the first interim fee
                                                             application for Crowe
                                                             & Dunlevy, along
                                                             with all supporting
                                                             documents and
                                                             circulate to team (.5).
EEW        05/10/2023   B190     2.00   295.00        590.00 Investigate list of
                                                             bank accounts
                                                             received from the
                                                             UCC to determine if
                                                             we have copies of the
                                                             statements for those
                                                             accounts and if
                                                             they've been
                                                             produced.
JHY        05/10/2023   B160     0.40   286.58        114.63 Analyze and review
                                                             issues regarding First
                                                             Interim Fee
                                                             Application.
JHY        05/10/2023   B190     3.40   286.58        974.38 Analyze and review
                                                             extensive client
                                                             documents in
                                                             preparation for UCC
                                                             request for
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               production.
VLD        05/10/2023   B190     2.20   795.00       1749.00 Review certain 2004
                                                             requests and
                                                             examinations set and
                                                             need for cross
                                                             noticing (.8); draft
                                                             detailed response on
                                                             inquiries on assets
                                                             listed in prenuptial
                                                             agreement 5 years
                                                             before BK filing and
                                                             the year prior to tort
                                                             claims being filed
                                                             (1.1); emails to
                                                             counsel for Cicack in
                                                             advance of 2004
                                                             exam (.3).
VLD        05/10/2023   B160     0.40   795.00        318.00 Email with Norm
                                                             regarding refund of
                                                             money from
                                                             GiveSendGo over flat
                                                             fee charged for CT
                                                             appeal (.2): email
                                                             with co-counsel
                                                             regarding eliminating
                                                             double billing for
                                                             matters (.2).
VLD        05/10/2023   B185     0.40   795.00        318.00 Review response to
                                                             motion to reject ESG
                                                             contracts from
                                                             Committee and
                                                             analyze response of
                                                             same.
VLD        05/10/2023   B140     0.20   795.00        159.00 Send email to counsel
                                                             for lessor regarding
                                                             Tahoe and imposition
                                                             of stay due to
                                                             possession by debtor
                                                             and seeking account
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               statement on overdue
                                                               amounts.
VLD        05/10/2023   B110     1.60   795.00       1272.00 Review topics to
                                                             discuss with client
                                                             from co-counsel (.7);
                                                             call with client on
                                                             general status of case
                                                             (.9).
VLD        05/10/2023   B240     0.40   795.00        318.00 Correspondence with
                                                             property tax reduction
                                                             specialist on
                                                             homestead.
CWS        05/10/2023   B190     0.40   715.00        286.00 Review 2004 Exam
                                                             Notice for Cisak and
                                                             draft related
                                                             correspondence.
CWS        05/10/2023   B190     2.90   715.00       2073.50 Correspondence with
                                                             UCC regarding Status
                                                             call (.2); review UCC
                                                             correspondence
                                                             regarding assets and
                                                             draft related
                                                             correspondence (.7);
                                                             conference regarding
                                                             discovery issues
                                                             (1.7); review UCC
                                                             joinder (.3).
CWS        05/10/2023   B160     0.30 715.00          214.50 Review UCC Fee
                                                             summary.
CWS        05/10/2023   B120     1.20   715.00        858.00 Perform research
                                                             regarding turnover
                                                             letter.
AMF        05/11/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             May 10 Wednesday
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               (4.0); summarize
                                                               statements made
                                                               related to case (.1).
EEW        05/11/2023   B190     1.00   295.00        295.00 Review case dockets
                                                             for both the AEJ and
                                                             FSS cases (.4);
                                                             download and review
                                                             all Rule 2004 notices
                                                             filed by the UCC.
RJY        05/11/2023   B190     2.00   340.00        680.00 Continue to research
                                                             actually litigated
                                                             issue.
RJY        05/11/2023   B190     2.30   340.00        782.00 Review record in
                                                             Connecticut trial
                                                             court.
RJY        05/11/2023   B190     0.60   340.00        204.00 Review complaints in
                                                             Connecticut case.
MAF        05/11/2023   B190     2.20   250.00        550.00 Continue reviewing
                                                             previously produced
                                                             documents while
                                                             simultaneously
                                                             redacting privileged
                                                             information in
                                                             anticipation of
                                                             production in
                                                             response to requests
                                                             by UCC.
CGB        05/11/2023   B190     3.10   225.00        697.50 Review and edit 48
                                                             voice notes from Alex
                                                             Jones' cell phone.
AWC        05/11/2023   B210     0.20   440.00         88.00 Correspondence
                                                             regarding deferred
                                                             compensation plan
                                                             for employment
                                                             agreement.
CCC        05/11/2023   B190     2.50   290.00        725.00 Review and analyze
                                                             extensive client
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               documents in
                                                               response to requests
                                                               by UCC.
DJM        05/11/2023   B190     3.10   310.00        961.00 Document review in
                                                             response to requests
                                                             by UCC.
DJM        05/11/2023   B190     2.10   310.00        651.00 Review and analyze
                                                             case law for summary
                                                             judgment response.
LGD        05/11/2023   B190     1.40   185.00        259.00 Continue to prepare
                                                             index related to bank
                                                             account statements
                                                             and Dropbox.
JHY        05/11/2023   B190     3.40   286.58        974.38 Analyze and review
                                                             extensive client
                                                             documents in
                                                             preparation for
                                                             response to UCC
                                                             request for
                                                             production.
VLD        05/11/2023   B110     0.80   795.00        636.00 Call with client on
                                                             general case status.
CWS        05/11/2023   B190     1.10 715.00          786.50 Review UCC's Notice
                                                             of 2004 Exam of
                                                             Carol Jones and
                                                             David Jones.
EEW        05/11/2023   B110     0.20   295.00         59.00 Review notice of
                                                             status conference on
                                                             agreement on
                                                             allocation of future
                                                             website crypto
                                                             domain and docket
                                                             same.
RJY        05/12/2023   B190     1.70   340.00        578.00 Review and organize
                                                             legal research in
                                                             preparation for
                                                             summary judgment
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               motion.
RJY        05/12/2023   B190     1.10   340.00        374.00 List issues with
                                                             quality of CUPTA
                                                             opinion.
RJY        05/12/2023   B190     1.20   340.00        408.00 Identify gaps in legal
                                                             research needed to
                                                             respond to summary
                                                             judgment.
RJY        05/12/2023   B190     0.90   340.00        306.00 Identify needed
                                                             record evidence to
                                                             respond to summary
                                                             judgment.
RJY        05/12/2023   B190     2.40   340.00        816.00 Outline legal
                                                             positions on full faith
                                                             and credit, first
                                                             amendment,
                                                             procedural and
                                                             substantive due
                                                             process, punitive
                                                             damages, elements of
                                                             defamation and
                                                             infliction of
                                                             emotional distress,
                                                             elements of collateral
                                                             estoppel, and balance
                                                             of public policy.
CGB        05/12/2023   B190     1.80   225.00        405.00 Review and edit 34
                                                             voice notes from
                                                             Debtor's cell phone.
AMF        05/12/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             May 11 Thursday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.1).
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
CCC        05/12/2023   B190     6.50   290.00       1885.00 Review and analyze
                                                             extensive client
                                                             documents in
                                                             response to requests
                                                             by UCC.
CCC        05/12/2023   B150     0.60   290.00        174.00 Review and analyze
                                                             demand from UCC
                                                             regarding alleged
                                                             fraudulent transfers
                                                             (.3); draft response to
                                                             same (.2).
DJM        05/12/2023   B190     4.10   310.00       1271.00 Document review in
                                                             response to requests
                                                             by UCC.
JHY        05/12/2023   B190     0.90   286.58        257.92 Conference with
                                                             client regarding case
                                                             status update,
                                                             strategy, and
                                                             settlement analysis.
VLD        05/12/2023   B190     0.70   795.00        556.50 Review and analyze
                                                             crypto resolution (.3);
                                                             review requests from
                                                             UCC and respond to
                                                             same seeking high
                                                             level call to discuss
                                                             direction of case (.4).
VLD        05/12/2023   B110     0.70   795.00        556.50 Call with client
                                                             discussing general
                                                             case strategy.
VLD        05/12/2023   B210     0.80   795.00        636.00 Review comments
                                                             and revise
                                                             Employment
                                                             agreement and send to
                                                             counsel for FSS for
                                                             final review and
                                                             approval (.4); call
                                                             with FSS counsel on
                                                             status of FSS
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               operations and
                                                               employment
                                                               agreement approval
                                                               (.4).
VLD        05/12/2023   B185     0.60   795.00        477.00 Call with client
                                                             discussing resolution
                                                             to ESG issues.
CWS        05/12/2023   B190     0.50   715.00        357.50 Prepare for and attend
                                                             UCC call.
CWS        05/12/2023   B190     1.40   715.00       1001.00 Conference and
                                                             correspondence
                                                             regarding UCC
                                                             requests.
CWS        05/12/2023   B190     1.50   715.00       1072.50 Review and analyze
                                                             UCC correspondence
                                                             from D. Zensky (.8);
                                                             draft related
                                                             correspondence (.7).
RJY        05/13/2023   B190     1.50   340.00        510.00 Continue to develop
                                                             CUPTA arguments.
RJY        05/13/2023   B190     1.10   340.00        374.00 Continue to develop
                                                             response to offensive
                                                             collateral estoppel.
RJY        05/13/2023   B190     1.20   340.00        408.00 Formulate argument
                                                             on public policy
                                                             balancing in applying
                                                             collateral estoppel.
AMF        05/13/2023   B210     4.20   305.00       1281.00 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             May 12 Friday (4.0);
                                                             summarize statements
                                                             made related to case
                                                             (.2).
DJM        05/13/2023   B190     4.20   310.00       1302.00 Review and analyze
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               summary judgment
                                                               motion filed by
                                                               Connecticut
                                                               plaintiffs.
VLD        05/13/2023   B210     1.60   795.00       1272.00 Call with client on
                                                             business operations
                                                             and developments
                                                             (1.3); follow up from
                                                             call with client on
                                                             business issues (.3).
VLD        05/13/2023   B190     2.10 795.00         1669.50 Preparation for call on
                                                             case settlement
                                                             strategy and
                                                             settlement offer from
                                                             tort claimants (.5);
                                                             call with client on
                                                             same (1.1);
                                                             correspondence with
                                                             attorneys on
                                                             attendance at Cicack
                                                             examination and
                                                             topics of same (.5).
CGC        05/14/2023   B120     0.10   265.00         26.50 Review email
                                                             outlining tax issues in
                                                             employment
                                                             agreement from
                                                             Jordan K. Field.
JKF        05/14/2023   B240     3.60   435.00       1566.00 Review draft
                                                             executive
                                                             employment
                                                             agreement (2.0);
                                                             analysis of tax and
                                                             ERISA issues (.6);
                                                             extensive email
                                                             correspondence
                                                             regarding same (1.0).
VLD        05/14/2023   B190     2.80   795.00       2226.00 Reviewing
                                                             documents produced
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               in advance of
                                                               deposition for Cicak
                                                               (.9); emails
                                                               examining phone
                                                               imaging difficulties
                                                               and process (.2);
                                                               review and respond to
                                                               emails on 2014 Jeep
                                                               inquiry from UCC
                                                               (.3). Review and
                                                               analyze information
                                                               on 2014 jeep transfer
                                                               and consideration in
                                                               response to UCC
                                                               inquiry (.3); review
                                                               text messages in
                                                               advance of Cicack
                                                               2004 examination
                                                               (1.1).
RJY        05/15/2023   B190     2.40   340.00        816.00 Read and analyze
                                                             summary judgment
                                                             brief.
CGB        05/15/2023   B190     2.30   225.00        517.50 Review and analyze
                                                             voice notes from Alex
                                                             Jones' cell phone.
CGC        05/15/2023   B210     0.10   265.00         26.50 Review emails
                                                             regarding tax issues in
                                                             employment
                                                             agreement.
RJY        05/15/2023   B190     2.20   340.00        748.00 Review summary
                                                             judgment motion and
                                                             cite check
                                                             outstanding cases that
                                                             appear therein.
RJY        05/15/2023   B190     1.20   340.00        408.00 Formulate responses
                                                             to summary judgment
                                                             arguments.
JCD        05/15/2023   B190     3.50   475.00       1662.50 Review and study of
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Conn Plaintiffs'
                                                               Motion for Summary
                                                               Judgment, Brief in
                                                               Support, and exhibits
                                                               (2.5); begin helping to
                                                               prepare a response
                                                               (1.0).
JCD        05/15/2023   B190     3.50   475.00       1662.50 Review of Motion for
                                                             Summary Judgment
                                                             and Brief in Support
                                                             filed by Texas
                                                             plaintiffs (2.5); begin
                                                             working on response
                                                             (1.0).
AMF        05/15/2023   B210     2.10   305.00        640.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             May 14 Sunday (2.0);
                                                             summarize statements
                                                             made related to case
                                                             (.1).
AMF        05/15/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             May 15 Monday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.1).
CCC        05/15/2023   B190     1.40   290.00        406.00 Attend conference
                                                             call with unsecured
                                                             creditors' committee
                                                             regarding settlement
                                                             negotiations (.8);
                                                             develop strategy for
                                                             reaching settlement
                                                             with unsecured
                                                             creditors based on
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               outcome of meeting
                                                               (.6).
CCC        05/15/2023   B190     2.80     0.00           0.00 Review and analyze
                                                              motions for summary
                                                              judgment, statements
                                                              of undisputed facts,
                                                              and declarations filed
                                                              by Plaintiffs in both
                                                              adversary
                                                              proceedings (2.0);
                                                              develop strategy for
                                                              drafting responses to
                                                              same (.8). [NO
                                                              CHARGE]
CCC        05/15/2023   B190     1.00   290.00        290.00 Review and analyze
                                                             requests for
                                                             documents by
                                                             unsecured creditors
                                                             (.5); develop strategy
                                                             for responding to said
                                                             requests (.5).
DJM        05/15/2023   B190     1.60   310.00        496.00 Review and analyze
                                                             summary judgment
                                                             motion filed by
                                                             Connecticut
                                                             plaintiffs.
JKF        05/15/2023   B240     2.70   435.00       1174.50 Continue tax analysis
                                                             of executive
                                                             employment
                                                             agreement and
                                                             compensation
                                                             arrangements.
LGD        05/15/2023   B190     0.10   185.00         18.50 Prepare supplemental
                                                             client document
                                                             production.
EEW        05/15/2023   B190     3.80 295.00         1121.00 ECF case
                                                             management of
                                                             motion for summary
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               judgment filed in each
                                                               adversary case, along
                                                               with supporting
                                                               documents and all
                                                               exhibits for same.
JHY        05/15/2023   B190     1.20   286.59        343.91 Conference with
                                                             UCC counsel
                                                             regarding case status,
                                                             financial state of the
                                                             debtor, and settlement
                                                             analysis.
AWC        05/15/2023   B210     0.30   440.00        132.00 Correpsondence
                                                             regarding deferred
                                                             compensation issue
                                                             for draft employment
                                                             agreement.
AWC        05/15/2023   B210     0.30   440.00        132.00 Conference regarding
                                                             409A review and
                                                             deferred
                                                             compensation idea for
                                                             employment
                                                             agreement.
JHY        05/15/2023   B160     2.90     0.00          0.00 Analyze and review
                                                             prior fee applications
                                                             and Order
                                                             Establishing
                                                             Procedures for
                                                             Interim
                                                             Compensation and
                                                             Expenses in
                                                             preparation to draft
                                                             First Interim Fee
                                                             Application (1.7);
                                                             draft and prepare First
                                                             Interim Fee
                                                             Application (1.2).
                                                             [NO CHARGE]
JHY        05/15/2023   B190     2.30   286.59        659.15 Analyze and review
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Motions for Summary
                                                               Judgment filed by
                                                               Texas and
                                                               Connecticut tort
                                                               claimants in
                                                               preparation for
                                                               response brief.
JHY        05/15/2023   B190     2.90   286.58        831.09 Analyze and review
                                                             docket for 2004
                                                             Examination to
                                                             determine the
                                                             necessity of
                                                             cross-notices filed on
                                                             behalf of the debtor
                                                             (0.8); analyze and
                                                             review local rules
                                                             regarding Rule 2004
                                                             examinations (0.2)
                                                             draft and revise
                                                             Cross-Notice of Rule
                                                             2004 Subpoena to
                                                             Testify at a
                                                             Deposition of Charlie
                                                             Cicack for both FSS
                                                             and Alex Jones
                                                             bankruptcy
                                                             proceedings (1.9).
VLD        05/15/2023   B190     4.70   795.00       3736.50 Preparation for call
                                                             with UCC and tort
                                                             claimant
                                                             representatives on
                                                             settlement proposal
                                                             analysis (.9); call with
                                                             mediator (.5); discuss
                                                             call with mediator and
                                                             case issues (.9);
                                                             summarize status of
                                                             document production
                                                             for UCC 2004s for
                                                             handling by litigation
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               (.8); emails regarding
                                                               Cicak deposition and
                                                               attendance
                                                               parameters and
                                                               prepare for attending
                                                               deposition (1.2); send
                                                               2014 jeep info from
                                                               purchaser for
                                                               production (.2); work
                                                               on attendance for
                                                               deposition (.2).
VLD        05/15/2023   B160     0.50   795.00        397.50 Review invoices for
                                                             fee application
                                                             preparation.
VLD        05/15/2023   B210     1.90   795.00       1510.50 Call with agent on
                                                             contracts for book
                                                             publication and need
                                                             for review and
                                                             potential BK approval
                                                             (.4); draft disclosure
                                                             to UCC and Sub V
                                                             Trustee on book
                                                             contracts and send to
                                                             same (.7); review and
                                                             analyze information
                                                             from tax counsel on
                                                             employment
                                                             agreement and
                                                             respond to same (.6);
                                                             emails with FSS on
                                                             ATS funds split (.2).
VLD        05/15/2023   B185     0.80 795.00          636.00 Analyze book
                                                             contract and need for
                                                             Bk approval.
VLD        05/15/2023   B110     0.30 795.00          238.50 Emails with UCC on
                                                             extending time to
                                                             object to exemptions.
CWS        05/15/2023   B160     0.30   715.00        214.50 Draft correspondence
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               regarding interim fee
                                                               application.
CWS        05/15/2023   B190     6.80   715.00       4862.00 Initial review of MSJ
                                                             filings.
AMF        05/16/2023   B195     3.30   305.00       1006.50 Flight to Austin to
                                                             meet with client (6.0
                                                             — billed at half time);
                                                             drive to and from
                                                             client's office (.6 —
                                                             billed at half time)
JMS        05/16/2023   B190     0.10   265.00         26.50 Determine
                                                             responsiveness of
                                                             recently produced
                                                             documents to confirm
                                                             production was in
                                                             response to the UCC's
                                                             2004 examination
RJY        05/16/2023   B190     1.00   340.00        340.00 Attend meeting to
                                                             discuss
                                                             dischargeability case
                                                             and response to
                                                             summary judgment
                                                             motion
RJY        05/16/2023   B190     1.40   340.00        476.00 Prepare for and attend
                                                             litigation meeting to
                                                             discuss response to
                                                             summary judgment.
CGB        05/16/2023   B190     1.60   225.00        360.00 Review and analyze
                                                             voice notes from Alex
                                                             Jones' cell phone
AMF        05/16/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             May 16 Tuesday
                                                             (4.0); summarize
                                                             statements made
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               related to case (.1)
VLD        05/16/2023   B190     4.60   795.00       3657.00 Calls with client on
                                                             status of mediation
                                                             and settlement
                                                             strategy (.4); review
                                                             and analyze
                                                             document requests
                                                             and vendor
                                                             instructions on
                                                             electronic data
                                                             gathering (.8); review
                                                             and revise cross
                                                             notice for Cicak
                                                             deposition and
                                                             prepare for filing (.9);
                                                             preparation for Cicak
                                                             deposition (1.2); draft
                                                             email to UCC
                                                             transitioning lead on
                                                             discovery to C. Craig
                                                             (.3); call with TX
                                                             plaintiff discussing
                                                             settlement offer terms
                                                             and potential
                                                             response to same (.7);
                                                             summarize same for
                                                             team (.3).
VLD        05/16/2023   B120     1.40   795.00       1113.00 Coordinating refund
                                                             from Pattis firm to dip
                                                             account (.4); analyze
                                                             Longevity issues and
                                                             need for follow up
                                                             (1.0).
VLD        05/16/2023   B110     0.90   795.00        715.50 Review and revise
                                                             stipulation on
                                                             exemption objection
                                                             (.4); review language
                                                             in stip and approve
                                                             same (.2); review
                                                             initial book contract
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               and send for
                                                               production and
                                                               inclusion in Schedule
                                                               G. (.3)
VLD        05/16/2023   B160     0.60   795.00        477.00 Emails with family
                                                             law firm regarding
                                                             need to employ if
                                                             needing to be
                                                             compensated for
                                                             services during case.
EEW        05/16/2023   B190     4.20   295.00       1239.00 Electronic case file
                                                             management of
                                                             Elizabeth Freemen
                                                             files.
EEW        05/16/2023   B190     3.00   295.00        885.00 Review bank account
                                                             log for document
                                                             production (.3);
                                                             electronic case file
                                                             management of
                                                             filings for AEJ and
                                                             FSS cases, along with
                                                             additional documents
                                                             received from outside
                                                             counsel (2.7).
EEW        05/16/2023   B110     1.80   295.00        531.00 Review business and
                                                             marketing agreement
                                                             (.2); TXSOS search
                                                             and nationwide
                                                             search for corporate
                                                             records regarding GH
                                                             Total Solutions (1.6).
AMF        05/16/2023   B110     6.00   305.00       1830.00    Coordinate data
                                                               collection with
                                                               third-party vendor
                                                               (Digital Mountain)
                                                               (.6); Coordinate data
                                                               collection with FSS
                                                               staff (.9); review data
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               re: UCC 2004
                                                               requests (4.5)
DJM        05/16/2023   B190     3.10   310.00        961.00 Review and analyze
                                                             MSJ brief of Texas
                                                             plaintiffs
DJM        05/16/2023   B190     2.20   310.00        682.00 Review and analyze
                                                             MSJ brief of
                                                             Connecticut plaintiffs
DJM        05/16/2023   B190     0.80   310.00        248.00 Develop strategy and
                                                             action items for MSJ
                                                             responses
CCC        05/16/2023   B190     4.00   290.00       1160.00 Develop strategy for
                                                             addressing UCC's
                                                             requests for document
                                                             production (1.0);
                                                             review and analyze
                                                             client documents for
                                                             privacy and privilege
                                                             issues (1.0); evaluate
                                                             status of document
                                                             acquisition in
                                                             response to UCC's
                                                             requests (1.0);
                                                             exchange
                                                             correspondence with
                                                             UCC regarding
                                                             production by Debtor
                                                             (1.0).
CCC        05/16/2023   B190     1.00   290.00        290.00 Review and analyze
                                                             pleadings from
                                                             underlying state court
                                                             actions to assist in
                                                             drafting response to
                                                             adversary Plaintiffs'
                                                             motions for summary
                                                             judgment
CCC        05/16/2023   B190     0.50     0.00           0.00 Develop strategy for
                                                              drafting responses to
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               adversary plaintiffs'
                                                               motions for summary
                                                               judgment [NO
                                                               CHARGE]
JHY        05/16/2023   B190     0.70   285.00        199.50 Conference regarding
                                                             responses to motions
                                                             for summary
                                                             judgment of
                                                             Connecticut and
                                                             Texas tort-claimants
                                                             for analysis and
                                                             strategy.
JHY        05/16/2023   B190     6.40   285.00       1824.00 Review extensive
                                                             documents in
                                                             preparation for
                                                             production in
                                                             response to UCC's
                                                             Rule 2004
                                                             examination request.
CWS        05/16/2023   B190     2.50   715.00       1787.50 Prepare for and attend
                                                             conference call
                                                             regarding strategy
                                                             and organization of
                                                             response briefing and
                                                             research (1.8);
                                                             conference call
                                                             regarding specific
                                                             case inquiries (.7).
CGB        05/17/2023   B190     2.70   225.00        607.50 Review and analyze
                                                             voice notes and all
                                                             text and memos from
                                                             Alex Jones' cell
                                                             phone (2.0); prepared
                                                             report of same (.7).
CGB        05/17/2023   B190     1.80   225.00        405.00 Finalized review of
                                                             voice text, reviewed
                                                             audio memos, show
                                                             memos and notes
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               from Alex Jones
                                                               phone. Prepare same
                                                               for searching and
                                                               production
AMF        05/17/2023   B195     2.30   305.00        701.50 Flight home from
                                                             Austin, Texas.
                                                             (meeting with client)
                                                             (4.0 — billed at half
                                                             time); drive to and
                                                             from client's office (.6
                                                             — billed at half time)
RJY        05/17/2023   B190     6.10   340.00       2074.00 Write full rough draft
                                                             of First Amendment
                                                             argument
AMF        05/17/2023   B210     1.20   305.00        366.00 Review and analyze
                                                             client's appearance on
                                                             Louder with Crowder
                                                             Ep. 2023 May 15
                                                             Monday (1.1);
                                                             summarize statements
                                                             made related to case
                                                             (.1).
VLD        05/17/2023   B190     8.30   795.00       6598.50 Call with client on
                                                             appeals (.3); research
                                                             and analysis of
                                                             appellate lawyers and
                                                             status (.4); attend
                                                             deposition (7.2);
                                                             emails with counsel
                                                             on appeals and
                                                             deadlines for same.
                                                             (.4)
VLD        05/17/2023   B195     2.30   795.00       1828.50 Travel to LA for
                                                             deposition (billed at
                                                             half time 4.6).
VLD        05/17/2023   B160     0.90   795.00        715.50 Call with potential
                                                             appellate counsel.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
VLD        05/17/2023   B110     1.00   795.00        795.00 Approve stip for
                                                             filing.
VLD        05/17/2023   B120     0.60   795.00        477.00 Emails with literary
                                                             agent on money owed
                                                             under first book deal
                                                             (.4); send emails to
                                                             FAs for inclusion in
                                                             financial statements
                                                             (.2).
VLD        05/17/2023   B210     0.20   795.00        159.00 Sending committee
                                                             employment
                                                             agreement for
                                                             comments.
LGD        05/17/2023   B190     0.10   185.00         18.50 Prepare supplemental
                                                             document production.
AMF        05/17/2023   B110     2.60   305.00        793.00 Meet with client re:
                                                             UCC discovery
                                                             requests (1.5);
                                                             coordinate data
                                                             collection with
                                                             third-party vendor
                                                             (Digital Mountain)
                                                             (.8).
CCC        05/17/2023   B190     2.00     0.00           0.00 Preparation and
                                                              attendance of
                                                              conference call with
                                                              UCC regarding
                                                              outstanding discovery
                                                              issues; review and
                                                              evaluate status of
                                                              document production
                                                              by debtor; develop
                                                              strategy for
                                                              addressing UCC's
                                                              stated concerns on
                                                              document production;
                                                              review and analyze
                                                              proposed documents
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               to produce to UCC to
                                                               evaluate privacy and
                                                               privilege concerns.
                                                               [NO CHARGE]
DJM        05/17/2023   B190     0.60   310.00        186.00 Develop strategy for
                                                             MSJ response.
DJM        05/17/2023   B190     5.10   310.00       1581.00 Review and analyze
                                                             MSJ of Texas
                                                             plaintiffs and
                                                             authorities cited.
JHY        05/17/2023   B190     5.30   285.00       1510.50 Review and analyze
                                                             extensive documents
                                                             in preparation for
                                                             production in
                                                             response to UCC's
                                                             Rule 2004
                                                             examination request.
JHY        05/17/2023   B160     1.30     0.00           0.00 Draft and revise First
                                                              Interim Fee
                                                              Application. [NO
                                                              CHARGE]
CWS        05/17/2023   B210     2.80   715.00       2002.00 Draft Motion to
                                                             Approve
                                                             Employment
                                                             Agreement and
                                                             related
                                                             correspondence.
CWS        05/17/2023   B190     1.30   715.00        929.50 Review and analyze
                                                             discovery related
                                                             correspondence (.8);
                                                             review and respond to
                                                             correspondence
                                                             regarding appellate
                                                             counsel (.5).
CWS        05/17/2023   B210     1.20 715.00          858.00 Review new
                                                             employment
                                                             agreement and related
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               correspondence.
LGD        05/18/2023   B190     0.10   185.00         18.50 Modify production
                                                             prepared 05/16/2023.
AMF        05/18/2023   B210     4.20   305.00       1281.00 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             May 17 Wednesday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.2).
RJY        05/18/2023   B190     2.30   340.00        782.00 Conduct legal
                                                             research and
                                                             coordinate issues and
                                                             tasks regarding
                                                             summary judgment in
                                                             bankruptcy
                                                             proceedings
VLD        05/18/2023   B195     2.60   795.00       2067.00 Travel to Houston
                                                             from LAX. (billed at
                                                             half-time 5.2)
VLD        05/18/2023   B210     1.60 795.00         1272.00 Meeting with
                                                             candidate (1.0); call
                                                             with client on meeting
                                                             (.3); correspondence
                                                             regarding initial work
                                                             (.3).
VLD        05/18/2023   B190     3.60   795.00       2862.00 Emails organizing
                                                             discovery information
                                                             (.4); review and
                                                             respond to emails on
                                                             phone information
                                                             mining and
                                                             third-party contract
                                                             (.9); review email
                                                             from committee on
                                                             budget critique and
                                                             respond briefly to
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               same (.8); perform
                                                               analysis regarding
                                                               budget issues (1.5).
VLD        05/18/2023   B110     2.10   795.00       1669.50 Preparing for status
                                                             conference.
EEW        05/18/2023   B190     5.80   295.00       1711.00 Document review of
                                                             previously produced
                                                             documents in
                                                             preparation of
                                                             production in
                                                             response to requests
                                                             by UCC.
LGD        05/18/2023   B190     2.00   185.00        370.00 Prepare Otterai
                                                             transcripts for
                                                             attorney production
                                                             review.
CCC        05/18/2023   B190     3.00     0.00           0.00 Preparation and
                                                              attendance of
                                                              conference call with
                                                              UCC regarding
                                                              outstanding discovery
                                                              issues; review and
                                                              evaluate status of
                                                              document production
                                                              by debtor; develop
                                                              strategy for
                                                              addressing UCC's
                                                              stated concerns on
                                                              document production;
                                                              exchange
                                                              correspondence with
                                                              UCC regarding
                                                              document production;
                                                              prepare document
                                                              production for UCC
                                                              and draft email
                                                              producing same to
                                                              UCC. [NO
                                                              CHARGE]
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Attorney      Date      Task   Hours    Rate     Bill Amount     Description of
                                                               Services Rendered
DJM        05/18/2023   B190     0.40   310.00        124.00 Develop strategy for
                                                             MSJ response.
DJM        05/18/2023   B190     4.90   310.00       1519.00 Review and analyze
                                                             MSJ of Texas
                                                             plaintiffs and
                                                             authorities cited.
JHY        05/18/2023   B190     2.70   285.00        769.50 Analyze and review
                                                             summary judgment
                                                             evidence attached to
                                                             Connecticut
                                                             tort-claimants' motion
                                                             for summary
                                                             judgment in
                                                             preparation for
                                                             potential motion to
                                                             strike.
JHY        05/18/2023   B160     3.30     0.00          0.00 Analyze and review
                                                             previous monthly fee
                                                             statements and
                                                             pre-bill narratives in
                                                             preparation to draft
                                                             First Interim Fee
                                                             Application (2.1);
                                                             draft and revise
                                                             interim fee
                                                             application (1.2).
CWS        05/18/2023   B190     1.10   715.00        786.50 Discovery conference
                                                             call.
CWS        05/18/2023   B190     2.40 715.00         1716.00 Review UCC
                                                             stipulation regarding
                                                             exemption objections
                                                             (.4); review and
                                                             analyze discovery
                                                             correspondence (.9);
                                                             conference regarding
                                                             discovery issues
                                                             (1.1).
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
AMF        05/19/2023   B210     4.20   305.00       1281.00 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             May 18 Thurs (4.0);
                                                             summarize statements
                                                             made related to case
                                                             (.2)
RJY        05/19/2023   B190     0.60   340.00        204.00 Coordinate discovery
                                                             review and
                                                             evidentiary issues
RJY        05/19/2023   B190     0.70   340.00        238.00 Review and analyze
                                                             motion for summary
                                                             judgment
EEW        05/19/2023   B110     0.20   295.00         59.00 Review stipulation
                                                             and agreed order
                                                             granting extension of
                                                             time to object to claim
                                                             exemptions and
                                                             docket deadline for
                                                             same.
EEW        05/19/2023   B110     0.20 295.00           59.00 Download and
                                                             circulate to team
                                                             amended notice of
                                                             agreement on
                                                             allocation of future
                                                             website crypto
                                                             donations prior to
                                                             05-19-2023 status
                                                             conference.
AMF        05/19/2023   B110     0.20   305.00         61.00 Message Alex to
                                                             facilitate discovery
                                                             collection in response
                                                             to 2004s
VLD        05/19/2023   B210     1.10   795.00        874.50 Calls and emails on
                                                             budgeting issues and
                                                             tapering domestic
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               help expenses.
VLD        05/19/2023   B195     1.30   795.00       1033.50 Travel from Houston
                                                             to Dallas (billed at
                                                             half time 2.6)
VLD        05/19/2023   B110     1.80   795.00       1431.00 Preparation for and
                                                             attend status
                                                             conference.
VLD        05/19/2023   B190     1.80   795.00       1431.00 Meetings with
                                                             various parties
                                                             seeking resolution on
                                                             agreed upon bases
                                                             including ESG, FSS.
                                                             (1.6) Review emails
                                                             on evidence to MSJ
                                                             and videos not sent.
                                                             (.2)
CCC        05/19/2023   B190     0.50   290.00        145.00 Review and analyze
                                                             motions for summary
                                                             judgment filed by
                                                             adversary Plaintiffs;
                                                             assees strategy in
                                                             response to withheld
                                                             exhibits
CCC        05/19/2023   B190     1.10 290.00          319.00 Attend court status
                                                             hearing
CCC        05/19/2023   B190     0.60   290.00        174.00 Review and analyze
                                                             2004 requests issued
                                                             by UCC to debtor
                                                             (.4); review deadline.
                                                             (.2)
DJM        05/19/2023   B190     6.20   310.00       1922.00 Review and analyze
                                                             MSJ of Texas
                                                             plaintiffs and
                                                             authorities cited
JHY        05/19/2023   B190     2.70   285.00        769.50 Analyze and review
                                                             summary judgment
                                                             evidence in
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Connecticut and
                                                               Texas tort-claimants'
                                                               motions for summary
                                                               judgment.
JHY        05/19/2023   B160     5.30     0.00          0.00 Analyze and review
                                                             previous monthly fee
                                                             statements and billing
                                                             narratives to draft
                                                             First Interim Fee
                                                             Application (2.5);
                                                             draft and revise same
                                                             (2.8). [NO
                                                             CHARGE]
CWS        05/19/2023   B190     3.40   715.00       2431.00 Draft multiple
                                                             correspondence and
                                                             perform analysis
                                                             regarding missing
                                                             exhibits to MSJs
                                                             (2.3); draft
                                                             correspondence
                                                             regarding evidentiary
                                                             issues (1.1).
CWS        05/19/2023   B210     2.20   715.00       1573.00 Revisions to Motion
                                                             to approve new
                                                             employment contract
                                                             and multiple related
                                                             correspondence.
CWS        05/19/2023   B320     1.20   715.00        858.00 Draft correspondence
                                                             regarding plan
                                                             research.
CWS        05/19/2023   B190     1.20   715.00        858.00 Attend status
                                                             conference hearing
                                                             and draft related
                                                             correspondence.
RJY        05/20/2023   B190     2.10   340.00        714.00 Draft outline of
                                                             "actually litigated"
                                                             argument related to
                                                             proportionality of
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               discovery sanction
RJY        05/20/2023   B190     0.60   340.00        204.00 Conduct legal
                                                             research on adverse
                                                             inference in
                                                             Connecticut
AMF        05/20/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             May 19 Friday (4.0);
                                                             summarize statements
                                                             made related to case
                                                             (.1)
VLD        05/20/2023   B110     1.10   795.00        874.50 Call with client
                                                             reporting on status
                                                             conference and
                                                             meetings thereafter.
DJM        05/21/2023   B190     1.90 310.00          589.00 Review video
                                                             exhibits of Texas
                                                             plaintiffs' MSJ
DJM        05/21/2023   B190     4.10   310.00       1271.00 Review exhibits to
                                                             Texas plaintiffs' MSJ
AMF        05/22/2023   B210     2.20   305.00        671.00 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             May 21 Sunday (2.0);
                                                             summarize statements
                                                             made related to case
                                                             (.2)
AMF        05/22/2023   B110     0.40   305.00        122.00 Communicate with
                                                             client to facilitate
                                                             discovery collection
                                                             in response to 2004s
                                                             (.3); email with
                                                             Digital Mountain re:
                                                             same (.1).
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
RJY        05/22/2023   B190     2.50   340.00        850.00 Generate draft on
                                                             IIED and collateral
                                                             estoppel
RJY        05/22/2023   B190     2.40   340.00        816.00 Generate draft on
                                                             defamation and
                                                             collateral estoppel
                                                             (2.0); conduct legal
                                                             research regarding the
                                                             same (.4).
RJY        05/22/2023   B190     1.20   340.00        408.00 Outline issues
                                                             regarding the quality
                                                             of the CUPTA
                                                             punitive damages
                                                             ruling
MAF        05/22/2023   B190     1.30   250.00        325.00 Began reviewing
                                                             second batch of (2000
                                                             docs) previously
                                                             produced documents
                                                             while simultaneously
                                                             redacting privileged
                                                             information in
                                                             anticipation of
                                                             production in
                                                             response to requests
                                                             by UCC
VLD        05/22/2023   B110     0.40   795.00        318.00 Communication with
                                                             client on work to
                                                             control domestic help.
EEW        05/22/2023   B110     2.00   295.00        590.00 Review spreadsheet
                                                             and supporting
                                                             documents received
                                                             from BlackBriar
                                                             Advisors and prepare
                                                             initial draft of April
                                                             monthly operating
                                                             report.
VLD        05/22/2023   B190     1.00   795.00        795.00 Correspondence with
                                                             production team on
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               data gathering
                                                               protocol, progress,
                                                               and information
                                                               needed to complete
                                                               (.7); revise emails and
                                                               respond to counsel
                                                               2004 responses and
                                                               privilege preservation
                                                               (.3);
VLD        05/22/2023   B140     1.10   795.00        874.50 Emails setting
                                                             hearing on motion for
                                                             relief from TX
                                                             plaintiffs. (.2) Review
                                                             and revise 9019 and
                                                             send to counsel for
                                                             TX plaintiffs. (.9)
VLD        05/22/2023   B185     0.70   795.00        556.50 Analyze issues with
                                                             debtor executory
                                                             contracts.
VLD        05/22/2023   B210     0.60   795.00        477.00 Analyze issues with
                                                             new post-petition
                                                             potential agreements
                                                             to increase income.
VLD        05/22/2023   B190     0.50   795.00        397.50 Review and revise
                                                             Zensky letter
                                                             responding to demand
                                                             for lawsuit filing
                                                             against third parties.
VLD        05/22/2023   B160     0.30   795.00        238.50 Review invoices for
                                                             Martin firm.
VLD        05/22/2023   B160     0.50   795.00        397.50 Emails with counsel
                                                             and financial advisors
                                                             regarding first interim
                                                             fee app filings coming
                                                             up. (.2) Propose
                                                             Interim
                                                             Compensation fee
                                                             app drafting sharing
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               between counsel. (.3)
VLD        05/22/2023   B190     1.30   795.00       1033.50 Fontaine claim status
                                                             emails (.4); review
                                                             email from N. Pattis
                                                             on brief filing
                                                             extension and send to
                                                             trial team (.2); review
                                                             and revise
                                                             engagement letter for
                                                             additional trial
                                                             counsel and send for
                                                             review and approval
                                                             (.5).
CCC        05/22/2023   B190     0.20   290.00         58.00 Draft correspondence
                                                             to UCC regarding
                                                             UCC's demand for
                                                             filing of fraudulent
                                                             transfer adversary
                                                             proceedings
CCC        05/22/2023   B190     0.70 290.00          203.00 Exchange
                                                             communications with
                                                             Digital Mountain
                                                             regarding
                                                             preservation of
                                                             Debtor's icloud data;
                                                             develop strategy for
                                                             providing responsive
                                                             information to the
                                                             UCC
DJM        05/22/2023   B190     3.10   310.00        961.00 Review state court
                                                             trial transcripts for
                                                             MSJ response
DJM        05/22/2023   B190     6.80   310.00       2108.00 Review and analyze
                                                             federal case law for
                                                             MSJ response brief
JHY        05/22/2023   B190     1.60   285.00        456.00 Analyze and review
                                                             Connecticut case law
                                                             regarding adverse
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               inference from
                                                               discovery violation to
                                                               be incorporated into
                                                               the response to
                                                               Connecticut
                                                               tort-claimants' motion
                                                               for summary
                                                               judgment.
JHY        05/22/2023   B190     3.60     0.00           0.00 Draft and revise First
                                                              Interim Fee
                                                              Application. [NO
                                                              CHARGE]
CWS        05/22/2023   B190     1.40   715.00       1001.00 Review and revise
                                                             written
                                                             correspondence to
                                                             UCC (.8); draft
                                                             related
                                                             correspondence (.6).
CWS        05/22/2023   B160     0.80   715.00        572.00 Call with estate
                                                             professional
                                                             regarding interim
                                                             compensation and fee
                                                             application matters.
CWS        05/22/2023   B185     1.10   715.00        786.50 Review Objection of
                                                             ESG to Motion to
                                                             Reject Contracts (.8);
                                                             draft related
                                                             correspondence (.3).
CWS        05/22/2023   B120     1.20   715.00        858.00 Perform research and
                                                             analysis regarding
                                                             administrative claim
                                                             and related
                                                             application.
CWS        05/22/2023   B190     1.70   715.00       1215.50 Review and analyze
                                                             issues regarding rule
                                                             questions (.9); draft
                                                             correspondence
                                                             regarding same (.8).
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
RJY        05/23/2023   B190     2.10   340.00        714.00 Edit draft of collateral
                                                             estoppel argument
CGM        05/23/2023   B190     0.20   255.00         51.00 Perform Trust review.
RJY        05/23/2023   B190     1.50   340.00        510.00 Analyze summary
                                                             judgment brief to spot
                                                             issues that need to be
                                                             addressed in
                                                             collateral estoppel
                                                             section of response
RJY        05/23/2023   B190     0.90   340.00        306.00 Conduct legal
                                                             research on
                                                             defamation per se
RJY        05/23/2023   B190     0.80   340.00        272.00 Analyze jury charge
                                                             in Connecticut
CGM        05/23/2023   B190     0.30   255.00         76.50 Call regarding trust
                                                             summary.
RJY        05/23/2023   B190     0.40 340.00          136.00 Analyze CUPTA
                                                             award for use in
                                                             collateral estoppel
                                                             section of brief
MAF        05/23/2023   B190     1.10   250.00        275.00 Continued reviewing
                                                             second batch (2000
                                                             docs) of previously
                                                             produced documents
                                                             for private
                                                             property/family
                                                             names while
                                                             simultaneously
                                                             redacting privileged
                                                             information in
                                                             anticipation of
                                                             production in
                                                             response to requests
                                                             by UCC
EEW        05/23/2023   B110     0.20   295.00         59.00 Review UCC's
                                                             request for production
                                                             of documents related
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               to the schedules and
                                                               docket deadline for
                                                               same.
EEW        05/23/2023   B110     3.20   295.00        944.00 Revise, finalize and
                                                             file monthly
                                                             operating report and
                                                             supporting documents
                                                             for April, 2023.
VLD        05/23/2023   B210     0.40   795.00        318.00 Emails with literary
                                                             agent on calculations
                                                             of amounts paid under
                                                             Great Reset (1st
                                                             book) contract (.2);
                                                             send Draft joint
                                                             motion to approve
                                                             new employment
                                                             agreement and
                                                             proposed order to FSS
                                                             counsel. (.2)
VLD        05/23/2023   B190     0.70   795.00        556.50 Emails regarding
                                                             information gathering
                                                             for UCC requests. (.2)
                                                             Emails with Pattis on
                                                             CT deadlines and
                                                             drafts of FSS/Jones
                                                             brief (.2); send
                                                             current draft to trial
                                                             counsel (.1) Respond
                                                             to email on Various
                                                             Trust Information and
                                                             UCC requests. (.2)
VLD        05/23/2023   B185     0.20   795.00        159.00 Analyzing Response
                                                             to Motion t reject
                                                             contracts with ESG
                                                             and MWM.
VLD        05/23/2023   B160     0.10 795.00           79.50 Emails re Interim Fee
                                                             App. (.1)
CCC        05/23/2023   B190     1.50   290.00        435.00 Develop strategy for
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               responding to UCC
                                                               2004 requests for
                                                               production (.9);
                                                               evaluate status of
                                                               obtaining responsive
                                                               information (.6).
CCC        05/23/2023   B320     2.50   290.00        725.00 Legal research in
                                                             support of proposed
                                                             chapter 11 plan
CCC        05/23/2023   B120     0.70   290.00        203.00 Review and analyze
                                                             terms of trust
                                                             agreement to assess
                                                             level of control debtor
                                                             asserts over trust
                                                             assets
DJM        05/23/2023   B190     2.50   310.00        775.00 Review and analyze
                                                             Texas plaintiffs' MSJ
                                                             exhibits
DJM        05/23/2023   B190     3.90   310.00       1209.00 Review and analyze
                                                             Texas plaintiffs' MSJ
                                                             video exhibits
JHY        05/23/2023   B160     2.30     0.00           0.00 Draft and revise First
                                                              Interim Fee
                                                              Application (1.1);
                                                              draft and revise
                                                              proposed order
                                                              granting the same
                                                              (1.2). [NO
                                                              CHARGE]
CWS        05/23/2023   B185     0.50   715.00        357.50 Conference with
                                                             Court on hearing
                                                             setting (.2);
                                                             conference with UCC
                                                             on hearing setting
                                                             (.2); call to ESG
                                                             counsel on hearing
                                                             setting (.1).
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
CWS        05/23/2023   B120     1.40   715.00       1001.00 Perform research and
                                                             analysis regarding
                                                             administrative claim
                                                             and related
                                                             application.
RJY        05/24/2023   B190     1.70   340.00        578.00 Draft defamation per
                                                             se section on
                                                             Connecticut response
                                                             brief
RJY        05/24/2023   B190     0.40   340.00        136.00 Edit collateral
                                                             estoppel section of
                                                             brief relating to
                                                             actually litigated and
                                                             necessarily decided
                                                             standards
MAF        05/24/2023   B190     0.10   250.00         25.00 Conference regarding
                                                             document review.
MAF        05/24/2023   B190     0.70   250.00        175.00 Continued reviewing
                                                             second batch (2000
                                                             docs) of previously
                                                             produced documents
                                                             for
                                                             attorney-client/confid
                                                             ential while
                                                             simultaneously
                                                             redacting privileged
                                                             information in
                                                             anticipation of
                                                             production in
                                                             response to requests
                                                             by UCC
RJY        05/24/2023   B190     1.80   340.00        612.00 Begin drafting
                                                             argument against
                                                             punitive damages
                                                             establishing basis for
                                                             collateral estoppel of
                                                             523(a)(6) issue
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
MAF        05/24/2023   B190     0.60   250.00        150.00 Began reviewing
                                                             third batch (2104
                                                             docs) of previously
                                                             produced documents
                                                             while simultaneously
                                                             redacting private
                                                             property information
                                                             in anticipation of
                                                             production in
                                                             response to requests
                                                             by UCC
EEW        05/24/2023   B160     0.30   295.00         88.50 Review 1st-3rd fee
                                                             statements filed by
                                                             Teneo Capital, LLC
                                                             and docket objection
                                                             deadline for same.
RJY        05/24/2023   B190     2.10   340.00        714.00 Continue to develop
                                                             collateral estoppel
                                                             arguments (1.8); edit
                                                             draft regarding the
                                                             same (.3).
RJY        05/24/2023   B190     1.80 340.00          612.00 Draft section of brief
                                                             on CUPTA award
AMF        05/24/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             May 22 Monday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.1)
EEW        05/24/2023   B110     0.20   295.00         59.00 Download and review
                                                             twelfth interim order
                                                             authorizing cash
                                                             collateral in the FSS
                                                             case and docket
                                                             hearing regarding
                                                             same.
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Attorney      Date      Task   Hours    Rate     Bill Amount     Description of
                                                               Services Rendered
EEW        05/24/2023   B160     0.30   295.00         88.50 Procure fee
                                                             statements received
                                                             from the UCC to date
                                                             and circulate to team.
VLD        05/24/2023   B160     1.40   795.00       1113.00 Analyze issues with
                                                             Teneo fee statements
                                                             (1.1); emails
                                                             regarding calendaring
                                                             objection deadlines
                                                             (.3).
LGD        05/24/2023   B190     1.50   185.00        277.50 Digital Mountain -
                                                             access and download
                                                             email and phone
                                                             collections; prepare
                                                             same for discovery
                                                             review.
CCC        05/24/2023   B320     2.20   290.00        638.00 Conduct legal
                                                             research in support of
                                                             proposed chapter 11
                                                             plan
CCC        05/24/2023   B190     0.80   290.00        232.00 Review and analyze
                                                             pleadings from
                                                             underlying state court
                                                             actions in support of
                                                             drafting response to
                                                             adversary Plaintiffs'
                                                             motions for summary
                                                             judgment
CCC        05/24/2023   B190     0.20   290.00         58.00 Review and analyze
                                                             local rules on
                                                             response briefing for
                                                             motions for summary
                                                             judgment.
CCC        05/24/2023   B190     0.40   290.00        116.00 Develop strategy for
                                                             production of
                                                             responsive documents
                                                             to UCC 2004 requests
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
CCC        05/24/2023   B120     0.30   290.00         87.00 Review and analyze
                                                             Debtor's interest in
                                                             trust assets in
                                                             conjunction with
                                                             assessing ability to
                                                             obtain and produce
                                                             trust documents to
                                                             UCC
DJM        05/24/2023   B190     5.30   310.00       1643.00 Review and analyze
                                                             Texas plaintiffs' MSJ
                                                             video exhibits
DJM        05/24/2023   B190     2.50   310.00        775.00 Review and analyze
                                                             Texas law for Texas
                                                             plaintiffs' MSJ
                                                             response
DJM        05/24/2023   B190     1.10   310.00        341.00 Review and analyze
                                                             Connecticut law for
                                                             response to
                                                             Connecticut plaintiffs'
                                                             MSJ
JHY        05/24/2023   B170     4.10   285.00       1168.50 Analyze and review
                                                             Teneo's fee
                                                             statements (0.2),
                                                             order granting
                                                             Teneo's employment
                                                             as a retained
                                                             professional and
                                                             order setting interim
                                                             compensation and
                                                             reimbursement
                                                             procedures (1.5);
                                                             analyze and review
                                                             BlackBriar's fees for
                                                             comparable fee
                                                             amounts to highlight
                                                             potentially
                                                             objectionable costs by
                                                             Teneo (1.6); draft and
                                                             revise response to
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Teneo's first three fee
                                                               statements to reserve
                                                               potential objections
                                                               and highlight
                                                               inefficient
                                                               professional practices
                                                               incurring costs (2.6).
CWS        05/24/2023   B120     1.20   715.00        858.00 Conference and
                                                             analysis regarding
                                                             trust matters.
CWS        05/24/2023   B190     1.80   715.00       1287.00 Review and analyze
                                                             discovery issues and
                                                             related
                                                             correspondence (.9);
                                                             review and analyze
                                                             correspondence
                                                             regarding MSJ
                                                             responses (.9).
AMF        05/25/2023   B210     4.20   305.00       1281.00 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             May 23 Tuesday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.2)
RJY        05/25/2023   B190     1.30   340.00        442.00 Edit collateral
                                                             estoppel argument
                                                             section of brief
RJY        05/25/2023   B190     2.30   340.00        782.00 Edit First
                                                             Amendment section
                                                             of draft.
RJY        05/25/2023   B190     1.10   340.00        374.00 Put together draft of
                                                             main arguments (.8);
                                                             compile list of needed
                                                             evidence (.3).
MAF        05/25/2023   B190     1.90   250.00        475.00 Continued reviewing
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               third batch (2104
                                                               docs) of previously
                                                               produced documents
                                                               while simultaneously
                                                               redacting family
                                                               names/privileged
                                                               information in
                                                               anticipation of
                                                               production in
                                                               response to requests
                                                               by UCC
AMF        05/25/2023   B110     1.60   305.00        488.00 Review recovered
                                                             data re: Client's
                                                             Iphone/Digital
                                                             Mountain collection
                                                             (in responses to
                                                             committee's 2004
                                                             requests)
MAF        05/25/2023   B190     1.40   250.00        350.00 Began reviewing
                                                             fourth (consolidated)
                                                             batch (2787 docs) of
                                                             previously produced
                                                             documents while
                                                             simultaneously
                                                             redacting family
                                                             names/private
                                                             property/privileged
                                                             information in
                                                             anticipation of
                                                             production in
                                                             response to requests
                                                             by UCC
NAC        05/25/2023   B240     1.20   675.00        810.00 Receipt of AEJ 2018
                                                             Trust and commence
                                                             analysis of same.
EEW        05/25/2023   B190     0.50   295.00        147.50 Review and docket all
                                                             dates and deadlines
                                                             for 2004
                                                             examination/docume
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               nt requests received to
                                                               date.
EEW        05/25/2023   B160     1.40 295.00          413.00 Draft first interim fee
                                                             application for
                                                             BlackBriar Advisors,
                                                             LLC.(1.2); email
                                                             correspondence to
                                                             Bob Schleizer
                                                             regarding time entries
                                                             04-01-2023 -
                                                             05-15-2023 (.2).
EEW        05/25/2023   B160     1.40 295.00          413.00 Draft first interim fee
                                                             application of Rachel
                                                             Kennerly, as Tax
                                                             Accountant (1.2);
                                                             email correspondence
                                                             to Rachel regarding
                                                             time entries for
                                                             04-01-2023 -
                                                             05-15-2023 and
                                                             circulate the order
                                                             establishing interim
                                                             compensation (.2).
VLD        05/25/2023   B190     1.10   795.00        874.50 Review 2004 exam to
                                                             foreign entity (.2);
                                                             research foreign
                                                             entity existence and
                                                             relationship to known
                                                             entities (.9).
VLD        05/25/2023   B210     1.70   795.00       1351.50 Call with Executive
                                                             assistant on
                                                             household employee
                                                             scheduling (.7);
                                                             review handbook for
                                                             household employees
                                                             (.3). Call with FSS
                                                             security head
                                                             regarding meetings
                                                             with sham client. (.7)
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
VLD        05/25/2023   B120     0.20   795.00        159.00 Emails re: filing
                                                             Homestead
                                                             exemption.
CCC        05/25/2023   B190     1.50   290.00        435.00 Draft correspondence
                                                             to the UCC regarding
                                                             status of collection
                                                             and review of phone
                                                             and email
                                                             correspondence.
CCC        05/25/2023   B190     0.70   290.00        203.00 Review scope of
                                                             Debtor's use of
                                                             technology devices to
                                                             develop strategy in
                                                             data collection effort
                                                             in response to UCC
                                                             requests for
                                                             information
CCC        05/25/2023   B190     0.30   290.00         87.00 Develop strategy for
                                                             producing
                                                             information relating
                                                             to trusts in which
                                                             Debtor is a settlor,
                                                             beneficiary or trustee
CCC        05/25/2023   B190     0.40   290.00        116.00 Review and analyze
                                                             UCC's notice of 2004
                                                             requests to Toshi
                                                             Holdings to assess
                                                             impact on debtor
CCC        05/25/2023   B190     1.20     0.00           0.00 Review and analyze
                                                              underlying state court
                                                              pleadings to assist
                                                              with response to
                                                              adversary Plaintiffs'
                                                              motions for summary
                                                              judgment [NO
                                                              CHARGE]
JHY        05/25/2023   B170     3.20   285.00        912.00 Analyze and review
                                                             Teneo's fee
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               statements and billing
                                                               narratives to draft
                                                               response and
                                                               reservation of
                                                               potential objections
                                                               (4); draft and revise
                                                               response to Teneo's
                                                               first three fee
                                                               statements (2.8).
CWS        05/25/2023   B210     0.60   715.00        429.00 Perform research and
                                                             draft correspondence
                                                             regarding ESG
                                                             contract.
CWS        05/25/2023   B190     0.80   715.00        572.00 Draft correspondence
                                                             regarding missing
                                                             exhibits to MSJ.
CWS        05/25/2023   B190     1.80   715.00       1287.00 Review and respond
                                                             to correspondence
                                                             regarding discovery
                                                             matters (1.1); analyze
                                                             issues regarding 2004
                                                             exam (.7).
AMF        05/26/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             May 24 Wednesday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.1)
MAF        05/26/2023   B190     0.80   250.00        200.00 Continued reviewing
                                                             fourth (consolidated)
                                                             batch (2787 docs) of
                                                             previously produced
                                                             documents while
                                                             simultaneously
                                                             redacting family
                                                             names/private
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               property/privileged
                                                               information in
                                                               anticipation of
                                                               production in
                                                               response to request by
                                                               UCC
RJY        05/26/2023   B190     2.50   340.00        850.00 Brainstorm topics for
                                                             Connecticut collateral
                                                             estoppel balancing
                                                             test; communicate
                                                             with co-counsel
                                                             regarding the same
AMF        05/26/2023   B110     0.30   305.00         91.50 Review recovered
                                                             data re: Client's
                                                             Iphone/Digital
                                                             Mountain collection
                                                             (in responses to
                                                             committee's 2004
                                                             requests)
AMF        05/26/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             May 25 Thursday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.1)
RJY        05/26/2023   B190     0.70   340.00        238.00 Outline legal
                                                             premises for section
                                                             of brief questioning
                                                             quality of prior
                                                             proceedings
EEW        05/26/2023   B110     0.60   295.00        177.00 Electronic case file
                                                             management of
                                                             monthly operating
                                                             reports.
CCC        05/26/2023   B190     1.50   290.00        435.00 Develop strategy for
                                                             production of
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               documents produced
                                                               in underlying state
                                                               court proceeding (.5);
                                                               review and analyze
                                                               documents to produce
                                                               prior to production
                                                               (1.0).
DJM        05/26/2023   B190     1.20   310.00        372.00 Review and analyze
                                                             Texas law for
                                                             response to Texas
                                                             plaintiffs' MSJ
JHY        05/26/2023   B170     3.10   285.00        883.50 Analyze and review
                                                             Teneo's fee
                                                             statements and billing
                                                             narratives for
                                                             unnecessary fees for
                                                             potential objections
CWS        05/26/2023   B160     6.50   715.00       4647.50 Review and revise
                                                             billing statements
                                                             (4.2); review and
                                                             revise fee
                                                             applications (2.3)
AMF        05/27/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             May 26 Friday (4.0);
                                                             summarize statements
                                                             made related to case
                                                             (.1)
RJY        05/29/2023   B190     1.40   340.00        476.00 Research and draft
                                                             section on skewing
                                                             prior proceeding to
                                                             pre-determine
                                                             nondischargeability
RJY        05/29/2023   B190     2.20   340.00        748.00 Draft legal premises
                                                             for section of brief
                                                             questioning quality of
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               prior proceedings
RJY        05/29/2023   B190     0.80 340.00          272.00 Draft section
                                                             comparing willful and
                                                             malicious section
                                                             under 523(a)(6) to
                                                             fraud exception under
                                                             523(a)(2)
RJY        05/29/2023   B190     0.60   340.00        204.00 Draft outline of
                                                             argument comparing
                                                             extensiveness of prior
                                                             proceedings here with
                                                             that of prior
                                                             proceedings in cases
                                                             in which default
                                                             judgments were given
                                                             preclusive effect
AMF        05/29/2023   B210     2.10   305.00        640.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             May 28 Sunday (2.0);
                                                             summarize statements
                                                             made related to case
                                                             (.1)
NAC        05/29/2023   B240     0.90   675.00        607.50 Continue analyzing
                                                             Trust Agreement for
                                                             tax treatment.
DJM        05/29/2023   B190     2.90   310.00        899.00 Review and analyze
                                                             draft response to
                                                             Connecticut
                                                             plaintiffs'' MSJ
RJY        05/30/2023   B190     0.90   340.00        306.00 Develop arguments
                                                             for brief with Deric J.
                                                             McClellan
RJY        05/30/2023   B190     0.90   340.00        306.00 Strengthen First
                                                             Amendment
                                                             argument with
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               examples and
                                                               citations
RJY        05/30/2023   B190     2.70   340.00        918.00 Draft "actually
                                                             litigated" section of
                                                             response brief
RJY        05/30/2023   B190     0.30   340.00        102.00 Coordinate for review
                                                             of record evidence to
                                                             support factual
                                                             assertions in brief
RJY        05/30/2023   B190     0.40   340.00        136.00 Review sections on
                                                             improper skew of
                                                             prior legal
                                                             proceedings and
                                                             actually litigated
                                                             prong of collateral
                                                             estoppel
RJY        05/30/2023   B190     0.50   340.00        170.00 Outline full argument
                                                             section of brief
AMF        05/30/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             May 29 Monday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.1)
EEW        05/30/2023   B160     4.70   295.00       1386.50 Revise, finalize and
                                                             file first interim fee
                                                             applications for
                                                             Crowe & Dunlevy,
                                                             BlackBriar Advisors
                                                             and Rachel Kennerly
                                                             (4.2); compile fee
                                                             applications and serve
                                                             via email according to
                                                             interim compensation
                                                             order (.5).
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
VLD        05/30/2023   B190     2.00   795.00       1590.00 Call discussing
                                                             production by 2004
                                                             respondent to overly
                                                             broad distribution list
                                                             and formulate
                                                             strategy to seek
                                                             agreement from
                                                             recipients to agree to
                                                             PO if they access the
                                                             link provided (.6);
                                                             review emails
                                                             regarding same (.3);
                                                             Begin drafting
                                                             contract with FSS on
                                                             product and
                                                             marketing services
                                                             with Debtor (1.1).
VLD        05/30/2023   B140     0.10 795.00           79.50 Emails with A.
                                                             Reynal on fee
                                                             estimates for lift stay
                                                             motion hearing if
                                                             needed.
CCC        05/30/2023   B190     1.00 290.00          290.00 Prepare production of
                                                             responsive documents
                                                             to UCC requests.
CCC        05/30/2023   B160     0.40   290.00        116.00 Draft proposed order
                                                             granting interim fee
                                                             application of Crowe
                                                             & Dunlevy
CCC        05/30/2023   B160     0.40   290.00        116.00 Draft proposed order
                                                             granting interim fee
                                                             application of
                                                             Blackbriar Advisors
CCC        05/30/2023   B160     0.40   290.00        116.00 Draft proposed order
                                                             granting interim fee
                                                             application of Rachel
                                                             Kennerly, LLC
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
CCC        05/30/2023   B190     0.60   290.00        174.00 Review and analyze
                                                             correspondence from
                                                             the UCC regarding
                                                             status of document
                                                             production in this
                                                             matter.
CCC        05/30/2023   B190     0.60   290.00        174.00 Review document
                                                             production by Bank
                                                             of America, NA for
                                                             potential confidential
                                                             information shared
                                                             with entities not a
                                                             party to the Protective
                                                             Order (.3); draft
                                                             correspondence to
                                                             entities regarding
                                                             Protective Order in
                                                             place (.3).
CCC        05/30/2023   B120     0.40   290.00        116.00 Review and analyze
                                                             terms of trust
                                                             agreement to assess
                                                             level of control debtor
                                                             asserts over trust
                                                             assets
DJM        05/30/2023   B190     0.70   310.00        217.00 Develop strategy for
                                                             response to Texas
                                                             plaintiffs' MSJ
DJM        05/30/2023   B190     1.50   310.00        465.00 Review and analyze
                                                             state court record for
                                                             response to Texas
                                                             plaintiffs' MSJ
DJM        05/30/2023   B190     7.30 310.00         2263.00 Draft analysis section
                                                             of response to Texas
                                                             plaintiffs' MSJ
JHY        05/30/2023   B190     5.30   285.00       1510.50 Analyze and review
                                                             Connecticut state
                                                             court case record for
                                                             evidentiary support
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               for response to
                                                               motion for summary
                                                               judgment and
                                                               incorporate into
                                                               response to motion
                                                               for summary
                                                               judgment of the
                                                               Connecticut tort
                                                               claimants.
NAC        05/30/2023   B240     2.90   675.00       1957.50 Evaluate Trust
                                                             Agreement and asset
                                                             protection features
                                                             (2.0); discussion with
                                                             Team regarding
                                                             assets held by the
                                                             Trust (.9).
CWS        05/30/2023   B120     1.30   715.00        929.50 Conference regarding
                                                             Trust matters (.8);
                                                             review and respond to
                                                             related
                                                             correspondence (.5).
CWS        05/30/2023   B190     0.40   715.00        286.00 Conference and
                                                             correspondence
                                                             regarding discovery
                                                             issues.
CWS        05/30/2023   B160     7.50   715.00       5362.50 Call regarding fee app
                                                             status for other
                                                             professional (.3);
                                                             review related
                                                             correspondence (.6);
                                                             revise C&D fee
                                                             application and revise
                                                             billing (3.8); review
                                                             and revise BlackBriar
                                                             fee application (.9);
                                                             review and revise
                                                             Kennerly fee
                                                             application (.6);
                                                             review and revise
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               proposed orders (1.3).
AMF        05/31/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             May 30 Tuesday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.1)
RJY        05/31/2023   B190     4.90 340.00         1666.00 Draft section of brief
                                                             in response to
                                                             summary judgment
                                                             motion regarding
                                                             public policy
                                                             balancing against
                                                             collateral estoppel
EEW        05/31/2023   B110     2.80   295.00        826.00 Electronic case file
                                                             management.
VLD        05/31/2023   B210     2.90   795.00       2305.50 Emails scheduling
                                                             call on employment
                                                             agreement comments
                                                             with SubV trustee
                                                             counsel, FSS and
                                                             UCC (.2); emails
                                                             discussing interplay
                                                             of issues regarding
                                                             employment
                                                             agreement and overall
                                                             settlement
                                                             discussions and
                                                             budget disagreements
                                                             (.7); review
                                                             comments from FSS
                                                             counsel on motion to
                                                             approve employment
                                                             agreement (.2);
                                                             review plan
                                                             projections and send
                                                             comments (.5);
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               review responses to
                                                               same (.1); drafting
                                                               Product and
                                                               Marketing services
                                                               agreement between
                                                               AJ and FSS and send
                                                               for comment (1.2)
VLD        05/31/2023   B140     0.50   795.00        397.50 Call with TX Tort
                                                             Claimant counsel on
                                                             status of comments to
                                                             9019
VLD        05/31/2023   B190     1.50 795.00         1192.50 Send update on
                                                             Fontaine procedural
                                                             status to
                                                             dischargeability trial
                                                             team (.1); send brief
                                                             from Pattis to trial
                                                             team for comments
                                                             (.2); call with SubV
                                                             Trustee on mediation
                                                             counter proposal (.4);
                                                             review data
                                                             production and
                                                             retrieval contents and
                                                             review protocol for
                                                             same (.8)
CCC        05/31/2023   B190     0.70 290.00          203.00 Assess status of
                                                             icloud and email data
                                                             collection (.3);
                                                             develop strategy for
                                                             review process of
                                                             such data collection in
                                                             response to UCC
                                                             requests (.4).
DJM        05/31/2023   B190     8.50 310.00         2635.00 Draft analysis section
                                                             of response to Texas
                                                             plaintiffs' MSJ
JHY        05/31/2023   B190     3.70   285.00       1054.50 Analyze and review
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Connecticut state
                                                               court case record for
                                                               evidentiary support
                                                               for response to
                                                               motion for summary
                                                               judgment and
                                                               incorporate into
                                                               response to motion
                                                               for summary
                                                               judgment of the
                                                               Connecticut tort
                                                               claimants.
JHY        05/31/2023   B170     3.10   285.00        883.50 Analyze and review
                                                             Teneo's fee
                                                             statements and billing
                                                             narratives for
                                                             potentially
                                                             objectionable fees to
                                                             be incorporated into
                                                             response to Teneo's
                                                             first three fee
                                                             statements.
RJY        06/01/2023   B190     1.30   340.00        442.00 Edit substantive due
                                                             process section of
                                                             brief.
RJY        06/01/2023   B190     2.10   340.00        714.00 Draft summary of
                                                             legal issues with the
                                                             CUPTA award.
RJY        06/01/2023   B190     1.10   340.00        374.00 Edit and circulate
                                                             draft response brief.
RJY        06/01/2023   B190     0.30   340.00        102.00 Analyze standard for
                                                             comprehensive of
                                                             record in determining
                                                             First Amendment
                                                             standard in
                                                             bankruptcy court, as
                                                             opposed to appellate
                                                             court.
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Attorney      Date      Task   Hours    Rate     Bill Amount     Description of
                                                               Services Rendered
VLD        06/01/2023   B210     2.70   795.00       2146.50 Call with FSS
                                                             regarding
                                                             employment
                                                             agreement matters
                                                             (.3); call with UCC
                                                             FSS and SubV
                                                             Trustee discussing
                                                             employment
                                                             agreement comments
                                                             (.5); call with FSS
                                                             regarding terms of
                                                             interim comp increase
                                                             compromise with
                                                             UCC (.6); mark up
                                                             provisions of
                                                             employment
                                                             agreement for interim
                                                             approval and send to
                                                             FSS for review and
                                                             approval (.5); call
                                                             with financial advisor
                                                             to discuss
                                                             employment
                                                             compromise,
                                                             upcoming meetings
                                                             with client on
                                                             operational issues and
                                                             related issues (.8).
VLD        06/01/2023   B160     0.30   795.00        238.50 Correspondence with
                                                             Committee on
                                                             outstanding fees
                                                             owed to Debtor
                                                             professionals.
VLD        06/01/2023   B190     1.70   795.00       1351.50 Review and comment
                                                             to review protocol for
                                                             data collection (.4);
                                                             draft outline of
                                                             counter proposal to
                                                             UCC settlement offer
                                                             and send to internal
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               team for review and
                                                               comment (1.3).
LGD        06/01/2023   B190     2.50   185.00        462.50 Configure search
                                                             term reports.
CCC        06/01/2023   B190     0.60   290.00        174.00 Review and analyze
                                                             drafted declaration
                                                             from Digital
                                                             Mountain regarding
                                                             data collection (.3);
                                                             draft correspondence
                                                             to Digital Mountain
                                                             with questions
                                                             regarding same (.3).
CCC        06/01/2023   B190     2.00   290.00        580.00 Review and analyze
                                                             extensive client
                                                             documents in
                                                             response to requests
                                                             for production by
                                                             UCC.
JCD        06/01/2023   B190     2.50   475.00       1187.50 Review and analyze
                                                             response to MSJ
                                                             regarding the
                                                             Connecticut Plaintiffs
                                                             non-dischargeabilty
                                                             claim.
DJM        06/01/2023   B190     0.50   310.00        155.00 Develop strategy for
                                                             response to Texas and
                                                             Connecticut plaintiffs'
                                                             motions for summary
                                                             judgment.
DJM        06/01/2023   B190     7.40   310.00       2294.00 Review and analyze
                                                             trial transcripts for
                                                             response to Texas
                                                             plaintiffs' motion for
                                                             summary judgment.
DJM        06/01/2023   B190     0.70   310.00        217.00 Draft response to
                                                             Texas plaintiffs'
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               motion for summary
                                                               judgment.
DJM        06/01/2023   B190     1.20 310.00          372.00 Review case law cited
                                                             by Texas plaintiffs in
                                                             motion for summary
                                                             judgment.
JHY        06/01/2023   B170     7.50     0.00          0.00 Analyze and review
                                                             Teneo's first, second,
                                                             and third fee
                                                             statements for
                                                             objectionable fees
                                                             due to overstaffing,
                                                             and unnecessary
                                                             financial analysis
                                                             (4.2); draft and revise
                                                             response to UCC
                                                             reserving right to
                                                             object and analysis of
                                                             objectionable basis
                                                             (3.3). [NO
                                                             CHARGE]
AMF        06/02/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             May 30 Wednesday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.1).
RJY        06/02/2023   B190     1.10   340.00        374.00 Make list of topics
                                                             discussed in summary
                                                             judgment motion that
                                                             have yet to be
                                                             addressed in
                                                             response.
RJY        06/02/2023   B190     1.00   340.00        340.00 Draft response to
                                                             cases cited in
                                                             summary judgment
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               motion.
RJY        06/02/2023   B190     1.30   340.00        442.00 Edit brief to respond
                                                             to various arguments
                                                             raised in summary
                                                             judgment motion.
LGD        06/02/2023   B110     1.30   185.00        240.50 Identify issues
                                                             reported by
                                                             Committee related to
                                                             05/30/23 document
                                                             production (.3); edit
                                                             configuration and
                                                             modify production to
                                                             include audio and
                                                             video inadvertently
                                                             omitted. (1.0)
LGD        06/02/2023   B190     2.30   185.00        425.50 Continue to prepare
                                                             search term reports.
AMF        06/02/2023   B110     0.20 305.00           61.00 Review
                                                             correspondence with
                                                             UCC re: document
                                                             production re: 2004
                                                             requests.
CCC        06/02/2023   B190     0.40   290.00        116.00 Exchange multiple
                                                             emails with UCC
                                                             regarding UCC's
                                                             requests for
                                                             production to Debtor.
CCC        06/02/2023   B190     1.00     0.00           0.00 Develop strategy for
                                                              document production
                                                              in response to UCC's
                                                              requests for
                                                              production to Debtor.
                                                               [NO CHARGE]
CCC        06/02/2023   B190     1.50   290.00        435.00 Review and analyze
                                                             extensive documents
                                                             in response to UCC's
                                                             requests for
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               production to Debtor.
CCC        06/02/2023   B190     0.50   290.00        145.00 Draft correspondence
                                                             to UCC regarding
                                                             email and phone
                                                             production efforts.
DJM        06/02/2023   B190     5.90   310.00       1829.00 Draft response to
                                                             Texas plaintiffs'
                                                             motion for summary
                                                             judgment.
JHY        06/02/2023   B170     3.50     0.00          0.00 Analyze and review
                                                             Teneo's first, second,
                                                             and third fee
                                                             statements for
                                                             objectionable fees
                                                             due to overstaffing,
                                                             and unnecessary
                                                             financial analysis
                                                             (1.2); draft and revise
                                                             response to UCC
                                                             reserving right to
                                                             object and analysis of
                                                             objectionable basis
                                                             (2.3). [NO
                                                             CHARGE]
VLD        06/02/2023   B110     0.30   795.00        238.50 Correspondence with
                                                             individual who claims
                                                             to have avenues for
                                                             claim resolution and
                                                             seek additional
                                                             information on same.
VLD        06/02/2023   B190     0.60   795.00        477.00 Emails with mediator
                                                             regarding settlement
                                                             discussions.
AMF        06/03/2023   B210     4.20   305.00       1281.00 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             June 1 Thursday
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               (4.0); summarize
                                                               statements made
                                                               related to case (.2).
DJM        06/03/2023   B190     7.80   310.00       2418.00 Draft response to
                                                             Texas plaintiffs'
                                                             motion for summary
                                                             judgment.
AMF        06/04/2023   B210     4.40   305.00       1342.00 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             June 2 Friday (4.0);
                                                             summarize statements
                                                             made related to case
                                                             (.4).
DJM        06/04/2023   B190     6.30   310.00       1953.00 Draft response to
                                                             Texas plaintiffs'
                                                             motion for summary
                                                             judgment.
VLD        06/04/2023   B190     0.40   795.00        318.00 Emails with briefing
                                                             team for CT and TX
                                                             regarding affidavit
                                                             and supporting
                                                             evidence needed and
                                                             timing.
CCC        06/05/2023   B190     0.20   290.00         58.00 Review and analyze
                                                             UCC correspondence
                                                             regarding document
                                                             production by Debtor.
RJY        06/05/2023   B190     0.90   340.00        306.00 Coordinate writing
                                                             responsibilities and
                                                             develop strategies
                                                             with Deric J.
                                                             McClellan
RJY        06/05/2023   B190     1.10   340.00        374.00 Review legal research
                                                             (.8); create list of
                                                             items to add to the
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               brief (.3).
RJY        06/05/2023   B190     0.70   340.00        238.00 Attend litigation team
                                                             meeting to discuss
                                                             brief draft and
                                                             division of labor
AMF        06/05/2023   B210     2.20   305.00        671.00 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             June 4 Sunday (2.0);
                                                             summarize statements
                                                             made related to case
                                                             (.2)
RJY        06/05/2023   B190     1.60   340.00        544.00 Edit response brief to
                                                             incorporate revisions
RJY        06/05/2023   B190     1.10   340.00        374.00 Review and analyze
                                                             Plaintiff's statement
                                                             of undisputed
                                                             material facts for
                                                             response
CWS        06/05/2023   B190     1.20   715.00        858.00 Draft summary
                                                             correspondence
                                                             regarding settlement
                                                             analysis and terms.
CCC        06/05/2023   B190     2.00     0.00           0.00 Review and analyze
                                                              underlying state court
                                                              action pleadings in
                                                              support of drafting
                                                              responses to
                                                              Plaintiffs' motions for
                                                              summary judgment.
                                                              [NO CHARGE]
CCC        06/05/2023   B190     1.00     0.00           0.00 Develop strategy for
                                                              drafting responses to
                                                              plaintiffs' motions for
                                                              summary judgment.
                                                              [NO CHARGE]
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
DJM        06/05/2023   B190     0.60   310.00        186.00 Develop strategy
                                                             regarding responses
                                                             to Texas and
                                                             Connecticut plaintiffs'
                                                             motions for summary
                                                             judgment
DJM        06/05/2023   B190    11.80   310.00       3658.00 Draft response to
                                                             Texas plaintiffs'
                                                             motion for summary
                                                             judgment
JHY        06/05/2023   B170     5.30     0.00          0.00 Analyze and review
                                                             Teneo's first, second,
                                                             and third fee
                                                             statements for
                                                             objectionable fees
                                                             due to overstaffing,
                                                             and unnecessary
                                                             financial analysis
                                                             (3.1); draft and revise
                                                             analysis of
                                                             objectionable basis in
                                                             preparation for email
                                                             to UCC reserving
                                                             objections (2.2). [NO
                                                             CHARGE]
JHY        06/05/2023   B190     0.70 285.00          199.50 Analyze and
                                                             strategize summary
                                                             judgment responses
                                                             and objections to both
                                                             Connecticut and
                                                             Texas tort claimants'
                                                             statement of facts and
                                                             summary judgment
                                                             evidence.
JHY        06/05/2023   B190     1.70   285.00        484.50 Analyze and review
                                                             Connecticut state
                                                             court trial transcripts
                                                             in preparation to draft
                                                             fact section of the
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Connecticut response
                                                               to summary judgment
                                                               - specifically focusing
                                                               on instances in which
                                                               the debtor was
                                                               prevented from
                                                               presenting evidence.
VLD        06/05/2023   B160     0.20 795.00          159.00 Emails with A.
                                                             Reynal regarding
                                                             sanctions.
VLD        06/05/2023   B190     1.60   795.00       1272.00 Correspondence
                                                             regarding questions
                                                             on documents and
                                                             production (2); call
                                                             with team to discuss
                                                             briefing, strategy, and
                                                             staffing outstanding
                                                             items (1.2);
                                                             correspondence with
                                                             UCC on discovery,
                                                             document review and
                                                             production. (.2)
VLD        06/05/2023   B160     0.60   795.00        477.00 Call with B. Schleizer
                                                             regarding support for
                                                             Teneo fee statement
                                                             objection (.4); emails
                                                             regarding supporting
                                                             schedules for email
                                                             (.2).
VLD        06/05/2023   B140     1.60   795.00       1272.00 Review and revise
                                                             9019 motion and send
                                                             to counsel for TX (.8);
                                                             review and revise
                                                             order and send
                                                             comments to TX and
                                                             FSS counsel (.4);
                                                             discuss 9019 with
                                                             counsel for FSS (.4).
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Attorney      Date      Task   Hours    Rate     Bill Amount     Description of
                                                               Services Rendered
AMF        06/06/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             June 5 Monday (4.0);
                                                             summarize statements
                                                             made related to case
                                                             (.1).
RJY        06/06/2023   B190     4.90   340.00       1666.00 Draft responses to
                                                             individual statements
                                                             of material facts 1-58
                                                             (2.0); review record
                                                             regarding the same
                                                             (2.0); coordinate
                                                             research regarding the
                                                             same (.9).
MAF        06/06/2023   B190     0.50   250.00        125.00 Review and evaluate
                                                             extensive client
                                                             documents in
                                                             response to UCC's
                                                             2004 requests for
                                                             production.
EEW        06/06/2023   B190     0.10   295.00         29.50 Telephone call with
                                                             Kathy Nordenhaug
                                                             regarding Contini
                                                             invoices.
CCC        06/06/2023   B190     0.40   290.00        116.00 Exchange multiple
                                                             emails with UCC
                                                             regarding UCC's
                                                             requests for
                                                             production to Debtor.
CCC        06/06/2023   B190     0.50   290.00        145.00 Review and analyze
                                                             Motion for Protection
                                                             filed by ESG.
CCC        06/06/2023   B190     3.00   290.00        870.00 Review and analyze
                                                             extensive client
                                                             documents in
                                                             response to document
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               requests by UCC.
EEW        06/06/2023   B190     0.20   295.00         59.00 Review emergency
                                                             motion for protection
                                                             by Elevated Solutions
                                                             Group, LLC and
                                                             docket objection
                                                             deadline for same.
EEW        06/06/2023   B185     0.20   295.00         59.00 Review agreed order
                                                             to extend time to
                                                             assume commercial
                                                             real property lease
                                                             with BCC UBC, LLC
                                                             and docket extended
                                                             date to assume or
                                                             reject.
EEW        06/06/2023   B310     0.30   295.00         88.50 Download and review
                                                             amended IRS claim
                                                             and circulate to team.
EEW        06/06/2023   B190     0.20   295.00         59.00 Email
                                                             correspondence to
                                                             and from CRD to
                                                             confirm page limit
                                                             requirement for
                                                             response/reply to
                                                             MSJ.
EEW        06/06/2023   B160     0.30   295.00         88.50 Download and review
                                                             first, second and third
                                                             monthly fee
                                                             statements filed by
                                                             Teneo Capital,
                                                             circulate to team and
                                                             docket objection
                                                             deadline for same.
EEW        06/06/2023   B190     0.20   295.00         59.00 Search for unredacted
                                                             version of UCC's
                                                             2004 requests.
DJM        06/06/2023   B190     9.60   310.00       2976.00 Draft response to
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Texas plaintiffs'
                                                               motion for summary
                                                               judgment.
DJM        06/06/2023   B190     0.70   310.00        217.00 Develop strategy
                                                             regarding responses
                                                             to Texas and
                                                             Connecticut plaintiffs'
                                                             motions for summary
                                                             judgment.
JHY        06/06/2023   B170     1.40   285.00        399.00 Analyze and review
                                                             Teneo's first, second,
                                                             and third fee
                                                             statements for
                                                             objectionable fees
                                                             due to overstaffing,
                                                             and unnecessary
                                                             financial analysis
                                                             (0.4); draft and revise
                                                             analysis and
                                                             calculation of
                                                             objectionable fee
                                                             amounts and basis
                                                             (1).
JHY        06/06/2023   B190     5.70   285.00       1624.50 Analyze and review
                                                             Connecticut state
                                                             court trial transcripts
                                                             in preparation to draft
                                                             fact section of the
                                                             Connecticut response
                                                             to summary judgment
                                                             - specifically focusing
                                                             on instances in which
                                                             the debtor was
                                                             prevented from
                                                             presenting evidence
                                                             and when default
                                                             principles were used
                                                             to establish malicious
                                                             intent.
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Attorney      Date      Task   Hours    Rate     Bill Amount     Description of
                                                               Services Rendered
VLD        06/06/2023   B185     0.30   795.00        238.50 Emails with counsel
                                                             for UCC on use of
                                                             408 discussion email
                                                             as exhibit.
VLD        06/06/2023   B190     0.30   795.00        238.50 Emails with
                                                             document review
                                                             team on specific
                                                             document issues (.2);
                                                             emails on home
                                                             improvement/repair
                                                             invoices. (.1)
VLD        06/06/2023   B170     2.20   795.00       1749.00 Request extension of
                                                             deadline to reserve
                                                             fees for payment
                                                             under interim
                                                             compensation order
                                                             (.1); work with B.
                                                             Schleizer to prepare
                                                             email reserving
                                                             certain objectionable
                                                             fees for payment until
                                                             fee application per
                                                             item compensation
                                                             order. (2.1)
VLD        06/06/2023   B240     0.90   795.00        715.50 Review POC filed by
                                                             IRS for payroll taxes
                                                             and analyze same
                                                             (.5); send to FSS for
                                                             review (.2); send to
                                                             tax accountant for
                                                             research on same (.2).
VLD        06/06/2023   B210     0.50   795.00        397.50 Review and send
                                                             revised FSS forecast
                                                             to B. Schelizer and
                                                             discuss (.1); review
                                                             and analyze the offer
                                                             from UCC on
                                                             employment contract.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               (.4)
AMF        06/07/2023   B210     4.30   305.00       1311.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             June 6 Tuesday (4.0);
                                                             summarize statements
                                                             made related to case
                                                             (.3).
RJY        06/07/2023   B190     3.60   340.00       1224.00 Continue to draft
                                                             response to statement
                                                             of undisputed
                                                             material facts (2.6);
                                                             review record
                                                             regarding the same.
                                                             (1.3)
MAF        06/07/2023   B190     0.60   250.00        150.00 Review and evaluate
                                                             extensive client
                                                             documents in
                                                             response to UCC's
                                                             2004 requests for
                                                             production.
EEW        06/07/2023   B190     2.00   295.00        590.00 Revise and finalize
                                                             motion for approval
                                                             of compromise and
                                                             settlement under FRP
                                                             9019, along with
                                                             proposed agreed
                                                             order (.6); draft
                                                             motion to seal exhibit
                                                             A to agreed order and
                                                             corresponding
                                                             proposed order to
                                                             same (1.4).
RJY        06/07/2023   B190     1.80   340.00        612.00 Review and analyze
                                                             brief (1.6); create list
                                                             of additions and edits.
                                                             (.3)
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
RJY        06/07/2023   B190     1.60   340.00        544.00 Edit brief.
RJY        06/07/2023   B190     1.80   340.00        612.00 Cite check and edit
                                                             brief.
CWS        06/07/2023   B190     2.90   715.00       2073.50 Review and revise
                                                             declaration in support
                                                             of MSJ response
                                                             (1.3); review and
                                                             respond to related
                                                             correspondence (.8);
                                                             perform analysis
                                                             regarding same (.8).
CWS        06/07/2023   B185     1.20   715.00        858.00 Review and analyze
                                                             UCC Objection to
                                                             ESG Emergency
                                                             Motion.
AMF        06/07/2023   B190     0.30   305.00         91.50 Review documents
                                                             for production to
                                                             UCC (in response to
                                                             2004 requests).
CWS        06/07/2023   B190     1.40   715.00       1001.00 Review and revise
                                                             settlement proposal
                                                             (1.1); draft related
                                                             correspondence (.3).
CCC        06/07/2023   B190     2.00   290.00        580.00 Review and analyze
                                                             extensive client
                                                             documents in
                                                             response to requests
                                                             by UCC.
CCC        06/07/2023   B190     3.00     0.00           0.00 Review and analyze
                                                              underlying state court
                                                              action pleadings in
                                                              support of drafting
                                                              responses to
                                                              Plaintiffs' motions for
                                                              summary judgment.
                                                              [NO CHARGE]
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
DJM        06/07/2023   B190     2.60   310.00        806.00 Draft affidavit in
                                                             support of motion for
                                                             summary judgment.
DJM        06/07/2023   B190     7.50   310.00       2325.00 Draft response to
                                                             Texas plaintiffs'
                                                             motion for summary
                                                             judgment.
JHY        06/07/2023   B190     0.50   285.00        142.50 Analyze, review, and
                                                             revise the debtor's
                                                             declaration in support
                                                             of his response to
                                                             summary judgment
                                                             motions.
JHY        06/07/2023   B190     2.30   285.00        655.50 Draft and revise the
                                                             response to
                                                             Connecticut tort
                                                             claimants' motion for
                                                             summary judgment.
VLD        06/07/2023   B185     0.30   795.00        238.50 Continue emails on
                                                             exhibits to motion to
                                                             reject hearing with
                                                             UCC counsel.
VLD        06/07/2023   B130     0.30   795.00        238.50 Review and respond
                                                             to emails from
                                                             personal attorney on
                                                             issues related to
                                                             ownership of
                                                             property.
VLD        06/07/2023   B140     1.00   795.00        795.00 Preparing 9019 for
                                                             filing (.4); review and
                                                             revise motion to seal
                                                             and order granting
                                                             same (.6).
VLD        06/07/2023   B190     4.40   795.00       3498.00 Review and revise
                                                             settlement offer per
                                                             internal comments
                                                             and circulate to team
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               for review and further
                                                               comment (1.1);
                                                               sending motion to
                                                               seal and order to FSS
                                                               counsel for review
                                                               and approval for
                                                               filing in FSS case (.2);
                                                               review and revise
                                                               affidavit in support of
                                                               MSJ responses (.9);
                                                               emails with litigation
                                                               team to discuss
                                                               revisions (.3); call to
                                                               discuss affidavit
                                                               contents and brief
                                                               status (.7); reviewing
                                                               clips referenced by
                                                               plaintiffs MSJs (.7);
                                                               emails with B.
                                                               Schleizer on affidavit
                                                               changes and open
                                                               issues to discuss with
                                                               client (.5).
EEW        06/08/2023   B120     1.20   295.00        354.00 Review objection to
                                                             debtor's motion to
                                                             reject executory
                                                             contract and
                                                             Professional Services
                                                             Agreement with
                                                             Elevated Solutions
                                                             Group, LLC (.4);
                                                             draft demand letter to
                                                             counsel for ESG
                                                             regarding provisions
                                                             of the agreement (.8).
MAF        06/08/2023   B190     2.30   250.00        575.00 Review and evaluate
                                                             extensive client
                                                             documents in
                                                             response to UCC's
                                                             2004 requests for
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               production.
AMF        06/08/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             June 7 Wednesday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.1).
RJY        06/08/2023   B190     9.90   340.00       3366.00 Edit brief (5.0);
                                                             conduct legal
                                                             research (1.0); discuss
                                                             remaining legal and
                                                             factual issues (1.0);
                                                             restructure arguments
                                                             in accordance with
                                                             team meetings (1.0);
                                                             advise on other
                                                             briefing (1.9).
LGD        06/08/2023   B190     2.40   185.00        444.00 Apply redactions to
                                                             billing narratives in
                                                             preparation of
                                                             production.
CWS        06/08/2023   B190    10.60   715.00       7579.00 Calls and
                                                             correspondence
                                                             regarding client
                                                             declaration (3.8);
                                                             analyze statement of
                                                             undisputed material
                                                             facts and objections to
                                                             same (2.8); draft
                                                             analysis and general
                                                             comments regarding
                                                             briefing (1.8); review
                                                             draft CT response
                                                             (2.2).
CCC        06/08/2023   B190     5.50   290.00       1595.00 Review and analyze
                                                             extensive client
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               documents in
                                                               response to UCC
                                                               requests.
DJM        06/08/2023   B190    13.90   310.00       4309.00 Draft response to
                                                             Texas plaintiffs'
                                                             motion for summary
                                                             judgment.
JHY        06/08/2023   B190     2.30   285.00        655.50 Analyze and review
                                                             Connecticut and
                                                             Texas tort claimants'
                                                             summary judgment
                                                             evidence and
                                                             statements of facts in
                                                             preparation to
                                                             incorporate facts into
                                                             the debtor's
                                                             declaration not
                                                             already submitted as
                                                             summary judgment
                                                             evidence.
JHY        06/08/2023   B190     4.10   285.00       1168.50 Draft and revise the
                                                             fact section of the
                                                             response to
                                                             Connecticut tort
                                                             claimants' motion for
                                                             summary judgment
                                                             (1.7); analyze and
                                                             review Connecticut
                                                             state court record for
                                                             in preparation to draft
                                                             fact section of the
                                                             brief and the affidavit
                                                             (2.4).
VLD        06/08/2023   B190     3.70   795.00       2941.50 Emails with team
                                                             analyzing cases and
                                                             discussing strategy
                                                             for MSJ responses
                                                             (.9); review cases on
                                                             MSJ regarding
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               non-dischargeability
                                                               and collateral
                                                               estoppel issues (.8);
                                                               calls with client
                                                               reviewing affidavit
                                                               (.9); emails with trial
                                                               team on affidavit
                                                               changes and edits
                                                               (1.1).
VLD        06/08/2023   B140     0.20 795.00          159.00 Begin drafting ESG
                                                             demand letter
                                                             regarding assertion of
                                                             owning Platinum
                                                             inventory.
VLD        06/08/2023   B210     1.80 795.00         1431.00 Emails seeking
                                                             update on deposition
                                                             sought with UCC to
                                                             ESG motion to quash
                                                             (.1); attend hearing on
                                                             motion to quash (1.1);
                                                             discuss results of
                                                             hearing with client
                                                             and team (.6).
RJY        06/09/2023   B190     1.90   340.00        646.00 Edit, cite check,
                                                             modify brief.
RJY        06/09/2023   B190     0.60   340.00        204.00 Discuss final issues to
                                                             address in brief in
                                                             response to summary
                                                             judgment with
                                                             co-counsel
RJY        06/09/2023   B190     1.20   340.00        408.00 Format legal citations
                                                             in brief.
RJY        06/09/2023   B190     0.90   340.00        306.00 Incorporate
                                                             suggestions to
                                                             changes in the draft
                                                             from the litigation and
                                                             bankruptcy teams
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
RJY        06/09/2023   B190     0.50 340.00          170.00 Coordinate exhibits to
                                                             attach to response
                                                             brief.
RJY        06/09/2023   B190     0.20   340.00         68.00 Coordinate objection
                                                             to evidentiary
                                                             material.
EEW        06/09/2023   B190     0.10   295.00         29.50 Serve via email
                                                             unredacted Exhibit A
                                                             to agreed 9019 order
                                                             to Sara Brauner,
                                                             Jennifer Hardy, Avi
                                                             Mosenberg and
                                                             Jarrod Martin.
TBS        06/09/2023   B190     2.50   400.00       1000.00 Review documents
                                                             being produced for
                                                             discovery for
                                                             necessary redactions
JCD        06/09/2023   B190     3.50   475.00       1662.50 Review and analyze
                                                             Texas MSJ Response.
JCD        06/09/2023   B190     4.00   475.00       1900.00 Review and analyze
                                                             Connecticut MSJ
                                                             Response.
LGD        06/09/2023   B190     1.90   185.00        351.50 Continue to apply
                                                             redactions and
                                                             prepare client
                                                             document production
                                                             for attorney review
                                                             and approval.
CWS        06/09/2023   B190     8.10   715.00       5791.50 Review and revise
                                                             Responses and
                                                             Objections to
                                                             Plaintiffs' Motion for
                                                             Summary Judgment
                                                             (6.3); review and
                                                             revise settlement
                                                             offer (.5); review and
                                                             respond to various
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               discovery
                                                               correspondence (1.3).
DJM        06/09/2023   B190    14.90   310.00       4619.00 Draft response to
                                                             Texas plaintiffs'
                                                             motion for summary
                                                             judgment
JHY        06/09/2023   B190     0.20   285.00         57.00 Analyze summary
                                                             judgment motion and
                                                             evidence of both
                                                             Texas and
                                                             Connecticut tort
                                                             claimants to
                                                             strategize motion to
                                                             strike/objection to
                                                             summary judgment
                                                             evidence.
JHY        06/09/2023   B190     3.60   285.00       1026.00 Analyze and review
                                                             document production
                                                             batch for redaction
                                                             and responsiveness to
                                                             UCC's Rule 2004
                                                             examination
                                                             document requests
                                                             (3.1); draft email to
                                                             UCC's counsel
                                                             regarding potential
                                                             privacy issue and
                                                             delay due to same
                                                             (0.5).
JHY        06/09/2023   B190     4.10   285.00       1168.50 Draft and revise
                                                             Objection and
                                                             Response to
                                                             Plaintiffs' Statement
                                                             of Undisputed
                                                             Material Facts against
                                                             Connecticut and
                                                             Texas summary
                                                             judgment motions
                                                             (1.6); analyze and
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               review the tort
                                                               claimants' statements
                                                               of undisputed
                                                               material facts in
                                                               preparation to draft
                                                               objections (2.5).
VLD        06/09/2023   B210     0.90   795.00        715.50 Call with S. Brauner
                                                             to discuss interim
                                                             compensation
                                                             increase terms (.4);
                                                             emails with
                                                             accounting regarding
                                                             setting up escrow and
                                                             report same to UCC
                                                             (.2); review email
                                                             regarding moving
                                                             domain registry and
                                                             send to B. Schleizer
                                                             for review. (.3)
VLD        06/09/2023   B190    11.40 795.00         9063.00 Begin review of TX
                                                             MSJ response and
                                                             initial comments to
                                                             initial draft (2.8);
                                                             analyze need for
                                                             objection to statement
                                                             of undisputed facts
                                                             and contents of same
                                                             (1.7); discuss strategy
                                                             for first amendment
                                                             argument revision
                                                             (.7); discuss relevant
                                                             issues with team
                                                             (1.1); review offer
                                                             support and revisions
                                                             to same with financial
                                                             advisors (.8); email
                                                             with mediator
                                                             regarding timing on
                                                             settlement offer (.2);
                                                             analyze additional
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               comments to draft
                                                               offer (.3); finalize
                                                               offer and send to
                                                               mediator and SubV
                                                               trustee (.4); review
                                                               issues with
                                                               production and
                                                               discuss same with
                                                               team (.8); emails
                                                               regarding scheduling
                                                               depositions and topics
                                                               for 2004 with Debtor
                                                               and B. Schliezer (.8);
                                                               call with trial team on
                                                               2004 issues (.3);
                                                               emails with parties to
                                                               9019 and committee
                                                               confirming no
                                                               objection to sharing
                                                               unredacted Exhibit A
                                                               to 9019. (1.5)
AMF        06/10/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             June 8 Thursday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.1).
RJY        06/10/2023   B190     5.90   340.00       2006.00 Edit drafts to brief
                                                             (3.5); review drafts
                                                             (1.0); attend team
                                                             meetings (1.4).
CWS        06/10/2023   B190     8.10   715.00       5791.50 Review and revise
                                                             Response and
                                                             Objection to CT MSJ
                                                             (6.4); calls and
                                                             correspondence
                                                             regarding same (1.3).
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
DJM        06/10/2023   B190    12.50   310.00       3875.00 Draft and revise
                                                             response to Texas
                                                             plaintiffs' motion for
                                                             summary judgment.
JHY        06/10/2023   B190     0.80   285.00        228.00 Analyze, review, and
                                                             strategize briefing
                                                             strategy to ensure no
                                                             assignments overlap
                                                             between members
                                                             and all parts of the
                                                             briefs are assigned to
                                                             drafters.
JHY        06/10/2023   B190    13.10   285.00       3733.50 Draft Statements of
                                                             Undisputed Material
                                                             Facts for the debtor's
                                                             response to Texas tort
                                                             claimants' summary
                                                             judgment motion
                                                             (2.7); draft Objection
                                                             and Response to
                                                             Texas tort claimants'
                                                             Statement of
                                                             Undisputed Material
                                                             Facts (4.1); draft
                                                             Statements of
                                                             Undisputed Material
                                                             Facts for the debtor's
                                                             response to
                                                             Connecticut tort
                                                             claimants' summary
                                                             judgment motion
                                                             (2.4); draft Objection
                                                             and Response to
                                                             Connecticut tort
                                                             claimants' Statement
                                                             of Undisputed
                                                             Material Facts (3.9).
VLD        06/10/2023   B190     4.90   795.00       3895.50 Review and revise TX
                                                             brief (4.1); call with
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               team to discuss
                                                               structural changes
                                                               needed for final
                                                               versions (.8).
AMF        06/11/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             June 9 Friday (4.0);
                                                             summarize statements
                                                             made related to case
                                                             (.1).
RJY        06/11/2023   B190     6.60   340.00       2244.00 Draft, revise, edit,
                                                             comment on several
                                                             drafts of briefs,
                                                             statements, and points
                                                             of law for final
                                                             response to summary
                                                             judgment.
CWS        06/11/2023   B190    12.60   715.00       9009.00 Review and revise
                                                             Draft Responses and
                                                             Objections to TX and
                                                             CT MSJs (9.8);
                                                             review and respond to
                                                             related
                                                             correspondence (2.8).
DJM        06/11/2023   B190    10.60   310.00       3286.00 Draft and revise
                                                             response to Texas
                                                             plaintiffs' motion for
                                                             summary judgment.
JHY        06/11/2023   B190     7.30   285.00       2080.50 Draft and revise
                                                             response to Texas tort
                                                             claimants' summary
                                                             judgment motion and
                                                             fix all citations to
                                                             conform to Bluebook
                                                             and Greenbook (6.6);
                                                             revise the debtor's
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               declaration in support
                                                               of the same (0.7).
VLD        06/11/2023   B190     6.70   795.00       5326.50 Review and revise CT
                                                             brief and send email
                                                             to team with
                                                             comments and
                                                             questions (3.6);
                                                             review and revise TX
                                                             brief and send
                                                             comments to team
                                                             (3.1).
JCD        06/12/2023   B190     4.00   475.00       1900.00 Work on final review
                                                             of brief in opposition
                                                             to Texas plaintiffs
                                                             MSJ on
                                                             dischargeability (2.5);
                                                             work helping to
                                                             organize exhibits
                                                             (1.5).
JCD        06/12/2023   B190     4.00   475.00       1900.00 Work on final review
                                                             of brief in opposition
                                                             to Connecticut
                                                             plaintiffs MSJ on
                                                             dischargeability (2.5);
                                                             work helping to
                                                             organize exhibits
                                                             (1.5).
EEW        06/12/2023   B190     0.20   295.00         59.00 KeyCite and case pull
                                                             of In re Scarborough,
                                                             516 B.R. 897 (Bankr.
                                                             W.D. 2014).
EEW        06/12/2023   B190     2.80 295.00          826.00 Review draft of Texas
                                                             response to motion
                                                             for summary
                                                             judgment for
                                                             definitions and
                                                             prepare list of same.
AMF        06/12/2023   B210     2.20   305.00        671.00 Review and analyze
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               client's existing
                                                               platform content,
                                                               InfoWars: Ep. 2023
                                                               June 11 Sunday (2.0);
                                                               summarize statements
                                                               made related to case
                                                               (.2).
RJY        06/12/2023   B190     4.10   340.00       1394.00 Continue to monitor
                                                             drafts, make edits,
                                                             coordinate reviews of
                                                             final draft of response
                                                             to summary
                                                             judgment.
LGD        06/12/2023   B190     0.50   185.00         92.50 Continue to apply
                                                             redactions to billing
                                                             narratives in
                                                             preparation of
                                                             production.
AMF        06/12/2023   B210     1.30   305.00        396.50 Review and analyze
                                                             client's guest
                                                             appearance on Louder
                                                             with Crowder on June
                                                             6 (1.2); summarize
                                                             statements made
                                                             related to case (.1).
AMF        06/12/2023   B210     1.20   305.00        366.00 Review and analyze
                                                             client's guest
                                                             appearance on Louder
                                                             with Crowder on June
                                                             7 (1.1); summarize
                                                             statements made
                                                             related to case (.1).
NAC        06/12/2023   B240     4.70   675.00       3172.50 Analyze tax treatment
                                                             of a potential
                                                             settlement and
                                                             associated legal fees
                                                             (2.9); call with
                                                             outside advisors
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               regarding
                                                               hypothetical
                                                               settlement structure
                                                               (.9); commence
                                                               drafting
                                                               memorandum with
                                                               IRS authority
                                                               regarding same (.9).
CWS        06/12/2023   B190    13.60   715.00       9724.00 Review and analyze
                                                             exhibits (4.2); review
                                                             and revise draft
                                                             responses and
                                                             objections (7.9); calls
                                                             and conferences
                                                             regarding same (1.5).
DJM        06/12/2023   B190     0.50   310.00        155.00 Develop strategy
                                                             regarding responses
                                                             to Texas and
                                                             Connecticut plaintiffs'
                                                             motions for summary
                                                             judgment.
DJM        06/12/2023   B190     2.50   310.00        775.00 Revise responses to
                                                             Texas and
                                                             Connecticut plaintiffs'
                                                             statement of
                                                             uncontested material
                                                             facts.
DJM        06/12/2023   B190     1.50   310.00        465.00 Revise affidavit filed
                                                             in support of response
                                                             to Texas and
                                                             Connecticut plaintiffs'
                                                             motions for summary
                                                             judgment.
DJM        06/12/2023   B190     9.30   310.00       2883.00 Revise responses to
                                                             Texas and
                                                             Connecticut plaintiffs'
                                                             motions for summary
                                                             judgment.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
JHY        06/12/2023   B190     0.70   285.00        199.50 Analyze, review, and
                                                             strategize current
                                                             briefing progress and
                                                             assignments required
                                                             for filing and not
                                                             duplicate work.
JHY        06/12/2023   B190     9.40   285.00       2679.00 Revise the debtor's
                                                             declaration (0.5);
                                                             draft and prepare
                                                             signature blocks,
                                                             certificates of
                                                             services, and exhibits
                                                             of the response briefs
                                                             and the Objections
                                                             and Responses to the
                                                             tort claimants'
                                                             Statement of
                                                             Undisputed Material
                                                             Facts against both
                                                             Texas and
                                                             Connecticut tort
                                                             claimants' summary
                                                             judgment motion
                                                             (0.6); draft and revise
                                                             response to
                                                             Connecticut tort
                                                             claimants' summary
                                                             judgment motion and
                                                             finalize citations to
                                                             conform to Bluebook
                                                             (8.3).
VLD        06/12/2023   B190     8.90   795.00       7075.50 Review and revise TX
                                                             brief (3.4); call with
                                                             briefing team on brief
                                                             revision status and
                                                             analyzing last minute
                                                             structural changes
                                                             (1.1); review and
                                                             revise objections to
                                                             evidence and SUMF
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               (2.1); draft conclusion
                                                               (1.2); review and
                                                               revise conclusion (.8);
                                                               correspondence
                                                               regarding Debtor
                                                               deposition parameters
                                                               and dates (.3).
VLD        06/12/2023   B240     0.20   795.00        159.00 Emails regarding
                                                             Guadalupe County
                                                             appraisal notice.
AMF        06/13/2023   B210     4.20   305.00       1281.00 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             June 12 Monday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.2)
JCD        06/13/2023   B190     2.00   475.00        950.00 Final review of both
                                                             MSJ response briefs
                                                             and exhibits before
                                                             filing.
TAR        06/13/2023   B190     2.90   200.00        580.00 Draft and build
                                                             comprehensive Table
                                                             of Contents and Table
                                                             of Authorities to
                                                             include an index of all
                                                             case citations in
                                                             support of Defendant
                                                             Alexander E. Jones'
                                                             Objection and
                                                             Response to Movants'
                                                             Motion for Summary
                                                             Judgment (Doc. 58),
                                                             indexing 43-page
                                                             Objection and
                                                             Response.
TAR        06/13/2023   B190     3.40   200.00        680.00 Draft and build
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               comprehensive Table
                                                               of Contents and Table
                                                               of Authorities to
                                                               include an index of all
                                                               case citations in
                                                               support of Defendant
                                                               Alexander E. Jones'
                                                               Objection and
                                                               Response to Movants'
                                                               Motion for Summary
                                                               Judgment (Doc. 27),
                                                               indexing 53-page
                                                               Objection and
                                                               Response.
CWS        06/13/2023   B190    10.40   715.00       7436.00 Review and revise
                                                             Responses and
                                                             Objections to
                                                             Motions for Summary
                                                             Judgment and
                                                             Objections to
                                                             Exhibits and
                                                             Statements of
                                                             Uncontested Facts
                                                             (8.3); review and
                                                             respond to related
                                                             correspondence (2.1).
RJY        06/13/2023   B190     0.60   340.00        204.00 Confer with Deric J.
                                                             McClellan regarding
                                                             final edits to summary
                                                             judgment response
                                                             brief to ensure
                                                             consistency
CCC        06/13/2023   B190     3.20   290.00        928.00 Review and analyze
                                                             extensive client
                                                             documents in
                                                             response to requests
                                                             by UCC
DJM        06/13/2023   B190     8.90   310.00       2759.00 Revise responses to
                                                             Texas and
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Connecticut plaintiffs'
                                                               motions for summary
                                                               judgment and prepare
                                                               for filing
EEW        06/13/2023   B190     5.30   295.00       1563.50 Revise, finalize and
                                                             file defendant's
                                                             response to movant's
                                                             motion for summary
                                                             judgment in both
                                                             adversary
                                                             proceedings (4.4);
                                                             serve same via email
                                                             to parties-in-interest
                                                             for each adversary
                                                             (.5); search for email
                                                             addresses for
                                                             parties-in-interest in
                                                             the Wheeler
                                                             adversary (.4).
JHY        06/13/2023   B190     7.70   285.00       2194.50 Revise response
                                                             briefs, statements of
                                                             undisputed facts, and
                                                             objections and
                                                             responses to tort
                                                             claimants' statements
                                                             of undisputed facts
                                                             and finalize for filing
                                                             and service for both
                                                             the Texas and
                                                             Connecticut tort
                                                             claimants' summary
                                                             judgment motions.
VLD        06/13/2023   B190     6.30   795.00       5008.50 Work on brief
                                                             responding to motion
                                                             for summary
                                                             judgment in TX
                                                             non-dischargeability
                                                             action and prepare for
                                                             filing (3.9); call with
                                                             client reviewing
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               revised affidavit in
                                                               support of both
                                                               responses to MSJs in
                                                               TX and CT (.6); final
                                                               approval from client
                                                               over text (.3); review
                                                               edits to objections to
                                                               MSJ evidence and
                                                               statements of
                                                               undisputed material
                                                               fact (.7); review and
                                                               analyze conclusion
                                                               comments (.8).
AMF        06/14/2023   B210     4.30   305.00       1311.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             June 13 Tuesday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.3).
EEW        06/14/2023   B190     0.40   295.00        118.00 Procure Schleizer
                                                             declaration and
                                                             file-stamped copy of
                                                             9019 motion and
                                                             circulate to team.
CWS        06/14/2023   B140     1.40   715.00       1001.00 Calls and
                                                             correspondence
                                                             regarding hearing and
                                                             related matters.
CWS        06/14/2023   B120     3.80   715.00       2717.00 Review and respond
                                                             to multiple
                                                             correspondence
                                                             regarding estate
                                                             efforts to centralize
                                                             and recover estate
                                                             assets (1.8);
                                                             conferences regarding
                                                             same (.7).
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Attorney      Date      Task   Hours    Rate     Bill Amount     Description of
                                                               Services Rendered
JHY        06/14/2023   B140     4.00   285.00       1140.00 Draft and revise
                                                             Declaration of Robert
                                                             Schleizer in Support
                                                             of Debtors' Motion
                                                             for Approval of
                                                             Compromise and
                                                             Settlement under
                                                             Federal Rule of
                                                             Bankruptcy
                                                             Procedure 9019 (2.1);
                                                             review motion for
                                                             approval of
                                                             compromise and
                                                             settlement under
                                                             Federal Rule of
                                                             Bankruptcy
                                                             Procedure 9019 in
                                                             preparation to draft
                                                             declaration in support
                                                             (1.1); review
                                                             pertinent
                                                             correspondences and
                                                             cost estimate of
                                                             Fertitta Reynal LLP
                                                             to incorporate into
                                                             Declaration of Robert
                                                             Schleizer (0.8).
VLD        06/14/2023   B130     0.70   795.00        556.50 Correspondence
                                                             regarding potential of
                                                             auctioning off
                                                             personal items to
                                                             receive higher value.
VLD        06/14/2023   B160     0.20   795.00        159.00 Sending Martin firm
                                                             invoices to AJ notice
                                                             parties for May fees.
                                                             (.2)
VLD        06/14/2023   B210     3.70   795.00       2941.50 Analyze need for
                                                             motion to approve
                                                             post-petition
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               contracts (.6);
                                                               meeting with R.
                                                               Battaglia and P.
                                                               McGill on status of
                                                               FSS operations (1.2);
                                                               call with R. Battaglia
                                                               on various FSS
                                                               matters (.7); review
                                                               status of Youngevity
                                                               demands for
                                                               accounting and
                                                               contracts (.3); review
                                                               and revise stipulation
                                                               provisions for
                                                               resolution to
                                                               employment
                                                               agreement
                                                               modification (9).
VLD        06/14/2023   B140     1.10   795.00        874.50 Email seeking
                                                             clarification of
                                                             estimates regarding
                                                             AJ and FSS in
                                                             Fontaine where AJ
                                                             has been dismissed.
                                                             (.3) Analyzing
                                                             affidavit from B.
                                                             Schleizer needed in
                                                             support of 9019 (.3);
                                                             call with J. Hardy on
                                                             modifications of 9019
                                                             orders requested by
                                                             Judge. (.4) Clarifying
                                                             need for B. Schleizer
                                                             affidavit in support of
                                                             9019. (.1)
VLD        06/14/2023   B195     2.80   795.00       2226.00 Travel to and from
                                                             Austin for meetings
                                                             with client and P.
                                                             McGill (5.6) [billed at
                                                             half-time]
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
VLD        06/14/2023   B190     1.50   795.00       1192.50 Correspondence
                                                             regarding draft
                                                             counteroffer (.5);
                                                             emails regarding
                                                             production protocol
                                                             revisions needed to
                                                             prevent disclosure of
                                                             personal information
                                                             (.4); emails to
                                                             accounting to set up
                                                             escrow account for
                                                             pro fee escrow (.2);
                                                             review and analyze
                                                             information needed in
                                                             2004 to committee
                                                             (3); draft
                                                             correspondence with
                                                             PQPR on settlement
                                                             status (.1).
AMF        06/15/2023   B210     4.20   305.00       1281.00 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             June 13 Wednesday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.2).
AMF        06/15/2023   B190     0.90   305.00        274.50 Revise Production
                                                             Protocol re: 2004
                                                             requests.
TBS        06/15/2023   B190     0.20   400.00         80.00 Multiple emails with
                                                             team to discuss
                                                             production protocol
                                                             and conference call
                                                             scheduling.
CCC        06/15/2023   B190     4.00   290.00       1160.00 Review and analyze
                                                             extensive documents
                                                             in response to
                                                             requests for
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               production by the
                                                               UCC.
CCC        06/15/2023   B190     0.30     0.00           0.00 Develop strategy for
                                                              obtaining materials
                                                              responsive to UCC
                                                              2004 requests. [NO
                                                              CHARGE]
CCC        06/15/2023   B190     0.60     0.00           0.00 Develop strategy for
                                                              reviewing and
                                                              analyzing extensive
                                                              documents in
                                                              response to requests
                                                              for production by the
                                                              UCC. [NO
                                                              CHARGE]
LGD        06/15/2023   B190     0.10   185.00         18.50 Prepare supplemental
                                                             client document
                                                             production.
EEW        06/15/2023   B190     1.00   295.00        295.00 Draft demand letter to
                                                             Johnnie Patterson
                                                             regarding ESG
                                                             contract.
EEW        06/15/2023   B190     0.30   295.00         88.50 Pull Scarborough
                                                             case and review
                                                             keycites for same for
                                                             the response to
                                                             motion for summary
                                                             judgment.
CWS        06/15/2023   B120     1.80   715.00       1287.00 Draft Motion to
                                                             Approve Book
                                                             Contracts and related
                                                             correspondence.
CWS        06/15/2023   B140     1.60   715.00       1144.00 Review and revise
                                                             Violation of
                                                             Automatic Stay Letter
                                                             and related
                                                             correspondence.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
CWS        06/15/2023   B160     1.30   715.00        929.50 Calls and
                                                             correspondence
                                                             regarding
                                                             employment
                                                             engagement for N.
                                                             Pattis.
JHY        06/15/2023   B190     0.30 285.00           85.50 Analyze and
                                                             strategize email
                                                             review protocols in
                                                             response to UCC's
                                                             Rule 2004
                                                             Examination.
JHY        06/15/2023   B170     0.50   285.00        142.50 Call with Robert
                                                             Schleizer regarding
                                                             Teneo fee objections
                                                             analysis (0.3); review
                                                             and analyze Teneo's
                                                             first three fee
                                                             statements (0.2).
JHY        06/15/2023   B160     3.40   285.00        969.00 Draft and revise
                                                             application to hire
                                                             Norm Pattis (1.9);
                                                             analyze and review
                                                             filings regarding
                                                             Norm Pattis in the
                                                             FSS bankruptcy (1.5).
VLD        06/15/2023   B190     0.70   795.00        556.50 Emails on AJ
                                                             deposition dates (.1);
                                                             emails regarding
                                                             payment for phone
                                                             repair/data restoration
                                                             (.2); emails on
                                                             Contini invoices and
                                                             breach of document
                                                             request and analysis
                                                             of presenting
                                                             invoices. (.4)
VLD        06/15/2023   B210     3.00   795.00       2385.00 Call on review
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               protocol for
                                                               remaining data to be
                                                               produced (.8); emails
                                                               to team members on
                                                               same (.2); emails
                                                               updating on
                                                               stipulation on
                                                               employment
                                                               agreement progress
                                                               (.2); review and
                                                               revise motion to
                                                               approve book
                                                               contracts (.9); review
                                                               book contracts
                                                               confidentiality
                                                               provisions and
                                                               evaluate portions for
                                                               redaction (.7); emails
                                                               with agency and to
                                                               publisher on sealing
                                                               details (.2).
VLD        06/15/2023   B140     1.20   795.00        954.00 Review and revise
                                                             ESG demand letter
                                                             (.7); review contracts
                                                             between ESG and
                                                             FSS and AJ for
                                                             support of the demand
                                                             letter (.4); review
                                                             comments and
                                                             prepare for sending
                                                             (.1).
VLD        06/15/2023   B110     1.10   795.00        874.50 Draft strategic list of
                                                             items to accomplish
                                                             in case and analyze
                                                             staffing to accomplish
                                                             tasks timely.
VLD        06/15/2023   B160     0.30   795.00        238.50 Analyze best
                                                             practices on partial
                                                             monthly fee statement
                                                             and deadlines in
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               interim compensation
                                                               order and respond to
                                                               BlackBriar on same.
                                                               (.3)
VLD        06/15/2023   B170     0.30   795.00        238.50 Correspondence with
                                                             B. Schleizer on Teneo
                                                             fee analysis.
VLD        06/15/2023   B190     2.10   795.00       1669.50 Call with Mediator on
                                                             settlement terms (.8);
                                                             call with B. Schleizer
                                                             on call results (.4);
                                                             call with client and B.
                                                             Schleizer on mediator
                                                             call results (.9).
TBS        06/16/2023   B190     0.50   400.00        200.00 Conference call with
                                                             team to discuss
                                                             document review and
                                                             production protocol.
MAF        06/16/2023   B190     0.50   250.00        125.00 Conference call
                                                             regarding document
                                                             review/production
                                                             and specific search
                                                             terms.
AMF        06/16/2023   B110     0.60   305.00        183.00 Revise Production
                                                             Protocol re: 2004
                                                             requests.
AMF        06/16/2023   B210     4.30   305.00       1311.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             June 14 Thursday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.3).
CCC        06/16/2023   B190     0.30   290.00         87.00 Draft correspondence
                                                             to UCC regarding
                                                             document production
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               by Debtor.
CCC        06/16/2023   B190     0.30   290.00         87.00 Prepare documents
                                                             for production to the
                                                             UCC.
CCC        06/16/2023   B190     3.00   290.00        870.00 Review and analyze
                                                             extensive documents
                                                             in response to
                                                             requests for
                                                             production by the
                                                             UCC.
CCC        06/16/2023   B190     0.70     0.00           0.00 Develop strategy for
                                                              production of
                                                              documents to the
                                                              UCC in response to
                                                              2004 requests. [NO
                                                              CHARGE]
CCC        06/16/2023   B190     0.30     0.00           0.00 Develop strategy for
                                                              obtaining materials
                                                              responsive to UCC
                                                              2004 requests. [NO
                                                              CHARGE]
LGD        06/16/2023   B190     0.10   185.00         18.50 Prepare Contini
                                                             invoices received
                                                             from Blackbriar for
                                                             attorney review and
                                                             redactions.
EEW        06/16/2023   B140     0.20   295.00         59.00 Review case docket
                                                             entry continuing
                                                             hearing on motion for
                                                             relief from stay and
                                                             docket new hearing
                                                             date for same.
EEW        06/16/2023   B210     2.20   295.00        649.00 Draft motion for entry
                                                             of an order
                                                             authorizing debtor to
                                                             file existing book
                                                             contract and new
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               contract under seal,
                                                               along with proposed
                                                               order.
CWS        06/16/2023   B320     2.30   715.00       1644.50 Draft plan related
                                                             correspondence.
CWS        06/16/2023   B210     1.20   715.00        858.00 Review and comment
                                                             on stipulation and
                                                             resolution language
                                                             regarding
                                                             employment
                                                             agreement.
CWS        06/16/2023   B160     1.80   715.00       1287.00 Review and revise
                                                             Application to
                                                             Employ N. Pattis and
                                                             supporting pleadings.
JHY        06/16/2023   B190     0.60   285.00        171.00 Analyze, review, and
                                                             strategize production
                                                             protocols for next
                                                             batch of document
                                                             production in
                                                             response to UCC's
                                                             Rule 2004
                                                             examination.
JHY        06/16/2023   B160     3.10   285.00        883.50 Draft and finalize
                                                             employment
                                                             application to hire
                                                             Norm Pattis.
JHY        06/16/2023   B170     3.10   285.00        883.50 Analyze and review
                                                             the interim
                                                             Compensation
                                                             Procedure order
                                                             regarding how to
                                                             notice objection to
                                                             fees (0.4); draft
                                                             analysis email
                                                             regarding objections
                                                             to certain portions of
                                                             Teneo's fees (1.2);
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               draft and review
                                                               email to UCC
                                                               regarding objections
                                                               to Teneo's fees (1.5).
VLD        06/16/2023   B210     2.10   795.00       1669.50 Analysis of removal
                                                             of lawsuit and
                                                             potential violation of
                                                             the discharge
                                                             injunction (.7);
                                                             review and initially
                                                             analyze draft
                                                             stipulation on
                                                             employment
                                                             agreement (.4); begin
                                                             compiling listing of
                                                             non exempt jewelry to
                                                             be sold per stipulation
                                                             with UCC (.2); call
                                                             with R. Battaglia on
                                                             status of all matters
                                                             with FSS and
                                                             settlement issues (.7).
VLD        06/16/2023   B190     1.30   795.00       1033.50 Emails on scheduling
                                                             E. Jones deposition
                                                             (.2); call with L.
                                                             Freeman about
                                                             settlement terms (.7);
                                                             review and analyze
                                                             settlement terms (.4).
VLD        06/16/2023   B185     0.80   795.00        636.00 Emails with agency
                                                             and to publisher on
                                                             sealing details.
VLD        06/16/2023   B170     1.30   795.00       1033.50 Review and analyze
                                                             analysis of Teneo
                                                             monthly statements
                                                             for sending objection
                                                             under Interim
                                                             Compensation Order
                                                             (.6); review and
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               revise email objection
                                                               and send to
                                                               notification parties
                                                               (.4); emails with UCC
                                                               counsel on objections
                                                               to Teneo monthly fee
                                                               statements (.3).
VLD        06/16/2023   B110     0.40   795.00        318.00 Review and approve
                                                             exemption objection
                                                             extension stipulation
                                                             and send email to
                                                             UCC on same.
AMF        06/17/2023   B210     4.20   305.00       1281.00 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             June 15 Friday (4.0);
                                                             summarize statements
                                                             made related to case
                                                             (.2).
TBS        06/19/2023   B190     0.20   400.00         80.00 Telephone call with
                                                             Caylin C. Craig to
                                                             discuss production
                                                             and redaction.
TBS        06/19/2023   B190     4.00   400.00       1600.00 Review and redact
                                                             documents as needed
AMF        06/19/2023   B210     2.10   305.00        640.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             June 18 Sunday (2.0);
                                                             summarize statements
                                                             made related to case
                                                             (.1)
TBS        06/19/2023   B190     2.20   400.00        880.00 Review, redact and
                                                             code documents for
                                                             production
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
CCC        06/19/2023   B190     1.50     0.00           0.00 Develop strategy for
                                                              reviewing and
                                                              analyzing extensive
                                                              client documents in
                                                              response to requests
                                                              by UCC and
                                                              providing responses
                                                              to requests for
                                                              additional
                                                              information from
                                                              UCC. [NO
                                                              CHARGE]
CCC        06/19/2023   B190     3.00     0.00           0.00 Review and analyze
                                                              extensive client
                                                              documents in
                                                              response to requests
                                                              by UCC. [NO
                                                              CHARGE]
EEW        06/19/2023   B160     0.20   295.00         59.00 Email
                                                             correspondence to
                                                             and from Chrystal
                                                             Madden regarding
                                                             interim fee
                                                             applications.
EEW        06/19/2023   B190     2.00   295.00        590.00 Draft debtor's 2004
                                                             examination for the
                                                             UCC.
VLD        06/19/2023   B140     0.30 795.00          238.50 Emails with A.
                                                             Reynal on billings for
                                                             De La Rosa and
                                                             Fontaine matters.
VLD        06/19/2023   B190     0.30 795.00          238.50 Emails seeking
                                                             confirmation of dates
                                                             for depositions and
                                                             scheduling same.
VLD        06/19/2023   B210     0.80   795.00        636.00 Discuss initiative to
                                                             seek budget from
                                                             litigators in TX to
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               project expense in
                                                               budget (.2); emails on
                                                               redactions needed on
                                                               book contracts to
                                                               fulfill confidentiality
                                                               provisions (.6).
VLD        06/19/2023   B170     0.80 795.00          636.00 Call with committee
                                                             counsel to discuss
                                                             Teneo fee deferral.
VLD        06/19/2023   B160     0.20   795.00        159.00 Emails with litigation
                                                             counsel interim comp
                                                             procedures.
VLD        06/19/2023   B110     0.30 795.00          238.50 Emails seeking
                                                             clarification on
                                                             schedules and
                                                             statements
                                                             amendments.
CWS        06/19/2023   B160     2.70   715.00       1930.50 Review and revise
                                                             draft application and
                                                             declaration (1.6);
                                                             draft related
                                                             correspondence (.3);
                                                             perform analysis
                                                             regarding various
                                                             estate professionals
                                                             interim compensation
                                                             issues (.8).
CWS        06/19/2023   B185     0.80   715.00        572.00 Review and respond
                                                             to correspondence
                                                             regarding contract
                                                             redaction matters.
CWS        06/19/2023   B190     1.60   715.00       1144.00 Draft and review
                                                             correspondence
                                                             regarding trial
                                                             theory/strategy.
JHY        06/20/2023   B160     0.50   285.00        142.50 Draft and revise the
                                                             Declaration of
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Norman A. Pattis to
                                                               be attached to the
                                                               Employment
                                                               Application of the
                                                               same.
RJY        06/20/2023   B190     1.60   340.00        544.00 Review and analyze
                                                             final summary
                                                             judgment response to
                                                             prepare for hearing
                                                             and possible appeal
LGD        06/20/2023   B190     0.30   185.00         55.50 Prepare supplemental
                                                             client document
                                                             production.
TBS        06/20/2023   B190     7.30   400.00       2920.00 Review, redact and
                                                             code documents in
                                                             response to document
                                                             request
CCC        06/20/2023   B190     1.50   290.00        435.00 Review and analyze
                                                             extensive client
                                                             documents in
                                                             response to requests
                                                             by UCC
EEW        06/20/2023   B160     0.80   295.00        236.00 Revise, finalize and
                                                             file application to
                                                             employ Pattis &
                                                             Smith, LLC, along
                                                             with supporting
                                                             declaration for same
                                                             (.5); serve via email to
                                                             the trustee and UCC
                                                             (.2); docket objection
                                                             deadline for same
                                                             (.1).
JHY        06/20/2023   B160     1.90   285.00        541.50 Coordinate with
                                                             Norm Pattis regarding
                                                             his employment
                                                             application and
                                                             revising the
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               application as
                                                               requested.
VLD        06/20/2023   B170     0.70   795.00        556.50 Review summary
                                                             from UCC on Teneo
                                                             compromise and
                                                             email to clarify same
                                                             (.4); call with B.
                                                             Schleizer to discuss
                                                             Teneo offer (.3).
VLD        06/20/2023   B210     1.80   795.00       1431.00 Redacting book
                                                             contract and sending
                                                             to publisher and agent
                                                             for review and
                                                             approval (.8); review
                                                             comments and redact
                                                             additional provisions
                                                             accordingly (.3);
                                                             review and revise
                                                             book contract
                                                             approval motion (.7).
VLD        06/20/2023   B160     0.20   795.00        159.00 Emails with S. Jordan
                                                             on co-counsel
                                                             coordination.
CWS        06/20/2023   B160     1.70   715.00       1215.50 Correspondence
                                                             regarding Application
                                                             to Employ N. Pattis
                                                             (.4); review and
                                                             finalize application,
                                                             declaration and
                                                             proposed order (1.3).
CWS        06/20/2023   B190     1.70   715.00       1215.50 Review and analyze
                                                             settlement proposal
                                                             (.9); draft related
                                                             correspondence (.8).
CWS        06/20/2023   B310     1.30   715.00        929.50 Perform analysis and
                                                             draft correspondence
                                                             regarding
                                                             administrative claims.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
CWS        06/20/2023   B190     1.40   715.00       1001.00 Review and analyze
                                                             discovery issues and
                                                             related
                                                             correspondence.
CCC        06/21/2023   B190     3.00   290.00        870.00 Review and analyze
                                                             extensive client
                                                             documents in
                                                             response to requests
                                                             by UCC
TBS        06/21/2023   B190     3.00   400.00       1200.00 Review and redact
                                                             documents in
                                                             response to document
                                                             request from
                                                             creditor's committee
EEW        06/21/2023   B110     1.00   295.00        295.00 Compile monthly
                                                             operating reports in
                                                             the FSS case and
                                                             circulate fileshare
                                                             link to team.
EEW        06/21/2023   B160     2.00   295.00        590.00 Review case docket
                                                             (.1); draft, finalize
                                                             and file certificates of
                                                             no objection to the
                                                             first interim fee
                                                             applications of Crowe
                                                             & Dunlevy,
                                                             Blackbriar Financial
                                                             Advisors and Rachel
                                                             Kennerly (1.3);
                                                             prepare proposed
                                                             order for same (.6).
JHY        06/21/2023   B120     2.30   285.00        655.50 Analyze
                                                             correspondences and
                                                             documents related to
                                                             Youngevity in
                                                             preparation to draft
                                                             Rule 2004
                                                             examination of
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Youngevity for its
                                                               contracts with Free
                                                               Speech Systems and
                                                               the debtor.
VLD        06/21/2023   B190     0.50   795.00        397.50 Emails regarding
                                                             place and time for
                                                             depositions.
CWS        06/21/2023   B310     1.10   715.00        786.50 Draft correspondence
                                                             regarding Youngevity
                                                             matters.
CWS        06/21/2023   B160     1.60   715.00       1144.00 Review and revise
                                                             certificates of no
                                                             objection and
                                                             proposed orders for
                                                             professional fee
                                                             applications.
CWS        06/21/2023   B310     1.30   715.00        929.50 Perform analysis and
                                                             draft correspondence
                                                             regarding
                                                             administrative claims.
AMF        06/22/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             June 19 Monday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.1)
AMF        06/22/2023   B210     4.10   305.00       1250.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             June 20 Tuesday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.1)
CCC        06/22/2023   B190     3.00   290.00        870.00 Review and analyze
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               extensive client
                                                               documents in
                                                               response to requests
                                                               by UCC
EEW        06/22/2023   B160     1.30   295.00        383.50 Draft and file
                                                             certificate of no
                                                             objection regarding
                                                             first interim fee
                                                             application of Crowe
                                                             & Dunlevy,
                                                             BlackBriar Financial
                                                             Advisors and Rachel
                                                             Kennerly.
LGD        06/22/2023   B190     0.60   185.00        111.00 Run pre-production
                                                             quality checks.
EEW        06/22/2023   B190     0.50   295.00        147.50 Review bank
                                                             statements produced
                                                             to the UCC in
                                                             February (.2); email
                                                             correspondence to
                                                             and from Blackbriar
                                                             regarding missing
                                                             BoFA statements for
                                                             November, 2022 (.3).
JHY        06/22/2023   B120     3.30   285.00        940.50 Draft and revise Rule
                                                             2004 examination of
                                                             Youngevity regarding
                                                             production of
                                                             documents responsive
                                                             to contracts or
                                                             contract
                                                             correspondences with
                                                             Free Speech Systems
                                                             or the debtor.
VLD        06/22/2023   B210     0.90   795.00        715.50 Draft correspondence
                                                             regarding revised
                                                             redactions and
                                                             seeking approval for
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               filing (.2); call with T.
                                                               Wulff on whiskey
                                                               deal terms (.4); email
                                                               seeking FTC expert
                                                               and emails with same
                                                               (.3).
VLD        06/22/2023   B190     0.10   795.00         79.50 Review email on
                                                             producing document
                                                             and respond to same.
CWS        06/22/2023   B160     0.40   715.00        286.00 Review and respond
                                                             to interim
                                                             compensation inquiry
                                                             from estate
                                                             professional.
AMF        06/23/2023   B210     4.20   305.00       1281.00 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             June 21 Wednesday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.2).
CCC        06/23/2023   B190     1.00   290.00        290.00 Review and analyze
                                                             extensive client
                                                             documents in
                                                             response to requests
                                                             by UCC
CCC        06/23/2023   B190     0.30   290.00         87.00 Draft correspondence
                                                             to UCC regarding
                                                             document production
                                                             by Debtor
EEW        06/23/2023   B160     0.30 295.00           88.50 ECF case
                                                             management of
                                                             orders granting first
                                                             interim fee
                                                             applications of Crowe
                                                             & Dunlevy,
                                                             BlackBriar Advisors,
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Rachel Kennerly and
                                                               Jordan & Ortiz.
EEW        06/23/2023   B160     0.40   295.00        118.00 Submit and file
                                                             proposed orders
                                                             granting first interim
                                                             fee applications for
                                                             Crowe & Dunlevy,
                                                             BlackBriar Financial
                                                             Advisors and Rachel
                                                             Kennerly.
LGD        06/23/2023   B190     1.40   185.00        259.00 Finalize
                                                             pre-production
                                                             review and prepare
                                                             supplemental client
                                                             document production.
VLD        06/23/2023   B210     1.10   795.00        874.50 Call with FSS counsel
                                                             on various
                                                             operational issues.
VLD        06/23/2023   B160     0.90   795.00        715.50 Call with UST on
                                                             Norm Pattis
                                                             employment and
                                                             issues with Teneo
                                                             fees.
AMF        06/24/2023   B210     4.30   305.00       1311.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             June 22 Thursday
                                                             (4.0); summarize
                                                             statements made
                                                             related to case (.3).
AMF        06/25/2023   B210     4.20   305.00       1281.00 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             June 23 Friday (4.0);
                                                             summarize statements
                                                             made related to case
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               (.2).
AS         06/26/2023   B190     0.90   305.00        274.50 Conference to discuss
                                                             document production
                                                             and discovery project.
AMF        06/26/2023   B210     2.10   305.00        640.50 Review and analyze
                                                             client's existing
                                                             platform content,
                                                             InfoWars: Ep. 2023
                                                             June 25 Sunday (2.0);
                                                             summarize statements
                                                             made related to case
                                                             (.1).
AMF        06/26/2023   B110     0.60   305.00        183.00 Review series of
                                                             emails with UCC
                                                             regarding 2004
                                                             production/requests
                                                             (.3); review and
                                                             Revise Production
                                                             protocol (.3).
CCC        06/26/2023   B190     0.70     0.00           0.00 Develop strategy for
                                                              reviewing and
                                                              analyzing extensive
                                                              client documents in
                                                              response to requests
                                                              by UCC and
                                                              providing responses
                                                              to requests for
                                                              additional
                                                              information from
                                                              UCC. [NO
                                                              CHARGE]
CCC        06/26/2023   B190     2.50   290.00        725.00 Review and analyze
                                                             extensive client
                                                             documents in
                                                             response to requests
                                                             by UCC.
VLD        06/26/2023   B210     0.50 795.00          397.50 Emails with R.
                                                             Battaglia regarding
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               timing to file motion
                                                               to approve
                                                               employment
                                                               agreement (.1); call
                                                               with B. Schleizer
                                                               regarding client trip
                                                               for family emergency
                                                               and needs for remote
                                                               show production
                                                               budget (.4).
VLD        06/26/2023   B190     1.00   795.00        795.00 Correspondence with
                                                             UCC regarding
                                                             deposition and
                                                             document production
                                                             status.
CWS        06/26/2023   B190     2.50   715.00       1787.50 Perform analysis
                                                             regarding settlement
                                                             strategy (1.8); discuss
                                                             staffing needs for
                                                             various case matters
                                                             (.7).
AS         06/27/2023   B190     0.60   305.00        183.00 Conference regarding
                                                             document production
                                                             and production
                                                             protocol.
JHY        06/27/2023   B190     0.70 285.00          199.50 Analyze and
                                                             strategize document
                                                             review and
                                                             production protocol
                                                             in response to UCC's
                                                             Rule 2004
                                                             examination request.
AMF        06/27/2023   B110     0.60   305.00        183.00 Review and Revise
                                                             Production protocol.
AS         06/27/2023   B190     2.80   305.00        854.00 Perform analysis on
                                                             preparation for
                                                             document production.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
LGD        06/27/2023   B190     0.50   185.00         92.50 Conference call
                                                             regarding document
                                                             review protocol and
                                                             process.
CCC        06/27/2023   B190     2.50   290.00        725.00 Review and analyze
                                                             extensive client
                                                             documents in
                                                             response to requests
                                                             by UCC.
CCC        06/27/2023   B190     0.50     0.00           0.00 Develop strategy for
                                                              reviewing and
                                                              analyzing extensive
                                                              client documents in
                                                              response to requests
                                                              by UCC and
                                                              providing responses
                                                              to requests for
                                                              additional
                                                              information from
                                                              UCC. [NO
                                                              CHARGE]
LGD        06/27/2023   B190     1.10   185.00        203.50 Research in
                                                             preparation of review
                                                             team conference call.
LGD        06/27/2023   B190     1.50   185.00        277.50 Apply redactions to
                                                             attorney narratives
                                                             and personal
                                                             identifiable
                                                             information.
EEW        06/27/2023   B110     2.00   295.00        590.00 Begin drafting third
                                                             amended schedules
                                                             A/B and C (1.7);
                                                             prepare email
                                                             correspondence to
                                                             Blackbriar regarding
                                                             items requiring
                                                             additional
                                                             information. (.3)
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
EEW        06/27/2023   B190     2.10   295.00        619.50 Draft witness &
                                                             exhibit list and file
                                                             with the court (.7);
                                                             compile pleadings for
                                                             hearing notebooks for
                                                             the hearings in both
                                                             the AJ and FSS cases
                                                             on 06-29-2023 (1.4).
VLD        06/27/2023   B210     0.30   795.00        238.50 Emails seeking to set
                                                             time to talk regarding
                                                             influencer status as
                                                             owner and FTC
                                                             regulations.
VLD        06/27/2023   B190     2.60   795.00       2067.00 Call regarding
                                                             document production
                                                             matter (.4); call with
                                                             document production
                                                             team on progress on
                                                             review and
                                                             production (.8);
                                                             review and revise
                                                             settlement offer and
                                                             send to group (.9);
                                                             call with B Schleizer
                                                             on settlement offer
                                                             and defining income
                                                             post-tax (.5).
VLD        06/27/2023   B170     0.10 795.00           79.50 Email with UST on
                                                             Teneo fee issues.
VLD        06/27/2023   B140     1.00   795.00        795.00 Call with TX
                                                             claimants discussing
                                                             presentation in
                                                             support of 9019 (.5);
                                                             review and approve
                                                             W&E list for 9019
                                                             motion (.5).
CWS        06/27/2023   B190     1.30   715.00        929.50 Analysis regarding
                                                             settlement offer and
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               related
                                                               correspondence.
LGD        06/28/2023   B190     0.70   185.00        129.50 Apply redactions to
                                                             attorney narratives
                                                             and personal
                                                             identifiable
                                                             information.
CCC        06/28/2023   B190     0.50     0.00           0.00 Develop strategy for
                                                              reviewing and
                                                              analyzing extensive
                                                              client documents in
                                                              response to requests
                                                              by UCC and
                                                              providing responses
                                                              to requests for
                                                              additional
                                                              information from
                                                              UCC. [NO
                                                              CHARGE]
CCC        06/28/2023   B190     1.50   290.00        435.00 Review and analyze
                                                             extensive client
                                                             documents in
                                                             response to requests
                                                             by UCC.
VLD        06/28/2023   B140     1.50   795.00       1192.50 Review and analyze
                                                             ROR filed by CT and
                                                             emails TX regarding
                                                             same (.8); call with
                                                             TX regarding ROR
                                                             and terms of 9019.
                                                             (.7)
VLD        06/28/2023   B170     0.40   795.00        318.00 Emails with J. Ruff on
                                                             Teneo resolution with
                                                             UCC (.1); emails on
                                                             Teneo fees and
                                                             reserving identified
                                                             portion until fee
                                                             application. (.3)
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Attorney      Date      Task   Hours    Rate     Bill Amount     Description of
                                                               Services Rendered
VLD        06/28/2023   B195     2.00   795.00       1590.00 Travel to Houston for
                                                             hearings (billed at
                                                             half time) (4.0).
CWS        06/28/2023   B310     0.90   715.00        643.50 Review and revise
                                                             Application for
                                                             Administrative
                                                             Expenses (.7); draft
                                                             correspondence to R.
                                                             Battaglia regarding
                                                             same (.2).
CCC        06/29/2023   B190     4.50   290.00       1305.00 Review and analyze
                                                             extensive client
                                                             documents in
                                                             response to requests
                                                             by UCC.
LGD        06/29/2023   B190     1.10   185.00        203.50 Apply redactions to
                                                             attorney narratives
                                                             and personal
                                                             identifiable
                                                             information.
VLD        06/29/2023   B195     2.00   795.00       1590.00 Travel from Houston
                                                             (billed at half time)
                                                             (4.0)
VLD        06/29/2023   B190     3.50   795.00       2782.50 Strategy regarding
                                                             2004 discovery from
                                                             Youngevity for
                                                             documents relating to
                                                             agreements with AJ
                                                             and related entities
                                                             (.2); attend meeting
                                                             with Sub V Trustee,
                                                             McGill, Battaglia,
                                                             and TX Tort
                                                             Claimants on
                                                             settlement (2.1);
                                                             emails scheduling
                                                             depositions (.2);
                                                             emails on settlement
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               offer and support for
                                                               values in exhibit A
                                                               (.2); emails on status
                                                               of document
                                                               production. (.8)
VLD        06/29/2023   B185     0.20   795.00        159.00 Emails seeking latest
                                                             redactions on book
                                                             contract for motion to
                                                             approve.
VLD        06/29/2023   B140     2.70   795.00       2146.50 Review invoicing
                                                             from initial TX trial in
                                                             advance of hearing on
                                                             9019 (.3); preparation
                                                             for and attend hearing
                                                             on 9019 to resolve
                                                             stay motion with TX
                                                             tort claimants (1.2);
                                                             draft proffer for
                                                             witness to support
                                                             9019 (.8); review and
                                                             revise supporting
                                                             declaration (.4).
VLD        06/29/2023   B110     0.30   795.00        238.50 Emails with
                                                             co-counsel on case
                                                             status.
CWS        06/29/2023   B140     1.60   715.00       1144.00 Attend Lift Stay
                                                             Hearing (.8); review
                                                             and respond to related
                                                             correspondence (.8).
CWS        06/29/2023   B185     1.10   715.00        786.50 Analyze issues
                                                             regarding Motion to
                                                             approve Book
                                                             Contracts.
CWS        06/29/2023   B140     0.90   715.00        643.50 Analysis and
                                                             correspondence
                                                             regarding Motion for
                                                             Willful Violation of
                                                             Automatic Stay.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
CCC        06/30/2023   B190     1.00   290.00        290.00 Review and analyze
                                                             extensive client
                                                             documents in
                                                             response to requests
                                                             by UCC.
LGD        06/30/2023   B190     1.20   185.00        222.00 Complete
                                                             pre-production
                                                             quality and coding
                                                             review (.6); prepare
                                                             supplemental client
                                                             document production
                                                             (.6).
EEW        06/30/2023   B310     1.30   295.00        383.50 Revise and finalize
                                                             Alex Jones' motion
                                                             for allowance for
                                                             administrative
                                                             expense claim (.7);
                                                             prepare proposed
                                                             order for same (.6).
VLD        06/30/2023   B140     0.30   795.00        238.50 Organizing call to
                                                             discuss upcoming
                                                             stay relief deadlines
                                                             and trial budgeting.
VLD        06/30/2023   B210     0.50 795.00          397.50 Emails seeking
                                                             payment of
                                                             employment
                                                             agreement salary
                                                             increase after
                                                             approval retroactive
                                                             to June 1. (.2); emails
                                                             regarding
                                                             employment
                                                             agreement
                                                             confidentiality and
                                                             attaching to admin
                                                             expense application.
                                                             (.3)
VLD        06/30/2023   B190     0.30   795.00        238.50 Emails with tort
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               claimant counsel
                                                               regarding briefing
                                                               deadline extension.
CWS        06/30/2023   B310     3.40   715.00       2431.00 Review and revise
                                                             administrative claims
                                                             application and
                                                             proposed order (2.8);
                                                             draft and review
                                                             related
                                                             correspondence (.6).
VLD        07/02/2023   B160     0.40   795.00        318.00 Emails with N. Pattis
                                                             and Crissie W.
                                                             Stephenson regarding
                                                             amendments to
                                                             application.
AMF        07/03/2023   B190     2.50   305.00        762.50 Review and Correct
                                                             transcription of Voice
                                                             Texts (to include
                                                             making notes about
                                                             relevancy, privilege,
                                                             etc.).
VLD        07/03/2023   B210     0.70   795.00        556.50 Review and revise
                                                             employment
                                                             agreement (.6); email
                                                             to Sub V Trustee and
                                                             counsel for review
                                                             and comment (.1).
AMF        07/04/2023   B190     5.00 305.00         1525.00 Review
                                                             (approximately 110)
                                                             Voice Notes to
                                                             determine
                                                             responsiveness to
                                                             2004 requests.
EEW        07/04/2023   B110     3.50   295.00       1032.50 Continue work on
                                                             third amended
                                                             schedules and
                                                             amended sofa.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
VLD        07/05/2023   B190     0.70   795.00        556.50 Call with TX Trial
                                                             and appellate lawyers
                                                             seeking budgeting for
                                                             upcoming months to
                                                             incorporate into AJ's
                                                             and FSS budgets for
                                                             TX appeal and
                                                             upcoming trial.
VLD        07/05/2023   B210     0.30   795.00        238.50 Draft correspondence
                                                             regarding operations
                                                             and review of
                                                             employment
                                                             agreement.
CWS        07/06/2023   B310     1.90   715.00       1358.50 Perform analysis and
                                                             draft related
                                                             correspondence
                                                             regarding
                                                             administrative claims
                                                             (.8); revise draft
                                                             Application and
                                                             proposed order (1.1).
VLD        07/06/2023   B160     0.40   795.00        318.00 Correspondence with
                                                             N. Pattis regarding
                                                             claims against estate.
VLD        07/06/2023   B190     1.50   795.00       1192.50 Meeting on
                                                             FSS/Debtor issues
                                                             (1.0); review
                                                             emergency motion for
                                                             extension and
                                                             respond to lawyers
                                                             (.4); email Court to
                                                             relay agreement with
                                                             extension (.1).
EEW        07/06/2023   B190     0.30   295.00         88.50 Review emergency
                                                             motion for an order to
                                                             extend deadline to file
                                                             reply for both
                                                             adversary cases and
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               circulate to team.
VLD        07/06/2023   B210     1.60 795.00         1272.00 Call with Sub V
                                                             Trustee and counsel
                                                             walking through
                                                             employment
                                                             agreement comments
                                                             and concerns (.8);
                                                             review and revise
                                                             employment
                                                             agreement and send
                                                             back to group for
                                                             review and comment
                                                             (.8).
AMF        07/07/2023   B110     0.20   305.00         61.00 Review Voice Notes
                                                             to determine
                                                             responsiveness to
                                                             2004 requests
EEW        07/07/2023   B190     0.30   295.00         88.50 Review stipulation
                                                             and agreed order
                                                             regarding schedule
                                                             for answer and
                                                             summary judgment
                                                             briefing and docket
                                                             reply deadline for
                                                             both adversary cases.
VLD        07/07/2023   B160     1.10   795.00        874.50 Draft correspondence
                                                             to financial advisors
                                                             regarding additional
                                                             claims (.4); call with
                                                             client on employment
                                                             agreement and other
                                                             operational issues
                                                             (.5); per client, send
                                                             employment
                                                             agreement to S.
                                                             Jordan for review and
                                                             comment. (.2)
VLD        07/07/2023   B210     1.00   795.00        795.00 Email and call
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               regarding ESG
                                                               analysis and FSS. (.5)
                                                               Emails with team on
                                                               production of
                                                               documents. (.5)
VLD        07/07/2023   B190     0.20   795.00        159.00 Draft correspondence
                                                             regarding document
                                                             production.
VLD        07/09/2023   B190     0.30   795.00        238.50 Review and respond
                                                             to emails regarding E.
                                                             Jones deposition
                                                             scheduling and
                                                             location.
DTP        07/10/2023   B210     1.00   395.00        395.00 Research regulatory
                                                             issue regarding
                                                             promotional
                                                             activities.
VLD        07/10/2023   B190     0.40   795.00        318.00 Call to discuss E.
                                                             Jones deposition.
VLD        07/10/2023   B210     1.50   795.00       1192.50 Conference regarding
                                                             FTC regs for media
                                                             personality
                                                             endorsements and
                                                             marketing (.7);
                                                             review and respond to
                                                             S. Jordan comments
                                                             to employment
                                                             agreement. (.8)
VLD        07/10/2023   B110     0.00     0.00          0.00 Send UST Fee notice
                                                             to BBA for inclusion
                                                             on financials. (.2)
EEW        07/11/2023   B190     0.30   295.00         88.50 Compile exhibits to
                                                             motion for order
                                                             sealing book
                                                             contracts and
                                                             circulate to team.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
EEW        07/11/2023   B190     0.40 295.00          118.00 Review
                                                             dallaseservice inbox
                                                             and circulate to team
                                                             request for
                                                             supplemental clerk's
                                                             record and request for
                                                             supplemental
                                                             reporter's record filed
                                                             in the Travis County
                                                             District Court.
EEW        07/11/2023   B190     0.70   295.00        206.50 Review and revise
                                                             motion for order
                                                             sealing book
                                                             contracts.
VLD        07/11/2023   B190     0.50   795.00        397.50 Call with team on
                                                             discovery progress.
VLD        07/11/2023   B210     1.50   795.00       1192.50 Review revisions to
                                                             employment
                                                             agreement from Sub
                                                             V (.3); revise
                                                             employment
                                                             agreement and send to
                                                             group seeking call to
                                                             discuss same (.9).
                                                             Review response to
                                                             turnover motion filed
                                                             by FSS. (.3)
VLD        07/11/2023   B210     0.40   795.00        318.00 Review motion to
                                                             approve book
                                                             contracts and prepare
                                                             for filing (.2); finalize
                                                             redactions (.2).
VLD        07/11/2023   B190     0.70   795.00        556.50 Call on matter with
                                                             TDJ Restoration and
                                                             next steps.
LGD        07/11/2023   B190     0.90   185.00        166.50 Identify and extract
                                                             audio notes from
                                                             Cellebrite report in
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               preparation of
                                                               production.
LGD        07/12/2023   B190     0.10   185.00         18.50 Prepare client
                                                             document for attorney
                                                             production review.
CWS        07/12/2023   B190     0.70   715.00        500.50 Review and analyze
                                                             UCC correspondence
                                                             (.4); draft related
                                                             correspondence (.3).
CWS        07/12/2023   B185     2.50   715.00       1787.50 Review and revise
                                                             Motion to Assume
                                                             and approve Book
                                                             Contracts (1.4); draft
                                                             related
                                                             correspondence (.3);
                                                             draft proposed order
                                                             (.8).
VLD        07/12/2023   B210     2.20   795.00       1749.00 Draft and review
                                                             multiple emails
                                                             regarding Cicack
                                                             Holdings issues with
                                                             FSS and AJ and ESG.
                                                             (1.2); call with Sub V
                                                             Trustee and counsel
                                                             on employment
                                                             agreement (.4);
                                                             review and revise
                                                             same and send around
                                                             to all interested
                                                             parties (.6).
VLD        07/12/2023   B195     1.10   795.00        874.50 Travel to Austin
                                                             (billed at half time
                                                             2.2)
VLD        07/12/2023   B190     0.90   795.00        715.50 Draft correspondence
                                                             producing boat title
                                                             transfer documents
                                                             from Reilly (.2);
                                                             review and respond to
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               correspondence with
                                                               UCC regarding
                                                               anonymous 2022
                                                               donor (.2); review
                                                               correspondence
                                                               seeking new dates for
                                                               AJ and financial
                                                               advisors (.3); review
                                                               2004 deposition
                                                               notices. (.3)
VLD        07/12/2023   B140     1.00 795.00          795.00 Review ESG
                                                             contracts and analyze
                                                             payment calculations
                                                             (.4); emails and calls
                                                             with financial
                                                             advisors on
                                                             calculation of return
                                                             (.6).
EEW        07/12/2023   B190     0.20   295.00         59.00 Review Glaston boat
                                                             title and coordinate
                                                             with litigation team to
                                                             prep for document
                                                             production.
EEW        07/12/2023   B120     0.30   295.00         88.50 Search for objection
                                                             filed in the FSS case
                                                             to ESG's motion to
                                                             turn over property and
                                                             circulate to team.
EEW        07/12/2023   B185     2.00   295.00        590.00 Revise, finalize and
                                                             file motion to assume
                                                             existing book contract
                                                             and approve new
                                                             contract (1.7);
                                                             coordinate service of
                                                             same (.3).
DJM        07/12/2023   B190     0.20   310.00         62.00 Review and analyze
                                                             availability for Alex
                                                             Jones deposition
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               dates
CWS        07/13/2023   B190     1.20 715.00          858.00 Review
                                                             correspondence
                                                             regarding deposition
                                                             changes and issues.
VLD        07/13/2023   B190     6.10   795.00       4849.50 Call with client on E.
                                                             Jones' deposition and
                                                             preparation for same
                                                             (.9); draft and review
                                                             emails regarding
                                                             status of voice text
                                                             and memo review and
                                                             production of same
                                                             (.2); calls working
                                                             through document
                                                             production issues
                                                             (1.3); review
                                                             documents for
                                                             production (1.7); draft
                                                             and review
                                                             correspondence
                                                             regarding joint
                                                             defense agreement for
                                                             FSS and AJ. (.3);
                                                             review emails
                                                             regarding
                                                             cancellation of E.
                                                             deposition (.5);
                                                             review alleged
                                                             transfers to E. Jones
                                                             (.4); conference with
                                                             client regarding
                                                             income and expenses
                                                             (.8).
VLD        07/13/2023   B210     1.10   795.00        874.50 Meeting with client to
                                                             review employment
                                                             agreement (.8);
                                                             emails regarding
                                                             book contract motion
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               with UCC (.3).
AS         07/13/2023   B190     3.00   305.00        915.00 Review and analyze
                                                             2004 requests and
                                                             assist with document
                                                             production.
VLD        07/13/2023   B190     0.30   795.00        238.50 Draft correspondence
                                                             to co-counsel
                                                             regarding emails
                                                             needed to respond to
                                                             discovery requests.
RJY        07/14/2023   B190     1.60   340.00        544.00 Review summary
                                                             judgment briefing and
                                                             record in preparation
                                                             for hearing
                                                             (Connecticut case)
RJY        07/14/2023   B190     1.90   340.00        646.00 Review summary
                                                             judgment briefing and
                                                             record in preparation
                                                             for hearing (Texas
                                                             case)
CWS        07/14/2023   B190     4.40 715.00         3146.00 Review reply briefs.
EEW        07/14/2023   B110     1.00   295.00        295.00 Review and redact
                                                             bank statements
                                                             received from
                                                             BlackBriar Advisors
                                                             in support of May
                                                             MOR.
EEW        07/14/2023   B140     0.30   295.00         88.50 Review 2004
                                                             examination notices
                                                             to David Jones and
                                                             Patrick Reilly and
                                                             docket same.
VLD        07/14/2023   B210     0.30   795.00        238.50 Review and respond
                                                             to correspondence
                                                             with UST regarding
                                                             redacted book
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               contracts.
VLD        07/14/2023   B190     7.90   795.00       6280.50 Review and respond
                                                             to correspondence
                                                             regarding assistance
                                                             for E. Jones team on
                                                             deposition
                                                             preparation (.5);
                                                             Review
                                                             correspondence
                                                             regarding recovered
                                                             damaged phone data
                                                             (.4); review notice of
                                                             rescheduling of E.
                                                             Jones deposition (.2);
                                                             preparation for and
                                                             meeting with K.
                                                             Porter on discovery
                                                             issues (.2.6); draft
                                                             follow up email with
                                                             agreements and to dos
                                                             for document
                                                             production and
                                                             discuss with team
                                                             lead (.5); meeting
                                                             with client on various
                                                             discovery and related
                                                             issues. (2.1); draft
                                                             emails to Debtor staff
                                                             seeking emails for
                                                             production to UCC.
                                                             (.4)
VLD        07/14/2023   B195     1.00   795.00        795.00 Travel from Austin to
                                                             Dallas (billed at half
                                                             time 2.0)
VLD        07/14/2023   B210     2.30   795.00       1828.50 Review discovery on
                                                             admin claim
                                                             application (.8); send
                                                             financial questions to
                                                             financial advisors for
                                                             review and answer
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               from bank account
                                                               statements (4); call to
                                                               Tyler Wulff regarding
                                                               whiskey deal and
                                                               connecting with
                                                               counsel on FTC regs
                                                               (.3); meeting with
                                                               client on FSS
                                                               operations, marketing
                                                               and advertising
                                                               issues. (.8)
AS         07/14/2023   B190     3.70   305.00       1128.50 Perform document
                                                             review and assist with
                                                             responding to 2004
                                                             requests.
RJY        07/15/2023   B190     2.20   340.00        748.00 Prepare outline for
                                                             hearing on summary
                                                             judgment motion
VLD        07/15/2023   B190     3.90   795.00       3100.50 Call with client
                                                             regarding TX trial
                                                             strategy and overall
                                                             case strategy (.8); call
                                                             with N. Pattis and
                                                             client regarding same
                                                             (.9); call with N.
                                                             Pattis regarding same
                                                             (.7). Brief review of
                                                             TX and CT reply to
                                                             briefs and emails
                                                             staffing detailed
                                                             review and discussion
                                                             of same. (1.5)
VLD        07/16/2023   B190     0.90   795.00        715.50 Call with C. Martin
                                                             on background in TX
                                                             case and discuss
                                                             strategy going
                                                             forward (.5); call with
                                                             N. Pattis regarding
                                                             Texas trial strategy.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               (.4)
RJY        07/17/2023   B190     1.30   340.00        442.00 Read and analyze
                                                             plaintiff's Connecticut
                                                             reply brief in support
                                                             of summary judgment
RJY        07/17/2023   B190     2.10   340.00        714.00 Identify issues and
                                                             cases from reply brief
                                                             for use in preparation
                                                             for hearing
RJY        07/17/2023   B190     1.50   340.00        510.00 Organize legal
                                                             arguments and
                                                             formulate responses
                                                             to plaintiff's legal
                                                             positions
RJY        07/17/2023   B190     0.60   340.00        204.00 Assess key arguments
                                                             in plaintiff's reply
                                                             brief
AMF        07/17/2023   B190     2.40 305.00          732.00 Review audio
                                                             recordings for
                                                             production responsive
                                                             to 2004 requests from
                                                             UCC.
CWS        07/17/2023   B140     3.10   715.00       2216.50 Review and revise
                                                             Motion to Enforce the
                                                             Automatic Stay and
                                                             Proposed Order (2.3);
                                                             review and respond to
                                                             related
                                                             correspondence (.8).
JCD        07/17/2023   B190     3.60   475.00       1710.00 Reviewing the
                                                             briefing and the cases
                                                             cited in the summary
                                                             judgment briefing of
                                                             the CT Plaintiffs'
                                                             case.
CWS        07/17/2023   B190     3.80   715.00       2717.00 Review and analyze
                                                             Reply Brief (2.5);
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               calls to discuss same
                                                               (1.3).
EEW        07/17/2023   B130     0.20   295.00         59.00 Review case docket
                                                             for FSS and docket
                                                             continued cash
                                                             collateral hearing
                                                             date.
VLD        07/17/2023   B110     0.80   795.00        636.00 Follow up on various
                                                             pleadings to be filed
                                                             in case to implement
                                                             case strategy. (.8)
VLD        07/17/2023   B140     1.30   795.00       1033.50 Review and revise
                                                             motion to enforce stay
                                                             with ESG and prepare
                                                             for filing.
VLD        07/17/2023   B190     2.60   795.00       2067.00 Draft correspondence
                                                             to UCC regarding
                                                             document production
                                                             (.1); meeting
                                                             regarding software
                                                             issues with data
                                                             collection with team
                                                             (.2); review summary
                                                             of voice message
                                                             review (.3);
                                                             preparation for reply
                                                             brief calls (.7); review
                                                             and analyze issues
                                                             with reply brief
                                                             staffing and
                                                             preparation for MSJ
                                                             hearing (.6); strategy
                                                             regarding dividing up
                                                             argument sections
                                                             (.7).
VLD        07/17/2023   B210     0.80   795.00        636.00 Call with R. Battaglia
                                                             on operational issues
                                                             and potential
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               settlement of
                                                               administrative
                                                               expense claim and
                                                               correspondence
                                                               regarding same.
AS         07/17/2023   B190     3.10   305.00        945.50 Perform document
                                                             review in connection
                                                             with 2004 requests.
DJM        07/17/2023   B190     2.50   310.00        775.00 Review and analyze
                                                             reply brief of Texas
                                                             plaintiffs
JHY        07/17/2023   B140     4.10   285.00       1168.50 Draft and revise
                                                             Emergency Motion to
                                                             Enforce Automatic
                                                             Stay against Elevated
                                                             Solutions Group,
                                                             LLC
JHY        07/17/2023   B120     1.20   285.00        342.00 Draft and revise Rule
                                                             2004 Examination of
                                                             Youngevity
                                                             International
LGD        07/18/2023   B190     0.60   185.00        111.00 Identify time stamp of
                                                             recording sent to Greg
                                                             Reese (.3); review
                                                             and respond to
                                                             correspondence
                                                             regarding Cellebrite
                                                             version used for
                                                             reporting (.3).
RJY        07/18/2023   B190     0.50   340.00        170.00 Formulate legal
                                                             argument strategy for
                                                             summary judgment
                                                             hearing
RJY        07/18/2023   B190     1.20   340.00        408.00 Draft worksheet of
                                                             key legal issues and
                                                             cases for summary
                                                             judgment hearing
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
RJY        07/18/2023   B190     1.50   340.00        510.00 Conduct thorough
                                                             review of reply brief
                                                             and arguments
                                                             contained therein.
JCD        07/18/2023   B190     3.50 475.00         1662.50 Review of the CT
                                                             Plaintiffs' MSJ and
                                                             Brief, and Debtor's
                                                             Response Brief, and
                                                             the Plaintiffs Reply
                                                             Brief.
JCD        07/18/2023   B190     1.00   475.00        475.00 Call with client Alex
                                                             Jones and counsel
                                                             Vickie L. Driver to
                                                             consult and advise on
                                                             our perspective of all
                                                             the MSJ briefing.
RJY        07/18/2023   B190     1.20   340.00        408.00 Review and analyze
                                                             reply in support of
                                                             summary judgment in
                                                             Texas case
AMF        07/18/2023   B110     0.90 305.00          274.50 Review audio
                                                             recordings to
                                                             determine
                                                             responsiveness to
                                                             UCC's 2004 requests
TBS        07/18/2023   B190     0.30   400.00        120.00 Conference with
                                                             document review
                                                             team to discuss
                                                             document review
                                                             protocol and
                                                             assignments
CWS        07/18/2023   B190     4.60   715.00       3289.00 Calls and
                                                             correspondence
                                                             regarding reply briefs
                                                             and analysis
                                                             regarding same.
JCD        07/18/2023   B190     2.00 475.00          950.00 Reviewing cases cited
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               and briefing of the
                                                               MSJ filings for the
                                                               CT Plaintiffs to
                                                               prepare for oral
                                                               argument.
VLD        07/18/2023   B195     2.00   795.00       1590.00 Travel to Austin
                                                             (billed at half time
                                                             4.0)
VLD        07/18/2023   B140     1.10   795.00        874.50 Review and analyze
                                                             ESG split between
                                                             FSS/ESG and A.
                                                             Jones (.4); revise and
                                                             send to counsel for
                                                             FSS to send to ESG's
                                                             counsel for approval
                                                             or comment (.5);
                                                             emails with financial
                                                             advisors regarding
                                                             same (.4).
VLD        07/18/2023   B190     8.30   795.00       6598.50 Draft and review
                                                             emails regarding
                                                             version of software
                                                             used to gather phone
                                                             data (.2); review
                                                             emails rescheduling
                                                             E. Jones deposition
                                                             (.1); call with
                                                             nondischargeability
                                                             team to discuss reply
                                                             and need for response
                                                             thereto (.8); call with
                                                             client and Chris Davis
                                                             and Crissie W.
                                                             Stephenson to advise
                                                             client on status of
                                                             nondischargeability
                                                             cases (.9); review
                                                             documents (1.3);
                                                             review and analyze
                                                             emails on information
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               to be reviewed (.3);
                                                               attend call with
                                                               document review
                                                               team to develop
                                                               strategy to finish
                                                               review by 7/31 (.8);
                                                               review and analyze
                                                               settlement counter
                                                               proposal (1.8); review
                                                               and respond to email
                                                               from mediator on
                                                               latest settlement
                                                               proposal (.1); call
                                                               with L. Freeman on
                                                               status of case (.7).
VLD        07/18/2023   B210     1.40   795.00       1113.00 Call with FSS counsel
                                                             on contracts for
                                                             marketing and
                                                             advertising that need
                                                             to be executed ASAP
                                                             (.3); email contracts
                                                             to FSS counsel for
                                                             review (.1); call with
                                                             entire tort claimant
                                                             team and FSS
                                                             discussing potential
                                                             resolution of
                                                             administrative
                                                             expense claim
                                                             application (.9); email
                                                             extending discovery
                                                             period (.1).
CGC        07/18/2023   B190     0.40   275.00        110.00 Conference call with
                                                             internal team of
                                                             document reviewers
                                                             regarding coding
                                                             protocol for
                                                             reviewing client
                                                             documents and
                                                             coding the same for
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               production.
AS         07/18/2023   B190     2.60   305.00        793.00 Review and analyze
                                                             first and second 2004
                                                             requests of the
                                                             unsecured creditors
                                                             committee.
AS         07/18/2023   B190     1.40   305.00        427.00 Review, revise, and
                                                             edit document review
                                                             protocol.
AS         07/18/2023   B190     0.30   305.00         91.50 Confer with Vickie L.
                                                             Driver regarding
                                                             2004 requests and
                                                             document production.
AS         07/18/2023   B190     0.40   305.00        122.00 Confer and strategize
                                                             with document
                                                             review team
                                                             regarding review
                                                             protocol and process.
DJM        07/18/2023   B190     1.30   310.00        403.00 Develop strategy
                                                             regarding Texas and
                                                             Connecticut plaintiffs'
                                                             reply briefs
DJM        07/18/2023   B190     0.50   310.00        155.00 Develop strategy
                                                             regarding document
                                                             production for UCC
                                                             request
JHY        07/18/2023   B190     0.50   285.00        142.50 Analyze and review
                                                             reply briefs filed in
                                                             the Connecticut and
                                                             Texas adversarial
                                                             proceedings for issues
                                                             to be potentially
                                                             addressed during oral
                                                             arguments or a
                                                             surreply brief
JHY        07/18/2023   B130     3.90   285.00       1111.50 Draft and revise
                                                             motion to sell
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               personal property.
JHY        07/18/2023   B190     0.40   285.00        114.00 Analyze and review
                                                             document production
                                                             and review protocols
                                                             for UCC's Rule 2004
                                                             Examination
RJY        07/19/2023   B190     0.40   340.00        136.00 Review comments on
                                                             reply brief.
VLD        07/19/2023   B110     1.90   795.00       1510.50 Meeting with client
                                                             discussing strategy of
                                                             case moving forward
                                                             (1.1); review
                                                             reporting on travel
                                                             expenses and
                                                             budgeting with
                                                             spouse and analyze
                                                             same for MOR (.8).
VLD        07/19/2023   B160     1.20 795.00          954.00 Meeting with C.
                                                             Martin and N. Pattis
                                                             on staffing on
                                                             litigation and appeal
                                                             (.8); review order of
                                                             payment for
                                                             professional fees and
                                                             confirm same. (.4)
VLD        07/19/2023   B190     2.70   795.00       2146.50 Analyze available
                                                             dates for deposition of
                                                             client and FA and
                                                             email regarding same
                                                             (.3); meeting with
                                                             client discussing
                                                             settlement
                                                             counteroffer and
                                                             potential response to
                                                             same (1.3); discuss
                                                             phone data retrieval
                                                             with operation staff
                                                             (.2); analyze
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               information on thumb
                                                               drive with team (.2);
                                                               emails regarding firm
                                                               who recovered data
                                                               (.2); coordinating call
                                                               to discuss potential
                                                               transfers (.1); review
                                                               2004 for M. Jones
                                                               (.2); emails with UCC
                                                               counsel on date and
                                                               conferring on date for
                                                               same (.2).
VLD        07/19/2023   B195     2.00   795.00       1590.00 Travel from Austin to
                                                             Dallas (4.0 - billed at
                                                             half time)
VLD        07/19/2023   B210     0.90   795.00        715.50 Draft and review
                                                             emails regarding
                                                             marketing contract
                                                             forms and progress to
                                                             execution (.4); draft
                                                             and review emails
                                                             regarding information
                                                             on employment
                                                             contract negotiation
                                                             and document review
                                                             regarding same. (.5)
LGD        07/19/2023   B190     0.80   185.00        148.00 Identify and collect
                                                             voice notes
                                                             responsive to
                                                             document production.
DJM        07/19/2023   B190     5.20   310.00       1612.00 Review and analyze
                                                             Texas and
                                                             Connecticut plaintiffs'
                                                             reply briefs.
JHY        07/19/2023   B130     5.70   285.00       1624.50 Analyze and review
                                                             statutes and case law
                                                             regarding sale of
                                                             personal property
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               pursuant to section
                                                               363(f) in preparation
                                                               to draft Motion for
                                                               Order Approving Sale
                                                               (2.3); analyze and
                                                               review appraisal
                                                               report and schedules
                                                               in preparation to draft
                                                               Motion for Order
                                                               Approving Sale (2);
                                                               draft and revise same
                                                               (1.4).
TBS        07/20/2023   B190     2.00   400.00        800.00 Review and redact
                                                             documents in
                                                             response to request of
                                                             Unsecured Creditor
                                                             Committee.
CWS        07/20/2023   B190     0.80   715.00        572.00 Client call regarding
                                                             reply briefs.
VLD        07/20/2023   B160     0.40   795.00        318.00 Correspondence with
                                                             co-counsel and
                                                             coordinating efforts
                                                             to prevent double
                                                             billing.
VLD        07/20/2023   B170     1.10   795.00        874.50 Reviewing fee
                                                             statements and
                                                             inquiry on appellate
                                                             assistance from
                                                             co-counsel.
VLD        07/20/2023   B190     1.70   795.00       1351.50 Call with counsel for
                                                             Carol and David
                                                             Jones discussing
                                                             potential fraudulent
                                                             transfers and potential
                                                             defenses to same (.8);
                                                             draft and revise
                                                             settlement counter
                                                             proposal (.9).
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
VLD        07/20/2023   B210     0.40   795.00        318.00 Follow up with
                                                             marketing on contract
                                                             execution and
                                                             progress. (.4)
CGC        07/20/2023   B190     1.40   275.00        385.00 Review client
                                                             documents and code
                                                             the same for
                                                             production and
                                                             confidentiality.
LGD        07/20/2023   B190     1.00   185.00        185.00 Prepare responsive
                                                             audio notes for final
                                                             production review
                                                             and redaction.
DJM        07/20/2023   B190     2.50   310.00        775.00 Review documents to
                                                             produce for UCC
                                                             request.
JHY        07/20/2023   B130     2.70   285.00        769.50 Revise Motion for
                                                             Sale of Personal
                                                             Property.
JHY        07/20/2023   B120     2.30   285.00        655.50 Draft and revise Rule
                                                             2004 Examination
                                                             regarding potential
                                                             asset information held
                                                             by the Committee of
                                                             Unsecured Creditors.
EEW        07/21/2023   B110     3.40   295.00       1003.00 Review spreadsheets
                                                             received from
                                                             BlackBriar and draft
                                                             MOR (with
                                                             supporting schedules)
                                                             for June, 2023.
JCD        07/21/2023   B190     1.50   475.00        712.50 Continued review and
                                                             study of CT Plaintiffs'
                                                             motion for summary
                                                             judgment briefing and
                                                             reply brief.
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Attorney      Date      Task   Hours    Rate     Bill Amount     Description of
                                                               Services Rendered
TBS        07/21/2023   B190     6.00   400.00       2400.00 Review and redact
                                                             documents in
                                                             response to
                                                             Unsecured Creditor
                                                             Committee.
VLD        07/21/2023   B190     0.90   795.00        715.50 Emails with team on
                                                             phone backup
                                                             information
                                                             accessibility and
                                                             getting same on
                                                             document review
                                                             system to compare to
                                                             other phone backup
                                                             and de dupe.
DJM        07/21/2023   B190     4.80   310.00       1488.00 Review documents to
                                                             produce for UCC
                                                             request.
TBS        07/22/2023   B190     2.00   400.00        800.00 Review and redact
                                                             documents in
                                                             response to
                                                             Unsecured Creditor
                                                             Committee request.
RJY        07/24/2023   B190     0.50   340.00        170.00 Confer with litigation
                                                             regarding issues in
                                                             reply brief.
TBS        07/24/2023   B190     2.10   400.00        840.00 Review and redact
                                                             documents in
                                                             response to request of
                                                             unsecured creditors
                                                             committee.
EEW        07/24/2023   B190     0.50   295.00        147.50 Review 2004
                                                             examination notices
                                                             to Marleigh Jones and
                                                             FSS, along with
                                                             rescheduled 2004
                                                             Examination notice to
                                                             Erika Wulff-Jones
                                                             and docket dates for
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               same.
EEW        07/24/2023   B110     1.20   295.00        354.00 Revise, finalize and
                                                             file June MOR.
VLD        07/24/2023   B190     2.80 795.00         2226.00 Draft emails to UCC
                                                             counsel on 2004
                                                             requests and
                                                             production of
                                                             documents received
                                                             by UCC to Debtor to
                                                             avoid unnecessary
                                                             expense (.8); review
                                                             documents for
                                                             production (1.5);
                                                             perform research on
                                                             litigation counsel. (.5)
VLD        07/24/2023   B210     2.30   795.00       1828.50 Call with R. Battaglia
                                                             on operational
                                                             response issues and
                                                             summarize in email to
                                                             financial advisors
                                                             (.9); emails with FSS
                                                             counsel on CC budget
                                                             items (.7); analyzing
                                                             travel budget for
                                                             August in CC budget.
                                                             (.7)
VLD        07/24/2023   B240     0.90   795.00        715.50 Review emails
                                                             regarding Austin
                                                             Shoprock property
                                                             taxed by Travis
                                                             County at FSS office
                                                             space and analyze
                                                             same.
AS         07/24/2023   B190     1.80   305.00        549.00 Conduct document
                                                             review to produce
                                                             documents in
                                                             response to unsecured
                                                             creditors committee's
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               2004 requests.
JHY        07/24/2023   B195     3.50   285.00        997.50 Travel to debtor's
                                                             office. (7.0) [billed at
                                                             half-time]
JHY        07/24/2023   B190     2.10   285.00        598.50 Analyze and review
                                                             documents in
                                                             preparation for
                                                             production and
                                                             response to UCC's
                                                             Rule 2004
                                                             Examination.
RJY        07/25/2023   B190     4.70   340.00       1598.00 Read, analyze,
                                                             summarize key cases
                                                             and arguments relied
                                                             on in plaintiff's reply
                                                             brief
RJY        07/25/2023   B190     0.90   340.00        306.00 Cite check and
                                                             analyze plaintiff's
                                                             reply to improper
                                                             skew argument
RJY        07/25/2023   B190     1.20   340.00        408.00 Continue to draft oral
                                                             argument outline and
                                                             supplement research
AMF        07/25/2023   B190     1.70   305.00        518.50 Review and redact
                                                             documents (emails)
                                                             re: UCC's 2004
                                                             requests.
TBS        07/25/2023   B190     1.40   400.00        560.00 Review and redact in
                                                             response to the
                                                             request of the
                                                             unsecured creditors
                                                             committee.
VLD        07/25/2023   B195     1.70   795.00       1351.50 Travel to Austin
                                                             (nonworking travel
                                                             billed at half time 3.4)
                                                             – (1.7).
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
VLD        07/25/2023   B210     3.90   795.00       3100.50 Meeting with client
                                                             on various
                                                             operational issues
                                                             (1.2); call FSS
                                                             counsel on issues with
                                                             IT manager (.2); draft
                                                             email to FSS counsel
                                                             on IT manager issues
                                                             (.4); meeting with
                                                             Blackbriar, client and
                                                             McGill on
                                                             employment contract
                                                             comments and
                                                             finalizing (.5); draft
                                                             emails to counsel for
                                                             UCC regarding
                                                             discovery and turning
                                                             over documents
                                                             received in response
                                                             to 2004 requests
                                                             served by Committee
                                                             (.9); review The
                                                             Wellness Company
                                                             contract and submit to
                                                             P. McGill for
                                                             signature (.4); deliver
                                                             executed contract to J.
                                                             Harrmann and discuss
                                                             format for additional
                                                             contracts (.3).
VLD        07/25/2023   B190     0.80   795.00        636.00 Review and revise
                                                             motion for 2004
                                                             document request to
                                                             Youngevity (.8).
VLD        07/25/2023   B130     0.80   795.00        636.00 Review and Revise
                                                             motion to sell
                                                             personal property.
VLD        07/25/2023   B240     1.70   795.00       1351.50 Analyze tax lawsuit
                                                             against Austin
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Shiprock (1.0); email
                                                               counsel for Travis
                                                               County regarding stay
                                                               (.7).
EEW        07/25/2023   B190     0.30   295.00         88.50 Review email
                                                             correspondence from
                                                             UCC regarding 2004
                                                             examination for
                                                             Marleigh Jones and
                                                             Austin Rivera and
                                                             docket updated dates
                                                             for same.
EEW        07/25/2023   B190     0.10   295.00         29.50 Review 2004 Notice
                                                             to Joseph Dalessio
                                                             and docket date for
                                                             same.
AS         07/25/2023   B190     3.30   305.00       1006.50 Begin drafting
                                                             responses and
                                                             objections to
                                                             unsecured creditors
                                                             committee's second
                                                             2004 requests.
JHY        07/25/2023   B120     0.50   285.00        142.50 Revise and draft
                                                             Notice of Debtor's
                                                             2004 Examination of
                                                             Youngevity
RJY        07/26/2023   B190     1.10   340.00        374.00 Continue to draft
                                                             hearing preparation
                                                             documents
VLD        07/26/2023   B190     5.60 795.00         4452.00 Meeting with Sub V
                                                             Trustee counsel
                                                             discussing business
                                                             operations and
                                                             settlement (2.); call to
                                                             counsel for AMEX
                                                             regarding payment
                                                             made, amounts owed,
                                                             and statements (.2);
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               emails with Frost
                                                               Bank and UCC
                                                               seeking account
                                                               statements (.9); call
                                                               with E. Wulff on
                                                               Frost statement
                                                               progress (.4); work on
                                                               revising settlement
                                                               counter proposal (.9);
                                                               discuss settlement
                                                               offer terms with client
                                                               (.4); draft
                                                               correspondence
                                                               regarding documents
                                                               for production (.5);
                                                               draft correspondence
                                                               regarding follow up
                                                               on data transfer for
                                                               phone back up and
                                                               issue with de-duping
                                                               (.3).
VLD        07/26/2023   B210     3.80   795.00       3021.00 Meetings and calls
                                                             with client on
                                                             potential new venture
                                                             (1.1); calls with
                                                             counsel for new
                                                             venture partner
                                                             discussing terms and
                                                             documentation and
                                                             timing (.7); emails
                                                             with FSS disclosing
                                                             potential new venture
                                                             (.3); meeting with
                                                             client on employment
                                                             agreement comments
                                                             (.7); review
                                                             employment
                                                             agreement and send to
                                                             Sub V Trustee for
                                                             comment (.3); review
                                                             and revise
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               stipulations for
                                                               purposes of resolving
                                                               increased salary and
                                                               admin claim motion
                                                               and send to UCC and
                                                               FSS for review and
                                                               comment (.7).
VLD        07/26/2023   B140     0.70   795.00        556.50 Draft correspondence
                                                             to County Counsel on
                                                             stay (.5); call to
                                                             Travis County
                                                             lawyers on stay (.2).
VLD        07/26/2023   B195     1.50   795.00       1192.50 Travel to Houston
                                                             from Austin for
                                                             hearing (billed at half
                                                             time 3.0)
EEW        07/26/2023   B190     0.20   295.00         59.00 Review FSS's motion
                                                             to quash UCC"s Rule
                                                             2004 examination of
                                                             FSS and circulate to
                                                             team.
EEW        07/26/2023   B160     0.20   295.00         59.00 Review Teneo April
                                                             monthly fee statement
                                                             and circulate to team.
EEW        07/26/2023   B240     0.20   295.00         59.00 Review original
                                                             petition (Travis
                                                             County v. Austin
                                                             Shiprock Publishing)
                                                             and docket answer
                                                             deadline.
EEW        07/26/2023   B190     1.00   295.00        295.00 Electronic document
                                                             and case file
                                                             management of bank
                                                             account information
                                                             and bank statements
                                                             received from Frost
                                                             Bank.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
LGD        07/26/2023   B190     4.80 185.00          888.00 Manage and prepare
                                                             additional discovery
                                                             received from Digital
                                                             Mountain for attorney
                                                             production and
                                                             privilege review.
AMF        07/26/2023   B190     0.30   305.00         91.50 Review and redact
                                                             documents (emails)
                                                             re: UCC's 2004
                                                             requests.
AS         07/26/2023   B190     3.80   305.00       1159.00 Continue drafting
                                                             responses and
                                                             objections to
                                                             unsecured creditors
                                                             committee's second
                                                             2004 requests.
AS         07/26/2023   B190     0.80   305.00        244.00 Revise and edit
                                                             responses and
                                                             objections to
                                                             unsecured creditors
                                                             committee's second
                                                             2004 requests.
AS         07/26/2023   B190     2.60   305.00        793.00 Draft responses and
                                                             objections to
                                                             unsecured creditors
                                                             committee's first 2004
                                                             requests.
JHY        07/26/2023   B195     2.00   285.00        570.00 Travel to and from
                                                             hotel to debtor's
                                                             office and back to
                                                             Dallas. [4.0 billed at
                                                             half-time]
JHY        07/26/2023   B190     1.90   285.00        541.50 Analyze, review, and
                                                             categorize for further
                                                             document production
                                                             account reconciliation
                                                             documents for debtor
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               related entities.
JHY        07/26/2023   B190     1.20   285.00        342.00 Analyze and review
                                                             debtor's phone
                                                             backup images for
                                                             responsive documents
                                                             to the UCC's 2004
                                                             Examination
RJY        07/27/2023   B190     3.00   340.00       1020.00 Review arguments
                                                             and
                                                             counter-arguments
                                                             regarding collateral
                                                             estoppel standard in
                                                             Connecticut (2.0);
                                                             draft oral argument
                                                             notes regarding the
                                                             same (1.0).
RJY        07/27/2023   B190     1.30   340.00        442.00 Confer regarding
                                                             updates from the
                                                             court on summary
                                                             judgment hearing
                                                             (.5); strategize about
                                                             hearing preparation
                                                             (.5); identify potential
                                                             questions from the
                                                             court (.3).
VLD        07/27/2023   B190     1.10 795.00          874.50 Meeting with FSS and
                                                             PQPR counsel
                                                             discussing fraudulent
                                                             transfer litigation,
                                                             attempt to intervene
                                                             by plaintiffs, and
                                                             overall settlement
                                                             issues (.7); call with
                                                             FSS counsel on
                                                             update on settlement
                                                             discussions (.4).
JCD        07/27/2023   B190     0.40   475.00        190.00 Review and analyze
                                                             25 minute audio file
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               from recent hearing
                                                               with Judge Lopez
                                                               regarding MSJ
                                                               hearing.
JCD        07/27/2023   B190     0.60   475.00        285.00 Meeting of the trial
                                                             team to discuss
                                                             dividing up the MSJ
                                                             hearing into three
                                                             categories.
VLD        07/27/2023   B110     1.60   795.00       1272.00 Preparation for and
                                                             attend hearing on cash
                                                             collateral, assumption
                                                             of lease and general
                                                             case status.
VLD        07/27/2023   B210     2.90   795.00       2305.50 Draft emails seeking
                                                             meet and confer and
                                                             status conference on
                                                             discharge MSJ (.8);
                                                             calls and
                                                             correspondence
                                                             discussing Judge's
                                                             comments regarding
                                                             MSJ and potential
                                                             status conference
                                                             (2.1).
VLD        07/27/2023   B195     2.00   795.00       1590.00 Travel from Houston
                                                             to Dallas (billed at
                                                             half-time 4.0)
AMF        07/27/2023   B190     2.30   305.00        701.50 Review and redact
                                                             documents (emails)
                                                             for production re:
                                                             UCC's 2004 requests.
LGD        07/27/2023   B190     2.50   185.00        462.50 Continue to manage
                                                             and prepare
                                                             additional discovery
                                                             received from Digital
                                                             Mountain for attorney
                                                             production and
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               privilege review.
AS         07/27/2023   B190     2.10   305.00        640.50 Conduct document
                                                             review to produce
                                                             documents in
                                                             response to unsecured
                                                             creditors committee's
                                                             2004 requests.
DJM        07/27/2023   B190     0.50 310.00          155.00 Review audio
                                                             recording of status
                                                             conference.
DJM        07/27/2023   B190     2.80   310.00        868.00 Develop strategy
                                                             regarding possible
                                                             evidentiary issues that
                                                             need to be resolved
                                                             before MSJ hearing
CWS        07/27/2023   B190     1.40   715.00       1001.00 Review hearing audio
                                                             regarding evidentiary
                                                             issues (.6); call and
                                                             correspondence
                                                             regarding same (.8).
CWS        07/27/2023   B190     3.80   715.00       2717.00 Draft and revise
                                                             Responses and
                                                             Objections to 2004
                                                             Exam requests and
                                                             related
                                                             correspondence.
RJY        07/28/2023   B190     1.70   340.00        578.00 Continue to develop
                                                             counter arguments to
                                                             petitioners assertions
                                                             in their briefs
MAF        07/28/2023   B190     0.60   250.00        150.00 Reviewed/Coded
                                                             documents to
                                                             determine
                                                             responsiveness to
                                                             petition/in
                                                             preparation of
                                                             production
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
JCD        07/28/2023   B190     0.70   475.00        332.50 Prepare for the MSJ
                                                             hearing on the 15th of
                                                             August by discussing
                                                             with legal team who
                                                             the presentation of
                                                             evidence and oral
                                                             arguments will be
                                                             structured and
                                                             divided for the Court.
JCD        07/28/2023   B190     4.30   475.00       2042.50 Review and study of
                                                             the CT plaintiffs' MSJ
                                                             briefing, case law
                                                             cited, and exhibits.
TBS        07/28/2023   B190     3.90   400.00       1560.00 Review and redact
                                                             documents in
                                                             response to request of
                                                             Unsecured Creditors
                                                             Committee
EEW        07/28/2023   B160     1.50   295.00        442.50 Begin drafting fourth
                                                             and fifth fee monthly
                                                             fee statements for
                                                             BlackBriar.
EEW        07/28/2023   B190     1.00   295.00        295.00 Electronic case file
                                                             management.
AS         07/28/2023   B190     3.40   305.00       1037.00 Conduct document
                                                             review to produce
                                                             documents in
                                                             response to unsecured
                                                             creditors committee's
                                                             2004 requests.
DJM        07/28/2023   B190     0.70   310.00        217.00 Call with Texas and
                                                             Connecticut plaintiffs
                                                             to discuss evidentiary
                                                             issues
DJM        07/28/2023   B190     1.20   310.00        372.00 Review documents to
                                                             produce for UCC
                                                             request
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
DJM        07/28/2023   B190     0.00     0.00          0.00 Develop strategy
                                                             regarding MSJ oral
                                                             argument
DJM        07/28/2023   B190     0.80   310.00        248.00 Develop strategy
                                                             regarding evidentiary
                                                             objections to
                                                             plaintiff's MSJ
                                                             exhibits
CGC        07/28/2023   B190     0.40   275.00        110.00 Review client
                                                             documents and code
                                                             the same for
                                                             production and
                                                             confidentiality.
CWS        07/28/2023   B190     1.10   715.00        786.50 Correspondence and
                                                             calls regarding
                                                             evidentiary issues for
                                                             MSJ hearing.
CWS        07/28/2023   B190     1.20   715.00        858.00 Review and respond
                                                             to correspondence
                                                             regarding 2004 exam
                                                             responses and
                                                             objections.
VLD        07/28/2023   B190     5.10   795.00       4054.50 Review and respond
                                                             to voluminous emails
                                                             on AJ deposition
                                                             notice, topics, and
                                                             ability to prepare (.9);
                                                             call with N. Pattis on
                                                             issues with appeal.
                                                             (.5); review and
                                                             revise 2004 responses
                                                             and comment to
                                                             same. (2.1); call with
                                                             dischargeability trial
                                                             team in advance of
                                                             status conference
                                                             with opposing
                                                             counsels (.6); status
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               conference with
                                                               opposing counsels
                                                               (.8); review and
                                                               respond to emails
                                                               pushing discovery on
                                                               admin claim motion
                                                               one week (.2).
VLD        07/28/2023   B210     1.40   795.00       1113.00 Review and comment
                                                             to MugClub contract
                                                             and review responses
                                                             to same (.7); revise
                                                             contract regarding
                                                             comments (.7).
TBS        07/29/2023   B190     3.90   400.00       1560.00 Review and redact
                                                             documents in
                                                             response to request of
                                                             Unsecured Creditors
                                                             Committee
DJM        07/29/2023   B190     6.20   310.00       1922.00 Review documents to
                                                             produce for UCC
                                                             request
AS         07/29/2023   B190     7.40   305.00       2257.00 Conduct document
                                                             review to produce
                                                             documents in
                                                             response to unsecured
                                                             creditors committee's
                                                             2004 requests.
VLD        07/29/2023   B190     0.20   795.00        159.00 Draft correspondence
                                                             regarding production
                                                             to be made on July
                                                             31st.
AMF        07/30/2023   B190     7.60   305.00       2318.00 Review and redact
                                                             documents (emails)
                                                             for production re:
                                                             UCC's 2004 requests.
TBS        07/30/2023   B190     2.60   400.00       1040.00 Review and redact
                                                             documents in
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               response to request of
                                                               Unsecured Creditors
                                                               Committee
CGC        07/30/2023   B190     6.80   275.00       1870.00 Review client
                                                             documents and code
                                                             the same for
                                                             production and
                                                             confidentiality.
DJM        07/30/2023   B190    10.40   310.00       3224.00 Review documents to
                                                             produce for UCC
                                                             request
AS         07/30/2023   B190     8.60   305.00       2623.00 Conduct document
                                                             review to produce
                                                             documents in
                                                             response to unsecured
                                                             creditors committee's
                                                             2004 requests.
VLD        07/30/2023   B210     0.80   795.00        636.00 Review emails from
                                                             FSS CRO on
                                                             operational issues,
                                                             objections to travel
                                                             budget line-item
                                                             processes, and
                                                             personal feelings (.4);
                                                             confer with client
                                                             regarding same and
                                                             potential need for
                                                             replacement of CRO.
                                                             (.4)
RJY        07/31/2023   B190     6.60   340.00       2244.00 Review plaintiffs
                                                             brief in support of
                                                             summary judgment,
                                                             thoroughly, and in
                                                             great detail for
                                                             preparation for the
                                                             hearing.
JCD        07/31/2023   B190     7.50 475.00         3562.50 Review every line and
                                                             citation of CT
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Plaintiffs' MSJ brief
                                                               and begin working on
                                                               outline for oral
                                                               argument (3.0);
                                                               review and study of
                                                               the 100 Statement of
                                                               Undisputed Facts
                                                               alleged by CT
                                                               Plaintiffs (3.0); work
                                                               on argument points
                                                               for the TX Plaintiffs
                                                               MSJ (1.5).
AMF        07/31/2023   B190    10.30   305.00       3141.50 Review and redact
                                                             documents (emails)
                                                             for production re:
                                                             UCC's 2004 requests.
TBS        07/31/2023   B190     0.50   400.00        200.00 Review and redact
                                                             documents in
                                                             response to request of
                                                             Unsecured Creditors
                                                             Committee.
LGD        07/31/2023   B190     2.70   185.00        499.50 Prepare supplemental
                                                             client document
                                                             production.
LGD        07/31/2023   B190     0.10 185.00           18.50 Manage and prepare
                                                             additional discovery
                                                             received from Digital
                                                             Mountain for attorney
                                                             production and
                                                             privilege review.
AS         07/31/2023   B190     2.30   305.00        701.50 Conduct document
                                                             review to produce
                                                             documents in
                                                             response to unsecured
                                                             creditors committee's
                                                             2004 requests.
AS         07/31/2023   B190     1.60 305.00          488.00 Facilitate document
                                                             production to
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               unsecured creditors
                                                               committee.
AS         07/31/2023   B190     0.90   305.00        274.50 Revise and finalize
                                                             responses to
                                                             unsecured creditors
                                                             committee's 2004
                                                             requests.
DJM        07/31/2023   B190     8.10   310.00       2511.00 Review documents to
                                                             produce for UCC
                                                             request.
CGC        07/31/2023   B190     3.30   275.00        907.50 Review client
                                                             documents and code
                                                             the same for
                                                             production and
                                                             confidentiality.
JHY        07/31/2023   B190     1.90   285.00        541.50 Prepare for hearing
                                                             and oral argument on
                                                             motions for summary
                                                             judgment in the
                                                             adversarial
                                                             proceedings.
JHY        07/31/2023   B190     0.50   285.00        142.50 Analyze, review, and
                                                             prepare documents
                                                             related to
                                                             debtor-related entities
                                                             in preparation for
                                                             further document
                                                             production reviews
                                                             for responsiveness to
                                                             UCC's 2004
                                                             examination.
VLD        07/31/2023   B190     0.20   795.00        159.00 Review regarding
                                                             document production
                                                             as set to occur today.
LGD        08/01/2023   B190     0.20   185.00         37.00 Prepare account
                                                             reconciliations and
                                                             month end reports for
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               JLJR Holdings, LLC
                                                               and PLJR Holdings,
                                                               LLC for production
                                                               review.
JCD        08/01/2023   B190     4.00   475.00       1900.00 Review and analyze
                                                             original complaints
                                                             and the exhibits
                                                             thereto.
JCD        08/01/2023   B190     2.50   475.00       1187.50 Review and analyze
                                                             Reply Brief filed in
                                                             support of the MSJ.
VLD        08/01/2023   B210     4.20   795.00       3339.00 Review and analyze
                                                             emails regarding
                                                             operational issues
                                                             raised by FSS CRO
                                                             (.9); call with FSS to
                                                             discuss operational
                                                             issues (.9); calls with
                                                             FA on operational
                                                             issues (1.2); calls with
                                                             client regarding same
                                                             (1.2).
VLD        08/01/2023   B190     0.70   795.00        556.50 Call to discuss
                                                             preparation for meet
                                                             and confer and
                                                             hearing on evidence
                                                             and logistics.
CWS        08/01/2023   B210     1.80   715.00       1287.00 Conference regarding
                                                             operational issues
                                                             raised by CRO (1.1);
                                                             review related
                                                             correspondence (.7).
EEW        08/01/2023   B190     0.20   295.00         59.00 Review application to
                                                             employ Pattis &
                                                             Smith and circulate to
                                                             team.
JHY        08/01/2023   B190     2.10   285.00        598.50 Assist with
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               evidentiary hearing
                                                               preparations.
DJM        08/01/2023   B190     2.80   310.00        868.00 Review pleadings in
                                                             preparation for
                                                             plaintiffs' summary
                                                             judgment hearing.
RJY        08/02/2023   B190     7.30   340.00       2482.00 Continue to develop
                                                             hearing strategy and
                                                             prepare for hearing on
                                                             summary judgment
                                                             motion.
JCD        08/02/2023   B190     2.50   475.00       1187.50 Review and analyze
                                                             court's verdict forms,
                                                             ruling on default
                                                             judgment, and 45
                                                             page ruling on
                                                             punitive damages.
JCD        08/02/2023   B190     2.50   475.00       1187.50 Review and analyze
                                                             non-dischargeability
                                                             lawsuit and review
                                                             the exhibits it cited to
                                                             and attached.
JCD        08/02/2023   B190     4.00   475.00       1900.00 Review and analyze
                                                             exhibits attached or
                                                             cited to plaintiffs'
                                                             non-dischargeability
                                                             lawsuit.
JCD        08/02/2023   B190     2.00   475.00        950.00 Review and analyze
                                                             Appeal Brief filed in
                                                             CT by the Alex Jones
                                                             defendants.
VLD        08/02/2023   B210     1.10   795.00        874.50 Call with financial
                                                             advisors on initial
                                                             results from
                                                             operational meeting
                                                             with AJ and FSS
                                                             CRO.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
CWS        08/02/2023   B190     0.80   715.00        572.00 Draft correspondence
                                                             regarding evidentiary
                                                             analysis.
JHY        08/02/2023   B190     3.10   285.00        883.50 Prepare for oral
                                                             arguments/summary
                                                             judgment hearing for
                                                             Texas and
                                                             Connecticut
                                                             adversarial
                                                             proceedings (1.0);
                                                             shepardize and
                                                             research case law on
                                                             dischargeability (1.0);
                                                             draft email analysis
                                                             regarding shepardized
                                                             cases, and review
                                                             issues in plaintiffs'
                                                             evidentiary cites
                                                             (1.1).
DJM        08/02/2023   B190     4.50   310.00       1395.00 Review and analyze
                                                             summary judgment
                                                             briefing and
                                                             authorities cited
                                                             within in preparation
                                                             for summary
                                                             judgment hearing.
DJM        08/02/2023   B190     5.20   310.00       1612.00 Perform document
                                                             review.
RJY        08/03/2023   B190     3.10   340.00       1054.00 Read trial appellate
                                                             brief (1.0); organize
                                                             argument outline
                                                             (1.0); define
                                                             discussions and
                                                             arguments (1.1).
RJY        08/03/2023   B190     3.00   340.00       1020.00 Draft legal standard
                                                             section for
                                                             "necessarily decided"
                                                             prong of collateral
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               estoppel for summary
                                                               judgment hearing.
AMF        08/03/2023   B190     0.90   305.00        274.50 Review and redact
                                                             documents (emails)
                                                             for production re:
                                                             UCC's 2004 requests.
RJY        08/03/2023   B190     2.20   340.00        748.00 Develop "actually
                                                             litigated" argument
                                                             for hearing.
RJY        08/03/2023   B190     0.50   340.00        170.00 Develop arguments
                                                             for evidentiary
                                                             hearing and
                                                             coordinate for moot
                                                             court.
JCD        08/03/2023   B190     4.00   475.00       1900.00 Review and analyze
                                                             5th Circuit and
                                                             Houston Bankruptcy
                                                             cases which provide
                                                             the legal framework
                                                             for the Court's role in
                                                             evaluating 523(A)6
                                                             cases.
JCD        08/03/2023   B190     1.00   475.00        475.00 Review and analyze
                                                             original jury charge
                                                             (transcript of
                                                             proceedings), and the
                                                             verdict forms for all
                                                             15 plaintiffs.
JCD        08/03/2023   B190     1.50   475.00        712.50 Review and analyze
                                                             Lafferty Complaint
                                                             from the underlying
                                                             CT case.
JCD        08/03/2023   B190     1.50   475.00        712.50 Review and analyze
                                                             CT trial court's ruling
                                                             on Default Judgment
                                                             (transcript of
                                                             proceedings) and the
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               45 page written ruling
                                                               on CUTPA claims
                                                               and punitive
                                                               damages.
VLD        08/03/2023   B210     2.10   795.00       1669.50 Draft correspondence
                                                             with final
                                                             employment
                                                             agreement and status
                                                             and is finalized from
                                                             AJ perspective (.8);
                                                             call with R. Battaglia
                                                             regarding same (.6);
                                                             review revised
                                                             contract and complete
                                                             with addresses and
                                                             send to counsel for
                                                             MugClub (.3).
VLD        08/03/2023   B190     1.40   795.00       1113.00 Review and analyze
                                                             email to FSS and Sub
                                                             V Trustee clarifying
                                                             position of plaintiffs
                                                             in settlement (.8);
                                                             draft correspondnce
                                                             regarding newest
                                                             issues with ESG to
                                                             FA for review with
                                                             client (.6).
VLD        08/03/2023   B140     0.40   795.00        318.00 Review ALLY bank
                                                             MFR and analyze
                                                             VIN Number issues.
DJM        08/03/2023   B190    10.30   310.00       3193.00 Review record
                                                             submitted by
                                                             Connecticut plaintiffs
                                                             in preparation for
                                                             summary judgment
                                                             hearing.
JHY        08/03/2023   B190     3.90   285.00       1111.50 Prepare for oral
                                                             arguments/summary
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               judgment hearing for
                                                               both Texas and
                                                               Connecticut
                                                               Plaintiffs' adversarial
                                                               proceedings -
                                                               continue to categorize
                                                               arguments and
                                                               objections (3.5);
                                                               strategize and analyze
                                                               Connecticut state
                                                               court appeal to
                                                               incorporate into oral
                                                               arguments (.4)
EEW        08/03/2023   B190     0.60   295.00        177.00 Review and
                                                             download
                                                             voluminous filed
                                                             pleadings and
                                                             circulate Litshare link
                                                             to team.
EEW        08/03/2023   B190     0.50   295.00        147.50 Westlaw case
                                                             research for hearing.
RJY        08/04/2023   B190     2.20   340.00        748.00 Continue to analyze
                                                             legal arguments and
                                                             draft argument
                                                             outline.
RJY        08/04/2023   B190     1.70   340.00        578.00 Draft case summaries
                                                             of key cases in
                                                             briefing.
JCD        08/04/2023   B190     6.00   475.00       2850.00 Review and analyze
                                                             underlying trial
                                                             testimony transcripts
                                                             of Alderson and
                                                             several of the
                                                             plaintiffs which are
                                                             identified as exhibits
                                                             to the CT Plaintiffs'
                                                             MSJ.
VLD        08/04/2023   B190     0.80   795.00        636.00 Email document
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               production manager
                                                               seeking to keep
                                                               production review
                                                               going on assistant
                                                               emails (.2); review
                                                               and approve judicial
                                                               notice motion (.6).
VLD        08/04/2023   B210     0.10   795.00         79.50 Emails with J.
                                                             Harmann on issues.
AS         08/04/2023   B190     0.50   305.00        152.50 Analyze volume of
                                                             document production
                                                             and current level of
                                                             reviewers (.4);
                                                             discuss joining
                                                             review with
                                                             additional associates
                                                             (.1).
LGD        08/04/2023   B190     0.60   185.00        111.00 Prepare additional
                                                             document production
                                                             review assignment
                                                             groups.
DJM        08/04/2023   B190     7.60   310.00       2356.00 Review and analyze
                                                             Texas plaintiffs'
                                                             summary judgment
                                                             record in preparation
                                                             for summary
                                                             judgment hearing.
JHY        08/04/2023   B190     4.30   285.00       1225.50 Analyze and review
                                                             Connecticut
                                                             adversarial complaint
                                                             and exhibits in
                                                             preparation for
                                                             summary judgment
                                                             hearing/oral
                                                             arguments (1.3); draft
                                                             email analysis of
                                                             research findings
                                                             (2.3); draft and revise
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               the same (0.7).
EEW        08/04/2023   B190     4.00   295.00       1180.00 Document review in
                                                             response to requests
                                                             by UCC.
EEW        08/04/2023   B190     1.20   295.00        354.00 Prepare electronic
                                                             hearing notebook.
RJY        08/05/2023   B190     5.10   340.00       1734.00 Read, analyze, and
                                                             summarize key cases
                                                             for summary
                                                             judgment hearing.
RJY        08/05/2023   B190     1.20   340.00        408.00 Continue to outline
                                                             arguments for
                                                             summary judgment
                                                             hearing.
TBS        08/05/2023   B190     3.10   400.00       1240.00 Review, redact and
                                                             product documents in
                                                             response to request of
                                                             Unsecured Creditors
                                                             Committee.
JCD        08/05/2023   B190     3.00   475.00       1425.00 Review and analyze
                                                             MSJ record submitted
                                                             by CT Plaintiffs (1.5);
                                                             review of 3 binders of
                                                             exhibits, over 80 MSJ
                                                             exhibits (1.5).
DJM        08/05/2023   B190     6.20   310.00       1922.00 Review and analyze
                                                             cases cited by Texas
                                                             plaintiffs in summary
                                                             judgment briefing in
                                                             preparation for
                                                             summary judgment
                                                             hearing.
JHY        08/05/2023   B190     1.70 285.00          484.50 Revise Motion
                                                             Requesting the Court
                                                             to Take Judicial
                                                             Notice of Connecticut
                                                             Appeal Brief
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               applying additional
                                                               case law and final
                                                               changes (1.3); draft
                                                               and revise proposed
                                                               order granting the
                                                               same (0.4).
TBS        08/06/2023   B190     3.50   400.00       1400.00 Review and redact
                                                             documents in
                                                             response to request of
                                                             Unsecured Creditors
                                                             Committee.
VLD        08/06/2023   B190     1.20   795.00        954.00 Review and respond
                                                             to email on videos
                                                             and impact on case
                                                             for hearing
                                                             presentation (.3);
                                                             analyze evidentiary
                                                             issues in advance of
                                                             hearing (.9).
VLD        08/06/2023   B210     1.60   795.00       1272.00 Summarize MugClub
                                                             deal and disclose to
                                                             Committee.
CWS        08/06/2023   B190     0.80   715.00        572.00 Perform analysis and
                                                             draft correspondence
                                                             regarding contested
                                                             hearing issues.
DJM        08/06/2023   B190     3.10   310.00        961.00 Perform document
                                                             review.
DJM        08/06/2023   B190     4.10   310.00       1271.00 Draft response to
                                                             Texas and
                                                             Connecticut plaintiffs'
                                                             letter regarding
                                                             evidentiary issues for
                                                             August 7 evidentiary
                                                             hearing.
RJY        08/07/2023   B190     1.40   340.00        476.00 Advise on evidentiary
                                                             issues and legal
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               arguments for
                                                               summary judgment
                                                               hearing.
AS         08/07/2023   B190     0.10   305.00         30.50 Phone conference
                                                             with Katherine Porter
                                                             regarding production
                                                             of documents
                                                             received from
                                                             third-parties.
RJY        08/07/2023   B190     3.20   340.00       1088.00 Continue to develop
                                                             summary judgment
                                                             hearing presentation
                                                             (1.0); debrief status
                                                             conference (1.0);
                                                             revise argument
                                                             accordingly (1.2).
RJY        08/07/2023   B190     4.10   340.00       1394.00 Draft detailed
                                                             description of due
                                                             process arguments.
RJY        08/07/2023   B190     0.50   340.00        170.00 Formulate strategies
                                                             for opening
                                                             statements.
JCD        08/07/2023   B190     1.80   475.00        855.00 Prepare for evidence
                                                             hearing.
JCD        08/07/2023   B190     0.50   475.00        237.50 Attendance (Remote)
                                                             at 3:00 status hearing
                                                             with Judge Lopez and
                                                             all parties of record.
JCD        08/07/2023   B190     0.50   475.00        237.50 Trial team meeting
                                                             regarding oral
                                                             argument at the MSJ
                                                             hearing.
JCD        08/07/2023   B190     4.00   475.00       1900.00 Begin drafting and
                                                             preparing an oral
                                                             argument outline for
                                                             the CT Plaintiffs
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               MSJ.
JCD        08/07/2023   B190     3.00   475.00       1425.00 Review and analyze
                                                             opposition brief.
TBS        08/07/2023   B190     0.80   400.00        320.00 Review, redact and
                                                             produce documents in
                                                             response to request of
                                                             Unsecured Creditors
                                                             committee.
LMM        08/07/2023   B190     0.20   255.00         51.00 Correspondence
                                                             regarding document
                                                             review guidelines.
VLD        08/07/2023   B190     4.80   795.00       3816.00 Meet and conference
                                                             calls with plaintiffs on
                                                             evidence objections
                                                             and issues with same
                                                             (2.5); attend hearing
                                                             (.7); review results of
                                                             hearing and
                                                             preparation strategy
                                                             in light thereof (.2);
                                                             emails scheduling
                                                             UCC call and pre-call
                                                             with production team
                                                             on document
                                                             responses and
                                                             production timing
                                                             (1.4).
VLD        08/07/2023   B210     2.90   795.00       2305.50 Calls and emails
                                                             regarding termination
                                                             of FSS assistant and
                                                             complications
                                                             regarding same.
CWS        08/07/2023   B190     2.90   715.00       2073.50 Review and analyze
                                                             correspondence
                                                             regarding production
                                                             issues.
CWS        08/07/2023   B190     2.80   715.00       2002.00 Review and revise
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Response to
                                                               Comment (1.3); draft
                                                               Court correspondence
                                                               (.2); prepare for and
                                                               attend evidentiary
                                                               hearing (1.3).
CGC        08/07/2023   B190     0.60 275.00          165.00 Conferences with
                                                             Lucas Meacham and
                                                             Kelly Kinser
                                                             regarding UCC
                                                             request document
                                                             review (.6).
KSK        08/07/2023   B190     0.30   285.00         85.50 Conference to discuss
                                                             document review.
KSK        08/07/2023   B190     8.70   285.00       2479.50 Perform document
                                                             review.
DJM        08/07/2023   B190     3.10   310.00        961.00 Revise response to
                                                             Texas and
                                                             Connecticut plaintiffs'
                                                             letter to the court
                                                             regarding evidentiary
                                                             issues for August 7
                                                             hearing.
DJM        08/07/2023   B190     1.30   310.00        403.00 Meet and confer with
                                                             Texas and
                                                             Connecticut plaintiffs
                                                             regarding evidentiary
                                                             issues for court's
                                                             August 7 hearing.
DJM        08/07/2023   B190     2.90   310.00        899.00 Prepare for
                                                             evidentiary hearing.
DJM        08/07/2023   B190     0.50   310.00        155.00 Attend evidentiary
                                                             hearing.
DJM        08/07/2023   B190     5.30   310.00       1643.00 Perform document
                                                             review.
JHY        08/07/2023   B190     3.50   285.00        997.50 Analyze and review
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Texas and
                                                               Connecticut
                                                               Plaintiffs' letter
                                                               regarding the
                                                               evidentiary hearing
                                                               and issues (0.5);
                                                               analyze and review
                                                               case law regarding
                                                               evidentiary standards
                                                               in preparation to draft
                                                               response letter to the
                                                               plaintiffs' letter (1.4);
                                                               draft and revise
                                                               response letter to
                                                               plaintiffs' letter
                                                               regarding evidentiary
                                                               issues (1.2); attend
                                                               remote status
                                                               conference regarding
                                                               the hearing on the
                                                               summary judgment
                                                               motions in the
                                                               adversarial
                                                               proceedings (0.4).
EEW        08/07/2023   B190     3.00   295.00        885.00 Document review in
                                                             response to requests
                                                             by UCC.
EEW        08/07/2023   B160     1.80   295.00        531.00 Draft monthly June
                                                             and July fee
                                                             statements for
                                                             BlackBriar Advisors.
EEW        08/07/2023   B190     0.80 295.00          236.00 Finalize and file
                                                             defendant's comment
                                                             regarding letter brief
                                                             in both adversary
                                                             cases.
JHY        08/08/2023   B190     1.10   285.00        313.50 Analyze and review
                                                             case law regarding
                                                             collateral estoppel in
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               preparation for
                                                               summary judgment
                                                               hearing.
RJY        08/08/2023   B190     5.60   340.00       1904.00 Continue to develop
                                                             argument for
                                                             summary judgment
                                                             hearing.
TBS        08/08/2023   B190     2.30   400.00        920.00 Review, redact and
                                                             produce documents in
                                                             response to request of
                                                             Unsecured Creditors
                                                             Committee.
TBS        08/08/2023   B190     1.10   400.00        440.00 Review, redact and
                                                             produce documents in
                                                             response to request of
                                                             Unsecured Creditors
                                                             Committee.
VLD        08/08/2023   B210     4.90   795.00       3895.50 Call with R. Battaglia
                                                             on operational issues
                                                             and comments to
                                                             MugClub contract
                                                             (.8); review and
                                                             comment to draft
                                                             email to Teneo on
                                                             budget questions (.4);
                                                             emails and calls
                                                             discussing harm to
                                                             FSS and AJ estates if
                                                             FSS CRO terminates
                                                             assistant with no
                                                             warning and no notice
                                                             (1.7); emails seeking
                                                             additional time and
                                                             notice to employee to
                                                             avoid administrative
                                                             expense claim (.9);
                                                             discuss strategy to
                                                             mitigate damage with
                                                             FA (.9).
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
VLD        08/08/2023   B190     0.80   795.00        636.00 Review and respond
                                                             to questions from
                                                             production review
                                                             team member.
JCD        08/08/2023   B190     6.50   475.00       3087.50 Review and study of
                                                             cases cited in Brief in
                                                             Opposition to the CT
                                                             Plaintiffs' MSJ.
LMM        08/08/2023   B190     2.60   255.00        663.00 Review and analyze
                                                             email correspondence
                                                             relating to Debtor's
                                                             assets.
KSK        08/08/2023   B190    10.70   285.00       3049.50 Document review and
                                                             related internal
                                                             correspondence
                                                             analyzing same.
DJM        08/08/2023   B190     4.20   310.00       1302.00 Perform document
                                                             review.
DJM        08/08/2023   B190     7.30   310.00       2263.00 Draft hearing script
                                                             for summary
                                                             judgment hearing.
JHY        08/08/2023   B140     0.40   285.00        114.00 Analyze and review
                                                             Austin Shiprock v.
                                                             Travis County case
                                                             and strategize plan
                                                             regarding same.
CWS        08/08/2023   B190     4.80   715.00       3432.00 Perform analysis and
                                                             draft correspondence
                                                             regarding hearing
                                                             preparation (2.8);
                                                             review exhibit lists
                                                             (1.2); review and
                                                             revise Debtor exhibit
                                                             lists (.8).
EEW        08/08/2023   B190     0.30   295.00         88.50 Review response to
                                                             movant's motion for
                                                             summary judgment,
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               circulate to team and
                                                               docket objection
                                                               deadline.
EEW        08/08/2023   B190     3.00   295.00        885.00 Document review in
                                                             response to requests
                                                             by UCC.
RJY        08/09/2023   B190     2.50 340.00          850.00 Create list of potential
                                                             questions for oral
                                                             arguments and moot
                                                             court.
RJY        08/09/2023   B190     1.50   340.00        510.00 Conduct moot court
                                                             on first section of
                                                             Texas case argument.
RJY        08/09/2023   B190     0.50   340.00        170.00 Conduct legal
                                                             research on
                                                             statements of dicta
                                                             being given
                                                             preclusive effect in
                                                             subsequent
                                                             proceeding.
RJY        08/09/2023   B190     4.10   340.00       1394.00 Conduct multiple
                                                             moot courts on
                                                             Connecticut and
                                                             Texas cases.
JCD        08/09/2023   B190     9.00   475.00       4275.00 Review and analyze
                                                             cases (3.0); draft oral
                                                             argument (3.0);
                                                             practice oral
                                                             argument (3.0).
LMM        08/09/2023   B110     6.00   255.00       1530.00 Review and analyze
                                                             documents relating to
                                                             Debtor's assets.
TBS        08/09/2023   B190     0.90   400.00        360.00 Review, redact and
                                                             produce documents in
                                                             response to request of
                                                             Unsecured Creditors
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Committee.
KSK        08/09/2023   B190     8.30   285.00       2365.50 Perform document
                                                             review.
DJM        08/09/2023   B190     8.30   310.00       2573.00 Continue drafting
                                                             hearing script for
                                                             summary judgment
                                                             hearing.
JHY        08/09/2023   B190     1.50   285.00        427.50 Prepare for oral
                                                             arguments/summary
                                                             judgment hearing -
                                                             researching case law
                                                             and summarizing
                                                             arguments in
                                                             anticipation of
                                                             rebuttal.
CWS        08/09/2023   B190     0.40   715.00        286.00 Review and analyze
                                                             UCC's emergency
                                                             motion to enforce
                                                             Court ruling.
CWS        08/09/2023   B320     2.70   715.00       1930.50 Perform and analyze
                                                             plan research.
EEW        08/09/2023   B190     3.50   295.00       1032.50 Document review in
                                                             response to requests
                                                             by UCC.
EEW        08/09/2023   B190     0.20   295.00         59.00 Download and review
                                                             UCC's emergency
                                                             motion to enforce
                                                             06-08-2023 ruling
                                                             against Elevated
                                                             Solutions Group,
                                                             LLC.
DJM        08/09/2023   B190     6.60   310.00       2046.00 Perform document
                                                             review.
AS         08/10/2023   B190     0.70   305.00        213.50 Prepare for phone
                                                             conference with
                                                             unsecured creditors
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               committee by
                                                               reviewing
                                                               correspondence and
                                                               2004 requests and
                                                               responses.
AS         08/10/2023   B190     0.40   305.00        122.00 Phone conference
                                                             with unsecured
                                                             creditors committee
                                                             regarding document
                                                             production.
RJY        08/10/2023   B190     1.90   340.00        646.00 Conduct moot court
                                                             and debrief same.
RJY        08/10/2023   B190     1.30   340.00        442.00 Draft oral argument
                                                             summary on full faith
                                                             and credit and free
                                                             speech protection.
RJY        08/10/2023   B190     1.60   340.00        544.00 Compile potential
                                                             questions derived
                                                             from briefing.
AS         08/10/2023   B190     0.80   305.00        244.00 Review requests,
                                                             responses, and
                                                             documents produced;
                                                             consider how best to
                                                             respond to questions
                                                             from unsecured
                                                             creditors committee.
RJY        08/10/2023   B190     1.80   340.00        612.00 Review and
                                                             summarize key
                                                             documents for
                                                             hearing.
LMM        08/10/2023   B110     3.90   255.00        994.50 Review and analyze
                                                             documents relating to
                                                             Debtor's assets.
KSK        08/10/2023   B190     2.30   285.00        655.50 Perform document
                                                             review.
DJM        08/10/2023   B190     6.20   310.00       1922.00 Prepare for summary
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               judgment hearing by
                                                               reviewing record,
                                                               authorities cited, and
                                                               hearing script.
JHY        08/10/2023   B190     5.20   285.00       1482.00 Analyze and review
                                                             debtor documents and
                                                             phone records for
                                                             responsive documents
                                                             to UCC's rule 2004
                                                             examination.
CWS        08/10/2023   B160     1.80 715.00         1287.00 Review billing
                                                             statements for interim
                                                             compensation
                                                             preparation.
CWS        08/10/2023   B320     4.30   715.00       3074.50 Perform and analyze
                                                             plan research.
EEW        08/10/2023   B190     5.00   295.00       1475.00 Document review in
                                                             response to requests
                                                             by UCC.
EEW        08/10/2023   B190     0.30   295.00         88.50 Review stipulation
                                                             and agreed order
                                                             regarding schedule
                                                             for answering and
                                                             summary judgment
                                                             brief in both
                                                             adversary cases and
                                                             docket hearing date
                                                             for same.
VLD        08/10/2023   B190     0.70   795.00        556.50 Analyzing status of
                                                             document review (.4);
                                                             answering inquiries
                                                             from Committee on
                                                             third party documents
                                                             (.3).
VLD        08/10/2023   B190     0.10   795.00         79.50 Email with courtroom
                                                             deputy on hearing
                                                             logistics.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
VLD        08/10/2023   B210     0.20   795.00        159.00 Correspondence with
                                                             Crowder CEO on
                                                             operational issue.
VLD        08/10/2023   B170     0.60   795.00        477.00 Analyzing issues with
                                                             proposed order on
                                                             Teneo fees.
VLD        08/10/2023   B190     0.20   795.00        159.00 Review emergency
                                                             motion filed by
                                                             Committee on ESG
                                                             document production.
VLD        08/10/2023   B110     0.10   795.00         79.50 Emails on UST bill
                                                             and invoicing.
DJM        08/10/2023   B190     4.00   310.00       1240.00 Perform document
                                                             review.
AS         08/11/2023   B190     0.20   305.00         61.00 Draft email to
                                                             unsecured creditors
                                                             committee regarding
                                                             document production.
AS         08/11/2023   B190     2.30   305.00        701.50 Conduct document
                                                             review to produce
                                                             documents in
                                                             response to unsecured
                                                             creditors committee's
                                                             2004 requests.
RJY        08/11/2023   B190     1.20   340.00        408.00 Conduct moot court
                                                             for Texas argument.
RJY        08/11/2023   B190     1.60   340.00        544.00 Conduct moot court
                                                             for Connecticut case.
RJY        08/11/2023   B190     3.50   340.00       1190.00 Conduct round table
                                                             discussions on cases
                                                             relied upon in
                                                             briefing.
RJY        08/11/2023   B190     0.90   340.00        306.00 Draft argument
                                                             sections on full faith
                                                             and credit and due
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               process.
BBA        08/11/2023   B190     3.10   285.00        883.50 Review and prepare
                                                             L. Muniz email
                                                             correspondence for
                                                             production.
KSK        08/11/2023   B190     4.80   285.00       1368.00 Perform document
                                                             review.
NAC        08/11/2023   B240     2.40   675.00       1620.00 Correspondence with
                                                             CPA regarding cost
                                                             basis analysis for
                                                             2021 and 2022
                                                             gains/losses (.3);
                                                             analyze worksheets
                                                             regarding 2021 and
                                                             2022 cost basis, fair
                                                             market value and
                                                             gain/loss calculations
                                                             (.9); craft
                                                             correspondence to tax
                                                             advisor regarding cost
                                                             basis, fair market
                                                             value and capital
                                                             gain/loss reporting for
                                                             2021 and 2022 tax
                                                             year (.5); discussion
                                                             with Tyler Bennett
                                                             regarding cost basis
                                                             information (.7).
DJM        08/11/2023   B190     5.30   310.00       1643.00 Prepare for summary
                                                             judgment hearing by
                                                             reviewing record,
                                                             authorities cited, and
                                                             hearing script.
JHY        08/11/2023   B190     2.70   285.00        769.50 Analyze and review
                                                             debtor's phone
                                                             records for
                                                             documents responsive
                                                             to UCC's rule 2004
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               examination.
CWS        08/11/2023   B190     1.30   715.00        929.50 Prepare for summary
                                                             judgment hearing
                                                             (.8); calls and
                                                             correspondence
                                                             regarding same (.5).
CWS        08/11/2023   B320     4.60   715.00       3289.00 Perform and analyze
                                                             plan research.
EEW        08/11/2023   B190     4.00   295.00       1180.00 Document review in
                                                             response to requests
                                                             by UCC.
EEW        08/11/2023   B190     0.60   295.00        177.00 Coordinate
                                                             procurement of
                                                             bankruptcy
                                                             documents from BK
                                                             case in the SDNY.
DJM        08/11/2023   B190     3.00   310.00        930.00 Perform document
                                                             review.
DJM        08/12/2023   B190     5.50   310.00       1705.00 Prepare for summary
                                                             judgment hearing by
                                                             reviewing record,
                                                             authorities cited, and
                                                             hearing script.
VLD        08/12/2023   B190     0.40   795.00        318.00 Review summary of
                                                             document production
                                                             call and respond as
                                                             possible with
                                                             information.
DJM        08/12/2023   B195     2.00   310.00        620.00 Perform document
                                                             review.
JCD        08/13/2023   B195    10.00   475.00       4750.00 Travel time one way
                                                             from Tulsa to
                                                             Houston [10.0 hours
                                                             billed at half-time]
DJM        08/13/2023   B190     6.20   310.00       1922.00 Prepare for summary
                                                             judgment hearing by
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               reviewing record,
                                                               authorities cited, and
                                                               hearing script.
DJM        08/13/2023   B195     2.40   310.00        744.00 Travel to Houston for
                                                             hearing [4.8 hours
                                                             billed at half-time].
AS         08/14/2023   B190     0.30   305.00         91.50 Correspond with
                                                             Sarah Mansfield
                                                             regarding additional
                                                             email account for
                                                             document production.
JHY        08/14/2023   B190     1.40   285.00        399.00 Analyze and review
                                                             Plaintiffs' Original
                                                             Petition in matter
                                                             Travis County, et al.
                                                             v. Austin Shiprock
                                                             Publishing, LLC, No.
                                                             D-1-GN-23-003599
                                                             (0.3); draft, revise,
                                                             and file original
                                                             answer in response to
                                                             the Travis County
                                                             petition (1.1).
RJY        08/14/2023   B190     1.00   340.00        340.00 Draft response
                                                             arguments for hearing
                                                             on summary
                                                             judgment.
JCD        08/14/2023   B190     8.00   475.00       3800.00 Preparations for
                                                             hearing (3.0); review
                                                             of all exhibits; briefs,
                                                             case law, practice
                                                             presentation (3.0);
                                                             moot court for TX
                                                             and CT oral
                                                             arguments (2.0).
KSK        08/14/2023   B190     3.80   285.00       1083.00 Perform document
                                                             review.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
KSK        08/14/2023   B190     2.00   285.00        570.00 Perform document
                                                             review.
DJM        08/14/2023   B190    10.50   310.00       3255.00 Prepare for summary
                                                             judgment hearing by
                                                             reviewing record,
                                                             authorities cited, and
                                                             hearing script.
JHY        08/14/2023   B190     2.20   285.00        627.00 Analyze and review
                                                             debtor's cell phone
                                                             records for
                                                             documents responsive
                                                             to UCC's rule 2004
                                                             examination.
CWS        08/14/2023   B195     2.00   715.00       1430.00 Travel from Dallas to
                                                             Houston [billed at
                                                             half time 4.0].
CWS        08/14/2023   B190     2.10   715.00       1501.50 Prepare for hearings
                                                             on Motions for
                                                             summary judgment.
EEW        08/14/2023   B190     3.00   295.00        885.00 Review spreadsheets
                                                             received from
                                                             BlackBriar Advisors
                                                             and draft July
                                                             monthly operating
                                                             report.
VLD        08/14/2023   B190     0.80   795.00        636.00 Preparation for
                                                             hearing on MSJ.
VLD        08/14/2023   B195     2.00   795.00       1590.00 Travel to Houston
                                                             (4.0) billing at half
                                                             time.
VLD        08/14/2023   B190     0.20   795.00        159.00 Emailing court on
                                                             logistical issues in
                                                             advance of hearing.
VLD        08/14/2023   B210     1.80   795.00       1431.00 Analyze and discuss
                                                             budgeting and related
                                                             concerns from UCC.
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Attorney      Date      Task   Hours    Rate     Bill Amount     Description of
                                                               Services Rendered
VLD        08/14/2023   B210     1.50 795.00         1192.50 Emails regarding FSS
                                                             operations.
VLD        08/14/2023   B210     1.30   795.00       1033.50 Review and revise
                                                             stipulation resolving
                                                             admin claim and
                                                             raised salary for AJ
                                                             and send to UCC, Sub
                                                             V Trustee and FSS
                                                             counsel for review
                                                             and comment (1.1);
                                                             emails extending
                                                             objections deadlines
                                                             on admin claim
                                                             motion (.2).
VLD        08/14/2023   B190     0.60 795.00          477.00 Updates on third party
                                                             subpoena.
VLD        08/14/2023   B110     0.20   795.00        159.00 Emails on extension
                                                             to object to
                                                             exemptions.
CWS        08/14/2023   B320     4.20   715.00       3003.00 Meetings with
                                                             Professionals
                                                             regarding plan
                                                             treatment matters.
RJY        08/15/2023   B190     3.30   340.00       1122.00 Attend summary
                                                             judgment hearing
                                                             remotely for potential
                                                             appeal purposes.
BBA        08/15/2023   B190     3.90   285.00       1111.50 Review and analyze
                                                             email correspondence
                                                             of L. Muniz in
                                                             preparation for
                                                             producing same.
JCD        08/15/2023   B190     5.00   475.00       2375.00 Prepare for and attend
                                                             on Motion for
                                                             Summary Judgment.
JCD        08/15/2023   B110     2.00   475.00        950.00 Attend overall case
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               strategy meeting.
LGD        08/15/2023   B190     0.60   185.00        111.00 Create additional
                                                             document review
                                                             assignments and
                                                             review target list
                                                             regarding images
                                                             from backup retrieved
                                                             from cloud storage.
KSK        08/15/2023   B190     8.10   285.00       2308.50 Perform document
                                                             review and
                                                             correspondence with
                                                             Lisa Dauphin
                                                             regarding production
                                                             of same.
DJM        08/15/2023   B190     3.00   310.00        930.00 Prepare for summary
                                                             judgment hearing.
DJM        08/15/2023   B190     3.30   310.00       1023.00 Attend summary
                                                             judgment hearing.
DJM        08/15/2023   B195     2.40   310.00        744.00 Travel from Houston
                                                             to Tulsa (4.8 hours).
JHY        08/15/2023   B190     1.70   285.00        484.50 Attend oral
                                                             arguments/summary
                                                             judgment hearing on
                                                             the adversarial
                                                             proceedings - provide
                                                             real-time analysis,
                                                             research, and support
                                                             for the in-court
                                                             hearing team.
JHY        08/15/2023   B190     2.80   285.00        798.00 Analyze and review
                                                             debtor's phone
                                                             records and
                                                             coordinate production
                                                             of documents
                                                             responsive to UCC's
                                                             rule 2004
                                                             examination.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
CWS        08/15/2023   B190     3.10   715.00       2216.50 Prepare for and attend
                                                             hearing on Motions
                                                             for Summary
                                                             Judgment.
EEW        08/15/2023   B190     1.80   295.00        531.00 Review valuation
                                                             report and schedules
                                                             (.6); prepare list of the
                                                             boats, cars and
                                                             watches with values
                                                             to submit to the UCC
                                                             (1.2).
VLD        08/15/2023   B190     3.90   795.00       3100.50 Preparation for and
                                                             attend hearing on
                                                             MSJ.
VLD        08/15/2023   B240     0.20   795.00        159.00 Emails regarding
                                                             taxation issue.
VLD        08/15/2023   B110     2.90   795.00       2305.50 Prepare for and attend
                                                             overall case strategy
                                                             meeting.
CWS        08/15/2023   B110     4.10   715.00       2931.50 Prepare for and attend
                                                             overall case strategy
                                                             meeting (2.9); draft
                                                             and review related
                                                             correspondence (1.2).
BBA        08/16/2023   B190     5.60   285.00       1596.00 Review and analyze
                                                             initial emails of S.
                                                             Mansfield in
                                                             preparation for
                                                             document production
                                                             (4.10); finalize review
                                                             of additional email
                                                             correspondence of L.
                                                             Muniz in preparation
                                                             for producing (1.5).
AS         08/16/2023   B190     0.80   305.00        244.00 Conduct document
                                                             review to produce
                                                             documents in
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               response to unsecured
                                                               creditors committee's
                                                               2004 requests.
LGD        08/16/2023   B190     0.40   185.00         74.00 Review text message
                                                             discovery for
                                                             production.
JCD        08/16/2023   B195     4.50   475.00       2137.50 Travel time one way
                                                             from Houston [9.0
                                                             billed at half-time].
KSK        08/16/2023   B190     3.10   285.00        883.50 Perform document
                                                             review.
NAC        08/16/2023   B240     0.60   675.00        405.00 Correspondence with
                                                             FSS regarding
                                                             conference call to
                                                             discuss proposed plan
                                                             of reorganization tax
                                                             issues (.6).
JHY        08/16/2023   B190     4.60   285.00       1311.00 Analyze and research
                                                             public corporate
                                                             filings and records of
                                                             Youngevity
                                                             International, Inc. for
                                                             service and
                                                             conference purposes
                                                             (0.9); analyze and
                                                             review Local Rule
                                                             2004-1(d) in
                                                             preparation to draft
                                                             rule 2004
                                                             examination (0.2);
                                                             draft and revise
                                                             Notice of Debtor's
                                                             Rule 2004
                                                             Examination of
                                                             Youngevity
                                                             International, Inc.
                                                             (3.1); attempt to
                                                             confer with
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Youngevity
                                                               International, Inc. for
                                                               purposes of certificate
                                                               of conference of the
                                                               debtor's rule 2004
                                                               examination (0.4).
CWS        08/16/2023   B195     2.00   715.00       1430.00 Travel from Houston
                                                             to Dallas [billed at
                                                             half time 4 hours].
CWS        08/16/2023   B320     2.30   715.00       1644.50 Perform research and
                                                             analysis regarding
                                                             plan issues.
VLD        08/16/2023   B195     2.00   795.00       1590.00 Travel from Houston
                                                             (4.0 billed at
                                                             half-time).
VLD        08/16/2023   B210     0.20   795.00        159.00 Initial review of
                                                             contract and terms on
                                                             bourbon deal and
                                                             respond via email to
                                                             same.
VLD        08/16/2023   B190     0.40 795.00          318.00 Discuss 2004
                                                             document request
                                                             procedures.
AS         08/17/2023   B190     0.20   305.00         61.00 E-mail exchanges
                                                             with debtor's assistant
                                                             regarding additional
                                                             email address and
                                                             obtaining access.
NAC        08/17/2023   B240     2.80   675.00       1890.00 Conference call with
                                                             FSS regarding tax
                                                             issues related to plan
                                                             of reorganization
                                                             (2.4); correspondence
                                                             with CPA regarding
                                                             same (.4).
AS         08/17/2023   B190     2.10   305.00        640.50 Conduct document
                                                             review to produce
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               documents in
                                                               response to unsecured
                                                               creditors committee's
                                                               2004 requests.
LGD        08/17/2023   B190     2.20   185.00        407.00 Document review.
JHY        08/17/2023   B190     3.20 285.00          912.00 Finalize and
                                                             coordinate service of
                                                             debtor's rule 2004
                                                             examination of
                                                             Youngevity
                                                             International, Inc.
                                                             (0.5); draft and revise
                                                             debtor's rule 2004
                                                             examination of UCC
                                                             (2.7).
CWS        08/17/2023   B110     0.20   715.00        143.00 Correspondence with
                                                             co-counsel regarding
                                                             various matters.
EEW        08/17/2023   B190     0.80 295.00          236.00 Finalize and file
                                                             debtor's 2004
                                                             production request to
                                                             Youngevity and
                                                             docket response date
                                                             for same (.4); review
                                                             Texas Pltff's 2004
                                                             notices to Erika
                                                             Wulff-Jones and
                                                             Patrick Reiley and
                                                             docket date for same
                                                             (.4).
VLD        08/17/2023   B160     0.30   795.00        238.50 Review Martin firm
                                                             invoice and send to
                                                             BBA for accounting.
VLD        08/17/2023   B210     1.90   795.00       1510.50 Review and revise
                                                             Bourbon contract and
                                                             send to counter party
                                                             for review and
                                                             approval (1.7); emails
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               regarding
                                                               modifications sought
                                                               (.2).
VLD        08/17/2023   B110     0.80   795.00        636.00 Check on status of
                                                             multiple matters in
                                                             case and confirming
                                                             deadlines on same.
VLD        08/17/2023   B210     0.30   795.00        238.50 Emails with J.
                                                             Harmaan on
                                                             marketing efforts.
VLD        08/17/2023   B110     0.30   795.00        238.50 Review and approve
                                                             exemption objection
                                                             extension for filing.
NAC        08/18/2023   B240     1.90   675.00       1282.50 Conference call with
                                                             Bob Schleizer and
                                                             Rachel Kennerly
                                                             regarding proposed
                                                             plan of reorganization
                                                             tax implications (.9);
                                                             call with CPA
                                                             regarding prior year
                                                             reporting implications
                                                             of proposed plan of
                                                             reorganization issues
                                                             (.5); correspondence
                                                             with Tyler Elliot
                                                             regarding cost basis
                                                             reporting for 2021
                                                             and 2022 (.5).
RJY        08/18/2023   B190     0.50   340.00        170.00 Debrief summary
                                                             judgment hearing.
JHY        08/18/2023   B190     1.90   285.00        541.50 Draft and revise
                                                             debtor's rule 2004
                                                             examination of UCC.
JHY        08/18/2023   B130     0.90   285.00        256.50 Review and revise
                                                             motion for sale and
                                                             proposed order in
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               preparation to send to
                                                               UCC counsel for
                                                               review (0.7); email
                                                               Sara Brauner a draft
                                                               of the same (0.2).
EEW        08/18/2023   B190     0.40   295.00        118.00 Download and review
                                                             July bank statements
                                                             supporting July
                                                             monthly operating
                                                             report.
EEW        08/18/2023   B185     0.80   295.00        236.00 Draft certificate of no
                                                             objection to motion to
                                                             assume existing book
                                                             contract and approve
                                                             new contract.
EEW        08/18/2023   B110     0.50   295.00        147.50 Review and update
                                                             list of upcoming
                                                             deadlines and
                                                             circulate to team.
EEW        08/18/2023   B190     3.00   295.00        885.00 Document review in
                                                             response to requests
                                                             by UCC.
VLD        08/18/2023   B210     1.20   795.00        954.00 Draft short
                                                             opportunities contract
                                                             and send to counsel
                                                             for FSS and FSS for
                                                             review and comment.
VLD        08/18/2023   B210     1.20   795.00        954.00 Review emails on
                                                             admin claim motion
                                                             and request meeting
                                                             to discuss with FSS
                                                             (.4); call with UCC on
                                                             Admin claim issues
                                                             (.8).
VLD        08/18/2023   B130     0.10   795.00         79.50 Send draft sale
                                                             motion to UCC.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
VLD        08/18/2023   B190     0.20   795.00        159.00 Correspondence on
                                                             claim and lawsuit
                                                             answer date.
AS         08/19/2023   B190     1.80   305.00        549.00 Conduct document
                                                             review to produce
                                                             documents in
                                                             response to unsecured
                                                             creditors committee's
                                                             2004 requests.
VLD        08/19/2023   B210     1.00   795.00        795.00 Review and respond
                                                             to FSS regarding
                                                             termination of
                                                             assistant without
                                                             notice (.5); perform
                                                             analysis regarding
                                                             administrative risks to
                                                             estate (.5).
NAC        08/21/2023   B240     1.30   675.00        877.50 Correspondence and
                                                             discussion with Bob
                                                             Schleizer and Rachel
                                                             Kennerly CPA
                                                             regarding cost basis,
                                                             gross income, gains
                                                             and losses and tax
                                                             reporting
                                                             requirements for
                                                             various contributions
                                                             (.9); draft follow-up
                                                             correspondence to
                                                             Tyler Elliot regarding
                                                             cost basis and fair
                                                             market calculations
                                                             for various
                                                             contributions (.4).
LGD        08/21/2023   B190     0.20   185.00         37.00 Receive additional
                                                             email discovery from
                                                             Digital Mountain and
                                                             prepare for attorney
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               production review.
LGD        08/21/2023   B190     0.50   185.00         92.50 Review client
                                                             discovery for
                                                             production and
                                                             privilege.
JHY        08/21/2023   B190     0.90   285.00        256.50 Analyze and review
                                                             rule 2004
                                                             examination-related
                                                             pleadings between
                                                             UCC and Elevated
                                                             Solutions Group.
EEW        08/21/2023   B190     0.40   295.00        118.00 Review emergency
                                                             motion for protective
                                                             order by Elevated
                                                             Solutions Group and
                                                             notice of hearing
                                                             regarding same (.2);
                                                             docket continued
                                                             hearing date (.2).
EEW        08/21/2023   B190     3.00   295.00        885.00 Document review in
                                                             response to requests
                                                             by UCC.
LGD        08/22/2023   B190     1.90   185.00        351.50 Review client
                                                             discovery for
                                                             production and
                                                             privilege.
EEW        08/22/2023   B190     0.20   295.00         59.00 Review FSS's motion
                                                             to quash UCC's rule
                                                             2004 examination and
                                                             docket hearing date
                                                             for same.
EEW        08/22/2023   B160     1.30   295.00        383.50 Review updated
                                                             spreadsheets received
                                                             from BlackBriar
                                                             Advisors and revise
                                                             fee statement drafts
                                                             for May and June.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
VLD        08/22/2023   B210     0.50   795.00        397.50 Emails regarding
                                                             rescheduling call (.1);
                                                             confirming sending
                                                             book contract,
                                                             Crowder and whiskey
                                                             sharing with FSS (.2);
                                                             analyzing admin
                                                             claim and bifurcation
                                                             issues with FSS (.2).
VLD        08/22/2023   B110     0.30   795.00        238.50 Review docket and
                                                             hearing on ESG
                                                             discovery dispute
                                                             with UCC and
                                                             prepare for hearing.
VLD        08/22/2023   B210     0.50   795.00        397.50 Call with contact to
                                                             find executive search
                                                             firm for FSS.
VLD        08/22/2023   B120     1.10   795.00        874.50 Research regarding
                                                             control for donation
                                                             accounts.
VLD        08/22/2023   B130     0.80   795.00        636.00 Review comments to
                                                             sale motion from
                                                             UCC and send to
                                                             BBA for review.
RJY        08/23/2023   B190     0.60   340.00        204.00 Discuss contingency
                                                             plans for ruling on
                                                             summary judgment
                                                             motion.
LGD        08/23/2023   B190     1.30   185.00        240.50 Review client
                                                             discovery for
                                                             production and
                                                             privilege.
DJM        08/23/2023   B190     0.30   310.00         93.00 Develop strategy
                                                             regarding next steps
                                                             after court issues
                                                             order on summary
                                                             judgment motions.
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Attorney      Date      Task   Hours    Rate     Bill Amount     Description of
                                                               Services Rendered
JHY        08/23/2023   B190     0.50 285.00          142.50 Attend hearing on
                                                             Elevated solution
                                                             Group's emergency
                                                             motion to protect.
JHY        08/23/2023   B120     7.40   285.00       2109.00 Prepare for and attend
                                                             rule 2004
                                                             examination
                                                             deposition of Patrick
                                                             Riley.
EEW        08/23/2023   B190     0.20 295.00           59.00 Review second
                                                             rescheduled 2004
                                                             deposition of Erika
                                                             Wulff-Jones and
                                                             docket same.
EEW        08/23/2023   B190     0.20   295.00         59.00 Review agreed order
                                                             granting motion for
                                                             relief from stay
                                                             regarding the 2020
                                                             Chevrolet Tahoe filed
                                                             in the FSS case and
                                                             circulate to team.
EEW        08/23/2023   B160     0.20   295.00         59.00 Email
                                                             correspondence to
                                                             and from BlackBriar
                                                             Advisors regarding
                                                             May and June fee
                                                             statements.
VLD        08/23/2023   B110     1.10   795.00        874.50 Provide client with
                                                             updates on case.
EEW        08/24/2023   B185     0.30 295.00           88.50 Finalize and file
                                                             certificate of no
                                                             objection on motion
                                                             to assume existing
                                                             book contract and
                                                             approve new contract.
VLD        08/24/2023   B185     0.30   795.00        238.50 Review and approve
                                                             CNO and order
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               approving book
                                                               contract motion.
VLD        08/24/2023   B190     0.30   795.00        238.50 Correspondence with
                                                             UCC on privilege log
                                                             and production
                                                             requests.
VLD        08/24/2023   B140     0.20   795.00        159.00 Draft correspondence
                                                             extending stay on TX
                                                             trials.
VLD        08/24/2023   B210     0.90   795.00        715.50 Review and revise
                                                             employment
                                                             agreement regarding
                                                             P. McGill comments
                                                             and send to FSS
                                                             counsel for review
                                                             and comment (.6);
                                                             review email
                                                             comment and revise
                                                             to address same (.3).
VLD        08/24/2023   B210     0.40   795.00        318.00 Call with Crowder
                                                             CEO on FSS staffing
                                                             and related recruiting
                                                             issues.
VLD        08/24/2023   B170     0.80   795.00        636.00 Analyze issues with
                                                             Teneo fees.
VLD        08/24/2023   B210     0.20   795.00        159.00 Review email from
                                                             Conspiracy Bourbon
                                                             group.
LGD        08/25/2023   B190     1.50   185.00        277.50 Review client
                                                             discovery for
                                                             production and
                                                             privilege.
KSK        08/25/2023   B190     0.20   285.00         57.00 Review document
                                                             review guidelines and
                                                             related e-mail
                                                             correspondence.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
JHY        08/25/2023   B190     0.50   285.00        142.50 Analyze and review
                                                             notes of Rule 2004
                                                             examination of
                                                             Patrick Riley in
                                                             preparation for Rule
                                                             2004 examination of
                                                             debtor (.3); analyze
                                                             and review notes from
                                                             motion to protect
                                                             hearing Vickie L.
                                                             Driver (.2).
CWS        08/25/2023   B160     5.70   715.00       4075.50 Review and revise
                                                             billing statements for
                                                             interim compensation
                                                             preparation (4.3);
                                                             draft related
                                                             correspondence (1.4).
VLD        08/25/2023   B160     0.80   795.00        636.00 Developing
                                                             calendaring protocol
                                                             for fee statements and
                                                             interim fee
                                                             applications.
VLD        08/25/2023   B210     1.70   795.00       1351.50 Analyzing support for
                                                             July expenses (1.1);
                                                             call with UCC on
                                                             budget issues (.4);
                                                             emails regarding
                                                             same (.2).
VLD        08/25/2023   B190     0.50   795.00        397.50 Emails regarding
                                                             ESG's objection to
                                                             UCC producing
                                                             documents to Debtor.
VLD        08/25/2023   B190     0.50   795.00        397.50 Review 2004 notice
                                                             of T. Fruge and
                                                             emails regarding
                                                             issues with timing
                                                             (.3); emails with FSS
                                                             counsel on T. Fruge
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               defense at deposition
                                                               (.2).
VLD        08/25/2023   B210     0.80   795.00        636.00 Review FSS budget
                                                             and emails regarding
                                                             travel expected in
                                                             September.
VLD        08/25/2023   B210     0.10   795.00         79.50 Resending revised
                                                             employment
                                                             agreement to FSS for
                                                             review and approval.
CWS        08/26/2023   B160     5.20   715.00       3718.00 Review and revise
                                                             billing statements for
                                                             interim compensation
                                                             preparation (4.4);
                                                             draft related
                                                             correspondence (.8).
VLD        08/26/2023   B160     1.00   795.00        795.00 Call with AJ
                                                             regarding legal bill
                                                             inquiries and
                                                             management (.7);
                                                             emails setting up
                                                             meeting with TX trial
                                                             team (.3).
VLD        08/26/2023   B160     0.30   795.00        238.50 Emails to billers
                                                             regarding time entry
                                                             in BK for preparation
                                                             of fee statements.
KSK        08/27/2023   B190     5.90   285.00       1681.50 Perform document
                                                             review.
VLD        08/27/2023   B210     0.40   795.00        318.00 Review and respond
                                                             to emails on budgting
                                                             issues and send to
                                                             BBA for discussion
                                                             on same.
KSK        08/28/2023   B190     1.00   285.00        285.00 Perform document
                                                             review.
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Attorney      Date      Task   Hours    Rate     Bill Amount     Description of
                                                               Services Rendered
EEW        08/28/2023   B190     0.30   295.00         88.50 Review the UCC's
                                                             notice of 2004
                                                             deposition of Bob
                                                             Schleizer & Debtor
                                                             and docket dates for
                                                             same.
VLD        08/28/2023   B210     2.50   795.00       1987.50 Drafting contract for
                                                             opportunity share for
                                                             interim period before
                                                             employment
                                                             agreement is
                                                             approved (.8); follow
                                                             up on employment
                                                             agreement (.2); revise
                                                             motion to approve
                                                             contract and follow
                                                             up on admin claim via
                                                             email (.9) discuss
                                                             same with FSS
                                                             counsel (.6).
VLD        08/28/2023   B210     0.30 795.00          238.50 Review BBA
                                                             response to Teneo and
                                                             revise same.
LMM        08/29/2023   B160     0.40   255.00        102.00 Review and analyze
                                                             billing requirements.
LGD        08/29/2023   B190     1.70   185.00        314.50 Run pre-production
                                                             conflict and quality
                                                             checks.
KSK        08/29/2023   B190     1.00   285.00        285.00 Perform document
                                                             review.
JHY        08/29/2023   B190     0.80   285.00        228.00 Analyze and review
                                                             local rules and case
                                                             law regarding Rule
                                                             2004 examination
                                                             time limits and
                                                             procedures.
NAC        08/29/2023   B240     0.90   675.00        607.50 Draft summary
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               correspondence
                                                               regarding income,
                                                               gain or loss tax
                                                               reporting with respect
                                                               to in-kind
                                                               contributions.
EEW        08/29/2023   B160     3.80   295.00       1121.00 Draft May and June
                                                             monthly fee
                                                             statements for Crowe
                                                             and Dunlevy.
VLD        08/29/2023   B140     1.00   795.00        795.00 Review and analyze
                                                             issues on crypto tax
                                                             basis.
VLD        08/29/2023   B190     1.20   795.00        954.00 Call with counsel for
                                                             PQPR and David
                                                             Jones on David Jones
                                                             deposition.
VLD        08/29/2023   B210     1.80   795.00       1431.00 Calls and emails with
                                                             UCC on employment
                                                             agreement motion
                                                             filed (1.3); call with
                                                             FSS counsel on same
                                                             (.6).
LGD        08/30/2023   B190     0.50   185.00         92.50 Review client
                                                             discovery for
                                                             production and
                                                             privilege.
LGD        08/30/2023   B190     0.90   185.00        166.50 Review financial
                                                             records and apply
                                                             redactions to
                                                             confidential
                                                             information.
LGD        08/30/2023   B190     1.20   185.00        222.00 Continue to run
                                                             pre-production
                                                             conflict and quality
                                                             checks.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
CWS        08/30/2023   B190     1.30   715.00        929.50 Attend emergency
                                                             hearing regarding D.
                                                             Jones 2004
                                                             examination (.7);
                                                             draft related
                                                             correspondence (.6).
JHY        08/30/2023   B190     0.40   285.00        114.00 Analyze and review
                                                             scans of documents
                                                             found in debtor's
                                                             office for redactions
                                                             prior to production in
                                                             response to UCC's
                                                             rule 2004
                                                             examination.
EEW        08/30/2023   B160     3.00   295.00        885.00 Revise May and June
                                                             monthly fee
                                                             statements for Crowe
                                                             & Dunlevy (1.3);
                                                             draft July monthly fee
                                                             statement (1.7).
EEW        08/30/2023   B160     1.00   295.00        295.00 Begin drafting
                                                             spreadsheet of
                                                             professional fees for
                                                             all professionals the
                                                             bankruptcy estate is
                                                             responsible to pay.
VLD        08/30/2023   B160     0.40   795.00        318.00 Emails with TX trial
                                                             team on stay
                                                             extension, trial
                                                             extension, and
                                                             budgeting needed.
VLD        08/30/2023   B195     1.70   795.00       1351.50 Travel to Austin (3.5
                                                             - billed at half time).
DLH        08/31/2023   B190     3.50   280.00        980.00 Working on doc
                                                             review (mostly
                                                             e-mails) for expenses.
CWS        08/31/2023   B160     4.50 715.00         3217.50 Review and revise fee
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               statements and billing
                                                               (3.1); draft and
                                                               review related
                                                               correspondence (1.4).
CWS        08/31/2023   B190     0.40   715.00        286.00 Review and respond
                                                             to Youngevity
                                                             extension request.
KSK        08/31/2023   B190     1.60   285.00        456.00 Perform document
                                                             review.
KSK        08/31/2023   B190     3.30   285.00        940.50 Perform document
                                                             review.
EEW        08/31/2023   B160     5.70   295.00       1681.50 Revise, finalize and
                                                             file May and June
                                                             monthly fee
                                                             statements for
                                                             BlackBriar Advisors
                                                             (1.5); revise, finalize
                                                             and file May, June
                                                             and July monthly fee
                                                             statements for Crowe
                                                             & Dunlevy (3.0);
                                                             serve via email to
                                                             UCC and trustee (1.);
                                                             draft May and June
                                                             monthly fee statement
                                                             for Rachel Kennerly
                                                             (1.0); docket
                                                             objection deadline for
                                                             fee statements (.1).
VLD        08/31/2023   B190     6.20   795.00       4929.00 Attend David Jones
                                                             deposition.
VLD        08/31/2023   B190     0.60   795.00        477.00 Answering document
                                                             production questions.
DLH        09/01/2023   B190     6.00   280.00       1680.00 Performed document
                                                             review.
VLD        09/01/2023   B190     1.00   795.00        795.00 Review email from
                                                             FSS CRO on refusal
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               to give assistant to be
                                                               terminated notice (.2);
                                                               send email to R.
                                                               Battaglia clarifying
                                                               that timing on FSS
                                                               filing the motion to
                                                               employ the contract is
                                                               not restricted by AJ
                                                               legal team (.3); call
                                                               with FSS regarding
                                                               attempts to stem the
                                                               admin expense claim
                                                               if terminated FSS
                                                               employee sues (.5).
EEW        09/01/2023   B190     0.20   295.00         59.00 Email
                                                             correspondence to
                                                             team regarding
                                                             powerpoint slide
                                                             deck.
EEW        09/01/2023   B160     0.70   295.00        206.50 Revisions to Rachel
                                                             Kennerly's monthly
                                                             fee statement for May
                                                             and June (.5); email
                                                             correspondence to
                                                             and from Rachel
                                                             Kennerly regarding
                                                             July time (.2).
EEW        09/01/2023   B160     2.00   295.00        590.00 Continue drafting
                                                             spreadsheet of
                                                             professional fees for
                                                             all estate and UCC
                                                             professionals.
EEW        09/01/2023   B160     0.40   295.00        118.00 Docket objection
                                                             deadline for fifth,
                                                             sixth and seventh
                                                             monthly fee
                                                             statements of Crowe
                                                             & Dunlevy and fifth
                                                             and sixth monthly fee
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               statements of
                                                               BlackBriar Advisors
                                                               (.2); docket extended
                                                               2004 production
                                                               request deadline (.2).
KSK        09/01/2023   B190     8.80   285.00       2508.00 Perform document
                                                             review.
VLD        09/01/2023   B210     0.40   795.00        318.00 Emails regarding
                                                             Alex related URLs.
                                                             (.2); emails regarding
                                                             mediation discussion
                                                             (.2).
VLD        09/01/2023   B110     0.50   795.00        397.50 Calls with client
                                                             regarding case
                                                             matters.
VLD        09/01/2023   B140     0.30   795.00        238.50 Emails regarding stay
                                                             relief and continuing
                                                             trial date.
VLD        09/01/2023   B190     0.20   795.00        159.00 Emails regarding
                                                             production
                                                             scheduling and
                                                             completion.
VLD        09/01/2023   B195     1.50   795.00       1192.50 Travel from Austin
                                                             home (billed at half
                                                             time 3.0).
DLH        09/02/2023   B190     8.60   280.00       2408.00 Perform document
                                                             review.
DLH        09/03/2023   B190     5.80   280.00       1624.00 Perform document
                                                             review.
DLH        09/04/2023   B190     4.30   280.00       1204.00 Perform document
                                                             review.
VLD        09/04/2023   B160     0.50   795.00        397.50 Call with N, Pattis
                                                             about payment (.3);
                                                             emails regarding
                                                             payment to N. Pattis
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               (.2).
VLD        09/04/2023   B190     0.20   795.00        159.00 Emails on 2004 limits
                                                             for AJ examination.
DLH        09/05/2023   B190     3.20   280.00        896.00 Redact documents for
                                                             document review.
DLH        09/05/2023   B190     1.60   280.00        448.00 Perform document
                                                             review.
LGD        09/05/2023   B190     1.20   185.00        222.00 Access online
                                                             repository and
                                                             prepare third party
                                                             productions for
                                                             attorney discovery
                                                             review.
VLD        09/05/2023   B195     1.50   795.00       1192.50 Travel to Austin for
                                                             deposition (billed at
                                                             half time 3.0).
VLD        09/05/2023   B190     0.30   795.00        238.50 Review 2004 exam
                                                             notice.
JHY        09/05/2023   B190     0.20   285.00         57.00 Email UCC's counsel
                                                             regarding Rule 2004
                                                             deposition transcripts
                                                             of Patrick Riley.
DLH        09/06/2023   B190     8.60   280.00       2408.00 Perform document
                                                             review.
EEW        09/06/2023   B190     0.40   295.00        118.00 Review the UCC's
                                                             notice of rescheduled
                                                             rule 2004 deposition
                                                             of Joseph Dalessio
                                                             and continuance of
                                                             rule 2004 deposition
                                                             of David Jones and
                                                             docket same.
LGD        09/06/2023   B190     1.30   185.00        240.50 Prepare third party
                                                             productions received
                                                             from Akin and Scott
                                                             Douglas for attorney
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               review.
KSK        09/06/2023   B190     7.30   285.00       2080.50 Perform document
                                                             review.
VLD        09/06/2023   B190     8.20   795.00       6519.00 Preparation for and
                                                             attend E. Jones 2004
                                                             examination (7.4);
                                                             discuss examination
                                                             with client (.6);
                                                             emails regarding
                                                             review protocol for
                                                             texts (.2).
VLD        09/06/2023   B140     0.20 795.00          159.00 Continuation of
                                                             emails on
                                                             rescheduling Texas
                                                             trial.
VLD        09/06/2023   B160     0.10   795.00         79.50 Circulating interim
                                                             monthly fee
                                                             statements.
VLD        09/06/2023   B120     0.30 795.00          238.50 Emails seeking
                                                             clarification on 2017
                                                             watch report to
                                                             current valuepro's
                                                             appraisal.
VLD        09/06/2023   B210     0.40   795.00        318.00 Emails regarding
                                                             issues on budget.
EEW        09/06/2023   B110     2.20   295.00        649.00 Electronic case file
                                                             management.
EEW        09/06/2023   B110     0.20   295.00         59.00 Procure appraisal
                                                             report and premarital
                                                             agreement and
                                                             circulate to team.
CWS        09/06/2023   B190     0.70   715.00        500.50 Review and respond
                                                             to personal property
                                                             inquiry from creditor.
CWS        09/06/2023   B110     1.20   715.00        858.00 Draft response to
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               press inquiry.
DLH        09/07/2023   B190     7.30   280.00       2044.00 Perform document
                                                             review.
DLH        09/07/2023   B190     1.60   280.00        448.00 Research privilege
                                                             issues.
EEW        09/07/2023   B190     0.30   295.00         88.50 Review the UCC's
                                                             notice of continued
                                                             rule 2004 deposition
                                                             of David Jones and
                                                             the Texas Plaintiff's
                                                             amended notice of
                                                             2004 deposition of
                                                             David Jones and
                                                             docket same (.2);
                                                             review the UCC"s
                                                             notice of postponed
                                                             2004 examination of
                                                             Robert Schleizer and
                                                             docket same (.1).
LGD        09/07/2023   B190     3.50   185.00        647.50 Continue to prepare
                                                             third party
                                                             productions received
                                                             from Akin for
                                                             attorney review.
KSK        09/07/2023   B190     3.20   285.00        912.00 Perform document
                                                             review.
VLD        09/07/2023   B190     0.40   795.00        318.00 Emails with N. Pattis
                                                             on payment owed and
                                                             status of appeal.
VLD        09/07/2023   B110     1.00   795.00        795.00 Meeting with client
                                                             regarding various
                                                             case status issues.
VLD        09/07/2023   B190     0.20   795.00        159.00 Emails with group
                                                             regarding logistics for
                                                             AJ 2004 examination.
VLD        09/07/2023   B195     1.50   795.00       1192.50 Travel from Austin
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               home (billed at half
                                                               time 3.0).
CWS        09/07/2023   B320     3.80   715.00       2717.00 Perform and analyze
                                                             research for plan of
                                                             reorganization.
DLH        09/08/2023   B190     0.70   280.00        196.00 Work on privilege
                                                             memo.
DLH        09/08/2023   B190     6.80   280.00       1904.00 Perform document
                                                             review.
LGD        09/08/2023   B190     0.90   185.00        166.50 Prepare supplemental
                                                             document production.
KSK        09/08/2023   B190     7.40   285.00       2109.00 Perform document
                                                             review.
VLD        09/08/2023   B190     1.30   795.00       1033.50 Call with L. Dauphin
                                                             on document
                                                             production issues (.3);
                                                             review documents for
                                                             production (.8);
                                                             emails with UCC on
                                                             document production
                                                             status (.2).
CWS        09/08/2023   B320     3.00   715.00       2145.00 Perform and analyze
                                                             research regarding
                                                             disposable income
                                                             issue for plan of
                                                             reorganization (2.2);
                                                             draft related
                                                             correspondence (.8).
DLH        09/09/2023   B190     9.80   280.00       2744.00 Perform document
                                                             review.
DLH        09/10/2023   B190    11.60   280.00       3248.00 Perform document
                                                             review.
VLD        09/10/2023   B190     0.40   795.00        318.00 Call with UCC on
                                                             examination issues.
VLD        09/10/2023   B195     1.50   795.00       1192.50 Travel to Austin for
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               2004 exam
                                                               preparation (billed at
                                                               half time 3.0).
DLH        09/11/2023   B190     9.60   280.00       2688.00 Perform document
                                                             review.
EEW        09/11/2023   B190     0.20   295.00         59.00 Attention to letter
                                                             from Gus Oppermann
                                                             requesting
                                                             supplemental clerk's
                                                             record to be filed with
                                                             the court of appeals in
                                                             state court action
                                                             pending in Travis
                                                             County and circulate
                                                             same to team.
VLD        09/11/2023   B110     0.90   795.00        715.50 Meetings with client
                                                             on general case status.
VLD        09/11/2023   B190     5.70   795.00       4531.50 Meeting(s) with client
                                                             to prepare for 2004
                                                             examination.
VLD        09/11/2023   B110     1.70   795.00       1351.50 Meet with client
                                                             regarding ROR
                                                             response structure
                                                             and references (1.3);
                                                             meeting with S.
                                                             Jordan discussing
                                                             response to ROR (.4).
VLD        09/11/2023   B190     2.10   795.00       1669.50 Preparation for 2004
                                                             examination.
VLD        09/11/2023   B190     0.60   795.00        477.00 Address questions
                                                             related to document
                                                             review and privilege
                                                             issues.
KSK        09/11/2023   B110     2.00   285.00        570.00 Perform document
                                                             review.
EEW        09/11/2023   B110     0.60   295.00        177.00 Review and revise list
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               of upcoming
                                                               deadlines.
CWS        09/11/2023   B195     2.00   715.00       1430.00 Travel to Austin for
                                                             client deposition
                                                             billed at half-time
                                                             (4.0).
CWS        09/11/2023   B190     4.90   715.00       3503.50 Client meeting for
                                                             deposition prep (2.2);
                                                             meeting with
                                                             financial advisor
                                                             regarding same (1.1);
                                                             additional deposition
                                                             preparation (1.6).
VLD        09/12/2023   B190     5.10   795.00       4054.50 Preparation for and
                                                             attend 2004 exam of
                                                             client.
VLD        09/12/2023   B190     1.10   795.00        874.50 Meet with client to
                                                             prepare for second
                                                             half of 2004 exam.
VLD        09/12/2023   B185     0.90   795.00        715.50 Emails regarding
                                                             ESG issues, potential
                                                             resolution.
VLD        09/12/2023   B140     0.20   795.00        159.00 Emails regarding lift
                                                             stay extension with
                                                             Texas plaintiffs.
EEW        09/12/2023   B160     1.40   295.00        413.00 Review updated
                                                             spreadsheet received
                                                             from Blackbriar
                                                             Advisors and revise
                                                             seventh monthly fee
                                                             statement to include
                                                             August time.
EEW        09/12/2023   B110     0.50   295.00        147.50 Compile upcoming
                                                             dates and deadlines
                                                             (.3); email
                                                             correspondence to
                                                             Bob Schleizer with
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               upcoming 2004
                                                               deposition dates and
                                                               hearings (.2).
KSK        09/12/2023   B190     1.70   285.00        484.50 Perform document
                                                             review.
LGD        09/12/2023   B190     0.10   185.00         18.50 Create additional
                                                             document assignment
                                                             groups.
CWS        09/12/2023   B190     7.60   715.00       5434.00 Attend deposition of
                                                             A. Jones and related
                                                             client meetings (5.2);
                                                             draft and revise
                                                             response to
                                                             reservation of rights
                                                             (2.4).
DLH        09/13/2023   B190     7.80   280.00       2184.00 Perform document
                                                             review.
VLD        09/13/2023   B140     0.40   795.00        318.00 Discuss extension of
                                                             trial to accommodate
                                                             pretrial extension
                                                             with Texas counsel.
VLD        09/13/2023   B190     1.40 795.00         1113.00 Meeting with Sub V
                                                             trustee and client.
VLD        09/13/2023   B190     5.80 795.00         4611.00 Attend 2004
                                                             examination and
                                                             preparation before
                                                             (4.9); meetings with
                                                             client following 2004
                                                             exam (.9).
VLD        09/13/2023   B210     1.20   795.00        954.00 Meet with T. Wolff
                                                             on bourbon contract
                                                             and have same
                                                             executed and sent to
                                                             SubV Trustee and
                                                             FSS. (.7) Meeting
                                                             with UCC following
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               2004 exam. (.5)
EEW        09/13/2023   B160     4.20   295.00       1239.00 Draft professional fee
                                                             statement
                                                             spreadsheet.
KSK        09/13/2023   B190     6.30   285.00       1795.50 Perform document
                                                             review.
CWS        09/13/2023   B190     5.60   715.00       4004.00 Draft and revise
                                                             response to
                                                             Reservation of Rights
                                                             (4.3); review and
                                                             respond to related
                                                             correspondence (1.3).
DLH        09/14/2023   B120     7.60   280.00       2128.00 Perform asset
                                                             recovery research.
DLH        09/14/2023   B190     2.40   280.00        672.00 Perform document
                                                             review.
VLD        09/14/2023   B195     1.80   795.00       1431.00 Travel to Dallas from
                                                             Austin (3.6 - billed at
                                                             half-time).
EEW        09/14/2023   B190     0.40   295.00        118.00 Review agreed order
                                                             on motion for
                                                             approval of
                                                             compromise and
                                                             settlement and docket
                                                             date consensual
                                                             agreement due and
                                                             date automatic shall
                                                             lift to allow pre-trial
                                                             proceedings.
EEW        09/14/2023   B160     3.80   295.00       1121.00 Revise professional
                                                             fee statement
                                                             spreadsheet (3.5);
                                                             email correspondence
                                                             to Shelby Jordan's
                                                             office and Rachel
                                                             Kennerly's office to
                                                             confirm initial
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               retainer received (.3).
EEW        09/14/2023   B190     0.20   295.00         59.00 Review notice of
                                                             relocated deposition
                                                             of Joseph Dalessio
                                                             and docket same.
VLD        09/14/2023   B210     0.20   795.00        159.00 Emails extending
                                                             objection deadlines
                                                             on admin claim and
                                                             employee motion.
VLD        09/14/2023   B185     0.80   795.00        636.00 Work to finalize ESG
                                                             settlement.
VLD        09/14/2023   B110     2.10   795.00       1669.50 Review and revise
                                                             ROR response (1.5);
                                                             calls with client
                                                             finalizing ROR
                                                             response (.6).
CWS        09/14/2023   B195     2.00   715.00       1430.00 Travel from Austin to
                                                             Dallas (billed at
                                                             half-time).
VLD        09/14/2023   B195     1.50 795.00         1192.50 Travel home (billed at
                                                             half time 3.0).
DLH        09/15/2023   B120     9.50   280.00       2660.00 Draft asset recovery
                                                             memo.
DLH        09/15/2023   B190     2.60   280.00        728.00 Perform document
                                                             review.
EEW        09/15/2023   B160     0.80   295.00        236.00 Revise, finalize and
                                                             file seventh monthly
                                                             fee statement for
                                                             BlackBriar Advisors
                                                             (.6); serve same via
                                                             email to the notice
                                                             parties (.2).
LGD        09/15/2023   B190     1.20   185.00        222.00 Prepare discovery for
                                                             attorney production
                                                             review.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
KSK        09/15/2023   B190     0.10   285.00         28.50 Correspondence
                                                             regarding production.
VLD        09/15/2023   B190     0.30   795.00        238.50 Emails scheduling
                                                             meeting with Sub V
                                                             trustee.
VLD        09/15/2023   B120     1.10   795.00        874.50 Analyze issues
                                                             relating to estate
                                                             assets for individuals
                                                             in Bankruptcy.
VLD        09/15/2023   B210     1.10   795.00        874.50 Emails and calls
                                                             related to ESG
                                                             settlement.
VLD        09/15/2023   B190     0.30   795.00        238.50 Emails regarding
                                                             resetting R. Schleizer
                                                             deposition.
CWS        09/15/2023   B190     2.90   715.00       2073.50 Review and analyze
                                                             research regarding
                                                             contested budget
                                                             issues (1.6); draft and
                                                             review related
                                                             correspondence (1.3).
DLH        09/16/2023   B190    11.20   280.00       3136.00 Perform document
                                                             review.
DLH        09/17/2023   B190    11.40   280.00       3192.00 Perform document
                                                             review.
CWS        09/18/2023   B210     1.70   715.00       1215.50 Draft joint mutual
                                                             release document.
CWS        09/18/2023   B190     0.80   715.00        572.00 Review and respond
                                                             to Youngevity
                                                             counsel regarding
                                                             2004 production.
DLH        09/18/2023   B190     7.40   280.00       2072.00 Perform document
                                                             review.
DLH        09/18/2023   B120     2.60   280.00        728.00 Work on asset
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               recovery memo.
DLH        09/18/2023   B130     1.60   280.00        448.00 Proof, edit and fix
                                                             cities on sale motion.
EEW        09/18/2023   B110     2.20   295.00        649.00 Review spreadsheet
                                                             received from
                                                             BlackBriar Advisors
                                                             and draft August
                                                             monthly operating
                                                             report (2.0);
                                                             telephone call with
                                                             Bob Schleizer and
                                                             Kathy Norderhaug
                                                             regarding
                                                             professional fee
                                                             schedule (.2).
EEW        09/18/2023   B190     1.00   295.00        295.00 Review email
                                                             communications from
                                                             Eric Awerbuch with
                                                             Emord & Associates
                                                             regarding
                                                             Youngevity's written
                                                             response and
                                                             responsive documents
                                                             to 2004 request (.2);
                                                             forward fileshare link
                                                             to Eric to share
                                                             documents (.2);
                                                             telephone call with
                                                             Eric regarding access
                                                             (.1); upload same to
                                                             Litshare and Everlaw
                                                             (.5).
VLD        09/18/2023   B190     1.80   795.00       1431.00 Review and revise
                                                             ROR response and
                                                             prepare for filing
                                                             (1.6); communication
                                                             with client regarding
                                                             same (.2).
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Attorney      Date      Task   Hours    Rate     Bill Amount     Description of
                                                               Services Rendered
VLD        09/18/2023   B185     1.10   795.00        874.50 Review and revise
                                                             release on ESG and
                                                             send to group for
                                                             review (.4); review
                                                             and analyze
                                                             stipulation
                                                             incorporating release
                                                             terms and approve
                                                             same (.3); emails and
                                                             calls seeking approval
                                                             of ESG stipulation for
                                                             filing (.4).
CWS        09/18/2023   B190     3.60   715.00       2574.00 Draft and revise
                                                             Response and
                                                             Objection to
                                                             Reservation of Rights
                                                             (2.8); review and
                                                             respond to related
                                                             correspondence (.8).
DLH        09/19/2023   B190     9.50 280.00         2660.00 Perform text
                                                             document review.
EEW        09/19/2023   B110     2.00   295.00        590.00 Revise, finalize and
                                                             file August monthly
                                                             operating report.
EEW        09/19/2023   B160     1.00   295.00        295.00 Draft July monthly
                                                             fee statement for
                                                             Rachel Kennerly.
DLH        09/19/2023   B190     5.60   280.00       1568.00 Perform document
                                                             review.
VLD        09/19/2023   B120     0.30   795.00        238.50 Analyze issues with
                                                             press coverage and
                                                             misstatement of
                                                             liability.
VLD        09/19/2023   B110     0.30   795.00        238.50 Review and respond
                                                             to press inquiry.
VLD        09/19/2023   B190     2.00   795.00       1590.00 Attend deposition of
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Joey DeLassio.
VLD        09/19/2023   B210     0.30   795.00        238.50 Review and approve
                                                             changes to stipulation
                                                             with ESG on
                                                             Platinum monies.
CWS        09/19/2023   B120     1.30   715.00        929.50 Draft correspondence
                                                             regarding potential
                                                             claims.
CWS        09/19/2023   B185     1.70   715.00       1215.50 Perform analysis and
                                                             review
                                                             correspondence
                                                             regarding ESG
                                                             contract issues.
DLH        09/20/2023   B190     9.40   280.00       2632.00 Perform document
                                                             review.
EEW        09/20/2023   B210     1.40   295.00        413.00 Revise and finalize
                                                             joint stipulation and
                                                             agreed order
                                                             resolving distribution
                                                             of Platinum Products
                                                             sales proceeds and
                                                             file in both the AEJ
                                                             and FSS cases.
DLH        09/20/2023   B120     3.50   280.00        980.00 Draft asset recovery
                                                             memo.
EEW        09/20/2023   B160     1.20   295.00        354.00 Revise, finalize and
                                                             file third monthly fee
                                                             statement for Rachel
                                                             Kennerly (1.0); serve
                                                             same via email to the
                                                             notice parties (.2).
CWS        09/20/2023   B210     2.20   715.00       1573.00 Review and revise
                                                             stipulation (.6);
                                                             review and draft
                                                             related
                                                             correspondence (1.6).
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
CWS        09/20/2023   B190     1.30   715.00        929.50 Review and respond
                                                             to research
                                                             correspondence
                                                             regarding various
                                                             contested matters.
DLH        09/21/2023   B120     5.30   280.00       1484.00 Draft asset recovery
                                                             memo.
EEW        09/21/2023   B210     1.00   295.00        295.00 Revise joint
                                                             emergency motion to
                                                             enforce the automatic
                                                             stay and request for
                                                             damages for willful
                                                             stay violations in FSS
                                                             case.
DLH        09/21/2023   B210     0.10   280.00         28.00 Obtaining contact
                                                             information for
                                                             executives of Axis
                                                             Bank to forward
                                                             potential motion.
DLH        09/21/2023   B190     0.60   280.00        168.00 Perform document
                                                             review.
DLH        09/21/2023   B190     0.10   280.00         28.00 Finishing doc review
                                                             for leftover trust docs.
VLD        09/21/2023   B210     4.10   795.00       3259.50 Calls and emails with
                                                             FSS counsel, Sub V
                                                             Trustee, FSS
                                                             controller, and client
                                                             on FSS' DIP account
                                                             closure and resolving
                                                             same (2.2); calls and
                                                             emails with CLO for
                                                             Axos Bank on
                                                             reopening accounts
                                                             (.7); review and
                                                             revise motion for
                                                             sanctions for willful
                                                             violation of the stay
                                                             and order granting
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               same (.8); call and
                                                               email with court
                                                               seeking time for
                                                               emergency hearing
                                                               and informing them
                                                               of resolution of issue
                                                               (.4).
CWS        09/21/2023   B210     2.20   715.00       1573.00 Draft Emergency
                                                             Motion to Enforce the
                                                             Automatic Stay
                                                             regarding Axios Bank
                                                             (1.7); draft proposed
                                                             order regarding same
                                                             (.5).
CWS        09/21/2023   B110     0.90   715.00        643.50 Review and respond
                                                             to media inquiry.
DLH        09/22/2023   B190     5.70   280.00       1596.00 Perform document
                                                             review.
DLH        09/22/2023   B190     1.10   280.00        308.00 Discovery call with
                                                             Vickie L. Driver and
                                                             Akin Gump.
EEW        09/22/2023   B160     2.80   295.00        826.00 Revise professional
                                                             fee statement to
                                                             include Martin,
                                                             Disiere, the Reynal
                                                             firm and Teneo
                                                             Capital, LLC
                                                             numbers.
VLD        09/22/2023   B210     0.80   795.00        636.00 Emails with
                                                             co-counsel on
                                                             employment contract
                                                             and admin claim.
VLD        09/22/2023   B190     1.50   795.00       1192.50 Preparation for call
                                                             with UCC on
                                                             outstanding discovery
                                                             issues (.7); attend call
                                                             with UCC counsel on
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               discovery issues (.8).
DLH        09/25/2023   B120     1.50   280.00        420.00 Draft MOR-related
                                                             memo.
EEW        09/25/2023   B230     0.30   295.00         88.50 Review FSS's
                                                             sixteenth interim cash
                                                             collateral order and
                                                             docket hearing date
                                                             for same.
EEW        09/25/2023   B190     0.20   295.00         59.00 Review the UCC's
                                                             second notice of rule
                                                             2004 requests to
                                                             Coinbase and docket
                                                             deadline for same.
VLD        09/25/2023   B210     0.80 795.00          636.00 Emails seeking
                                                             meetings to resolve
                                                             FSS issues (.4);
                                                             review 16th CCO and
                                                             send comments to
                                                             same (.4).
VLD        09/25/2023   B190     2.40   795.00       1908.00 Emails on discovery
                                                             follow ups and
                                                             working to resolve
                                                             same (.8); review and
                                                             analyze further
                                                             review documents
                                                             and items in
                                                             discovery (1.6).
EEW        09/25/2023   B160     3.10   295.00        914.50 Revise professional
                                                             fee statement
                                                             spreadsheet.
DLH        09/26/2023   B195     2.30   280.00        644.00 Travel to Austin to
                                                             meet with Alex Jones
                                                             and Vickie L. Driver
                                                             (billed at half time -
                                                             4.6 hours).
DLH        09/26/2023   B190     2.20   280.00        616.00 Draft privilege log.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
DLH        09/26/2023   B190     0.90   280.00        252.00 Draft Suggestion of
                                                             Bankruptcy.
DLH        09/26/2023   B110     0.40 280.00          112.00 Review MORs.
EEW        09/26/2023   B190     1.40   295.00        413.00 Coordinate with and
                                                             various telephone
                                                             calls and
                                                             correspondence to
                                                             Esquire to obtain Vol.
                                                             1 and 2 of the Alex
                                                             Jones transcripts from
                                                             his 2004 examination.
EEW        09/26/2023   B160     0.20 295.00           59.00 Review sixth monthly
                                                             fee statement of
                                                             Teneo Capital, LLC
                                                             and docket objection
                                                             deadline for same.
EEW        09/26/2023   B230     0.20   295.00         59.00 Review agenda for
                                                             FSS's cash collateral
                                                             hearing and circulate
                                                             to team.
VLD        09/26/2023   B195     1.50   795.00       1192.50 Travel from Houston
                                                             to Austin for client
                                                             meeting (billed at half
                                                             time 3.0).
VLD        09/26/2023   B210     2.30   795.00       1828.50 Preparation for and
                                                             attend hearing on cash
                                                             collateral for FSS and
                                                             related case issues
                                                             (1.2); meeting with
                                                             FSS counsel on Axos
                                                             bank issues and other
                                                             DIP banks (.3);
                                                             meeting with SubV
                                                             Trustee and FSS on
                                                             issues with plan
                                                             revision and
                                                             confirmation and
                                                             employment
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               agreement and admin
                                                               claim (.8).
VLD        09/26/2023   B320     1.50   795.00       1192.50 Analyze issues with
                                                             plan terms.
DJM        09/26/2023   B190     0.50   310.00        155.00 Call to discuss status
                                                             of adversary
                                                             proceeding.
DLH        09/27/2023   B110     0.80   280.00        224.00 Meeting with client to
                                                             update on all case
                                                             matters.
DLH        09/27/2023   B190     0.60   280.00        168.00 Draft Suggestion of
                                                             Bankruptcy for FSS
                                                             and review trust
                                                             documents.
DLH        09/27/2023   B190     0.60   280.00        168.00 Draft privilege log.
DLH        09/27/2023   B110     0.50   280.00        140.00 Meeting with client
                                                             and Blackbriar to
                                                             update on case
                                                             matters.
DLH        09/27/2023   B190     5.30   280.00       1484.00 Perform document
                                                             review.
EEW        09/27/2023   B310     4.20   295.00       1239.00 Review claims
                                                             register and draft
                                                             reconciliation
                                                             spreadsheet against
                                                             schedules.
EEW        09/27/2023   B160     0.50   295.00        147.50 Email
                                                             correspondence with
                                                             Lori Hanes in Chris
                                                             Martin's office
                                                             regarding
                                                             invoices/fee
                                                             statements and
                                                             retainer.
EEW        09/27/2023   B185     0.80   295.00        236.00 Review case docket
                                                             for
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               objections/responses
                                                               to motion to reject
                                                               executory contracts
                                                               and circulate to team.
VLD        09/27/2023   B210     1.90   795.00       1510.50 Review and analyze
                                                             UCC comments to
                                                             employment
                                                             agreement and admin
                                                             claim motion and
                                                             send response to FSS
                                                             counsel (.8); discuss
                                                             same with FSS
                                                             counsel (.4); review
                                                             and analyze budget
                                                             expenditures and
                                                             revenue (.7).
VLD        09/27/2023   B190     1.50   795.00       1192.50 Work on document
                                                             discovery issues
                                                             (1.3); emails on
                                                             deposition scheduling
                                                             (.2).
VLD        09/27/2023   B185     0.40 795.00          318.00 Emails with UCC
                                                             seeking hearing on
                                                             motion to reject ESG.
VLD        09/27/2023   B130     1.70   795.00       1351.50 Review and revise
                                                             Motion to Sell
                                                             Personal Property
                                                             (.8); emails with
                                                             committee on sale
                                                             motion modifications
                                                             (.6); review personal
                                                             property to be sold
                                                             (.3).
VLD        09/27/2023   B210     0.30   795.00        238.50 Review stipulation as
                                                             filed and send to FSS
                                                             for inclusion in
                                                             Thursday AP run.
VLD        09/27/2023   B110     1.40   795.00       1113.00 Meetings with client
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               to update on all case
                                                               matters.
DLH        09/28/2023   B190     2.50 280.00          700.00 Reviewing MOR
                                                             documents and
                                                             creating chart.
DLH        09/28/2023   B195     2.20   280.00        616.00 Travel from Austin to
                                                             DFW (11:30 AM -
                                                             4:00 PM) (Billed at
                                                             half time - 4.5 hrs).
DLH        09/28/2023   B190     8.80   280.00       2464.00 Perform document
                                                             review.
EEW        09/28/2023   B190     0.30   295.00         88.50 Review UCC's notice
                                                             of rule 2004 requests
                                                             to Binance and Krake
                                                             and docket deadlines
                                                             for same.
EEW        09/28/2023   B310     2.40   295.00        708.00 Review claims
                                                             register and begin
                                                             downloading claims.
VLD        09/28/2023   B210     2.10   795.00       1669.50 Meetings with client
                                                             and BBA.
VLD        09/28/2023   B190     2.10   795.00       1669.50 Review documents
                                                             marked for further
                                                             review (1.7); emails
                                                             regarding document
                                                             review on additional
                                                             email account (.2);
                                                             scheduling meeting
                                                             with Sub V and client
                                                             (.2).
VLD        09/28/2023   B195     1.80   795.00       1431.00 Travel from Austin
                                                             (3.6 billed at half
                                                             time).
VLD        09/28/2023   B185     0.20 795.00          159.00 Emails with UCC
                                                             counsel on setting
                                                             ESG motion to reject
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               for hearing.
VLD        09/28/2023   B110     0.60   795.00        477.00 Calls with client on
                                                             case.
CWS        09/28/2023   B160     2.90   715.00       2073.50 Review and revise
                                                             billing statement
                                                             (2.3); draft related
                                                             correspondence (.6).
CWS        09/28/2023   B190     4.60   715.00       3289.00 Review and analyze
                                                             deposition testimony
                                                             (3.8); draft related
                                                             correspondence (.8).
CGM        09/29/2023   B190     0.90   255.00        229.50 Review terms of AEJ
                                                             2018 Trust (.3); email
                                                             correspondence (.6).
DLH        09/29/2023   B190     9.20   280.00       2576.00 Perform document
                                                             review.
DLH        09/29/2023   B190     0.70   280.00        196.00 Draft Suggestion of
                                                             Bankruptcy.
LGD        09/29/2023   B190     0.30   185.00         55.50 Apply payment to
                                                             upgrade Proton email
                                                             account (.2); prepare
                                                             email collected by
                                                             Digital Mountain for
                                                             attorney production
                                                             review (.1).
LGD        09/29/2023   B190     1.40   185.00        259.00 Prepare supplemental
                                                             client document
                                                             production.
VLD        09/29/2023   B160     0.30   795.00        238.50 Review and approve
                                                             monthly fee statement
                                                             for filing.
VLD        09/29/2023   B210     1.40   795.00       1113.00 Call and emails with
                                                             L. Freeman on FSS
                                                             issues (1.1); call with
                                                             FSS counsel on same
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               (.3).
VLD        09/29/2023   B190     2.10 795.00         1669.50 Emails with UCC and
                                                             team on discovery
                                                             issues.
JHY        09/29/2023   B190     2.70   285.00        769.50 Analyze and review
                                                             Youngevity's
                                                             objections and
                                                             responses to debtor's
                                                             request for production
                                                             under rule 2004 (1.5);
                                                             draft email analysis of
                                                             the same for
                                                             discovery issues
                                                             (1.2).
CCO        09/29/2023   B190     0.60   525.00        315.00 Review 2018 trust
                                                             (.2); discuss power of
                                                             court order (.4).
CWS        09/29/2023   B160     5.60   715.00       4004.00 Draft and revise
                                                             Eighth Statement of
                                                             Interim
                                                             Compensation (1.7);
                                                             review spreadsheet
                                                             data (1.3); draft
                                                             exhibits to same (1.8);
                                                             file and serve
                                                             statement (.8).
DLH        09/30/2023   B190     8.30   280.00       2324.00 Perform document
                                                             review.
VLD        09/30/2023   B110     0.80   795.00        636.00 Calls with client on
                                                             current issues in case
                                                             and budgeting.
DLH        10/01/2023   B190     0.80   280.00        224.00 Perform research and
                                                             analysis regarding
                                                             Texas trust law.
DLH        10/01/2023   B190    10.30   280.00       2884.00 Perform document
                                                             review.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
VLD        10/01/2023   B195     1.50   795.00       1192.50 Travel to Austin for
                                                             deposition (billed at
                                                             half time 3.0)
CGM        10/02/2023   B120     0.40   255.00        102.00 Draft correspondence
                                                             regarding spendthrift
                                                             provisions in AEJ
                                                             2018 trust (.2); trust
                                                             review regarding
                                                             same (.2).
DLH        10/02/2023   B190     0.50   280.00        140.00 Research and analyze
                                                             privilege issues
DLH        10/02/2023   B190     4.60   280.00       1288.00 Perform analysis
                                                             regarding deposition
                                                             and related transcript.
DLH        10/02/2023   B320     4.30   280.00       1204.00 Perform and analyze
                                                             research regarding
                                                             plan issues.
VLD        10/02/2023   B210     1.50   795.00       1192.50 Call with FSS counsel
                                                             on book signing
                                                             issues (.4); call with
                                                             client on FSS
                                                             operations and book
                                                             sale details (1.1).
LGD        10/02/2023   B190     0.10   185.00         18.50 Perform tasks for
                                                             document review.
CWS        10/02/2023   B190     0.80   715.00        572.00 Review and respond
                                                             to correspondence
                                                             regarding Debtor
                                                             2004 exam issues.
CWS        10/02/2023   B190     2.70   715.00       1930.50 Review Debtor
                                                             deposition and
                                                             analyze issues
                                                             regarding same.
CWS        10/02/2023   B120     2.20   715.00       1573.00 Review and analyze
                                                             correspondence
                                                             regarding trust issues
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               (1.4); review related
                                                               research memo (.8).
CWS        10/02/2023   B310     0.80   715.00        572.00 Review and analyze
                                                             Response to
                                                             Application for
                                                             Administrative
                                                             Expenses.
VLD        10/02/2023   B310     2.30   795.00       1828.50 Calls with FSS
                                                             counsel on admin
                                                             claim issues (.4); calls
                                                             with SubV trustee's
                                                             counsel regarding
                                                             admin claim (.6);
                                                             analyze strategy
                                                             regarding admin
                                                             claim issues (1.3).
DLH        10/03/2023   B190     0.70   280.00        196.00 Printing, arranging,
                                                             and marking up
                                                             deposition transcripts
DLH        10/03/2023   B210     1.10   280.00        308.00 Westlaw research and
                                                             communications re
                                                             autopen.
DLH        10/03/2023   B230     0.50 280.00          140.00 Review cash
                                                             collateral orders.
DLH        10/03/2023   B210     5.80   280.00       1624.00 Perform discovery
                                                             and interrogatory
                                                             requests regarding
                                                             employment
                                                             agreement.
DLH        10/03/2023   B190     2.20 280.00          616.00 Prepare new
                                                             discovery production.
VLD        10/03/2023   B210     2.30   795.00       1828.50 Emails with
                                                             Committee counsel
                                                             on employment
                                                             agreement resolution
                                                             (.4); analyze research
                                                             issues with book
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               signing and send
                                                               emails to FSS counsel
                                                               on same (.8); review
                                                               and revise stipulation
                                                               resolving
                                                               employment
                                                               Agreement and send
                                                               to SubV Trustee and
                                                               FSS counsel with
                                                               explanatory email and
                                                               preview same with
                                                               Sub V Trustee (1.1).
VLD        10/03/2023   B320     2.30   795.00       1828.50 Emails and calls
                                                             discussing exit
                                                             strategies for Debtor.
VLD        10/03/2023   B190     5.30   795.00       4213.50 Attend Dr. Jones
                                                             2004 examination.
CWS        10/03/2023   B185     1.70   715.00       1215.50 Review and revise
                                                             Stipulation regarding
                                                             Motion to Reject
                                                             Contract.
CWS        10/03/2023   B310     0.80   715.00        572.00 Draft Reply to
                                                             Response to
                                                             Administrative
                                                             Expense Application.
CWS        10/03/2023   B110     1.30   715.00        929.50 Attend conference
                                                             call with multiple
                                                             parties in interest
                                                             regarding various
                                                             case matters and
                                                             discussion of same.
VLD        10/03/2023   B310     2.60   795.00       2067.00 Review objection to
                                                             admin claim (.7);
                                                             analyze and develop
                                                             issues needed to
                                                             address in reply; (.8)
                                                             email to Sub V
                                                             Trustee and FSS
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               counsel on issues with
                                                               admin claim
                                                               objection (.6); call
                                                               with TX counsel on
                                                               admin claim (.5).
DLH        10/04/2023   B110     1.60   280.00        448.00 Attend meeting with
                                                             Sub V trustee.
EEW        10/04/2023   B110     0.30   295.00         88.50 Review and respond
                                                             to correspondence
                                                             regarding reports.
DLH        10/04/2023   B190     4.80   280.00       1344.00 Perform document
                                                             review.
EEW        10/04/2023   B130     2.00   295.00        590.00 Draft schedule of
                                                             identified personal
                                                             property to attach to
                                                             the sale motion.
EEW        10/04/2023   B110     0.80   295.00        236.00 Draft amended
                                                             Schedule G,
                                                             Executory Contracts
                                                             to include Mint
                                                             Studios.
DLH        10/04/2023   B210     0.30   280.00         84.00 Prepare draft
                                                             agreement for Jones'
                                                             salary.
VLD        10/04/2023   B190     3.20 795.00         2544.00 Meeting with Sub V
                                                             Trustee and counsel
                                                             on outstanding issues.
VLD        10/04/2023   B310     3.90 795.00         3100.50 Meeting with FSS and
                                                             client on admin claim
                                                             and other case
                                                             resolutions.
VLD        10/04/2023   B195     1.60   795.00       1272.00 Travel from Austin to
                                                             Dallas (billed at half
                                                             time 3.2) 1.6
VLD        10/04/2023   B195     1.50   795.00       1192.50 Travel from Austin
                                                             home (billed at half
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               time 3.0).
DLH        10/05/2023   B190     7.50   280.00       2100.00 Perform document
                                                             review.
VLD        10/05/2023   B130     1.10   795.00        874.50 Emails and calls on
                                                             asset sale listing,
                                                             valuations and
                                                             grounds for same and
                                                             notice procedures on
                                                             same.
VLD        10/05/2023   B110     0.50   795.00        397.50 Call with client on
                                                             overall case strategy
                                                             and issues.
VLD        10/05/2023   B210     0.70   795.00        556.50 Call with client on
                                                             meetings with CRO
                                                             for FSS and proposed
                                                             resolutions to certain
                                                             contested issues.
EEW        10/06/2023   B130     0.50   295.00        147.50 Telephone call with
                                                             BlackBriar Advisors
                                                             regarding asset list
                                                             and appraisals for sale
                                                             motion.
EEW        10/06/2023   B190     0.50   295.00        147.50 Compile exhibits to
                                                             AJ deposition.
DLH        10/06/2023   B190     3.80   280.00       1064.00 Prepare file for R..
                                                             Schleizer's deposition
                                                             preparation.
EEW        10/06/2023   B310     1.20   295.00        354.00 Review claims
                                                             register and continue
                                                             downloading claims.
DLH        10/06/2023   B190     7.10   280.00       1988.00 Work on doc review
VLD        10/06/2023   B130     0.90   795.00        715.50 Call analyze asset
                                                             listing and support for
                                                             same.
VLD        10/06/2023   B190     1.00   795.00        795.00 Call with client
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               discussing multiple
                                                               issues (.5); emails
                                                               regarding deposition
                                                               (.3); emails regarding
                                                               UCC requests for
                                                               valuation of PQPR
                                                               (.2).
VLD        10/06/2023   B210     2.20   795.00       1749.00 Call with client
                                                             discussing resolutions
                                                             to FSS operational
                                                             issues (.6); call with
                                                             counsel for FSS
                                                             regarding same (.8);
                                                             correspondence
                                                             regarding same (.8).
VLD        10/06/2023   B320     1.60 795.00         1272.00 Call with Committee
                                                             and Plaintiff's counsel
                                                             regarding case
                                                             resolution matters.
DJM        10/06/2023   B190     1.90   310.00        589.00 Review and analyze
                                                             court's orders on
                                                             dischargeability
DJM        10/06/2023   B190     2.50   310.00        775.00 Develop strategy with
                                                             dischargeability team.
DJM        10/06/2023   B190     1.90   310.00        589.00 Review and analyze
                                                             research regarding
                                                             appeal issues.
CWS        10/06/2023   B190     1.30   715.00        929.50 Review and respond
                                                             to correspondence
                                                             regarding deposition
                                                             matters for A. Jones.
DLH        10/07/2023   B190     7.60   280.00       2128.00 Perform document
                                                             review.
DLH        10/08/2023   B190     8.10   280.00       2268.00 Perform document
                                                             review.
VLD        10/08/2023   B210     1.20   795.00        954.00 Calls with client
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               regarding issues with
                                                               FSS and whiskey deal
                                                               (.8); research and
                                                               send whiskey contract
                                                               to FSS counsel
                                                               confirming split (.6).
VLD        10/08/2023   B130     0.40   795.00        318.00 Provide asset listing
                                                             with values for sale
                                                             order to UCC.
DLH        10/09/2023   B190     5.10   280.00       1428.00 Perform document
                                                             review.
DLH        10/09/2023   B210     0.30   280.00         84.00 Review and analyze
                                                             research regarding
                                                             security expenses.
DLH        10/09/2023   B190     0.50   280.00        140.00 Perform document
                                                             review.
DLH        10/09/2023   B160     3.80   280.00       1064.00 Draft N. Pattis's
                                                             second motion for
                                                             appointment as
                                                             special counsel.
DLH        10/09/2023   B190     1.60   280.00        448.00 Perform document
                                                             review.
EEW        10/09/2023   B160     6.00   295.00       1770.00 Prepare professional
                                                             fee notebooks for all
                                                             professionals in the
                                                             case for review by
                                                             client and financial
                                                             advisors.
EEW        10/09/2023   B110     0.30   295.00         88.50 Procure executed
                                                             trust agreement for
                                                             the homestead and
                                                             circulate to team and
                                                             John Lammert.
VLD        10/09/2023   B160     0.80   795.00        636.00 Review messages
                                                             from client on bill
                                                             review issues (.2);
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               sending Reynal
                                                               statements for
                                                               inclusion in reporting
                                                               for client (.2); review
                                                               fee statements from
                                                               UCC counsel and
                                                               emails regarding
                                                               same. (.4).
VLD        10/09/2023   B210     1.20   795.00        954.00 Review and respond
                                                             to correspondence
                                                             from parties seeking
                                                             meeting to discuss
                                                             plan confirmation and
                                                             operational issues
                                                             (.4); call with FSS
                                                             counsel on same (.8);
                                                             call with financial
                                                             advisors on same (.9;
                                                             calls with client
                                                             regarding same (.4);
                                                             review
                                                             correspondence
                                                             regarding MugClub
                                                             income (.2); draft
                                                             correspondence
                                                             regarding Red
                                                             balloon executed
                                                             contract to FSS
                                                             counsel for approval
                                                             by court (.2).
VLD        10/09/2023   B120     0.20   795.00        159.00 Draft correspondence
                                                             regarding homestead
                                                             exemption issues.
VLD        10/09/2023   B130     0.30   795.00        238.50 Draft correspondence
                                                             regarding asset listing
                                                             issues with UCC and
                                                             BBA.
VLD        10/09/2023   B190     0.90   795.00        715.50 Call with E. Taube on
                                                             document from Dr.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Jones' deposition (.4);
                                                               emails with UCC
                                                               regarding same (.3);
                                                               send to Dr. Jones'
                                                               counsel for review
                                                               (.2).
LGD        10/09/2023   B190     1.00   185.00        185.00 Prepare supplemental
                                                             client document
                                                             production.
NAC        10/09/2023   B240     1.30   675.00        877.50 Communicate with
                                                             CPA regarding
                                                             calculation basis,
                                                             holding period, gain
                                                             or loss and other tax
                                                             attributes upon
                                                             disposition of certain
                                                             in-kind property.
DLH        10/10/2023   B190     1.50   280.00        420.00 Perform research and
                                                             analysis.
DLH        10/10/2023   B150     0.50   280.00        140.00 Discovery call with
                                                             UCC.
DLH        10/10/2023   B190     4.30   280.00       1204.00 Perform document
                                                             review.
VLD        10/10/2023   B190     2.10 795.00         1669.50 Call with UCC On
                                                             discovery issues
                                                             (1.1); follow up on
                                                             same (.2); call with
                                                             various parties in
                                                             pending litigation and
                                                             discovery requests
                                                             from UCC (.8).
VLD        10/10/2023   B320     1.40   795.00       1113.00 Analyzing plan
                                                             structure issues.
EEW        10/10/2023   B160     0.80   295.00        236.00 Email
                                                             correspondence to
                                                             and from The Reynal
                                                             Law Firm regarding
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               invoices since
                                                               employment date (.2);
                                                               compile all invoices,
                                                               prepare a summary of
                                                               same and circulate to
                                                               team (.6).
NAC        10/10/2023   B240     1.90   675.00       1282.50 Evaluate federal
                                                             income tax reporting
                                                             requirements of
                                                             gratuitous transfers to
                                                             debtor or
                                                             debtor-related entities
                                                             (1.1); communicate
                                                             with CPA and outside
                                                             advisors regarding tax
                                                             reporting with respect
                                                             to such transfers (.8)
DLH        10/11/2023   B160     2.80   280.00        784.00 Edit Pattis second
                                                             employment
                                                             application and draft
                                                             declaration.
DLH        10/11/2023   B190     0.10   280.00         28.00 Call re Proton
                                                             production
DLH        10/11/2023   B190     0.30   280.00         84.00 Draft correspondence
                                                             regarding Taube
                                                             document.
DLH        10/11/2023   B190     0.10   280.00         28.00 Draft email re ROGs
DLH        10/11/2023   B160     0.80   280.00        224.00 Finalize Pattis
                                                             declaration,
                                                             application and order.
DLH        10/11/2023   B190     3.00   280.00        840.00 Perform document
                                                             review.
VLD        10/11/2023   B160     1.80   795.00       1431.00 Review and revise
                                                             second application to
                                                             employ Pattis for
                                                             ancillary matters (.9);
                                                             Messages with A.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Reynal on potential
                                                               engagement on Texas
                                                               ancillary issues and
                                                               terms of same (.6);
                                                               Correspond with
                                                               client on same (.3)
VLD        10/11/2023   B120     1.60   795.00       1272.00 Analyze declination
                                                             letter from appraisal
                                                             district on homestead
                                                             application (.2);
                                                             correspondence with
                                                             tax protester on same
                                                             (.2); seek notarizing
                                                             trust document (.4);
                                                             calls with D. Minton
                                                             and office on same
                                                             (.8).
DLH        10/12/2023   B160     1.20   280.00        336.00 Final review of Pattis
                                                             app and declaration.
NAC        10/12/2023   B240     1.00   675.00        675.00 Perform analysis
                                                             regarding Bitcoin
                                                             transaction.
DLH        10/12/2023   B190     2.40   280.00        672.00 Perform document
                                                             review.
VLD        10/12/2023   B210     2.00 795.00         1590.00 Meeting with
                                                             financial advisors on
                                                             professional fee
                                                             budgeting (.8); review
                                                             emails on book
                                                             revenue issues,
                                                             shipment status, and
                                                             pre-sale status (.3);
                                                             review book revenue
                                                             on royalties and email
                                                             (.2); preparation for
                                                             meeting with FSS on
                                                             operational issues
                                                             (.7).
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
VLD        10/12/2023   B240     1.00   795.00        795.00 Calls with tax counsel
                                                             and reviewing crypto
                                                             basis research and
                                                             analysis for reporting
                                                             requirement
                                                             compliance (.9);
                                                             email to committee on
                                                             issue with filing tax
                                                             return promptly (.1).
EEW        10/12/2023   B190     0.30   295.00         88.50 Review joint notice
                                                             regarding agreed
                                                             order on compromise
                                                             and settlement and
                                                             docket dates and
                                                             deadlines related to
                                                             same.
EEW        10/12/2023   B160     0.20   295.00         59.00 Compile Akin Gump
                                                             fee statements and
                                                             circulate to
                                                             BlackBriar Advisors
                                                             and team.
NAC        10/12/2023   B240     5.90   675.00       3982.50 Analyze transaction
                                                             records substantiating
                                                             basis of in-kind
                                                             property for 2022
                                                             federal tax reporting
                                                             (4.7); communicate
                                                             with CPA and outside
                                                             advisors regarding
                                                             basis records for
                                                             debtor (1.2)
VLD        10/12/2023   B160     0.70   795.00        556.50 Review and analyze
                                                             submission of Martin
                                                             and Reynal monthly
                                                             fee statements for
                                                             calculation of AJ
                                                             post-petition liability
                                                             for approved fees and
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               expenses (.7).
NAC        10/13/2023   B240     1.00   675.00        675.00 Perform analysis
                                                             regarding Bitcoin
                                                             transaction.
DLH        10/13/2023   B190     0.50   280.00        140.00 Perform document
                                                             review.
VLD        10/13/2023   B210     3.30   795.00       2623.50 All hands meeting
                                                             with Sub V Trustee
                                                             and counsel, FSS and
                                                             counsel, BBA and
                                                             client on exit
                                                             strategies and
                                                             operational issue
                                                             discussions (2.4);
                                                             calls with FSS
                                                             counsel on related
                                                             operational issues and
                                                             offers (.9)
VLD        10/13/2023   B195     1.70   795.00       1351.50 Travel from Austin.
                                                             (half time 3.4)
VLD        10/13/2023   B320     1.50 795.00         1192.50 Meeting with SubV
                                                             trustee and counsel to
                                                             discuss plan
                                                             strategies.
VLD        10/13/2023   B130     1.10   795.00        874.50 Calls with client to
                                                             discuss sale of real
                                                             property.
VLD        10/13/2023   B240     0.70   795.00        556.50 Call with tax counsel
                                                             regarding updates on
                                                             crypto taxation and
                                                             basis research and
                                                             updating team on
                                                             same.
JHY        10/13/2023   B240     0.40   285.00        114.00 Email and call Travis
                                                             County Attorneys'
                                                             office regarding
                                                             debtor-related entity
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               and tax issues
NAC        10/13/2023   B240     5.80   675.00       3915.00 Draft memorandum
                                                             regarding IRS rules
                                                             relating to the
                                                             calculation gain or
                                                             loss on dispositions of
                                                             in-kind property
                                                             (3.8); communicate
                                                             with the CPA and
                                                             outside advisors
                                                             regarding supporting
                                                             documentation for
                                                             federal income tax
                                                             purposes (1.9)
CWS        10/13/2023   B110     3.60   715.00       2574.00 Prepare for and attend
                                                             all hands case
                                                             meeting to discuss
                                                             various case matters.
CWS        10/13/2023   B195     2.00   715.00       1430.00 Travel from Austin to
                                                             Dallas (4.0 billed at
                                                             half time).
DLH        10/14/2023   B190     3.00   280.00        840.00 Perform document
                                                             review.
VLD        10/14/2023   B130     0.60   795.00        477.00 Calls with client
                                                             discussing real
                                                             property sales.
DLH        10/15/2023   B190     2.90   280.00        812.00 Perform document
                                                             review.
VLD        10/15/2023   B160     0.40   795.00        318.00 Calls to discuss legal
                                                             and professional fee
                                                             budget and meetings
                                                             to discuss same.
DLH        10/16/2023   B160     3.50   280.00        980.00 Work on motion to
                                                             employ broker and
                                                             accompanying order.
DLH        10/16/2023   B190     7.30   280.00       2044.00 Perform document
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               review.
LGD        10/16/2023   B190     0.50   185.00         92.50 Prepare supplemental
                                                             client document
                                                             production.
VLD        10/16/2023   B130     2.00   795.00       1590.00 Calls on client case
                                                             and moving sale
                                                             process forward (1.4);
                                                             analyze agents to hire
                                                             and process to sell
                                                             real property (.6).
JHY        10/16/2023   B240     1.30   285.00        370.50 Analyze and review
                                                             pertinent pleadings
                                                             and Travis County
                                                             public records in
                                                             preparation for call
                                                             with Travis County
                                                             Attorneys' Office
                                                             (0.5); call with
                                                             assistant Travis
                                                             County attorney
                                                             regarding the same
                                                             (0.5); email Travis
                                                             County attorney
                                                             regarding Rule 11
                                                             agreement (0.3).
DLH        10/17/2023   B160     1.10   280.00        308.00 Finalize broker
                                                             application.
DLH        10/17/2023   B130     2.20   280.00        616.00 Draft order for motion
                                                             authorizing sale of
                                                             personal property.
DLH        10/17/2023   B110     2.10   280.00        588.00 Draft case planning
                                                             calendar.
DLH        10/17/2023   B160     0.60   280.00        168.00 Draft secondary edits
                                                             to Pattis employment
                                                             application and
                                                             accompanying
                                                             declaration and order.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
DLH        10/17/2023   B190     2.10   280.00        588.00 Perform document
                                                             review.
JHY        10/17/2023   B240     0.80   285.00        228.00 Analyze and review
                                                             personal property tax
                                                             issues with
                                                             debtor-related entity,
                                                             Austin Shiprock
                                                             Publishing, LLC.
CWS        10/17/2023   B160     0.80   715.00        572.00 Review and respond
                                                             to correspondence
                                                             regarding broker
                                                             employment and
                                                             property sales.
VLD        10/17/2023   B160     0.60   795.00        477.00 Review and preparing
                                                             Pattis second
                                                             application and
                                                             declaration.
VLD        10/17/2023   B130     0.40   795.00        318.00 Review and revise
                                                             order on personal
                                                             property sale.
VLD        10/17/2023   B190     0.30 795.00          238.50 Review
                                                             interrogatories and
                                                             send to person with
                                                             knowledge of crypto
                                                             information.
EEW        10/17/2023   B110     0.50   295.00        147.50 Review profit and
                                                             loss
                                                             summary/spreadsheet
                                                             for FSS and circulate
                                                             to team.
NAC        10/17/2023   B240     1.20   675.00        810.00 Analyze
                                                             documentation and
                                                             local tax renditions of
                                                             a debtor-related
                                                             entity.
DLH        10/18/2023   B190    11.30   280.00       3164.00 Perform document
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               review.
DLH        10/18/2023   B160     0.60   280.00        168.00 Finalize edits on
                                                             Pattis employment
                                                             application.
LGD        10/18/2023   B190     0.10   185.00         18.50 Assist with
                                                             identification of key
                                                             email questioned by
                                                             opposing counsel.
JHY        10/18/2023   B160     2.90   285.00        826.50 Analyze and review
                                                             local and
                                                             judge-specific rules
                                                             regarding fee
                                                             applications in
                                                             preparation to draft
                                                             the same (0.6);
                                                             analyze and review
                                                             docket entries
                                                             regarding debtor's
                                                             professionals and
                                                             status of fee
                                                             statements and
                                                             interim applications
                                                             (1.4); draft and revise
                                                             consolidated fee
                                                             statements for debtor
                                                             (.9).
EEW        10/18/2023   B160     1.20 295.00          354.00 Draft, finalize and file
                                                             motion for
                                                             withdrawal of
                                                             allowance and
                                                             payment of
                                                             administrative
                                                             expenses pursuant to
                                                             503(B)(1) in the FSS
                                                             case.
EEW        10/18/2023   B110     0.50   295.00        147.50 Electronic case file
                                                             management.
VLD        10/18/2023   B190     1.10   795.00        874.50 Review lengthy email
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               from UCC seeking
                                                               additional
                                                               information and send
                                                               to BBA regarding
                                                               gathering information
                                                               on same (.7); respond
                                                               to same (.2); emails
                                                               with co-counsel on
                                                               timing of rulings (.2).
VLD        10/18/2023   B160     1.90   795.00       1510.50 Call with N. Pattis on
                                                             need to expand role
                                                             regarding subpoenas
                                                             in various
                                                             jurisdictions (.4);
                                                             review and revise app
                                                             to expand powers and
                                                             send to Pattis for
                                                             review and
                                                             completion of certain
                                                             information needed to
                                                             file (1.1); Emails
                                                             regarding interim fees
                                                             to be paid (.4).
VLD        10/18/2023   B110     1.50   795.00       1192.50 Call with BBA
                                                             regarding MOR
                                                             disclosures (.7); Call
                                                             with client on general
                                                             status of case and
                                                             related issues (.8).
VLD        10/18/2023   B210     0.30   795.00        238.50 Approve withdrawal
                                                             of admin claim.
VLD        10/18/2023   B130     0.70   795.00        556.50 Call to discuss issues
                                                             with potential asset
                                                             sale.
CWS        10/18/2023   B110     2.90   715.00       2073.50 Prepare for all hands
                                                             meeting (1.1); prepare
                                                             claims analysis and
                                                             plan information
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               (1.8).
DLH        10/19/2023   B120     3.10   280.00        868.00 Attend exit strategy
                                                             meeting.
DLH        10/19/2023   B190     5.40   280.00       1512.00 Perform document
                                                             review.
RJY        10/19/2023   B190     1.60   340.00        544.00 Review summary
                                                             judgment order in
                                                             Connecticut (1.0);
                                                             analyze the same with
                                                             Chris Davis and Deric
                                                             J. McClellan (.6).
DLH        10/19/2023   B320     1.90   280.00        532.00 Research and analyze
                                                             case law regarding
                                                             Debtor's estate.
JHY        10/19/2023   B190     2.30   285.00        655.50 Analyze and review
                                                             case law, statutes, and
                                                             rules of federal
                                                             procedures and
                                                             bankruptcy
                                                             procedures regarding
                                                             appeal of adversary
                                                             proceedings.
JHY        10/19/2023   B320     3.20   285.00        912.00 Analyze and review
                                                             issues regarding plan
                                                             confirmation and
                                                             strategize regarding
                                                             the same.
JCD        10/19/2023   B190     1.50   475.00        712.50 Receipt and review
                                                             opinions/orders in
                                                             adversary
                                                             proceedings (1.3);
                                                             brief discussions with
                                                             trial team (.2).
EEW        10/19/2023   B190     0.30   295.00         88.50 Review memorandum
                                                             decisions for both
                                                             adversary cases and
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               circulate to team.
DJM        10/19/2023   B190     0.40   310.00        124.00 Conference regarding
                                                             court's orders on
                                                             dischargeability.
DJM        10/19/2023   B190     3.90   310.00       1209.00 Review and analyze
                                                             court's Texas and
                                                             Connecticut orders on
                                                             dischargeability.
VLD        10/19/2023   B190     3.70   795.00       2941.50 Initial review of MSJ
                                                             rulings (1.1); calls to
                                                             discuss rulings with
                                                             client (1.3); discuss
                                                             rulings with trial team
                                                             and potential next
                                                             steps (1.1); review
                                                             and respond to bank
                                                             statement issues with
                                                             UCC counsel (.2).
VLD        10/19/2023   B320     4.70   795.00       3736.50 Plan strategy session
                                                             to discuss individual
                                                             plan research issues,
                                                             structure, claims
                                                             classification and
                                                             various other issues
                                                             (3.6); work on
                                                             proposed calendar for
                                                             confirmation (1.1).
VLD        10/19/2023   B230     0.80   795.00        636.00 Call with potential
                                                             purchaser and Sub V
                                                             trustee and FSS.
VLD        10/19/2023   B110     0.50   795.00        397.50 Call to review and
                                                             analyze issue with pro
                                                             fee disclosures on
                                                             MOR.
CWS        10/19/2023   B190     8.10   715.00       5791.50 Review opinions for
                                                             dischargeability and
                                                             analyze same (6.3);
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               conference and
                                                               correspondence
                                                               regarding same (1.8).
DLH        10/20/2023   B160     0.90   280.00        252.00 Draft edits to Pattis
                                                             application.
DLH        10/20/2023   B160     1.60   280.00        448.00 Draft motion to
                                                             expedite.
JHY        10/20/2023   B190     3.10   285.00        883.50 Email analysis
                                                             regarding adversary
                                                             proceeding appeal
                                                             process
RJY        10/20/2023   B190     0.60   340.00        204.00 Review summary
                                                             judgment order in
                                                             Texas litigation.
RJY        10/20/2023   B190     1.90   340.00        646.00 Analyze arguments in
                                                             order on summary
                                                             judgment (1.0);
                                                             develop legal strategy
                                                             regarding the same
                                                             (.9).
RJY        10/20/2023   B190     1.00   340.00        340.00 Prepare for and attend
                                                             meeting with Shelby
                                                             Jordan
DLH        10/20/2023   B190     0.30   280.00         84.00 Draft email re appeals
                                                             issue
DLH        10/20/2023   B190     7.40   280.00       2072.00 Perform document
                                                             review.
JCD        10/20/2023   B190     1.00   475.00        475.00 Call with AJ personal
                                                             counsel Shelby to
                                                             review the Court's
                                                             recent rulings and
                                                             discuss issues for
                                                             appeal.
EEW        10/20/2023   B160     2.20   295.00        649.00 Review spreadsheet
                                                             received from
                                                             BlackBriar Advisors
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               and draft, finalize and
                                                               file September
                                                               monthly fee
                                                               statement.
JHY        10/20/2023   B240     0.30   285.00         85.50 Exchange emails with
                                                             Travis County
                                                             Attorneys' Office
                                                             regarding tax status
VLD        10/20/2023   B160     1.10   795.00        874.50 Review and analyze
                                                             application to expand
                                                             role of N. Pattis for
                                                             subpoena work (.7);
                                                             Call with N. Pattis
                                                             regarding expanded
                                                             role emergency
                                                             resolution due to
                                                             subpoena being
                                                             withdrawn (.4).
VLD        10/20/2023   B210     0.70   795.00        556.50 Review and response
                                                             to correspondence
                                                             with FSS counsel
                                                             regarding video game
                                                             and book sale split
                                                             terms and calls with
                                                             BBA and client
                                                             regarding same.
VLD        10/20/2023   B190     5.10   795.00       4054.50 Review and analyze
                                                             interlocutory appeal
                                                             issues and actions
                                                             post-MSJ ruling (1.8);
                                                             calls with client
                                                             discussing MSJ ruling
                                                             and plan of action
                                                             following same (1.6);
                                                             detailed review of
                                                             MSJ rulings and
                                                             exploring appellate
                                                             options (1.7).
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
CWS        10/20/2023   B190     2.30   715.00       1644.50 Team call and emails
                                                             regarding appeal
                                                             issues.
DLH        10/21/2023   B190     3.70   280.00       1036.00 Perform document
                                                             review.
VLD        10/21/2023   B190     0.20   795.00        159.00 Emails confirming
                                                             deposition
                                                             rescheduling.
DLH        10/22/2023   B190     6.80   280.00       1904.00 Perform document
                                                             review.
VLD        10/22/2023   B320     0.60   795.00        477.00 Work on legal budget
                                                             projections for plan
                                                             projections.
CWS        10/22/2023   B110     3.20   715.00       2288.00 Draft Work budget
                                                             for all case matters.
DLH        10/23/2023   B195     1.70   280.00        476.00 Travel to Austin,
                                                             Texas (3.5). [Billed
                                                             at half time]
DLH        10/23/2023   B110     1.10   280.00        308.00 Research property of
                                                             the estate issues.
RJY        10/23/2023   B190     0.50   340.00        170.00 Formulate strategy
                                                             for interlocutory
                                                             appeal of summary
                                                             judgment orders
JHY        10/23/2023   B240     0.60   285.00        171.00 Call with Travis
                                                             County Appraisal
                                                             District regarding
                                                             potential tax issues
DLH        10/23/2023   B190     1.30   280.00        364.00 Perform document
                                                             review.
DLH        10/23/2023   B110     0.80 280.00          224.00 Attend client meeting.
EEW        10/23/2023   B110     4.10   295.00       1209.50 Prepare draft of third
                                                             amended schedules
                                                             (3.8); email
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               correspondence to
                                                               BlackBriar Advisors
                                                               listing changes (.3).
LGD        10/23/2023   B190     0.60   185.00        111.00 Search, identify and
                                                             redact personal
                                                             information related to
                                                             minor children.
DJM        10/23/2023   B190     6.60   310.00       2046.00 Review and analyze
                                                             rules of bankruptcy
                                                             procedure and cases
                                                             interpreting them to
                                                             determine best route
                                                             for interlocutory
                                                             appeal of
                                                             dischargeability
                                                             orders
JHY        10/23/2023   B190     2.50   285.00        712.50 Analyze and review
                                                             issues regarding
                                                             appeal in preparation
                                                             to draft notices of
                                                             appeal and motion for
                                                             leave to appeal Texas
                                                             and Connecticut
                                                             interlocutory orders
VLD        10/23/2023   B195     1.80   795.00       1431.00 Travel to Austin
                                                             (billed at half time
                                                             3.6)
VLD        10/23/2023   B320     3.50   795.00       2782.50 Meeting with client to
                                                             discuss plan
                                                             structures possible for
                                                             individuals in Chapter
                                                             11 (1.2); review case
                                                             law on individual 11's
                                                             and develop plan
                                                             strategies (2.3)
VLD        10/23/2023   B190     1.70   795.00       1351.50 Meetings with client
                                                             to discuss strategy
                                                             with settlement and
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               related issues (1.4);
                                                               attend to discovery
                                                               issues (.3).
VLD        10/23/2023   B110     0.70   795.00        556.50 Call with co-counsel
                                                             to discuss case status
                                                             and strategy.
VLD        10/23/2023   B320     1.10   795.00        874.50 Emails with
                                                             professional seeking
                                                             budgets for financial
                                                             projections (.3);
                                                             review and analyze
                                                             financial projections
                                                             (.8).
CWS        10/23/2023   B320     3.80   715.00       2717.00 Perform analysis and
                                                             draft correspondence
                                                             regarding plan of
                                                             reorganization.
CWS        10/23/2023   B160     1.80   715.00       1287.00 Revise billing
                                                             statement (1.4); draft
                                                             related
                                                             correspondence (.4).
CWS        10/23/2023   B110     3.30   715.00       2359.50 Draft and revise
                                                             budget (2.2); review
                                                             and respond to related
                                                             correspondence (1.1).
DLH        10/24/2023   B160     0.90   280.00        252.00 Work on real estate
                                                             broker project.
DLH        10/24/2023   B190     5.30   280.00       1484.00 Perform document
                                                             review.
DLH        10/24/2023   B130     0.60   280.00        168.00 Draft final edits on
                                                             personal property
                                                             motion and order.
RJY        10/24/2023   B190     1.10   340.00        374.00 Analyze options for
                                                             interlocutory appeal
                                                             of summary judgment
                                                             order (.3); conduct
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               legal research on the
                                                               same (.8).
RJY        10/24/2023   B190     0.50   340.00        170.00 Create outline for
                                                             motion for leave to
                                                             appeal summary
                                                             judgment order on
                                                             dischargeability
RJY        10/24/2023   B190     0.70   340.00        238.00 Conduct legal
                                                             research on
                                                             bankruptcy appellate
                                                             procedure for appeal
                                                             of interlocutory order
RJY        10/24/2023   B190     1.30   340.00        442.00 Draft preliminary
                                                             statement and factual
                                                             background for
                                                             motion for leave to
                                                             appeal summary
                                                             judgment order.
RJY        10/24/2023   B190     1.70   340.00        578.00 Review summary
                                                             judgment order in
                                                             Connecticut case to
                                                             identify "questions
                                                             presented" for
                                                             appellate purposes.
DLH        10/24/2023   B110     1.40 280.00          392.00 Attend client meeting.
DLH        10/24/2023   B150     0.80   280.00        224.00 Draft correspondence
                                                             to UCC.
JHY        10/24/2023   B190     4.50   285.00       1282.50 Analyze and review
                                                             appeal issues and
                                                             procedures for
                                                             interlocutory appeals
                                                             in adversary
                                                             proceedings (0.9);
                                                             strategize appeal of
                                                             Connecticut and
                                                             Texas adversary
                                                             proceedings (0.8);
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               analyze and review
                                                               case law and statutes
                                                               regarding motion for
                                                               leave to appeal
                                                               interlocutory order
                                                               (3.8)
EEW        10/24/2023   B190     0.20   295.00         59.00 Review the UCC's
                                                             second rescheduled
                                                             2004 examination of
                                                             R. Schleizer and
                                                             docket same.
DJM        10/24/2023   B190     0.90   310.00        279.00 Develop strategy
                                                             regarding potential
                                                             appeal.
DJM        10/24/2023   B190     4.50   310.00       1395.00 Review and analyze
                                                             statutes and case for
                                                             possible interlocutory
                                                             appeal.
JHY        10/24/2023   B160     0.70   285.00        199.50 Draft and revise fee
                                                             statements for
                                                             debtor's
                                                             professionals.
VLD        10/24/2023   B110     3.00   795.00       2385.00 Meetings with client
                                                             on status of case (2.1);
                                                             call with co – counsel
                                                             on status of case and
                                                             overall case strategy
                                                             (.9)
VLD        10/24/2023   B130     0.80   795.00        636.00 Call with potential
                                                             purchaser of property,
VLD        10/24/2023   B195     1.80   795.00       1431.00 Travel from Austin
                                                             billed at half time of
                                                             3.6 (1.8)
VLD        10/24/2023   B190     1.90   795.00       1510.50 Work on discovery
                                                             issues with document
                                                             production and
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               privilege log.
CWS        10/24/2023   B190     1.30   715.00        929.50 Team call regarding
                                                             dischargeability
                                                             appellate issues.
JHY        10/25/2023   B190     1.50   285.00        427.50 Analyze and review
                                                             case law and statutes
                                                             regarding motion for
                                                             leave to appeal
                                                             interlocutory order
                                                             (1.1); analyze and
                                                             review local rules and
                                                             judge-specific rules in
                                                             preparation to draft
                                                             motion for leave to
                                                             appeal interlocutory
                                                             order (0.4)
JHY        10/25/2023   B160     0.30   285.00         85.50 Analyze and review
                                                             invoices of
                                                             professionals Martin,
                                                             Disiere, Jefferson &
                                                             Wisdom LLP and The
                                                             Reynal Law Firm,
                                                             PC.
RJY        10/25/2023   B190     1.40   340.00        476.00 Conduct legal
                                                             research on standards
                                                             for leave to file
                                                             interlocutory appeal
                                                             from bankruptcy
                                                             court to district court.
DLH        10/25/2023   B195     1.70   280.00        476.00 Travel back to Dallas
                                                             from Austin (3.5).
                                                             [Billed at half time]
DLH        10/25/2023   B190     2.30   280.00        644.00 Reclassify documents
                                                             marked privileged for
                                                             privilege log.
JLJ        10/25/2023   B190     3.20   235.00        752.00 Research authority in
                                                             the Fifth Circuit for
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               interlocutory appeals.
VLD        10/25/2023   B195     1.50   795.00       1192.50 Travel from Austin
                                                             home (billed at half
                                                             time 3.0).
EEW        10/25/2023   B160     4.20   295.00       1239.00 Review all invoices
                                                             The Reynal Firm and
                                                             Chris Martin Firm
                                                             from the employment
                                                             their date forward and
                                                             prepare a spreadsheet
                                                             of hours by
                                                             timekeeper and
                                                             calculate amounts by
                                                             50% to be shared with
                                                             FSS.
DJM        10/25/2023   B190     7.80   310.00       2418.00 Draft motions for
                                                             leave to file
                                                             interlocutory appeal
                                                             of Texas and
                                                             Connecticut
                                                             dischargeability
                                                             orders
VLD        10/25/2023   B160     0.70   795.00        556.50 Review and analyze
                                                             emails on fee
                                                             statements.
VLD        10/25/2023   B190     1.60   795.00       1272.00 Lengthy emails and
                                                             calls regarding
                                                             settlement
                                                             discussions and
                                                             meeting logistics and
                                                             preconditions to same
                                                             with UCC (1.1); call
                                                             with Sub V Trustee
                                                             counsel re same (.5).
CWS        10/25/2023   B320     4.30   715.00       3074.50 Draft and revise Plan
                                                             of Reorganization.
DLH        10/26/2023   B190     9.00   280.00       2520.00 Review documents
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               marked privileged for
                                                               privilege log.
RJY        10/26/2023   B190     2.70   340.00        918.00 Review and assess
                                                             arguments for appeal
                                                             on summary
                                                             judgment order.
RJY        10/26/2023   B190     2.70   340.00        918.00 Draft necessarily
                                                             decided section of
                                                             motion for leave to
                                                             appeal order on
                                                             summary judgment
                                                             relating to IIED and
                                                             defamation default
                                                             judgments.
RJY        10/26/2023   B190     0.40   340.00        136.00 Cite check cases that
                                                             summary judgment
                                                             order relied upon.
RJY        10/26/2023   B190     0.60   340.00        204.00 Draft arguments for
                                                             substantial ground for
                                                             difference of opinion
                                                             necessary for leave of
                                                             court to appeal
                                                             interlocutory order.
RJY        10/26/2023   B190     0.80   340.00        272.00 Review and assess
                                                             CUTPA ruling and
                                                             arguments on
                                                             summary judgment
                                                             order.
RJY        10/26/2023   B190     0.50   340.00        170.00 Draft balancing test
                                                             portion of motion for
                                                             leave to file appeal of
                                                             summary judgment
                                                             order.
JCD        10/26/2023   B190     0.50   475.00        237.50 Telephone call from
                                                             Ray Battaglia who
                                                             represents Free
                                                             Speech Systems to
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               discuss the recent
                                                               rulings on summary
                                                               judgment in the
                                                               Connecticut and
                                                               Texas adversary
                                                               proceeding cases;
                                                               discussion of next
                                                               steps.
JLJ        10/26/2023   B190     2.50   235.00        587.50 Research authority in
                                                             the Fifth Circuit for
                                                             interlocutory appeals,
                                                             specifically as they
                                                             relate to bankruptcy
                                                             for motion that Deric
                                                             J. McClellan is filing.
EEW        10/26/2023   B160     4.80   295.00       1416.00 Draft first monthly
                                                             fee statement for the
                                                             Chris Martin Firm
                                                             and The Reynal Firm.
CWS        10/26/2023   B150     1.80   715.00       1287.00 Calls and
                                                             correspondence
                                                             regarding creditor
                                                             communications.
DJM        10/26/2023   B190     6.50   310.00       2015.00 Draft motions for
                                                             leave to file
                                                             interlocutory appeal
                                                             of Texas and
                                                             Connecticut
                                                             dischargeability
                                                             orders.
VLD        10/26/2023   B230     0.40   795.00        318.00 Analyze issues with
                                                             listing rental property.
VLD        10/26/2023   B190     2.80   795.00       2226.00 Calls and emails
                                                             discussing strategy on
                                                             settlement meeting,
                                                             venue, dates, and
                                                             terms (2.4); analyze
                                                             outstanding issues in
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               discovery (.4).
CWS        10/26/2023   B160     2.80   715.00       2002.00 Review and revise
                                                             September billing
                                                             statement.
CWS        10/26/2023   B170     1.40   715.00       1001.00 Review and analyze
                                                             correspondence
                                                             regarding issues with
                                                             billing.
RJY        10/27/2023   B190     0.80   340.00        272.00 Revise substantial
                                                             disagreement portion
                                                             of motion for leave to
                                                             file appeal of order on
                                                             summary judgment.
RJY        10/27/2023   B190     0.60   340.00        204.00 Conduct legal
                                                             research on
                                                             controlling question
                                                             of law for motion for
                                                             leave to file appeal of
                                                             interlocutory
                                                             summary judgment
                                                             order.
RJY        10/27/2023   B190     0.90 340.00          306.00 Draft section on
                                                             controlling question
                                                             of law for motion for
                                                             leave to appeal
                                                             interlocutory
                                                             summary judgment
                                                             order.
RJY        10/27/2023   B190     0.80   340.00        272.00 Draft argument on
                                                             "actually litigated"
                                                             prong for motion for
                                                             leave to appeal
                                                             interlocutory
                                                             summary judgment
                                                             order.
DLH        10/27/2023   B190     9.50   280.00       2660.00 Perform document
                                                             review.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
RJY        10/27/2023   B190     0.50   340.00        170.00 Formulate strategy
                                                             for consistency of
                                                             argument across
                                                             motions for leave to
                                                             appeal between
                                                             Connecticut and
                                                             Texas drafts.
RJY        10/27/2023   B190     1.20 340.00          408.00 Draft factual
                                                             background section
                                                             for motion for leave
                                                             to appeal
                                                             interlocutory
                                                             summary judgment
                                                             order.
JHY        10/27/2023   B190     4.50   285.00       1282.50 Analyze and review
                                                             issues and strategies
                                                             for background facts
                                                             and procedural
                                                             history in preparation
                                                             to draft motion for
                                                             leave to appeal an
                                                             order on Connecticut
                                                             Plaintiffs' motion for
                                                             summary judgment
                                                             (0.3); draft and revise
                                                             the same (4.2).
EEW        10/27/2023   B160     5.20   295.00       1534.00 Work on and finalize
                                                             draft of first monthly
                                                             fee statement of the
                                                             Chris Martin Firm
                                                             and the Reynal Firm.
DJM        10/27/2023   B190     5.20   310.00       1612.00 Draft motions for
                                                             leave to file
                                                             interlocutory appeal
                                                             of Texas and
                                                             Connecticut
                                                             dischargeability
                                                             orders.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
VLD        10/27/2023   B190     5.10   795.00       4054.50 Emails and calls
                                                             moving R. Schleizer
                                                             deposition (.8);
                                                             emails and calls
                                                             discussing issues with
                                                             settlement terms and
                                                             related issues (2.6);
                                                             calls with client
                                                             regarding same (.8);
                                                             calls with R.
                                                             Schleizer on same
                                                             (.9).
DLH        10/28/2023   B190     3.80   280.00       1064.00 Perform document
                                                             review.
JHY        10/28/2023   B190     4.30   285.00       1225.50 Draft and revise
                                                             motion for leave to
                                                             appeal Connecticut
                                                             interlocutory order.
VLD        10/28/2023   B110     0.80   795.00        636.00 Call with client on
                                                             status of case and
                                                             related issues.
DLH        10/29/2023   B190     2.50   280.00        700.00 Perform document
                                                             review.
DJM        10/29/2023   B190     7.50   310.00       2325.00 Draft motions for
                                                             leave to file
                                                             interlocutory appeal
                                                             of Texas and
                                                             Connecticut
                                                             dischargeability
                                                             orders.
RJY        10/30/2023   B190     0.80   340.00        272.00 Formulate strategy
                                                             for addressing the
                                                             argument that leave to
                                                             file an appeal would
                                                             materially advance
                                                             the litigation.
JHY        10/30/2023   B190     0.40   285.00        114.00 Analyze and review
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               issues regarding
                                                               procedural posture
                                                               and factual
                                                               background in the
                                                               motion for leave to
                                                               appeal interlocutory
                                                               Connecticut order.
RJY        10/30/2023   B190     1.20 340.00          408.00 Edit and add details to
                                                             factual background
                                                             section of motion for
                                                             leave to file appeal of
                                                             interlocutory
                                                             summary judgment
                                                             order.
RJY        10/30/2023   B190     0.20   340.00         68.00 Review memo on
                                                             precedential legal
                                                             standards for leave to
                                                             appeal interlocutory
                                                             order.
RJY        10/30/2023   B190     0.50   340.00        170.00 Coordinate revisions
                                                             of drafts for both
                                                             Connecticut and
                                                             Texas case briefs on
                                                             motion for leave to
                                                             appeal.
DLH        10/30/2023   B190     6.70   280.00       1876.00 Perform document
                                                             review.
JLJ        10/30/2023   B190     5.50   235.00       1292.50 Research cases from
                                                             the Fifth Circuit and
                                                             from the District
                                                             Court from the
                                                             Southern District of
                                                             Texas.
CWS        10/30/2023   B190     2.70   715.00       1930.50 Review and respond
                                                             to multiple
                                                             correspondence and
                                                             calls regarding
                                                             settlement terms.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
CWS        10/30/2023   B160     4.90   715.00       3503.50 Review and revise
                                                             billing statement
                                                             (3.8); review and
                                                             respond to related
                                                             correspondence (1.1).
EEW        10/30/2023   B160     1.80   295.00        531.00 Draft eighth monthly
                                                             fee statement of
                                                             BlackBriar Advisors.
EEW        10/30/2023   B310     1.00   295.00        295.00 Continue reviewing
                                                             claims register and
                                                             downloading claims.
DJM        10/30/2023   B190    13.10   310.00       4061.00 Draft Connecticut
                                                             motion for leave to
                                                             file interlocutory
                                                             appeal of Connecticut
                                                             dischargeability
                                                             order.
VLD        10/30/2023   B190     3.10   795.00       2464.50 Draft initial
                                                             settlement points for
                                                             discussion and
                                                             subsequent emails
                                                             with recipients
                                                             thereafter.
DLH        10/31/2023   B190    10.50   280.00       2940.00 Perform document
                                                             review.
RJY        10/31/2023   B190     1.50   340.00        510.00 Review edits to
                                                             motion for leave to
                                                             file appeal.
JCD        10/31/2023   B190     2.50   475.00       1187.50 Review and edit
                                                             Motion for Leave to
                                                             Appeal.
JHY        10/31/2023   B190     6.70   285.00       1909.50 Draft and revise
                                                             motion for leave to
                                                             appeal Connecticut
                                                             interlocutory order.
CWS        10/31/2023   B190     6.90   715.00       4933.50 Review and revise CT
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Motion for Leave to
                                                               Appeal Interlocutory
                                                               Order (5.7); draft
                                                               related
                                                               correspondence
                                                               regarding appeal
                                                               (1.2).
DJM        10/31/2023   B190     7.00   310.00       2170.00 Draft motion for leave
                                                             to file interlocutory
                                                             appeal of Connecticut
                                                             dischargeability
                                                             order.
DJM        10/31/2023   B190     9.50   310.00       2945.00 Draft motion for leave
                                                             to file interlocutory
                                                             appeal of Texas
                                                             dischargeability
                                                             order.
VLD        10/31/2023   B190     1.20   795.00        954.00 Call with Texas trial
                                                             team on appellate
                                                             status and budgeting
                                                             (.6); emails regarding
                                                             same (.2); call with
                                                             client regarding
                                                             issues with Texas
                                                             budgeting and trial
                                                             (.4).
VLD        10/31/2023   B190     1.20   795.00        954.00 Call with Texas trial
                                                             team on appellate
                                                             status and budgeting
                                                             (.6); emails regarding
                                                             same (.2); call with
                                                             client regarding
                                                             issues with Texas
                                                             budgeting and trial
                                                             (.4).
VLD        10/31/2023   B240     1.10   795.00        874.50 Emails and calls to P.
                                                             Story on IRS claim
                                                             and refund status (.7);
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               emails with UCC
                                                               sending tax filings
                                                               and regarding
                                                               additional tax
                                                               requests (.4).
VLD        10/31/2023   B320     2.10   795.00       1669.50 Calls and emails with
                                                             counsel for UCC and
                                                             plaintiffs to discuss
                                                             plan settlement
                                                             issues, meeting
                                                             scheduling, and
                                                             strategy.
RJY        11/01/2023   B190     1.60   340.00        544.00 Review edits and
                                                             draft updated
                                                             Question Presented.
RJY        11/01/2023   B190     0.40   340.00        136.00 Coordinate review of
                                                             motion for leave to
                                                             file appeal.
RJY        11/01/2023   B190     0.20   340.00         68.00 Conduct legal
                                                             research on
                                                             requirements for
                                                             notice of appeal to
                                                             accompany motion
                                                             for leave.
RJY        11/01/2023   B190     1.10   340.00        374.00 Review and edit
                                                             Texas motion for
                                                             leave to appeal.
RJY        11/01/2023   B190     0.80   340.00        272.00 Respond to inquiry
                                                             regarding scope of
                                                             arguments in motion
                                                             for leave to appeal.
DLH        11/01/2023   B190     9.50   280.00       2660.00 Perform document
                                                             review.
JHY        11/01/2023   B190    10.70   285.00       3049.50 Draft and revise
                                                             motions for leave to
                                                             appeal Connecticut
                                                             and Texas
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               interlocutory orders
                                                               (7.8); draft and revise
                                                               notices of appeal for
                                                               both the Texas and
                                                               Connecticut orders
                                                               (2.9).
CWS        11/01/2023   B190     9.20   715.00       6578.00 Review Notices of
                                                             Appeal (.5); draft
                                                             related
                                                             correspondence (.9);
                                                             review and revise
                                                             Motions for Leave to
                                                             Appeal Interlocutory
                                                             Orders (7.8).
JLJ        11/01/2023   B190     0.30   235.00         70.50 Create citation for
                                                             brief in support of
                                                             cited to authority for
                                                             motion for Deric J.
                                                             McClellan.
JCD        11/01/2023   B190     1.20   475.00        570.00 Work with appellate
                                                             team on the Motion
                                                             for Leave for
                                                             Interlocutory Appeal
                                                             for the Connecticut
                                                             Plaintiffs case,
                                                             drafting and revising
                                                             final draft.
VLD        11/01/2023   B195     3.00   795.00       2385.00 Travel to and from
                                                             Houston for meeting
                                                             (6.0). [billed at half
                                                             time]
VLD        11/01/2023   B190     3.20   795.00       2544.00 Preparation for and
                                                             attend meeting with
                                                             creditors to discuss
                                                             resolution of various
                                                             matters.
EEW        11/01/2023   B190     0.40 295.00          118.00 Locate court
                                                             reporting firm that
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               transcribed hearing
                                                               transcript for
                                                               08-15-2023 hearing
                                                               in both adversary
                                                               cases (.1);
                                                               communications with
                                                               court reporting firm
                                                               regarding same (.1);
                                                               review and circulate
                                                               transcript to team (.2).
DJM        11/01/2023   B190     3.50   310.00       1085.00 Draft and revise
                                                             motion for leave to
                                                             file interlocutory
                                                             appeal of Connecticut
                                                             dischargeability
                                                             order.
DJM        11/01/2023   B190     4.10   310.00       1271.00 Draft and revise
                                                             motion for leave to
                                                             file interlocutory
                                                             appeal of Texas
                                                             dischargeability
                                                             order.
DJM        11/01/2023   B190     0.50   310.00        155.00 Develop strategy
                                                             regarding Texas and
                                                             Connecticut motions
                                                             for leave to file
                                                             interlocutory appeal
                                                             of Connecticut
                                                             dischargeability
                                                             order.
TAR        11/02/2023   B190     1.80   200.00        360.00 Revise Motion for
                                                             Leave to Appeal
                                                             Interlocutory Order.
TAR        11/02/2023   B110     0.40   200.00         80.00 Analyze draft Debtor
                                                             Alexander Jones'
                                                             Motion for Leave to
                                                             Appeal Interlocutory
                                                             Order.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
TAR        11/02/2023   B190     2.10   200.00        420.00 Draft and develop
                                                             TOC and TOA for
                                                             Debtor Alexander
                                                             Jones' Motion for
                                                             Leave to Appeal
                                                             Interlocutory Order.
RJY        11/02/2023   B190     0.50   340.00        170.00 Coordinate with
                                                             litigation team
                                                             regarding final edits
                                                             and preparations for
                                                             filing.
TAR        11/02/2023   B190     3.20   200.00        640.00 Draft and develop
                                                             TOC and TOA to
                                                             Motion for Leave to
                                                             Appeal Order on
                                                             Connecticut
                                                             Plaintiffs' Motion for
                                                             Summary Judgment.
DLH        11/02/2023   B190     0.80   280.00        224.00 Reclassifying
                                                             documents marked
                                                             privileged.
JLJ        11/02/2023   B190     0.90   235.00        211.50 Proofread and revise
                                                             motion for leave to
                                                             appeal for Deric J.
                                                             McClellan.
JCD        11/02/2023   B190     2.60   475.00       1235.00 Review and revise
                                                             Motion for Leave to
                                                             File Interlocutory
                                                             Appeal related to the
                                                             Texas plaintiffs'
                                                             adversary proceeding
                                                             and Judge Lopez's
                                                             ruling.
VLD        11/02/2023   B190     2.30   795.00       1828.50 Calls with various
                                                             claimants on issues
                                                             regarding settlement
                                                             (1.5); prepare for
                                                             discussions with
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               creditors (.8).
VLD        11/02/2023   B110     2.00   795.00       1590.00 Emails with court
                                                             rescheduling
                                                             hearings.
EEW        11/02/2023   B185     0.20   295.00         59.00 Email
                                                             communications with
                                                             court coordinator
                                                             regarding hearing
                                                             date for the motion to
                                                             assume or reject
                                                             executory contracts.
EEW        11/02/2023   B190     2.70 295.00          796.50 Review case docket to
                                                             determine notice
                                                             parties (.3); finalize
                                                             and file notice of
                                                             appeal and motion for
                                                             leave to appeal
                                                             interlocutory order
                                                             for Texas and
                                                             Connecticut (2.0);
                                                             e-serve notice parties
                                                             (.4).
EEW        11/02/2023   B160     0.20   295.00         59.00 Email
                                                             communications with
                                                             Rachel Kennerly
                                                             regarding fourth
                                                             monthly fee
                                                             statement.
DJM        11/02/2023   B190     6.90   310.00       2139.00 Draft and revise
                                                             motion for leave to
                                                             file interlocutory
                                                             appeal of Connecticut
                                                             dischargeability
                                                             order.
DJM        11/02/2023   B190     4.20   310.00       1302.00 Draft and revise
                                                             motion for leave to
                                                             file interlocutory
                                                             appeal of Texas
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               dischargeability
                                                               order.
JHY        11/02/2023   B190    11.30   285.00       3220.50 Revise and finalize
                                                             the motion for leave
                                                             to appeal Texas
                                                             interlocutory order
                                                             (9.6); revise and
                                                             finalize notices of
                                                             appeal for both
                                                             Connecticut and
                                                             Texas adversary
                                                             proceedings (1.7).
CWS        11/02/2023   B190     8.80   715.00       6292.00 Review and revise
                                                             Notices of Appeal
                                                             (2.6); draft and
                                                             review related
                                                             correspondence (1.8);
                                                             review and revise
                                                             Motions for Leave to
                                                             Appeal (4.4).
DLH        11/03/2023   B190     4.00   280.00       1120.00 Draft privilege log.
RJY        11/03/2023   B190     2.20   340.00        748.00 Review and revise
                                                             documents and
                                                             potential filings
                                                             associated with Texas
                                                             case regarding
                                                             options for resolution.
JCD        11/03/2023   B190     0.50   475.00        237.50 Conference regarding
                                                             settlement issues.
VLD        11/03/2023   B190     1.70   795.00       1351.50 Emails and calls with
                                                             trial team sending
                                                             appellate brief for
                                                             review and comment
                                                             (.8); call with All
                                                             plaintiff counsel
                                                             regarding setting up
                                                             New York meeting
                                                             terms. (.9)
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
VLD        11/03/2023   B110     1.70   795.00       1351.50 Calls with client
                                                             discussing case and
                                                             strategy regarding
                                                             same.
DJM        11/03/2023   B190     1.90   310.00        589.00 Review and revise
                                                             potential filing related
                                                             to Texas case.
CWS        11/03/2023   B190    10.50   715.00       7507.50 Review and revise
                                                             Motions for Leave to
                                                             Appeal (7.3); draft
                                                             and review related
                                                             correspondence (3.2).
RJY        11/04/2023   B190     1.60   340.00        544.00 Review arguments
                                                             and documents in
                                                             support of resolution
                                                             of Texas case.
DLH        11/04/2023   B190     1.80   280.00        504.00 Draft privilege log.
DJM        11/04/2023   B190     0.70   310.00        217.00 Review and revise
                                                             potential filing related
                                                             to Texas case.
DJM        11/05/2023   B190     2.00   310.00        620.00 Review and revise
                                                             potential filing related
                                                             to Texas case.
DLH        11/06/2023   B190     3.80   280.00       1064.00 Privilege review of
                                                             client documents to
                                                             properly identify and
                                                             mark as privileged in
                                                             order to prepare
                                                             corresponding
                                                             privilege log.
RJY        11/06/2023   B190     0.50   340.00        170.00 Conference regarding
                                                             issues related appeal.
JCD        11/06/2023   B190     1.50   475.00        712.50 Communications with
                                                             client regarding
                                                             appellate strategy
                                                             matters.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
DLH        11/06/2023   B320     0.90   280.00        252.00 Research potential
                                                             plan issues.
VLD        11/06/2023   B190     0.60   795.00        477.00 Introduce trial teams
                                                             for input on appellate
                                                             brief (.2); call with
                                                             client regarding input
                                                             from trial team (.4).
VLD        11/06/2023   B210     3.80   795.00       3021.00 Review and analyze
                                                             FSS projections,
                                                             changes from prior
                                                             versions (1.1); calls
                                                             with FA on issues
                                                             with projections (.5);
                                                             calls with client
                                                             regarding same (.9);
                                                             emails and calls with
                                                             FSS and Sub V
                                                             trustee counsel on
                                                             projection issues
                                                             (1.1).
EEW        11/06/2023   B160     0.10   295.00         29.50 Review UCC's May,
                                                             2023 fee and expense
                                                             summary and
                                                             circulate to team.
EEW        11/06/2023   B190     0.10   295.00         29.50 Review UCCs third
                                                             rescheduled 2004
                                                             examination of R.
                                                             Schleizer and docket
                                                             same.
EEW        11/06/2023   B190     0.10   295.00         29.50 Review UCC's 2004
                                                             Requests to Swan
                                                             Bitcoin and docket
                                                             deadline for same.
VLD        11/06/2023   B240     0.80 795.00          636.00 Emails with A.
                                                             Cooksey on tax audit
                                                             and outstanding
                                                             information to be
                                                             provided (.3); gather
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               information on
                                                               property tax
                                                               payments made and
                                                               position of owner of
                                                               real estate on
                                                               repayment (.5).
DLH        11/07/2023   B320     8.50   280.00       2380.00 Research and analyze
                                                             potential plan issues.
RJY        11/07/2023   B190     1.10   340.00        374.00 Review and
                                                             summarize
                                                             constitutional
                                                             arguments for use in
                                                             potential resolution.
VLD        11/07/2023   B190     1.20   795.00        954.00 Preparation for
                                                             settlement meeting.
VLD        11/07/2023   B210     3.40   795.00       2703.00 Review and analyze
                                                             plans confirmed by
                                                             CRO and discuss
                                                             issues with former
                                                             plan agent (1.4);
                                                             messages and calls
                                                             with client on issues
                                                             with operations (1.3);
                                                             calls and emails on
                                                             FSS projections and
                                                             plan (.8).
VLD        11/07/2023   B195     2.80 795.00         2226.00 Travel to New York
                                                             for settlement
                                                             meeting (5.6 – billed
                                                             at half time).
EEW        11/07/2023   B190     0.20   295.00         59.00 Email
                                                             communications and
                                                             telephone call with
                                                             court coordinator
                                                             regarding appeal.
EEW        11/07/2023   B190     0.80 295.00          236.00 Procure information
                                                             related to trust
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               agreement summaries
                                                               and circulate to team
                                                               and BlackBriar
                                                               Advisors.
CWS        11/07/2023   B110     2.30   715.00       1644.50 Review and respond
                                                             to correspondence
                                                             regarding case
                                                             strategy matters.
DLH        11/08/2023   B190     2.80   280.00        784.00 Attend settlement
                                                             meeting.
DLH        11/08/2023   B190     3.30   280.00        924.00 Prepare deposition
                                                             documents for R.
                                                             Schleizer.
DLH        11/08/2023   B190     1.50   280.00        420.00 Privilege review of
                                                             client documents to
                                                             properly identify and
                                                             mark as privileged in
                                                             order to prepare
                                                             corresponding
                                                             privilege log.
DLH        11/08/2023   B210     1.60   280.00        448.00 Research concerns
                                                             regarding potential
                                                             plan and acceptable
                                                             levels of capex, opex,
                                                             and net disposable
                                                             income.
VLD        11/08/2023   B190     6.90   795.00       5485.50 Meeting to discuss
                                                             strategy for larger
                                                             meeting (2.5);
                                                             meeting with
                                                             Committee and
                                                             Plaintiffs lawyers
                                                             (3.1); discuss meeting
                                                             and results. (1.3)
EEW        11/08/2023   B110     1.50   295.00        442.50 Electronic case file
                                                             management.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
JMS        11/09/2023   B120     0.10   265.00         26.50 Conference regarding
                                                             trust summaries.
CGM        11/09/2023   B190     0.10   255.00         25.50 Email
                                                             correspondence
                                                             regarding Alex Jones'
                                                             trust summaries.
DLH        11/09/2023   B210     3.80   280.00       1064.00 Research concerns
                                                             regarding potential
                                                             plan and acceptable
                                                             levels of capex, opex,
                                                             and net disposable
                                                             income.
JHY        11/09/2023   B190     1.30   285.00        370.50 Analyze and review
                                                             federal rules of
                                                             bankruptcy
                                                             procedure, case law,
                                                             statutes regarding
                                                             prerequisites to
                                                             perfecting an
                                                             interlocutory appeal.
VLD        11/09/2023   B195     2.80   795.00       2226.00 Travel from New
                                                             York for settlement
                                                             meeting. (5.6 – billed
                                                             at half time)
EEW        11/09/2023   B110     1.00   295.00        295.00 Review and organize
                                                             bank statements
                                                             received to date (.8);
                                                             email correspondence
                                                             to Kathy Norderhaug
                                                             regarding all bank
                                                             statements requested
                                                             by trustee's office
                                                             (.2).
EEW        11/09/2023   B185     0.40   295.00        118.00 Draft notice of
                                                             hearing for
                                                             11-27-2023 hearing.
EEW        11/09/2023   B110     0.80   295.00        236.00 Compile related
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               documents for
                                                               meeting with
                                                               BlackBriar Advisors
                                                               on 11-10-2023.
CWS        11/09/2023   B110     0.30 715.00          214.50 Respond to UST
                                                             request for
                                                             information.
CWS        11/09/2023   B190     0.80   715.00        572.00 Review appellate
                                                             notifications and draft
                                                             related
                                                             correspondence.
CGM        11/10/2023   B190     0.20   255.00         51.00 Email
                                                             correspondence
                                                             regarding AJ trusts.
DLH        11/10/2023   B190     0.30   280.00         84.00 Research and analyze
                                                             deed conveyance law
                                                             in Texas.
DLH        11/10/2023   B190     1.50   280.00        420.00 Privilege review of
                                                             client documents to
                                                             properly identify and
                                                             mark as privileged in
                                                             order to prepare
                                                             corresponding
                                                             privilege log.
CCO        11/10/2023   B190     0.30   525.00        157.50 Correspondence
                                                             regarding trust issues.
CWS        11/10/2023   B190     1.60 715.00         1144.00 Analyze UCC
                                                             correspondence and
                                                             draft related summary
                                                             correspondence.
CWS        11/10/2023   B110     1.80   715.00       1287.00 Perform research and
                                                             analysis regarding
                                                             schedule
                                                             amendments.
VLD        11/10/2023   B140     0.30   795.00        238.50 Email and call Dallas
                                                             IRS contact seeking
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               information on P.
                                                               Story.
VLD        11/10/2023   B160     1.50   795.00       1192.50 Calls with client on
                                                             status of attorney bills
                                                             and forecasting (.8);
                                                             emails to Texas trial
                                                             team seeking budget
                                                             and max billing now
                                                             that appeal is filed
                                                             (.2); draft Attorney
                                                             fee budget and
                                                             forecast to client (.4);
                                                             draft emails to allow
                                                             Reynal firm to apply
                                                             retainer (.1).
VLD        11/10/2023   B110     1.30   795.00       1033.50 Review and revising
                                                             schedules and global
                                                             notes regarding same.
VLD        11/10/2023   B190     2.10   795.00       1669.50 Preparation for R.
                                                             Schleizer deposition
                                                             (1.8); review Texas
                                                             case law on
                                                             transferring real
                                                             property and
                                                             effectiveness of
                                                             writing and
                                                             recordation. (.3)
EEW        11/10/2023   B185     0.30 295.00           88.50 Finalize and file
                                                             notice of hearing for
                                                             11-27-2023 hearing
                                                             and docket same.
EEW        11/10/2023   B185     0.30 295.00           88.50 Finalize and file
                                                             amended notice of
                                                             hearing for
                                                             11-27-2023 hearing
                                                             and docket same.
EEW        11/10/2023   B110     1.00   295.00        295.00 Revisions to third
                                                             amended schedules
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               and circulate to team
                                                               for review.
RJY        11/12/2023   B190     0.70   340.00        238.00 Conduct legal
                                                             research on the Tenth
                                                             Circuit approach to
                                                             "willful and malicious
                                                             injury" under Section
                                                             523(a)(6).
DLH        11/12/2023   B210     1.60   280.00        448.00 Research concerns
                                                             regarding potential
                                                             plan and acceptable
                                                             levels of capex, opex,
                                                             and net disposable
                                                             income.
VLD        11/12/2023   B190     1.20   795.00        954.00 Initial review of
                                                             settlement offer and
                                                             calls with L. Freeman
                                                             on same.
JHY        11/13/2023   B160     0.40   285.00        114.00 Analyze and review
                                                             professional Pattis &
                                                             Smith, LLC's
                                                             employment
                                                             application regarding
                                                             fees and costs of the
                                                             scope of employment.
CGC        11/13/2023   B210     0.10   275.00         27.50 Correspondence
                                                             regarding disability
                                                             provision for
                                                             settlement terms.
CGM        11/13/2023   B190     1.40   255.00        357.00 Prepare for call and
                                                             call regarding Alex
                                                             Jones' trusts.
DLH        11/13/2023   B120     0.50   280.00        140.00 Call regarding trusts
                                                             in preparation for R.
                                                             Schleizer's
                                                             deposition.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
DLH        11/13/2023   B320     4.60   280.00       1288.00 Research and analyze
                                                             potential plan
                                                             confirmation issues
                                                             related to maximum
                                                             net disposable income
                                                             and capital/operating
                                                             expenditures.
DLH        11/13/2023   B320     2.10   280.00        588.00 Research and analyze
                                                             case law authorities
                                                             governing plan
                                                             confirmation time
                                                             period.
CWS        11/13/2023   B190     1.30   715.00        929.50 Review and analyze
                                                             settlement offer and
                                                             related
                                                             correspondence.
CWS        11/13/2023   B120     0.80   715.00        572.00 Call regarding trust
                                                             ownership and issues.
CWS        11/13/2023   B320     5.00   715.00       3575.00 Perform and analyze
                                                             research regarding
                                                             plan issues (2.2); draft
                                                             plan and disclosure
                                                             statement (2.8).
CCO        11/13/2023   B190     1.30   525.00        682.50 Review various trusts
                                                             (.5); conference
                                                             regarding same (.8).
JMS        11/13/2023   B210     0.30   265.00         79.50 Communications
                                                             regarding disability
                                                             language in the
                                                             employment
                                                             agreement.
VLD        11/13/2023   B190     4.00   795.00       3180.00 Calls with various
                                                             parties discussing
                                                             settlement proposal
                                                             from plaintiffs (2.1);
                                                             review in detail and
                                                             revise settlement
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               offer with initial
                                                               thoughts (1.1); call
                                                               with client explaining
                                                               offer and intention in
                                                               response (.8).
VLD        11/13/2023   B110     0.90   795.00        715.50 Review and amend
                                                             schedules, SOFA and
                                                             Global Notes.
VLD        11/13/2023   B160     0.90   795.00        715.50 Confirming monthly
                                                             fee statement filing
                                                             status.
VLD        11/13/2023   B130     0.60   795.00        477.00 Call with S. Brauner
                                                             on personal property
                                                             sale motion and order
                                                             (.2); revise both and
                                                             prepare for filing. (.4)
VLD        11/13/2023   B240     0.30   795.00        238.50 Calls with A. Jenkins
                                                             seeking information
                                                             on who to call in
                                                             Houston regarding
                                                             refund and claim
                                                             made.
VLD        11/13/2023   B190     0.80   795.00        636.00 Emails and calls
                                                             moving deposition for
                                                             R. Schleizer and
                                                             discussing settlement
                                                             issues.
EEW        11/13/2023   B110     0.80   295.00        236.00 Compile October
                                                             bank statements and
                                                             circulate to the
                                                             trustee's office.
EEW        11/13/2023   B160     1.20   295.00        354.00 Draft ninth monthly
                                                             fee statement for
                                                             Crowe & Dunlevy.
EEW        11/13/2023   B160     1.40   295.00        413.00 Review spreadsheet
                                                             received from
                                                             BlackBriar Advisors
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               and draft eighth
                                                               monthly fee
                                                               statement.
DLH        11/14/2023   B320     7.10   280.00       1988.00 Research and analyze
                                                             various plan issues.
JHY        11/14/2023   B320     3.50   285.00        997.50 Analyze and review
                                                             statutes and case law
                                                             regarding issues and
                                                             strategies in
                                                             preparation for
                                                             drafting plan.
VLD        11/14/2023   B195     3.00   795.00       2385.00 Travel to Austin for
                                                             settlement meeting
                                                             (6.0 – billed at half
                                                             time).
VLD        11/14/2023   B190     6.20   795.00       4929.00 Meeting with client to
                                                             discuss counter
                                                             proposal terms and
                                                             discuss strategy on
                                                             case outcomes under
                                                             settlement and other
                                                             scenarios (2.6);
                                                             analyze and strategize
                                                             regarding counter
                                                             proposal terms (2.8);
                                                             attempt to schedule
                                                             meeting with FSS to
                                                             discuss counter
                                                             proposal terms (.6);
                                                             emails with Texas
                                                             counsel on trial
                                                             continuance (.2).
VLD        11/14/2023   B320     1.60 795.00         1272.00 Analyze and
                                                             strategize plan terms
                                                             on multiple tracks.
VLD        11/14/2023   B130     0.50   795.00        397.50 Prepare motion to sell
                                                             personal property for
                                                             filing (.4); emails
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               with UCC regarding
                                                               same (.1).
EEW        11/14/2023   B160     0.70   295.00        206.50 Finalize, file and
                                                             e-serve ninth monthly
                                                             fee statement for
                                                             Crowe & Dunlevy.
CWS        11/14/2023   B190     3.20   715.00       2288.00 Review and revise
                                                             potential
                                                             counter-offer/term
                                                             sheet (1.8); draft
                                                             multiple related
                                                             correspondence (1.4).
CWS        11/14/2023   B320     2.80   715.00       2002.00 Perform and analyze
                                                             plan related research
                                                             and draft related
                                                             correspondence.
CWS        11/14/2023   B160     0.70 715.00          500.50 Review and revise fee
                                                             statement for
                                                             Blackbriar Advisors
                                                             and draft related
                                                             correspondence.
CGC        11/15/2023   B110     0.10   265.00         26.50 Review and respond
                                                             to emails regarding
                                                             employment
                                                             agreement.
DLH        11/15/2023   B320     2.30   280.00        644.00 Research and analyze
                                                             case law authorities
                                                             governing plan
                                                             confirmation time
                                                             period.
DLH        11/15/2023   B320     3.90   280.00       1092.00 Research and analyze
                                                             governing case law
                                                             authorities in Texas,
                                                             and elsewhere, on
                                                             plan obligations.
DLH        11/15/2023   B190     2.70   280.00        756.00 Perform document
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               review.
VLD        11/15/2023   B210     0.40   795.00        318.00 Correspondence with
                                                             client regarding
                                                             media industry
                                                             decline and send
                                                             article on same to FSS
                                                             counsel.
VLD        11/15/2023   B110     0.10   795.00         79.50 Send email from UST
                                                             to BBA to assemble
                                                             bank account
                                                             statements.
EEW        11/15/2023   B160     0.70   295.00        206.50 Finalize, file and
                                                             e-serve eighth
                                                             monthly fee statement
                                                             for BlackBriar
                                                             Advisors.
JHY        11/15/2023   B320     7.50   285.00       2137.50 Analyze and review
                                                             statutes and case law
                                                             regarding issues and
                                                             strategies in
                                                             preparation for
                                                             drafting plan.
CWS        11/15/2023   B110     2.70   715.00       1930.50 Review and respond
                                                             to multiple
                                                             correspondence
                                                             regarding schedule
                                                             amendments (2.1);
                                                             draft correspondence
                                                             to UCC regarding
                                                             same (.1); review and
                                                             respond to UST
                                                             requests (.5).
JHY        11/16/2023   B190     0.30   285.00         85.50 Analyze and review
                                                             local and
                                                             judge-specific rules in
                                                             anticipation of a reply
                                                             brief to the responses
                                                             in opposition to the
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               motion for leave to
                                                               appeal interlocutory
                                                               orders.
DLH        11/16/2023   B320     6.90   280.00       1932.00 Research, analyze,
                                                             and take notes on
                                                             governing case law
                                                             for preparation of
                                                             plan.
EEW        11/16/2023   B110     2.30   295.00        678.50 Revise schedules
                                                             A/B, C & G and
                                                             Statement of
                                                             Financial Affairs and
                                                             circulate to
                                                             BlackBriar Advisors
                                                             for review (2.0);
                                                             email correspondence
                                                             to BlackBriar
                                                             regarding revisions
                                                             (.3).
DJM        11/16/2023   B190     1.10   310.00        341.00 Review and analyze
                                                             response brief in
                                                             opposition to motion
                                                             for interlocutory
                                                             appeal of Texas order.
CWS        11/16/2023   B110     1.10   715.00        786.50 Draft and review
                                                             correspondence with
                                                             UCC regarding
                                                             schedule amendments
                                                             (.3); correspondence
                                                             and conferences
                                                             regarding schedule
                                                             amendments and
                                                             client approval of
                                                             same (.8).
JHY        11/17/2023   B190     4.20   285.00       1197.00 Analyze issues
                                                             regarding responses
                                                             and strategize reply
                                                             brief (0.2); draft email
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               and proposed agreed
                                                               order extending reply
                                                               briefing deadline (4).
DLH        11/17/2023   B190     4.50   280.00       1260.00 Conducting privilege
                                                             review of final client
                                                             documents to
                                                             properly identify and
                                                             mark as privileged
                                                             said documents in
                                                             order to prepare
                                                             corresponding
                                                             privilege log.
RJY        11/17/2023   B190     0.60   340.00        204.00 Formulate and
                                                             discuss strategy for
                                                             reply brief.
DLH        11/17/2023   B320     4.80   280.00       1344.00 Research and analyze
                                                             governing case law
                                                             regarding various
                                                             plan issues.
VLD        11/17/2023   B190     0.70 795.00          556.50 Call with Sub V
                                                             Trustee on status of
                                                             settlement (.4); emails
                                                             on extension on
                                                             appeals (.2); emails
                                                             on settlement offer
                                                             (.1).
CWS        11/17/2023   B110     1.30   715.00        929.50 Draft and review
                                                             correspondence
                                                             regarding amended
                                                             schedules.
CWS        11/17/2023   B320     2.30   715.00       1644.50 Review and analyze
                                                             amended FSS Plan
                                                             (1.2); conferences
                                                             regarding plan
                                                             research matters
                                                             (1.1).
DLH        11/18/2023   B190     5.70   280.00       1596.00 Conduct privilege
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               review of final client
                                                               documents to
                                                               properly identify and
                                                               mark as privileged
                                                               said documents in
                                                               order to prepare
                                                               corresponding
                                                               privilege log.
VLD        11/18/2023   B190     0.80   795.00        636.00 Review and finalize
                                                             settlement offer and
                                                             send to counsel.
DLH        11/19/2023   B320     6.00   280.00       1680.00 Research governing
                                                             case law authorities
                                                             for disposable income
                                                             in plans for high net
                                                             worth individuals in
                                                             preparation for plan
                                                             submission.
JHY        11/19/2023   B320     9.10   285.00       2593.50 Analyze and review
                                                             issues in preparation
                                                             to draft plan and
                                                             strategy for plan
                                                             confirmation.
DLH        11/20/2023   B320     3.60   280.00       1008.00 Draft and revise
                                                             memo regarding Plan
                                                             related research.
DLH        11/20/2023   B320     0.30   280.00         84.00 Attend Plan
                                                             confirmation call.
JHY        11/20/2023   B320     2.10   285.00        598.50 Analyze and review
                                                             issues regarding plan
                                                             and status conference
                                                             regarding a
                                                             scheduling order for
                                                             the plan (0.3); draft
                                                             and revise request for
                                                             status conference
                                                             regarding plan
                                                             timeline (1.3); draft
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               and revise proposed
                                                               order granting the
                                                               same (0.5).
JHY        11/20/2023   B190     1.40   285.00        399.00 Exchange emails with
                                                             Connecticut and
                                                             Texas counsel
                                                             regarding redline and
                                                             agreement on
                                                             proposed agreed
                                                             orders extending
                                                             reply briefing
                                                             deadlines in the
                                                             motion for leave to
                                                             appeal interlocutory
                                                             orders (0.3); revise
                                                             proposed agreed
                                                             orders incorporating
                                                             accepted proposed
                                                             changes from
                                                             opposing counsel
                                                             (0.4); review local
                                                             rules and judge's
                                                             procedure regarding
                                                             extension of briefing
                                                             deadlines and email
                                                             the court the proposed
                                                             agreed orders and
                                                             regarding the same
                                                             (0.7).
VLD        11/20/2023   B210     0.90 795.00          715.50 Calls with client on IT
                                                             manager leaving FSS
                                                             (.5); emails with FSS
                                                             and Sub V counsel on
                                                             plans to replace IT
                                                             manager (.1); call
                                                             with FSS counsel on
                                                             IT manager departure
                                                             (.3).
VLD        11/20/2023   B190     2.90   795.00       2305.50 Preparation for and
                                                             attend call with UCC,
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Texas and CT
                                                               plaintiffs, FSS, and
                                                               PQPR to discuss
                                                               settlement and related
                                                               issues (.8); calls
                                                               subsequent to call
                                                               regarding responses
                                                               to UCC and Plaintiff
                                                               intent to break
                                                               standstill on plan
                                                               filing (1.4); call with
                                                               Texas counsel on
                                                               appeal extension
                                                               request and email
                                                               Trial counsel on same
                                                               (.4); draft email
                                                               seeking briefing
                                                               extension on appeals
                                                               (.3).
VLD        11/20/2023   B320     2.90   795.00       2305.50 Analyze issues with
                                                             plan drafting,
                                                             structure, forecasting
                                                             drafts, and related
                                                             issues to plan
                                                             preparation (2.1); call
                                                             with client to discuss
                                                             plan filing issues and
                                                             next steps (.8).
VLD        11/20/2023   B160     0.40   795.00        318.00 Review and approve
                                                             real estate broker
                                                             contract for ranch.
VLD        11/20/2023   B110     1.10   795.00        874.50 Analyzing changes to
                                                             schedules.
EEW        11/20/2023   B170     0.40   295.00        118.00 Download and review
                                                             seventh, eighth and
                                                             ninth monthly fee
                                                             statements for Teneo
                                                             Capital, LLC and
                                                             docket objection
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               deadline for same.
JHY        11/20/2023   B190     0.20   285.00         57.00 Analyze and review
                                                             pro hac vice
                                                             procedures in the
                                                             Southern District of
                                                             Texas and for Judge
                                                             Eskridge.
DJM        11/20/2023   B190     2.20   310.00        682.00 Review and analyze
                                                             response brief in
                                                             opposition to motion
                                                             for interlocutory
                                                             appeal of Connecticut
                                                             and Texas order.
CWS        11/20/2023   B320     6.70   715.00       4790.50 Draft Plan of
                                                             Reorganization (6.3);
                                                             draft related
                                                             correspondence (.4).
JHY        11/21/2023   B190     0.40   285.00        114.00 Analyze and review
                                                             deficiency notices for
                                                             the two interlocutory
                                                             appeals and call the
                                                             court clerk's office
                                                             regarding the same.
DLH        11/21/2023   B320     1.60   280.00        448.00 Draft and revise Plan
                                                             research memo.
DLH        11/21/2023   B190     1.00   280.00        280.00 Perform document
                                                             review.
VLD        11/21/2023   B320     1.70   795.00       1351.50 Draft and revising
                                                             request for status
                                                             conference and
                                                             preparing for filing.
VLD        11/21/2023   B210     1.50   795.00       1192.50 Review and discuss
                                                             objection to cash
                                                             collateral use for
                                                             increased salary (.7);
                                                             review and analyze
                                                             evidence to support
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               income history for
                                                               Jones from FSS (.8).
VLD        11/21/2023   B190     1.80   795.00       1431.00 Review email from S.
                                                             Brauner regarding
                                                             call on settlement and
                                                             UCC desire to file
                                                             draft plan and seek
                                                             scheduling order for
                                                             Jones to exit BK and
                                                             discuss same (1.1);
                                                             call with S. Brauner
                                                             discussing scheduling
                                                             for plan confirmation
                                                             (.7).
VLD        11/21/2023   B320     2.20   795.00       1749.00 Analyze issues
                                                             relating to plan
                                                             drafting and progress.
EEW        11/21/2023   B185     0.70 295.00          206.50 Draft, finalize and file
                                                             W&E list for
                                                             11-27-2023 hearing.
EEW        11/21/2023   B110     3.00   295.00        885.00 Review spreadsheet
                                                             received from
                                                             BlackBriar Advisors
                                                             and draft, finalize and
                                                             file October monthly
                                                             operating report.
CWS        11/21/2023   B190     1.30   715.00        929.50 Review Court
                                                             correspondence and
                                                             draft related
                                                             correspondence.
CWS        11/21/2023   B110     1.30   715.00        929.50 Review Motion for
                                                             Status Conference
                                                             (.8); draft related
                                                             correspondence (.5).
CWS        11/21/2023   B320     1.70   715.00       1215.50 Analysis regarding
                                                             Plan and Disclosure
                                                             Statement issues.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
VLD        11/22/2023   B190     0.20   795.00        159.00 Correspondence with
                                                             Texas plaintiffs
                                                             counsel regarding
                                                             extension with tax
                                                             appeal briefing
                                                             schedules.
VLD        11/22/2023   B110     0.90   795.00        715.50 Review and analyze
                                                             amended schedules
                                                             and sofa and global
                                                             notes and prepare for
                                                             filing.
VLD        11/22/2023   B185     0.80   795.00        636.00 Preparing materials
                                                             for hearing on motion
                                                             to reject contract and
                                                             amended witness and
                                                             exhibit list.
EEW        11/22/2023   B185     1.00   295.00        295.00 Revise, finalize and
                                                             file amended W&E
                                                             for 11-27-2023
                                                             hearing (.4); procure
                                                             exhibits
                                                             corresponding to list,
                                                             label and file (.6).
EEW        11/22/2023   B185     3.00   295.00        885.00 Compile related
                                                             pleadings for hearing
                                                             notebooks and
                                                             general hearing prep
                                                             for 11-27-2023
                                                             hearing.
EEW        11/25/2023   B110     2.00   295.00        590.00 Telephone call with
                                                             R. Schleizer
                                                             regarding payment
                                                             transfers (.2); revise
                                                             third amended
                                                             schedules, statement
                                                             of financial affairs
                                                             and global notes to
                                                             reflect updates by
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               client and BlackBriar
                                                               Advisors (1.8).
DLH        11/26/2023   B195     1.70   280.00        476.00 Traveling to Houston
                                                             from Dallas. (3.5)
                                                             [Billed at half time]
DLH        11/26/2023   B185     0.50   280.00        140.00 Draft proffer
                                                             regarding the
                                                             contracts in the
                                                             motion to reject.
VLD        11/26/2023   B195     1.80   795.00       1431.00 Travel to Houston for
                                                             hearings and
                                                             deposition of R.
                                                             Schleizer (billed at
                                                             half-time 3.6).
VLD        11/26/2023   B110     1.80   795.00       1431.00 Review and analyze
                                                             pleadings in
                                                             preparation for
                                                             hearings.
EEW        11/26/2023   B110     1.40   295.00        413.00 Revise, finalize and
                                                             file schedules,
                                                             statement of financial
                                                             affairs and global
                                                             notes.
JHY        11/27/2023   B320     0.30   285.00         85.50 Review and revise
                                                             Notice of Status
                                                             Conference regarding
                                                             plan proposal.
DLH        11/27/2023   B190     3.80   280.00       1064.00 Perform document
                                                             review.
JHY        11/27/2023   B190     0.40   285.00        114.00 Review docket and
                                                             call the Court
                                                             regarding the
                                                             proposed agreed
                                                             orders extending
                                                             reply brief deadlines.
DLH        11/27/2023   B110     3.00 280.00          840.00 Attend FSS and
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Debtor hearing.
DLH        11/27/2023   B190     0.80   280.00        224.00 Draft proffer
                                                             regarding contracts
                                                             under motion to
                                                             reject.
VLD        11/27/2023   B110     1.80   795.00       1431.00 Preparation for and
                                                             attend status
                                                             conference in case
                                                             (1.1); follow up with
                                                             client after hearing to
                                                             discuss outcome and
                                                             next steps (.7).
VLD        11/27/2023   B185     2.80   795.00       2226.00 Review and analyze
                                                             motion to reject and
                                                             responses and
                                                             objections in
                                                             preparation for
                                                             hearing (.9); review
                                                             and revise proffer for
                                                             client's testimony in
                                                             support of motion to
                                                             reject (.4); review
                                                             proffer and hearing
                                                             protocol with client
                                                             (.8); attend hearing on
                                                             motion to reject
                                                             contract (.7).
VLD        11/27/2023   B320     1.50 795.00         1192.50 Initial review of UCC
                                                             draft plan.
VLD        11/27/2023   B210     2.10   795.00       1669.50 Preparation for and
                                                             attend FSS hearing on
                                                             cash collateral
                                                             hearing.
VLD        11/27/2023   B190     0.80 795.00          636.00 Meetings with FSS
                                                             and PQPR counsel
                                                             discussing settlement
                                                             potential and related
                                                             issues.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
EEW        11/27/2023   B110     0.80   295.00        236.00 Finalize and submit
                                                             proposed order
                                                             granting motion for
                                                             status conference (.2);
                                                             telephone call with
                                                             court coordinator
                                                             regarding same (.1);
                                                             draft, finalize and file
                                                             notice of status
                                                             conference for
                                                             11-27-2023 (.5).
DLH        11/28/2023   B190     2.40   280.00        672.00 Perform document
                                                             review.
DLH        11/28/2023   B190     7.50   280.00       2100.00 Attend deposition of
                                                             R. Schleizer.
JHY        11/28/2023   B240     2.50   285.00        712.50 Research and analyze
                                                             tax issues.
VLD        11/28/2023   B190     7.50   795.00       5962.50 Preparation for and
                                                             attend deposition of
                                                             R. Schleizer.
VLD        11/28/2023   B195     1.80   795.00       1431.00 Travel from Houston.
                                                             (billed at half time
                                                             3.7)
EEW        11/28/2023   B170     4.00   295.00       1180.00 Review seventh,
                                                             eighth and ninth
                                                             monthly fee
                                                             statements for Teneo
                                                             Capital for
                                                             compliance with fee
                                                             guidelines.
JHY        11/28/2023   B190     0.30 285.00           85.50 Check status of
                                                             proposed agreed
                                                             orders extending
                                                             reply briefing
                                                             deadlines in the
                                                             Connecticut and
                                                             Texas interlocutory
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               appeals.
VLD        11/28/2023   B190     0.10   795.00         79.50 Email to Dr. Jones'
                                                             counsel on need to
                                                             refund expenses due
                                                             from Trust owning
                                                             condos.
NAC        11/28/2023   B240     2.60   675.00       1755.00 Evaluate tax status
                                                             and personal property
                                                             renditions for
                                                             debt-related entity.
JHY        11/29/2023   B190     0.20   285.00         57.00 Contact the Court
                                                             regarding reply brief
                                                             extensions.
DLH        11/29/2023   B195     1.80   280.00        504.00 Travel back to Dallas
                                                             from Houston (3.7).
                                                             [Billed at half time]
JCD        11/29/2023   B190     0.10   475.00         47.50 Review of the two
                                                             court orders which
                                                             grant additional time
                                                             to file reply brief in
                                                             support of our Motion
                                                             for Leave to File
                                                             Appeal.
DLH        11/29/2023   B190     6.40   280.00       1792.00 Finishing review of
                                                             privileged documents
                                                             in anticipation of
                                                             privilege log prep.
EEW        11/29/2023   B170     3.80   295.00       1121.00 Review spreadsheet
                                                             of fee detail for the
                                                             Teneo Capital fee
                                                             statements and mark
                                                             time entries for
                                                             objection (3.0); revise
                                                             and update
                                                             spreadsheet (.8).
VLD        11/29/2023   B160     0.20   795.00        159.00 Emailing BBA on app
                                                             to employ brokers and
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               status.
VLD        11/29/2023   B320     0.60   795.00        477.00 Review and comment
                                                             to plan confirmation
                                                             scheduling order.
VLD        11/29/2023   B190     0.70   795.00        556.50 Call with PQPR
                                                             counsel on status of
                                                             adversary case and
                                                             service issues.
DLH        11/30/2023   B190     4.20   280.00       1176.00 Perform document
                                                             review.
EEW        11/30/2023   B110     2.00   295.00        590.00 Compile and circulate
                                                             all bank statements
                                                             and other requested
                                                             bank information to
                                                             trustee via fileshare.
EEW        11/30/2023   B110     0.20   295.00         59.00 Review proposed
                                                             agreed scheduling
                                                             order and circulate to
                                                             team.
VLD        11/30/2023   B190     1.10   795.00        874.50 Emails with counsel
                                                             for UCC on KJ
                                                             bankruptcy case (.2);
                                                             emails with CH 13
                                                             trustee in CH 13 case
                                                             (.2); call with FSS
                                                             counsel on CH 13
                                                             case (.4); call with
                                                             PQPR counsel on KJ
                                                             case (.3).
RJY        12/01/2023   B190     0.50   340.00        170.00 Coordinate regarding
                                                             legal strategy and
                                                             planning for reply
                                                             brief in support of
                                                             motion for leave to
                                                             file interlocutory
                                                             appeal.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
JHY        12/01/2023   B190     0.70   285.00        199.50 Analyze and review
                                                             local rules and
                                                             judge-specific rules
                                                             cross-motion
                                                             requirements for
                                                             appeals.
JCD        12/01/2023   B190     4.50   475.00       2137.50 Assist with
                                                             reviewing, editing,
                                                             and drafting of the
                                                             Reply Briefs in
                                                             support of our Motion
                                                             for Leave to Appeal,
                                                             filed in both the Texas
                                                             Plaintiffs and Conn.
                                                             Plaintiffs adversary
                                                             proceedings.
VLD        12/01/2023   B320     1.10 795.00          874.50 Review case law on
                                                             third party
                                                             injunctions.
DJM        12/01/2023   B190     7.50   310.00       2325.00 Draft reply to
                                                             Connecticut plaintiff's
                                                             response to Debtor's
                                                             motion for leave to
                                                             file interlocutory
                                                             appeal.
EEW        12/01/2023   B110     1.30   295.00        383.50 Review agreed
                                                             scheduling order for
                                                             confirmation hearing
                                                             and docket all dates
                                                             and deadlines.
EEW        12/01/2023   B110     0.20   295.00         59.00 Review email
                                                             correspondence from
                                                             Yasmine Rivera with
                                                             the US Trustee's
                                                             office regarding
                                                             quarterly fees and
                                                             forward same to
                                                             BlackBriar Advisors.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
EEW        12/01/2023   B170     1.00   295.00        295.00 Finalize fee detail
                                                             spreadsheet for Teneo
                                                             Capital and circulate
                                                             to BlackBriar
                                                             Advisors.
DJM        12/02/2023   B190    14.20   310.00       4402.00 Continue drafting
                                                             reply to Connecticut
                                                             plaintiff's response to
                                                             Debtor's motion for
                                                             leave to file
                                                             interlocutory appeal.
DLH        12/03/2023   B190     0.60   280.00        168.00 Research SD Tex and
                                                             Judge's rules
                                                             regarding motions
                                                             and responses.
DLH        12/03/2023   B190     1.70   280.00        476.00 Perform research and
                                                             analysis for reply
                                                             brief.
RJY        12/03/2023   B190     1.20   340.00        408.00 Edit draft of reply in
                                                             support of motion for
                                                             leave to file
                                                             interlocutory appeal.
JHY        12/03/2023   B190     1.50   285.00        427.50 Analyze and review
                                                             interlocutory appeals
                                                             in preparation to draft
                                                             reply to the response
                                                             to the motion for
                                                             leave to appeal
                                                             interlocutory appeals.
CWS        12/03/2023   B190     1.70   715.00       1215.50 Review and revise
                                                             Reply to CT
                                                             Response to Motion
                                                             for Leave to Appeal
                                                             (.9); draft related
                                                             correspondence (.8).
DJM        12/03/2023   B190     8.20   310.00       2542.00 Continue drafting
                                                             reply to Connecticut
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               plaintiff's response to
                                                               Debtor's motion for
                                                               leave to file
                                                               interlocutory appeal.
DJM        12/03/2023   B190     7.30   310.00       2263.00 Draft reply to Texas
                                                             plaintiff's response to
                                                             Debtor's motion for
                                                             leave to file
                                                             interlocutory appeal.
DLH        12/04/2023   B160     0.70   280.00        196.00 Gathering and
                                                             analyzing relevant
                                                             documents to draft
                                                             informal objection to
                                                             Teneo's eighth and
                                                             ninth monthly fee
                                                             statements.
RJY        12/04/2023   B190     0.90   340.00        306.00 Review final drafts of
                                                             reply on motion for
                                                             leave to file
                                                             interlocutory appeal.
CWS        12/04/2023   B190     2.50   715.00       1787.50 Review and analyze
                                                             Replies to Responses
                                                             to Motion for Leave
                                                             to Appeal (1.7);
                                                             review and respond to
                                                             related
                                                             correspondence (.8).
CWS        12/04/2023   B170     1.40   715.00       1001.00 Review and analyze
                                                             Teneo fee objections
                                                             (.9); draft related
                                                             correspondence (.5).
DJM        12/04/2023   B190     4.80   310.00       1488.00 Revise and finalize
                                                             replies to Connecticut
                                                             and Texas plaintiffs'
                                                             responses to Debtor's
                                                             motions for leave to
                                                             file interlocutory
                                                             appeal.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
JHY        12/04/2023   B190     9.40   285.00       2679.00 Research timeliness
                                                             of cross-appeal of
                                                             interlocutory appeal
                                                             (0.7); draft and revise
                                                             Texas and the
                                                             Connecticut reply
                                                             briefs (8.7).
JHY        12/04/2023   B190     0.70   285.00        199.50 Draft and revise pro
                                                             hac vice motions for
                                                             admissions of Deric J.
                                                             McClellan and Chris
                                                             Davis.
EEW        12/04/2023   B170     0.40   295.00        118.00 Final review of Teneo
                                                             fee spreadsheet and
                                                             email correspondence
                                                             to Bob Schleizer
                                                             regarding same.
EEW        12/04/2023   B190     0.80 295.00          236.00 Finalize and file AJ's
                                                             reply to plaintiffs'
                                                             response in
                                                             opposition to
                                                             defendant's motion
                                                             for leave to file
                                                             interlocutory appeal
                                                             in each adversary.
DLH        12/05/2023   B190     1.50   280.00        420.00 Perform document
                                                             review.
DLH        12/05/2023   B130     0.60   280.00        168.00 Review and edit
                                                             Motion to Employ
                                                             Broker for sale of the
                                                             lakehouse property.
DLH        12/05/2023   B320     6.50   280.00       1820.00 Research relevant
                                                             information and
                                                             drafting disclosure
                                                             statement.
JHY        12/05/2023   B190     1.40   285.00        399.00 Draft and prepare pro
                                                             hac vice motions for
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Deric J. McClellan
                                                               and Chris Davis for
                                                               admission to
                                                               respective
                                                               proceedings in the
                                                               Connecticut appeal
                                                               and the Texas appeal.
CWS        12/05/2023   B170     0.80   715.00        572.00 Review and respond
                                                             to various
                                                             correspondence
                                                             regarding fee
                                                             objections.
LGD        12/05/2023   B190     0.40   185.00         74.00 Apply pre-production
                                                             quality and coding
                                                             conflict checks.
EEW        12/05/2023   B190     1.50   295.00        442.50 Draft notice of
                                                             appearance and
                                                             suggestion of
                                                             bankruptcy for the
                                                             PQPR Holdings
                                                             adversary.
EEW        12/05/2023   B110     0.10   295.00         29.50 Download, review
                                                             notice of rate increase
                                                             filed by UCC and
                                                             circulate to team.
EEW        12/05/2023   B160     1.00 295.00          295.00 Review listing
                                                             agreement and revise
                                                             motion to employ
                                                             broker for the ranch
                                                             property (.8); prepare
                                                             redline of same and
                                                             circulate for approval
                                                             (.2).
EEW        12/05/2023   B130     0.30   295.00         88.50 Review email
                                                             correspondence from
                                                             BlackBriar Advisors
                                                             regarding storage
                                                             facility liquidation
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               and contract
                                                               regarding same.
EEW        12/05/2023   B130     1.00 295.00          295.00 Review listing
                                                             agreement and revise
                                                             motion to employ
                                                             broker for the lake
                                                             house property (.8);
                                                             prepare redline of
                                                             same and circulate for
                                                             approval (.2).
VLD        12/05/2023   B140     0.40   795.00        318.00 Review and approve
                                                             lift stay continuance
                                                             (.2); emails to TX trial
                                                             team on extension of
                                                             stay and budget
                                                             limitations. (.2)
VLD        12/05/2023   B190     2.80   795.00       2226.00 Review and revise
                                                             entry of appearance
                                                             and suggestion of BK
                                                             in FSS and PQPR
                                                             adversary (.4); review
                                                             document production.
                                                             (2.4)
VLD        12/05/2023   B160     0.60   795.00        477.00 Draft
                                                             correspondencje
                                                             regarding
                                                             employment of real
                                                             estate brokers.
VLD        12/05/2023   B170     0.20   795.00        159.00 Review notice of
                                                             increased hourly rates
                                                             from Akin.
DLH        12/06/2023   B320     6.50 280.00         1820.00 Researching relevant
                                                             information and
                                                             drafting disclosure
                                                             statement.
CWS        12/06/2023   B320     2.30   715.00       1644.50 Research and analysis
                                                             regarding plan of
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               reorganization.
DLH        12/06/2023   B190     5.60   280.00       1568.00 Perform document
                                                             review.
JHY        12/06/2023   B190     0.50 285.00          142.50 Call with the Court
                                                             and coordinate PHV
                                                             filings for Deric J.
                                                             McClellan and Chris
                                                             Davis.
EEW        12/06/2023   B190     0.60 295.00          177.00 Finalize and file
                                                             notice of appearance
                                                             and suggestion of
                                                             bankruptcy in the
                                                             PQPR Holdings
                                                             adversary.
EEW        12/06/2023   B130     0.60   295.00        177.00 Draft and file
                                                             certificate of no
                                                             objection to motion
                                                             for order authorizing
                                                             sale of personal
                                                             property (.4); finalize
                                                             and file propose order
                                                             regarding same (.2).
VLD        12/06/2023   B190     2.40   795.00       1908.00 Review and respond
                                                             to detailed emails on
                                                             follow up items
                                                             related to discovery
                                                             requests (.9); work
                                                             through issues to get
                                                             responses to
                                                             discovery items (1.3).
VLD        12/06/2023   B130     0.20   795.00        159.00    Review and revise
                                                               CNO for property
                                                               sale.
VLD        12/06/2023   B320     1.10   795.00        874.50 Call with creditors
                                                             working on plan
                                                             negotiations.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
DLH        12/07/2023   B320     3.80   280.00       1064.00 Draft disclosure
                                                             statement.
DLH        12/07/2023   B190     4.50   280.00       1260.00 Edit formatting on
                                                             privilege log.
LGD        12/07/2023   B190     1.00   185.00        185.00 Prepare supplemental
                                                             client document
                                                             production.
EEW        12/07/2023   B190     0.60 295.00          177.00 Finalize and file
                                                             motion for pro hac
                                                             vice for Chris Davis
                                                             and Deric McClellan
                                                             in both adversary
                                                             cases.
EEW        12/07/2023   B130     0.20   295.00         59.00 Review order
                                                             granting motion for
                                                             sale of property free
                                                             and clear of liens and
                                                             circulate same to
                                                             team.
LGD        12/08/2023   B190     0.20   185.00         37.00 Conference related to
                                                             privilege log
                                                             preparation and
                                                             export from Everlaw.
DLH        12/08/2023   B320     4.10   280.00       1148.00 Draft disclosure
                                                             statement.
DLH        12/08/2023   B190     3.80   280.00       1064.00 Edit formatting on
                                                             privilege log.
LGD        12/08/2023   B190     0.30   185.00         55.50 Revise supplemental
                                                             client document
                                                             production.
CWS        12/08/2023   B320     2.80 715.00         2002.00 Meeting with
                                                             financial advisor
                                                             regarding plan issues.
CWS        12/08/2023   B160     1.70   715.00       1215.50 Review and revise
                                                             billing.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
CWS        12/08/2023   B170     1.10 715.00          786.50 Meeting with
                                                             financial advisor
                                                             regarding fee
                                                             objections (.8); call
                                                             regarding same (.3).
VLD        12/08/2023   B190     3.50   795.00       2782.50 Work through
                                                             creditor terms,
                                                             settlement offers, and
                                                             plan terms for
                                                             drafting and structure.
DLH        12/09/2023   B320     1.80   280.00        504.00 Draft disclosure
                                                             statement.
DLH        12/10/2023   B320     2.50   280.00        700.00 Draft disclosure
                                                             statement.
DLH        12/11/2023   B195     3.00   280.00        840.00 Travel to Austin
                                                             (billed at half time).
DLH        12/11/2023   B320     3.10   280.00        868.00 Draft disclosure
                                                             statement.
VLD        12/11/2023   B195     1.90   795.00       1510.50 Travel from Austin to
                                                             Dallas (billed at
                                                             half-time 3.8).
VLD        12/11/2023   B190     1.50   795.00       1192.50 Calls with potential
                                                             transferees
                                                             negotiating potential
                                                             settlement and
                                                             discussing defenses
                                                             (.9); emails with
                                                             counsel for the Texas
                                                             plaintiffs regarding
                                                             suggestion of BK
                                                             filed in PQPR lawsuit
                                                             (.4); emails on
                                                             Greenleaf trust issues
                                                             raised by K. Jones
                                                             (.2).
VLD        12/11/2023   B110     0.40   795.00        318.00 Review emails on
                                                             UCC Crypto issues
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               and respond briefly.
VLD        12/11/2023   B210     0.60   795.00        477.00 Call with Whiskey
                                                             partner on issues with
                                                             margins and new
                                                             contract (.5); emails
                                                             regarding same (.1).
CWS        12/11/2023   B195     3.00   715.00       2145.00 Travel from Dallas to
                                                             Austin [6.0 billed at
                                                             half time].
EEW        12/11/2023   B160     1.80   295.00        531.00 Review compensation
                                                             order and begin
                                                             drafting second
                                                             interim fee
                                                             application of C&D.
DLH        12/12/2023   B320     8.00   280.00       2240.00 Draft disclosure
                                                             statement.
VLD        12/12/2023   B130     0.70 795.00          556.50 Emails with UCC
                                                             regarding personal
                                                             property sales and
                                                             cost (.3); discuss rates
                                                             and notices needed
                                                             for sales (.4).
VLD        12/12/2023   B320     6.80   795.00       5406.00 Analyze strategy
                                                             regarding plan terms
                                                             and meetings with
                                                             client and
                                                             constituents on plan
                                                             term options (3.2);
                                                             review and revise
                                                             plan (3.6).
VLD        12/12/2023   B210     0.40   795.00        318.00 Discussion regarding
                                                             potential marketing
                                                             deals.
CWS        12/12/2023   B320     6.40   715.00       4576.00 Attend plan working
                                                             meetings and
                                                             discussions (3.8);
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               revise plan draft (2.6).
EEW        12/12/2023   B160     2.00   295.00        590.00 Draft ninth monthly
                                                             fee statement of
                                                             BlackBriar Advisors.
EEW        12/12/2023   B130     0.60   295.00        177.00 Prepare outline of
                                                             notice procedures for
                                                             proposed sale of
                                                             personal property and
                                                             circulate to team.
EEW        12/12/2023   B160     2.00   295.00        590.00 Finalize draft of
                                                             second interim fee
                                                             application of C&D
                                                             and circulate for
                                                             approval.
DLH        12/13/2023   B195     1.90   280.00        532.00 Travel to Dallas (3.8
                                                             billed at half time).
DLH        12/13/2023   B320     8.00   280.00       2240.00 Draft disclosure
                                                             statement.
VLD        12/13/2023   B190     1.60   795.00       1272.00 Call with counsel for
                                                             potential transferee to
                                                             discuss settlement
                                                             (.9); discuss same
                                                             with client (.7).
VLD        12/13/2023   B320     5.50   795.00       4372.50 Review and revise
                                                             plan (3.7); meeting
                                                             with client explaining
                                                             and describing plan
                                                             and taking comments
                                                             to same (1.1); strategy
                                                             discussion on plan
                                                             terms with co-counsel
                                                             (.7).
VLD        12/13/2023   B195     1.90   795.00       1510.50 Travel from Austin to
                                                             Dallas (billed at
                                                             half-time 3.8).
VLD        12/13/2023   B160     0.40   795.00        318.00 Review and analyze
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               fee app filings and pro
                                                               rata sharing for
                                                               payments.
VLD        12/13/2023   B110     0.20 795.00          159.00 Call with K. Porter on
                                                             extension to
                                                             exemption objection
                                                             .2.
VLD        12/13/2023   B210     0.40   795.00        318.00 Call with Wulff on
                                                             bourbon contract and
                                                             issues with same.
CWS        12/13/2023   B320     6.10   715.00       4361.50 Draft and revise plan
                                                             of reorganization
                                                             (3.2); draft related
                                                             correspondence (1.1);
                                                             client meeting
                                                             regarding same (1.8).
CWS        12/13/2023   B195     1.90   715.00       1358.50 Travel from Austin to
                                                             Dallas [3.8 billed at
                                                             half-time].
JHY        12/13/2023   B160     1.10   285.00        313.50 Review the interim
                                                             compensation
                                                             procedures order in
                                                             preparation to draft
                                                             interim fee statements
                                                             for The Reynal Law
                                                             firm and Martin,
                                                             Disiere, Jefferson &
                                                             Wisdom LLP (0.4);
                                                             draft and revise the
                                                             same (0.7).
EEW        12/13/2023   B160     3.40   295.00       1003.00 Draft second interim
                                                             fee application of
                                                             BlackBriar Advisors.
JHY        12/14/2023   B160     1.50   285.00        427.50 Draft and revise
                                                             interim fee statements
                                                             for the Reynal Law
                                                             Firm and Martin,
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Disiere, Jefferson &
                                                               Wisdom LLP.
DLH        12/14/2023   B320     3.80   280.00       1064.00 Proofreading and
                                                             eliminating
                                                             formatting issues on
                                                             the Plan.
VLD        12/14/2023   B190     0.90   795.00        715.50 Call with counsel for
                                                             transferee on
                                                             potential settlement.
VLD        12/14/2023   B320     4.30   795.00       3418.50 Review and revise
                                                             plan and analyze
                                                             revisions needed.
                                                             (3.6); call with
                                                             committee on plan
                                                             filing. (.7)
CWS        12/14/2023   B320     5.10   715.00       3646.50 Draft and revise Plan
                                                             of Reorganization
                                                             (3.3); review and
                                                             respond to related
                                                             correspondence (1.8).
EEW        12/14/2023   B130     0.10   295.00         29.50 Email
                                                             correspondence to
                                                             BlackBriar Advisors
                                                             regarding
                                                             employment of
                                                             auctioneer.
EEW        12/14/2023   B160     0.80   295.00        236.00 Finalize draft of
                                                             motion to employ
                                                             auctioneer and
                                                             circulate for approval.
DLH        12/15/2023   B320     3.60   280.00       1008.00 Review and format
                                                             Plan.
DLH        12/15/2023   B320     4.00   280.00       1120.00 Draft disclosure
                                                             statement.
TAR        12/15/2023   B320     5.20   200.00       1040.00 Draft Table of
                                                             Contents based upon
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               analysis of the
                                                               Debtor's Plan of
                                                               Reorganization.
CWS        12/15/2023   B320     4.80   715.00       3432.00 Review and finalize
                                                             Plan of
                                                             Reorganization.
EEW        12/15/2023   B110     0.20 295.00           59.00 Review fifth
                                                             stipulation extending
                                                             motion to objection to
                                                             exemptions and
                                                             docket deadline for
                                                             same.
EEW        12/15/2023   B320     0.80 295.00          236.00 Finalize and file AJ's
                                                             plan of reorganization
                                                             (.6); review UCC"s
                                                             plan of liquidation
                                                             and circulate to team
                                                             (.2).
EEW        12/15/2023   B160     1.80   295.00        531.00 Revise, finalize and
                                                             file second interim fee
                                                             application for
                                                             BlackBriar Advisors
                                                             and serve same.
EEW        12/15/2023   B320     1.40   295.00        413.00 Review email
                                                             correspondence
                                                             regarding
                                                             opt-in-settlement for
                                                             unsecured claims and
                                                             begin working on
                                                             exhibit to plan (.4);
                                                             begin drafting motion
                                                             to seal plan exhibit
                                                             (1.0).
EEW        12/15/2023   B110     0.50   295.00        147.50 Review email
                                                             correspondence from
                                                             US Trustee's office
                                                             regarding remaining
                                                             bank statements and
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               accounts needed (.1);
                                                               compare with bank
                                                               statements previously
                                                               sent to their office
                                                               (.4).
EEW        12/15/2023   B110     0.60   295.00        177.00 Electronic case filing
                                                             management.
VLD        12/15/2023   B110     0.40   795.00        318.00 Review and approve
                                                             exemption deadline
                                                             extension.
VLD        12/15/2023   B320     4.60   795.00       3657.00 Review and revise
                                                             plan and prepare for
                                                             filing (2.7); calls and
                                                             emails with various
                                                             constituencies on
                                                             comments and
                                                             finalizing plan for
                                                             filing (1.9).
DLH        12/16/2023   B320     2.00   280.00        560.00 Draft disclosure
                                                             statement.
DLH        12/17/2023   B320     4.70   280.00       1316.00 Draft disclosure
                                                             statement.
DLH        12/18/2023   B320     4.80   280.00       1344.00 Edit initial draft of
                                                             disclosure statement.
DLH        12/18/2023   B320     5.20   280.00       1456.00 Draft confirmation
                                                             order.
DLH        12/18/2023   B160     0.80   280.00        224.00 Edit Motion to
                                                             Employ Broker for
                                                             Ranch property.
JHY        12/18/2023   B160     3.70   285.00       1054.50 Draft and revise
                                                             consolidated interim
                                                             fee statements for
                                                             Martin, Disiere,
                                                             Jefferson & Wisdom
                                                             LLP and proposed
                                                             order granting the
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               same.
JHY        12/18/2023   B160     3.20   285.00        912.00 Draft and revise
                                                             consolidated interim
                                                             fee statements for The
                                                             Reynal Law Firm and
                                                             proposed order
                                                             granting the same.
EEW        12/18/2023   B320     0.40   295.00        118.00 Review draft
                                                             disclosure statement
                                                             and prepare list of
                                                             exhibits (.3); circulate
                                                             same to team (.1).
EEW        12/18/2023   B110     2.00   295.00        590.00 Review spreadsheet
                                                             received from
                                                             BlackBriar Advisors
                                                             and draft October
                                                             monthly operating
                                                             report.
VLD        12/18/2023   B160     0.40   795.00        318.00 Emails on retainers
                                                             and issues on Martin
                                                             and Reynal fee
                                                             statements.
VLD        12/18/2023   B210     1.40   795.00       1113.00 Revise employment
                                                             agreement.
VLD        12/18/2023   B190     1.30 795.00         1033.50 Emails with UCC on
                                                             open discovery
                                                             requests and related
                                                             information requests.
VLD        12/18/2023   B320     3.20   795.00       2544.00 Disclosure Statement
                                                             drafting (1.7); calls
                                                             with claimants
                                                             seeking input on plan
                                                             and terms for
                                                             potential settlement
                                                             (.9); responding to
                                                             emails from UCC on
                                                             plan clarifications
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               (.4); reviewing plan
                                                               and start amendments
                                                               to address issues (.6).
DLH        12/19/2023   B160     0.50   280.00        140.00 Edit Motion to
                                                             Employ Broker for
                                                             sale of Ranch
                                                             property.
DLH        12/19/2023   B320     3.90   280.00       1092.00 Edit Disclosure
                                                             Statement.
CWS        12/19/2023   B160     5.90   715.00       4218.50 Review and revise
                                                             October and
                                                             November billing
                                                             (4.8); draft related
                                                             correspondence (1.1).
DJM        12/19/2023   B320     1.50 310.00          465.00 Draft section
                                                             discussing
                                                             Connecticut
                                                             adversary action for
                                                             disclosure filing.
EEW        12/19/2023   B110     0.60 295.00          177.00 Finalize and file
                                                             October monthly
                                                             operating report.
VLD        12/19/2023   B320     5.10   795.00       4054.50 Edit Disclosure
                                                             Statement (4.3);
                                                             working on
                                                             liquidation analysis.
                                                             (.8)
DLH        12/20/2023   B320     1.10   280.00        308.00 Call with FA and
                                                             other attorneys
                                                             regarding disclosure
                                                             statement edits.
DLH        12/20/2023   B130     1.10   280.00        308.00 Edit the Motion to
                                                             Employ Auctioneer to
                                                             Sell Contents of
                                                             Storage Units.
DLH        12/20/2023   B320     7.00   280.00       1960.00 Edit Disclosure
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Statement.
DLH        12/20/2023   B310     1.50   280.00        420.00 Review UCC's Plan
                                                             for potential
                                                             objections.
DLH        12/20/2023   B310     3.00   280.00        840.00 Draft objections to
                                                             Creditors' Plan.
CWS        12/20/2023   B320     5.10   715.00       3646.50 Review and revise
                                                             Disclosure Statement
                                                             (3.3); calls and
                                                             correspondence
                                                             regarding same (1.8).
DJM        12/20/2023   B320     0.50 310.00          155.00 Draft section
                                                             discussing Texas
                                                             adversary action for
                                                             disclosure filing.
EEW        12/20/2023   B160     0.60   295.00        177.00 Finalize and file first
                                                             monthly fee statement
                                                             of the Reynal Law
                                                             Firm, P.C. and serve
                                                             same.
VLD        12/20/2023   B210     0.80   795.00        636.00 Email seeking
                                                             clarification on
                                                             employment
                                                             agreement term from
                                                             employment counsel
                                                             (.4); revise contract
                                                             regarding same. (.4)
VLD        12/20/2023   B320     4.60   795.00       3657.00 Internal call working
                                                             through group
                                                             comments and
                                                             questions on
                                                             Disclosre Statement
                                                             draft (1.3); Call with
                                                             claimants on points
                                                             and issues (.7); call
                                                             with subV Trustee
                                                             counsel on status (.8);
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               review and revise
                                                               Disclosure Statement
                                                               and preparing for
                                                               filing (1.8).
DLH        12/21/2023   B320     3.80   280.00       1064.00 Edit disclosure
                                                             statement.
DLH        12/21/2023   B310     2.00   280.00        560.00 Draft objections to
                                                             Creditors' Plan.
CWS        12/21/2023   B320     5.30   715.00       3789.50 Review and revise
                                                             Disclosure Statement
                                                             (2.3); draft related
                                                             correspondence (1.8);
                                                             calls regarding same
                                                             (1.2).
DJM        12/21/2023   B320     1.20 310.00          372.00 Draft section
                                                             discussing Texas
                                                             adversary action for
                                                             disclosure filing.
EEW        12/21/2023   B320     0.60 295.00          177.00 Finalize and file
                                                             proposed Disclosure
                                                             Statement.
EEW        12/21/2023   B160     0.60 295.00          177.00 Finalize and file
                                                             employment
                                                             application for Davis
                                                             Auctioneers and serve
                                                             via email to notice
                                                             parties.
EEW        12/21/2023   B160     0.60 295.00          177.00 Finalize and file
                                                             employment
                                                             application for Keller
                                                             Williams Realty and
                                                             serve via email to
                                                             notice parties.
EEW        12/21/2023   B160     0.80 295.00          236.00 Finalize and file tenth
                                                             monthly fee statement
                                                             of C&D and serve via
                                                             email to notice
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               parties.
VLD        12/21/2023   B110     0.40   795.00        318.00 Correspondence
                                                             regarding seal
                                                             schedules; (.2)
                                                             correspond with UCC
                                                             on same (.2).
VLD        12/21/2023   B320     3.20   795.00       2544.00 Working on
                                                             Disclosure Statement
                                                             and plan issues.
DLH        12/22/2023   B320     4.40   280.00       1232.00 Perform research
                                                             related to UCC Plan
                                                             objections.
DLH        12/22/2023   B320     3.00   280.00        840.00 Draft objections to
                                                             Creditors' Plan.
DLH        12/26/2023   B320     0.50 280.00          140.00 Call regarding UCC
                                                             plan objections.
DLH        12/26/2023   B320     2.00   280.00        560.00 Draft objections to
                                                             Creditors' Plan.
DLH        12/26/2023   B320     3.40   280.00        952.00 Research related to
                                                             UCC Plan objections.
VLD        12/26/2023   B210     1.00 795.00          795.00 Emails with FSS
                                                             counsel on setting
                                                             employment motion.
JHY        12/27/2023   B320     2.80   285.00        798.00 Research plan issues
                                                             regarding class
                                                             treatment.
DLH        12/27/2023   B320     3.50   280.00        980.00 Research related to
                                                             UCC Plan objections.
DLH        12/27/2023   B320     4.60   280.00       1288.00 Draft objections to
                                                             Creditors' Plan.
CWS        12/27/2023   B320     0.80   715.00        572.00 Draft correspondence
                                                             regarding plan
                                                             research issues.
JHY        12/27/2023   B230     1.50   285.00        427.50 Analyze and review
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Youngevity
                                                               document production
                                                               and responses in
                                                               preparation for
                                                               analysis (1.0); draft
                                                               email analysis
                                                               regarding Youngevity
                                                               document production
                                                               and objections (.5).
DLH        12/28/2023   B320     2.80   280.00        784.00 Edit objections to
                                                             Creditors' Plan.
DLH        12/28/2023   B320     0.50   280.00        140.00 Discuss objections to
                                                             UCC Plan.
DLH        12/28/2023   B160     0.20   280.00         56.00 Email financial
                                                             advisor about
                                                             property sale motions.
DLH        12/28/2023   B320     3.50   280.00        980.00 Research related to
                                                             UCC Plan objections.
CWS        12/28/2023   B320     5.20   715.00       3718.00 Review and analyze
                                                             plan research (1.8);
                                                             review and analyze
                                                             UCC Plan (2.2); call
                                                             and correspondence
                                                             regarding same (.9);
                                                             review plan
                                                             objections (1.3).
CWS        12/28/2023   B170     1.30   715.00        929.50 Call and
                                                             correspondence with
                                                             financial advisor
                                                             regarding fee
                                                             objections.
DLH        12/29/2023   B320     3.10   280.00        868.00 Research governing
                                                             case law authorities
                                                             on ability of debtor
                                                             with
                                                             non-dischargeable
                                                             debt to include broad,
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               permanent plan
                                                               injunction.
DLH        12/29/2023   B320     2.50   280.00        700.00 Perform research
                                                             related to UCC Plan
                                                             objections.
DLH        12/29/2023   B320     2.80   280.00        784.00 Edit objections to
                                                             Creditors' Plan.
CWS        12/29/2023   B170     1.40   715.00       1001.00 Call and
                                                             correspondence
                                                             regarding objections
                                                             to UCC professional
                                                             fees.
VLD        12/29/2023   B140     1.30   795.00       1033.50 Review and analyze
                                                             email from IRS on
                                                             refunds and status of
                                                             IRS (.6); respond to
                                                             same (.4); call with
                                                             FA regarding same.
                                                             (.3)
DLH        12/30/2023   B320     5.10   280.00       1428.00 Perform and analyze
                                                             Plan research.
DLH        12/31/2023   B320     3.30   280.00        924.00 Perform and analyze
                                                             Plan research.
DLH        01/01/2024   B320     0.80   315.00        252.00 Edit objections to
                                                             Creditors' Plan.
DLH        01/01/2024   B320     3.90   315.00       1228.50 Research governing
                                                             case law authorities
                                                             on plan issues and
                                                             draft accompanying
                                                             memo.
DLH        01/01/2024   B320     2.50   315.00        787.50 Research and analyze
                                                             federal case law
                                                             governing differential
                                                             treatment of classes.
EEW        01/01/2024   B160     1.20   295.00        354.00 Review and revise
                                                             application to employ
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Century 21 The Hills
                                                               Realty and circulate
                                                               for approval.
DLH        01/02/2024   B320     4.40   315.00       1386.00 Research and analyze
                                                             case law authorities
                                                             governing class
                                                             structure for plan.
DLH        01/02/2024   B320     3.40   315.00       1071.00 Edit memo detailing
                                                             ability of Debtor to
                                                             include broad,
                                                             temporary injunction
                                                             in plan.
DLH        01/02/2024   B320     3.80   315.00       1197.00 Research and analyze
                                                             federal case law
                                                             governing differential
                                                             treatment of classes.
EEW        01/02/2024   B110     1.10   295.00        324.50 Review Crowe &
                                                             Dunlevy's application
                                                             to employ and draft
                                                             notice of firm's billing
                                                             rate increase.
EEW        01/02/2024   B160     0.40   295.00        118.00 Review email
                                                             correspondence from
                                                             the UCC with notice
                                                             of their informal
                                                             objection to the fees
                                                             sought by The Reynal
                                                             Law Firm in
                                                             connection with their
                                                             first monthly fee
                                                             application.
CWS        01/02/2024   B320     3.20   845.00       2704.00 Review and respond
                                                             to correspondence
                                                             regarding plan
                                                             injunction issues
                                                             (1.1); perform and
                                                             analyze research
                                                             regarding same (2.1).
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Attorney      Date      Task   Hours    Rate     Bill Amount     Description of
                                                               Services Rendered
CWS        01/02/2024   B160     0.80   845.00        676.00 Draft and review
                                                             correspondence
                                                             regarding notice of
                                                             rate increases.
CWS        01/02/2024   B160     0.80   845.00        676.00 Review and respond
                                                             to correspondence
                                                             regarding informal
                                                             fee objections.
DLH        01/03/2024   B190     0.90   315.00        283.50 Redact and reformat
                                                             privilege log.
DLH        01/03/2024   B320     2.10   315.00        661.50 Research and analyze
                                                             governing Texas case
                                                             law authorities
                                                             regarding privilege
                                                             issues.
DLH        01/03/2024   B320     3.80   315.00       1197.00 Research and analyze
                                                             federal case law
                                                             governing differential
                                                             treatment of classes.
DLH        01/03/2024   B320     1.90   315.00        598.50 Research and analyze
                                                             plan issues.
EEW        01/03/2024   B160     0.80   295.00        236.00 Draft supplemental
                                                             declaration to notice
                                                             of firm billing rate
                                                             increase in
                                                             accordance with
                                                             Crowe & Dunlevy's
                                                             employment
                                                             application order.
EEW        01/03/2024   B160     0.30   295.00         88.50 Email
                                                             correspondence to
                                                             BlackBriar Advisors
                                                             regarding motion to
                                                             employ Century 21
                                                             The Hills Realty.
EEW        01/03/2024   B190     0.10   295.00         29.50 Telephone call to
                                                             Dagmara Krasa
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               regarding deposition
                                                               transcript of Robert
                                                               Schleizer.
CWS        01/03/2024   B320     3.50   845.00       2957.50 Review Plan issues
                                                             (1.8); draft research
                                                             notes (1.7).
DLH        01/04/2024   B320     1.20   315.00        378.00 Read and make
                                                             comments on UCC's
                                                             plan discovery
                                                             requests.
DLH        01/04/2024   B190     0.90   315.00        283.50 Research and analyze
                                                             federal law governing
                                                             requirement of
                                                             individual to attest to
                                                             ROG absent firsthand
                                                             knowledge.
DLH        01/04/2024   B320     0.60   315.00        189.00 Call to discuss prior
                                                             call with Creditor
                                                             Committee over plan
                                                             objections and path
                                                             forward.
DLH        01/04/2024   B320     1.00   315.00        315.00 Call with Creditor
                                                             Committee over plan
                                                             objections and path
                                                             forward.
DLH        01/04/2024   B320     2.50   315.00        787.50 Research and analyze
                                                             case law authorities
                                                             governing ability of
                                                             creditors to force
                                                             terms of employment
                                                             of individual Debtor.
DLH        01/04/2024   B320     0.40   315.00        126.00 Call regarding plan
                                                             research issues.
DLH        01/04/2024   B190     0.80   315.00        252.00 Redact and reformat
                                                             privilege log.
VLD        01/04/2024   B190     0.20   875.00        175.00 Emails with D. Jones
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               counsel on settlement
                                                               negotiations.
VLD        01/04/2024   B320     1.50 875.00         1312.50 Calls with plan
                                                             constituents regarding
                                                             global plan settlement
                                                             issues (.9); begin
                                                             objections to plan
                                                             discovery requests
                                                             (.6).
VLD        01/04/2024   B140     0.50   875.00        437.50 Review email from
                                                             Public Storage
                                                             counsel on lift stay to
                                                             liquidate contents and
                                                             briefly respond to
                                                             same (.3); emails to
                                                             FA seeking
                                                             clarification on which
                                                             units these are and
                                                             why payments
                                                             stopped (.2).
VLD        01/04/2024   B230     0.20   875.00        175.00 Emails on gun sale
                                                             terms.
EEW        01/04/2024   B190     0.30   295.00         88.50 Review joint
                                                             interrogatories and
                                                             document requests to
                                                             Alex Jones and
                                                             docket deadline for
                                                             same.
CWS        01/04/2024   B320     3.80   845.00       3211.00 Perform and analyze
                                                             Plan research.
DLH        01/05/2024   B320     3.00 315.00          945.00 Research plan issues.
DLH        01/05/2024   B320     2.50   315.00        787.50 Research and analyze
                                                             case law authorities
                                                             governing ability of
                                                             creditors to force
                                                             terms of employment
                                                             of individual Debtor.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
VLD        01/05/2024   B160     0.60   875.00        525.00 Email Lit counsel
                                                             regarding objections
                                                             by UCC regarding use
                                                             of estate assets to pay
                                                             fees defending
                                                             actions they view as
                                                             not benefiting the
                                                             estate and clarify
                                                             same.
VLD        01/05/2024   B140     0.80 875.00          700.00 Emails with FA on
                                                             public storage request
                                                             for lift stay (.3);
                                                             emails regarding lack
                                                             of auto pay and desire
                                                             to empty and liquidate
                                                             (.2); emails with
                                                             creditor's counsel
                                                             regarding the same
                                                             (.3).
CWS        01/05/2024   B320     3.10   845.00       2619.50 Perform and analyze
                                                             Plan research.
DLH        01/06/2024   B190     1.00   315.00        315.00 Draft memo detailing
                                                             a responding party's
                                                             duty to answer
                                                             requests for facts
                                                             outside his personal
                                                             knowledge under
                                                             Federal Rule of Civil
                                                             Procedure 36(a).
DLH        01/06/2024   B320     2.40   315.00        756.00 Perform and analyze
                                                             plan research.
DLH        01/07/2024   B320     6.20   315.00       1953.00 Perform and analyze
                                                             plan research.
JHY        01/08/2024   B160     0.20   320.00         64.00 Analyze and review
                                                             the Reynal Law
                                                             Firm's application for
                                                             employment and
                                                             retainer agreement in
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               response to inquiry
                                                               from the Reynal Law
                                                               Firm.
DLH        01/08/2024   B320     2.40   315.00        756.00 Read and take notes
                                                             on UCC's Proposed
                                                             Disclosure Statement.
DLH        01/08/2024   B320     9.00   315.00       2835.00 Draft Debtor's
                                                             discovery requests
                                                             from creditors and
                                                             Committee related to
                                                             plan.
VLD        01/08/2024   B320     1.40   875.00       1225.00 Analyze discovery
                                                             needed from UCC
                                                             and plan proponents
                                                             of competing plan
                                                             (1.2); emails with
                                                             UCC setting
                                                             Disclosure Statement
                                                             hearing Jan 24 (.2).
VLD        01/08/2024   B160     0.20 875.00          175.00 Emails with A.
                                                             Reynal on retainer
                                                             source.
EEW        01/08/2024   B320     0.30   295.00         88.50 Review UCC's notice
                                                             of filing revised plan
                                                             and proposed
                                                             disclosure statement
                                                             and circulate to team.
EEW        01/08/2024   B160     0.30   295.00         88.50 Telephone call to
                                                             Chris Martin's office
                                                             regarding approval of
                                                             first monthly fee
                                                             statement and resend
                                                             draft of same.
CWS        01/08/2024   B320     3.60   845.00       3042.00 Review and analyze
                                                             plan research.
DLH        01/09/2024   B190     2.20   315.00        693.00 Final review of
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               privilege log.
DLH        01/09/2024   B320     5.50   315.00       1732.50 Draft memo on
                                                             treatment analysis of
                                                             current plan.
DLH        01/09/2024   B320     2.30   315.00        724.50 Edit and finalize plan
                                                             discovery
                                                             interrogatories and
                                                             requests for
                                                             production.
VLD        01/09/2024   B320     3.00   875.00       2625.00 Review and revise
                                                             discovery for UCC,
                                                             TX and CT and serve
                                                             same (2.1); call with
                                                             claimants on plan and
                                                             global settlement
                                                             negotiations (.9).
EEW        01/09/2024   B190     0.20   295.00         59.00 Review deposition
                                                             transcript of Robert
                                                             Schleizer received
                                                             from UCC, download
                                                             and circulate to team.
EEW        01/09/2024   B110     0.10 295.00           29.50 Review ECF and
                                                             docket status
                                                             conference date and
                                                             time received from
                                                             the court.
EEW        01/09/2024   B160     1.60   295.00        472.00 Review invoices for
                                                             May 16, 2023 through
                                                             December, 2023
                                                             along with previous
                                                             fee statements for
                                                             each month (.4); draft
                                                             second interim fee
                                                             application for Crowe
                                                             & Dunlevy (1.2).
EEW        01/09/2024   B110     0.60   295.00        177.00 Electronic case file
                                                             management -
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               transcripts.
CWS        01/09/2024   B110     1.30   845.00       1098.50 Meeting regarding
                                                             various case matters.
CWS        01/09/2024   B320     3.60   845.00       3042.00 Review and comment
                                                             on Plan discovery
                                                             requests (1.3); review
                                                             and analyze Plan
                                                             research (2.3).
JHY        01/10/2024   B120     0.40   320.00        128.00 Analyze Youngevity's
                                                             document production
                                                             and response to Rule
                                                             2004 examination in
                                                             preparation for email
                                                             and call with
                                                             Youngevity's counsel
                                                             (0.2); email
                                                             Youngevity's counsel
                                                             regarding its
                                                             document production
                                                             and response to Rule
                                                             2004 examination
                                                             (0.2).
DLH        01/10/2024   B195     1.10   315.00        346.50 Travel to Austin
                                                             (from Waco) [Billed
                                                             at half time - 2.3
                                                             hours].
VLD        01/10/2024   B195     1.50   875.00       1312.50 Travel To Austin
                                                             [Billed at half time -
                                                             3.0 hours].
VLD        01/10/2024   B320     4.40   875.00       3850.00 Call with L. Freeman
                                                             about status of
                                                             negotiations on plan
                                                             and Disclosure
                                                             Statement (.6);
                                                             meeting with client
                                                             walking through all
                                                             plan changes and
                                                             comments to same
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               (1.4); reviewing and
                                                               revising plan terms
                                                               per comments from
                                                               constituents (2.4).
VLD        01/10/2024   B190     1.80 875.00         1575.00 Emails to UCC
                                                             attempting to
                                                             schedule call on
                                                             crypto with IT
                                                             personnel and
                                                             reminding UCC
                                                             crypto interrogatories
                                                             cannot be answered
                                                             due to termination of
                                                             B. Stidham (.3);
                                                             producing demand for
                                                             payment to Dr. Jones
                                                             (.4); working on
                                                             responding to
                                                             consolidated email
                                                             with outstanding
                                                             requests for
                                                             information and
                                                             documents as well as
                                                             clarification on assets
                                                             (1.1).
EEW        01/10/2024   B160     0.80   295.00        236.00 Finalize and file first
                                                             monthly fee statement
                                                             for Chris Martin's
                                                             office (.3); serve via
                                                             email to all notice
                                                             parties (.1); docket
                                                             objection deadline for
                                                             same (.1).
EEW        01/10/2024   B110     0.20   295.00         59.00 Review pleadings
                                                             filed in state court and
                                                             circulate Order on
                                                             Plaintiff's Motion for
                                                             Sanctions for False
                                                             Pleadings.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
EEW        01/10/2024   B160     0.40 295.00          118.00 Revise second interim
                                                             fee application for
                                                             Crowe & Dunlevy.
EEW        01/10/2024   B160     0.60   295.00        177.00 Revise declaration of
                                                             Vickie L. Driver to
                                                             application to employ
                                                             to Crowe & Dunlevy
                                                             to attach with notice
                                                             of increased firm
                                                             billing rates.
CWS        01/10/2024   B320     6.90   845.00       5830.50 Draft multiple
                                                             revisions to Plan
                                                             (5.7); review and
                                                             analyze comments to
                                                             same (1.2).
DLH        01/11/2024   B320     2.60   315.00        819.00 Adapt conditional
                                                             disclosure statement
                                                             motion for the
                                                             Debtor.
DLH        01/11/2024   B320     5.90   315.00       1858.50 Draft disclosure
                                                             statement objections.
LGD        01/11/2024   B190     0.30   195.00         58.50 Prepare supplemental
                                                             client document
                                                             production.
VLD        01/11/2024   B320     6.60   875.00       5775.00 Meetings with client
                                                             on plan revisions
                                                             (1.5); review and
                                                             revise the plan (1.1);
                                                             sending email to
                                                             common interest
                                                             parties for input and
                                                             comment to plan (.2);
                                                             analyzing trusts for
                                                             Disclosure Statement
                                                             (1.4); review motion
                                                             to conditionally
                                                             approve Disclosure
                                                             Statement and email
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               regarding same (.7);
                                                               meeting discussing
                                                               global settlement with
                                                               parties (1.7).
VLD        01/11/2024   B210     0.20   875.00        175.00 Email to UCC
                                                             regarding motion to
                                                             approve employment
                                                             agreement setting.
VLD        01/11/2024   B160     0.20   875.00        175.00 Review and respond
                                                             to email from
                                                             litigation counsel on
                                                             splitting fees and way
                                                             to represent in fee
                                                             application.
EEW        01/11/2024   B190     0.40   295.00        118.00 Review condo
                                                             charges through
                                                             1-10-23 and property
                                                             tax payments (.2);
                                                             coordinate production
                                                             of condo charges (.2).
CWS        01/11/2024   B320     5.90   845.00       4985.50 Draft and revise Plan
                                                             (2.3); draft related
                                                             correspondence (.8);
                                                             revise Disclosure
                                                             Statement (2.8).
DLH        01/12/2024   B195     1.80   315.00        567.00 Travel from Austin to
                                                             Dallas [Billed at half
                                                             time - 3.7 hours].
DLH        01/12/2024   B320     1.40   315.00        441.00 Edit and finalize draft
                                                             of objections to
                                                             disclosure statement.
DLH        01/12/2024   B320     2.80   315.00        882.00 Final edits to four
                                                             memos on various
                                                             anticipated contested
                                                             plan issues.
VLD        01/12/2024   B195     1.50   875.00       1312.50 Travel from Austin
                                                             [Billed at half time -
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               3.0 hours].
VLD        01/12/2024   B320     1.60   875.00       1400.00 Analyze and discuss
                                                             plan confirmation and
                                                             preparation issues.
CWS        01/12/2024   B110     0.40   845.00        338.00 Review and revise
                                                             Certificate of Notice.
CWS        01/12/2024   B320     6.10   845.00       5154.50 Draft and revise
                                                             conditional disclosure
                                                             statement motion and
                                                             supporting documents
                                                             (2.8); review and
                                                             analyze plan research
                                                             (3.3).
VLD        01/13/2024   B320     1.30   875.00       1137.50 Correspondence
                                                             regarding meeting
                                                             logistics and travel
                                                             (.3); emails with
                                                             potential expert on
                                                             confirmation issues
                                                             (1.0).
VLD        01/13/2024   B230     0.20   875.00        175.00 Establish escrow
                                                             account with proper
                                                             parameters.
CWS        01/13/2024   B320     2.50   845.00       2112.50 Draft Amended
                                                             Disclosure Statement
                                                             (2.2); draft related
                                                             correspondence (.3).
VLD        01/15/2024   B320     4.20   875.00       3675.00 Conference with FAs
                                                             on liquidation
                                                             analysis (1.1); emails
                                                             and calls following up
                                                             on same (.8); call with
                                                             potential expert for
                                                             confirmation issues
                                                             (.8); review and
                                                             analyze Disclosure
                                                             Statement filed by
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               UCC (1.5).
VLD        01/15/2024   B230     0.30 875.00          262.50 Emails with FA and
                                                             UCC on sale of guns
                                                             and broker terms.
EEW        01/15/2024   B320     1.30   295.00        383.50 Revise, finalize and
                                                             file emergency
                                                             motion for entry of
                                                             order approving
                                                             disclosure statement
                                                             on a conditional basis
                                                             and solicitation
                                                             procedures (.5); email
                                                             correspondence to the
                                                             court case
                                                             administrator
                                                             regarding emergency
                                                             motion (.1); draft and
                                                             file notice of status
                                                             conference (.6);
                                                             docket status
                                                             conference date (.1).
CWS        01/15/2024   B320     6.50   845.00       5492.50 Draft conditional
                                                             Disclosure Statement
                                                             approval motion
                                                             (2.8); draft and revise
                                                             ballots (2.1); draft and
                                                             revise proposed order
                                                             (1.6).
VLD        01/16/2024   B230     0.40   875.00        350.00 Attend to issues with
                                                             escrow account for
                                                             depositing sale
                                                             proceeds.
VLD        01/16/2024   B110     1.80   875.00       1575.00 Clarifying values of
                                                             assets and ownership
                                                             of IP in preparation
                                                             for Amending
                                                             schedules (1.2);
                                                             analyze gun
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               ownership and
                                                               amendments needed
                                                               to schedule regarding
                                                               same (.6).
VLD        01/16/2024   B160     0.80   875.00        700.00 Review and revise
                                                             rate increase and
                                                             supplemental
                                                             declaration regarding
                                                             same.
VLD        01/16/2024   B320     7.70   875.00       6737.50 Review and revise
                                                             motion to
                                                             conditionally approve
                                                             Disclosure Statement
                                                             and prepare for filing
                                                             with exhibits (1.1);
                                                             review and analyze
                                                             UCC Disclosure
                                                             Statement and
                                                             objections to same
                                                             (2.6); calls with client
                                                             regarding assets listed
                                                             in UCC Disclosure
                                                             Statement and
                                                             disposition of same
                                                             (.6); review and
                                                             analyze assets,
                                                             schedules, and UCC
                                                             Disclosure Statement
                                                             exhibit (1.2);
                                                             preparation for and
                                                             attend status
                                                             conference on plan
                                                             and Disclosure
                                                             Statement scheduling
                                                             (1.0); discussion with
                                                             creditors on plan
                                                             negotiations and
                                                             settlement
                                                             discussions (.7);
                                                             review and send
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               liquidation analysis to
                                                               UCC (.2); message
                                                               for potential expert
                                                               for confirmation
                                                               issues (.2).
CMR        01/16/2024   B320     3.50   595.00       2082.50 Review, analysis and
                                                             comparison of AJ
                                                             Plans proposed by
                                                             Debtor and Creditors.
CMR        01/16/2024   B320     3.50   595.00       2082.50 Review, analysis and
                                                             comparison of AJ
                                                             Disclosure
                                                             Statements proposed
                                                             by Debtor and
                                                             Creditors.
EEW        01/16/2024   B160     0.60 295.00          177.00 Finalize and file
                                                             Crowe & Dunlevy's
                                                             notice of billing rate
                                                             increase.
EEW        01/16/2024   B320     0.60 295.00          177.00 Draft, finalize and file
                                                             notice of hearing for
                                                             01-24-2024 hearing
                                                             (.5); docket hearing
                                                             date for same (.1).
CWS        01/16/2024   B320     9.00   845.00       7605.00 Draft objection to
                                                             UCC Disclosure
                                                             Statement (3.8);
                                                             review and revise
                                                             Disclosure Statement
                                                             (4.4); review and
                                                             respond to related
                                                             correspondence (.8).
VLD        01/17/2024   B190     0.30   875.00        262.50 Review documents
                                                             from UCC email on
                                                             assets not on
                                                             schedules.
VLD        01/17/2024   B320     3.30   875.00       2887.50 Calls with potential
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               experts for
                                                               confirmation issues
                                                               (.9); discuss same
                                                               with FA (.4); discuss
                                                               plan modification
                                                               potential for impact to
                                                               financial projections
                                                               and liquidation
                                                               analysis (.9); email to
                                                               UCC on additional
                                                               assets and
                                                               amendments coming
                                                               regarding same (.3);
                                                               review CT Plaintiff
                                                               email on 3018 voting
                                                               and respond to same
                                                               (.4).
CMR        01/17/2024   B320     5.50   595.00       3272.50 Design and draft
                                                             illustrative exhibits.
EEW        01/17/2024   B190     0.50   295.00        147.50 Everlaw content
                                                             search for assets
                                                             identified by the
                                                             UCC.
EEW        01/17/2024   B110     0.20   295.00         59.00 Review 4th qtr UST
                                                             statement and fees
                                                             and circulate to
                                                             BlackBriar Advisors.
CWS        01/17/2024   B320     7.80   845.00       6591.00 Call with creditors
                                                             (1.1); draft amended
                                                             objection to UCC
                                                             disclosure statement
                                                             (.6); draft and revise
                                                             Plan and Disclosure
                                                             Statement (3.3);
                                                             review and analyze
                                                             plan research (2.8).
VLD        01/18/2024   B195     2.50   875.00       2187.50 Travel to and from
                                                             Houston [Billed at
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               half time - 5.0 hours].
VLD        01/18/2024   B320     4.70   875.00       4112.50 Meetings regarding
                                                             plan and Disclosure
                                                             Statement
                                                             amendments and
                                                             potential global
                                                             resolution to plan
                                                             issues (4.2); call from
                                                             client on status of
                                                             plan (.5).
CMR        01/18/2024   B320     2.00   595.00       1190.00 Perform research
                                                             relating to Plan
                                                             confirmation and
                                                             objections.
EEW        01/18/2024   B320     1.00   295.00        295.00 Prepare chart
                                                             breaking out
                                                             compensatory and
                                                             punitive damages for
                                                             Connecticut
                                                             plaintiffs.
CWS        01/18/2024   B320     6.50   845.00       5492.50 Address Disclosure
                                                             Statement objection
                                                             issues (1.8); calls and
                                                             correspondence
                                                             regarding same (1.6);
                                                             draft correspondence
                                                             regarding claims (.3);
                                                             meeting and
                                                             correspondence
                                                             regarding plan
                                                             research and issues
                                                             (2.8).
JHY        01/19/2024   B120     0.30   320.00         96.00 Email Youngevity's
                                                             counsel regarding
                                                             meet and confer on
                                                             the Youngevity Rule
                                                             2004 document
                                                             production, response,
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               and objections.
JHY        01/19/2024   B320     0.80   320.00        256.00 Analyze and review
                                                             discovery strategy to
                                                             obtain supporting
                                                             information regarding
                                                             Unsecured Creditors
                                                             Committee's plan.
VLD        01/19/2024   B210     0.80   875.00        700.00 Emails and calls on
                                                             unauthorized use of
                                                             name and likeness on
                                                             social media issues.
VLD        01/19/2024   B320     3.80   875.00       3325.00 Call with CT
                                                             Plaintiffs regarding
                                                             settlement (.9); call
                                                             with FA regarding
                                                             same (.3); call with
                                                             Sub V Trustee
                                                             regarding same (.5);
                                                             analyze plan and
                                                             Disclosure Statement
                                                             issues, revisions,
                                                             comments to plan
                                                             timing, and
                                                             outstanding issues
                                                             (2.1).
VLD        01/19/2024   B190     0.80   875.00        700.00 Call with counsel for
                                                             Dr. Jones on
                                                             settlement of
                                                             avoidance actions.
CMR        01/19/2024   B320     0.80   595.00        476.00 Conference with CT
                                                             Plaintiffs' counsel
                                                             regarding Plans.
TAM        01/19/2024   B210     0.40   380.00        152.00 Emails, call, and
                                                             messages regarding
                                                             fake twitter accounts.
EEW        01/19/2024   B110     1.80   295.00        531.00 Review spreadsheet
                                                             received from
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               BlackBriar Advisors
                                                               and draft December
                                                               monthly operating
                                                               report.
EEW        01/19/2024   B190     0.20   295.00         59.00 Email
                                                             correspondence to
                                                             Sara Brauner with
                                                             sealed exhibit A to the
                                                             agreement
                                                             compromise and
                                                             settlement order and
                                                             joint notice regarding
                                                             same.
EEW        01/19/2024   B320     0.40 295.00          118.00 Finalize and file
                                                             liquidation analysis to
                                                             the disclosure
                                                             statement.
CWS        01/19/2024   B320     6.90   845.00       5830.50 Review and respond
                                                             to multiple
                                                             correspondence
                                                             regarding liquidation
                                                             analysis (1.7); review
                                                             and analyze issues
                                                             regarding claims (.8);
                                                             review and respond to
                                                             related
                                                             correspondence (.6);
                                                             review and revise
                                                             plan and disclosure
                                                             statement (3.8).
VLD        01/21/2024   B320     1.30   875.00       1137.50 Review and analyze
                                                             exhibits to Disclosure
                                                             Statement (.8); emails
                                                             regarding same; call
                                                             with FA regarding
                                                             same (.3);
                                                             communication with
                                                             client on plan terms
                                                             (.2).
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
TAM        01/21/2024   B210     0.20   380.00         76.00 Review twitter take
                                                             down policies for
                                                             copyright and right of
                                                             publicity.
CWS        01/21/2024   B320     4.40   845.00       3718.00 Revise Plan and draft
                                                             related
                                                             correspondence (3.3);
                                                             review and respond to
                                                             correspondence
                                                             regarding liquidation
                                                             analysis for
                                                             confirmation (1.1).
JHY        01/22/2024   B320     4.40   320.00       1408.00 Draft and revise Rule
                                                             2004 deposition
                                                             notice and request for
                                                             production to Tenneo
                                                             for information
                                                             supporting Unsecured
                                                             Creditors
                                                             Committee's plan.
VLD        01/22/2024   B190     1.40   875.00       1225.00 Call with client and
                                                             FSS security about
                                                             crypto inspection (.4);
                                                             emails setting call on
                                                             Youngevity (.2);
                                                             reviewing and
                                                             analyzing list of
                                                             outstanding items and
                                                             respond as possible to
                                                             same (.8).
VLD        01/22/2024   B320     3.90   875.00       3412.50 Review comments to
                                                             amended plan and
                                                             revise same (2.1); call
                                                             with FSS counsel on
                                                             status of items for
                                                             hearing this week
                                                             (.4); emails regarding
                                                             Disclosure Statement
                                                             and plan amendments
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               (1.1); review and
                                                               approve UCC
                                                               comments to Debtor's
                                                               Disclosure Statement
                                                               (.3).
VLD        01/22/2024   B110     0.20 875.00          175.00 Emails with UCC on
                                                             FSS ownership of
                                                             domains (.1); send
                                                             proof of domain
                                                             ownership (.1).
VLD        01/22/2024   B195     2.00   875.00       1750.00 Travel to Austin
                                                             [Billed at half time -
                                                             4.0 hours].
CMR        01/22/2024   B195     2.50   595.00       1487.50 Travel from OKC to
                                                             Austin.[Billed at half
                                                             time - 5.0 hours].
CMR        01/22/2024   B320     1.50   595.00        892.50 Analyze edits to
                                                             Amended Plan.
CMR        01/22/2024   B320     0.30   595.00        178.50 Analyze and edit
                                                             Debtor's Amended
                                                             Disclosure Statement
                                                             to conform to further
                                                             revised Amended
                                                             Plan.
EEW        01/22/2024   B320     0.80 295.00          236.00 Draft, finalize and file
                                                             witness and exhibit
                                                             list for hearing on
                                                             01-24-2024 (.6);
                                                             serve via email to
                                                             notice parties (.2).
EEW        01/22/2024   B110     0.40   295.00        118.00 Revised monthly
                                                             operating report for
                                                             December and
                                                             circulate to
                                                             BlackBriar.
CWS        01/22/2024   B320     7.20   845.00       6084.00 Review and revise
                                                             disclosure statement
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               and related exhibits
                                                               (4.3); review and
                                                               respond to UCC
                                                               correspondence
                                                               regarding same (1.8);
                                                               review and analyze
                                                               changes to Plan (1.1).
JHY        01/23/2024   B320     1.90   320.00        608.00 Draft and revise plan
                                                             exhibits and
                                                             schedules (1.5);
                                                             revise Notice of
                                                             Filing Debtor's
                                                             Proposed Amended
                                                             Plan of
                                                             Reorganization (0.4).
CMR        01/23/2024   B320     0.80   595.00        476.00 Meeting to prepare
                                                             for client conference.
CMR        01/23/2024   B320     3.50   595.00       2082.50 Revise Plan and
                                                             Disclosure Statement.
CMR        01/23/2024   B320     3.50   595.00       2082.50 Draft exhibits to Plan
                                                             and Disclosure
                                                             Statement.
CMR        01/23/2024   B320     1.50   595.00        892.50 Client conferences
                                                             regarding Disclosure
                                                             Statement hearing.
CMR        01/23/2024   B320     2.50 595.00         1487.50 Meetings and
                                                             conferences with
                                                             financial advisor to
                                                             prepare for
                                                             Disclosure Statement
                                                             hearing following
                                                             client conference.
TAM        01/23/2024   B210     0.90   380.00        342.00 Review fake Alex
                                                             Jones account on
                                                             X-Twitter; email
                                                             regarding account
                                                             information and
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               take-down.
EEW        01/23/2024   B110     0.50 295.00          147.50 Draft, finalize and file
                                                             motion to appear pro
                                                             hac vice for Craig
                                                             Regens.
EEW        01/23/2024   B320     3.10   295.00        914.50 Draft notice of filing
                                                             blackline of proposed
                                                             disclosure statement
                                                             (.8); compile exhibits,
                                                             rerun TOC, finalize
                                                             and file proposed
                                                             amended disclosure
                                                             statement (2.2) docket
                                                             hearing date to
                                                             conditionally approve
                                                             disclosure statement
                                                             (.1).
EEW        01/23/2024   B320     3.00   295.00        885.00 Draft notice of filing
                                                             blackline of amended
                                                             plan of reorganization
                                                             (1.0); compile
                                                             exhibits and finalize
                                                             and file amended plan
                                                             of reorganization
                                                             (2.0).
VLD        01/23/2024   B195     1.10   875.00        962.50 Travel to Houston for
                                                             Disclosure Statement
                                                             hearing [Billed at
                                                             half time - 2.20
                                                             hours].
VLD        01/23/2024   B320     9.80   875.00       8575.00 Preparation for
                                                             Disclosure Statement
                                                             hearing (1.8);
                                                             meetings with client
                                                             preparing for
                                                             Disclosure Statement
                                                             hearing and amending
                                                             plan and Disclosure
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Statement in advance
                                                               of same (2.3);
                                                               amending plan and
                                                               Disclosure Statement
                                                               (1.4); review and
                                                               revise Plan and
                                                               Disclosure Statement
                                                               and exhibits to same
                                                               (2.6); calls and emails
                                                               with UCC on issues
                                                               with conditional
                                                               approval and
                                                               amendments of plan
                                                               and Disclosure
                                                               Statement in advance
                                                               of hearing (1.1); calls
                                                               with sub V trustee
                                                               regarding same (.6).
CWS        01/23/2024   B320     7.70   845.00       6506.50 Multiple revisions to
                                                             Plan and Disclosure
                                                             Statement (5.4);
                                                             review and revise
                                                             exhibits to same (1.2);
                                                             review and respond to
                                                             related
                                                             correspondence (1.1).
CMR        01/24/2024   B320     0.80   595.00        476.00 Conference with
                                                             financial advisor to
                                                             prepare for
                                                             Disclosure Statement
                                                             hearing.
CMR        01/24/2024   B310     6.00   595.00       3570.00 Prepare for
                                                             Disclosure Statement
                                                             hearing.
CMR        01/24/2024   B320     0.90   595.00        535.50 Participate in
                                                             Disclosure Statement
                                                             hearing.
CMR        01/24/2024   B320     1.00 595.00          595.00 Post-hearing
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               conference with
                                                               financial advisor.
CMR        01/24/2024   B195     2.50   595.00       1487.50 Travel from Houston
                                                             to OKC [Billed at
                                                             half-time 5.0 hours].
EEW        01/24/2024   B320     0.30 295.00           88.50 Finalize and file
                                                             proposed order
                                                             approving disclosure
                                                             statement on a
                                                             conditional basis and
                                                             solicitation
                                                             procedures.
EEW        01/24/2024   B110     0.50 295.00          147.50 Finalize and file
                                                             December monthly
                                                             operating report.
EEW        01/24/2024   B320     1.00 295.00          295.00 Draft, finalize and file
                                                             notice of filing
                                                             blackline of Debtor's
                                                             ballot (.6); revise
                                                             ballot (.3).
EEW        01/24/2024   B110     0.30   295.00         88.50 Compile supporting
                                                             bank statements to
                                                             monthly operating
                                                             report for December
                                                             (.2); email
                                                             correspondence to US
                                                             Trustee forwarding
                                                             same (.1).
EEW        01/24/2024   B110     0.50   295.00        147.50 Electronic case file
                                                             management.
VLD        01/24/2024   B195     1.70   875.00       1487.50 Travel to Dallas from
                                                             Houston [Billed at
                                                             half time - 3.4 hours].
VLD        01/24/2024   B320     7.30   875.00       6387.50 Meetings, calls and
                                                             emails with various
                                                             constituencies on
                                                             items to resolve
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               objections to
                                                               Disclosure Statement
                                                               conditional approval
                                                               (2.4); preparation for
                                                               hearing on
                                                               conditional approval
                                                               of Disclosure
                                                               Statement (3.5);
                                                               appear and attend
                                                               hearing on Disclosure
                                                               Statement conditional
                                                               approval (1.4).
CWS        01/24/2024   B320     5.90   845.00       4985.50 Review and revise
                                                             amended ballot for
                                                             Disclosure Statement
                                                             conditional approval
                                                             hearing (.8); create
                                                             blacklines for hearing
                                                             (.8); draft amended
                                                             scheduling order (.9);
                                                             draft redlined
                                                             conditional approval
                                                             order (.9); draft
                                                             related
                                                             correspondence (.8);
                                                             attend Disclosure
                                                             Statement hearing
                                                             (1.7).
CMR        01/25/2024   B320     4.00   595.00       2380.00 Work on and edit
                                                             Schedule A (0.5),
                                                             Amended Disclosure
                                                             Statement (2.0) and
                                                             Amended Plan (1.5).
EEW        01/25/2024   B160     0.50   295.00        147.50 Review contract and
                                                             revise motion to
                                                             employ Century 21
                                                             The Hills Realty (.4);
                                                             telephone call with
                                                             Randy Schriewer at
                                                             the broker's office
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               regarding exhibit A to
                                                               the contract (.1).
VLD        01/25/2024   B160     0.40   875.00        350.00 Updates on
                                                             applications to
                                                             employ professionals
                                                             to list and sell
                                                             property.
VLD        01/25/2024   B210     2.10   875.00       1837.50 Review emails on
                                                             issues with CFO
                                                             position opening
                                                             being pulled from
                                                             Red Balloon and send
                                                             to FSS counsel with
                                                             commentary on same
                                                             (.7); discuss issues
                                                             with CFO
                                                             replacement and AJ's
                                                             desire to have full
                                                             time in Austin (.8);
                                                             analyze issues with
                                                             FA (.6).
CMR        01/26/2024   B320     0.40   595.00        238.00 Review document
                                                             production.
EEW        01/26/2024   B320     0.80   295.00        236.00 Review solicitation
                                                             materials received
                                                             from the UCC and
                                                             compare solicitation
                                                             contact chart to
                                                             claims register (.7);
                                                             email correspondence
                                                             to team listing
                                                             questions and
                                                             comments regarding
                                                             same (.1).
VLD        01/26/2024   B320     2.70   875.00       2362.50 Working on
                                                             discovery responses
                                                             (1.3); email to CT
                                                             seeking follow up to
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               conversation seeking
                                                               to keep lines of
                                                               settlement open (.2);
                                                               emails and calls
                                                               regarding scheduling
                                                               order conflicts (.8);
                                                               emails with UCC on
                                                               outstanding discovery
                                                               and information
                                                               requests (.4).
VLD        01/26/2024   B210     0.50   875.00        437.50 Setting up escrow
                                                             account for
                                                             depositing proceeds
                                                             from sales of
                                                             nonexempt assets.
JHY        01/29/2024   B320     0.30   320.00         96.00 Analyze issues
                                                             regarding plan-related
                                                             discovery to the
                                                             Unsecured Creditors
                                                             Committee.
LGD        01/29/2024   B190     2.10   195.00        409.50 Prepare third party
                                                             productions received
                                                             from Akin Gump for
                                                             attorney discovery
                                                             review.
CMR        01/29/2024   B320     3.00   595.00       1785.00 Analyze relevant
                                                             Code provisions and
                                                             determine key
                                                             questions and topics
                                                             for experts.
CMR        01/29/2024   B320     4.50   595.00       2677.50 Analyze treatises and
                                                             practice guides with
                                                             reference to Debtor's
                                                             Plan and Creditors'
                                                             Plan to determine key
                                                             questions and topics
                                                             for our experts in aid
                                                             of plan confirmation.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
EEW        01/29/2024   B320     1.00   295.00        295.00 Draft Notice of Filing
                                                             Blackline of Debtor's
                                                             Amended Disclosure
                                                             Statement and Notice
                                                             of Filing Blackline of
                                                             Debtor's Amended
                                                             Plan (solicitation
                                                             version).
EEW        01/29/2024   B320     9.20   295.00       2714.00 Revise, finalize and
                                                             file amended plan and
                                                             disclosure statement
                                                             (solicitation version)
                                                             and compile exhibits
                                                             for same (6.2);
                                                             coordinate service of
                                                             all parties entitled to
                                                             the solicitation
                                                             materials via email or
                                                             regular mail (3.0).
VLD        01/29/2024   B190     0.20   875.00        175.00 Scheduling call with
                                                             family lawyers.
CWS        01/29/2024   B320     0.80   845.00        676.00 Call with R. Wilhite
                                                             and D. Minton
                                                             regarding plan issues.
CWS        01/29/2024   B320     0.90   845.00        760.50 Call with David
                                                             Payne regarding
                                                             expert issues.
CWS        01/29/2024   B160     1.80 845.00         1521.00 Review initial prebill.
CWS        01/29/2024   B320     4.90   845.00       4140.50 Review solicitation
                                                             packet materials
                                                             (3.3); draft related
                                                             correspondence (1.6).
JHY        01/30/2024   B110     0.60 320.00          192.00 Attend and participate
                                                             in document
                                                             management program
                                                             in preparation for plan
                                                             related case activities.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
LGD        01/30/2024   B190     0.70 195.00          136.50 Team meeting
                                                             regarding overview of
                                                             Everlaw features and
                                                             discovery\production
                                                             received.
LGD        01/30/2024   B190     0.80   195.00        156.00 Continue to prepare
                                                             third party
                                                             productions received
                                                             from Akin Gump for
                                                             attorney discovery
                                                             review.
CMR        01/30/2024   B320     0.70   595.00        416.50 Review documents
                                                             relating to UCC
                                                             discovery.
CMR        01/30/2024   B320     2.00   595.00       1190.00 Analyze Creditors'
                                                             Plan and determine
                                                             key questions and
                                                             topics for our experts.
CMR        01/30/2024   B320     2.00   595.00       1190.00 Analyze relevant case
                                                             law and determine
                                                             key questions and
                                                             topics for our experts.
CMR        01/30/2024   B320     1.50   595.00        892.50 Analyze Debtor's
                                                             Plan and determine
                                                             key questions and
                                                             topics for our experts.
EEW        01/30/2024   B320     0.80   295.00        236.00 Draft and file notice
                                                             of corrected Exhibit B
                                                             to amended plan.
EEW        01/30/2024   B160     1.00 295.00          295.00 Finalize and file
                                                             application to employ
                                                             Century 21 The Hills
                                                             Realty.
VLD        01/30/2024   B140     0.60   875.00        525.00 Review lift stay
                                                             motion filed by Public
                                                             Storage in FSS case
                                                             and send for
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               calendaring deadline
                                                               to object.
VLD        01/30/2024   B320     5.40   875.00       4725.00 Supervise assembling
                                                             solicitation package,
                                                             confirming
                                                             solicitation
                                                             acceptance by email
                                                             and those who need
                                                             mailing, review and
                                                             approve solicitation
                                                             version of plan and
                                                             notice of filing same
                                                             (5.2); scheduling call
                                                             to go through
                                                             document production
                                                             for plan confirmation
                                                             (.2).
VLD        01/30/2024   B160     0.40   875.00        350.00 Approve application
                                                             to employ broker for
                                                             filing.
VLD        01/30/2024   B190     0.20   875.00        175.00 Email counsel for
                                                             Youngevity seeking
                                                             to have call to discuss
                                                             lift stay violation.
CWS        01/30/2024   B320     2.20   845.00       1859.00 Perform analysis
                                                             regarding plan exhibit
                                                             correction (.8);
                                                             review and revise
                                                             related notice (.5);
                                                             review and respond to
                                                             related
                                                             correspondence (.9).
CWS        01/30/2024   B320     2.70   845.00       2281.50 Review and analyze
                                                             plan issue research
                                                             and related
                                                             correspondence.
EEW        01/31/2024   B110     0.80   295.00        236.00 Telephone call to
                                                             court case manager
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               regarding entry of
                                                               amended scheduling
                                                               order (.1); docket all
                                                               extended dates and
                                                               deadlines (.7).
JHY        01/31/2024   B320     5.10   320.00       1632.00 Analyze and review
                                                             joint discovery
                                                             request served by the
                                                             Unsecured Creditors
                                                             Committee, Texas
                                                             Plaintiffs, and
                                                             Connecticut Plaintiffs
                                                             in preparation to draft
                                                             responses and
                                                             objections (2.1); draft
                                                             and revise responses
                                                             and objections to the
                                                             same (3).
CWS        01/31/2024   B190     2.70   845.00       2281.50 Review and revise
                                                             discovery responses
                                                             (1.3); draft and
                                                             review related
                                                             correspondence (1.4).
VLD        01/31/2024   B320     5.00   875.00       4375.00 Review discovery
                                                             responses and
                                                             document production
                                                             for same (4.2); call
                                                             with claimants on
                                                             potential settlement
                                                             (.8).
VLD        01/31/2024   B190     0.30   875.00        262.50 Emails with
                                                             committee on crypto
                                                             issues.
VLD        01/31/2024   B110     0.70   875.00        612.50 Review schedule
                                                             amendments.
VLD        01/31/2024   B210     1.10   875.00        962.50 Emails and calls with
                                                             Sub V Trustee
                                                             counsel on issues with
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               FSS CRO
                                                               communication.7;
                                                               calls with FA
                                                               regarding same (.4).
JHY        02/01/2024   B160     4.70   320.00       1504.00 Analyze and review
                                                             rules, statutes, local
                                                             rules, and pertinent
                                                             documents such as the
                                                             engagement letter
                                                             with David Payne in
                                                             preparation to draft
                                                             employment
                                                             application of David
                                                             Payne (1.3); draft and
                                                             revise employment
                                                             application of David
                                                             Payne, proposed
                                                             order granting the
                                                             same, and declaration
                                                             of David Payne (3.4).
EEW        02/01/2024   B160     0.80   295.00        236.00 Prepare list of all
                                                             professionals
                                                             employed by AJ and
                                                             circulate to team.
LGD        02/01/2024   B190     0.20   195.00         39.00 Prepare additional
                                                             discovery for attorney
                                                             review.
LGD        02/01/2024   B190     0.30   195.00         58.50 Telephone call and
                                                             screenshare with
                                                             Financial Advisor
                                                             Bob Schleizer
                                                             regarding Everlaw
                                                             discovery data.
VLD        02/01/2024   B160     0.50   875.00        437.50 Working on
                                                             application to employ
                                                             DR Payne as expert.
VLD        02/01/2024   B190     2.60   875.00       2275.00 Review and respond
                                                             to derivative standing
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               threat letter from
                                                               UCC and respond to
                                                               same (.8); call with
                                                               multiple parties to
                                                               discuss derivative
                                                               standing Motion
                                                               threat (.9); call with
                                                               counsel for EWJ on
                                                               potential resolution to
                                                               claims (.9).
CWS        02/01/2024   B190     0.60 845.00          507.00 Review UCC
                                                             correspondence (.4);
                                                             draft related
                                                             correspondence (.2).
CWS        02/01/2024   B160     3.90   845.00       3295.50 Review and revise
                                                             pre-bill for December
                                                             (3.1); draft related
                                                             correspondence (.8).
CMR        02/02/2024   B320     3.50 595.00         2082.50 Research plan issues.
LGD        02/02/2024   B190     0.60   195.00        117.00 Prepare supplemental
                                                             client document
                                                             production.
VLD        02/02/2024   B210     2.00   875.00       1750.00 Calls and emails with
                                                             various parties on
                                                             issues with
                                                             terminating Red
                                                             Balloon contracts
                                                             seeking COO and
                                                             CFO and potential
                                                             resolutions to same
                                                             (1.6); calls and emails
                                                             seeking to get
                                                             mediation set in FSS
                                                             v PQPR lawsuit (.4).
VLD        02/02/2024   B110     0.20   875.00        175.00 Seeking values on
                                                             additional asset for
                                                             schedules
                                                             amendment.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
VLD        02/02/2024   B190     2.20   875.00       1925.00 Call with UCC
                                                             regarding derivative
                                                             standing motion letter
                                                             (1.2); correspondence
                                                             with creditors on
                                                             issues with same and
                                                             any settlement (.3);
                                                             review email from
                                                             UCC seeking Google
                                                             analytics and respond
                                                             to same (.4); call with
                                                             FSS counsel on same
                                                             (.3).
VLD        02/02/2024   B320     6.20   875.00       5425.00 Work on discovery
                                                             responses for service
                                                             and complete same
                                                             (4.9); calls with FA
                                                             working on
                                                             projections for
                                                             production (1.3).
EEW        02/02/2024   B160     0.60   295.00        177.00 Review case docket
                                                             and prepare list of all
                                                             professionals in the
                                                             case including their
                                                             role (.5); circulate
                                                             same to team (.1).
CWS        02/02/2024   B160     1.40 845.00         1183.00 Review billing
                                                             statements (1.1); draft
                                                             related
                                                             correspondence (.3).
CWS        02/02/2024   B320     1.80   845.00       1521.00 Review and respond
                                                             to multiple
                                                             correspondence
                                                             regarding plan issues.
EEW        02/02/2024   B160     1.00   295.00        295.00 Draft eleventh
                                                             monthly fee statement
                                                             and second interim
                                                             fee application of
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Crowe & Dunlevy.
JHY        02/02/2024   B190     2.60   320.00        832.00 Draft and revise
                                                             Responses and
                                                             Objections to the
                                                             Interrogatories and
                                                             Request for
                                                             Production (2.2);
                                                             draft and revise email
                                                             regarding the same to
                                                             the unsecured
                                                             creditors' committee
                                                             (0.4).
JHY        02/05/2024   B120     0.20   320.00         64.00 Call with Vickie L.
                                                             Driver regarding
                                                             demand letter to
                                                             Youngevity for
                                                             release of funds owed
                                                             to Debtor and
                                                             violation of automatic
                                                             stay.
CMR        02/05/2024   B320     3.50   595.00       2082.50 Research 5th Circuit
                                                             precedent concerning
                                                             exculpation and draft
                                                             related memoranda.
VLD        02/05/2024   B210     0.20   875.00        175.00 Follow up email with
                                                             Ray and Hap on
                                                             employment
                                                             agreement with FSS
                                                             and status of
                                                             comments to same.
VLD        02/05/2024   B240     0.30   875.00        262.50 Emails and calls to
                                                             IRS agent seeking
                                                             status of refund.
VLD        02/05/2024   B190     1.90   875.00       1662.50 Respond to remaining
                                                             outstanding discovery
                                                             issues from UCC in
                                                             very lengthy email
                                                             (1.6); respond to UCC
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               request for crypto
                                                               information (.3).
CWS        02/05/2024   B160     1.30   845.00       1098.50 Review and revise
                                                             Second Interim Fee
                                                             Application for
                                                             Crowe & Dunlevy.
CWS        02/05/2024   B190     0.70   845.00        591.50 Review settlement
                                                             correspondence
                                                             regarding contested
                                                             issues.
EEW        02/05/2024   B160     4.10 295.00         1209.50 Finalize and file
                                                             eleventh monthly fee
                                                             statement & second
                                                             interim fee
                                                             application of Crowe
                                                             & Dunlevy (3.8);
                                                             e-serve same to notice
                                                             parties (.2); docket
                                                             objection deadline for
                                                             each (.1).
VLD        02/05/2024   B320     1.50   875.00       1312.50 Drafting and revising
                                                             email proposing
                                                             resolution of EWJ
                                                             issues in plan to UCC
                                                             counsel and respond
                                                             to questions regarding
                                                             same.
JHY        02/05/2024   B120     1.10   320.00        352.00 Analyze and review
                                                             case law regarding
                                                             pre-suit contractual
                                                             issues and documents
                                                             produced in
                                                             Youngevity's Rule
                                                             2004 examination in
                                                             preparation to draft
                                                             demand letter.
LGD        02/06/2024   B190     0.30   195.00         58.50 Prepare documents
                                                             for attorney review
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               related to David Hill's
                                                               inquiry regarding
                                                               privilege log.
CMR        02/06/2024   B320     4.00   595.00       2380.00 Review and analyze
                                                             relevant case law
                                                             regarding plan issues.
VLD        02/06/2024   B160     0.50   875.00        437.50 Numerous emails
                                                             with UCC on issues
                                                             with informal
                                                             objections to fee
                                                             statements and
                                                             statement to court on
                                                             same in fee app.
VLD        02/06/2024   B190     0.60   875.00        525.00 Review UCC request
                                                             for information on
                                                             privilege log and send
                                                             request to L. Dauphin
                                                             to assemble
                                                             documents for
                                                             review.
VLD        02/06/2024   B240     0.50 875.00          437.50 Emails regarding IRS
                                                             refund status and
                                                             timing.
VLD        02/06/2024   B110     0.80   875.00        700.00 Compile notes for
                                                             amending schedules
                                                             and statements and
                                                             send for review.
CWS        02/06/2024   B160     1.20   845.00       1014.00 Review and respond
                                                             to correspondence
                                                             regarding fee
                                                             applications for
                                                             professionals.
CWS        02/06/2024   B320     3.50   845.00       2957.50 Call with creditors
                                                             regarding plan issues
                                                             (1.1); calls and
                                                             correspondence
                                                             regarding same (1.3);
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               draft plan revisions
                                                               (1.1).
EEW        02/06/2024   B110     1.10   295.00        324.50 Review email
                                                             correspondence from
                                                             BlackBriar Advisors
                                                             regarding
                                                             amendments to
                                                             schedules (.1); review
                                                             related documents
                                                             and respond to list of
                                                             questions in the email
                                                             (1.0).
EEW        02/06/2024   B110     0.20   295.00         59.00 Review unopposed
                                                             motion to withdraw as
                                                             counsel for Eric
                                                             Taube in the Fontaine
                                                             state court action and
                                                             circulate to team (.2).
JHY        02/06/2024   B120     5.10   320.00       1632.00 Draft and revise
                                                             demand letter to
                                                             Youngevity regarding
                                                             violation of automatic
                                                             stay and release of
                                                             funds to debtor (3.3);
                                                             analyze and review
                                                             statutes and case law
                                                             regarding issues of
                                                             automatic stay
                                                             enforcement in
                                                             preparation to draft
                                                             the same (1.8).
MAF        02/07/2024   B320     0.30   280.00         84.00 Conference regarding
                                                             objection to plan for
                                                             reorganization.
CMR        02/07/2024   B320     2.30   595.00       1368.50 Review and analyze
                                                             relevant case law
                                                             regarding plan issues.
VLD        02/07/2024   B170     0.50   875.00        437.50 Review Akin fee
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               statements and send
                                                               to FA for inclusion in
                                                               MOR.
CWS        02/07/2024   B320     2.30   845.00       1943.50 Review and analyze
                                                             plan research memo
                                                             and related
                                                             correspondence.
CWS        02/07/2024   B160     2.70   845.00       2281.50 Review and revise
                                                             Employment
                                                             Application for D.
                                                             Payne and supporting
                                                             documents (1.8); calls
                                                             and correspondence
                                                             regarding same (.9).
JHY        02/07/2024   B120     2.40   320.00        768.00 Draft e-mail
                                                             regarding Youngevity
                                                             demand letter to
                                                             enforce automatic
                                                             stay and potential fact
                                                             issues and missing
                                                             responsive documents
                                                             from Youngevity's
                                                             Rule 2004 production
                                                             (0.4); revise and
                                                             finalize demand letter
                                                             to Youngevity (2.0).
MAF        02/08/2024   B320     0.80   280.00        224.00 Researched
                                                             confirmation of
                                                             competing plans
                                                             pursuant to 11 U.S.
                                                             §1129(c).
CWS        02/08/2024   B320     1.60 845.00         1352.00 Creditor call
                                                             regarding plan issues.
CWS        02/08/2024   B320     2.60   845.00       2197.00 Perform and analyze
                                                             plan issue research.
EEW        02/08/2024   B320     0.20   295.00         59.00 Email
                                                             correspondence
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               BlackBriar Advisors
                                                               regarding voting and
                                                               voting deadline.
CMR        02/08/2024   B320     4.50   595.00       2677.50 Analyze section
                                                             1129(c) case law.
VLD        02/08/2024   B320     1.10   875.00        962.50 Call with counsel for
                                                             creditors on issues
                                                             with confirmation and
                                                             potential settlement.
CMR        02/09/2024   B320     2.50   595.00       1487.50 Analyze section
                                                             1129(c) cases.
CWS        02/09/2024   B160     3.10   845.00       2619.50 Review and revise
                                                             Application for
                                                             Employment of
                                                             Expert, Declaration in
                                                             support of same, and
                                                             proposed order (2.8);
                                                             draft related
                                                             correspondence (.3).
CWS        02/09/2024   B210     1.70   845.00       1436.50 Review and analyze
                                                             emergency motion
                                                             (1.1); draft and
                                                             review related
                                                             correspondence (.6).
VLD        02/09/2024   B210     1.90   875.00       1662.50 Initial review of
                                                             emergency
                                                             application to employ
                                                             hap may in expanded
                                                             role and analyze
                                                             issues with same,
                                                             including lack of
                                                             COS, lack of
                                                             consulting with
                                                             member or manager
                                                             of FSS, and
                                                             questioning
                                                             agreement of division
                                                             of duties. (.8); call
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               with S. Lemmon on
                                                               application (.4); calls
                                                               with or messages to
                                                               FSS counsel and Sub
                                                               V Trustee counsel on
                                                               same (.7).
EEW        02/09/2024   B320     1.10   295.00        324.50 Draft affidavit of
                                                             service of solicitation
                                                             materials, review and
                                                             compile exhibits to
                                                             same.
VLD        02/11/2024   B320     0.50   875.00        437.50 Scheduling financial
                                                             review with creditors.
CMR        02/12/2024   B320     1.30   595.00        773.50 Conference with
                                                             experts.
CMR        02/12/2024   B320     1.30   595.00        773.50 Analyze section
                                                             1129(c) cases.
CWS        02/12/2024   B320     3.40   845.00       2873.00 Multiple calls and
                                                             correspondence with
                                                             potential expert and
                                                             financial advisors
                                                             regarding
                                                             confirmation
                                                             testimony and related
                                                             issues.
CWS        02/12/2024   B210     1.80   845.00       1521.00 Review employment
                                                             application for new
                                                             Debtor's counsel in
                                                             FSS and perform
                                                             analysis regarding
                                                             same (1.2); draft
                                                             related
                                                             correspondence (.6).
CWS        02/12/2024   B320     1.20   845.00       1014.00 Calls and
                                                             correspondence
                                                             regarding Creditor
                                                             plan opt- out and
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               related issues.
LGD        02/12/2024   B320     0.20   195.00         39.00 Access Paul Weiss
                                                             File Share and
                                                             download Jones Plan
                                                             ballots for attorney
                                                             review.
VLD        02/12/2024   B210     1.10   875.00        962.50 Review original
                                                             employment app for
                                                             MaGill restricting
                                                             authority in order per
                                                             UST comments to
                                                             same (.5); email to all
                                                             on issues with H. May
                                                             application (.2); call
                                                             with L. Freeman
                                                             regarding same (.4).
VLD        02/12/2024   B320     1.90   875.00       1662.50 Review email from
                                                             UCC on discovery
                                                             written responses and
                                                             respond to same (.4);
                                                             review ballots and
                                                             prepare same for AJ
                                                             to UCC plan (.6);
                                                             sending documents to
                                                             creditor as promised
                                                             (.2); call with FA on
                                                             issues related to
                                                             voting and plan
                                                             confirmation prep
                                                             (.7).
EEW        02/12/2024   B320     1.20   295.00        354.00 Monitor, collect and
                                                             organize voting
                                                             ballots for Debtor's
                                                             chapter 11 plan.
EEW        02/12/2024   B190     0.40   295.00        118.00 Procure CT trial
                                                             transcript with all
                                                             exhibits and
                                                             attachments and
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               forward tper creditor
                                                               request.
EEW        02/12/2024   B320     0.40   295.00        118.00 Prepare and finalize
                                                             opt-out election form
                                                             for Debtor and
                                                             forward to UCC.
JHY        02/12/2024   B140     4.90   320.00       1568.00 Analyze and review
                                                             Public Storage's
                                                             Motion for Relief
                                                             from Stay in the FSS
                                                             case in preparation to
                                                             object (0.5); analyze
                                                             and review issues and
                                                             objection strategy
                                                             regarding the same
                                                             (0.4); draft and revise
                                                             response and
                                                             objection to the same
                                                             (4.0).
MAF        02/13/2024   B320     0.20   280.00         56.00 Researched
                                                             confirmation of
                                                             competing plans
                                                             pursuant to 11 U.S.
                                                             §1129(c).
JHY        02/13/2024   B140     1.80   320.00        576.00 Draft and revise
                                                             agreed order between
                                                             Public Storage and
                                                             Alex Jones' estate
                                                             regarding
                                                             modification of the
                                                             automatic stay.
CMR        02/13/2024   B320     2.50   595.00       1487.50 Analyze section
                                                             1129(c) cases.
CMR        02/13/2024   B320     2.70   595.00       1606.50 Draft proposition
                                                             regarding 1129(c).
CWS        02/13/2024   B320     5.30   845.00       4478.50 Review and respond
                                                             to multiple
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               correspondence
                                                               regarding
                                                               confirmation
                                                               preparation (.8);
                                                               creditor calls
                                                               regarding various
                                                               plan issues (2.8);
                                                               meeting with
                                                               financial advisors
                                                               regarding plan issues
                                                               (1.7).
VLD        02/13/2024   B190     0.30   875.00        262.50 Emails with counsel
                                                             for Dr. Jones on
                                                             settlement
                                                             discussions.
VLD        02/13/2024   B140     1.70   875.00       1487.50 Calls and emails with
                                                             counsel for public
                                                             Storage on Lift Stay
                                                             motion filed in FSS,
                                                             coordinating access
                                                             and confirming AJ
                                                             assets located inside
                                                             (.9); review and
                                                             revise objection to lift
                                                             stay (.5); preparing
                                                             objection to lift stay
                                                             (.3).
VLD        02/13/2024   B320     1.50   875.00       1312.50 Preparation for and
                                                             attend meeting with
                                                             all plaintiffs and UCC
                                                             on financial
                                                             projections.
VLD        02/13/2024   B210     0.90   875.00        787.50 Review objection to
                                                             Hap May Application
                                                             to expand role (.2);
                                                             call with PQPR
                                                             counsel on issues with
                                                             H. May application
                                                             expansion and issues
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               with same (.4); email
                                                               counsel for FSS on
                                                               issues with Hap May
                                                               application and
                                                               communication on
                                                               issues going forward
                                                               and lack of
                                                               information or
                                                               direction on same to
                                                               client (.3).
LGD        02/13/2024   B190     2.30   195.00        448.50 Perform searches
                                                             requested by Vickie
                                                             L. Driver related to
                                                             Response to M3
                                                             requests.
EEW        02/13/2024   B160     0.10   295.00         29.50 Email
                                                             correspondence to
                                                             Rachel Kennerly
                                                             regarding numbers
                                                             for fifth monthly fee
                                                             statement.
JHY        02/14/2024   B140     0.40   320.00        128.00 Analyze and review
                                                             redline draft sent by
                                                             Public Storage
                                                             regarding Proposed
                                                             Agreed Order
                                                             modifying the
                                                             automatic stay for
                                                             issues and potential
                                                             counter-proposals
                                                             (0.2); email analysis
                                                             and potential
                                                             counter-proposals for
                                                             redline response to
                                                             Public Storage's
                                                             proposed redline draft
                                                             (0.2).
CWS        02/14/2024   B320     2.00   845.00       1690.00 Attend creditor call
                                                             regarding plan
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               provisions and
                                                               financial projections
                                                               (1.2); calls and
                                                               correspondence with
                                                               financial advisor
                                                               regarding same (.8).
CWS        02/14/2024   B160     1.90   845.00       1605.50 Review revised
                                                             application to employ
                                                             expert (1.1); draft and
                                                             review related
                                                             correspondence (.8).
CWS        02/14/2024   B120     0.80   845.00        676.00 Review and respond
                                                             to correspondence
                                                             regarding estate
                                                             causes of action.
CMR        02/14/2024   B320     2.00   595.00       1190.00 Draft proposition
                                                             regarding 1129(c).
VLD        02/14/2024   B140     1.60   875.00       1400.00 Review and revise lift
                                                             stay order and
                                                             circulate to FSS and
                                                             Public Storage
                                                             counsel (.7); respond
                                                             to comments to order
                                                             (.3); call with FSS
                                                             counsel discussing
                                                             same (.6).
VLD        02/14/2024   B320     2.50 875.00         2187.50 Meeting with FAs on
                                                             plan confirmation
                                                             strategy (1.4); call
                                                             with creditors on plan
                                                             confirmation issues
                                                             and objections to
                                                             same (1.1).
VLD        02/14/2024   B210     0.20   875.00        175.00 Email to counsels for
                                                             FSS on Employment
                                                             contract status.
VLD        02/14/2024   B190     0.70   875.00        612.50 Email and call with
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Dr. Jones lawyer
                                                               seeking information
                                                               for settlement
                                                               discussions.
EEW        02/14/2024   B110     1.00   295.00        295.00 Electronic case file
                                                             management.
CWS        02/15/2024   B320     2.30   845.00       1943.50 Draft revised plan
                                                             provisions and related
                                                             correspondence.
CWS        02/15/2024   B160     1.80   845.00       1521.00 Review and finalize
                                                             Expert employment
                                                             application and draft
                                                             related
                                                             correspondence.
VLD        02/15/2024   B320     1.20   875.00       1050.00 Calls with FA and co
                                                             counsel on plan
                                                             settlement
                                                             negotiations and
                                                             confirmation issues.
EEW        02/15/2024   B160     1.00   295.00        295.00 Finalize, file and
                                                             coordinate service of
                                                             application to employ
                                                             D.R. Payne and
                                                             associates (.8);
                                                             compile exhibits for
                                                             same (.2).
VLD        02/16/2024   B320     2.10   875.00       1837.50 Calls with client, FA,
                                                             and various
                                                             constituents on plan
                                                             progress.
EEW        02/16/2024   B160     1.00   295.00        295.00 Review spreadsheet
                                                             of attorney's fees to
                                                             determine payments
                                                             and current balance
                                                             (.8); email
                                                             correspondence to
                                                             and from BlackBriar
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Advisors regarding
                                                               same (.2).
CGB        02/19/2024   B110     0.60   235.00        141.00 Prepare financial
                                                             documents from Bob
                                                             Schleizer.
VLD        02/19/2024   B320     1.90   875.00       1662.50 Drafting and revising
                                                             agenda for meeting
                                                             with FSS on plan
                                                             confirmation issues
                                                             (.8); calls with client
                                                             and team on issues
                                                             and planning for
                                                             meeting with FSS
                                                             (1.1).
JHY        02/20/2024   B120     0.50   320.00        160.00 Revise and finalize
                                                             demand letter to
                                                             Youngevity.
CMR        02/20/2024   B320     2.40   595.00       1428.00 Research case law
                                                             relating to Debtor's
                                                             plan injunction
                                                             provisions.
VLD        02/20/2024   B195     1.70   875.00       1487.50 Travel to Austin (3.5
                                                             billed half-time).
VLD        02/20/2024   B320     3.60   875.00       3150.00 Call with creditors on
                                                             potential resolution of
                                                             issues with
                                                             confirmation (1.2);
                                                             call with FSS counsel
                                                             on meeting tomorrow
                                                             to discuss plan
                                                             confirmation issues
                                                             (.4); meeting with
                                                             client on confirmation
                                                             and plan issues and
                                                             status of same (.7);
                                                             meetings with team
                                                             on plan issues and
                                                             confirmation issues
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               (1.3).
VLD        02/20/2024   B120     0.30   875.00        262.50 Review and approve
                                                             demand letter to
                                                             Youngevity.
VLD        02/20/2024   B190     0.40   875.00        350.00 Review questions
                                                             from UCC and PQPR
                                                             input on answers to
                                                             same.
CWS        02/20/2024   B320     1.90 845.00         1605.50 Draft revised
                                                             non-disparagement
                                                             language and related
                                                             correspondence.
CWS        02/20/2024   B195     1.80   845.00       1521.00 Non-working Travel
                                                             from Dallas to Austin
                                                              [Billed at half-time
                                                             3.9 hours].
CWS        02/20/2024   B110     4.80   845.00       4056.00 Meetings with client
                                                             and financial advisor.
LGD        02/20/2024   B190     0.30   195.00         58.50 Receive and prepare
                                                             discovery received
                                                             from BlackBriar for
                                                             attorney review.
EEW        02/20/2024   B110     0.80   295.00        236.00 Revise, finalize and
                                                             file monthly
                                                             operating report for
                                                             January, 2024 (.6);
                                                             email correspondence
                                                             to US trustee with
                                                             December bank
                                                             statements supporting
                                                             report (.2).
JHY        02/20/2024   B320     1.40 320.00          448.00 Research Fifth Circuit
                                                             case law regarding
                                                             insolvency analysis
CMR        02/21/2024   B320     3.50   595.00       2082.50 Research case law
                                                             relating to Debtor's
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               plan injunction
                                                               provisions.
VLD        02/21/2024   B320     3.90   875.00       3412.50 Meetings with
                                                             various constituents
                                                             on plan confirmation
                                                             issues with FAA and
                                                             AJ (3.2); summarize
                                                             meeting for all
                                                             attendees (.4); emails
                                                             with UCC on
                                                             resetting scheduling
                                                             order deadlines (.3).
CWS        02/21/2024   B160     0.60   845.00        507.00 Review and revise
                                                             Certificate of No
                                                             Objection for
                                                             Financial Advisor Fee
                                                             Application (.4);draft
                                                             related
                                                             correspondence (.2).
CWS        02/21/2024   B110     5.30   845.00       4478.50 Prepare for and attend
                                                             "all hands" meeting
                                                             with FSS
                                                             professionals and
                                                             Debtor professionals
                                                             and staff (3.6);
                                                             meeting to discuss
                                                             same (1.7).
EEW        02/21/2024   B110     2.20   295.00        649.00 Review spreadsheet
                                                             received from
                                                             BlackBriar Advisors
                                                             and draft January,
                                                             2024 monthly
                                                             operating report (2.0);
                                                             email correspondence
                                                             to and from
                                                             BlackBriar Advisors
                                                             regarding same (.2).
EEW        02/21/2024   B160     0.80 295.00          236.00 Draft, finalize and file
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               certificate of no
                                                               objection to
                                                               BlackBriar Advisors
                                                               second interim fee
                                                               application (.6);
                                                               submit proposed
                                                               order for second
                                                               interim fee
                                                               application to the
                                                               Court (.2).
JHY        02/21/2024   B320     2.60   320.00        832.00 Analyze and review
                                                             Fifth Circuit case law
                                                             regarding insolvency
                                                             analysis (1.0); draft
                                                             and revise email
                                                             analysis regarding the
                                                             same (1.6).
VLD        02/22/2024   B195     1.70   875.00       1487.50 Travel to Dallas [3.4
                                                             – billed at half time].
VLD        02/22/2024   B320     3.20 875.00         2800.00 Emails with UCC on
                                                             extending deadlines
                                                             while negotiating new
                                                             scheduling order.
CWS        02/22/2024   B190     1.80 845.00         1521.00 Meeting with PQPR
                                                             representatives
                                                             regarding various
                                                             matters.
CWS        02/22/2024   B195     1.80   845.00       1521.00 Non-working travel
                                                             from Austin to Dallas
                                                              [Billed at half time -
                                                             3.9 hours].
CWS        02/22/2024   B320     1.30   845.00       1098.50 Review and analyze
                                                             plan research.
VLD        02/23/2024   B140     0.30   875.00        262.50 Review and approve
                                                             extension of lift stay
                                                             deadlines with TX.
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Attorney      Date      Task   Hours    Rate     Bill Amount     Description of
                                                               Services Rendered
CWS        02/23/2024   B160     1.20   845.00       1014.00 Review and respond
                                                             to calls and
                                                             correspondence
                                                             regarding fee
                                                             payment matters.
CWS        02/23/2024   B160     0.60   845.00        507.00 Review and revise
                                                             Certificate of No
                                                             Objection for
                                                             Blackbriar Fee
                                                             Application.
EEW        02/23/2024   B160     0.10   295.00         29.50 Telephone call to the
                                                             case manager
                                                             regarding Crowe &
                                                             Dunlevy's proposed
                                                             order granting second
                                                             interim fee
                                                             application.
VLD        02/24/2024   B320     0.70   875.00        612.50 Call with client
                                                             discussing case
                                                             strategy and emails
                                                             regarding same.
VLD        02/25/2024   B320     0.80   875.00        700.00 Call with client
                                                             discussing case
                                                             strategy and emails
                                                             regarding same.
VLD        02/26/2024   B320     3.50   875.00       3062.50 Calls with client in
                                                             issues with plan
                                                             strategy and
                                                             confirmation (1.1);
                                                             calls with co-counsel
                                                             regarding plan
                                                             strategy and
                                                             confirmation (1.2);
                                                             call with S. Lemmon
                                                             on agenda and
                                                             information for
                                                             meeting this week
                                                             (.4); review and
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               analyze new proposed
                                                               scheduling order for
                                                               plan confirmation and
                                                               related deadlines and
                                                               discuss same (.8).
VLD        02/26/2024   B140     1.00   875.00        875.00 Emails and calls with
                                                             auctioneer and public
                                                             storage counsel on
                                                             issues in advance of
                                                             hearing on lift stay
                                                             (.5); prepare for
                                                             hearing; emails with
                                                             auctioneer seeking
                                                             insurance (.5).
VLD        02/26/2024   B190     0.50   875.00        437.50 Review and respond
                                                             to crypto information
                                                             request.
CWS        02/26/2024   B320     4.80   845.00       4056.00 Multiple revisions to
                                                             proposed amended
                                                             scheduling order and
                                                             related analysis (2.8);
                                                             call with UCC
                                                             regarding same (.3);
                                                             multiple
                                                             correspondence
                                                             regarding same (1.7).
CWS        02/26/2024   B160     0.80   845.00        676.00 Review and revise
                                                             Certificate of No
                                                             Objection and
                                                             proposed Order for
                                                             broker.
CWS        02/26/2024   B320     1.70   845.00       1436.50 Perform and analyze
                                                             research on Plan
                                                             issues.
EEW        02/26/2024   B130     0.80 295.00          236.00 Draft, finalize and file
                                                             certificate of no
                                                             objection to employ
                                                             broker to assist in the
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               sale of FM 621 (.6);
                                                               submit proposed
                                                               order for same to the
                                                               Court (.2).
EEW        02/26/2024   B160     2.20 295.00          649.00 Draft, finalize and file
                                                             fifth monthly fee
                                                             statement of Rachel
                                                             Kennerly as Tax
                                                             Accountant; email
                                                             file-stamped copy of
                                                             same to all notice
                                                             parties (.2).
EEW        02/26/2024   B190     0.30   295.00         88.50 Review case docket
                                                             and docket reset
                                                             deadline for 9019
                                                             motion and
                                                             consensual
                                                             agreement.
LGD        02/27/2024   B190     0.30   195.00         58.50 Review discovery in
                                                             search of Youngevity
                                                             contract\endorsement
                                                             agreement.
JHY        02/27/2024   B120     7.70   320.00       2464.00 Draft and revise
                                                             pleadings to initiate
                                                             adversary lawsuit
                                                             against Youngevity.
VLD        02/27/2024   B320     1.70   875.00       1487.50 Call with S. Lemmon
                                                             on meeting with
                                                             PQPR and FSS (.4)
                                                             call with L. Freeman
                                                             on meeting (.3);
                                                             observe call on FSS
                                                             projections (1.0).
VLD        02/27/2024   B195     1.70   875.00       1487.50 Travel to Austin (3.4
                                                             – billed at half time).
CMR        02/27/2024   B320     1.50   595.00        892.50 Draft brief on
                                                             temporary injunctions
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               in plans.
CWS        02/27/2024   B140     2.60   845.00       2197.00 Prepare for and attend
                                                             Public Storage Lift
                                                             Stay Hearing (1.8);
                                                             draft related
                                                             correspondence (.8).
CWS        02/27/2024   B320     1.70   845.00       1436.50 Review scheduling
                                                             order and compare to
                                                             calendar (.9); draft
                                                             related
                                                             correspondence (.8).
CWS        02/27/2024   B120     1.30   845.00       1098.50 Perform research and
                                                             draft correspondence
                                                             regarding adversary
                                                             for collection of funds
                                                             from Youngevity.
CWS        02/27/2024   B160     1.10   845.00        929.50 Calls and
                                                             correspondence
                                                             regarding
                                                             compensation issues
                                                             for professionals.
CWS        02/27/2024   B320     1.20   845.00       1014.00 Perform and analyze
                                                             plan research.
VLD        02/27/2024   B210     0.60   875.00        525.00 Meeting with client to
                                                             discuss payments to
                                                             professionals.
VLD        02/27/2024   B320     2.10 875.00         1837.50 Meeting with
                                                             co-counsel and client
                                                             to discuss case.
CMR        02/28/2024   B320     0.80   595.00        476.00 Draft brief on
                                                             temporary injunctions
                                                             in plans.
CWS        02/28/2024   B160     1.80   845.00       1521.00 Calls and
                                                             correspondence
                                                             regarding
                                                             compensation
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               matters.
CWS        02/28/2024   B320     1.40   845.00       1183.00 Review amended
                                                             scheduling order and
                                                             related
                                                             correspondence (.6);
                                                             related calls and
                                                             correspondence (.8).
CWS        02/28/2024   B320     1.60   845.00       1352.00 Perform research and
                                                             analysis regarding
                                                             plan issues.
NAC        02/28/2024   B240     0.60   695.00        417.00 Communicate with
                                                             co-counsel regarding
                                                             bankruptcy
                                                             plan-related tax
                                                             planning and
                                                             corporate planning
                                                             issues.
EEW        02/28/2024   B160     2.30   295.00        678.50 Draft second interim
                                                             fee application of
                                                             Rachel Kennerly as
                                                             Tax Accountant and
                                                             circulate for approval.
VLD        02/28/2024   B210     2.40   875.00       2100.00 Emails and calls
                                                             dealing with
                                                             clearance of IRS
                                                             check and related
                                                             issues.
VLD        02/28/2024   B190     2.10 875.00         1837.50 Attend lengthy
                                                             meetings with FSS,
                                                             PQPR, Dr. Jones, Sub
                                                             V trustee, counsel for
                                                             all, and FAs seeking
                                                             resolution to PQPR
                                                             lawsuit and debt owed
                                                             by FSS.
VLD        02/28/2024   B195     1.70   875.00       1487.50 Travel from Austin to
                                                             Dallas 3.4 (billed at
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               half-time 1.7).
JHY        02/28/2024   B120     8.40   320.00       2688.00 Draft and revise
                                                             adversary complaint
                                                             against Youngevity
                                                             (3.2); analyze and
                                                             review response letter
                                                             from Youngevity to
                                                             reevaluate litigation
                                                             strategy (1.5);
                                                             research case law and
                                                             statutes regarding law
                                                             cited in the
                                                             Youngevity response
                                                             letter for rebuttal
                                                             (1.5); analyze and
                                                             review client
                                                             documents and
                                                             Youngevity
                                                             document production
                                                             for issues regarding
                                                             arbitration agreement,
                                                             indemnification, and
                                                             other rebuttal
                                                             arguments (2.2).
VLD        02/29/2024   B195     1.80   875.00       1575.00 Travel from Austin
                                                             (3.6 – billed at half
                                                             time).
VLD        02/29/2024   B320     0.20 875.00          175.00 Emails with UCC on
                                                             extending deadlines
                                                             while negotiating new
                                                             scheduling order.
CWS        02/29/2024   B320     1.60   845.00       1352.00 Draft and review
                                                             multiple
                                                             correspondence
                                                             regarding amended
                                                             scheduling order.
CWS        02/29/2024   B160     1.20   845.00       1014.00 Review and respond
                                                             to multiple
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               correspondence
                                                               regarding payment
                                                               issues.
CWS        02/29/2024   B110     2.80   845.00       2366.00 Meeting to discuss
                                                             multiple case issues
                                                             and strategy matters.
LGD        02/29/2024   B190     0.60   195.00        117.00 Review and identify
                                                             discovery tax returns
                                                             requested by financial
                                                             advisor.
EEW        02/29/2024   B190     1.60   295.00        472.00 Hearing prep for
                                                             hearing on
                                                             03-11-2024 in the
                                                             FSS case.
VLD        02/29/2024   B140     0.50   875.00        437.50 Review email from
                                                             lessor on Tahoe lift
                                                             stay and respond to
                                                             same (.3); emails with
                                                             FS on same (.2).
VLD        02/29/2024   B210     1.20   875.00       1050.00 Emails and calls
                                                             regarding status of
                                                             FSS BK counsel and
                                                             impact on AJ case.
VLD        02/29/2024   B230     2.30   875.00       2012.50 Emails and calls with
                                                             parties seeking to get
                                                             information necessary
                                                             for auction of storage
                                                             facilities, at various
                                                             locations.
JHY        02/29/2024   B120     1.90   320.00        608.00 Analyze and review
                                                             case law and potential
                                                             contract issues
                                                             regarding
                                                             enforcement of
                                                             automatic stay and
                                                             adversary proceeding
                                                             against Youngevity.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
EEW        03/01/2024   B110     0.50   295.00        147.50 Draft and file pro hac
                                                             vice motion for Craig
                                                             Regens for the FSS
                                                             case and circulate for
                                                             approval.
JHY        03/01/2024   B120     4.80   320.00       1536.00 Investigate and
                                                             analyze online
                                                             sources and web
                                                             archives for
                                                             Youngevity's
                                                             continued use of Alex
                                                             Jones' name, likeness,
                                                             and brand (3.1);
                                                             analyze and review
                                                             correspondences and
                                                             Youngevity's
                                                             document production
                                                             for the same (1.7).
LGD        03/01/2024   B240     0.90   195.00        175.50 Review and identify
                                                             requested tax returns.
EEW        03/01/2024   B130     0.20   295.00         59.00 Procure order
                                                             granting employment
                                                             of auctioneer and
                                                             order authorizing sale
                                                             of personal property
                                                             and circulate to
                                                             BlackBriar Advisors.
CWS        03/01/2024   B140     2.60   845.00       2197.00 Review and revise lift
                                                             stay stipulation (.9);
                                                             draft and review
                                                             related
                                                             correspondence (1.7).
CWS        03/01/2024   B210     0.30   845.00        253.50 Draft correspondence
                                                             to R. Kennerly
                                                             regarding preparation
                                                             of trust returns.
JHY        03/02/2024   B120     2.50   320.00        800.00 Prepare Youngevity
                                                             analysis and
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               complaint.
EEW        03/04/2024   B110     0.30   295.00         88.50 Telephone call with
                                                             the US Trustee's
                                                             office regarding
                                                             quarterly fees (.2);
                                                             email correspondence
                                                             to BlackBriar
                                                             Advisors with
                                                             updated account
                                                             reconciliation for
                                                             quarterly fees (.1).
LGD        03/04/2024   B120     0.30   195.00         58.50 Review discovery in
                                                             search of real estate
                                                             purchase contracts.
EEW        03/04/2024   B130     0.20   295.00         59.00 Email
                                                             correspondence to
                                                             and from Randy
                                                             Schriewer with
                                                             Century 21 and
                                                             forward order
                                                             granting sale of FM
                                                             621.
EEW        03/04/2024   B160     2.00   295.00        590.00 Review spreadsheet
                                                             received from
                                                             BlackBriar Advisors
                                                             and draft January,
                                                             2024 monthly fee
                                                             statement.
CWS        03/04/2024   B320     2.80   845.00       2366.00 Review and analyze
                                                             plan research and
                                                             related
                                                             correspondence.
LGD        03/05/2024   B120     1.20   195.00        234.00 Continue to review
                                                             discovery in search of
                                                             real estate purchase
                                                             contracts.
CMR        03/05/2024   B320     0.90   595.00        535.50 Analyze pleadings to
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               be heard in FSS on
                                                               March 11, 2024 in
                                                               preparation for
                                                               hearing.
CMR        03/05/2024   B320     2.50   595.00       1487.50 Draft memo
                                                             regarding Plan
                                                             injunction.
EEW        03/05/2024   B190     0.20   295.00         59.00 Compile part 2 of CT
                                                             trial transcript and
                                                             forward to Avi
                                                             Moshenberg.
EEW        03/05/2024   B160     1.00   295.00        295.00 Draft motion and
                                                             proposed order to
                                                             continue hearing on
                                                             amended application
                                                             to employ Hap May
                                                             as counsel for FSS.
EEW        03/05/2024   B170     1.80   295.00        531.00 Draft limited
                                                             response to amended
                                                             application to employ
                                                             Hap May as counsel
                                                             and motion of Ray
                                                             Battaglia to withdraw
                                                             as counsel.
CWS        03/05/2024   B170     1.50   845.00       1267.50 Review and analyze
                                                             FSS emergency
                                                             employment
                                                             withdrawal objection
                                                             (.9); draft related
                                                             correspondence (.6).
CWS        03/05/2024   B320     2.30   845.00       1943.50 Review and analyze
                                                             Plan injunction
                                                             memorandum.
CWS        03/05/2024   B320     2.20   845.00       1859.00 Review and analyze
                                                             plan-related
                                                             materials.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
EEW        03/06/2024   B110     0.80   295.00        236.00 Procure company
                                                             agreement, consents
                                                             and assignment of
                                                             interest in FSS and
                                                             circulate to team.
EEW        03/06/2024   B110     0.30   295.00         88.50 Review bank
                                                             statements for
                                                             November, 2023 and
                                                             forward to US Trustee
                                                             and team.
CWS        03/06/2024   B160     6.10 845.00         5154.50 Review multiple FSS
                                                             employment
                                                             proceedings,
                                                             including Emergency
                                                             Withdrawal of Ray
                                                             Battaglia (2.2); draft
                                                             Response to multiple
                                                             FSS employment
                                                             proceedings,
                                                             including Application
                                                             to Employ Hap May
                                                             (2.8); draft and
                                                             review related
                                                             correspondence (1.1).
EEW        03/07/2024   B110     0.70 295.00          206.50 Review second
                                                             amended scheduling
                                                             order and docket
                                                             updated dates and
                                                             deadlines.
EEW        03/07/2024   B160     2.30 295.00          678.50 Draft, finalize and file
                                                             twelfth monthly fee
                                                             statement of C&D
                                                             and serve via email to
                                                             notice parties (2.2);
                                                             docket objection
                                                             deadline for same
                                                             (.1).
EEW        03/07/2024   B160     0.80 295.00          236.00 Draft witness and list
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               for FSS hearing on
                                                               03-11-2024 regarding
                                                               application for
                                                               employment of Hap
                                                               May and withdrawal
                                                               of Ray Battaglia (.7);
                                                               review LBRs for new
                                                               form mentioned in
                                                               email correspondence
                                                               from team (.1).
CWS        03/07/2024   B160     4.10   845.00       3464.50 Review and revise
                                                             Crowe fee statements
                                                             (3.3); review and
                                                             revise Twelfth
                                                             Monthly fee
                                                             statement (.5); draft
                                                             related
                                                             correspondence (.3).
CWS        03/07/2024   B170     0.90   845.00        760.50 Review A. Catmull
                                                             Declaration (.5); draft
                                                             related
                                                             correspondence (.4).
CWS        03/07/2024   B320     3.00   845.00       2535.00 Working revisions to
                                                             plan language (2.2);
                                                             draft related
                                                             correspondence (.8).
EEW        03/08/2024   B110     0.30   295.00         88.50 Continue reviewing
                                                             second amended
                                                             scheduling order and
                                                             docket updated dates
                                                             and deadlines.
EEW        03/08/2024   B160     0.80   295.00        236.00 Revise, finalize and
                                                             file witness and
                                                             exhibit list for hearing
                                                             on 03-11-2024.
VLD        03/10/2024   B210     1.40   875.00       1225.00 Calls with FA, Sub V
                                                             Trustee, and client on
                                                             issues relating to
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               motion to withdraw,
                                                               response to same.
EEW        03/11/2024   B160     0.20   295.00         59.00 Forward dial-in
                                                             instructions to team
                                                             for hearing on
                                                             03-11-2024.
EEW        03/11/2024   B160     0.10   295.00         29.50 Email
                                                             correspondence to
                                                             Bob Schleizer
                                                             regarding tenth
                                                             monthly fee
                                                             statement.
EEW        03/11/2024   B130     0.10   295.00         29.50 Email
                                                             correspondence to
                                                             Bob Schleizer
                                                             regarding public
                                                             storage access codes
                                                             and combinations for
                                                             locks inquiry received
                                                             from Daniel David.
EEW        03/11/2024   B160     0.20   295.00         59.00 Review ECF notice
                                                             received from the
                                                             court regarding time
                                                             change for the FSS
                                                             hearing on
                                                             03-11-2024 (.1);
                                                             email correspondence
                                                             to team regarding
                                                             same (.1).
EEW        03/11/2024   B160     0.10 295.00           29.50 Download and
                                                             circulate agreed order
                                                             granting motion of the
                                                             Law Offices of Ray
                                                             Battaglia to withdraw
                                                             as counsel for FSS.
VLD        03/11/2024   B210     4.00   875.00       3500.00 Voluminous calls
                                                             with FA, Sub V
                                                             Trustee, and client on
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               issues relating to
                                                               motion to withdraw,
                                                               response to same and
                                                               motion to convert
                                                               (3.1; attend hearing
                                                               on same (.9).
EEW        03/12/2024   B160     0.20   295.00         59.00 Email
                                                             correspondence to
                                                             Bob Schleizer
                                                             regarding expenses
                                                             for January, 2024 fee
                                                             statement.
VLD        03/13/2024   B210     0.20   875.00        175.00 Emails on advertising
                                                             contracts.
EEW        03/15/2024   B160     0.70 295.00          206.50 Finalize and file tenth
                                                             monthly fee statement
                                                             for BlackBriar
                                                             Advisors and service
                                                             via email to notice
                                                             parties (.6); docket
                                                             objection deadline for
                                                             same (.1).
VLD        03/16/2024   B130     0.80   875.00        700.00 Review notice of
                                                             abandonment of
                                                             assets in FSS case and
                                                             send to FA and Sub V
                                                             counsel with analysis
                                                             of same.
EEW        03/18/2024   B160     1.40   295.00        413.00 Draft and file
                                                             certificate of no
                                                             objection on
                                                             application to employ
                                                             D.R. Payne and
                                                             associates (.8); revise
                                                             and file proposed
                                                             order regarding same
                                                             (with additional
                                                             language) (.5); email
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               correspondence to
                                                               court coordinator
                                                               notifying the court the
                                                               order was submitted
                                                               (.1).
VLD        03/18/2024   B320     3.10   875.00       2712.50 Calls with client, FA,
                                                             and various
                                                             constituents updating
                                                             on status of
                                                             confirmation
                                                             negotiations; (2.6)
                                                             emails with
                                                             constituents setting
                                                             calls to update on
                                                             various matters on
                                                             confirmation (.5).
VLD        03/18/2024   B130     0.60   875.00        525.00 Emails and calls
                                                             regarding sale of
                                                             storage facility
                                                             contents and access to
                                                             same.
VLD        03/18/2024   B160     0.50   875.00        437.50 Review and revise
                                                             order to employ D.
                                                             Payne and CNO (.4);
                                                             emails with D. Payne
                                                             regarding same (.1).
JHY        03/19/2024   B120     2.30   320.00        736.00 Draft and revise
                                                             preliminary analysis
                                                             email regarding asset
                                                             recovery dispute
                                                             against Youngevity.
VLD        03/19/2024   B110     0.80   875.00        700.00 Review and respond
                                                             to emails seeking
                                                             update call.
VLD        03/19/2024   B320     2.40   875.00       2100.00 Calls with parties
                                                             seeking update and
                                                             information on same.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
VLD        03/19/2024   B130     1.10   875.00        962.50 Review and analyze
                                                             real estate offers and
                                                             discuss same with
                                                             FA.
CWS        03/19/2024   B320     2.70   845.00       2281.50 Review and analyze
                                                             plan research.
EEW        03/20/2024   B110     1.80   295.00        531.00 Review spreadsheet
                                                             received from
                                                             BlackBriar Advisors
                                                             and draft February
                                                             monthly operating
                                                             report.
VLD        03/20/2024   B320     1.30   875.00       1137.50 Emails and calls
                                                             discussing potential
                                                             confirmation date
                                                             changes.
VLD        03/20/2024   B110     1.10   875.00        962.50 Calls with client
                                                             regarding case
                                                             matters.
VLD        03/20/2024   B210     0.60   875.00        525.00 Brief review of FSS
                                                             MOR.
CWS        03/20/2024   B320     3.10   845.00       2619.50 Draft plan revisions
                                                             (2.8); draft related
                                                             correspondence (.3).
EEW        03/21/2024   B110     0.60 295.00          177.00 Finalize and file
                                                             February monthly
                                                             operating report.
EEW        03/21/2024   B110     0.30   295.00         88.50 Review February
                                                             bank statements
                                                             supporting monthly
                                                             operating report (1.);
                                                             email correspondence
                                                             to US Trustee
                                                             forwarding same (.2).
EEW        03/21/2024   B320     0.50   295.00        147.50 Draft preliminary
                                                             witness and exhibit
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               list for confirmation
                                                               hearing.
EEW        03/21/2024   B110     0.10   295.00         29.50 Update deadline to
                                                             object to exemptions
                                                             per second amended
                                                             scheduling order.
CWS        03/21/2024   B320     2.80   845.00       2366.00 Analyze plan
                                                             confirmation and
                                                             expert testimony
                                                             issues.
VLD        03/21/2024   B195     2.90   875.00       2537.50 Travel to and from
                                                             Austin 5.8 (billed at
                                                             half time 2.9).
VLD        03/21/2024   B160     0.40 875.00          350.00 Emails with UCC
                                                             regarding objections
                                                             to TX trial counsel
                                                             fees (.4).
VLD        03/21/2024   B190     0.20   875.00        175.00 Confirming
                                                             confidentiality of
                                                             documents received.
VLD        03/21/2024   B130     1.10 875.00          962.50 Call with real estate
                                                             agent on contract
                                                             terms and revisions to
                                                             same.
VLD        03/21/2024   B210     0.80   875.00        700.00 Analyzing issues with
                                                             imposter social media
                                                             accounts.
VLD        03/21/2024   B320     0.50   875.00        437.50 Analysis of initial
                                                             witnesses to include
                                                             in witness list.
VLD        03/21/2024   B310     2.50   875.00       2187.50 Meeting to discuss
                                                             information
                                                             supporting TX claim
                                                             estimates.
CWS        03/21/2024   B320     2.80   845.00       2366.00 Draft and revise plan
                                                             provisions (2.3); draft
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               related
                                                               correspondence (.5).
JHY        03/22/2024   B320     0.60   320.00        192.00 Analyze and review
                                                             plan strategies.
CMR        03/22/2024   B320     2.20   595.00       1309.00 Work on preliminary
                                                             witness list (0.2);
                                                             prepare form of
                                                             30(b)(6) notice and
                                                             form of Rule 34
                                                             request for production
                                                             of documents (2.0).
VLD        03/22/2024   B110     2.50 875.00         2187.50 Meeting with FA
                                                             regarding
                                                             amendments to
                                                             schedules and SOFA.
VLD        03/22/2024   B130     0.20   875.00        175.00 Email with counsel
                                                             for public Storage on
                                                             access needed for
                                                             auction.
VLD        03/22/2024   B160     0.60 875.00          525.00 Emails with UCC and
                                                             TX trial counsel
                                                             regarding objections
                                                             to TX trial counsel
                                                             fees (.6).
VLD        03/22/2024   B320     4.50   875.00       3937.50 Emails regarding
                                                             comments to plan
                                                             draft (.6); review and
                                                             approve mediator
                                                             motion and order (.6);
                                                             call to discuss
                                                             overlapping evidence
                                                             for FSS and AJ
                                                             confirmation hearings
                                                             and scheduling of
                                                             confirmation order
                                                             (.7); analyze revised
                                                             plan terms (2.6).
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
EEW        03/22/2024   B110     3.00 295.00          885.00 Meeting with
                                                             BlackBriar Advisors
                                                             regarding
                                                             amendments to
                                                             schedules and
                                                             statement and
                                                             financial affairs.
CWS        03/22/2024   B160     0.40   845.00        338.00 Review and respond
                                                             to correspondence
                                                             regarding
                                                             professional fees.
CWS        03/22/2024   B130     4.10   845.00       3464.50 Review and analyze
                                                             real estate sale
                                                             contracts (1.2); draft
                                                             comments regarding
                                                             same (.9); draft
                                                             addendum regarding
                                                             as-is language (.8);
                                                             draft and review
                                                             related
                                                             correspondence to
                                                             broker (1.2).
CWS        03/22/2024   B320     3.00   845.00       2535.00 Draft revisions to plan
                                                             (2.4); draft related
                                                             correspondence (.6).
CMR        03/25/2024   B320     6.50   595.00       3867.50 Work on preliminary
                                                             witness and exhibit
                                                             list (0.2); work on
                                                             combined 30(b)(6)
                                                             deposition notice and
                                                             Rule 34 requests for
                                                             production of
                                                             documents, along
                                                             with common
                                                             operative definitions,
                                                             and specific
                                                             instructions,
                                                             examination topics
                                                             and requests for
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               production of
                                                               documents (6.3).
EEW        03/25/2024   B320     0.70   295.00        206.50 Revise, finalize and
                                                             file preliminary
                                                             witness and exhibit
                                                             list for confirmation
                                                             hearing.
VLD        03/25/2024   B320     7.30   875.00       6387.50 Lengthy call with all
                                                             parties to discuss
                                                             discovery requests
                                                             from CT regarding
                                                             scheduling and
                                                             settlement meeting
                                                             and facilitator (1.2);
                                                             calls with various
                                                             constituents regarding
                                                             settlement
                                                             discussions,
                                                             facilitator and
                                                             meeting logistics, and
                                                             positions regarding
                                                             same (3.2); emails
                                                             with counsel on same
                                                             (.5); drafting and
                                                             revising witness and
                                                             exhibit lists (1.6);
                                                             review witness and
                                                             exhibit lists filed by
                                                             other parties. (.8).
EEW        03/25/2024   B110     0.60   295.00        177.00 Work on fourth
                                                             amended schedules.
CWS        03/25/2024   B320     6.00   845.00       5070.00 Review and respond
                                                             to multiple
                                                             correspondence
                                                             regarding
                                                             confirmation related
                                                             issues (1.8); review
                                                             and revise witness
                                                             and exhibit list (.5);
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               attend calls regarding
                                                               confirmation and
                                                               settlement issues
                                                               (1.9); review and
                                                               revise depo notices
                                                               (1.8).
EEW        03/26/2024   B130     0.20   295.00         59.00 Email
                                                             correspondence to
                                                             and from Harold
                                                             Kessler with
                                                             BlackBriar Advisors
                                                             regarding sale of
                                                             contents in storage
                                                             units.
VLD        03/26/2024   B195     2.00   875.00       1750.00 Travel from Austin to
                                                             Dallas from meetings
                                                             (4.1) – billed at half
                                                             time.
VLD        03/26/2024   B210     0.40   875.00        350.00 Analyze cash
                                                             collateral budget.
VLD        03/26/2024   B110     1.00   875.00        875.00 Calls with counsel
                                                             regarding status of
                                                             case and information
                                                             regarding same.
CWS        03/26/2024   B320     3.10   845.00       2619.50 Revise amended plan
                                                             (2.8); draft related
                                                             correspondence (.3).
CWS        03/26/2024   B110     0.20 845.00          169.00 Review UCC Notice.
VLD        03/27/2024   B195     2.00   875.00       1750.00 Travel from Austin to
                                                             Dallas from meetings
                                                             (4.1) – billed at half
                                                             time.
VLD        03/27/2024   B185     0.80 875.00          700.00 Analysis of ESG
                                                             issues.
VLD        03/27/2024   B320     2.70   875.00       2362.50 Meetings with client
                                                             regarding
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               amendments to plan
                                                               for settlement offer.
VLD        03/27/2024   B310     1.80   875.00       1575.00 Research and analysis
                                                             of claim amounts.
VLD        03/27/2024   B130     1.00   875.00        875.00 Draft detailed email
                                                             regarding status of
                                                             boat sale (.6); review
                                                             response and respond
                                                             to same on other sale
                                                             of property issues
                                                             (.4).
EEW        03/27/2024   B110     1.60   295.00        472.00 Work on fourth
                                                             amended schedules
                                                             and statement of
                                                             financial affairs.
VLD        03/28/2024   B320     5.10   875.00       4462.50 Lengthy calls with
                                                             various case
                                                             constituents regarding
                                                             confirmation hearing
                                                             and settlement
                                                             negotiations (2.1);
                                                             send revised plan to
                                                             creditors for analysis
                                                             (.8); emails regarding
                                                             same (.2); analyze
                                                             information for expert
                                                             report (1.7); emails
                                                             with all counsel to
                                                             clear dates for
                                                             depositions related to
                                                             confirmation (.3).
VLD        03/28/2024   B310     1.10   875.00        962.50 Analyze information
                                                             regarding valuation of
                                                             claims.
EEW        03/28/2024   B110     1.00 295.00          295.00 Draft global notes for
                                                             fourth amended
                                                             schedules and
                                                             statement of financial
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               affairs.
CWS        03/29/2024   B320     3.30   845.00       2788.50 Perform and analyze
                                                             Plan Research (2.7);
                                                             review and respond to
                                                             related
                                                             correspondence (.6).
VLD        03/29/2024   B320     7.90   875.00       6912.50 Analyze issues with
                                                             expert witness
                                                             preparation (1.2);
                                                             review case law and
                                                             precedent related to
                                                             confirmation hearing
                                                             preparation (1.8);
                                                             develop email search
                                                             protocols for
                                                             document production
                                                             (1.1); calls with
                                                             constituents on
                                                             settlement
                                                             discussions (2.2);
                                                             plan amendments and
                                                             settlement
                                                             negotiations and
                                                             sending updated
                                                             documents (.4);
                                                             analyze issues related
                                                             to privilege and
                                                             upcoming depositions
                                                             (.8); emails with Paul
                                                             Weiss attorneys
                                                             working on discovery
                                                             scheduling and
                                                             scheduling order
                                                             modifications (.4).
VLD        03/29/2024   B130     0.30   875.00        262.50 Draft and send update
                                                             on sale of assets.
EEW        03/29/2024   B110     1.70   295.00        501.50 Continue drafting
                                                             global notes for fourth
                                                             amended schedules
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               and statement of
                                                               financial affairs.
LGD        04/01/2024   B190     2.00   195.00        390.00 Prepare email
                                                             discovery for second
                                                             pass attorney review
                                                             related to Connecticut
                                                             request.
CMR        04/01/2024   B320     0.80   595.00        476.00 Research and analyze
                                                             section
                                                             1129(b)(3)(B).
VLD        04/01/2024   B320     2.00   875.00       1750.00 Review and analyze
                                                             expert due diligence
                                                             and information
                                                             requested and
                                                             research items (1.3);
                                                             scheduling emails
                                                             regarding depositions
                                                             and prep sessions
                                                             with experts (.3);
                                                             refining document
                                                             review protocols (.4).
CWS        04/01/2024   B320     4.10   845.00       3464.50 Draft correspondence
                                                             regarding plan
                                                             research and analysis
                                                             (1.9); review and
                                                             analyze caselaw and
                                                             summary
                                                             correspondence
                                                             regarding same (2.2).
LGD        04/02/2024   B190     0.20   195.00         39.00 Create document
                                                             review set containing
                                                             inclusive email
                                                             threads.
MAF        04/02/2024   B320     0.10   280.00         28.00 Conference regarding
                                                             plan research.
VLD        04/02/2024   B320     1.80   875.00       1575.00 Email and calls with
                                                             counsel for Sub V
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Trustee on settlement
                                                               and mediation
                                                               progress (.4); internal
                                                               strategy meeting
                                                               regarding mediation
                                                               and related
                                                               confirmation issues
                                                               (1.4).
CMR        04/02/2024   B320     4.00   595.00       2380.00 Monitor deposition of
                                                             Jeffrey Shulse.
CMR        04/02/2024   B320     2.00   595.00       1190.00 Conference with
                                                             experts regarding
                                                             plan.
CMR        04/02/2024   B320     2.30   595.00       1368.50 Legal research and
                                                             analysis relating to
                                                             plans.
EEW        04/02/2024   B310     0.60   295.00        177.00 Revise and update
                                                             claims spreadsheet
                                                             and forward to
                                                             Blackbriar Advisors.
VLD        04/02/2024   B320     7.50   875.00       6562.50 Attend J. Schultse
                                                             deposition (4.1);
                                                             meeting with experts
                                                             (3.4).
CWS        04/02/2024   B320     3.80   845.00       3211.00 Monitor J. Shulse
                                                             deposition.
CWS        04/02/2024   B320     1.60 845.00         1352.00 Meeting with expert.
CWS        04/02/2024   B320     3.90   845.00       3295.50 Draft and revise
                                                             deposition notices
                                                             (1.9); draft creditor
                                                             correspondence
                                                             regarding deadlines
                                                             (.2); draft
                                                             correspondence
                                                             regarding plan
                                                             research (1.8).
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
MAF        04/03/2024   B320     2.60   280.00        728.00 Perform and analyze
                                                             plan related research.
CMR        04/03/2024   B320     9.00   595.00       5355.00 Legal research and
                                                             analysis relating to
                                                             plans.
VLD        04/03/2024   B320     1.80   875.00       1575.00 Email and calls with
                                                             counsel for Sub V
                                                             Trustee on settlement
                                                             and mediation
                                                             progress (.4); internal
                                                             strategy meeting
                                                             regarding mediation
                                                             and related
                                                             confirmation issues
                                                             (1.4).
CWS        04/03/2024   B130     1.20   845.00       1014.00 Perform analysis
                                                             regarding personal
                                                             property sales (.7);
                                                             draft correspondence
                                                             regarding same (.5).
CWS        04/03/2024   B320     2.70   845.00       2281.50 Perform plan
                                                             confirmation and
                                                             research analysis.
MAF        04/04/2024   B320     0.10   280.00         28.00 Perform and analyze
                                                             plan related research.
CMR        04/04/2024   B320     7.50   595.00       4462.50 Legal research and
                                                             analysis relating to
                                                             plans.
EEW        04/04/2024   B190     0.50   295.00        147.50 Review email
                                                             correspondence from
                                                             Bob Schleizer (.1);
                                                             Everlaw and Litshare
                                                             search for Louder
                                                             with Crowder
                                                             contract (.4).
VLD        04/04/2024   B130     0.60   875.00        525.00 Emails and calls on
                                                             storage facility
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               cleanout after auction
                                                               (.4); emails with
                                                               financial advisor on
                                                               UCC approval for
                                                               boat sale at wholesale
                                                               (.2).
VLD        04/04/2024   B160     0.40   875.00        350.00 Research support for
                                                             escrow application.
VLD        04/04/2024   B210     0.30 875.00          262.50 Researching Crowder
                                                             contract and review
                                                             execution copy.
VLD        04/04/2024   B320     1.70   875.00       1487.50 Review of emails and
                                                             coding for
                                                             production.
CMR        04/05/2024   B320     8.50   595.00       5057.50 Legal research,
                                                             analysis and draft
                                                             memoranda relating
                                                             to plans.
VLD        04/05/2024   B130     0.60   875.00        525.00 Follow up on emails
                                                             and calls on storage
                                                             facility cleanout after
                                                             auction.
VLD        04/05/2024   B210     0.40   875.00        350.00 Review and respond
                                                             to emails on ESG
                                                             products.
VLD        04/05/2024   B310     1.70   875.00       1487.50 Analyze materials on
                                                             claims value support.
CWS        04/05/2024   B320     2.40   845.00       2028.00 Draft and revise
                                                             mediation position
                                                             paper.
VLD        04/06/2024   B320     1.30   875.00       1137.50 Analyze research on
                                                             confirmation issues.
CMR        04/07/2024   B320     3.50   595.00       2082.50 Legal research,
                                                             analysis and draft
                                                             memoranda relating
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               to plans.
CWS        04/07/2024   B320     2.70   845.00       2281.50 Draft and revise
                                                             mediation position
                                                             paper.
EEW        04/08/2024   B320     0.20   295.00         59.00 Email
                                                             correspondence to
                                                             Rosario Saldana with
                                                             the court regarding
                                                             the third amended
                                                             scheduling order for
                                                             confirmation hearing
                                                             submitted on
                                                             04-08-2024.
EEW        04/08/2024   B320     1.20   295.00        354.00 Docket updated dates
                                                             and deadlines in the
                                                             third amended
                                                             scheduling order for
                                                             confirmation hearing.
VLD        04/08/2024   B160     0.50   875.00        437.50 Review email on
                                                             expenses from N.
                                                             Pattis and respond to
                                                             same (.3); analyze
                                                             amendments to
                                                             application to employ
                                                             Pattis and new
                                                             expenses (.2).
VLD        04/08/2024   B320     3.20   875.00       2800.00 Review and revise
                                                             mediation statement
                                                             and send to mediator
                                                             (1.2); sending latest
                                                             settlement offer to
                                                             mediator (.3); call
                                                             with Sub V Trustee
                                                             counsel on status of
                                                             mediation and related
                                                             discovery (.6); review
                                                             revised liquidation
                                                             analysis (1.1).
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
CWS        04/08/2024   B320     4.70   845.00       3971.50 Draft and revise
                                                             mediation position
                                                             paper and related
                                                             correspondence.
CMR        04/09/2024   B320     4.20   595.00       2499.00 Legal research,
                                                             analysis and draft
                                                             memoranda relating
                                                             to plans.
CMR        04/09/2024   B320     1.00   595.00        595.00 Analyze expert
                                                             materials.
CMR        04/09/2024   B320     1.00   595.00        595.00 Analyze expert
                                                             materials.
EEW        04/09/2024   B320     0.10   295.00         29.50 Review email
                                                             correspondence
                                                             regarding
                                                             pre-mediation date
                                                             and docket date same.
VLD        04/09/2024   B160     0.20   875.00        175.00 Emails regarding
                                                             expenses for N. Pattis
                                                             firm for
                                                             compensation.
VLD        04/09/2024   B190     2.20   875.00       1925.00 Evaluating claims
                                                             regarding video.
VLD        04/09/2024   B320     1.80   875.00       1575.00 Emails and calls
                                                             regarding plan
                                                             deposition of AJ
                                                             scheduling and
                                                             logistics (.5); review
                                                             and analyze
                                                             liquidation analysis
                                                             (1.3).
CWS        04/09/2024   B320     2.20   845.00       1859.00 Review and analyze
                                                             supplemental plan
                                                             research.
CWS        04/09/2024   B320     0.50   845.00        422.50 Call with financial
                                                             advisor regarding
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               liquidation analysis
                                                               issues.
EEW        04/10/2024   B170     0.10   295.00         29.50 Follow-up email
                                                             correspondence to
                                                             Rachel Kennerly
                                                             regarding second
                                                             interim fee
                                                             application.
EEW        04/10/2024   B160     0.10   295.00         29.50 Telephone call with
                                                             Chrystal Madden at
                                                             co-counsel's office
                                                             regarding total
                                                             numbers for fees to
                                                             date.
VLD        04/10/2024   B190     5.10   875.00       4462.50 Review and analysis
                                                             of documents for
                                                             production (3.1);
                                                             review email from
                                                             counsel for ESG and
                                                             propose resolution to
                                                             same (.3); calls
                                                             regarding same with
                                                             client and FA (.4);
                                                             email response to
                                                             ESG counsel on
                                                             resolution (.3).
VLD        04/10/2024   B320     0.40   875.00        350.00 Calls and emails on
                                                             expert report deadline
                                                             extension.
CWS        04/10/2024   B320     2.80   845.00       2366.00 Review Debtor
                                                             Deposition transcript.
CWS        04/10/2024   B320     1.10 845.00          929.50 Review FSS appraisal
                                                             report.
LGD        04/11/2024   B190     0.20   195.00         39.00 Review and respond
                                                             to attorney email
                                                             regarding email
                                                             produced by Wilkie
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Farr.
VLD        04/11/2024   B190     2.10   875.00       1837.50 Additional review
                                                             and coding
                                                             documents for
                                                             production.
VLD        04/11/2024   B130     1.60   875.00       1400.00 Drafting motion to
                                                             sell property (1.2);
                                                             emails with UCC on
                                                             ranch contract (.4).
VLD        04/11/2024   B320     1.30   875.00       1137.50 Calls and emails on
                                                             progress of
                                                             negotiations (.2);
                                                             emails and analysis of
                                                             liquidation analysis
                                                             items (.9); logistics
                                                             for FA deposition
                                                             (.2).
CWS        04/11/2024   B160     3.50   845.00       2957.50 Review and revise
                                                             March fee statement
                                                             (2.7); draft related
                                                             correspondence (.8).
CWS        04/11/2024   B320     0.40   845.00        338.00 Review and respond
                                                             to correspondence
                                                             regarding
                                                             professional fee
                                                             forecast issues.
CWS        04/11/2024   B130     0.80   845.00        676.00 Review sale-related
                                                             correspondence.
VLD        04/12/2024   B110     0.90   875.00        787.50 Calls with client and
                                                             FA on status of case.
VLD        04/12/2024   B190     0.90   875.00        787.50 Initial review of M3
                                                             Report.
CWS        04/12/2024   B320     0.80   845.00        676.00 Review updated draft
                                                             liquidation analysis.
CMR        04/14/2024   B320     3.20   595.00       1904.00 Review draft expert
                                                             report materials; and
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               conference with
                                                               experts.
VLD        04/14/2024   B210     0.40   875.00        350.00 Review emails for
                                                             signatures on contract
                                                             and emails regarding
                                                             same.
VLD        04/14/2024   B195     1.20   875.00       1050.00 Travel to Austin for
                                                             Deposition prep (2.4
                                                             hours billed at half
                                                             time) 1.2.
VLD        04/14/2024   B320     3.70   875.00       3237.50 Preparation for
                                                             deposition (1.6); call
                                                             with expert on
                                                             finalizing report (2.1).
CMR        04/15/2024   B320     3.50   595.00       2082.50 Participate in Debtor's
                                                             deposition.
CMR        04/15/2024   B320     0.50   595.00        297.50 Conference with
                                                             expert regarding case
                                                             law relating to report.
EEW        04/15/2024   B320     4.10 295.00         1209.50 Work on fee tracking
                                                             spreadsheet for all
                                                             professionals to
                                                             prepare for mediation.
EEW        04/15/2024   B320     0.30   295.00         88.50 Procure declaration
                                                             supporting the 9019
                                                             motion and Exhibit A
                                                             filed under seal (.2);
                                                             circulate same to team
                                                             for mediation prep
                                                             (.1).
EEW        04/15/2024   B110     0.30   295.00         88.50 Review and respond
                                                             to email
                                                             correspondence from
                                                             Kathy Norderhaug
                                                             regarding trustee fees
                                                             (.1); telephone call to
                                                             US Trustee' s office to
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               discuss fee inquiry
                                                               and updated numbers
                                                               (.2).
LGD        04/15/2024   B190     1.10   195.00        214.50 Prepare supplemental
                                                             client document
                                                             production for
                                                             attorney review and
                                                             approval.
VLD        04/15/2024   B120     1.10   875.00        962.50 Meeting with client
                                                             on issues with "Home
                                                             Construction"
                                                             amounts and strategy
                                                             to challenge same.
VLD        04/15/2024   B190     2.80   875.00       2450.00 Review of final
                                                             documents and
                                                             coding same for
                                                             production (1.2);
                                                             discuss production
                                                             parameters (.6);
                                                             emails with N. Pattis
                                                             office on document
                                                             retention and storage
                                                             (.2); analyze
                                                             additional discovery
                                                             needed (.8).
VLD        04/15/2024   B130     0.40   875.00        350.00 Review motion with
                                                             information from
                                                             broker and revise
                                                             same.
VLD        04/15/2024   B320     4.30   875.00       3762.50 Preparation for and
                                                             attend deposition of
                                                             client.
CWS        04/15/2024   B320     3.70   845.00       3126.50 Review and transmit
                                                             expert report.
CWS        04/15/2024   B130     2.80   845.00       2366.00 Draft real property
                                                             sale order and related
                                                             correspondence.
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Attorney      Date      Task   Hours    Rate     Bill Amount     Description of
                                                               Services Rendered
CWS        04/15/2024   B320     1.30   845.00       1098.50 Review creditor
                                                             expert report.
EEW        04/16/2024   B160     2.40 295.00          708.00 Work on fee tracking
                                                             spreadsheet for all
                                                             professionals to
                                                             prepare for mediation.
EEW        04/16/2024   B160     0.20   295.00         59.00 Review fee
                                                             statements received
                                                             from the creditors
                                                             committee and
                                                             circulate to team.
DJM        04/16/2024   B320     0.50   335.00        167.50 Review timeline of
                                                             state court default
                                                             judgments and
                                                             communicate with
                                                             Crissie W.
                                                             Stephenson for status
                                                             conference
                                                             preparation.
VLD        04/16/2024   B195     1.60   875.00       1400.00 Travel from Austin to
                                                             FW for mediation.
                                                             (3.2 billed at half
                                                             time) 1.6.
VLD        04/16/2024   B320     3.20   875.00       2800.00 Lengthy calls and
                                                             meetings with various
                                                             constituencies in
                                                             preparation for
                                                             mediation (2.4);
                                                             emails with CT
                                                             counsel on
                                                             information requested
                                                             from expert report
                                                             (.5); call with expert
                                                             on same (.3).
CWS        04/16/2024   B320     7.40   845.00       6253.00 Attend pre-mediation
                                                             client meetings and
                                                             meetings with other
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               parties in interest.
EEW        04/17/2024   B320     2.00   295.00        590.00 Procure and compile
                                                             documents for
                                                             mediation and assist
                                                             with same.
EEW        04/17/2024   B320     0.20   295.00         59.00 Review email
                                                             correspondence from
                                                             the US Trustee (.1);
                                                             docket extension
                                                             deadline for plan
                                                             objection (.1).
DJM        04/17/2024   B190     2.10   335.00        703.50 Draft motion to
                                                             dismiss for
                                                             continuing
                                                             diminution of the
                                                             estate.
VLD        04/17/2024   B320    14.20   875.00      12425.00 Preparation for and
                                                             attend mediation
                                                             (10.4); meetings after
                                                             mediation working on
                                                             response to latest
                                                             offer and strategy
                                                             regarding same (3.8).
CWS        04/17/2024   B320     9.40   845.00       7943.00 Prepare for and attend
                                                             in-person mediation.
DJM        04/18/2024   B190    11.10   335.00       3718.50 Draft motion to
                                                             dismiss for
                                                             continuing
                                                             diminution of the
                                                             estate.
VLD        04/18/2024   B320     9.50   875.00       8312.50 Preparation for and
                                                             attend mediation
                                                             (7.4); meetings after
                                                             mediation with
                                                             various parties (2.1).
CWS        04/18/2024   B320     7.30   845.00       6168.50 Prepare for and attend
                                                             in-person mediation
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               and related client
                                                               meeting.
VLD        04/19/2024   B110     2.40   875.00       2100.00 Calls with client on
                                                             issues relating to exist
                                                             strategies and issues
                                                             relating thereto (1.3);
                                                             calls with FA and
                                                             expert on status of
                                                             case and status
                                                             conferences on
                                                             Monday to discuss
                                                             same (1.1).
CWS        04/19/2024   B210     1.60 845.00         1352.00 Review PQPR MSJ.
VLD        04/22/2024   B110     5.00   875.00       4375.00 Calls with client, FA,
                                                             and counsel for
                                                             various constituents
                                                             regarding status
                                                             conference (2.5);
                                                             preparation for and
                                                             attend status
                                                             conference (1.3); calls
                                                             with client regarding
                                                             status conference
                                                             outcome and next step
                                                             (1.2).
VLD        04/22/2024   B195     1.20   875.00       1050.00 Travel to Houston for
                                                             status conference (2.4
                                                             billed at half time)
                                                             1.2.
CWS        04/22/2024   B210     0.80   845.00        676.00 Monitor status
                                                             conference.
CWS        04/22/2024   B110     4.80   845.00       4056.00 Perform and analyze
                                                             research regarding
                                                             case exit matters and
                                                             plan issues.
EEW        04/23/2024   B110     1.40   295.00        413.00 Review spreadsheet
                                                             received from
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               BlackBriar Advisors
                                                               (.2); draft, finalize
                                                               and file March
                                                               monthly operating
                                                               report (1.2).
EEW        04/23/2024   B110     0.20   295.00         59.00 Email
                                                             correspondence to US
                                                             Trustee's office
                                                             attaching
                                                             file-stamped copy of
                                                             March monthly
                                                             operating report and
                                                             supporting bank
                                                             statements.
VLD        04/23/2024   B110     3.20   875.00       2800.00 Call with client and
                                                             co-counsel (1.1);
                                                             meeting to discuss
                                                             analysis of exit
                                                             strategies (1.4);
                                                             discuss meeting with
                                                             client. (0.7)
VLD        04/23/2024   B190     0.40   875.00        350.00 Analyze status
                                                             conference set and
                                                             matters referenced.
CWS        04/23/2024   B120     4.10   845.00       3464.50 Draft 2004 Exam of
                                                             Luke Blair
                                                             Construction (1.3);
                                                             perform research
                                                             regarding same (1.7);
                                                             draft related
                                                             correspondence (1.1).
CWS        04/23/2024   B160     2.70   845.00       2281.50 Review and revise
                                                             statements (1.8); draft
                                                             correspondence
                                                             regarding interim fee
                                                             statements (.9).
EEW        04/24/2024   B160     1.30 295.00          383.50 Finalize and file
                                                             thirteenth monthly fee
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               statement (1.0);
                                                               coordinate e-service
                                                               to notice parties (.2);
                                                               docket objection
                                                               deadline (.1).
EEW        04/24/2024   B160     0.10   295.00         29.50 Email
                                                             correspondence to
                                                             team regarding
                                                             Rachel Kennerly's
                                                             second interim fee
                                                             application.
EEW        04/24/2024   B190     0.30   295.00         88.50 Review case dockets
                                                             for the FSS adversary
                                                             cases and docket
                                                             status conference
                                                             dates for each.
VLD        04/24/2024   B110     2.70   875.00       2362.50 Calls with
                                                             constituents
                                                             discussing exit
                                                             strategies and any
                                                             remaining possible
                                                             resolutions to any
                                                             issues in cases.
CWS        04/24/2024   B160     2.10   845.00       1774.50 Review and approve
                                                             interim fee statement
                                                             for filing (1.3); draft
                                                             related
                                                             correspondence (.8).
VLD        04/27/2024   B160     0.30   875.00        262.50 Emails on extension
                                                             to object to Tenoe's
                                                             fees and confirming
                                                             same.
EEW        04/29/2024   B130     0.80   295.00        236.00 Revise motion for
                                                             order authorizing sale
                                                             of real property FM
                                                             621 - Ranch.
CWS        04/29/2024   B195     1.80   845.00       1521.00 Travel from DFW to
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Austin for client
                                                               meeting [billed at
                                                               half-time].
CWS        04/29/2024   B110     3.30   845.00       2788.50 Prepare for and attend
                                                             client meeting and
                                                             meeting with
                                                             financial advisor.
CWS        04/29/2024   B250     1.70   845.00       1436.50 Perform document
                                                             review related to
                                                             homestead exemption
                                                             issues.
EEW        04/30/2024   B160     5.20   295.00       1534.00 Review TXSB LBRs
                                                             (.2); initial draft of
                                                             final fee application
                                                             (5.0).
CWS        04/30/2024   B195     1.80   845.00       1521.00 Travel from Austin to
                                                             DFW from client
                                                             meeting [billed at
                                                             half-time].
CWS        04/30/2024   B320     3.30   845.00       2788.50 Conference and
                                                             analysis regarding
                                                             outstanding case
                                                             matters.
EEW        05/01/2024   B320     0.10   295.00         29.50 Review email
                                                             correspondence from
                                                             US Trustee's Office
                                                             regarding extension
                                                             of plan objection
                                                             deadline and docket
                                                             same.
EEW        05/01/2024   B130     0.30 295.00           88.50 Finalize and file
                                                             motion to sell FM 621
                                                             and docket objection
                                                             deadline.
EEW        05/01/2024   B160     1.80   295.00        531.00 Review spreadsheet
                                                             received from
                                                             Blackbriar Advisors
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               and draft eleventh
                                                               monthly fee
                                                               statement.
CWS        05/01/2024   B150     1.70   845.00       1436.50 Review creditor and
                                                             UST correspondence
                                                             (.8); attend call
                                                             regarding same (.9).
CWS        05/01/2024   B110     1.70   845.00       1436.50 Call and
                                                             correspondence
                                                             regarding case
                                                             strategy matters.
CWS        05/02/2024   B120     4.00   845.00       3380.00 Draft Notice of 2004
                                                             Examination of Luke
                                                             Blair Construction
                                                             (1.8); pull
                                                             information regarding
                                                             same (2.2).
VLD        05/03/2024   B320     1.50   875.00       1312.50 Call with CT on
                                                             liquidating plan and
                                                             related issues (.8);
                                                             call with client
                                                             regarding same (.7).
CWS        05/03/2024   B150     2.80   845.00       2366.00 Prepare for and attend
                                                             call with creditors
                                                             (1.7); review
                                                             correspondence
                                                             regarding same (1.1).
JCD        05/06/2024   B190     1.00   505.00        505.00 Review District Court
                                                             order (.3); begin
                                                             preparations for oral
                                                             argument (.7).
VLD        05/06/2024   B320     2.10   875.00       1837.50 Drafting liquidating
                                                             plan (1.9); emails
                                                             with UCC on
                                                             liquidating plan. (.2)
VLD        05/07/2024   B110     1.50   875.00       1312.50 Calls with client
                                                             regarding status of
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               case (.8); calls with
                                                               FA regarding status of
                                                               case (.7).
EEW        05/07/2024   B160     0.80 295.00          236.00 Finalize and file
                                                             eleventh monthly fee
                                                             statement of
                                                             BlackBriar Advisors
                                                             and serve via email to
                                                             notice parties.
EEW        05/07/2024   B190     0.30 295.00           88.50 Review setting
                                                             notices in both
                                                             appeals cases and
                                                             docket hearing dates
                                                             on motions for leave.
VLD        05/08/2024   B130     0.20   875.00        175.00 Setting motion to sell
                                                             for hearing.
VLD        05/08/2024   B190     1.50 875.00         1312.50 Emails with UCC on
                                                             timing of production
                                                             of invoices (.1); call
                                                             with FA regarding
                                                             FSS finding
                                                             additional invoices
                                                             and obtaining same
                                                             for production (.5).
EEW        05/08/2024   B130     0.20   295.00         59.00 Email
                                                             correspondence to the
                                                             court case manager
                                                             regarding setting
                                                             motion to sell FM 621
                                                             for hearing the same
                                                             day as the status
                                                             conference scheduled
                                                             for 05-21-2024.
EEW        05/08/2024   B110     0.20 295.00           59.00 Docket status
                                                             conference scheduled
                                                             in both the AJ and
                                                             FSS cases for
                                                             05-21-2024.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
EEW        05/08/2024   B160     0.20   295.00         59.00 Review the UCC's fee
                                                             and expense summary
                                                             for February and
                                                             March, 2024 and
                                                             forward to BlackBriar
                                                             Advisors.
EEW        05/08/2024   B120     0.10   295.00         29.50 Review motion for
                                                             turnover of property
                                                             of Cicack Holdings in
                                                             the FSS case and
                                                             docket objection
                                                             deadline.
EEW        05/08/2024   B130     0.50   295.00        147.50 Draft notice of
                                                             hearing on motion to
                                                             sell FM 621.
LGD        05/09/2024   B190     0.20   195.00         39.00 Prepare supplemental
                                                             client document
                                                             production.
VLD        05/09/2024   B320     2.50   875.00       2187.50 Review and revise
                                                             liquidating plan (2.3);
                                                             emails with UCC on
                                                             related documents.
                                                             (.2)
VLD        05/09/2024   B190     1.80   875.00       1575.00 Coordinate document
                                                             production of
                                                             invoices coded "home
                                                             construction" and
                                                             paid by FSS to UCC
                                                             and review same.
CWS        05/09/2024   B320     7.20   845.00       6084.00 Review and revise
                                                             Plan (4.7); draft
                                                             related
                                                             correspondence (1.2);
                                                             call regarding same
                                                             (.9); correspondence
                                                             with creditors
                                                             regarding trust
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               provisions (.4).
CWS        05/10/2024   B320     6.20   845.00       5239.00 Prepare for and attend
                                                             Plan conference call
                                                             (2.1); draft and revise
                                                             plan (2.8); draft
                                                             multiple
                                                             correspondence
                                                             regarding same (1.3).
CWS        05/10/2024   B160     0.30   845.00        253.50 Review and respond
                                                             to fee inquiries.
VLD        05/13/2024   B320     0.40   875.00        350.00 Analyze issues with
                                                             liquidating plan.
CWS        05/13/2024   B150     0.30   845.00        253.50 Review and respond
                                                             to creditor
                                                             correspondence.
CWS        05/13/2024   B160     0.30   845.00        253.50 Review and respond
                                                             to interim fee
                                                             inquiries.
CWS        05/13/2024   B320     0.30   845.00        253.50 Draft Plan-related
                                                             correspondence.
EEW        05/13/2024   B110     1.60   295.00        472.00 Electronic document
                                                             and case file
                                                             management.
EEW        05/14/2024   B160     2.00   295.00        590.00 Review spreadsheet
                                                             received from
                                                             Blackbriar Advisors
                                                             and draft twelfth
                                                             monthly fee
                                                             statement.
EEW        05/14/2024   B110     0.20   295.00         59.00 Email
                                                             correspondence to
                                                             Bob Schleizer and
                                                             Kathy Norderhaug
                                                             regarding notice
                                                             received from US
                                                             Trustee's office.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
EEW        05/14/2024   B130     0.20 295.00           59.00 Finalize and file
                                                             notice of hearing on
                                                             motion to sell FM
                                                             621.
VLD        05/14/2024   B320     6.40   875.00       5600.00 Call with TX, CT and
                                                             UCC on settlement
                                                             terms and related
                                                             issues (.8); meetings
                                                             with client analyzing
                                                             items in settlement
                                                             and developing
                                                             strategy for response
                                                             (3.1); calls with
                                                             various constituents
                                                             regarding liquidating
                                                             plan terms (1.2);
                                                             review and revise
                                                             counter proposal
                                                             terms (.9); emails
                                                             with CT counsel on
                                                             settlement terms (.4).
VLD        05/14/2024   B210     1.30   875.00       1137.50 Review and analyze
                                                             status of FSS and
                                                             related issues.
VLD        05/14/2024   B130     1.00   875.00        875.00 Review emails from
                                                             title company and
                                                             start search for
                                                             documents
                                                             responding to same.
                                                             (.8); review and
                                                             approve notice of
                                                             hearing for filing and
                                                             service (.2).
CWS        05/14/2024   B320     2.10   845.00       1774.50 Review and analyze
                                                             counter proposal to
                                                             plaintiffs (1.3);
                                                             conference regarding
                                                             same (.8).
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
EEW        05/15/2024   B160     0.00     0.00          0.00 Finalize, file and
                                                             e-serve to notice
                                                             parties twelfth
                                                             monthly fee statement
                                                             of Blackbriar
                                                             Advisors.
EEW        05/15/2024   B160     0.70   295.00        206.50 Finalize, file and
                                                             e-serve to notice
                                                             parties twelfth
                                                             monthly fee statement
                                                             of Blackbriar
                                                             Advisors.
VLD        05/15/2024   B110     3.00   875.00       2625.00 Review and revise
                                                             liquidating plan and
                                                             related documents
                                                             (2.2); review and
                                                             revise settlement
                                                             offer terms (.8).
VLD        05/15/2024   B320     0.20   875.00        175.00 Emails approving
                                                             extension.
CWS        05/15/2024   B160     1.60   845.00       1352.00 Correspondence
                                                             regarding
                                                             professional fee
                                                             issues.
CWS        05/15/2024   B110     2.30   845.00       1943.50 Perform analysis
                                                             regarding case
                                                             closure and
                                                             conversion matters.
EEW        05/16/2024   B160     1.00   295.00        295.00 Prepare task code
                                                             spreadsheet for all
                                                             time entries from
                                                             12-02-2022 through
                                                             present and work on
                                                             final fee application.
JCD        05/16/2024   B110     1.00   505.00        505.00 Trial team call to
                                                             discuss bankruptcy
                                                             exit strategies and
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               also the hearing on
                                                               May 31, 2024
VLD        05/16/2024   B110     0.90   875.00        787.50 Analyze issues
                                                             regarding exit from
                                                             case under various
                                                             scenarios.
VLD        05/16/2024   B320     3.80   875.00       3325.00 Analyze and revise
                                                             settlement offer to CT
                                                             and TX for
                                                             liquidating plan
                                                             resolving limited
                                                             issues (2.3); emails
                                                             with CT counsel on
                                                             liquidating plan and
                                                             timing (.2); review
                                                             transcript from last
                                                             status conference
                                                             regarding statements
                                                             by TX and CT
                                                             lawyers (.4); analyze
                                                             issues with reviving
                                                             Jones plan and
                                                             interest of client in
                                                             same (.9).
DJM        05/16/2024   B110     0.50   335.00        167.50 Develop strategy
                                                             regarding exit from
                                                             bankruptcy.
CWS        05/16/2024   B320     6.20 845.00         5239.00 Conferences
                                                             regarding
                                                             counter-proposal to
                                                             plaintiff parties (1.2);
                                                             prepare multiple
                                                             revisions to draft
                                                             counter-proposal
                                                             (2.9); draft multiple
                                                             correspondence
                                                             regarding same (1.3);
                                                             review multiple
                                                             creditor
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               correspondence (.8).
RJY        05/17/2024   B110     0.60   365.00        219.00 Formulate strategy
                                                             for exiting
                                                             bankruptcy
                                                             post-mediation.
VLD        05/17/2024   B320     1.70   875.00       1487.50 Review email from K.
                                                             Kimpler rejecting
                                                             settlement offer (.1);
                                                             emails to team and
                                                             FSS to seek
                                                             information on how to
                                                             resolve cases in light
                                                             of CT's failure to
                                                             negotiate (.3); calls
                                                             with various parties
                                                             on direction of
                                                             confirmation hearing
                                                             (1.3).
JLJ        05/17/2024   B110     4.50   265.00       1192.50 Develop strategy
                                                             regarding exit in
                                                             bankruptcy.
DJM        05/17/2024   B110     4.50   335.00       1507.50 Develop strategy
                                                             regarding exit from
                                                             bankruptcy.
CWS        05/17/2024   B320     2.00   845.00       1690.00 Review and analyze
                                                             Creditors' Notice
                                                             regarding Plan (1.1);
                                                             conference regarding
                                                             same (.9).
CWS        05/17/2024   B150     0.80   845.00        676.00 Review and analyze
                                                             multiple creditor
                                                             correspondence.
EEW        05/17/2024   B320     0.30 295.00           88.50 Download and
                                                             circulate to team
                                                             notice regarding
                                                             creditors' plan (.1);
                                                             review email
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               correspondence from
                                                               court case manager
                                                               and docket continued
                                                               status conference date
                                                               and reset hearing date
                                                               to consider
                                                               confirmation (.2).
DJM        05/18/2024   B110     3.90   335.00       1306.50 Develop strategy
                                                             regarding exit from
                                                             bankruptcy (2.3);
                                                             assist with
                                                             preparations for
                                                             Motion for Leave to
                                                             Appeal (1.6).
DJM        05/19/2024   B110     3.10   335.00       1038.50 Develop strategy
                                                             regarding exit from
                                                             bankruptcy.
VLD        05/20/2024   B110     0.30   875.00        262.50 Call with expert on
                                                             status of case and
                                                             confirmation.
VLD        05/20/2024   B190     0.40   875.00        350.00 Review emails on
                                                             document production
                                                             and call with S.
                                                             Lemmon regarding
                                                             same.
VLD        05/20/2024   B130     0.20   875.00        175.00 Email documents to
                                                             title company
                                                             regarding court
                                                             approval.
VLD        05/20/2024   B320     4.50   875.00       3937.50 Review and analyze
                                                             notice filed by UCC
                                                             on plan resumption
                                                             and analyze response
                                                             needed to same (.8);
                                                             scheduling call with
                                                             UCC (.2); call with L.
                                                             Freeman on issues
                                                             with path to resolving
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               cases (.5); analyze
                                                               alternative landings
                                                               of cases and paths
                                                               forward (1.1); call
                                                               with UCC (.4); revise
                                                               plan per call with
                                                               UCC(1.3); review and
                                                               revise notice for
                                                               filing. (.2)
JLJ        05/20/2024   B110     5.70   265.00       1510.50 Develop strategy
                                                             regarding exit in
                                                             bankruptcy (3.7);
                                                             analyze issues for
                                                             Motion for Leave to
                                                             appeal (2.0).
DJM        05/20/2024   B110     5.90   335.00       1976.50 Develop strategy
                                                             regarding exit from
                                                             bankruptcy.
CWS        05/20/2024   B320     4.70   845.00       3971.50 Prepare for and attend
                                                             call with UCC
                                                             regarding status
                                                             conference (.9);
                                                             review and respond to
                                                             related
                                                             correspondence (1.4);
                                                             draft Notice and
                                                             Comment Regarding
                                                             Creditor Notice (2.4).
CWS        05/20/2024   B320     1.60   845.00       1352.00 Review revised Plan
                                                             (1.1); draft related
                                                             correspondence (.3);
                                                             review UST
                                                             comments (.2).
CWS        05/20/2024   B190     1.10   845.00        929.50 Review Summary
                                                             Judgment Response
                                                             in FSS.
VLD        05/21/2024   B110     2.30   875.00       2012.50 Calls with FSS
                                                             counsel on strategy
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               for status conference
                                                               (.6); meeting with
                                                               other constituents
                                                               preparing for status
                                                               conference (1.1);
                                                               attend status
                                                               conference (.6).
VLD        05/21/2024   B195     2.60   875.00       2275.00 Travel from Dallas to
                                                             Houston (1.6 (billed
                                                             at half time 3.2);
                                                             aborted travel from
                                                             Houston to Dallas due
                                                             to weather 1.0 (billed
                                                             at half time 2.0).
VLD        05/21/2024   B130     2.70   875.00       2362.50 Preparation for and
                                                             attend hearing on sale
                                                             of ranch (1.4); revise
                                                             order and send to
                                                             creditors for review
                                                             and approval (.5);
                                                             review and analyze
                                                             information from title
                                                             company on issues
                                                             with chain of title (.8).
JLJ        05/21/2024   B110     5.50   265.00       1457.50 Develop strategy
                                                             regarding exit in
                                                             bankruptcy.
DJM        05/21/2024   B110    11.20   335.00       3752.00 Develop strategy
                                                             regarding exit from
                                                             bankruptcy (7.7);
                                                             preparation for oral
                                                             argument on Motion
                                                             for Leave (3.5).
CWS        05/21/2024   B320     2.90   845.00       2450.50 Attend status
                                                             conference and
                                                             review multiple
                                                             related
                                                             correspondence.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
CWS        05/21/2024   B320     1.40   845.00       1183.00 Review creditor
                                                             comments regarding
                                                             markup of Creditor
                                                             plan (.6); draft related
                                                             correspondence (.8).
CWS        05/21/2024   B190     2.50   845.00       2112.50 Review summary
                                                             judgment objection
                                                             (1.7); review turnover
                                                             objection (.8).
EEW        05/21/2024   B130     1.00   295.00        295.00 Review email
                                                             correspondence from
                                                             title company
                                                             regarding documents
                                                             needed for closing on
                                                             FM 621 ranch and
                                                             begin procuring
                                                             documents regarding
                                                             same.
EEW        05/21/2024   B130     0.20   295.00         59.00 Email
                                                             correspondence to
                                                             Chrystal Madden and
                                                             Kathy Nordenhaug
                                                             regarding operating
                                                             agreement for
                                                             Guadalupe Land
                                                             Water, LLC in
                                                             preparation for
                                                             closing on
                                                             06-07-2024.
EEW        05/21/2024   B130     1.00   295.00        295.00 Revise proposed sale
                                                             order and submit to
                                                             the court for
                                                             consideration.
EEW        05/21/2024   B110     2.20   295.00        649.00 Review spreadsheet
                                                             received from
                                                             BlackBriar Advisors
                                                             and draft April
                                                             monthly operating
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               report.
EEW        05/21/2024   B130     0.10   295.00         29.50 Email
                                                             correspondence to
                                                             Sara Brauner,
                                                             Katherine Porter,
                                                             Kyle Kimpler and
                                                             Jennifer Hardy
                                                             circulating proposed
                                                             sale order for FM 621
                                                             for approval.
JCD        05/22/2024   B190     2.00   505.00       1010.00 Review the briefing
                                                             on Motion for Leave
                                                             to appeal.
RJY        05/22/2024   B110     0.90   365.00        328.50 Develop strategy on
                                                             bankruptcy case exit.
MLF        05/22/2024   B110     5.70   200.00       1140.00 Develop strategy
                                                             regarding exit in
                                                             bankruptcy (2.4);
                                                             perform and analyze
                                                             research regarding
                                                             Motion for Leave
                                                             (3.3).
VLD        05/22/2024   B110     4.50   875.00       3937.50 Calls and emails with
                                                             various constituencies
                                                             on strategy and
                                                             Plaintiffs' position on
                                                             exit strategy for Jones
                                                             and FSS (1.3); calls
                                                             with client regarding
                                                             same (1.1); calls
                                                             regarding timing on
                                                             FSS and Jones plans
                                                             and direction and
                                                             coordination
                                                             regarding same (1.1).
VLD        05/22/2024   B120     0.60   875.00        525.00 Analyze asset status
                                                             and related issues.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
VLD        05/22/2024   B195     1.60   875.00       1400.00 Travel from Houston
                                                             to Dallas. 1.6 (billed
                                                             at half time 3.2).
VLD        05/22/2024   B210     1.80   875.00       1575.00 Call with client and
                                                             FA regarding
                                                             meetings and issues
                                                             with broadcast and
                                                             staff meeting (1.2);
                                                             review recording of
                                                             meeting (.6).
VLD        05/22/2024   B130     0.60   875.00        525.00 Emails with title
                                                             company on corrected
                                                             deeds needed for sale
                                                             (.3); researching
                                                             documents needed by
                                                             title company for sale
                                                             (.3).
JLJ        05/22/2024   B110     2.00   265.00        530.00 Develop strategy
                                                             regarding exit in
                                                             bankruptcy.
DJM        05/22/2024   B110     8.10   335.00       2713.50 Develop strategy
                                                             regarding exit from
                                                             bankruptcy (5.7);
                                                             preparation for oral
                                                             argument (2.4).
CWS        05/22/2024   B110     4.80   845.00       4056.00 Perform research and
                                                             analysis regarding
                                                             case closure issues.
EEW        05/22/2024   B110     0.60   295.00        177.00 Revise, finalize and
                                                             file April monthly
                                                             operating report.
MLF        05/23/2024   B110     2.80   200.00        560.00 Develop strategy
                                                             regarding exit in
                                                             bankruptcy.
JLJ        05/23/2024   B110     9.00   265.00       2385.00 Develop strategy
                                                             regarding exit in
                                                             bankruptcy (5.1);
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               assist with oral
                                                               argument preparation
                                                               (3.9)
DJM        05/23/2024   B110     9.30   335.00       3115.50 Develop strategy
                                                             regarding exit from
                                                             bankruptcy (6.2);
                                                             prepare for oral
                                                             argument (3.1).
CWS        05/23/2024   B320     2.40   845.00       2028.00 Review draft revised
                                                             Plan of Liquidation
                                                             (.5); draft
                                                             correspondence
                                                             regarding same (.8);
                                                             review multiple
                                                             correspondence
                                                             regarding same (1.1).
CWS        05/23/2024   B320     2.30 845.00         1943.50 Conferences and
                                                             multiple
                                                             correspondence
                                                             regarding plan
                                                             negotiations and
                                                             status of various case
                                                             issues.
MLF        05/24/2024   B110     4.50 200.00          900.00 Review strategy
                                                             regarding exit in
                                                             bankruptcy.
RJY        05/24/2024   B110     0.60   365.00        219.00 Formulate bankruptcy
                                                             exit strategy with
                                                             Deric J. McClellan.
CWS        05/24/2024   B320     3.50   845.00       2957.50 Review and analyze
                                                             Creditor Plan (.8);
                                                             draft multiple
                                                             correspondence
                                                             regarding same (1.6);
                                                             calls regarding same
                                                             (1.1).
JLJ        05/24/2024   B110     4.50   265.00       1192.50 Develop strategy
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               regarding exit in
                                                               bankruptcy.
DJM        05/24/2024   B110     7.90   335.00       2646.50 Develop strategy
                                                             regarding exit from
                                                             bankruptcy (5.6);
                                                             prepare for oral
                                                             argument (2.3).
CWS        05/24/2024   B320     1.20   845.00       1014.00 Review draft FSS
                                                             Plan.
EEW        05/24/2024   B130     0.20   295.00         59.00 Review email
                                                             correspondence from
                                                             title company
                                                             regarding outstanding
                                                             items still needed
                                                             prior to closing on
                                                             06-07-24 for FM 621
                                                             (.1); docket closing
                                                             date (.1).
RJY        05/25/2024   B110     0.80   365.00        292.00 Review and analyze
                                                             bankruptcy exit
                                                             strategy.
DJM        05/25/2024   B110    11.90   335.00       3986.50 Develop strategy
                                                             regarding exit from
                                                             bankruptcy (3.1);
                                                             prepare for oral
                                                             argument (8.8)
DJM        05/26/2024   B110    12.40   335.00       4154.00 Develop strategy
                                                             regarding exit from
                                                             bankruptcy (2.6);
                                                             prepare for Motion
                                                             for Leave oral
                                                             arguments (9.8).
RJY        05/27/2024   B110     0.50   365.00        182.50 Work with team to
                                                             develop bankruptcy
                                                             exit strategy.
JLJ        05/27/2024   B110     1.80   265.00        477.00 Develop strategy
                                                             regarding exit in
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               bankruptcy.
DJM        05/27/2024   B110    12.10   335.00       4053.50 Develop strategy
                                                             regarding exit from
                                                             bankruptcy (7.1);
                                                             preparation for
                                                             Motion for Leave to
                                                             appeal hearing (5.0).
CWS        05/28/2024   B150     2.80   845.00       2366.00 Calls and
                                                             correspondence with
                                                             multiple creditors
                                                             regarding case issues.
CWS        05/28/2024   B110     5.90   845.00       4985.50 Perform research and
                                                             analysis regarding
                                                             bankruptcy
                                                             conversion issues
                                                             (2.8); draft Motion to
                                                             Convert Case (3.1).
JCD        05/28/2024   B190     1.50   505.00        757.50 Review the papers
                                                             and case law
                                                             regarding the
                                                             interlocutory appeal,
                                                             and prepare for oral
                                                             argument.
MLF        05/28/2024   B110     5.60   200.00       1120.00 Review strategy for
                                                             bankruptcy case.
RJY        05/28/2024   B110     5.50   365.00       2007.50 Formulate a
                                                             comprehensive
                                                             strategy to efficiently
                                                             exit bankruptcy and
                                                             ensure legal
                                                             compliance regarding
                                                             same.
JLJ        05/28/2024   B110     1.30   265.00        344.50 Develop strategy
                                                             regarding exit in
                                                             bankruptcy.
DJM        05/28/2024   B110    10.60   335.00       3551.00 Develop strategy
                                                             regarding exit from
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               bankruptcy (5.3);
                                                               preparation for
                                                               Motion for Leave to
                                                               Appeal hearing (5.1).
EEW        05/28/2024   B130     0.50   295.00        147.50 Everlaw search for
                                                             operating agreement
                                                             for Guadalupe
                                                             County Land and
                                                             Water, LLC (.4);
                                                             telephone call with
                                                             Kathy Norderhaug at
                                                             BlackBriar Advisors
                                                             regarding same (.1).
RJY        05/29/2024   B190     4.80   365.00       1752.00 Assist with
                                                             preparation for
                                                             argument of Motion
                                                             for Leave to Appeal.
MLF        05/29/2024   B190     2.00   200.00        400.00 Assist with
                                                             preparations for
                                                             Motion for Leave to
                                                             Appeal hearing.
DJM        05/29/2024   B190    11.90   335.00       3986.50 Prepare for Motion
                                                             for Leave to Appeal
                                                             contested hearing.
JLJ        05/29/2024   B190     4.00   265.00       1060.00 bankruptcyPrepare
                                                             for Motion for Leave
                                                             to Appeal contested
                                                             hearing.
JCD        05/29/2024   B190     4.00   505.00       2020.00 Review and study all
                                                             briefing from Texas
                                                             and Connecticut
                                                             plaintiffs, the
                                                             Bankruptcy Court
                                                             MSJ opinion, and
                                                             prepare notes for oral
                                                             argument.
JCD        05/29/2024   B190     1.50   505.00        757.50 Conduct Mock Oral
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               Argument/
AS         05/29/2024   B110     0.80   330.00        264.00 Begin researching
                                                             whether a bankruptcy
                                                             trustee can assert
                                                             ownership and
                                                             control of a debtor's
                                                             single-member
                                                             non-debtor limited
                                                             liability company.
CWS        05/29/2024   B320    10.10   845.00       8534.50 Multiple conference
                                                             calls with creditors
                                                             and parties in interest
                                                             (3.7); multiple email
                                                             correspondence with
                                                             parties in interest
                                                             regarding case status
                                                             and finalization issues
                                                             (3.3); review and
                                                             analyze research
                                                             issues impacting plan
                                                             matters (3.1).
EEW        05/29/2024   B130     0.20   295.00         59.00 Confirm wire
                                                             instructions for
                                                             escrow account and
                                                             circulate to
                                                             BlackBriar Advisors.
EEW        05/29/2024   B110     1.00   295.00        295.00 Electronic document
                                                             and case file
                                                             management.
DJM        05/30/2024   B195     2.10   335.00        703.50 Travel to Houston for
                                                             hearing on motion for
                                                             leave to file
                                                             interlocutory appeal
                                                             [4.2 billed at
                                                             half-time]
DJM        05/30/2024   B190    12.10   335.00       4053.50 Prepare for oral
                                                             argument on Motion
                                                             for Leave to Appeal.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
AS         05/30/2024   B110     2.80 330.00          924.00 Continue researching
                                                             whether a bankruptcy
                                                             trustee can assert
                                                             ownership and
                                                             control of a debtor's
                                                             single-member
                                                             non-debtor limited
                                                             liability company.
AS         05/30/2024   B190     1.10   330.00        363.00 Draft email
                                                             memorandum
                                                             regarding whether a
                                                             bankruptcy trustee
                                                             can assert ownership
                                                             and control of a
                                                             debtor's
                                                             single-member
                                                             non-debtor limited
                                                             liability company.
CWS        05/30/2024   B210     3.80   845.00       3211.00 Calls and
                                                             correspondence with
                                                             FSS parties in interest
                                                             regarding various
                                                             case matters.
CWS        05/30/2024   B320     6.60   845.00       5577.00 Review and analyze
                                                             research regarding
                                                             plan issues (3.3); draft
                                                             and review related
                                                             correspondence (1.1);
                                                             calls and
                                                             correspondence
                                                             regarding plan issues
                                                             (2.2).
EEW        05/30/2024   B110     1.00   295.00        295.00 Prepare client packet
                                                             for chapter 7
                                                             documents and
                                                             forward to BlackBriar
                                                             Advisors (.5); transfer
                                                             all data from chapter
                                                             11 filing to chapter 7
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               (.5).
EEW        05/30/2024   B130     0.30   295.00         88.50 Email
                                                             correspondence from
                                                             title company
                                                             regarding operating
                                                             agreement for
                                                             Guadalupe County
                                                             Land and Water,
                                                             L.L.C (.1); TXSOS
                                                             search for certificate
                                                             of formation and
                                                             forward same to title
                                                             company (.2).
EEW        05/30/2024   B130     0.80 295.00          236.00 Everlaw and Litshare
                                                             search for survey for
                                                             the Lake Travis
                                                             property (.5); receipt
                                                             and review of
                                                             appraisal for property
                                                             received from Shelby
                                                             Jordan's office (.2);
                                                             email correspondence
                                                             to BlackBriar
                                                             Advisors forwarding
                                                             same (.1).
DJM        05/31/2024   B195     2.10   335.00        703.50 Travel to Tulsa from
                                                             hearing on motion for
                                                             leave to file
                                                             interlocutory appeal
                                                             [4.2 billed at
                                                             half-time]
DJM        05/31/2024   B110     5.10   335.00       1708.50 Develop strategy
                                                             regarding exit from
                                                             bankruptcy and
                                                             perform research
                                                             regarding same.
CWS        05/31/2024   B320     8.70   845.00       7351.50 Attend calls and
                                                             review and respond to
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               correspondence
                                                               regarding
                                                               plan/conversion
                                                               issues (2.5); make
                                                               revisions to
                                                               liquidating plan (1.2);
                                                               draft motion to
                                                               convert case (2.8);
                                                               draft plan objections
                                                               (2.2).
CWS        05/31/2024   B160     2.30 845.00         1943.50 Review and revise fee
                                                             statement.
EEW        05/31/2024   B160     2.60 295.00          767.00 Draft, finalize and file
                                                             thirteenth monthly fee
                                                             statement of Crowe &
                                                             Dunlevy (2.3);
                                                             e-serve same on all
                                                             notice parties and
                                                             docket objection
                                                             deadline (.3).
EEW        05/31/2024   B160     2.50   295.00        737.50 Review spreadsheet
                                                             received from
                                                             BlackBriar Advisors
                                                             and draft, finalize and
                                                             file May monthly fee
                                                             statement (2.2);
                                                             e-serve on all notice
                                                             parties and docket
                                                             objection deadline
                                                             (.3).
CWS        06/01/2024   B110     3.80   845.00       3211.00 Calls with multiple
                                                             parties, including
                                                             client, regarding
                                                             various case matters.
CWS        06/02/2024   B110     1.30   845.00       1098.50 Client calls regarding
                                                             case status (.8); call
                                                             with creditor
                                                             regarding case status
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               (.5).
CWS        06/02/2024   B320     1.80 845.00         1521.00 Draft Plan objections.
CWS        06/03/2024   B210     1.80   845.00       1521.00 Review Emergency
                                                             Motion to Convert
                                                             FSS to Chapter 7
                                                             (1.2); draft and
                                                             review related
                                                             correspondence (.6).
CWS        06/03/2024   B210     3.80   845.00       3211.00 Prepare for and attend
                                                             FSS Cash Collateral
                                                             Hearing (1.8); calls
                                                             and correspondence
                                                             with various parties in
                                                             interest regarding
                                                             same (1.7); review
                                                             requested order from
                                                             FSS regarding
                                                             expanded CRO
                                                             powers (.3).
CWS        06/03/2024   B110     2.30   845.00       1943.50 Draft Motion to
                                                             Convert.
EEW        06/03/2024   B110     0.10   295.00         29.50 Review notice of
                                                             hearing on cash
                                                             collateral dispute in
                                                             FSS case and docket
                                                             hearing date for same.
VLD        06/03/2024   B210     1.10   875.00        962.50 Review and analyze
                                                             emergency motion
                                                             filed by CT Families
                                                             (.7); call with A.
                                                             Catmull on cash
                                                             collateral issues at
                                                             FSS and potential
                                                             resolutions to same
                                                             (.4).
CWS        06/04/2024   B320     3.70   845.00       3126.50 Draft and revise Plan
                                                             objections.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
CWS        06/04/2024   B110     4.30   845.00       3633.50 Draft and revise
                                                             Motion to Convert
                                                             (2.4); review and
                                                             analyze research
                                                             regarding denial of
                                                             same (1.9).
CWS        06/04/2024   B210     1.30   845.00       1098.50 Calls and
                                                             correspondence
                                                             regarding FSS request
                                                             for order seeing to
                                                             expand CRO powers.
DJM        06/04/2024   B320     4.50   335.00       1507.50 Review and analyze
                                                             statutes and cases
                                                             interpreting
                                                             conversion from
                                                             Chapter 11 to Chapter
                                                             7 and bad faith
                                                             exception
VLD        06/04/2024   B210     1.60   875.00       1400.00 Review email and
                                                             proposed order from
                                                             CRO seeking to
                                                             expand powers and
                                                             analyze response to
                                                             same (.3); calls with
                                                             various constituents
                                                             on issues with
                                                             weekend broadcasts
                                                             (1.3).
EEW        06/05/2024   B130     0.40   295.00        118.00 Email
                                                             correspondence to
                                                             and from Tabitha Hart
                                                             at title company
                                                             regarding 06-07-24
                                                             closing on the ranch.
EEW        06/05/2024   B190     0.20 295.00           59.00 Follow-up on new
                                                             hearing date for
                                                             adversary cases and
                                                             docket reset date for
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               same.
CWS        06/05/2024   B110     5.30   845.00       4478.50 Draft and revise
                                                             Motion to Convert
                                                             Case and proposed
                                                             order (3.2); calls and
                                                             correspondence with
                                                             client and creditors
                                                             regarding same (2.1).
CWS        06/05/2024   B130     1.00   845.00        845.00 Review closing
                                                             statement (.2); review
                                                             and respond to title
                                                             company request for
                                                             information (.3);
                                                             review closing
                                                             progress (.5).
CWS        06/05/2024   B320     1.10   845.00        929.50 Draft and revise Plan
                                                             objection.
EEW        06/05/2024   B190     0.40 295.00          118.00 Finalize and file
                                                             emergency motion to
                                                             convert case to
                                                             chapter 7 (.3); email
                                                             correspondence to
                                                             court case manager
                                                             regarding filing (.1).
DJM        06/05/2024   B320     7.90   335.00       2646.50 Review and analyze
                                                             statutes and cases
                                                             interpreting
                                                             conversion from
                                                             Chapter 11 to Chapter
                                                             7 and bad faith
                                                             exception.
CWS        06/06/2024   B110     5.10   845.00       4309.50 Review and respond
                                                             to UST
                                                             correspondence
                                                             regarding conversion
                                                             order (.3); calls and
                                                             correspondence
                                                             regarding conversion
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               issues (4.8).
CWS        06/06/2024   B210     3.10   845.00       2619.50 Calls and
                                                             correspondence
                                                             regarding FSS
                                                             dismissal or
                                                             conversion contested
                                                             issues.
EEW        06/07/2024   B130     0.10   295.00         29.50 Telephone call with
                                                             title company to
                                                             confirm wire
                                                             instructions for sale of
                                                             FM 621.
EEW        06/07/2024   B320     0.10   295.00         29.50 Review notice with
                                                             respect to creditors'
                                                             plan filed by the UCC
                                                             and circulate to team.
EEW        06/07/2024   B110     0.20   295.00         59.00 Review email
                                                             correspondence from
                                                             various new media
                                                             outlets and circulate
                                                             to team.
EEW        06/07/2024   B160     0.40   295.00        118.00 Review monthly fee
                                                             statements February -
                                                             April, 2024 for Teneo
                                                             Capital, LLC.
EEW        06/07/2024   B160     0.30   295.00         88.50 Procure creditor list
                                                             and forward to The
                                                             Reynal Law Firm to
                                                             serve final fee
                                                             application.
CWS        06/07/2024   B130     1.80   845.00       1521.00 Calls and
                                                             correspondence
                                                             regarding closing of
                                                             real estate sale.
CWS        06/07/2024   B210     2.70   845.00       2281.50 Calls and
                                                             correspondence in
                                                             preparation for
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               contested matter
                                                               related to dismissal or
                                                               conversion of FSS
                                                               case.
CWS        06/07/2024   B110     4.30   845.00       3633.50 Calls and
                                                             correspondence with
                                                             client, professionals,
                                                             and creditors
                                                             regarding conversion
                                                             of case.
CWS        06/08/2024   B110     1.60 845.00         1352.00 Client calls.
CWS        06/09/2024   B110     0.90 845.00          760.50 Client calls.
DJM        06/10/2024   B110     1.50   335.00        502.50 Develop strategy
                                                             regarding exit from
                                                             bankruptcy.
CWS        06/10/2024   B195     1.60   845.00       1352.00 Non-working travel
                                                             to Austin, billed at
                                                             half time 3.2.
CWS        06/10/2024   B110     2.40 845.00         2028.00 Client meeting
                                                             regarding conversion
                                                             matters (1.3); prepare
                                                             for hearing on
                                                             conversion (1.1).
CWS        06/10/2024   B210     6.00   845.00       5070.00 Calls and
                                                             correspondence
                                                             regarding hearing on
                                                             dismissal or
                                                             conversion issues
                                                             (3.2); preparation for
                                                             hearing on same (2.8).
VLD        06/10/2024   B195     1.60   875.00       1400.00 Travel to Austin (3.2
                                                             billed at half time).
VLD        06/10/2024   B210     4.20   875.00       3675.00 Emails and calls to
                                                             discuss path forward
                                                             for FSS (1.4); review
                                                             and revise dismissal
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               order (.8); developing
                                                               strategy on
                                                               post-dismissal
                                                               management and
                                                               related wind down
                                                               budget (.9); meetings
                                                               with client,
                                                               co-counsel and FA on
                                                               case strategy (1.1).
VLD        06/10/2024   B110     2.50   875.00       2187.50 Emails and calls to
                                                             discuss path forward
                                                             for case (1.2);
                                                             meetings with client,
                                                             co-counsel and FA on
                                                             case strategy (1.3).
DJM        06/11/2024   B110     3.10   335.00       1038.50 Develop strategy
                                                             regarding exit from
                                                             bankruptcy.
CWS        06/11/2024   B110    10.20   845.00       8619.00 Attend client
                                                             preparation meetings
                                                             (3.1); prepare for
                                                             hearing and draft
                                                             related pleadings
                                                             (4.4); related calls and
                                                             correspondence (2.7).
VLD        06/11/2024   B210     7.50   875.00       6562.50 Emails and calls to
                                                             discuss path forward
                                                             for FSS (1.1); review
                                                             and analyze
                                                             emergency motion by
                                                             Debtor (.4); review
                                                             and revise response to
                                                             motion for
                                                             instructions and
                                                             motion to convert
                                                             (1.5); email
                                                             notification to CRO
                                                             of actions taken
                                                             without conferring
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               with Jones as owner
                                                               and manager of
                                                               debtor LLC (.3);
                                                               analyze LLC
                                                               agreement and CRO
                                                               order and engagement
                                                               letter in support of
                                                               responsive pleadings
                                                               (.9); calls and emails
                                                               with counsel for
                                                               shipping
                                                               intermediary, counsel
                                                               for FSS, and PQPR on
                                                               issues with payment
                                                               and demand for
                                                               pre-payment (1.3);
                                                               review shipping
                                                               contract for remedies
                                                               and potential stay
                                                               violation if shipping
                                                               ceases (.6); calls and
                                                               meetings with client
                                                               on shipment issues
                                                               (.9); emails
                                                               documenting
                                                               resolution to shipping
                                                               payment issue (.3);
                                                               call with A. Catmull
                                                               on status of
                                                               winddown budget
                                                               (.2).
VLD        06/11/2024   B110     1.20   875.00       1050.00 Emails and calls to
                                                             discuss path forward
                                                             for case (.9); meetings
                                                             with client,
                                                             co-counsel and FA on
                                                             case strategy (.3).
RJY        06/12/2024   B110     5.10   365.00       1861.50 Assist with research
                                                             matters.
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
DJM        06/12/2024   B110     7.40   335.00       2479.00 Develop strategy
                                                             regarding exit from
                                                             bankruptcy (4.7);
                                                             assist with research
                                                             matters (2.7).
CWS        06/12/2024   B210     9.90   845.00       8365.50 Prepare for contested
                                                             hearing on dismissal
                                                             (3.3); attend client
                                                             meeting (1.1); calls
                                                             and correspondence
                                                             regarding hearing
                                                             preparation (2.2);
                                                             draft response and
                                                             lists (3.3).
VLD        06/12/2024   B110     9.70   875.00       8487.50 Emails and meetings
                                                             regarding case
                                                             resolution and
                                                             impacts of conversion
                                                             on client (1.0);
                                                             research and analysis
                                                             of issues raised as to
                                                             ownership of social
                                                             media accounts (2.1);
                                                             calls with client on
                                                             social media account
                                                             ownership (.8);
                                                             emails with
                                                             committee counsel on
                                                             form of conversion
                                                             order and status of
                                                             any comments or
                                                             objections to same
                                                             (.4); review and
                                                             analysis of proposed
                                                             order from CT. TX
                                                             and UCC to convert
                                                             case (.9); preparing
                                                             for hearing on
                                                             conversion (.8);
                                                             review and prepare
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               exhibits and witness
                                                               lists for hearing (1.1);
                                                               review and analyze
                                                               exhibits filed by other
                                                               parties (1.6); call with
                                                               TX counsel regarding
                                                               issues with
                                                               conversion order (.7);
                                                               emails with UST on
                                                               form of conversion
                                                               order (.3)
VLD        06/12/2024   B210     2.80 875.00         2450.00 Emails following up
                                                             on winddown budget
                                                             from FSS (.1);
                                                             preparations for
                                                             hearing on conversion
                                                             and dismissal; (.9)
                                                             review and revise
                                                             dismissal order (.6);
                                                             call with TX counsel
                                                             regarding dismissal
                                                             and conversion issues
                                                             in FSS hearing (.4);
                                                             research on standards
                                                             for conversion versus
                                                             dismissal (.8).
EEW        06/12/2024   B190     0.50   295.00        147.50 Draft witness and
                                                             exhibit list for June
                                                             14, 2024 hearing.
RJY        06/13/2024   B190     2.60 365.00          949.00 Assist with hearing on
                                                             Motion for Leave to
                                                             Appeal.
DJM        06/13/2024   B190    11.10   335.00       3718.50 Prepar for hearing on
                                                             Motion for Leave to
                                                             Appeal.
CWS        06/13/2024   B110     9.90   845.00       8365.50 Client calls and
                                                             meetings (1.6);
                                                             meetings with
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               creditors and
                                                               financial advisor
                                                               (2.3); preparation for
                                                               hearing on conversion
                                                               (4.8); correspondence
                                                               regarding same (1.2).
VLD        06/13/2024   B195     1.30   875.00       1137.50 Travel to Houston
                                                             (2.6 billed at half
                                                             time).
VLD        06/13/2024   B110     2.70   875.00       2362.50 Preparation for
                                                             conversion hearing
                                                             (2.8); addressing
                                                             issues with ownership
                                                             of social media
                                                             accounts (.9).
VLD        06/13/2024   B210     5.20   875.00       4550.00 Preparation for
                                                             dismissal or
                                                             conversion hearing
                                                             (3.1); analyze wind
                                                             down budget and
                                                             issues from call with
                                                             business parties (.9);
                                                             Analyze issues with
                                                             admissibility of
                                                             evidence in advance
                                                             of hearing (1.2).
EEW        06/13/2024   B310     0.80 295.00          236.00 Finalize and file
                                                             consolidated
                                                             objection to proofs of
                                                             claims for the Texas
                                                             Pltffs (.4); finalize
                                                             and file consolidated
                                                             objection to proofs of
                                                             claims for
                                                             Connecticut Pltffs
                                                             (.4).
EEW        06/13/2024   B190     0.40 295.00          118.00 Finalize and file
                                                             witness and exhibit
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Attorney      Date      Task   Hours    Rate     Bill Amount      Description of
                                                                Services Rendered
                                                               list for June 14, 2024
                                                               hearing.
EEW        06/13/2024   B190     0.80   295.00        236.00 Compile exhibits for
                                                             June 14, 2024
                                                             hearing, prepare for
                                                             filing and file with the
                                                             court.
JCD        06/14/2024   B190     2.00   505.00       1010.00 Prepare for hearing on
                                                             Motion for Leave to
                                                             Appeal.
MLF        06/14/2024   B190     1.00   200.00        200.00 Assist with
                                                             preparations for
                                                             Motion for Leave to
                                                             Appeal hearing.
RJY        06/14/2024   B320     8.20   365.00       2993.00 Development options
                                                             for bankruptcy exit;
                                                             formulate strategy
                                                             regarding same.
EEW        06/14/2024   B320     5.00   295.00       1475.00 Attend hearing on
                                                             conversion and
                                                             dismissal
                                                             telephonically.
DJM        06/14/2024   B190    10.20   335.00       3417.00 Prepare for Motion
                                                             for Leave to Appeal
                                                             hearing.
CWS        06/14/2024   B110     4.30   845.00       3633.50 Prepare for and attend
                                                             hearing on
                                                             conversion.
CWS        06/14/2024   B210     4.70   845.00       3971.50 Prepare for and attend
                                                             hearing on FSS
                                                             dismissal.
CWS        06/14/2024   B195     3.90   845.00       3295.50 Non-working Travel
                                                             Time [Billed at Half
                                                             Time 7.8].
VLD        06/14/2024   B110     4.80   875.00       4200.00 Preparation for and
                                                             attend dismissal
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Attorney       Date        Task   Hours      Rate     Bill Amount        Description of
                                                                       Services Rendered
                                                                      hearing (3.8); brief
                                                                      meetings with CH 7
                                                                      Trustee and counsel
                                                                      regarding next steps
                                                                      (.4); meetings with
                                                                      client on next steps
                                                                      (.6).
VLD        06/14/2024      B210       5.50   875.00        4812.50 Preparation for and
                                                                   attend dismissal or
                                                                   conversion hearing
                                                                   (5.1); calls with TX
                                                                   counsel on next steps
                                                                   (.4).
VLD        06/14/2024      B195       1.50   875.00        1312.50 Travel to Dallas (3.0
                                                                   billed at half time)
                                                                   1.5.
            Fees Total:           8,767.40            $4,337,267.50



                           TIME SUMMARY BY TIMEKEEPER

           Timekeeper                        Hours            Rate            Bill Amount


Allen, Becky B.                              12.60          285.00                 3,591.00
Anderson, Elliot P.                            2.30         385.00                  885.50
Barnes, Lynda G.                               2.80         180.00                  504.00
Beck, Wanzalle W.                              2.10         265.00                  556.50
Black, Taren M.                                0.60         200.00                  120.00
Blacklee, Charlotte G.                       19.00          225.32                 4,281.00
Campbell, Caitlin G.                           7.90         265.00                 2,093.50
Chamberlain, Caroline G.                     13.00          275.00                 3,575.00
Childers, Adam W.                              6.20         440.00                 2,728.00
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           Timekeeper               Hours          Rate        Bill Amount
Collins, Nancy A.                    62.50       671.64           41,977.50
Craig, Caylin C.                    238.90       278.28           66,481.00
Craige, Mark A.                        2.10      560.00            1,176.00
Dauphin, Lisa                        94.60       186.60           17,652.00
Davis, Chris                        252.40       476.55          120,280.00
Driver, Vickie L.                  1,753.90      815.95        1,431,102.50
Field, Jordan K.                       6.30      435.00            2,740.50
Figueroa, Miguel A.                  22.40       255.49            5,723.00
Finch, Amanda Mayo                  637.90       305.00          194,559.50
Foster, Madison L.                   21.60       200.00            4,320.00
Gerard, Allison N.                   65.50       345.00           22,597.50
Harlan, Danielle                    857.50       283.55          243,145.00
Jones, Jayci L.                      50.70       257.66           13,063.50
Kinser, Kelly S.                    101.90       285.00           29,041.50
Mangham, Renee L.                     0.80       200.00             160.00
McClellan, Deric J.                 896.40       315.41          282,736.50
McDonald, Chandler G.                20.50       255.00            5,227.50
McQuigg, Tynia                        1.50       380.00             570.00
Meacham, Lucas M.                    13.10       255.00            3,340.50
Ottaway, Cynda C.                     8.70       525.00            4,567.50
Palmer, Drew T.                       1.00       395.00             395.00
Regens, Craig M.                    162.10       595.00           96,449.50
Rinck, Tara A.                       19.00       200.00            3,800.00
Shuler, Shalene R.                    0.30       225.00               67.50
Simon, Jaycee M.                     58.80       265.00           15,582.00
Smith, Toni Bradley                  58.90       400.00           23,560.00
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           Timekeeper                                Hours            Rate             Bill Amount
Sokolosky, Alexander                                  72.30         306.63                 22,169.00
Stephenson, Christina W.                        1,507.40            765.68             1,154,192.00
Weaver, Elisa                                        772.40         295.00                227,858.00
Yates, Randall J.                                    424.30         341.74                145,002.00
Yoon, John H.                                        515.20         270.57                139,396.50
                               Total:           8,767.40                              $4,337,267.50




                                               SUMMARY OF TASKS
                                                                           Task
      Task            Hours               Amount                        Description
      B110          1,160.70            615,598.00       Bankruptcy - Case Administration
      B120           227.30             105,808.50       Bankruptcy - Asset Analysis and Recovery
      B130            74.70              43,347.00       Bankruptcy - Asset Disposition
      B140           104.20              69,587.50       Bankruptcy - Relief from Stay/Adequate
                                                         Protection Proceedings
      B150            54.50              36,398.00       Bankruptcy - Meetings of and
                                                         Communications with Creditors
      B160           580.00             291,767.13       Bankruptcy - Fee/Employment Applications
      B170            65.30              23,238.00       Bankruptcy - Fee/Employment Objections
      B180             0.70                203.00        Bankruptcy - Avoidance Action Analysis
      B185            85.80              52,681.00       Bankruptcy - Assumption/Rejection of
                                                         Leases and Contracts
      B190          3,785.40       1,532,446.37          Bankruptcy - Other Contested Matters
                                                         (excluding assumption/rejection motions)
      B195           286.20             181,382.50       Bankruptcy - Non-Working Travel
      B210           858.20             436,434.00       Bankruptcy - Business Operations
      B230            22.10              15,233.00       Bankruptcy - Financing/Cash Collections
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                                            SUMMARY OF TASKS
                                                                         Task
     Task           Hours              Amount                         Description
     B240            87.80            56,330.00       Bankruptcy - Tax Issues
     B250             1.70             1,436.50       Bankruptcy - Real Estate
     B310            53.60            31,708.50       Bankruptcy - Claims Administration and
                                                      Objections
     B320         1,319.20           843,668.50       Bankruptcy - Plan and Disclosure Statement
                                                      (including Business Plan)
     Total       8,767.40       $4,337,267.5
                                           0




                          DESCRIPTION OF DISBURSEMENTS

                                               Disb.
  Date       Disb. Type                      Amount            Description of Disbursement


12/02/2022   Professional services                 85.52   Legal Pro Systems for Opening
                                                           Bankruptcy Case
12/02/2022   Filing Fees and Other           1,738.00      Texas Southern Bankruptcy Court for
             Court Costs                                   filing fee for Bankruptcy Case
12/07/2022   Travel Expenses                      129.00   Stephenson, Christina reimbursement
                                                           of travel expense to Houston, Texas
                                                           for client meeting 12/7/2022; lodging
                                                           $129.00
12/08/2022   Travel Expenses                 1,647.48      Driver, Vickie reimbursement of travel
                                                           expense to Houston, Texas for client
                                                           meeting 12/5-8/2022; lodging
                                                           $1647.48
12/13/2022   Travel Expenses                      149.92   Driver, Vickie reimbursement of travel
                                                           expenses to Austin Texas for client
                                                           meeting 12/13/2022; transportation
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                                     Disb.
  Date       Disb. Type            Amount         Description of Disbursement
                                              $20.92 and lodging $129.00
12/15/2022   Travel Expenses        129.00    Driver, Vickie reimbursement for
                                              travel expenses to Austin Texas for
                                              client meeting 12/15/2022; lodging
                                              $129.00
01/04/2023   Meals                   34.60    Stephenson, Christina reimbursement
                                              for working meal
01/06/2023   Travel Expenses        951.02    Stephenson, Christina reimbursement
                                              of travel expenses to Austin Texas
                                              during client meeting 1/4-6/2023;
                                              transportation $ 258.00, lodging $
                                              498.91 and dinner $ 194.11
01/10/2023   Meals                  100.19    Stephenson, Christina reimbursement
                                              for working meal with Harold Kessler,
                                              Allison and Vickie Driver 12/7/2022
01/12/2023   Online Research         41.90    Online Pacer Searches 12/01/2022 to
                                              12/31/2022
01/12/2023   Online Research          3.40    Online Pacer Searches 12/01/2022 to
                                              12/31/2022
03/06/2023   eDiscovery Data         39.00    Everlaw- eDiscovery Data Hosting
             Hosting and Storage              and Storage for subscription database
                                              for the month of February 2023
03/20/2023   Travel Expenses       2,257.03   Driver , Vickie reimbursement of
                                              travel expenses with Amanda Finch to
                                              Austin, TX for client meetings
                                              3/7-8/2023; transportation $ 258.00,
                                              lodging $ 1719.10 and meals $ 279.93
04/06/2023   eDiscovery Data         39.00    Everlaw- eDiscovery Data Hosting
             Hosting and Storage              and Storage for subscription database
                                              for the month of March 2023
04/06/2023   Travel Expenses        689.15    Finch , Amanda reimbursement of
                                              travel expenses to Austin Texas for
                                              client work on Bankruptcy Matter
                                              3/8-10/2023; 54 miles x .655/mile= $
                                              35.37, transportation $ 588.66 and
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                                     Disb.
  Date       Disb. Type            Amount        Description of Disbursement
                                              meals $ 65.12
04/06/2023   Travel Expenses       1,727.78   Finch , Amanda reimbursement of
                                              travel expenses to Austin Texas for
                                              client work on Bankruptcy Matter
                                              3/13-17/2023; 54 miles x .655/mile= $
                                              35.37, transportation $ 1360.27 and
                                              meals $ 332.14
04/06/2023   Meals                   49.94    Stephenson, Christina reimbursement
                                              for purchase of meal for Crissie
                                              Stephenson and Elisa Weaver 3/2023
04/06/2023   Meals                   71.45    Stephenson, Christina reimbursement
                                              for purchase of meal for Crissie
                                              Stephenson and Elisa Weaver 3/2023
04/06/2023   Meals                  109.86    Driver , Vickie reimbursement for
                                              working lunch with Harold Kessler
                                              with BlackBriar, Caylin Craig,
                                              Amanda Finch and Vickie Driver
                                              3/28/2023
04/10/2023   Miscellaneous           10.15    Staine, Christopher reimbursement for
                                              Texas Research Fees 3/29/2023
04/18/2023   Travel Expenses         16.96    Driver , Vickie reimbursement for
                                              cabfare from Austin Texas to Volane
                                              Bus Station 2/23/2023
04/18/2023   Meals                   74.06    Driver , Vickie reimbursement for
                                              meal delivery expense for working
                                              lunch with Vickie Driver, Bob
                                              Schleizer, and Harold Kessler
04/18/2023   Meals                  107.39    Driver , Vickie reimbursement for
                                              meal delivery expense for working
                                              lunch Bob Schleizer, Harold Kessler
                                              and Vickie Driver
04/18/2023   Meals                   66.58    Driver , Vickie reimbursement for
                                              meal delivery expense for working
                                              lunch with Vickie Driver, Bob
                                              Schleizer and Harold Kessler
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                                     Disb.
  Date       Disb. Type            Amount       Description of Disbursement
04/18/2023   Meals                  110.07   Driver , Vickie reimbursement for
                                             meal delivery expense for working
                                             lunch with Bob Schleizer, Harold
                                             Kessler, Kathy Norderhaug, Elisa
                                             Weaver and Vickie Driver
04/18/2023   Meals                   56.88   Driver , Vickie reimbursement for
                                             meal delivery expense for working
                                             lunch with Harold Kessler, Amanda
                                             Finch and Vickie Driver
04/18/2023   Meals                  137.28   Driver , Vickie reimbursement for
                                             meal delivery expense for working
                                             lunch with Kathy Norderhaug, Harold
                                             Kessler and Vickie Driver
04/18/2023   Meals                   73.12   Driver , Vickie reimbursement for
                                             meal delivery expense for working
                                             lunch with Harold Kessler, Bob
                                             Schleizer and Vickie Driver
04/18/2023   Meals                  162.33   Driver , Vickie reimbursement for
                                             meal delivery expense for working
                                             lunch with Harold Kessler, Bob
                                             Schleizer, Amanda Finch and Vickie
                                             Driver
04/18/2023   Meals                   98.48    Driver , Vickie reimbursement for
                                             meal delivery expense for working
                                             lunch with Harold Kessler, Bob
                                             Schleizer, Elisa Weaver and Vickie
                                             Driver
04/18/2023   Meals                   64.52   Drriver , Vickie reimbursement for
                                             meal delivery expense for working
                                             lunch with Harold Kessler, Bob
                                             Schleizer and Vickie Driver
04/18/2023   Meals                   74.53   Driver , Vickie reimbursement for
                                             meal delivery expense for working
                                             lunch with Harold Kessler, Bob
                                             Schleizer, Elisa Weaver and Vickie
                                             Driver
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                                     Disb.
  Date       Disb. Type            Amount        Description of Disbursement
04/18/2023   Travel Expenses        168.90   Driver , Vickie reimbursement for
                                             airfare for work travel from Austin
                                             Texas to Dallas 4/5/2023
04/18/2023   Meals                   90.04   Driver , Vickie reimbursement for
                                             meal delivery expense for working
                                             lunch with Harold Kessler Elisa
                                             Weaver and Vickie Driver
04/18/2023   Travel Expenses         25.12   Driver , Vickie reimbursement for
                                             group cabfare expense from Austin
                                             office to hotel for Bob Schleizer,
                                             Amanda Finch and Vickie Driver
                                             3/30/2023
04/18/2023   Travel Expenses         34.17   Driver , Vickie reimbursement for
                                             group cabfare expense from Austin
                                             office to hotel for Harold Kessler, Bob
                                             Schleizer and Vickie Driver 3/30/2023
04/18/2023   Travel Expenses         31.06   Driver , Vickie reimbursement for
                                             cabfare expense from Austin office to
                                             Hyatt Regency 12/29/2022
04/18/2023   Travel Expenses        129.00   Driver , Vickie reimbursement of
                                             busfare for work travel from Austin to
                                             Dallas 4/5/52023
04/18/2023   Travel Expenses         25.10   Driver , Vickie reimbursement of
                                             group cabfare expense for work travel
                                             from Hyatt Regency to Vonlane bus
                                             station for Harold Kessler [BlackBriar
                                             Advisors], and Kathy Norderhaug
                                             [BlackBriar Advisors]) and Vickie
                                             Driver 12/13/2022
04/18/2023   Travel Expenses        435.24   Driver , Vickie reimbursement of
                                             lodging while in Austin Texas
                                             4/3-5/2023
04/18/2023   Travel Expenses         39.60   Driver , Vickie reimbursement of
                                             travel expense from airport to
                                             restaurant for lunch meeting 4/11/2023
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                                       Disb.
  Date       Disb. Type              Amount         Description of Disbursement
04/18/2023   Meals                    140.56 Driver , Vickie reimbursement of meal
                                             delivery expense for working lunch
                                             with Bob Schleizer, Harold Kessler,
                                             Elisa Weaver and Vickie Driver
04/21/2023   Professional services     11.00 Guadalupe County Charge 3/27/2023
04/24/2023   Travel Expenses          669.78 AMF - reimbursemnet for travel
                                             expenses to/from Austin, Texas
                                             3/28/2023-3/30/2023 for client work
                                             on bankruptcy
04/24/2023   Travel Expenses          697.21 AMF - reimbursemnet for travel
                                             expenses to/from Dallas, Texas
                                             3/27/23-3/28/23 for client work on
                                             bankruptcy
04/25/2023   Travel Expenses          612.64    Finch , Amanda reimbursement of
                                                travel expenses to Austin Texas for
                                                client work on bankruptcy case
                                                4/4/2023; 54 miles x .655/mile= $
                                                35.37, transportation $ 497.80 and
                                                meals $ 79.47
04/26/2023   Travel Expenses         1,356.54   Davis , Chris reimbursement of travel
                                                expenses to Austin Texas with Deric
                                                McClellan for meeting with Alex
                                                Jones 4/24-25/2023; transportation $
                                                1154.13 and lodging $ 202.41
04/27/2023   Travel Expenses          537.38    Stephenson, Christina reimbursement
                                                of travel expenses to Austin Texas
                                                regarding work on AJ Case
                                                4/24-25/2023; transportation $ 511.79
                                                and meal $ 25.59
04/30/2023   Travel Expenses          202.41 McClellan, Deric reimbursement of
                                             travel expense to Austin Texas for
                                             meeting with Alex Jones
                                             4/24-25/2023; lodging $ 202.41
05/03/2023   eDiscovery Data          130.00    Everlaw- eDiscovery Data Hosting
             Hosting and Storage                and Storage for subscription database
                                                for the month of April 2023
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                                       Disb.
  Date       Disb. Type              Amount         Description of Disbursement
05/10/2023   Travel Expenses           75.98    Reimbursement of travel expense to
                                                Office for weekend work 5/6-7/2023;
                                                116 miles x .655/mile
05/11/2023   Professional services     99.00 Finch , Amanda reimbursement for
                                             annual subscription for Otto Pro - Used
                                             for 3+ months (thus far) to record and
                                             transcribe portions of client's show, as
                                             well as recorded communications sent
                                             by client
05/11/2023   Travel Expenses         1,015.20   Finch , Amanda reimbursement of
                                                travel expenses to Austin Texas for
                                                work on the bankruptcy case
                                                5/3-5/2023; 54 miles x .655/mile= $
                                                35.37, transportation $ 550.82, lodging
                                                $ 395.46 and meal $ 33.55
05/15/2023   Travel Expenses          741.70    Driver , Vickie reimbursement of
                                                travel expenses to Austin Texas for
                                                Strategy regarding conflicts and tax
                                                issues 4/18-19/2023; transportation $
                                                422.90, lodging $ 239.85 and meals $
                                                78.95
05/18/2023   Travel Expenses         1,067.91   VENDOR: Finch , Amanda;
                                                INVOICE#: 760911; DATE:
                                                5/18/2023 - AMF; reimbursement for
                                                travel expenses to/from Austin, Texas,
                                                May 16-17, 2023 for work on the
                                                bankruptcy case; transportation
                                                $677.57; lodging $157.95; meals
                                                $161.02; mileage 54 x .655/mile
                                                $35.37; parking $36.00
05/22/2023   Travel Expenses          684.84 VENDOR: Driver , Vickie;
                                             INVOICE#: 760947; DATE:
                                             5/22/2023 - Driver, Vickie -
                                             Reimbursement for travel to Austin,
                                             Texas 4/25/2023 - 4/26/2023 for
                                             Dischargeability Analysis of both
                                             Texas and Connecticut complaint
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                                       Disb.
  Date       Disb. Type              Amount        Description of Disbursement
05/22/2023   Travel Expenses         1,168.01 VENDOR: Driver , Vickie;
                                              INVOICE#: 760952; DATE:
                                              5/22/2023 - Driver, Vickie L. -
                                              Reimbursement for travel to Austin,
                                              Texas 5/3/2023-5/5/2023 to analyze
                                              issues with ESG and FSS and analyze
                                              potential resolution
05/24/2023   Miscellaneous             24.90   Staine, Christopher reimbursement for
                                               record retrieval fees 5/8/2023
05/24/2023   Miscellaneous              6.15   Staine, Christopher reimbursement for
                                               payment of documents from Texas
                                               Research 4/6/2023
05/24/2023   Professional services     36.85 Staine, Christopher reimbursement for
                                             payment of fees associated with
                                             document purchase from Texas
                                             Research 4/24/2023
05/25/2023   Meals                    370.87   Davis Chris reimbursement for dinner
                                               with Vickie Driver and Deric
                                               McClellan to discuss Alex Jones case
                                               3/22/2023
05/31/2023   eDiscovery Data          832.00   Everlaw- eDiscovery Data Hosting
             Hosting and Storage               and Storage for subscription database
                                               for the month of May 2023
05/31/2023   Online Research           26.20   Online PACER Charges for 3/1/2023
                                               to 5/31/2023
05/31/2023   Online Research          427.40   Online PACER Charges for 3/1/2023
                                               to 5/31/2023
06/09/2023   Meals                    101.67   VENDOR: Stephenson, Christina;
                                               INVOICE#: 761232; DATE: 6/9/2023
                                                - CS; reimbursement for expenses for
                                               working lunch and travel expense for
                                               San Antonio Conference
06/15/2023   Travel Expenses           62.31   Driver , Vickie reimbursement of
                                               travel expense to Austin Texas for
                                               meeting at clients office 6/14/2023;
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                                     Disb.
  Date       Disb. Type            Amount         Description of Disbursement
                                              transportation $ 62.31
06/16/2023   Travel Expenses        365.53    Driver , Vickie reimbursement of
                                              travel expense to Austin Texas for
                                              meeting at client's Office 6/14/2023;
                                              transportation $ 365.53
07/07/2023   eDiscovery Data        871.00    Everlaw- eDiscovery Data Hosting
             Hosting and Storage              and Storage for subscription database
                                              for the month of June 2023
07/12/2023   Miscellaneous            1.00    Texas Secretary of State Online
                                              Charge 1/1/2023 through 6/30/2023
07/12/2023   Miscellaneous            1.00    Texas Secretary of State Online
                                              Charge 1/1/2023 through 6/30/2023
07/12/2023   Miscellaneous            2.00    Texas Secretary of State Online
                                              Charge 1/1/2023 through 6/30/2023
07/12/2023   Online Research          8.30 Online PACER charges for June
07/17/2023   Express Courier         25.00    VENDOR: Federal Express
             Charges                          Corporation; INVOICE#: 819843849;
                                              DATE: 7/27/2023 - Federal Express
                                              delivery to Lisa Dauphin on 7/18/2023
07/21/2023   Miscellaneous           58.60    Staine, Christopher reimbursement of
                                              retrival of record fees 6/6/2023
07/21/2023   Express Courier         35.65    VENDOR: Federal Express
             Charges                          Corporation; INVOICE#: 820618927;
                                              DATE: 8/1/2023 - Federal Express
                                              delivery to David Dang, Digital
                                              Mountain, Inc. on 7/24/2023
07/24/2023   Express Courier         89.32    VENDOR: Federal Express
             Charges                          Corporation; INVOICE#: 820618927;
                                              DATE: 8/1/2023 - Federal Express
                                              delivery to Aloft Austin Southwest on
                                              7/25/2023
07/28/2023   Travel Expenses       1,232.14   Driver , Vickie reimbursement of
                                              travel expenses to Austin Texas for
                                              review of production 7/12-14/2023;
                                              transportation $ 571.79, lodging $
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                                     Disb.
  Date       Disb. Type            Amount         Description of Disbursement
                                              396.00 and meals $ 264.35
07/28/2023   Travel Expenses        756.68    Driver , Vickie reimbursement of
                                              travel expenses to Austin Texas for
                                              document review and discussion
                                              7/18-19/2023; transportion $ 439.81,
                                              lodging $ 204.67 and meals $ 112.20
07/31/2023   Meals                   30.63    Davis , Chris reimbursement for
                                              purchase of lunch for Chris Davis and
                                              Randall Yates during case preparation
                                              for Hearing on Motion for Summary
                                              Judgment 7/31/2023
08/03/2023   Travel Expenses        268.55 Yoon, John reimbursement of travel
                                           expense to Austin Texas regarding
                                           case 7/25-26/2023; 410 miles x
                                           .655/mile
08/04/2023   eDiscovery Data       3,731.00   Everlaw- eDiscovery Data Hosting
             Hosting and Storage              and Storage for subscription database
                                              for the month of July 2023
08/08/2023   Meals                  107.02    Davis , Chris reimbursement for dinner
                                              8/3/2023 for/with Chris Davis, Deric
                                              McClellan and Randall Yates -
                                              preparing for Alex Jones status
                                              conference hearing scheduled
                                              8/7/2023
08/14/2023   Meals                  130.60    Davis , Chris reimbursement of meals
                                              for/ with Deric McClellan and Randall
                                              Yates in preparation of Motion for
                                              Summary Judgment Hearing
                                              8/7-9/2023
08/14/2023   Travel Expenses        688.63    Driver , Vickie reimbursement of
                                              travel expenses to Austin, Houston and
                                              Dallas Texas for AJ/FSS Cash
                                              Collateral Hearing 7/25-27/2023;
                                              transportation $ 258.00, lodging $
                                              380.13 and meals $ 50.50
08/17/2023   Travel Expenses       1,927.00   Stephenson, Christina reimbursement
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                                       Disb.
  Date       Disb. Type              Amount         Description of Disbursement
                                                of travel expenses to Houston Texas
                                                for Motion for Summary Judgment
                                                8/14-16/2023; transportation $ 547.80
                                                and lodging $ 1379.20
08/17/2023   Travel Expenses          770.26    Driver , Vickie reimbursement of
                                                travel expenses to Houston Texas for
                                                Motion for Summary Judgment
                                                8/14-16/2023; transportation $ 567.79
                                                and meals $ 202.47
08/25/2023   Professional services   9,165.28   VENDOR: Digital Mountain;
                                                INVOICE#: 8461.8505.8677; DATE:
                                                8/25/2023 - Payment for Invoice Nos.
                                                8461, 8505 and 8677
08/31/2023   eDiscovery Data         3,744.00   Everlaw- eDiscovery Data Hosting
             Hosting and Storage                and Storage for subscription database
                                                for the month of August 2023
09/05/2023   Travel Expenses         1,567.45 McClellan, Deric reimbursement of
                                              travel expenses to Houston Texas to
                                              attend Motion for Summary Judgment
                                              Hearing regarding Alex Jones
                                              8/13-16/2023; transportation $ 663.83,
                                              lodging $ 817.33 and meals $ 86.29
09/05/2023   Travel Expenses         2,849.55   Davis , Chris reimbursement of travel
                                                expenses to Houston Texas to attend
                                                Motion for Summary Judgment
                                                Hearing regarding Alex Jones
                                                8/13-16/2023; 980 miles x .655/mile=
                                                $ 641.90, lodging $ 1383.24,
                                                conference room $ 500.00, tolls $
                                                26.00, valet and hotel tips $ 60.00 and
                                                meals 212.41
09/07/2023   Professional services    341.00 Payment to Special Delivery Service
                                             for professional services rendered
                                             regarding invoice 699478
09/12/2023   Miscellaneous               1.00   Texas Secretary of State Online
                                                Charge 8/1-31/2023
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                                       Disb.
  Date       Disb. Type              Amount         Description of Disbursement
09/14/2023   Travel Expenses          253.57    Stephenson, Christina reimbursement
                                                of travel expenses to Austin Texas for
                                                depositions 9/10-14/2023;
                                                transportation $ 149.45 and meals $
                                                104.12
10/03/2023   Travel Expenses          788.50    Harlan, Danielle reimbursement of
                                                travel expenses to Austin and Houston
                                                Texas for depositions 9/26-28/2023;
                                                transportation $ 743.80 and meal $
                                                44.70
10/05/2023   Professional services    300.00 Digital Mountain for Electronic
                                             Discovery/ProtonMail collection
10/05/2023   eDiscovery Data         4,940.00   Everlaw- eDiscovery Data Hosting
             Hosting and Storage                and Storage for subscription database
                                                for the month of September 2023
10/11/2023   Travel Expenses         1,215.42   Driver , Vickie reimbursement of
                                                travel expenses to Austin Texas for
                                                meeting with client regarding litigation
                                                preparation 1/24-26/2023; 404 miles x
                                                .655/mile= $ 264.62, lodging $ 898.73
                                                and meal $ 52.07
10/11/2023   Travel Expenses         1,764.95   Driver , Vickie reimbursement of
                                                travel expenses to Austin Texas for
                                                SUBV Trustee Meeting 2/13-15/2023;
                                                404 miles x .655/mile= $ 264.62,
                                                lodging $ 1253.63 and meals $ 246.70
10/11/2023   Travel Expenses          730.20    Driver , Vickie reimbursement of
                                                additional expenses to Austin Texas
                                                2/21-24/2023; 404 miles x .655/mile=
                                                $ 264.62, transportation $ 120.99
                                                lodging $ 209.12 and meals $ 135.47
10/11/2023   Express Courier          101.72    VENDOR: Federal Express
             Charges                            Corporation; INVOICE#: 829149244;
                                                DATE: 10/20/2023 - Federal Express
                                                delivery to Vickier Driver, 304 E.
                                                Cesar Chavez, Austin, TX 78701 on
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                                     Disb.
  Date       Disb. Type            Amount         Description of Disbursement
                                              10/12/2023
10/12/2023   Travel Expenses        516.00    Driver , Vickie reimbursement of
                                              addtional travel expenses with
                                              Amanda Finch to Austin, TX for client
                                              meetings 3/7-8/2023; transportation $
                                              516.00
10/17/2023   Travel Expenses        755.94    Driver , Vickie reimbursement of
                                              travel expense to Austin Texas for
                                              client meeting 4/24-25/2023; lodging
                                              $ 755.94
10/18/2023   Travel Expenses       1,158.80   Driver , Vickie reimbursement of
                                              travel expenses to Austin Texas for
                                              client meeting 3/29-30/2023; 404
                                              miles x .655/mile= $ 264.62, lodging $
                                              842.00 and meals $ 52.18
10/18/2023   Travel Expenses       1,005.96   Driver , Vickie reimbursement of
                                              travel expenses to Austin Texas for
                                              client meeting 4/11-13/2023;
                                              transportation $ 540.05, lodging $
                                              418.87 and meals $ 47.04
10/18/2023   Travel Expenses        810.73    Driver , Vickie reimbursement of
                                              travel expenses to Los Angeles,
                                              California for deposition
                                              5/17-18/2023; transportation $ 470.28
                                              and lodging $ 340.45
10/18/2023   Travel Expenses        827.12    Driver , Vickie reimbursement of
                                              travel expenses to Austin Texas for
                                              depositions 6/28-29/2023;
                                              transportation $ 451.65, lodging $
                                              281.25 and meals $ 94.22
10/18/2023   Travel Expenses       1,332.51   Driver , Vickie reimbursement of
                                              travel expenses to Austin Texas for
                                              client meetings 10/1-4/2023; 404 miles
                                              x .655/mile= $ 264.62, lodging $
                                              996.37 and meals $ 71.52
10/18/2023   Travel Expenses        380.25    Driver , Vickie reimbursement of
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                                     Disb.
  Date       Disb. Type            Amount         Description of Disbursement
                                              travel expense to Austin Texas for
                                              client meetings 10/10/2023; lodging $
                                              380.25
10/24/2023   Miscellaneous             4.99   Proton email upgrade for Digital
                                              Mountain email collection 9/29/2023
10/25/2023   Online Research          1.20    PACER Seaarches by Lynda Barnes
                                              8/1/23 to 9/30/23
10/31/2023   Travel Expenses        728.78    Driver , Vickie reimbursement of
                                              travel expenses to Austin Texas for
                                              depositions 8/30/2023 through
                                              9/1/2023; 402 miles x .655/mile= $
                                              263.31 and lodging $ 465.47
10/31/2023   Travel Expenses       1,366.94   Driver , Vickie reimbursement of
                                              travel expenses to Austin Texas for
                                              depositions 9/10-14/2023; 402 miles x
                                              .655/mile= $ 263.61, lodging $ 772.97
                                              and meals $ 330.66
10/31/2023   Travel Expenses       1,932.07   Driver , Vickie reimbursement of
                                              travel expenses to Austin Texas for
                                              deposition 9/26-28/2023;
                                              transportation $ 712.75, lodging $
                                              1127.88 and meal $ 91.44
10/31/2023   Travel Expenses        223.90    Harlan, Danielle reimbursement of
                                              travel expenses to Austin Texas for
                                              depositions 10/23-25/2023;
                                              transportation $ 14.77, meals 158.84
                                              and supplies $ 50.29
11/06/2023   eDiscovery Data       5,005.00   Everlaw- eDiscovery Data Hosting
             Hosting and Storage              and Storage for subscription database
                                              for the month of October 2023
11/13/2023   Travel Expenses        579.76    Driver , Vickie reimbursement of
                                              travel expenses to Houston Texas for
                                              depositions 11/1/2023; transportation
                                              $ 487.96 and meals $ 91.80
11/13/2023   Travel Expenses       2,395.80   Driver , Vickie reimbursement of
                                              travel expenses to New York for
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                                       Disb.
  Date       Disb. Type              Amount         Description of Disbursement
                                                Negotiations 11/7-9/2023;
                                                transportation $ 955.03, lodging $
                                                1349.19 and meals $ 91.58
11/13/2023   Meals                     58.71 Harlan, Danielle reimbursement of
                                             working lunch during deposition
                                             11/8/2023
11/22/2023   Copy                     182.25    Access Transcripts for copy of Hearing
                                                Transcript 11/1/2023
11/22/2023   Filing Fees and Other    298.00    Texas Southern Bankruptcy Court for
             Court Costs                        filing fee 11/2/2023
11/22/2023   Filing Fees and Other    298.00    Texas Southern Bankruptcy Court for
             Court Costs                        filing fee 11/2/2023
11/29/2023   Travel Expenses         1,424.25   Driver , Vickie reimbursement of
                                                travel expenses to Houston Texas
                                                regarding Settlement Negotiations
                                                11/26-29/2023; transportation $
                                                534.18, lodging $ 760.68 and meals $
                                                129.39
12/06/2023   eDiscovery Data         5,005.00   Everlaw- eDiscovery Data Hosting
             Hosting and Storage                and Storage for subscription database
                                                for the month November 2023
12/11/2023   Travel Expenses           17.72    Harlan, Danielle reimbursement of
                                                11/29/2023 uber expense
12/14/2023   Online Research           73.50    Pacer Searches from 11/01/23 to
                                                11/30/23
12/22/2023   Filing Fees and Other    188.00    Texas Southern Bankruptcy Court for
             Court Costs                        Filing Fee for Motion to Sell Personal
                                                Property 11/14/2023
12/22/2023   Filing Fees and Other    100.00    Texas Southern District Court for
             Court Costs                        filing for Pro Hac Vice for Chris
                                                Davis- CT Appeal 12/7/2023
12/22/2023   Filing Fees and Other    100.00    Texas Southern District Court for
             Court Costs                        filing for Pro Hac Vice for Derric
                                                McClellan- CT Appeal 12/7/2023
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                                       Disb.
  Date       Disb. Type              Amount         Description of Disbursement
12/22/2023   Filing Fees and Other    100.00    Texas Southern District Court for
             Court Costs                        filing for Pro Hac Vice for Chris
                                                Davis- CT Appeal 12/7/2023
12/22/2023   Filing Fees and Other    100.00    Texas Southern District Court for
             Court Costs                        filing for Pro Hac Vice for Derric
                                                McClellan - CT Appeal 12/7/2023
12/28/2023   Travel Expenses         1,788.92   Driver , Vickie reimbursement of
                                                travel expenses to Austin Texas for
                                                Client Meeting 12/11-13/2023; 404
                                                miles .655/mile= $ 264.62, lodging $
                                                1142.50 and meals $ 381.80
12/29/2023   Travel Expenses          926.34    Harlan, Danielle reimbursement of
                                                travel expenses to Houston Texas for
                                                depositions 11/26-29/2023;
                                                transportation $ 764.17 and meals $
                                                162.17
01/05/2024   eDiscovery Data         5,031.00   Everlaw- eDiscovery Data Hosting
             Hosting and Storage                and Storage for subscription database
                                                for the month of December 2023
01/16/2024   Online Research          174.30    Online Pacer Searches for the month of
                                                December, 2023
01/25/2024   Deposition              1,434.85   Esquire Deposition Solutions for
                                                deposition 9/12/2023
01/25/2024   Deposition              1,586.35   Esquire Deposition Solutions for
                                                depositions 9/13/2023
01/25/2024   Professional services    180.00 Digital Mountain for document storage
01/25/2024   Travel Expenses          758.91    Driver , Vickie reimbursement for
                                                travel expense to Houston Texas for
                                                meeting with opposing counsel
                                                negotiations regarding settlement
                                                1/18/2024; transportation $ 758.91
01/25/2024   Travel Expenses         1,086.59   Driver , Vickie reimbursement for
                                                travel expenses to Austin Texas for
                                                meetings at client office and with
                                                opposing party conducting settlement
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                                       Disb.
  Date       Disb. Type              Amount         Description of Disbursement
                                                negotiations 1/10-12/2024; 404 miles
                                                x .67/mile= $ 270.68, lodging $ 784.73
                                                and meal $ 31.18
01/31/2024   Travel Expenses          868.66    Regens, Craig reimbursement of travel
                                                expenses 1/22-24/2024 to Austin &
                                                Houston, Texas to prepare for and
                                                attend the Disclosure Statement
                                                Hearing on 1/24/2024; transportation $
                                                783.96 and meals $ 84.70
02/06/2024   eDiscovery Data         5,122.00   Everlaw- eDiscovery Data Hosting
             Hosting and Storage                and Storage for subscription database
                                                for the month of January 2024
02/15/2024   Lexis Research           240.60 PACER Searches for 1/01/24 to
                                             1/31/24
02/15/2024   Travel Expenses         1,405.11   Driver , Vickie reimbursement of
                                                travel expenses to Austin and Houston
                                                Texas regarding Litigation
                                                Negotiations 1/22-25/2024;
                                                transportation $ 217.33, lodging $
                                                1049.79 and meals $ 137.99
02/15/2024   Filing Fees and Other    100.00    Texas Southern Bankruptcy Court for
             Court Costs                        Pro Hac Vice Filing Fee 1/23/2024
02/26/2024   Travel Expenses          130.00    Stephenson, Christina reimbursement
                                                of travel expenses to Austin Texas
                                                regarding AJ and FSS Negotiations
                                                2/20-21/2024; transportation and
                                                lodging $ 130.00
02/29/2024   Travel Expenses         1,113.11   Driver , Vickie reimbursement of
                                                travel expenses to Austin Texas
                                                regarding negotiations with client and
                                                FSS 2/20-22/2024; transportation $
                                                405.00, lodging $ 597.56 and meals $
                                                110.55
02/29/2024   Travel Expenses          782.06    Driver , Vickie reimbursement of
                                                travel expenses to Austin Texas
                                                regarding negotiations with client and
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                                       Disb.
  Date       Disb. Type              Amount         Description of Disbursement
                                                FSS 2/27-29/2024; transportation $
                                                130.00, lodging $ 575.81 and meals $
                                                76.25
03/06/2024   eDiscovery Data         5,122.00   Everlaw- eDiscovery Data Hosting
             Hosting and Storage                and Storage for subscription database
                                                for the month of February 2024
03/11/2024   Online Research          144.60    Online PACER searches from 2/1/24
                                                to 2/29/24
03/25/2024   Filing Fees and Other    100.00    Texas Southern Bankruptcy Court for
             Court Costs                        Pro Hac Vice Filing Fee for Craig
                                                Regens 3/1/2024
04/03/2024   eDiscovery Data         4,728.00   Everlaw- eDiscovery Data Hosting
             Hosting and Storage                and Storage for subscription database
                                                for the month of March 2024
04/03/2024   Copy                      93.02    Office Services: 603 B&W Copies; 33
                                                Numeric Tabs; (1) 3" Binder.


04/04/2024   Travel Expenses          811.65    Driver , Vickie reimbursement of
                                                travel expenses to Austin Texas for
                                                Trial preparation for Alex Jones and
                                                FSS 3/21/2024; transportation $
                                                755.17 and meal $ 56.48
04/04/2024   Travel Expenses          563.62    Driver , Vickie reimbursement of
                                                travel expenses to Austin Texas for
                                                Litigation preparation 3/27/2024;
                                                transportation $ 508.38 and meals $
                                                55.24
04/17/2024   Online Research           74.10    Online PACER Charges for the month
                                                of March, 2024
04/30/2024   Travel Expenses          586.20    Stephenson, Christina reimbursement
                                                of travel expenses to Austin Texas for
                                                client meetings 4/28-30/2024;
                                                transportation $ 532.20 and parking $
                                                54.00
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                                     Disb.
  Date       Disb. Type            Amount         Description of Disbursement
05/14/2024   eDiscovery Data       4,728.00   Everlaw- eDiscovery Data Hosting
             Hosting and Storage              and Storage for subscription database
                                              for the month of April 2024
05/20/2024   Online Research         48.30    Online Pacer Charges for the month of
                                              April 2024
05/22/2024   Travel Expenses        894.61    Driver , Vickie reimbursement of
                                              travel expenses to Austin Texas for
                                              client meeting 4/14-16/2024; 404
                                              miles x .67/mile= $ 270.68, lodging $
                                              535.41 and meals $ 88.52
05/22/2024   Travel Expenses       1,806.56   Driver , Vickie reimbursement of
                                              travel expenses to Fort Worth Texas
                                              for client meetings 4/16-19/2024; 400
                                              miles x .67/mile= $ 268.00, lodging $
                                              1502.21 and meal $ 36.35
05/24/2024   Travel Expenses        383.22 McClellan, Deric reimbursement of
                                           travel expenses to Houston Texas
                                           regarding Alex Jones Interlocutory
                                           Appeal - Motion Hearing
                                           5/30-31/2024; lodging $ 373.22 and
                                           tolls $ 10.00
05/29/2024   Travel Expenses       1,366.34   Driver , Vickie reimbursement of
                                              travel expenses to Houston Texas for
                                              Client Conferences 4/22-24/2024;
                                              transportation $ 521.79, lodging $
                                              809.60 and meal $34.95
06/05/2024   Travel Expenses        723.21 McClellan, Deric reimbursement of
                                           travel expense to Houston Texas for
                                           Hearing on Motion for Leave to
                                           Appeal in Alex Jones matter
                                           5/30/2024; transportation $ 723.21
06/10/2024   eDiscovery Data       4,728.00   Everlaw- eDiscovery Data Hosting
             Hosting and Storage              and Storage for subscription database
                                              for the month of May 2024
06/10/2024   Travel Expenses        932.04 CWS; reimbursement for Travel to
                                           Austrin and Houston for client
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                                          Disb.
  Date       Disb. Type                 Amount         Description of Disbursement
                                                   meetings
06/13/2024   Travel Expenses             276.98    Stephenson, Christina reimbursement
                                                   of travel expense to Houston Texas for
                                                   Client Meeting 6/13/2024;
                                                   transportation $ 276.98
06/13/2024   Travel Expenses             255.48    Stephenson, Christina reimbursement
                                                   of travel expense to Houston Texas for
                                                   Client Meeting 6/14/2024;
                                                   transportation $ 255.48
               Disbursement Total:   $140,050.79
